USCA Case #24-1051      Document #2043704          Filed: 03/06/2024   Page 1 of 217



                UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT



CHAMBER OF COMMERCE OF THE                   )
UNITED STATES OF AMERICA;                    )     Case No. 24-1051
AMERICAN CHEMISTRY COUNCIL;                  )
AMERICAN FOREST & PAPER                      )
ASSOCIATION;                                 )
AMERICAN PETROLEUM INSTITUTE;                )
AMERICAN WOOD COUNCIL;                       )
NATIONAL ASSOCIATION OF                      )
MANUFACTURERS;                               )
NATIONAL MINING ASSOCIATION;                 )
and                                          )
PORTLAND CEMENT ASSOCIATION,                 )
                                             )
      Petitioners,                           )
                                             )
                v.                           )
                                             )
UNITED STATES ENVIRONMENTAL                  )
PROTECTION AGENCY, and                       )
MICHAEL S. REGAN, in his official            )
Capacity as Administrator, United States     )
Environmental Protection Agency,             )
                                             )
      Respondents.                           )


                           PETITION FOR REVIEW

      Pursuant to Rule 15 of the Federal Rules of Appellant Procedure and the

Circuit Rules of this Court, and section 307(b)(1) of the Clean Air Act, 42 U.S.C.

§ 7607(b)(1), the Chamber of Commerce of the United States of America,

American Chemistry Council, American Forest & Paper Association, American

                                         1
USCA Case #24-1051      Document #2043704           Filed: 03/06/2024   Page 2 of 217



Petroleum Institute, American Wood Council, National Association of

Manufacturers, National Mining Association, and Portland Cement Association

hereby petition this Court for review of the final rule of respondent United States

Environmental Protection Agency under the Clean Air Act published on March 6,

2024, at 89 Fed. Reg. 16,202, entitled, “Reconsideration of the National Ambient

Air Quality Standards for Particulate Matter.” A copy of the final rule is attached

as Exhibit A. This Court has jurisdiction and is a proper venue for this action

pursuant to 42 U.S.C. § 7607(b)(1).



Dated: March 6, 2024                          Respectfully submitted,

                                              /s/ Elbert Lin

                                              Elbert Lin
                                              Hunton Andrews Kurth LLP
                                              951 East Byrd Street, East Tower
                                              Richmond, VA 23219
                                              (804) 788-8200
                                              elin@HuntonAK.com

                                              Lucinda Minton Langworthy
                                              Erica N. Peterson
                                              Hunton Andrews Kurth LLP
                                              2200 Pennsylvania Avenue, N.W.
                                              Washington, DC 20037
                                              (202) 955-1500
                                              clangworthy@HuntonAK.com
                                              epeterson@HuntonAK.com

                                              Counsel for Petitioners Chamber of
                                              Commerce of the United States of
                                          2
USCA Case #24-1051   Document #2043704        Filed: 03/06/2024   Page 3 of 217



                                         America, American Chemistry
                                         Council, American Forest & Paper
                                         Association, American Petroleum
                                         Institute, American Wood Council,
                                         National Association of
                                         Manufacturers, National Mining
                                         Association, and Portland Cement
                                         Association

                                         Andrew R. Varcoe
                                         Stephanie A. Maloney
                                         U.S. Chamber Litigation Center
                                         1615 H Street, NW
                                         Washington, DC 20062
                                         (202) 463-5337
                                         avarcoe@USChamber.com
                                         smaloney@USChamber.com

                                         Counsel for Petitioner Chamber of
                                         Commerce of the United States of
                                         America




                                   3
USCA Case #24-1051     Document #2043704       Filed: 03/06/2024   Page 4 of 217



                UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT



CHAMBER OF COMMERCE OF THE                 )
UNITED STATES OF AMERICA;                  )    Case No. 24-1051
AMERICAN CHEMISTRY COUNCIL;                )
AMERICAN FOREST & PAPER                    )
ASSOCIATION;                               )
AMERICAN PETROLEUM INSTITUTE;              )
AMERICAN WOOD COUNCIL;                     )
NATIONAL ASSOCIATION OF                    )
MANUFACTURERS;                             )
NATIONAL MINING ASSOCIATION;               )
and                                        )
PORTLAND CEMENT ASSOCIATION;               )
                                           )
      Petitioners,                         )
                                           )
                v.                         )
                                           )
UNITED STATES ENVIRONMENTAL                )
PROTECTION AGENCY; and                     )
MICHAEL S. REGAN, in his official          )
capacity as Administrator, United States   )
Environmental Protection Agency,           )
                                           )
      Respondents.                         )


             RULE 26.1 DISCLOSURE STATEMENT
            OF CHAMBER OF COMMERCE OF THE
 UNITED STATES OF AMERICA, AMERICAN CHEMISTRY COUNCIL,
     AMERICAN FOREST & PAPER ASSOCIATION, AMERICAN
 PETROLEUM INSTITUTE, AMERICAN WOOD COUNCIL, NATIONAL
    ASSOCIATION OF MANUFACTURERS, NATIONAL MINING
     ASSOCIATION, AND PORTLAND CEMENT ASSOCIATION



                                       4
USCA Case #24-1051       Document #2043704         Filed: 03/06/2024    Page 5 of 217



      Pursuant to Fed. R. App. P. 26.1 and D.C. Circuit Rule 26.1, Petitioners the

Chamber of Commerce of the United States of America, American Chemistry

Council, American Forest & Paper Association, American Petroleum Institute,

American Wood Council, National Association of Manufacturers, National Mining

Association, and Portland Cement Association hereby file the following corporate

disclosure statements:

      The Chamber of Commerce of the United States of America is the world’s

largest business federation. It represents approximately 300,000 direct members

and indirectly represents the interests of more than 3 million companies and

professional organizations of every size, in every industry sector, and from every

region of the country. An important function of the Chamber is to represent the

interests of its members in matters before Congress, the Executive Branch, and the

courts. The Chamber states that it is a non-profit, tax-exempt organization

incorporated in the District of Columbia. The Chamber has no parent corporation,

and no publicly held company has 10% or greater ownership in the Chamber.

      The American Chemistry Council (“ACC”) represents the leading

companies engaged in the business of chemistry. ACC members apply the science

of chemistry to make innovative products and services that make people’s lives

better, healthier and safer. ACC is committed to improved environmental, health

and safety performance through Responsible Care®; common sense advocacy


                                         5
USCA Case #24-1051      Document #2043704          Filed: 03/06/2024    Page 6 of 217



designed to address major public policy issues; and health and environmental

research and product testing. The business of chemistry is a $639 billion enterprise

and a key element of the nation’s economy. It is among the largest exporters in the

nation, accounting for fourteen percent of all U.S. goods exported. ACC states that

it is a “trade association” for purposes of Circuit Rule 26.1(b). ACC has no parent

corporation, and no publicly held company has 10 percent or greater ownership in

ACC.

       The American Forest and Paper Association (“AF&PA”) serves to advance

U.S. paper and wood products manufacturers through fact-based public policy and

marketplace advocacy. The forest products industry is circular by nature. AF&PA

member companies make essential products from renewable and recyclable

resources, generate renewable bioenergy and are committed to continuous

improvement through the industry’s sustainability initiative — Better Practices,

Better Planet 2030: Sustainable Products for a Sustainable Future. The forest

products industry accounts for approximately 5% of the total U.S. manufacturing

GDP, manufactures about $350 billion in products annually and employs about

925,000 people. The industry meets a payroll of about $65 billion annually and

is among the top 10 manufacturing sector employers in 43 states. No parent

corporation or publicly held company has a ten percent (10%) or greater ownership

interest in AF&PA.


                                         6
USCA Case #24-1051      Document #2043704           Filed: 03/06/2024    Page 7 of 217



      American Petroleum Institute (“API”) represents all segments of America’s

natural gas and oil industry, which supports more than 11 million U.S. jobs and is

backed by a growing grassroots movement of millions of Americans. API’s nearly

600 members produce, process, and distribute the majority of the Nation’s energy,

and participate in API Energy Excellence, which is accelerating environmental and

safety progress by fostering new technologies and transparent reporting. API

certifies that it is incorporated under the laws of the District of Columbia. API has

no parent entity, and no publicly held corporation or similarly situated legal entity

has 10% or greater ownership of API.

      The American Wood Council (“AWC”) represents 87 percent of the

structural wood products industry and the more than 450,000 men and women

working family-wage jobs in mills across the country. From dimension lumber to

engineered wood products, we champion the development of data, technology, and

standards to ensure the best use of wood products and recognition of their unique

sustainability and carbon-reduction benefits. We are leaders in providing education

to the design, code and fire official communities who view AWC as a trusted and

credible resource. AWC has no parent corporation, and no publicly held company

has 10% or greater ownership in AWC.

      The National Association of Manufacturers (“NAM”) is the largest

manufacturing association in the United States, representing small and large


                                          7
USCA Case #24-1051      Document #2043704           Filed: 03/06/2024    Page 8 of 217



manufacturers in all 50 states and in every industrial sector. Manufacturing

employs 13 million men and women, contributes $2.85 trillion to the U.S.

economy annually, has the largest economic impact of any major sector, and

accounts for over half of all private-sector research and development in the nation.

The NAM is the voice of the manufacturing community and the leading advocate

for a policy agenda that helps manufacturers compete in the global economy and

create jobs across the United States. The NAM states that it is a non-profit, tax-

exempt organization incorporated in New York. The NAM has no parent

corporation, and no publicly held company has 10% or greater ownership in the

NAM.

      The National Mining Association (“NMA”) is a nonprofit national trade

association that represents the interests of the mining industry, including the

producers of most of the nation’s coal, metals, and agricultural and industrial

minerals. The NMA has over 280 members, whose interests it represents before

Congress, the administration, federal agencies, the courts, and the media. The

NMA is not a publicly held corporation and has no parent corporation. No publicly

held company has 10% or greater ownership interest in NMA.

      The Portland Cement Association (“PCA”), founded in 1916, is the premier

policy, research, education, and market intelligence organization serving

America’s cement manufacturers. PCA represents a majority of U.S. cement


                                          8
USCA Case #24-1051     Document #2043704           Filed: 03/06/2024   Page 9 of 217



production capacity. PCA promotes safety, sustainability, and innovation in all

aspects of construction, fosters continuous improvement in cement manufacturing

and distribution, and generally promotes economic growth and sound infrastructure

investment. PCA is a trade association and has no parent corporation, and no

publicly held company owns a 10% or greater interest in PCA.



Dated: March 6, 2024                         Respectfully submitted,



                                             /s/ Elbert Lin

                                             Elbert Lin
                                             Hunton Andrews Kurth LLP
                                             951 East Byrd Street, East Tower
                                             Richmond, VA 23219
                                             (804) 788-8200
                                             elin@HuntonAK.com

                                             Lucinda Minton Langworthy
                                             Erica N. Peterson
                                             Hunton Andrews Kurth LLP
                                             2200 Pennsylvania Avenue, N.W.
                                             Washington, DC 20037
                                             (202) 955-1500
                                             clangworthy@HuntonAK.com
                                             epeterson@HuntonAK.com

                                             Counsel for Petitioners Chamber of
                                             Commerce of the United States of
                                             America, American Chemistry
                                             Council, American Forest & Paper
                                             Association, American Petroleum
                                             Institute, American Wood Council,
                                         9
USCA Case #24-1051   Document #2043704        Filed: 03/06/2024   Page 10 of 217



                                         National Association of
                                         Manufacturers, National Mining
                                         Association, and Portland Cement
                                         Association

                                         Andrew R. Varcoe
                                         Stephanie A. Maloney
                                         U.S. Chamber Litigation Center
                                         1615 H Street, NW
                                         Washington, DC 20062
                                         (202) 463-5337
                                         avarcoe@USChamber.com
                                         smaloney@USChamber.com

                                         Counsel for Petitioner Chamber of
                                         Commerce of the United States of
                                         America




                                   10
USCA Case #24-1051      Document #2043704           Filed: 03/06/2024   Page 11 of 217



                          CERTIFICATE OF SERVICE

       I hereby certify that on March 6, 2024, I caused one copy of the foregoing to

 be served on each of the following by certified United States mail, return receipt

 requested:

 The Honorable Michael S. Regan
 Administrator
 Office of the Administrator (1101A)
 U.S. Environmental Protection Agency
 1200 Pennsylvania Ave NW
 Mail Code 1101A
 Washington, DC 20460

 The Honorable Merrick B. Garland
 Attorney General of the United States
 United States Department of Justice
 950 Pennsylvania Avenue, NW
 Washington, DC 20530-0001

 The Honorable Todd Sunhwae Kim
 Assistant Attorney General
 Environmental and Natural Resources Division
 U.S. Department of Justice
 950 Pennsylvania Ave., N.W.
 Washington, DC 20530-0001

 Correspondence Control Unit
 Office of General Counsel (2311)
 United States Environmental Protection Agency
 1200 Pennsylvania Avenue, N.W.
 Washington, DC 20460


                                               /s/ Elbert Lin
                                               Elbert Lin



                                          11
USCA Case #24-1051   Document #2043704   Filed: 03/06/2024   Page 12 of 217




                 EXHIBIT A
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024             Page 13 of 217
                                                 16202             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 ENVIRONMENTAL PROTECTION                                Table of Contents                                       1. Background on the Current Standard
                                                 AGENCY                                                                                                          2. Overview of Health Effects Evidence
                                                                                                           The following topics are discussed in                 a. Nature of Effects
                                                                                                         this preamble:                                          i. Mortality
                                                 40 CFR Parts 50, 53, and 58
                                                                                                         Executive Summary                                       ii. Cardiovascular Effects
                                                                                                         I. Background                                           iii. Respiratory Effects
                                                 [EPA–HQ–OAR–2015–0072; FRL–8635–02–                        A. Legislative Requirements                          iv. Cancer
                                                 OAR]                                                       B. Related PM Control Programs                       v. Metabolic Effects
                                                                                                            C. Review of the Air Quality Criteria and            vi. Nervous System Effects
                                                 RIN 2060–AV52                                                 Standards for Particulate Matter                  B. Conclusions on the Primary PM10
                                                                                                            1. Reviews Completed in 1971 and 1987                   Standard
                                                 Reconsideration of the National                            2. Review Completed in 1997                          1. CASAC Advice
                                                                                                            3. Review Completed in 2006                          2. Basis for the Proposed Decision
                                                 Ambient Air Quality Standards for                                                                               3. Comments on the Proposed Decision
                                                                                                            4. Review Completed in 2012
                                                 Particulate Matter                                         5. Review Initiated in 2014                          4. Administrator’s Conclusions
                                                                                                            a. 2020 Proposed and Final Decisions                 C. Decisions on the Primary PM10 Standard
                                                 AGENCY: Environmental Protection                                                                              IV. Communication of Public Health
                                                                                                            b. Reconsideration of the 2020 PM NAAQS
                                                 Agency (EPA).                                                 Final Action                                      A. Air Quality Index Overview
                                                 ACTION: Final rule.                                        D. Air Quality Information                           B. Air Quality Index Category Breakpoints
                                                                                                            1. Distribution of Particle Size in Ambient             for PM2.5
                                                 SUMMARY: Based on the Environmental                           Air                                               1. Summary of Proposed Revisions
                                                 Protection Agency’s (EPA’s)                                2. Sources and Emissions Contributing to             a. Air Quality Index Values of 50, 100, and
                                                 reconsideration of the air quality criteria                   PM in the Ambient Air                                150
                                                                                                            3. Monitoring of Ambient PM                          b. Air Quality Index Values of 200 and
                                                 and the national ambient air quality                                                                               Above
                                                                                                            4. Ambient Concentrations and Trends
                                                 standards (NAAQS) for particulate                          a. PM2.5 Mass                                        2. Summary of Significant Comments on
                                                 matter (PM), the EPA is revising the                       b. PM2.5 Components                                     Proposed Revisions
                                                 primary annual PM2.5 standard by                           c. PM10                                              a. Air Quality Index Values of 50, 100, and
                                                 lowering the level from 12.0 mg/m3 to                      d. PM10–2.5                                             150
                                                 9.0 mg/m3. The Agency is retaining the                     e. UFP                                               b. Air Quality Index Values of 200 and
                                                 current primary 24-hour PM2.5 standard                     5. Characterizing Ambient PM2.5                         Above
                                                 and the primary 24-hour PM10 standard.                        Concentrations for Exposure                       c. Other Comments
                                                 The Agency also is not changing the                        a. Predicted Ambient PM2.5 and Exposure              3. Summary of Final Revisions
                                                                                                               Based on Monitored Data                           C. Air Quality Index Category Breakpoints
                                                 secondary 24-hour PM2.5 standard,                          b. Comparison of PM2.5 Fields in                        for PM10
                                                 secondary annual PM2.5 standard, and                          Estimating Exposure and Relative to               D. Air Quality Index Reporting
                                                 secondary 24-hour PM10 standard at this                       Design Values                                     1. Summary of Proposed Revisions
                                                 time. The EPA is also finalizing                           6. Background PM                                     2. Summary of Significant Comments on
                                                 revisions to other key aspects related to               II. Rationale for Decisions on the Primary                 Proposed Revisions
                                                 the PM NAAQS, including revisions to                          PM2.5 Standards                                   3. Summary of Final Revisions
                                                 the Air Quality Index (AQI) and                            A. Introduction                                    V. Rationale for Decisions on the Secondary
                                                 monitoring requirements for the PM                         1. Background on the Current Standards                  PM Standards
                                                 NAAQS.                                                     2. Overview of the Health Effects Evidence           A. Introduction
                                                                                                            a. Nature of Effects                                 1. Background on the Current Standards
                                                 DATES: This final rule is effective May 6,                 i. Mortality                                         a. Non-Visibility Effects
                                                 2024.                                                      ii. Cardiovascular Effects                           b. Visibility Effects
                                                                                                            iii. Respiratory Effects                             2. Overview of Welfare Effects Evidence
                                                 ADDRESSES: The EPA has established a                       iv. Cancer                                           a. Nature of Effects
                                                 docket for this action under Docket ID                     v. Nervous System Effects                            i. Visibility
                                                 No. EPA–HQ–OAR–2015–0072. All                              vi. Other Effects                                    ii. Climate
                                                 documents in the docket are listed on                      b. Public Health Implications and At-Risk            iii. Materials
                                                 the https://www.regulations.gov                               Populations                                       3. Summary of Air Quality and
                                                 website. Although listed in the index,                     c. PM2.5 Concentrations in Key Studies                  Quantitative Information
                                                 some information is not publicly                              Reporting Health Effects                          a. Visibility Effects
                                                 available, e.g., CBI or other information                  i. PM2.5 Exposure Concentrations                     i. Target Level of Protection in Terms of a
                                                                                                               Evaluated in Experimental Studies                    PM2.5 Visibility Index
                                                 whose disclosure is restricted by statute.
                                                                                                            ii. Ambient PM2.5 Concentrations in                  ii. Relationship Between the PM2.5
                                                 Certain other material, such as                               Locations of Epidemiologic Studies                   Visibility Index and the Current
                                                 copyrighted material, is not placed on                     d. Uncertainties in the Health Effects                  Secondary 24-Hour PM2.5 Standard
                                                 the internet and will be publicly                             Evidence                                          b. Non-Visibility Effects
                                                 available only in hard copy form.                          3. Summary of Exposure and Risk                      B. Conclusions on the Secondary PM
                                                 Publicly available docket materials are                       Estimates                                            Standards
                                                 available electronically through https://                  a. Key Design Aspects                                1. CASAC Advice
                                                 www.regulations.gov.                                       b. Key Limitations and Uncertainties                 2. Basis for the Proposed Decision
                                                                                                            c. Summary of Risk Estimates                         3. Comments on the Proposed Decision
                                                 FOR FURTHER INFORMATION CONTACT: Dr.                       B. Conclusions on the Primary PM2.5                  4. Administrator’s Conclusions
                                                 Lars Perlmutt, Health and                                     Standards                                         C. Decisions on the Secondary PM
                                                 Environmental Impacts Division, Office                     1. CASAC Advice                                         Standards
ddrumheller on DSK120RN23PROD with RULES3




                                                 of Air Quality Planning and Standards,                     2. Basis for the Proposed Decision                 VI. Interpretation of the NAAQS for PM
                                                 U.S. Environmental Protection Agency,                      3. Comments on the Proposed Decision                 A. Amendments to Appendix K:
                                                 Mail Code C539–04, Research Triangle                       4. Administrator’s Conclusions                          Interpretation of the NAAQS for
                                                 Park, NC 27711; telephone: (919) 541–                      C. Decisions on the Primary PM2.5                       Particulate Matter
                                                                                                               Standards                                         B. Amendments to Appendix N:
                                                 3037; fax: (919) 541–5315; email:
                                                                                                         III. Rationale for Decisions on the Primary                Interpretation of the NAAQS for PM2.5
                                                 perlmutt.lars@epa.gov.                                        PM10 Standard                                   VII. Amendments to Ambient Monitoring and
                                                 SUPPLEMENTARY INFORMATION:                                 A. Introduction                                         Quality Assurance Requirements



                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00002   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024               Page 14 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                                16203

                                                   A. Amendment to 40 CFR Part 50                        standard (at a level of 35 mg/m3); to                 standard (U.S. EPA, 2020b). The EPA
                                                      (Appendix L): Reference Method for the             retain the primary 24-hour PM10                       also noted that the 2020 PA concluded
                                                      Determination of Fine Particulate Matter           standard; and, not to change the                      that the available scientific evidence
                                                      as PM2.5 in the Atmosphere—Addition of
                                                      the Tisch Cyclone as an Approved
                                                                                                         secondary PM standards at this time. In               and information did not call into
                                                      Second Stage Separator                             reaching his final decisions, the                     question the adequacy of the primary
                                                   B. Issues Related to 40 CFR Part 53                   Administrator considered the currently                PM10 or secondary PM standards and
                                                      (Reference and Equivalent Methods)                 available scientific evidence in the 2019             supported consideration of retaining the
                                                   C. Changes to 40 CFR Part 58 (Ambient Air             Integrated Science Assessment (2019                   primary PM10 standard and secondary
                                                      Quality Surveillance)                              ISA) and the Supplement to the 2019                   PM standards without revision (U.S.
                                                   D. Incorporating Data From Next-                      ISA (ISA Supplement), quantitative and                EPA, 2020b).
                                                      Generation Technologies
                                                                                                         policy analyses presented in the 2022                    The final decisions presented in this
                                                 VIII. Clean Air Act Implementation
                                                      Requirements for the Revised Primary               Policy Assessment (2022 PA), advice                   document on the primary PM2.5
                                                      Annual PM2.5 NAAQS                                 from the Clean Air Scientific Advisory                standards have been informed by key
                                                   A. Designation of Areas                               Committee (CASAC), and public                         aspects of the available health effects
                                                   B. Section 110(a)(1) and (2) Infrastructure           comments on the proposal. The EPA has                 evidence and conclusions contained in
                                                      SIP Requirements                                   established primary and secondary                     the 2019 ISA and ISA Supplement,
                                                   C. Implementing the Revised Primary                   standards for PM2.5, which includes                   quantitative exposure/risk analyses and
                                                      Annual PM2.5 NAAQS in Nonattainment                particles with diameters generally less               policy evaluations presented in the 2022
                                                      Areas
                                                                                                         than or equal to 2.5 mm, and PM10,                    PA, advice from the CASAC 2 and
                                                   D. Implementing the Primary and
                                                      Secondary PM10 NAAQS                               which includes particles with diameters               public comment received as part of this
                                                   E. Prevention of Significant Deterioration            generally less than or equal to 10 mm.                reconsideration.3 The health effects
                                                      and Nonattainment New Source Review                The standards include two primary                     evidence newly available in this
                                                      Programs for the Revised Primary                   PM2.5 standards: an annual average                    reconsideration, in conjunction with the
                                                      Annual PM2.5 NAAQS                                 standard, averaged over three years,                  full body of evidence critically
                                                   F. Transportation Conformity Program                  with a level of 12.0 mg/m3, and a 24-                 evaluated in the 2019 ISA, supports a
                                                   G. General Conformity Program                         hour standard with a 98th percentile                  causal relationship between long- and
                                                 IX. Statutory and Executive Order Reviews
                                                                                                         form, averaged over three years, and a                short-term exposures and mortality and
                                                   A. Executive Order 12866: Regulatory
                                                      Planning and Review and Executive                  level of 35 mg/m3. It also includes a                 cardiovascular effects, and the evidence
                                                      Order 14094: Modernizing Regulatory                primary PM10 standard with a 24-hour                  supports a likely to be a causal
                                                      Review                                             averaging time, and a level of 150 mg/                relationship between long-term
                                                   B. Paperwork Reduction Act (PRA)                      m3, not to be exceeded more than once                 exposures and respiratory effects,
                                                   C. Regulatory Flexibility Act (RFA)                   per year on average over three years.                 nervous system effects, and cancer. The
                                                   D. Unfunded Mandates Reform Act                       Secondary PM standards are set equal to               longstanding evidence base, including
                                                      (UMRA)                                             the primary standards, except that the                animal toxicological studies, controlled
                                                   E. Executive Order 13132: Federalism
                                                                                                         level of the secondary annual PM2.5                   human exposure studies, and
                                                   F. Executive Order 13175: Consultation
                                                      and Coordination With Indian Tribal                standard is 15.0 mg/m3.                               epidemiologic studies, reaffirms, and in
                                                      Governments                                           The most recent of the PM NAAQS                    some cases strengthens, the conclusions
                                                   G. Executive Order 13045: Protection of               was completed in December 2020. In                    from past reviews regarding the health
                                                      Children From Environmental Health                 that review, the EPA retained the                     effects of PM2.5 exposures.
                                                      and Safety Risks                                   primary and secondary NAAQS,                          Epidemiologic studies available in this
                                                   H. Executive Order 13211: Actions                     without revision (85 FR 82684,                        reconsideration demonstrate generally
                                                      Concerning Regulations That                        December 18, 2020). Following                         positive, and often statistically
                                                      Significantly Affect Energy Supply,                publication of the 2020 final action,                 significant, PM2.5 health effect
                                                      Distribution or Use
                                                                                                         several parties filed petitions for review            associations. Such studies report
                                                   I. National Technology Transfer and
                                                      Advancement Act (NTTAA)                            and petitions for reconsideration of the              associations between estimated PM2.5
                                                   J. Executive Order 12898: Federal Actions             EPA’s final decision.                                 exposures and non-accidental,
                                                      To Address Environmental Justice in                   In June 2021, the Agency announced                 cardiovascular, or respiratory mortality;
                                                      Minority Populations and Low-Income                its decision to reconsider the 2020 PM                cardiovascular or respiratory
                                                      Populations and Executive Order 14096:             NAAQS final action.1 The EPA decided                  hospitalizations or emergency room
                                                      Revitalizing Our Nation’s Commitment               to reconsider the December 2020                       visits; and other mortality/morbidity
                                                      to Environmental Justice for All                   decision because the available scientific             outcomes (e.g., lung cancer mortality or
                                                   K. Congressional Review Act (CRA)                     evidence and technical information
                                                 References                                                                                                    incidence, asthma development). The
                                                                                                         indicated that the current standards may              scientific evidence available in this
                                                 Executive Summary                                       not be adequate to protect public health              reconsideration, as evaluated in the
                                                    This document presents the                           and welfare, as required by the Clean                 2019 ISA and ISA Supplement, includes
                                                 Administrator’s final decisions for the                 Air Act. The EPA noted that the 2020
                                                 reconsideration of the 2020 final                       PA concluded that the scientific                         2 In 2021, the Administrator announced his

                                                                                                         evidence and information called into                  decision to reestablish the membership of the
                                                 decision on the primary (health-based)                                                                        CASAC. The Administrator selected seven members
                                                 and secondary (welfare-based) National                  question the adequacy of the primary                  to serve on the chartered CASAC, and appointed a
                                                 Ambient Air Quality Standards                           PM2.5 standards and supported                         PM CASAC panel to support the chartered CASAC’s
                                                                                                         consideration of revising the level of the            review of the draft ISA Supplement and the draft
ddrumheller on DSK120RN23PROD with RULES3




                                                 (NAAQS) for Particulate Matter (PM).
                                                                                                         primary annual PM2.5 standard to below                PA as a part of this reconsideration (see section
                                                 More specifically, this document                                                                              I.C.6.b below for more information).
                                                 summarizes the background and                           the current level of 12.0 mg/m3 while                    3 More information regarding the CASAC review

                                                 rationale for the Administrator’s final                 retaining the primary 24-hour PM2.5                   of the draft ISA Supplement and the draft PA,
                                                 decisions to revise the primary annual                                                                        including opportunities for public comment, can be
                                                                                                           1 The press release for this announcement is        found in the following Federal Register notices: 86
                                                 PM2.5 standard by lowering the level                    available at: https://www.epa.gov/newsreleases/epa-   FR 54186, September 30, 2021; 86 FR 52673,
                                                 from 12.0 mg/m3 to 9.0 mg/m3; to retain                 reexamine-health-standards-harmful-soot-previous-     September 22, 2021; 86 FR 56263, October 8, 2021;
                                                 the current primary 24-hour PM2.5                       administration-left-unchanged.                        87 FR 958, January 7, 2022.



                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00003   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024             Page 15 of 217
                                                 16204             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 a number of epidemiologic studies that                  on average, exposed to higher                         24-hour PM2.5 standard, concluding that
                                                 use various methods to characterize                     concentrations of PM2.5 compared to                   the standard should be retained.
                                                 exposure to PM2.5 (e.g., ground-based                   higher SES communities.                                  In considering how to revise the suite
                                                 monitors and hybrid modeling                               The quantitative risk assessment, as               of primary PM2.5 standards to provide
                                                 approaches) and to evaluate associations                well as policy considerations in the                  the requisite degree of protection, the
                                                 between health effects and lower                        2022 PA, also inform the final decisions              Administrator recognizes that the
                                                 ambient PM2.5 concentrations. There are                 on the primary PM2.5 standards. The risk              current annual standard and 24-hour
                                                 a number of recent epidemiologic                        assessment in this reconsideration                    standard, together, are intended to
                                                 studies that use varying study designs                  focuses on all-cause or nonaccidental                 provide public health protection against
                                                 that reduce uncertainties related to                    mortality associated with long- and                   the full distribution of short- and long-
                                                 confounding and exposure                                short-term PM2.5 exposures. The                       term PM2.5 exposures. Further, he
                                                 measurement error. The results of these                 primary analyses focus on exposure and                recognizes that changes in PM2.5 air
                                                 analyses provide further support for the                risk associated with air quality that                 quality designed to meet either the
                                                 robustness of associations between                      might occur in an area under air quality              annual or the 24-hour standard would
                                                 PM2.5 exposures and mortality and                       conditions that just meet the current                 likely result in changes to both long-
                                                 morbidity. Moreover, the Administrator                  and potential alternative standards. The              term average and short-term peak PM2.5
                                                 notes that recent epidemiologic studies                 risk assessment estimates that the                    concentrations.
                                                 strengthen support for health effect                    current primary PM2.5 standards could                    As in 2012, the Administrator
                                                 associations at lower PM2.5                             allow a substantial number of PM2.5-                  concludes that the most effective way to
                                                 concentrations, with these new studies                  associated premature deaths in the                    reduce total population risk associated
                                                 finding positive and significant                        United States, and that public health                 with both long- and short-term PM2.5
                                                 associations when assessing exposure in                 improvements would be associated with                 exposures is to set a generally
                                                 locations and time periods with lower                   just meeting all of the alternative (more             controlling annual standard, and to
                                                 annual mean and 25th percentile                         stringent) annual and 24-hour standard                provide supplemental protection against
                                                 concentrations than those evaluated in                  levels modeled. Additionally, the                     the occurrence of peak 24-hour PM2.5
                                                 epidemiologic studies available at the                  results of the risk assessment suggest                concentrations by means of a 24-hour
                                                 time of previous reviews. Additionally,                 that for most of the U.S., the annual                 standard set at the appropriate level.
                                                 the experimental evidence (i.e., animal                 standard is the controlling standard and              Based on the current evidence and
                                                 toxicological and controlled human                      that revision to that standard has the                quantitative information, as well as
                                                 exposure studies) strengthens the                       most potential to reduce PM2.5                        consideration of CASAC advice and
                                                 coherence of effects across scientific                  exposure-related risk. The analyses are               public comments, the Administrator
                                                 disciplines and provides additional                     summarized in this document and in                    concludes that the current primary
                                                                                                         the proposal and are described in detail              annual PM2.5 standard is not adequate to
                                                 support for potential biological
                                                                                                         in the 2022 PA.                                       protect public health with an adequate
                                                 pathways through which PM2.5
                                                                                                            In its advice to the Administrator, in             margin of safety. The Administrator
                                                 exposures could lead to the overt
                                                                                                         its review of the 2021 draft PA, the                  notes that the CASAC was unanimous
                                                 population-level outcomes reported in
                                                                                                         CASAC concurred that the currently                    in its advice on the 2021 draft PA
                                                 epidemiologic studies for the health
                                                                                                         available health effects evidence calls               regarding the need to revise the annual
                                                 effect categories for which a causal
                                                                                                         into question the adequacy of the                     standard. In considering the appropriate
                                                 relationship (i.e., short- and long-term
                                                                                                         primary annual PM2.5 standard. With                   level for a revised annual standard, the
                                                 PM2.5 exposure and mortality and
                                                                                                         regard to the primary annual PM2.5                    Administrator concludes that a standard
                                                 cardiovascular effects) or likely to be
                                                                                                         standard, the majority of the CASAC                   set at a level of 9.0 mg/m3 reflects his
                                                 causal relationship (i.e., short- and long-             concluded that the level of the standard              judgment about placing the most weight
                                                 term PM2.5 exposure and respiratory                     should be revised within the range of                 on the strongest available evidence
                                                 effects; and long-term PM2.5 exposure                   8.0 to 10.0 mg/m3, while the minority of              while appropriately weighing the
                                                 and nervous system effects and cancer)                  the CASAC concluded that the primary                  uncertainties.
                                                 was concluded.                                          annual PM2.5 standard should be revised                  With regard to the primary 24-hour
                                                    The available evidence in the 2019                   to a level of 10.0 to 11.0 mg/m3. With                PM2.5 standard, the Administrator finds
                                                 ISA continues to provide support for                    regard to the primary 24-hour PM2.5                   the available scientific evidence and
                                                 factors that may contribute to increased                standard, the CASAC did not reach                     quantitative information to be
                                                 risk of PM2.5-related health effects                    consensus on the adequacy of the                      insufficient to call into question the
                                                 including lifestage (children and older                 current standard. The majority of the                 adequacy of the public health protection
                                                 adults), pre-existing diseases                          CASAC concluded that the primary 24-                  afforded by the current 24-hour
                                                 (cardiovascular disease and respiratory                 hour PM2.5 was not adequate and that                  standard. He further notes that a more
                                                 disease), race/ethnicity, and                           the level of the standard should be                   stringent annual standard set at a level
                                                 socioeconomic status. For example, the                  revised to within the range of 25 to 30               of 9.0 mg/m3 is expected to reduce both
                                                 2019 ISA and ISA Supplement conclude                    mg/m3, while the minority of the CASAC                average (annual) concentrations and
                                                 that there is strong evidence that Black                concluded that the standard was                       peak (daily) concentrations. The
                                                 and Hispanic populations, on average,                   adequate and should be retained,                      Administrator also notes that, in their
                                                 experience higher PM2.5 exposures and                   without revision. Additionally, in their              review of the 2021 draft PA, the CASAC
                                                 PM2.5-related health risks than non-                    review of the 2019 draft PA, the CASAC                did not reach consensus on whether
ddrumheller on DSK120RN23PROD with RULES3




                                                 Hispanic White populations. In                          did not reach consensus on the                        revisions to the primary 24-hour PM2.5
                                                 addition, studies evaluated in the 2019                 adequacy of the primary annual PM2.5                  standard are warranted at this time. He
                                                 ISA and ISA Supplement also provide                     standard, with the minority                           also notes that, in their review of the
                                                 evidence indicating that communities                    recommending revision and the                         2019 draft PA, the CASAC did reach
                                                 with lower socioeconomic status (SES),                  majority recommending the standard be                 consensus that the primary 24-hour
                                                 as assessed in epidemiologic studies                    retained. In their review of the 2019                 PM2.5 standard should be retained. The
                                                 using indicators of SES including                       draft PA, the CASAC reached consensus                 Administrator concludes that the 24-
                                                 income and educational attainment are,                  regarding the adequacy of the primary                 hour standard should be retained to


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00004   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024             Page 16 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                         16205

                                                 continue to provide requisite protection                decision to not change the current                    (80 FR 58010, 58136, August 25, 2016).
                                                 against short-term peak PM2.5                           secondary standards at this time has                  The EPA is not making changes to any
                                                 concentrations, particularly when                       been informed by key aspects of the                   of the current PM NAAQS
                                                 considered in conjunction with the                      currently available welfare effects                   implementation programs in this final
                                                 protection provided by the suite of                     evidence as well as the conclusions                   rulemaking.
                                                 standards and the decision to revise the                contained in the 2019 ISA and ISA                        On other topics, the EPA is finalizing
                                                 annual standard to a level of 9.0 mg/m3.                Supplement; quantitative analyses of                  two sets of changes to the PM2.5 sub-
                                                    The primary PM10 standard is                         visibility impairment; policy                         index of the Air Quality Index (AQI).
                                                 intended to provide public health                       evaluations presented in the 2022 PA;                 First, the EPA is continuing to use the
                                                 protection against health effects related               advice from the CASAC; and public                     approach used in the revisions to the
                                                 to exposures to PM10–2.5, which are                     comments. Specifically, the welfare                   AQI in 2012 (77 FR 38890, June 29,
                                                 particles with a diameter between 10 mm                 effects evidence available in this                    2012) of setting the lower breakpoints
                                                 and 2.5 mm. The final decision to retain                reconsideration is consistent with the                (50, 100 and 150) based on the levels of
                                                 the current 24-hour PM10 standard has                   evidence available in previous reviews                the primary annual and 24-hour PM2.5
                                                 been informed by key aspects of the                     and supports a causal relationship                    standards. In so doing, the EPA is
                                                 available health effects evidence and                   between PM and visibility, climate, and               revising the AQI value of 50 to 9.0 mg/
                                                 conclusions contained in the 2019 ISA,                  materials effects. With regard to                     m3 and is retaining the AQI values of
                                                 the policy evaluations presented in the                 visibility effects, the Administrator                 100 and 150 at 35.4 mg/m3 and 55.4 mg/
                                                 2022 PA, advice from the CASAC and                      notes that he judges that the evidence                m3, respectively. Second, the EPA is
                                                 public comments. Specifically, the                      supports a target level of protection of              revising the upper AQI breakpoints (200
                                                 health effects evidence for PM10–2.5                    27 dv. He further notes that the results              and above), and replacing the linear-
                                                 exposures is somewhat strengthened                      of quantitative analyses of visibility                relationship approach used in 1999 (64
                                                 since past reviews, although the                        impairment suggest that in areas that                 FR 42530, August 4, 1999) to set these
                                                 strongest evidence still only provides                  meet the current secondary 24-hour                    breakpoints, with an approach that more
                                                 support for a suggestive of, but not                    PM2.5 standard that estimated light                   fully considers the PM2.5 health effects
                                                 sufficient to infer, causal relationship                extinction in terms of a 3-year visibility            evidence from controlled human
                                                 with long- and short-term exposures and                 metric would be at or well below the                  exposure and epidemiologic studies that
                                                 mortality and cardiovascular effects,                   target level of protection. With regard to            has become available in the last 20
                                                 short-term exposures and respiratory                    climate and materials effects, while the              years. The EPA is also revising the AQI
                                                 effects, and long-term exposures and                    evidence has expanded since previous                  values of 200, 300 and 500 to 125.4 mg/
                                                 cancer, nervous system effects, and                     reviews, significant limitations and                  m3, 225.4 mg/m3, and 325.4 mg/m3,
                                                 metabolic effects. In reaching his final                uncertainties remain in the evidence.                 respectively. In addition, this final rule
                                                 decision on the primary PM10 standard,                  While the evidence has expanded since                 revises the daily reporting requirement
                                                 the Administrator recognizes that, while                previous reviews, the available                       from 5 days per week to 7 days per
                                                 the available health effects evidence has               scientific evidence remains insufficient              week, while also reformatting appendix
                                                 expanded, recent studies are subject to                 to allow the Administrator to make a                  G and providing clarifications.
                                                 the same types of uncertainties that                                                                             With regard to monitoring-related
                                                                                                         reasoned judgment about what specific
                                                 were judged to be important in previous                                                                       activities, the EPA finalizes revisions to
                                                                                                         standard(s) would be requisite to protect
                                                 reviews. He also recognizes that, in their                                                                    data calculations and ambient air
                                                                                                         against known or anticipated adverse
                                                 review of the 2019 draft PA and the                                                                           monitoring requirements for PM to
                                                                                                         effects to public welfare from PM’s
                                                 2021 draft PA, the CASAC generally                                                                            improve the usefulness and
                                                                                                         effects on materials damage or climate.-
                                                 agreed that it was reasonable to retain                                                                       appropriateness of data used in
                                                                                                         In their review of the 2019 draft PA and              regulatory decision making and to better
                                                 the primary 24-hour PM10 standard
                                                                                                         the 2021 draft PA, the CASAC did not                  characterize air quality in communities
                                                 given the available scientific evidence,
                                                                                                         recommend revising the secondary PM                   that are at increased risk of PM2.5
                                                 including retaining PM10 as the
                                                                                                         standards. In considering the available               exposure and health risk. These changes
                                                 indicator. He concludes that the newly
                                                                                                         evidence and quantitative information,                are found in 40 CFR part 50 (appendices
                                                 available evidence does not call into
                                                                                                         with its inherent uncertainties and                   K, L, and N), part 53, and part 58 with
                                                 question the adequacy of the current
                                                                                                         limitations, the Administrator judges                 associated appendices (A, B, C, D, and
                                                 primary PM10 standard, and retains that
                                                                                                         that it is appropriate not to change the              E). These changes include addressing
                                                 standard, without revision.
                                                                                                         secondary PM standards at this time.                  updates in data calculations, approval of
                                                    With respect to the secondary PM
                                                 standards, this reconsideration focuses                    The final revisions to the primary                 reference and equivalent methods,
                                                 on visibility, climate, and materials                   annual PM2.5 NAAQS trigger a process                  updates in quality assurance statistical
                                                 effects.4 The Administrator’s final                     under which States (and Tribes, if they               calculations to account for lower
                                                                                                         choose) make recommendations to the                   concentration measurements, updates to
                                                    4 Consistent with the 2016 Integrated Review Plan    Administrator regarding designations,                 support improvements in PM methods,
                                                 (U.S. EPA, 2016), other welfare effects of PM, such     identifying areas of the country that                 a revision to the PM2.5 network design
                                                 as ecological effects, are being considered in the      either meet or do not meet the new or                 to account for at-risk populations, and
                                                 separate, on-going review of the secondary NAAQS
                                                 for oxides of nitrogen, oxides of sulfur and PM.
                                                                                                         revised PM NAAQS. Those areas that do                 updates to the Probe and Monitoring
                                                 Accordingly, the public welfare protection provided     not meet the revised PM NAAQS will                    Path Siting Criteria for NAAQS
                                                 by the secondary PM standards against ecological        need to develop plans that demonstrate                pollutants.
                                                 effects such as those related to deposition of          how they will meet the standards. As
ddrumheller on DSK120RN23PROD with RULES3




                                                                                                                                                                  In setting the NAAQS, the EPA may
                                                 nitrogen- and sulfur-containing compounds in
                                                 vulnerable ecosystems is being considered in that
                                                                                                         part of these plans, states have the                  not consider the costs of implementing
                                                 separate review. Thus, the Administrator’s              opportunity to advance environmental                  the standards. This was confirmed by
                                                 conclusion in this reconsideration of the 2020 final    justice, in this case for overburdened                the Supreme Court in Whitman v.
                                                 decision is focused only and specifically on the        communities in areas with high PM                     American Trucking Associations, 531
                                                 adequacy of public welfare protection provided by
                                                 the secondary PM standards from effects related to
                                                                                                         concentrations above the NAAQS, by                    U.S. 457, 465–472, 475–76 (2001), as
                                                 visibility, climate, and materials and hereafter        using the tools described in the current              discussed in section II.A of this
                                                 ‘‘welfare effects’’ refers to those welfare effects.    PM NAAQS implementation guidance                      document. As has traditionally been


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00005   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024              Page 17 of 217
                                                 16206             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 done in NAAQS rulemaking, the EPA                       public health or welfare which may be                    has not yet identified. See Lead
                                                 prepared a Regulatory Impact Analysis                   expected from the presence of [a]                        Industries Association v. EPA, 647 F.2d
                                                 (RIA) to provide the public with                        pollutant in the ambient air. . . .’’ (42                1130, 1154 (D.C. Cir. 1980); American
                                                 information on the potential costs and                  U.S.C. 7408(a)(2)).                                      Petroleum Institute v. Costle, 665 F.2d at
                                                 benefits of attaining several alternative                  Section 109 [42 U.S.C. 7409] directs                  1186; Coalition of Battery Recyclers
                                                 PM2.5 standard levels. In NAAQS                         the Administrator to propose and                         Ass’n v. EPA, 604 F.3d 613, 617–18
                                                 rulemaking, the RIA is done for                         promulgate ‘‘primary’’ and ‘‘secondary’’                 (D.C. Cir. 2010); Mississippi v. EPA, 744
                                                 informational purposes only, and the                    NAAQS for pollutants for which air                       F.3d 1334, 1353 (D.C. Cir. 2013). Both
                                                 final decisions on the NAAQS in this                    quality criteria are issued [42 U.S.C.                   kinds of uncertainties are components
                                                 rulemaking are not based on                             7409(a)]. Section 109(b)(1) defines                      of the risk associated with pollution at
                                                 consideration of the information or                     primary standards as ones ‘‘the                          levels below those at which human
                                                 analyses in the RIA. The RIA fulfills the               attainment and maintenance of which in                   health effects can be said to occur with
                                                 requirements of Executive Orders                        the judgment of the Administrator,                       reasonable scientific certainty. Thus, in
                                                 14094, 13563, and 12866. The RIA                        based on such criteria and allowing an                   selecting primary standards that include
                                                 estimates the costs and monetized                       adequate margin of safety, are requisite                 an adequate margin of safety, the
                                                 human health benefits of attaining the                  to protect the public health.’’ 5 Under                  Administrator is seeking not only to
                                                 revised and two alternative annual                      section 109(b)(2), a secondary standard                  prevent pollution levels that have been
                                                 PM2.5 standard levels and one                           must ‘‘specify a level of air quality the                demonstrated to be harmful but also to
                                                 alternative 24-hour PM2.5 standard level.               attainment and maintenance of which,                     prevent lower pollutant levels that may
                                                 Specifically, the RIA examines the                      in the judgment of the Administrator,                    pose an unacceptable risk of harm, even
                                                 revised annual standard level of 9.0 mg/                based on such criteria, is requisite to                  if the risk is not precisely identified as
                                                 m3 in combination with the current 24-                  protect the public welfare from any                      to nature or degree. The CAA does not
                                                 hour standard of 35 mg/m3 (i.e., 9.0/35                 known or anticipated adverse effects                     require the Administrator to establish a
                                                 mg/m3), as well as the following less and               associated with the presence of [the]                    primary NAAQS at a zero-risk level or
                                                 more stringent alternative standard                     pollutant in the ambient air.’’ 6                        at background concentration levels, see
                                                 levels: (1) An alternative annual                          In setting primary and secondary                      Lead Industries Ass’n v. EPA, 647 F.2d
                                                 standard level of 10.0 mg/m3 in                         standards that are ‘‘requisite’’ to protect              at 1156 n.51, Mississippi v. EPA, 744
                                                 combination with the current 24-hour                    public health and welfare, respectively,                 F.3d at 1351, but rather at a level that
                                                 standard (i.e., 10.0/35 mg/m3), (2) an                  as provided in section 109(b), the EPA’s                 reduces risk sufficiently so as to protect
                                                 alternative annual standard level of 8.0                task is to establish standards that are                  public health with an adequate margin
                                                 mg/m3 in combination with the current                   neither more nor less stringent than                     of safety.
                                                 24-hour standard (i.e., 8.0/35 mg/m3),                  necessary. In so doing, the EPA may not                     In addressing the requirement for an
                                                 and (3) an alternative 24-hour standard                 consider the costs of implementing the                   adequate margin of safety, the EPA
                                                 level of 30 mg/m3 in combination with                   standards. See generally Whitman v.                      considers such factors as the nature and
                                                 an alternative annual standard level of                 American Trucking Associations, 531                      severity of the health effects involved,
                                                 10 mg/m3 (i.e., 10.0/30 mg/m3). The RIA                 U.S. 457, 465–472, 475–76 (2001).                        the size of the sensitive population(s),
                                                 presents estimates of the costs and                     Likewise, ‘‘[a]ttainability and                          and the kind and degree of
                                                 benefits of applying illustrative national              technological feasibility are not relevant               uncertainties. The selection of any
                                                 control strategies in 2032 after                        considerations in the promulgation of                    particular approach to providing an
                                                 implementing existing and expected                      national ambient air quality standards.’’                adequate margin of safety is a policy
                                                                                                         American Petroleum Institute v. Costle,                  choice left specifically to the
                                                 regulations and assessing emissions
                                                                                                         665 F.2d 1176, 1185 (D.C. Cir. 1981);                    Administrator’s judgment. See Lead
                                                 reductions to meet the current annual
                                                                                                         accord Murray Energy Corporation v.                      Industries Ass’n v. EPA, 647 F.2d at
                                                 and 24-hour particulate matter NAAQS
                                                                                                         EPA, 936 F.3d 597, 623–24 (D.C. Cir.                     1161–62; Mississippi v. EPA, 744 F.3d at
                                                 (12.0/35 mg/m3).
                                                                                                         2019).                                                   1353.
                                                 I. Background                                              The requirement that primary                             Section 109(d)(1) of the Act requires
                                                                                                         standards provide an adequate margin                     the review every five years of existing
                                                 A. Legislative Requirements
                                                                                                         of safety was intended to address                        air quality criteria and, if appropriate,
                                                    Two sections of the Clean Air Act                    uncertainties associated with                            the revision of those criteria to reflect
                                                 (CAA) govern the establishment and                      inconclusive scientific and technical                    advances in scientific knowledge on the
                                                 revision of the NAAQS. Section 108 (42                  information available at the time of                     effects of the pollutant on public health
                                                 U.S.C. 7408) directs the Administrator                  standard setting. It was also intended to                and welfare. Under the same provision,
                                                 to identify and list certain air pollutants             provide a reasonable degree of                           the EPA is also to review every five
                                                 and then to issue air quality criteria for              protection against hazards that research                 years and, if appropriate, revise the
                                                 those pollutants. The Administrator is                                                                           NAAQS, based on the revised air quality
                                                 to list those pollutants ‘‘emissions of                    5 The legislative history of section 109 indicates    criteria. Section 109(d)(1) also provides
                                                 which, in his judgment, cause or                        that a primary standard is to be set at ‘‘the            that the Administrator may review and
                                                 contribute to air pollution which may                   maximum permissible ambient air level . . . which
                                                                                                         will protect the health of any [sensitive] group of
                                                                                                                                                                  revise criteria or promulgate new
                                                 reasonably be anticipated to endanger                   the population,’’ and that for this purpose              standards earlier or more frequently.
                                                 public health or welfare’’; ‘‘the presence              ‘‘reference should be made to a representative              Section 109(d)(2) addresses the
                                                 of which in the ambient air results from                sample of persons comprising the sensitive group         appointment and advisory functions of
                                                 numerous or diverse mobile or                           rather than to a single person in such a group.’’ S.     an independent scientific review
ddrumheller on DSK120RN23PROD with RULES3




                                                                                                         Rep. No. 91–1196, 91st Cong., 2d Sess. 10 (1970).
                                                 stationary sources’’; and for which he                     6 Under CAA section 302(h) (42 U.S.C. 7602(h)),       committee. Section 109(d)(2)(A)
                                                 ‘‘plans to issue air quality                            effects on welfare include, but are not limited to,      requires the Administrator to appoint
                                                 criteria. . . .’’ (42 U.S.C. 7408(a)(1)).               ‘‘effects on soils, water, crops, vegetation, manmade    this committee, which is to be
                                                 Air quality criteria are intended to                    materials, animals, wildlife, weather, visibility, and   composed of ‘‘seven members including
                                                                                                         climate, damage to and deterioration of property,
                                                 ‘‘accurately reflect the latest scientific              and hazards to transportation, as well as effects on
                                                                                                                                                                  at least one member of the National
                                                 knowledge useful in indicating the kind                 economic values and on personal comfort and well-        Academy of Sciences, one physician,
                                                 and extent of all identifiable effects on               being.’’                                                 and one person representing State air


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00006   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM    06MRR3
                                                       USCA Case #24-1051                           Document #2043704                               Filed: 03/06/2024                   Page 18 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                                      16207

                                                 pollution control agencies.’’ Section                   Criteria Document (AQCD) (DHEW,                           were as follows: (1) An annual standard
                                                 109(d)(2)(B) provides that the                          1969).7 The Federal reference method                      with a level of 15.0 mg/m3, based on the
                                                 independent scientific review                           (FRM) specified for determining                           3-year average of annual arithmetic
                                                 committee ‘‘shall complete a review of                  attainment of the original standards was                  mean PM2.5 concentrations from single
                                                 the criteria . . . and the national                     the high-volume sampler, which                            or multiple community-oriented
                                                 primary and secondary ambient air                       collects PM up to a nominal size of 25                    monitors; 9 and (2) a 24-hour standard
                                                 quality standards . . . and shall                       to 45 mm (referred to as total suspended                  with a level of 65 mg/m3, based on the
                                                 recommend to the Administrator any                      particulates or TSP). The primary                         3-year average of the 98th percentile of
                                                 new . . . standards and revisions of                    standards were set at 260 mg/m3, 24-                      24-hour PM2.5 concentrations at each
                                                 existing criteria and standards as may be               hour average, not to be exceeded more                     monitor within an area. Also, the EPA
                                                 appropriate. . . .’’ Since the early                    than once per year, and 75 mg/m3,                         established a new reference method for
                                                 1980s, this independent review function                 annual geometric mean. The secondary                      the measurement of PM2.5 in the
                                                 has been performed by the Clean Air                     standards were set at 150 mg/m3, 24-                      ambient air and adopted rules for
                                                 Scientific Advisory Committee (CASAC)                   hour average, not to be exceeded more                     determining attainment of the new
                                                 of the EPA’s Science Advisory Board.                    than once per year, and 60 mg/m3,                         standards. To continue to address the
                                                    As previously noted, the Supreme                     annual geometric mean.                                    health effects of the coarse fraction of
                                                 Court has held that section 109(b)                         In October 1979 (44 FR 56730,                          PM10 (referred to as thoracic coarse
                                                 ‘‘unambiguously bars cost                               October 2, 1979), the EPA announced                       particles or PM10–2.5, generally including
                                                 considerations from the NAAQS-setting                   the first periodic review of the air                      particles with a nominal mean
                                                 process.’’ Whitman v. Am. Trucking                      quality criteria and NAAQS for PM.                        aerodynamic diameter greater than 2.5
                                                 Associations, 531 U.S. 457, 471 (2001).                 Revised primary and secondary                             mm and less than or equal to 10 mm), the
                                                 Accordingly, while some of these issues                 standards were promulgated in 1987 (52                    EPA retained the primary annual PM10
                                                 regarding which Congress has directed                   FR 24634, July 1, 1987). In the 1987                      standard and revised the form of the
                                                 the CASAC to advise the Administrator                   decision, the EPA changed the indicator                   primary 24-hour PM10 standard to be
                                                 are ones that are relevant to the standard              for particles from TSP to PM10, in order                  based on the 99th percentile of 24-hour
                                                 setting process, others are not. Issues                 to focus on the subset of inhalable                       PM10 concentrations at each monitor in
                                                 that are not relevant to standard setting               particles small enough to penetrate to                    an area. The EPA revised the secondary
                                                 may be relevant to implementation of                    the thoracic region of the respiratory                    standards by setting them equal in all
                                                 the NAAQS once they are established.                    tract (including the tracheobronchial                     respects to the primary standards.
                                                                                                         and alveolar regions), referred to as                        Following promulgation of the 1997
                                                 B. Related PM Control Programs                          thoracic particles.8 The level of the 24-                 PM NAAQS, petitions for review were
                                                   States are primarily responsible for                  hour standards (primary and secondary)                    filed by several parties, addressing a
                                                 ensuring attainment and maintenance of                  was set at 150 mg/m3, and the form was                    broad range of issues. In May 1999, the
                                                 ambient air quality standards once the                  one expected exceedance per year, on                      U.S. Court of Appeals for the District of
                                                 EPA has established them. Under                         average over three years. The level of                    Columbia Circuit (D.C. Circuit) upheld
                                                 section 110, Part C, and Part D, Subparts               the annual standards (primary and                         the EPA’s decision to establish fine
                                                 1 and 4 of the CAA, and related                         secondary) was set at 50 mg/m3, and the                   particle standards and to regulate coarse
                                                 provisions and regulations, States are to               form was the annual arithmetic mean,                      particle pollution, but vacated the 1997
                                                 submit, for the EPA’s approval, State                   averaged over three years.                                PM10 standards, concluding that the
                                                 implementation plans (SIPs) that                        2. Review Completed in 1997                               EPA had not provided a reasonable
                                                 provide for the attainment and                                                                                    explanation justifying use of PM10 as an
                                                                                                            In April 1994, the EPA announced its
                                                 maintenance of the NAAQS for PM                                                                                   indicator for coarse particles. American
                                                                                                         plans for the second periodic review of
                                                 through control programs directed to                                                                              Trucking Associations, Inc. v. EPA, 175
                                                                                                         the air quality criteria and NAAQS for
                                                 sources of the pollutants involved. The                                                                           F. 3d 1027 (D.C. Cir. 1999). Pursuant to
                                                                                                         PM, and in 1997 the EPA promulgated
                                                 States, in conjunction with the EPA,                                                                              the D.C. Circuit’s decision, the EPA
                                                                                                         revisions to the NAAQS (62 FR 38652,
                                                 also administer the prevention of                                                                                 removed the vacated 1997 PM10
                                                                                                         July 18, 1997). In the 1997 decision, the
                                                 significant deterioration of air quality                                                                          standards, and the pre-existing 1987
                                                                                                         EPA determined that the fine and coarse
                                                 program that covers these pollutants                                                                              PM10 standards remained in place (65
                                                                                                         fractions of PM10 should be considered
                                                 (see 42 U.S.C. 7470–7479). In addition,                 separately. This determination was                        FR 80776, December 22, 2000). The D.C.
                                                 Federal programs provide for or result                  based on evidence that serious health                     Circuit also upheld the EPA’s
                                                 in nationwide reductions in emissions                   effects were associated with short- and                   determination not to establish more
                                                 of PM and its precursors under Title II                 long-term exposures to fine particles in                  stringent secondary standards for fine
                                                 of the Act, 42 U.S.C. 7521–7574, which                  areas that met the existing PM10                          particles to address effects on visibility.
                                                 involves controls for motor vehicles and                standards. The EPA added new                              American Trucking Associations v.
                                                 nonroad engines and equipment; the                      standards, using PM2.5 as the indicator                   EPA, 175 F. 3d at 1027.
                                                 new source performance standards                        for fine particles (with PM2.5 referring to
                                                 under section 111 of the Act, 42 U.S.C.                 particles with a nominal mean                               9 The 1997 annual PM
                                                                                                                                                                                              2.5 standard was compared
                                                 7411; and the national emissions                        aerodynamic diameter less than or equal                   with measurements made at the community-
                                                 standards for hazardous pollutants                                                                                oriented monitoring site recording the highest
                                                                                                         to 2.5 mm). The new primary standards                     concentration or, if specific constraints were met,
                                                 under section 112 of the Act, 42 U.S.C.                                                                           measurements from multiple community-oriented
                                                 7412.                                                                                                             monitoring sites could be averaged (i.e., ‘‘spatial
ddrumheller on DSK120RN23PROD with RULES3




                                                                                                            7 Prior to the review initiated in 2007 (see below),

                                                                                                         the AQCD provided the scientific foundation (i.e.,        averaging’’). In the last review (completed in 2012)
                                                 C. Review of the Air Quality Criteria and               the air quality criteria) for the NAAQS. Beginning        the EPA replaced the term ‘‘community-oriented’’
                                                 Standards for Particulate Matter                        in that review, the Integrated Science Assessment         monitor with the term ‘‘area-wide’’ monitor. Area-
                                                                                                         (ISA) has replaced the AQCD.                              wide monitors are those sited at the neighborhood
                                                 1. Reviews Completed in 1971 and 1987                      8 PM
                                                                                                                 10 refers to particles with a nominal mean        scale or larger, as well as those monitors sited at
                                                                                                         aerodynamic diameter less than or equal to 10 mm.         micro- or middle-scales that are representative of
                                                   The EPA first established NAAQS for                   More specifically, 10 mm is the aerodynamic               many such locations in the same core-based
                                                 PM in 1971 (36 FR 8186, April 30,                       diameter for which the efficiency of particle             statistical area (CBSA) (78 FR 3236, January 15,
                                                 1971), based on the original Air Quality                collection is 50 percent.                                 2013).



                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00007   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM      06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024                   Page 19 of 217
                                                 16208             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                    The D.C. Circuit also addressed more                 several drafts, the EPA’s National Center                24-hour PM10 standard to provide
                                                 general issues related to the NAAQS,                    for Environmental Assessment (NCEA)                      protection from thoracic coarse particle
                                                 including issues related to the                         finalized the AQCD in October 2004                       exposures and to revoke the annual
                                                 consideration of costs in setting NAAQS                 (U.S. EPA, 2004a). The EPA’s Office of                   PM10 standard. Id. at 533–38. With
                                                 and the EPA’s approach to establishing                  Air Quality Planning and Standards                       regard to the secondary PM2.5 standards,
                                                 the levels of NAAQS. Regarding the cost                 (OAQPS) finalized a Risk Assessment                      the court remanded the standards to the
                                                 issue, the court reaffirmed prior rulings               and Staff Paper in December 2005 (Abt                    EPA because the Agency failed to
                                                 holding that in setting NAAQS the EPA                   Associates, 2005; U.S. EPA, 2005).10 On                  adequately explain why setting the
                                                 is ‘‘not permitted to consider the cost of              December 20, 2005, the EPA announced                     secondary PM standards identical to the
                                                 implementing those standards.’’                         its proposed decision to revise the                      primary standards provided the
                                                 American Trucking Associations v.                       NAAQS for PM and solicited public                        required protection for public welfare,
                                                 EPA, 175 F. 3d at 1040–41. Regarding                    comment on a broad range of options                      including protection from visibility
                                                 the levels of NAAQS, the court held that                (71 FR 2620, January 17, 2006). On                       impairment. Id. at 528–32. The EPA
                                                 the EPA’s approach to establishing the                  September 21, 2006, the EPA                              responded to the court’s remands as part
                                                 level of the standards in 1997 (i.e., both              announced its final decisions to revise                  of the next review of the PM NAAQS,
                                                 for PM and for the ozone NAAQS                          the primary and secondary NAAQS for                      which was initiated in 2007 (discussed
                                                 promulgated on the same day) effected                   PM to provide increased protection of                    below).
                                                 ‘‘an unconstitutional delegation of                     public health and welfare, respectively
                                                                                                                                                                  4. Review Completed in 2012
                                                 legislative authority.’’ American                       (71 FR 61144, October 17, 2006). With
                                                 Trucking Associations v. EPA, 175 F. 3d                 regard to the primary and secondary                         In June 2007, the EPA initiated the
                                                 at 1034–40. Although the court stated                   standards for fine particles, the EPA                    fourth periodic review of the air quality
                                                 that ‘‘the factors EPA uses in                          revised the level of the 24-hour PM2.5                   criteria and the PM NAAQS by issuing
                                                 determining the degree of public health                 standards to 35 mg/m3, retained the level                a call for information (72 FR 35462, June
                                                 concern associated with different levels                of the annual PM2.5 standards at 15.0 mg/                28, 2007). Based on the NAAQS review
                                                 of ozone and PM are reasonable,’’ it                    m3, and revised the form of the annual                   process, as revised in 2008 and again in
                                                 remanded the rule to the EPA, stating                   PM2.5 standards by narrowing the                         2009,11 the EPA held science/policy
                                                 that when the EPA considers these                       constraints on the optional use of spatial               issue workshops on the primary and
                                                 factors for potential non-threshold                     averaging. With regard to the primary                    secondary PM NAAQS (72 FR 34003,
                                                 pollutants ‘‘what EPA lacks is any                      and secondary standards for PM10, the                    June 20, 2007; 72 FR 34005, June 20,
                                                 determinate criterion for drawing lines’’               EPA retained the 24-hour standards,                      2007), and prepared and released the
                                                 to determine where the standards                        with levels at 150 mg/m3, and revoked                    planning and assessment documents
                                                 should be set.                                          the annual standards. The then-                          that comprise the review process (i.e.,
                                                    The D.C. Circuit’s holding on the cost               Administrator judged that the available                  Integrated Review Plan, (IRP; U.S. EPA,
                                                 and constitutional issues were appealed                 evidence generally did not suggest a                     2008), Integrated Science Assessment
                                                 to the United States Supreme Court. In                  link between long-term exposure to                       (ISA; U.S. EPA, 2009a), Risk and
                                                 February 2001, the Supreme Court                        existing ambient levels of coarse                        Exposure Assessment (REA) planning
                                                 issued a unanimous decision upholding                   particles and health or welfare effects.                 documents for health and welfare (U.S.
                                                 the EPA’s position on both the cost and                 In addition, a new reference method                      EPA, 2009b, U.S. EPA, 2009c), a
                                                 constitutional issues. Whitman v.                       was added for the measurement of                         quantitative health risk assessment (U.S.
                                                 American Trucking Associations, 531                     PM10–2.5 in the ambient air in order to                  EPA, 2010a) and an urban-focused
                                                 U.S. 457, 464, 475–76. On the                           provide a basis for approving Federal                    visibility assessment (U.S. EPA, 2010b),
                                                 constitutional issue, the Court held that               Equivalent Methods (FEMs) and to                         and a Policy Assessment (PA; U.S. EPA,
                                                 the statutory requirement that NAAQS                    promote the gathering of scientific data                 2011). In June 2012, the EPA announced
                                                 be ‘‘requisite’’ to protect public health               to support future reviews of the PM                      its proposed decision to revise the
                                                 with an adequate margin of safety                       NAAQS.                                                   NAAQS for PM (77 FR 38890, June 29,
                                                 sufficiently guided the EPA’s discretion,                  Several parties filed petitions for                   2012).
                                                 affirming the EPA’s approach of setting                 review following promulgation of the                        In December 2012, the EPA
                                                 standards that are neither more nor less                revised PM NAAQS in 2006. On                             announced its final decisions to revise
                                                 stringent than necessary.                               February 24, 2009, the D.C. Circuit                      the primary NAAQS for PM to provide
                                                    The Supreme Court remanded the                       issued its opinion in the case American                  increased protection of public health (78
                                                 case to the D.C. Circuit for resolution of              Farm Bureau Federation v. EPA, 559 F.                    FR 3086, January 15, 2013). With regard
                                                 any remaining issues that had not been                  3d 512 (D.C. Cir. 2009). The court                       to primary standards for PM2.5, the EPA
                                                 addressed in that court’s earlier rulings.              remanded the primary annual PM2.5                        revised the level of the annual PM2.5
                                                 Id. at 475–76. In a March 2002 decision,                NAAQS to the EPA because the Agency                      standard 12 to 12.0 mg/m3 and retained
                                                 the D.C. Circuit rejected all remaining                 had failed to adequately explain why                     the 24-hour PM2.5 standard, with its
                                                 challenges to the standards, holding that               the standards provided the requisite                     level of 35 mg/m3. For the primary PM10
                                                 the EPA’s PM2.5 standards were                          protection from both short- and long-                    standard, the EPA retained the 24-hour
                                                 reasonably supported by the                             term exposures to fine particles,                        standard to continue to provide
                                                 administrative record and were not                      including protection for at-risk                         protection against effects associated
                                                 ‘‘arbitrary and capricious.’’ American                  populations. Id. at 520–27. With regard                  with short-term exposure to thoracic
                                                 Trucking Associations v. EPA, 283 F. 3d                 to the standards for PM10, the court                     coarse particles (i.e., PM10–2.5). With
                                                                                                                                                                  regard to the secondary PM standards,
ddrumheller on DSK120RN23PROD with RULES3




                                                 355, 369–72 (D.C. Cir. 2002).                           upheld the EPA’s decisions to retain the
                                                                                                                                                                  the EPA generally retained the 24-hour
                                                 3. Review Completed in 2006                                10 Prior to the review initiated in 2007, the Staff

                                                    In October 1997, the EPA published                   Paper presented the EPA staff’s considerations and         11 The history of the NAAQS review process,

                                                 its plans for the third periodic review of              conclusions regarding the adequacy of existing           including revisions to the process, is discussed at
                                                                                                         NAAQS and, when appropriate, the potential               https://www.epa.gov/naaqs/historical-information-
                                                 the air quality criteria and NAAQS for                  alternative standards that could be supported by the     naaqs-review-process.
                                                 PM (62 FR 55201, October 23, 1997).                     evidence and information. More recent reviews              12 The EPA also eliminated the option for spatial

                                                 After the CASAC and public review of                    present this information in the Policy Assessment.       averaging.



                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00008   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM     06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024             Page 20 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                          16209

                                                 and annual PM2.5 standards 13 and the                   primary and/or secondary NAAQS for                    greater detail in the letter to the then-
                                                 24-hour PM10 standard to address                        PM should be retained or revised.                     Administrator (Cox, 2019b) and in the
                                                 visibility and non-visibility welfare                      In May 2018, the then-Administrator                notice of final rulemaking (85 FR
                                                 effects.                                                issued a memorandum announcing the                    82706–82707, December 18, 2020), as
                                                    As with previous reviews, petitioners                Agency’s intention to conduct the                     well as below. With regard to the
                                                 challenged the EPA’s final rule.                        review of the PM NAAQS in such a                      secondary standards, the CASAC
                                                 Petitioners argued that the EPA acted                   manner as to ensure that any necessary                recommended retaining the current
                                                 unreasonably in revising the level and                  revisions were finalized by December                  standards. In response to the CASAC’s
                                                 form of the annual standard and in                      2020 (Pruitt, 2018). Following this                   comments, the 2020 final PA
                                                 amending the monitoring network                         memo, on October 10, 2018, the then-                  incorporated a number of changes (Cox,
                                                 provisions. On judicial review, the                     Administrator additionally announced                  2019b, U.S. EPA, 2020b), as described in
                                                 revised standards and monitoring                        that the role of reviewing the key                    detail in section I.C.5 of the 2020
                                                 requirements were upheld in all                         assessments developed as part of the                  proposal document (85 FR 24100, April
                                                 respects. NAM v. EPA, 750 F.3d 921                      ongoing review of the PM NAAQS (i.e.,                 30, 2020).
                                                 (D.C. Cir. 2014).                                       drafts of the ISA and PA) would be
                                                                                                                                                               a. 2020 Proposed and Final Actions
                                                                                                         performed by the seven-member
                                                 5. Review Initiated in 2014                             chartered CASAC (i.e., rather than the                   On April 14, 2020, the EPA proposed
                                                    In December 2014, the EPA                            CASAC Particulate Matter Panel that                   to retain all of the primary and
                                                 announced the initiation of the current                 reviewed the draft IRP).14                            secondary PM standards, without
                                                 periodic review of the air quality criteria                The EPA released the draft ISA in                  revision. These proposed decisions were
                                                 for PM and of the PM2.5 and PM10                        October 2018 (83 FR 53471, October 23,                published in the Federal Register on
                                                 NAAQS and issued a call for                             2018). The draft ISA was reviewed by                  April 30, 2020 (85 FR 24094, April 30,
                                                 information (79 FR 71764, December 3,                   the chartered CASAC at a public                       2020). The EPA’s final decision on the
                                                 2014). On February 9 to 11, 2015, the                   meeting held in Arlington, VA in                      PM NAAQS was published in the
                                                 EPA’s NCEA and OAQPS held a public                      December 2018 (83 FR 55529, November                  Federal Register on December 18, 2020
                                                 workshop to inform the planning for the                 6, 2018) and was discussed on a public                (85 FR 82684, December 18, 2020). In
                                                 review of the PM NAAQS (announced                       teleconference in March 2019 (84 FR                   the 2020 rulemaking, the EPA retained
                                                 in 79 FR 71764, December 3, 2014).                      8523, March 8, 2019). The CASAC                       the primary and secondary PM2.5 and
                                                 Workshop participants, including a                      provided its advice on the draft ISA in               PM10 standards, without revision. The
                                                 wide range of external experts as well as               a letter to the then-Administrator dated              then-Administrator’s rationale for his
                                                 the EPA staff representing a variety of                 April 11, 2019 (Cox, 2019a). The EPA                  decisions is described in more detail in
                                                 areas of expertise (e.g., epidemiology,                 addressed these comments in the final                 section II, III, and V below, and is
                                                 human and animal toxicology, risk/                      ISA, which was released in December                   briefly summarized here.
                                                 exposure analysis, atmospheric science,                 2019 (U.S. EPA, 2019a).                                  In reaching his final decision to retain
                                                 visibility impairment, climate effects),                   The EPA released the draft PA in                   the primary annual and 24-hour PM2.5
                                                 were asked to highlight significant new                 September 2019 (84 FR 47944,                          standards, the then-Administrator
                                                 and emerging PM research, and to make                   September 11, 2019). The draft PA was                 considered the available scientific
                                                 recommendations to the Agency                           reviewed by the chartered CASAC and                   evidence, quantitative information,
                                                 regarding the design and scope of the                   discussed in October 2019 at a public                 CASAC advice, and public comments in
                                                 review. This workshop provided for a                    meeting held in Cary, NC. Public                      his supporting rationale in the 2020
                                                 public discussion of the key science and                comments were received via a separate                 final action (85 FR 82714, December 18,
                                                 policy-relevant issues around which the                 public teleconference (84 FR 51555,                   2020). In so doing, he concluded that
                                                 EPA structured the review of the PM                     September 30, 2019). A public meeting                 the available controlled human
                                                 NAAQS and of the most meaningful                        to discuss the chartered CASAC letter                 exposure studies did not provide
                                                 new scientific information that would                   and response to charge questions on the               support for additional public health
                                                 be available in the review to inform                    draft PA was held in Cary, NC, in                     protection against exposures to peak
                                                 understanding of these issues.                          October 2019 (84 FR 51555, September                  PM2.5 concentrations, beyond the
                                                    The input received at the workshop                   30, 2019), and the CASAC provided its                 protection provided by the combination
                                                 guided the EPA staff in developing a                    advice on the draft PA, including its                 of the current primary annual and 24-
                                                 draft IRP, which was reviewed by the                    advice on the current primary and                     hour PM2.5 standards. He also noted that
                                                 CASAC Particulate Matter Panel and                      secondary PM standards, in a letter to                the available epidemiologic studies did
                                                 discussed on public teleconferences                     the then-Administrator dated December                 not indicate that associations in those
                                                 held in May 2016 (81 FR 13362, March                    16, 2019 (Cox, 2019b). With regard to                 studies are strongly influenced by
                                                 14, 2016) and August 2016 (81 FR                        the primary standards, the CASAC                      exposures to peak concentrations in the
                                                 39043, June 15, 2016). Advice from the                  recommended retaining the current 24-                 air quality distribution and thus did not
                                                 CASAC, supplemented by the                              hour PM2.5 and PM10 standards but did                 indicate the need for additional
                                                 Particulate Matter Panel, and input from                not reach consensus on the adequacy of                protection against short-term exposures
                                                 the public were considered in                           the current annual PM2.5 standard. Some               to peak PM2.5 concentrations.
                                                 developing the final IRP (U.S. EPA,                     CASAC members expressed support for                   Accordingly, and taking into account
                                                 2016). The final IRP discusses the                      retaining the current primary annual                  consensus CASAC advice to retain the
                                                 approaches to be taken in developing                    PM2.5 standard while other members                    current primary 24-hour PM2.5 standard,
ddrumheller on DSK120RN23PROD with RULES3




                                                 key scientific, technical, and policy                   expressed support for revising that                   the then-Administrator concluded the
                                                 documents in the review and the key                     standard in order to increase public                  primary 24-hour PM2.5 standard should
                                                 policy-relevant issues that frame the                   health protection (Cox, 2019b, p. 1 of                be retained.
                                                 EPA’s consideration of whether the                      letter). These views are described in                    With respect to the annual PM2.5
                                                                                                                                                               standard, the then-Administrator
                                                    13 Consistent with the primary standard, the EPA       14 Announcement available at: https://              recognized that important uncertainties
                                                 eliminated the option for spatial averaging with the    www.regulations.gov/document/EPA-HQ-OAR-              and limitations that were present in
                                                 annual standard.                                        2015-0072-0223.                                       epidemiologic studies in previous


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00009   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024                Page 21 of 217
                                                 16210             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 reviews remained in the evidence                        percent worst visibility days which are               Administrator reached this decision in
                                                 assessed in the 2019 ISA. In considering                targeted under the Regional Haze                      part based on the fact that the EPA
                                                 the epidemiologic evidence, the then-                   program. With regard to the level of a                noted that the 2020 PA concluded that
                                                 Administrator noted that: (1) The                       visibility index, the then-Administrator              the scientific evidence and information
                                                 reported mean concentration in the                      judged it appropriate to establish a                  called into question the adequacy of the
                                                 majority of the key U.S. epidemiologic                  target level of protection of 30 dv,                  primary annual PM2.5 standard and
                                                 studies using ground-based monitoring                   reflecting the upper end of the range of              supported revising the level to below
                                                 data are above the level of the current                 visibility impairment judged to be                    the current level of 12.0 mg/m3 while
                                                 annual standard; (2) the mean of the                    acceptable by at least 50% of study                   retaining the primary 24-hour PM2.5
                                                 reported study means (or medians) (i.e.,                participants in the available public                  standard (U.S. EPA, 2020b). The EPA
                                                 13.5 mg/m3) is above the level of the                   preference studies, taking into                       also noted that the 2020 PA concluded
                                                 current primary annual PM2.5 standard                   consideration the variability, limitations            that the available scientific evidence
                                                 of 12 mg/m3; (3) air quality analyses                   and uncertainties of the public                       and information supported retaining the
                                                 show the study means to be lower than                   preference studies. The then-                         primary PM10 standard and secondary
                                                 their corresponding design by 10–20%;                   Administrator judged that the secondary               PM standards without revision (U.S.
                                                 and (4) that these analyses must be                     24-hour PM2.5 standard with its level of              EPA, 2020b).
                                                 considered in light of uncertainties                    35 mg/m3 would provide at least the                      The EPA staff conclusions detailed in
                                                 inherent in the epidemiologic evidence.                 target level of protection for visual air             the 2020 PA in combination with the
                                                 The then-Administrator further                          quality of 30 dv which he judged                      CASAC advice that informed the
                                                 considered other available information,                 appropriate. Accordingly, taking into                 Administrator’s decisions regarding the
                                                 including the risk assessment,                          consideration the advice of the CASAC                 2020 final action, studies highlighted by
                                                 accountability studies, and controlled                  to retain the current secondary PM                    public comments on the 2020 proposal,
                                                 human exposure studies, and found                       standards, the then-Administrator found               and the numerous studies published
                                                 that, in considering all of the evidence                the current secondary standards provide               since the literature cutoff date of the
                                                 together along with advice from the                     the requisite degree of protection and                2019 ISA all informed the scope of the
                                                 CASAC, the suite of primary PM2.5                       that they should be retained (85 FR                   reconsideration.
                                                 standards were requisite to protect                     82742, December 18, 2020).                               In its review of the 2019 draft PA,
                                                 public health with an adequate margin                      Following publication of the 2020                  some members of the CASAC had
                                                 of safety, and should be retained,                      final action, several parties filed                   recommended that greater attention
                                                 without revision.                                       petitions for review and petitions for                should be given to accountability
                                                    With regard to the primary PM10                      reconsideration of the EPA’s final                    studies and epidemiologic studies that
                                                 standard, the then-Administrator noted                  decision. The petitions for review were               employ alternative methods for
                                                 that the expanded body of evidence has                  filed in the D.C. Circuit and the Court               confounder control (also referred to as
                                                 broadened the range of effects that have                consolidated the cases.15 Following                   causal inference or causal modeling
                                                 been linked with PM10–2.5 exposures. In                 EPA’s decision to reconsider the 2020                 studies) in order to ‘‘more fully account
                                                 light of that information, as well as                                                                         for effects of confounding, measurement
                                                                                                         final decision, the Court ordered the
                                                 continued uncertainties in the evidence                                                                       and estimation errors, model
                                                                                                         consolidated cases to be held in
                                                 and advice from the CASAC to retain                                                                           uncertainty, and heterogeneity’’ in
                                                                                                         abeyance.
                                                 the standard, the then-Administrator                                                                          epidemiologic studies (Cox, 2019b, p. 8
                                                 judged it appropriate to retain the                     b. Reconsideration of the 2020 PM
                                                                                                                                                               of consensus responses). In addition,
                                                 primary PM10 standard to provide the                    NAAQS Final Action
                                                                                                                                                               public commenters submitted a number
                                                 requisite degree of public health                         Executive Order 13990 directed                      of recent studies published after the
                                                 protection against PM10–2.5 exposures,
                                                                                                         review of certain agency actions (86 FR               literature cutoff date for the 2019 ISA
                                                 regardless of location, source of origin,
                                                                                                         7037, January 25, 2021).16 An                         that would have been considered within
                                                 or particle composition (85 FR 82725,
                                                                                                         accompanying fact sheet provided a                    the scope of the 2019 ISA. While the
                                                 December 18, 2020).
                                                    With regard to the secondary PM                      non-exclusive list of agency actions that             EPA provisionally considered these
                                                 standards, the then-Administrator                       agency heads should review in                         studies in responding to public
                                                 concluded that there was insufficient                   accordance with that order, including                 comments,19 it was determined that, at
                                                 information available to establish any                  the 2020 Particulate Matter NAAQS                     the time of the 2020 final action, these
                                                 distinct secondary PM standards to                      Decision.17                                           studies were generally consistent with
                                                 address climate and materials effects of                  On June 10, 2021, the Agency                        the evidence assessed in the 2019 ISA
                                                 PM. For visibility effects, he found that               announced its decision to reconsider the              (85 FR 82690, December 18, 2020; U.S.
                                                 in the absence of a monitoring network                  2020 PM NAAQS final action because                    EPA, 2020a). As such, and consistent
                                                 for direct measurement of light                         the available scientific evidence and                 with previous NAAQS reviews, the EPA
                                                 extinction, a calculated light extinction               technical information indicate that the               concluded that the new studies did not
                                                 indicator that utilizes the IMPROVE                     current standards may not be adequate                 materially change any of the broad
                                                 algorithms continued to provide a                       to protect public health and welfare, as              scientific conclusions regarding the
                                                 reasonable basis for defining a target                  required by the Clean Air Act.18 The                  health and welfare effects of PM in
                                                 level of protection against PM-related                                                                        ambient air made in the air quality
                                                 visibility impairment. He further found
                                                                                                           15 See California v. EPA, (D.C. Cir., No. 21–2014
                                                                                                                                                               criteria, and therefore, reopening of the
                                                                                                         consolidated with Nos. 21–1027, 21–1054).             air quality criteria was not warranted
ddrumheller on DSK120RN23PROD with RULES3




                                                 that a visibility index with a 24-hour                    16 See https://www.whitehouse.gov/briefing-room/
                                                 averaging time was reasonable based on                  presidential-actions/2021/01/20/executive-order-
                                                                                                                                                               (85 FR 82691, December 18, 2020).
                                                 its stability and suitability for                       protecting-public-health-and-environment-and-         However, at that time, the EPA
                                                 representing subdaily periods, and a                    restoring-science-to-tackle-climate-crisis/.
                                                                                                           17 See https://www.whitehouse.gov/briefing-room/    reexamine-health-standards-harmful-soot-previous-
                                                 form based on the 3-year average of
                                                                                                         statements-releases/2021/01/20/fact-sheet-list-of-    administration-left-unchanged.
                                                 annual 90th percentile values was                       agency-actions-for-review/.                             19 The list of provisionally considered studies is
                                                 reasonable based on its stability and that                18 The press release for this announcement is       included in Appendix A to the 2020 Response to
                                                 it represents the median of the 20                      available at: https://www.epa.gov/newsreleases/epa-   Comments document (U.S. EPA, 2020a).



                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00010   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024                 Page 22 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                                    16211

                                                 recognized that its ‘‘provisional                       NAAQS proposal and recent studies                     2021a; 86 FR 54186, September 30,
                                                 consideration of these studies did not                  published since the cutoff date of the                2021), and included a discussion of the
                                                 and could not provide the kind of in-                   2019 ISA, as reflected in petitions. In               rationale and scope of the Supplement.
                                                 depth critical review’’ (85 FR 82690,                   deciding to reopen the air quality                    As explained therein, the ISA
                                                 December 18, 2020) that studies                         criteria, the Agency concluded it was                 Supplement focuses on a thorough
                                                 undergo in the development of an ISA.                   reasonable to focus on studies that were              evaluation of some studies that became
                                                    In preparing to reconsider the 2020                  most likely to inform decisions on the                available after the literature cutoff date
                                                 final decision for the PM NAAQS, the                    appropriate standard, but not to reassess             of the 2019 ISA that could either further
                                                 Agency revisited the need to reopen the                 areas which, based on the assessment of               inform the adequacy of the current PM
                                                 air quality criteria, given the amount of               available science published since the                 NAAQS or address key scientific topics
                                                 time that had passed since the literature               cutoff date of the 2019 ISA and through               that have evolved since the literature
                                                 cutoff date of the 2019 ISA (i.e.,                      2021, were judged unlikely to have new
                                                                                                                                                               cutoff date for the 2019 ISA. In selecting
                                                 approximately January 2018) and the                     information that would be useful for the
                                                                                                                                                               the health effects to evaluate within the
                                                 volume of literature that had become                    Administrator’s decision making. The
                                                                                                                                                               ISA Supplement, the EPA focused on
                                                 available, including those studies                      Agency accordingly announced that, in
                                                                                                         support of the reconsideration, it would              health effects for which the evidence
                                                 provisionally considered in responding                                                                        supported a ‘‘causal relationship’’
                                                 to comments in 2020. In so doing, the                   develop a supplement to the 2019 ISA
                                                                                                         and a revised PA.                                     because those were the health effects
                                                 EPA preliminarily concluded that at
                                                                                                            The EPA also explained that the draft              that were most useful in informing
                                                 least some of these studies were likely
                                                                                                         ISA Supplement and draft PA would be                  conclusions in the 2020 PA (U.S. EPA,
                                                 to be relevant to its reconsideration of
                                                 the air quality criteria and the PM                     reviewed at a public meeting by the                   2022a, section 1.2.1).24 Consistent with
                                                 NAAQS and that, in considering public                   CASAC, and the public would have                      the rationale for the focus on certain
                                                 comments on any proposed decisions                      opportunities to comment on these                     health effects, in selecting the non-
                                                 for the reconsideration, these studies                  documents during the CASAC review                     ecological welfare effects to evaluate
                                                 were likely to be raised by public                      process, as well as to provide input                  within the ISA Supplement, the EPA
                                                 commenters and would potentially                        during the rulemaking through the                     focused on the non-ecological welfare
                                                 warrant a reopening of the air quality                  public comment process and public                     effects for which the evidence
                                                 criteria. For example, on February 16,                  hearings on the proposed rulemaking.                  supported a ‘‘causal relationship’’ and
                                                 2021, the EPA received two petitions to                    On March 31, 2021, the Administrator               for which quantitative analyses could be
                                                 reconsider the PM NAAQS. One                            announced his decision to reestablish                 supported by the evidence because
                                                 petition objected to the EPA’s                          the membership of the CASAC to                        those were the welfare effects that were
                                                 provisional consideration of studies                    ‘‘ensure the agency received the best                 most useful in informing conclusions in
                                                 submitted in public comments on the                     possible scientific insight to support our            the 2020 PA.25 Specifically, for non-
                                                 2020 proposal and suggested that the                    work to protect human health and the
                                                                                                                                                               ecological welfare effects, the focus
                                                 provisional consideration was                           environment.’’ 20 Consistent with this
                                                                                                                                                               within the ISA Supplement is on
                                                 inadequate because the studies could be                 memorandum, a call for nominations of
                                                                                                                                                               visibility effects. The ISA Supplement
                                                 important in determining whether the                    candidates to the EPA’s chartered
                                                                                                         CASAC was published in the Federal                    also considers recent health effects
                                                 existing standards are adequately                                                                             evidence that addresses key scientific
                                                 protective. See, Petition for                           Register (86 FR 17146, April 1, 2021).
                                                                                                         On June 17, 2021, the Administrator                   topics where the literature has evolved
                                                 Reconsideration of National Ambient                                                                           since the 2020 review was completed,
                                                 Air Quality Standards for Particulate                   announced his selection of the seven
                                                 Matter, submitted by American Lung                      members to serve on the chartered
                                                                                                                                                                  24 As described in section 1.2.1 of the ISA
                                                 Association, et al, dated Feb. 16, 2020.                CASAC.21 22 Additionally, a call for
                                                                                                                                                               Supplement: ‘‘In considering the public health
                                                 The other petition identified a number                  nominations of candidates to a PM-                    protection provided by the current primary PM2.5
                                                 of new studies, including one                           specific panel was published in the                   standards, and the protection that could be
                                                 epidemiologic study that was published                  Federal Register (86 FR 33703, June 25,               provided by alternatives, [the U.S. EPA, within the
                                                 after the provisional consideration was                 2021). The members of the PM CASAC                    2020 PM PA] emphasized health outcomes for
                                                                                                         panel were announced on August 30,                    which the ISA determined that the evidence
                                                 completed that could further inform the                                                                       supports either a ‘causal’ or a ‘likely to be causal’
                                                 concern expressed by the CASAC that                     2021.23                                               relationship with PM2.5 exposures’’ (U.S. EPA,
                                                 associations reported in epidemiologic                     The draft ISA Supplement was                       2020b). Although the 2020 PA initially focused on
                                                 studies do not adequately account for                   released in September 2021 (U.S. EPA,                 this broader set of evidence, the basis of the
                                                                                                                                                               discussion on potential alternative standards
                                                 ‘‘uncontrolled confounding and other                      20 The press release for this announcement is       primarily focused on health effect categories where
                                                 potential sources of error and bias.’’ See              available at: https://www.epa.gov/newsreleases/       the 2019 PM ISA concluded a ‘causal relationship’
                                                 Petition for Reconsideration of ‘‘Review                administrator-regan-directs-epa-reset-critical-       (i.e., short- and long-term PM2.5 exposure and
                                                 of the National Ambient Air Quality                     science-focused-federal-advisory.                     cardiovascular effects and mortality) as reflected in
                                                                                                           21 The press release for this announcement is       Figures 3–7 and 3–8 of the 2020 PA (U.S. EPA,
                                                 Standards for Particulate Matter,’’                                                                           2020b).’’
                                                                                                         available at: https://www.epa.gov/newsreleases/epa-
                                                 submitted by the State of California,                   announces-selections-charter-members-clean-air-          25 As described in section 1.2.1 of the ISA
                                                 dated Feb. 16, 2020. This was also an                   scientific-advisory-committee.                        Supplement: ‘‘The 2019 PM ISA concluded a
                                                 uncertainty noted by the then-                            22 The list of members of the chartered CASAC       ‘causal relationship’ for each of the welfare effects
                                                 Administrator in the 2020 decision, who                 and their biosketches are available at: https://      categories evaluated (i.e., visibility, climate effects
                                                                                                         casac.epa.gov/ords/sab/r/sab_apex/casac/              and materials effects). While the 2020 PA
                                                 also recognized ‘‘that methodological
ddrumheller on DSK120RN23PROD with RULES3




                                                                                                         mems?p14_                                             considered the broader set of evidence for these
                                                 study designs to address confounding,                   committeeon=2021%20CASAC%20PM%20Panel                 effects, for climate effects and material effects, it
                                                 such as causal inference methods, are an                &session=17433386035954.                              concluded that there remained ‘substantial
                                                 emerging field of study.’’ Thus, the                      23 The list of members of the PM CASAC panel        uncertainties with regard to the quantitative
                                                 Agency concluded it was appropriate to                  and their biosketches are available at: https://      relationships with PM concentrations and
                                                                                                         casac.epa.gov/ords/sab/                               concentration patterns that limit[ed] [the] ability to
                                                 reconsider not only the standards but                   f?p=105:14:9979229564047:::14:P14_                    quantitatively assess the public welfare protection
                                                 also the air quality criteria, in light of              COMMITTEEON:2021%20CASAC                              provided by the standards from these effects’ (U.S.
                                                 public comments during the 2020 PM                      %20PM%20Panel.                                        EPA, 2020b).’’



                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00011   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024             Page 23 of 217
                                                 16212             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 specifically since the literature cutoff                conclusions on causality (i.e., causality             letter). The CASAC generally endorsed
                                                 date for the 2019 ISA.26                                determinations). The ISA Supplement                   EPA’s decisions regarding the limited
                                                   Building on the rationale presented in                critically evaluates and provides key                 scope of the draft ISA Supplement,
                                                 section 1.2.1, the ISA Supplement                       study-specific information for those                  stating that ‘‘this limitation [on scope] is
                                                 considers peer-reviewed studies                         recent studies deemed to be of greatest               appropriate for the targeted purpose of
                                                 published from approximately January                    significance for informing preliminary                the Draft ISA Supplement’’ although the
                                                 2018 through March 2021 that meet the                   conclusions on the PM NAAQS in the                    CASAC noted it would not be
                                                 following criteria:                                     context of the body of evidence and                   appropriate for ISAs generally, and
                                                 • Health Effects                                        scientific conclusions presented in the               recommended that the EPA provide
                                                                                                         2019 ISA.                                             additional acknowledgment and
                                                    Æ U.S. and Canadian epidemiologic                       In developing a revised PA to support              explanation for the limited scope
                                                 studies for health effect categories                    the reconsideration, the EPA considered               (Sheppard, 2022b, p. 2 of letter; see also
                                                 where the 2019 ISA concluded a                          the available scientific evidence,                    pp. 2–3 of consensus responses). The
                                                 ‘‘causal relationship’’ (i.e., short- and               including the evidence presented in the               EPA specifically noted in the final ISA
                                                 long-term PM2.5 exposure and                            2019 ISA and ISA Supplement. The                      Supplement, which was released in May
                                                 cardiovascular effects and mortality).                  2022 PA considered the quantitative                   2022 (U.S. EPA, 2022a; hereafter
                                                    D U.S. and Canadian epidemiologic                    and technical information presented in                referred to as the ISA Supplement
                                                 studies that employed alternative                       the 2020 PA, in addition to new and                   throughout this document) that the
                                                 methods for confounder control or                       updated analyses conducted since the                  ‘‘targeted approach to developing the
                                                 conducted accountability analyses (i.e.,                2020 final decision. For those health                 Supplement to the 2019 PM ISA for the
                                                 examined the effect of a policy on                      and welfare effects for which the ISA                 purpose of reconsidering the 2020 PM
                                                 reducing PM2.5 concentrations).                         Supplement evaluated recently                         NAAQS decision does not reflect a
                                                 • Welfare Effects                                       available studies (i.e., PM2.5-related                change to EPA’s approach for
                                                                                                         health effects and visibility effects), new           developing ISAs for NAAQS reviews.’’
                                                   Æ U.S. and Canadian studies that                      updated quantitative analyses were
                                                 provide new information on public                                                                             Thus, the evidence presented within the
                                                                                                         conducted as a part of the development                2019 ISA, along with the targeted
                                                 preferences for visibility impairment                   of the 2022 PA. The newly available
                                                 and/or developed methodologies or                                                                             identification and evaluation of new
                                                                                                         scientific and technical information                  scientific information in the ISA
                                                 conducted quantitative analyses of light                presented in the 2022 PA were
                                                 extinction.                                                                                                   Supplement, provides the scientific
                                                                                                         considered in reaching conclusions                    basis for the reconsideration of the 2020
                                                 • Key Scientific Topics                                 regarding the adequacy of the current                 PM NAAQS final decision.
                                                                                                         standards and any potential alternative
                                                    Æ Experimental studies (i.e.,                        standards. For those health and welfare                  The draft PA was released in October
                                                 controlled human exposure and animal                    effects for which newly available                     2021 (86 FR 56263, October 8, 2021).
                                                 toxicological) conducted at near-                       scientific and technical information                  The CASAC PM panel met at a virtual
                                                 ambient PM2.5 concentrations                            were not evaluated (i.e., PM10–2.5-related            public meeting in December 2021 to
                                                 experienced in the U.S.                                 health effects and non-visibility welfare             review the draft PA (86 FR 52673,
                                                    Æ U.S.- and Canadian-based                                                                                 September 22, 2021). A virtual public
                                                                                                         effects), the conclusions presented in
                                                 epidemiologic studies that examined the                                                                       meeting was then held in February 2022
                                                                                                         the 2022 PA rely heavily on the
                                                 relationship between PM2.5 exposures                                                                          and March 2022, and during this
                                                                                                         information that supported the
                                                 and severe acute respiratory syndrome                   conclusions in the 2020 PA.                           meeting the chartered CASAC
                                                 coronavirus 2 (SARS–CoV–2) infection                       The CASAC PM panel met at a virtual                considered the CASAC PM panel’s draft
                                                 and coronavirus disease 2019 (COVID–                    public meeting in November 2021 to                    letter to the Administrator on the draft
                                                 19) death.                                              review the draft ISA Supplement (86 FR                PA (87 FR 958, January 7, 2022). The
                                                    Æ At-Risk Populations.                               52673, September 22, 2021). A virtual                 chartered CASAC provided its advice on
                                                    D U.S.- and Canadian-based                                                                                 the draft PA in a letter to the EPA
                                                                                                         public meeting was then held in
                                                 epidemiologic or exposure studies                                                                             Administrator dated March 18, 2022
                                                                                                         February 2022, and during this meeting
                                                 examining potential disparities in either                                                                     (Sheppard, 2022a). The EPA took steps
                                                                                                         the chartered CASAC considered the
                                                 PM2.5 exposures or the risk of health                                                                         to address these comments in revising
                                                                                                         CASAC PM panel’s draft letter to the
                                                 effects by race/ethnicity or                            Administrator on the draft ISA                        and finalizing the PA. The 2022 PA
                                                 socioeconomic status (SES).                             Supplement (87 FR 958, January 7,                     considers the scientific evidence
                                                    Given the narrow scope of the ISA                                                                          presented in the 2019 ISA and ISA
                                                                                                         2022).
                                                 Supplement, it is important to recognize                   The chartered CASAC provided its                   Supplement and considers the
                                                 that the evaluation does not encompass                  advice on the draft ISA Supplement in                 quantitative and technical information
                                                 the full multidisciplinary evaluation                   a letter to the EPA Administrator dated               presented in the 2020 PA, along with
                                                 presented within the 2019 ISA that                      March 18, 2022 (Sheppard, 2022b). In                  updated and newly available analyses
                                                 would result in weight-of-evidence                      its review of the draft ISA Supplement,               since the completion of the 2020 review.
                                                    26 These key scientific topics include
                                                                                                         the CASAC noted that they found ‘‘the                 For those health and welfare effects for
                                                 experimental studies conducted at near-ambient
                                                                                                         Draft ISA Supplement to be a well-                    which the ISA Supplement evaluated
                                                 concentrations, epidemiologic studies that              written, comprehensive evaluation of                  recently available evidence and for
                                                 employed alternative methods for confounder             the new scientific information                        which updated quantitative analyses
                                                 control or conducted accountability analyses,           published since the 2019 PM ISA’’                     were supported (i.e., PM2.5-related
ddrumheller on DSK120RN23PROD with RULES3




                                                 studies that assess the relationship between PM2.5
                                                 exposure and severe acute respiratory syndrome
                                                                                                         (Sheppard, 2022b, p. 2 of letter).                    health effects and visibility effects), the
                                                 coronavirus 2 (SARS–CoV–2) infection and                Furthermore, the CASAC stated that                    2022 PA includes consideration of this
                                                 coronavirus disease 2019 (COVID–19) death; and in       ‘‘the final Integrated Science                        newly available scientific and technical
                                                 accordance with recent EPA goals on addressing          Assessment (ISA) Supplement . . .                     information in reaching preliminary
                                                 environmental justice, studies that examine
                                                 disparities in PM2.5 exposure and the risk of health
                                                                                                         deserve[s] the Administrator’s full                   conclusions. For those health and
                                                 effects by race/ethnicity or socioeconomic status       consideration and [is] adequate for                   welfare effects for which newly
                                                 (SES) (U.S. EPA, 2022a, section 1.2.1).                 rulemaking’’ (Sheppard, 2022b, p. 2 of                available scientific and technical


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00012   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024             Page 24 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                         16213

                                                 information were not evaluated (i.e.,                   rigorously assessed in an integrative                 taken into account (58 FR 13013–13014,
                                                 PM10–2.5-related health effects and non-                manner not only by the EPA but also by                March 9, 1993). In the present case, the
                                                 visibility effects), the conclusions                    the statutorily mandated independent                  EPA decided to partially reopen the air
                                                 presented in the 2022 PA rely heavily                   scientific advisory committee, as well as             quality criteria and prepared an ISA
                                                 on the information that supported the                   the public review that accompanies this               Supplement as a part of the
                                                 conclusions in the 2020 PA. The final                   process. It is for this reason that the EPA           reconsideration to facilitate evaluation
                                                 PA was released in May 2022 (U.S. EPA,                  preliminarily concluded that the                      of these studies by the EPA, the CASAC,
                                                 2022b; hereafter referred to as the 2022                scientific evidence available since the               and the public. The narrow scope of the
                                                 PA throughout this document).                           completion of the 2019 ISA, including                 ISA Supplement is supported by EPA’s
                                                    Drawing from his consideration of the                those raised in public comments on the                provisional consideration of ‘‘new’’
                                                 scientific evidence assessed in the 2019                proposal in 2020, warranted a partial                 studies submitted in response to public
                                                 ISA and ISA Supplement and the                          reopening of the air quality criteria and             comments on the 2020 proposal which
                                                 analyses in the 2022 PA, including the                  prepared an ISA Supplement to enable                  concluded that, taken in context, the
                                                 uncertainties in the evidence and                       the EPA, the CASAC, and the public to                 ‘‘new’’ information and findings do not
                                                 analyses, and from his consideration of                 consider them further. Some                           materially change any of the broad
                                                 advice from the CASAC, on January 5,                    commenters have referred to and                       scientific conclusions regarding the
                                                 2023, the Administrator proposed to                     discussed additional individual                       health and welfare effects of PM in
                                                 revise the level of the primary annual                  scientific studies on the health effects of           ambient air made in the air quality
                                                 PM2.5 standard and to retain the primary                PM that were not included in the 2019                 criteria. Therefore, a full reopening of
                                                 24-hour PM2.5 standard, the primary 24-                 ISA or ISA Supplement (‘‘new studies’’)               the air quality criteria was not
                                                 hour PM10 standard, and the secondary                   and that have not gone through this                   warranted to assess the health and
                                                 PM standards. These proposed                            comprehensive review process. In                      welfare effects of PM for purposes of the
                                                 decisions were published in the Federal                 considering and responding to                         review.
                                                 Register on January 27, 2023 (88 FR                     comments for which such ‘‘new’’                          Accordingly, the EPA is basing the
                                                 5558, January 27, 2023). The EPA held                   studies were cited in support, the EPA                final decisions in this reconsideration
                                                 a multi-day virtual public hearing on                   has provisionally considered the cited                on the studies and related information
                                                 February 21–23, 2023 (88 FR 6215,                       studies in the context of the findings of             included in the PM air quality criteria
                                                 January 31, 2023). In total, the EPA                    the 2019 ISA and ISA Supplement. The                  (including the 2019 PM ISA and ISA
                                                 received nearly 700,000 comments on                     EPA’s provisional consideration of these              Supplement) that have undergone
                                                 the proposal from members of the                        studies did not and could not provide                 rigorous review by the EPA, the CASAC,
                                                 public by the close of the public                       the kind of in-depth critical review                  and the public. The EPA will consider
                                                 comment period on March 28, 2023.                       described above, but rather was focused               these ‘‘new’’ studies for inclusion in the
                                                 Major issues raised in the public                       on determining whether they warranted                 air quality criteria for the next PM
                                                 comments are discussed throughout the                   further reopening the review of the air               NAAQS review, which the EPA expects
                                                 preamble of this final action. A more                   quality criteria to enable the EPA, the               to begin soon after the conclusion of this
                                                 detailed summary of all significant                     CASAC, and the public to consider                     reconsideration and which will provide
                                                 comments, along with the EPA’s                          them further.                                         the opportunity to fully assess these
                                                 responses (henceforth ‘‘Response to                        This approach, and the decision to                 studies through a more rigorous review
                                                 Comments’’ document), can be found in                   rely on the studies and related                       process involving the EPA, the CASAC,
                                                 the docket for this rulemaking (Docket                  information in the air quality criteria,              and the public.
                                                 No. EPA–HQ–OAR–2015–0072).                              which have undergone CASAC and
                                                    As in prior reviews, the EPA is basing               public review, is consistent with the                 D. Air Quality Information
                                                 its decision in this reconsideration on                 EPA’s practice in prior NAAQS reviews                   This section provides a summary of
                                                 studies and related information in the                  and its interpretation of the                         basic information related to PM ambient
                                                 air quality criteria, which have                        requirements of the CAA. Since the                    air quality. It summarizes information
                                                 undergone CASAC and public review.                      1970 amendments, the EPA has taken                    on the distribution of particle size in
                                                 These studies assessed in the 2019                      the view that NAAQS decisions are to                  ambient air (section I.D.1), sources and
                                                 ISA 27 and ISA Supplement 28 and the                    be based on scientific studies and                    emissions contributing to PM in the
                                                 2022 PA, and the integration of the                     related information that have been                    ambient air (section I.D.2), monitoring
                                                 scientific evidence presented in them,                  assessed as a part of the pertinent air               ambient PM in the U.S. (section I.D.3),
                                                 have undergone extensive critical                       quality criteria, and the EPA has                     ambient PM concentrations and trends
                                                 review by the EPA, the CASAC, and the                   consistently followed this approach.                  in the U.S. (I.D.4), characterizing
                                                 public. Decisions on the NAAQS should                   This longstanding interpretation was                  ambient PM2.5 concentrations for
                                                 be based on studies that have been                      strengthened by new legislative                       exposure (section I.D.5), and
                                                                                                         requirements enacted in 1977, which                   background PM (section I.D.6).
                                                   27 In addition to the 2020 review’s opening ‘‘call
                                                                                                         added section 109(d)(2) of the Act                    Additional detail on PM air quality can
                                                 for information’’ (79 FR 71764, December 3, 2014),      concerning CASAC review of air quality                be found in Chapter 2 of the 2022 PA
                                                 the 2019 ISA identified and evaluated studies and
                                                 reports that have undergone scientific peer review      criteria. See 71 FR 6114, 61148 (October              (U.S. EPA, 2022b).
                                                 and were published or accepted for publication          17, 2006, final decision on review of
                                                                                                                                                               1. Distribution of Particle Size in
                                                 between January 1, 2009, through approximately          NAAQS for particulate matter) for a
                                                 January 2018 (U.S. EPA, 2019a, p. ES–2). References                                                           Ambient Air
                                                                                                         detailed discussion of this issue and the
                                                 that are cited in the 2019 ISA, the references that                                                              In ambient air, PM is a mixture of
ddrumheller on DSK120RN23PROD with RULES3




                                                 were considered for inclusion but not cited, and
                                                                                                         EPA’s past practice.
                                                 electronic links to bibliographic information and          As discussed in the EPA’s 1993                     substances suspended as small liquid
                                                 abstracts can be found at: https://hero.epa.gov/hero/   decision not to review the O3 NAAQS,                  and/or solid particles (U.S. EPA, 2019a,
                                                 particulate-matter.                                     ‘‘new’’ studies may sometimes be of                   section 2.2) and distinct health and
                                                   28 As described above, the ISA Supplement
                                                                                                         such significance that it is appropriate              welfare effects have been linked with
                                                 represents an evaluation of recent studies that are
                                                 of greatest policy relevance and utility to the
                                                                                                         to delay a decision in a NAAQS review                 exposures to particles of different sizes.
                                                 reconsideration of the 2020 final decision on the       and to supplement the pertinent air                   Particles in the atmosphere range in size
                                                 PM NAAQS (U.S. EPA, 2022a).                             quality criteria so the studies can be                from less than 0.01 to more than 10 mm


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00013   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024                 Page 25 of 217
                                                 16214             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 in diameter (U.S. EPA, 2019a, section                   aerosol particles (PBAP) such as bacteria              The EPA will develop fire-related
                                                 2.2). The EPA defines PM2.5, also                       and pollen, oxidation of biogenic                      exceptional events implementation
                                                 referred to as fine particles, as particles             hydrocarbons, such as isoprene and                     tools, including updates as needed to
                                                 with aerodynamic diameters generally                    terpenes to produce secondary organic                  existing guidance to facilitate more
                                                 less than or equal to 2.5 mm. The size                  aerosol (SOA), and geogenic sources,                   efficient processing of PM2.5-related
                                                 range for PM10–2.5, also called coarse or               such as sulfate formed from volcanic                   exceptional events demonstrations for
                                                 thoracic coarse particles, includes those               production of SO2. Wildland fire, which                both the 24-hour and annual standards.
                                                 particles with aerodynamic diameters                    encompass both wildfire and prescribed                 3. Monitoring of Ambient PM
                                                 generally greater than 2.5 mm and less                  fire, accounts for 44% of emissions of
                                                 than or equal to 10 mm. PM10, which is                  primary PM2.5 emissions (U.S. EPA,                        To promote uniform application of
                                                 comprised of both fine and coarse                       2021b). Emissions from wildfire                        the air quality standards set forth under
                                                 fractions, includes those particles with                comprises 29% of primary PM2.5                         the CAA and to achieve the degree of
                                                 aerodynamic diameters generally less                    emissions.                                             public health and welfare protection
                                                 than or equal to 10 mm. In addition,                       In recent years, the frequency and                  intended for the NAAQS, the EPA
                                                 ultrafine particles (UFP) are often                     magnitude of wildfires have increased                  establishes PM Federal Reference
                                                 defined as particles with a diameter of                 (U.S. EPA, 2019a). The magnitude of the                Methods (FRMs) for both PM10 and
                                                 less than 0.1 mm based on physical size,                public health impact of wildfires is                   PM2.5 in appendices J and L to 40 CFR
                                                 thermal diffusivity or electrical mobility              substantial both because of the increase               part 50, both of which were amended
                                                 (U.S. EPA, 2019a, section 2.2).                         in PM2.5 concentrations as well as the                 following the 2006 and 2012 PM
                                                 Atmospheric lifetimes are generally                     duration of the wildfire smoke season,                 NAAQS reviews. The current PM
                                                 longest for PM2.5, which often remains                  which is considered to range from May                  monitoring network relies on FRMs and
                                                 in the atmosphere for days to weeks                     to November. Wildfire can make a large                 automated continuous Federal
                                                 (U.S. EPA, 2019a, Table 2–1) before                     contribution to air pollution (including               Equivalent Methods (FEMs) approved
                                                 being removed by wet or dry deposition,                 PM2.5), and wildfire events can threaten               pursuant to 40 CFR part 53, in part to
                                                 while atmospheric lifetimes for UFP and                 public safety and life. The impacts of                 support changes necessary for
                                                 PM10–2.5 are shorter and are generally                  wildfire events can be mitigated through               implementation of the revised PM
                                                 removed from the atmosphere within                      management of wildland vegetation,                     standards. Additionally, 40 CFR part 58,
                                                 hours, through wet or dry deposition                    including through prescribed fire.                     appendices A through E, detail the
                                                 (U.S. EPA, 2019a, Table 2–1; U.S. EPA,                  Prescribed fire (and some wildfires) can               requirements to measure ambient air
                                                 2022b, section 2.1).                                                                                           quality and report ambient air quality
                                                                                                         mimic the natural processes necessary
                                                                                                                                                                data and related information. More
                                                 2. Sources and Emissions Contributing                   to maintain fire-dependent ecosystems,
                                                                                                                                                                information on PM ambient monitoring
                                                 to PM in the Ambient Air                                minimizing catastrophic wildfires and
                                                                                                                                                                networks is available in section 2.2 of
                                                                                                         the risks they pose to safety, property
                                                    PM is composed of both primary                                                                              the 2022 PA (U.S. EPA, 2022b).
                                                                                                         and air quality (see, e.g., 81 FR 58010,
                                                 (directly emitted particles) and                                                                                  The PM2.5 monitoring program is one
                                                                                                         58038, August 24, 2016). The EPA views
                                                 secondary particles. Primary PM is                                                                             of the major ambient air monitoring
                                                                                                         the strategic use of prescribed fire as an
                                                 derived from direct particle emissions                                                                         programs with a robust, nationally
                                                                                                         important tool for reducing wildfire risk
                                                 from specific PM sources while                                                                                 consistent network of ambient air
                                                                                                         and the severity of wildfires and
                                                 secondary PM originates from gas-phase                                                                         monitoring sites providing mass and/or
                                                 precursor chemical compounds present                    wildfire smoke (88 FR, 54118, 54126,
                                                                                                                                                                chemical speciation measurements. 40
                                                 in the atmosphere that have participated                August 9, 2023).29 As noted in the PM
                                                                                                                                                                CFR part 58, appendix D, section 4.7
                                                 in new particle formation or condensed                  NAAQS proposal, agencies have efforts                  provides the applicable PM2.5 network
                                                 onto existing particles (U.S. EPA, 2019a,               in place to reduce the frequency and
                                                                                                                                                                design criteria. For most urban
                                                 section 2.3). As discussed further in the               severity of human-caused wildfires (88
                                                                                                                                                                locations, PM2.5 monitors are sited at the
                                                 2019 ISA (U.S. EPA, 2019a, section                      FR 5570, January 27, 2023).
                                                                                                                                                                neighborhood scale,31 where PM2.5
                                                 2.3.2.1), secondary PM is formed in the                    Wildfire events produce high PM
                                                                                                                                                                concentrations are reasonably
                                                 atmosphere by photochemical oxidation                   emissions that may impact the PM
                                                                                                                                                                homogeneous throughout an entire
                                                 reactions of both inorganic and organic                 concentrations in ambient air to the
                                                                                                                                                                urban sub-region. In each CBSA with a
                                                 gas-phase precursors. Precursor gases                   extent that the concentrations result in
                                                                                                                                                                monitoring requirement, at least one
                                                 include sulfur dioxide (SO2), nitrogen                  an exceedance or violation which may
                                                                                                                                                                PM2.5 monitoring station representing
                                                 oxides (NOX), and volatile organic                      affect the design value in a given area.
                                                 compounds (VOC) (U.S. EPA, 2019a,                       The EPA’s Exceptional Events Rule (81                     31 For PM , neighborhood scale is defined at 40
                                                                                                                                                                            2.5
                                                 section 2.3.2.1). Ammonia also plays an                 FR 68216, October 3, 2016) describes                   CFR part 58, appendix D, 4.7.1(c)(3) as follows:
                                                 important role in the formation of                      the process by which air agencies may                  Measurements in this category would represent
                                                                                                         request to exclude ‘event-influenced’                  conditions throughout some reasonably
                                                 nitrate PM by neutralizing sulfuric acid                                                                       homogeneous urban sub-region with dimensions of
                                                 and nitric acid. Sources and emissions                  data caused by exceptional events,                     a few kilometers and of generally more regular
                                                 of PM are discussed in more detail the                  which can include wildfires and                        shape than the middle scale. Homogeneity refers to
                                                 2022 PA (U.S. EPA, 2022b, section                       prescribed fires on wildland. The EPA                  the particulate matter concentrations, as well as the
                                                                                                         has issued guidance specifically                       land use and land surface characteristics. Much of
                                                 2.1.1). Briefly, anthropogenic sources of                                                                      the PM2.5 exposures are expected to be associated
                                                 PM include both stationary (e.g., fuel                  addressing exceptional events                          with this scale of measurement. In some cases, a
                                                 combustion for electricity production                   demonstrations for both wildfires and                  location carefully chosen to provide neighborhood
                                                                                                         prescribed fires on wildland. These                    scale data would represent the immediate
ddrumheller on DSK120RN23PROD with RULES3




                                                 and other purposes, industrial
                                                                                                         documents are available on EPA’s                       neighborhood as well as neighborhoods of the same
                                                 processes, agricultural activities) and                                                                        type in other parts of the city. PM2.5 sites of this
                                                 mobile (e.g., diesel- and gasoline-                     Exceptional Events Program website.30                  kind provide good information about trends and
                                                 powered highway vehicles and other                                                                             compliance with standards because they often
                                                                                                            29 See also: https://www.usda.gov/sites/default/
                                                 engine-driven sources) sources. Natural                                                                        represent conditions in areas where people
                                                                                                         files/documents/usda-epa-doi-cdc-mou.pdf.              commonly live and work for periods comparable to
                                                 sources of PM include dust from the                        30 See: https://www.epa.gov/air-quality-analysis/   those specified in the NAAQS. In general, most
                                                 wind erosion of natural surfaces, sea                   final-2016-exceptional-events-rule-supporting-         PM2.5 monitoring in urban areas should have this
                                                 salt, wildfires, primary biological                     guidance-documents-updated-faqs.                       scale.



                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00014   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024                Page 26 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                                  16215

                                                 area-wide air quality is sited in an area               averaged 21.3 mg/m3 (with the 10th and                 those design values were, on average,
                                                 of expected maximum concentration.32                    90th percentiles at 14.0 and 29.7 mg/m3,               0.8 mg/m3 higher than at the highest
                                                 By ensuring the area of expected                        respectively) (U.S. EPA, 2022b, section                measuring non-near-road sites (range is
                                                 maximum concentration in a CBSA has                     2.3.2.1). The highest ambient PM2.5                    0.1 to 2.1 mg/m3 higher at near-road
                                                 a site compared to both the annual and                  concentrations occur in the western                    sites). Although most near-road
                                                 24-hour NAAQS, all other similar                        U.S., particularly in California and the               monitoring sites do not have sufficient
                                                 locations are thus protected. Sites that                Pacific Northwest (U.S. EPA, 2022b,                    data to evaluate long-term trends in
                                                 represent relatively unique microscale,                 Figure 2–15). Much of the eastern U.S.                 near-road PM2.5 concentrations,
                                                 localized hot-spot, or unique middle                    has lower ambient concentrations, with                 analyses of the data at one near-road-
                                                 scale impact sites are only eligible for                annual average concentrations generally                like site in Elizabeth, NJ, 35 show that
                                                 comparison to the 24-hour PM2.5                         at or below 12.0 mg/m3 and 98th                        the annual average near-road increment
                                                 NAAQS.                                                  percentiles of 24-hour concentrations                  has generally decreased between 1999
                                                    Under 40 CFR part 50, appendix L,                    generally at or below 30 mg/m3 (U.S.                   and 2017 from about 2.0 mg/m3 to about
                                                 and 40 CFR part 53, and 40 CFR part 58                  EPA, 2022b, section 2.3.2.1).                          1.3 mg/m3 (U.S. EPA, 2022b, section
                                                 appendix D there are three main                            Recent ambient PM2.5 concentrations                 2.3.2.1).
                                                 methods components of the PM2.5                         reflect the substantial reductions that                   Ambient PM2.5 concentrations can
                                                 monitoring program: filter-based FRMs                   have occurred across much of the U.S.                  exhibit a diurnal cycle that varies due
                                                 measuring PM2.5 mass, FEMs measuring                    (U.S. EPA, 2022b, section 2.3.2.1). From               to impacts from intermittent emission
                                                 PM2.5 mass, and other samplers used to                  2000 to 2019, national annual average                  sources, meteorology, and atmospheric
                                                 collect the aerosol used in subsequent                  PM2.5 concentrations declined from 13.5                chemistry. The PM2.5 monitoring
                                                 laboratory analysis for measuring PM2.5                 mg/m3 to 7.6 mg/m3, a 43% decrease                     network in the U.S. has an increasing
                                                 chemical speciation. The FRMs are                       (U.S. EPA, 2022b, section 2.3.2.1).33                  number of continuous FEM monitors
                                                 primarily used for comparison to the                    These declines have occurred at urban                  reporting hourly PM2.5 mass
                                                 NAAQS, but also serve other important                   and rural monitoring sites, although                   concentrations that reflect this diurnal
                                                 purposes, such as developing trends and                 urban PM2.5 concentrations remain                      variation. The 2019 ISA describes a two-
                                                 evaluating the performance of FEMs.                     consistently higher than those in rural                peaked diurnal pattern in urban areas,
                                                 PM2.5 FEMs are typically continuous                     areas (Chan et al., 2018) due to the                   with morning peaks attributed to rush-
                                                 methods used to support forecasting and                 impact of local sources in urban areas.                hour traffic and afternoon peaks
                                                 reporting of the Air Quality Index (AQI)                Analyses at individual monitoring sites                attributed to a combination of rush hour
                                                 but are also used for comparison to the                 indicate that declines in ambient PM2.5                traffic, decreasing atmospheric dilution,
                                                 NAAQS. Samplers that are part of the                    concentrations have been most                          and nucleation (U.S. EPA, 2019a,
                                                 Chemical Speciation Network (CSN)                       consistent across the eastern U.S. and in              section 2.5.2.3, Figure 2–32). Because a
                                                 and Interagency Monitoring of Protected                 parts of coastal California, where both                focus on annual average and 24-hour
                                                 Visual Environments (IMPROVE)                           annual average and 98th percentiles of                 average PM2.5 concentrations could
                                                 network are used to provide chemical                    24-hour concentrations declined                        mask subdaily patterns, and because
                                                 composition of the aerosol and serve a                  significantly (U.S. EPA, 2022b, section                some health studies examine PM
                                                 variety of objectives. More detail on of                2.3.2.1). In contrast, trends in ambient               exposure durations shorter than 24-
                                                 each of these components of the PM2.5                   PM2.5 concentrations have been less                    hours, it is useful to understand the
                                                 monitoring program and of recent                        consistent over much of the western                    broader distribution of subdaily PM2.5
                                                 changes to PM2.5 monitoring                             U.S., with no significant changes since
                                                                                                                                                                concentrations across the U.S. The 2022
                                                 requirements are described in detail in                 2000 observed at some sites in the
                                                                                                                                                                PA presents information on the
                                                 the 2022 PA (U.S. EPA, 2022b, section                   Pacific Northwest, the northern Rockies
                                                                                                                                                                frequency distribution of 2-hour average
                                                 2.2.3).                                                 and plains, and the Southwest,
                                                                                                                                                                PM2.5 mass concentrations from all FEM
                                                                                                         particularly for 98th percentiles of 24-
                                                 4. Ambient Concentrations and Trends                                                                           PM2.5 monitors in the U.S. for 2017–
                                                                                                         hour concentrations (U.S. EPA, 2022b,
                                                    This section summarizes available                                                                           2019. At sites meeting the current
                                                                                                         section 2.3.2.1). As noted below, some
                                                 information on recent ambient PM                                                                               primary PM2.5 standards, these 2-hour
                                                                                                         sites in the northwestern U.S. and
                                                 concentrations in the U.S. and on trends                                                                       concentrations generally remain below
                                                                                                         California, where wildfire have been
                                                 in PM air quality. Sections I.D.4.a and                                                                        10 mg/m3, and rarely exceed 30 mg/m3.
                                                                                                         relatively common in recent years, have
                                                 I.D.4.b summarize information on PM2.5                  experienced high concentrations over                   Two-hour concentrations are higher at
                                                                                                         shorter periods (i.e., 2-hour averages).               sites violating the current standards,
                                                 mass and components, respectively.
                                                                                                            The recent deployment of PM2.5                      generally remaining below 16 mg/m3 and
                                                 Section I.D.4.c summarizes information
                                                 on PM10. Sections I.D.4.d and I.D.4.e                   monitors near major roads in large                     rarely exceeding 80 mg/m3 (U.S. EPA,
                                                                                                         urban areas provides information on                    2022b, section 2.3.2.2.3). The extreme
                                                 summarize the more limited
                                                                                                         PM2.5 concentrations near an important                 upper end of the distribution of 2-hour
                                                 information on PM10–2.5 and UFP,
                                                                                                         emissions source. For 2016–2018, Gantt                 PM2.5 concentrations is shifted higher
                                                 respectively. Additional detail on PM
                                                 air quality and trends can be found in                  et al. (2021) reported that 52% and 24%                during the warmer months, generally
                                                 the 2022 PA (U.S. EPA, 2022b, section                   of the time near-road sites reported the               corresponding to the period of peak
                                                 2.3).                                                   highest annual and 24-hour PM2.5                       wildfire frequency (April to September)
                                                                                                         design value 34 in the CBSA,                           in the U.S. At sites meeting the current
                                                 a. PM2.5 mass                                           respectively. Of the CBSAs with the                    primary standards, the highest 2-hour
                                                                                                                                                                concentrations measured rarely occur
ddrumheller on DSK120RN23PROD with RULES3




                                                    At monitoring sites in the U.S.,                     highest annual design values at near-
                                                 annual PM2.5 concentrations from 2017                   road sites reported by Gantt et al. (2021),            outside of the period of peak wildfire
                                                 to 2019 averaged 8.0 mg/m3 (with the                                                                           frequency. Most of the sites measuring
                                                 10th and 90th percentiles at 5.9 and                      33 See https://www.epa.gov/air-trends/particulate-

                                                 10.0 mg/m3, respectively) and the 98th                  matter-pm25-trends for up-to-date PM2.5 trends            35 The Elizabeth Lab site in Elizabeth, NJ, is

                                                                                                         information.                                           situated approximately 30 meters from travel lanes
                                                 percentiles of 24-hour concentrations                     34 A design value is considered valid if it meets    of the Interchange 13 toll plaza of the New Jersey
                                                                                                         the data handling requirements given in appendix       Turnpike and within 200 meters of travel lanes for
                                                   32 40 CFR part 58, app. D, 4.7.1(b)(2).               N to 40 CFR part 50.                                   Interstate 278 and the New Jersey Turnpike.



                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00015   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024                Page 27 of 217
                                                 16216             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 these very high concentrations are in the               than at other times of year, though the               PM10–2.5 concentrations exhibit less
                                                 northwestern U.S. and California, where                 most extreme high concentration events                distinct differences between the eastern
                                                 wildfires have been relatively common                   are more likely in the spring (U.S. EPA,              and western U.S. than for either PM2.5
                                                 in recent years (see U.S. EPA, 2022b,                   2019a, Table 2–5). This is due to fact                or PM10.
                                                 Appendix A, Figure A–1). When the                       that the major PM10 emission sources,                    Due to the short atmospheric lifetime
                                                 period of peak wildfire frequency is                    dust and agriculture, are more active                 of PM10–2.5 relative to PM2.5, many of the
                                                 excluded from the analysis, the extreme                 during the warmer and drier periods of                high concentration sites are isolated and
                                                 upper end of the distribution is reduced                the year.                                             likely near emission sources associated
                                                 (U.S. EPA, 2022b, section 2.3.2.2.3).                      Recent ambient PM10 concentrations                 with wind-blown and fugitive dust. The
                                                                                                         reflect reductions that have occurred                 spatial distributions of annual average
                                                 b. PM2.5 Components                                     across much of the U.S. (U.S. EPA,                    and 98th percentile concentrations of
                                                    Based on recent air quality data, the                2022b, section 2.3.2.4). From 2000 to                 PM10–2.5 are more similar than that of
                                                 major chemical components of PM2.5                      2019, 2nd highest 24-hour PM10                        PM2.5, suggesting that the same dust-
                                                 have distinct spatial distributions.                    concentrations have declined by about                 related emission sources are affecting
                                                 Sulfate concentrations tend to be                       46% (U.S. EPA, 2022b, section                         both long-term and episodic
                                                 highest in the eastern U.S., while in the               2.3.2.4).37 Analyses at individual                    concentrations (U.S. EPA, 2022b, Figure
                                                 Ohio Valley, Salt Lake Valley, and                      monitoring sites indicate that annual                 2–25). The highest concentrations of
                                                 California nitrate concentrations are                   average PM10 concentrations have                      PM10–2.5 are in the southwest U.S. where
                                                 highest, and relatively high                            generally declined at most sites across               widespread dry and windy conditions
                                                 concentrations of organic carbon are                    the U.S., with much of the decrease in                contribute to wind-blown dust
                                                 widespread across most of the                           the eastern U.S. associated with                      emissions. Additionally, compared to
                                                 continental U.S. (U.S. EPA, 2022b,                      reductions in PM2.5 concentrations (U.S.              PM2.5 and PM10, changes in PM10–2.5
                                                 section 2.3.2.3). Elemental carbon,                     EPA, 2022b, section 2.3.2.4). Annual                  concentrations have been small in
                                                 crustal material, and sea salt are found                2nd highest 24-hour PM10                              magnitude and inconsistent in direction
                                                 to have the highest concentrations in the               concentrations have generally declined                (U.S. EPA, 2022b, Figure 2–25). The
                                                 northeast U.S., southwest U.S., and                     in the eastern U.S., while concentrations             majority of PM10–2.5 sites in the U.S. do
                                                 coastal areas, respectively.                            in much of the midwest and western                    not have a concentration trend from
                                                    An examination of PM2.5 composition                  U.S. have remained unchanged or                       2000–2019, reflecting the relatively
                                                 trends can provide insight into the                     increased since 2000 (U.S. EPA, 2022b,                consistent level of dust emissions across
                                                 factors contributing to overall                         section 2.3.2.4).                                     the U.S. during the same time period
                                                 reductions in ambient PM2.5                                Compared to previous reviews, data                 (U.S. EPA, 2022b, section 2.3.2.5).38
                                                 concentrations. The biggest change in                   available from the NCore monitoring                   e. UFP
                                                 PM2.5 composition that has occurred in                  network in the current reconsideration
                                                 recent years is the reduction in sulfate                allows a more comprehensive analysis                     Compared to PM2.5 mass, there is
                                                 concentrations due to reductions in SO2                 of the relative contributions of PM2.5                relatively little data on U.S. particle
                                                 emissions. Between 2000 and 2015, the                   and PM10–2.5 to PM10 mass. PM2.5                      number concentrations, which are
                                                 nationwide annual average sulfate                       generally contributes more to annual                  dominated by UFP. In the published
                                                 concentration decreased by 17% at                       average PM10 mass in the eastern U.S.                 literature, annual average particle
                                                 urban sites and 20% at rural sites. This                than the western U.S. (U.S. EPA, 2022b,               number concentrations reaching about
                                                 change in sulfate concentrations is most                Figure 2–23). At most sites in the                    20,000 to 30,000 cm3 have been
                                                 evident in the eastern U.S. and has                     eastern U.S., the majority of PM10 mass               reported in U.S. cities (U.S. EPA,
                                                 resulted in organic matter or nitrate now               is comprised of PM2.5. As ambient PM2.5               2019a). In addition, based on UFP
                                                 being the greatest contributor to PM2.5                 concentrations have declined in the                   measurements in two urban areas (New
                                                 mass in many locations (U.S. EPA,                       eastern U.S. (U.S. EPA, 2022b, section                York City, Buffalo) and at a background
                                                 2019a, Figure 2–19). The overall                        2.3.2.2), the ratios of PM2.5 to PM10 have            site (Steuben County) in New York,
                                                 reduction in sulfate concentrations has                 also declined. For sites with days                    there is a pronounced difference in
                                                 contributed substantially to the decrease               having concurrently very high PM2.5 and               particle number concentration between
                                                 in national average PM2.5 concentrations                PM10 concentrations (U.S. EPA, 2022b,                 different types of locations (U.S. EPA,
                                                 as well as the decline in the fraction of               Figure 2–24), the PM2.5/PM10 ratios are               2022b, Figure 2–26; U.S. EPA, 2019a,
                                                 PM10 mass accounted for by PM2.5 (U.S.                  typically higher than the annual average              Figure 2–18). Urban particle number
                                                 EPA, 2019a, section 2.5.1.1.6; U.S. EPA,                ratios. This is particularly true in the              counts were several times higher than at
                                                 2022b, section 2.3.1).                                  northwestern U.S. where the high PM10                 the background site, and the highest
                                                                                                         concentrations can occur during                       particle number counts in an urban area
                                                 c. PM10                                                                                                       with multiple sites (Buffalo) were
                                                                                                         wildfires with high PM2.5 (U.S. EPA,
                                                    At long-term monitoring sites in the                 2022b, section 2.3.2.4).                              observed at a near-road location (U.S.
                                                 U.S., the 2017–2019 average of 2nd                                                                            EPA, 2022b, section 2.3.2.6).
                                                 highest 24-hour PM10 concentration was                  d. PM10–2.5                                              Long-term trends in UFP are not
                                                 68 mg/m3 (with 10th and 90th                              Since the 2012 review, the availability             routinely available at U.S. monitoring
                                                 percentiles at 28 and 124 mg/m3,                        of PM10–2.5 ambient concentration data
                                                                                                                                                                  38 PM from dust emissions in the National
                                                 respectively) (U.S. EPA, 2022b, section                 has greatly increased because of
                                                                                                                                                               Emissions Inventory (NEI) remain fairly consistent
                                                 2.3.2.4).36 The highest PM10                            additions to the PM10–2.5 monitoring                  from year-to-year, except when there are severe
ddrumheller on DSK120RN23PROD with RULES3




                                                 concentrations tend to occur in the                     capabilities to the national monitoring               weather incursions or there is a dust event that
                                                 western U.S. Seasonal analyses indicate                 network. As illustrated in the 2022 PA                transports or causes major local dust storms to
                                                 that ambient PM10 concentrations are                    (U.S. EPA, 2022b, section 2.3.2.5),                   occur (particularly in the western U.S.). These dust
                                                                                                                                                               events and weather incursions needed to effect dust
                                                 generally higher in the summer months                   annual average and 98th percentile                    emissions on a national level are not common and
                                                                                                                                                               only seldomly occur. In the emissions trends
                                                    36 The form of the current 24-hour PM
                                                                                         10 standard
                                                                                                            37 For more information, see https://              analysis presented in the 2022 PA (U.S. EPA,
                                                 is one-expected-exceedance, averaged over three         www.epa.gov/air-trends/particulate-matter-pm10-       2022b, section 2.1.1), dust is included in the NEI
                                                 years.                                                  trends#pmnat.                                         sector labeled ‘‘miscellaneous.’’



                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00016   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024                Page 28 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                                  16217

                                                 sites. At one background site in Illinois               data (I.D.5.a) and using hybrid modeling              for PM2.5 monitoring at near-road
                                                 with long-term data available, the                      approaches (I.D.5.b).                                 locations in large urban areas (U.S. EPA,
                                                 annual average particle number                                                                                2022b, section 2.2.3.3) may increase the
                                                                                                         a. Predicted Ambient PM2.5 and
                                                 concentration declined between 2000                                                                           ratios of maximum design values to
                                                                                                         Exposure Based on Monitored Data
                                                 and 2019, closely matching the                                                                                average annual design values in some
                                                 reductions in annual PM2.5 mass over                       Ambient concentrations of PM2.5 are                areas. Such ratios may also depend on
                                                 that same period (U.S. EPA, 2022b,                      often characterized using measurements                how the averages are calculated (i.e.,
                                                 section 2.3.2.6). In addition, a small                  from national monitoring networks due                 averaged across monitors versus across
                                                 number of published studies have                        to the accuracy and precision of the                  modeled grid cells, as described below
                                                 examined UFP trends over time. While                    measurements and the public                           in section I.5.b). Compared to annual
                                                 limited, these studies also suggest that                availability of data. For applications                design values, the analysis in the 2022
                                                 UFP number concentrations have                          requiring PM2.5 characterizations across              PA indicates a more variable
                                                 declined over time along with decreases                 large areas or provide complete coverage              relationship between maximum 24-hour
                                                 in PM2.5 (U.S. EPA, 2022b, section                      from the site measurements, data                      PM2.5 design values and annual average
                                                 2.3.2.6). However, the relationship                     interpolation and averaging techniques                concentrations (U.S. EPA, 2022b,
                                                 between changes in ambient PM2.5 and                    (such as Average Nearest Neighbor                     section 2.3.3.1, Figure 2–29).
                                                 UFPs cannot be comprehensively                          tools, and area-wide or population-
                                                                                                         weighted averaging of monitors) are                   b. Comparison of PM2.5 Hybrid
                                                 characterized due to the high variability                                                                     Modeling Approaches in Estimating
                                                 and limited monitoring of UFPs (U.S.                    sometimes used (U.S. EPA, 2019a,
                                                                                                         chapter 3).                                           Exposure and Relative to Design Values
                                                 EPA, 2022b, section 2.3.2.6).
                                                                                                            For an area to meet the NAAQS, all                    Two types of hybrid approaches that
                                                 5. Characterizing Ambient PM2.5                         valid design values 39 in that area,                  have been utilized in several key PM2.5
                                                 Concentrations for Exposure                             including the highest annual and 24-                  epidemiologic studies in the 2019 ISA
                                                                                                         hour design values, must be at or below               and ISA Supplement include neural
                                                   Epidemiologic studies use various                     the levels of the standards. Because the              network approaches and a satellite-
                                                 methods to characterize exposure to                     monitoring network siting requirements                based method with regression of
                                                 ambient PM2.5. The methods used to                      are specified to capture the high PM2.5               residual PM2.5 with land-use and other
                                                 estimate PM2.5 concentrations can vary                  concentrations (U.S. EPA, 2022b,                      variables to improve estimates of PM2.5
                                                 from traditional methods using                          section 2.2.3), areas meeting an annual               concentration in the U.S. As such, the
                                                 monitoring data from ground-based                       PM2.5 standard with a particular level                2022 PA further compares these two
                                                 monitors to newer methods using more                    would be expected to have long-term                   types of approaches across various
                                                 complex hybrid modeling approaches.                     average monitored PM2.5 concentrations                scales (e.g., CBSA versus nationwide),
                                                 Studies using hybrid modeling                           (i.e., averaged across space and over                 taking into account population
                                                 approaches aim to broaden the spatial                   time in the area) somewhat below that                 weighting approaches utilized in
                                                 coverage, as well as estimate more                      standard level. This means that the                   epidemiologic studies when estimating
                                                 spatially-resolved ambient PM2.5                        PM2.5 design value in an area is                      PM2.5 exposure (U.S. EPA, 2022b,
                                                 concentrations, by expanding beyond                     associated with a distribution of PM2.5               section 2.3.3.2.4). Additionally, the
                                                 just those areas with monitors and                      concentrations in that area, and, based               2022 PA assesses how average PM2.5
                                                 providing estimates in areas that do not                on monitoring siting requirements,                    concentrations computed in
                                                 have ground-based monitors (i.e., areas                 should represent the highest                          epidemiologic studies using these
                                                 that are generally less densely                         concentration location applicable to be               hybrid surfaces compare to the
                                                 populated and tend to have lower PM2.5                  monitored under the PM2.5 NAAQS.                      maximum design values measured at
                                                 concentrations) and at finer spatial                    Analyses in the 2022 PA indicate that,                ground-based monitors. For this
                                                 resolutions (e.g., 1 km x 1 km grid cells).             based on recent air quality in U.S.                   assessment, the 2022 PA evaluates the
                                                 Ground-based PM2.5 monitors are                         CBSAs, maximum annual PM2.5 design                    DI2019 40 and HA2020 41 hybrid
                                                 generally sited in areas of expected                    values are often 10% to 20% higher                    surfaces, surfaces that are used in
                                                 maximum concentration. As such, the                     than annual average concentrations (i.e.,             several of the key epidemiologic studies
                                                 hybrid modeling approaches tend to                      averaged across multiple monitors in                  in the 2022 PA. This analysis is
                                                 broaden the areas captured in the                       the same CBSA) (U.S. EPA, 2022b,                      intended to help inform how the
                                                 exposure assessment, and in doing so,                   section 2.3.3.1, Figures 2–28 and 2–29).              magnitude of the overall study-reported
                                                 the studies that utilize these methods                  This difference between the maximum                   mean PM2.5 concentrations in
                                                 tend to report lower mean PM2.5                         annual design value and the average                   epidemiologic studies may be
                                                 concentrations than monitor-based                       concentration in an area can vary,
                                                 approaches. Further, other aspects of the               depending on factors such as the                         40 This analysis includes an updated version of

                                                 approaches applied in the various                                                                             the surface used in Di et al. (2016). Predictions in
                                                                                                         number of monitors, monitor siting                    Di et al. (2016) were for 2000 to 2012 using a neural
                                                 epidemiologic studies to estimate PM2.5                 characteristics, and the distribution of              network model. The Di et al. (2019) study improved
                                                 exposure and/or to calculate the related                ambient PM2.5 concentrations. Given                   on that effort in several ways. First, a generalized
                                                 study-reported mean concentration (i.e.,                that higher PM2.5 concentrations have                 additive model was used that accounted for
                                                 population weighting, trim mean                                                                               geographic variations in performance to combine
                                                                                                         been reported at some near-road                       predictions from three models (neural network,
                                                 approaches) can affect those data values.               monitoring sites relative to the                      random forest, and gradient boosting) to make the
                                                 More detail related to hybrid modeling                  surrounding area (U.S. EPA, 2022b,                    final optimal PM2.5 predictions. Second, the
                                                 methods, performance of the methods,
ddrumheller on DSK120RN23PROD with RULES3




                                                                                                                                                               datasets were updated that were used in model
                                                                                                         section 2.3.2.2.2), recent requirements               training and included additional variables such as
                                                 and how the reported mean                                                                                     12-km CMAQ modeling as predictors. Finally, more
                                                 concentrations compare across                             39 For the annual PM
                                                                                                                                 2.5 standard, design values   recent years were included in the Di et al. (2019)
                                                 approaches is provided in section                       are calculated as the annual arithmetic mean PM2.5    study.
                                                 2.3.3.2 of the 2022 PA (U.S. EPA,                       concentration, averaged over 3 years. For the 24-        41 The HA2020 field is based on the V4.NA.03

                                                                                                         hour standard, design values are calculated as the    product available at: https://sites.wustl.edu/acag/
                                                 2022b). The subsections below discuss                   98th percentile of the annual distribution of 24-     datasets/surface-pm2-5/. The name ‘‘HA2020’’
                                                 the characterization of PM2.5                           hour PM2.5 concentrations, averaged over three        comes from the references for this product (Hammer
                                                 concentrations based on monitoring                      years (appendix N of 40 CFR part 50).                 et al., 2020; van Donkelaar et al., 2019).



                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00017   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                              Document #2043704                              Filed: 03/06/2024                Page 29 of 217
                                                 16218             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 influenced by the approach used to                         2022 PA, the results using the DI2019                 U.S. are small compared to
                                                 compute that mean and how that value                       and HA2020 surfaces are similar for the               contributions from domestic
                                                 might compare to monitor reported                          average annual PM2.5 concentrations, for              anthropogenic sources.44 For example,
                                                 concentrations. The PM2.5 standards are                    each 3-year period. When population                   based on zero-out modeling in the last
                                                 expected to achieve a pattern of air                       weighting is not applied, the average                 review of the PM NAAQS, annual
                                                 quality through the attainment of a                        annual PM2.5 concentrations generally                 background PM2.5 concentrations were
                                                 specific design value at each monitor in                   range from 7.0 to 8.6 mg/m3. When                     estimated to range from 0.5–3 mg/m3
                                                 the monitoring network. As a result, it                    population weighting is applied, the                  across the sites examined. In addition,
                                                 is important to be able to assess the                      average annual PM2.5 concentrations are               speciated monitoring data from
                                                 relationship between monitor                               slightly higher, ranging from 8.2 to 10.2             IMPROVE sites can provide some
                                                 concentrations and patterns of air                         mg/m3. As with CBSAs versus the                       insights into how contributions from
                                                 quality evaluated in the epidemiologic                     national comparison above, population                 different sources, including sources of
                                                 studies.                                                   weighting results in a higher average                 background PM, may have changed over
                                                    In estimating exposure, some studies                    PM2.5 concentration than when                         time. Such data suggests the estimates of
                                                 focus on estimating concentrations in                      population weighting is not applied                   background concentrations using
                                                 urban areas, while others examine the                      (U.S. EPA, 2022b, section 2.3.3.2.4,                  speciated monitoring data from
                                                 entire U.S. or large portions of the                       Table 2–7). For the CBSAs included in                 IMPROVE monitors are around 1–3 mg/
                                                 country. In general, the areas that are                    the population weighted analyses, the                 m3 and have not changed significantly
                                                 not included in the CBSA-only analysis                     average maximum annual design values                  since the 2012 review. Contributions to
                                                 tend to be more rural or less densely                      generally range from 9.5 to 11.7 mg/m3.               background PM in the U.S. result
                                                 populated areas, tend to have lower                        The results are similar for both the                  mainly from sources within North
                                                 PM2.5 concentrations, and likely                           DI2019 and HA2020 surfaces and the                    America. Contributions from
                                                 correspond to those locations where                        maximum annual PM2.5 design values                    intercontinental events have also been
                                                 monitoring data availability is limited or                 measured at the monitors are often 40%                documented (e.g., transport from dust
                                                 nonexistent (U.S. EPA, 2022b, section                      to 50% higher than average annual                     storms occurring in deserts in North
                                                 2.3.3.2.4, Figure 2–37). To evaluate the                   PM2.5 concentrations predicted by                     Africa and Asia), but these events are
                                                 differences in mean PM2.5                                  hybrid modeling methods when                          less frequent and represent a relatively
                                                 concentrations across different spatial                    population weighting is not applied.                  small fraction of background PM in
                                                 scales, the 2022 PA analysis compares                      However, when population weighting is                 most of the U.S. (U.S. EPA, 2022b,
                                                 the DI2019 and HA2020 surfaces. At the                     applied, the ratio of the maximum                     section 2.4).
                                                 national scale, the two surfaces                           annual PM2.5 design values to the
                                                                                                                                                                  II. Rationale for Decisions on the
                                                 generally produce similar average                          predicted average annual PM2.5
                                                                                                                                                                  Primary PM2.5 Standards
                                                 annual PM2.5 concentrations, with the                      concentrations are lower than when
                                                 DI2019 surface being slightly higher                       population weighting is not applied,                     This section presents the rationale for
                                                 compared to the HA2020 surface. The                        with monitored design values generally                the Administrator’s decision to revise
                                                 average annual PM2.5 concentrations are                    15% to 18% higher than population-                    the primary annual PM2.5 standard
                                                 also slightly higher using the DI2019                      weighted hybrid modeling average                      down to a level of 9 mg/m3 and retain
                                                 surface compared to the HA2020 surface                     annual PM2.5 concentrations (U.S. EPA,                the primary 24-hour PM2.5 standard.
                                                 when the analyses are conducted for                        2022b, section 2.3.3.2.4, Table 2–7).                 This rationale is based on a thorough
                                                 CBSAs. Also, regardless of which                                                                                 review of the scientific evidence
                                                                                                            6. Background PM                                      generally published through January
                                                 surface is used, the average annual and
                                                 3-year average of the average annual                          In this reconsideration, background                2018,45 as evaluated in the 2019 ISA
                                                 PM2.5 concentrations for the CBSA-only                     PM is defined as all particles that are               (U.S. EPA, 2019a), on the human health
                                                 analyses are somewhat higher than for                      formed by sources or processes that                   effects of PM2.5 associated with long-
                                                 the nationwide analyses (4–8% higher)                      cannot be influenced by actions within                and short-term exposures 46 to PM2.5 in
                                                 (U.S. EPA, 2022b, section 2.3.3.2.4,                       the jurisdiction of concern. U.S.
                                                 Table 2–5).42 Overall, these analyses                      background PM is defined as any PM                      44 Sources that contribute to natural background

                                                                                                            formed from emissions other than U.S.                 PM include dust from the wind erosion of natural
                                                 suggest that there are only slight                                                                               surfaces, sea salt, wildland fires, primary biological
                                                 differences in the average PM2.5                           anthropogenic (i.e., manmade)                         aerosol particles such as bacteria and pollen,
                                                 concentrations depending on the hybrid                     emissions. Potential sources of U.S.                  oxidation of biogenic hydrocarbons such as
                                                 modeling method employed, though                           background PM include both natural                    isoprene and terpenes to produce secondary organic
                                                 including other hybrid modeling                            sources (i.e., PM that would exist in the             aerosols (SOA), and geogenic sources such as
                                                                                                            absence of any anthropogenic emissions                sulfate formed from volcanic production of SO2 and
                                                 methods in this comparison could result                                                                          oceanic production of dimethyl-sulfide (U.S. EPA,
                                                 in larger differences.                                     of PM or PM precursors) and                           2022b, section 2.4). While most of these sources
                                                    The 2022 PA next evaluates how the                      transboundary sources originating                     release or contribute predominantly to fine aerosol,
                                                 averages of the hybrid model surfaces                      outside U.S. borders. Background PM is                some sources including windblown dust, and sea
                                                                                                            discussed in more detail in the 2022 PA               salt also produce particles in the coarse size range
                                                 compare to regulatory design values                                                                              (U.S. EPA, 2019a, section 2.3.3).
                                                 using both the DI2019 and HA2020                           (U.S. EPA, 2022b, section 2.4). At                      45 In addition to the 2020 review’s opening ‘‘call

                                                 surfaces and how population weighting                      annual and national scales, estimated                 for information’’ (79 FR 71764, December 3, 2014),
                                                 influences the mean PM2.5                                  background PM concentrations in the                   the 2019 ISA identified and evaluated studies and
                                                                                                                                                                  reports that have undergone scientific peer review
                                                 concentration.43 As presented in the                                                                             and were published or accepted for publication
ddrumheller on DSK120RN23PROD with RULES3




                                                                                                            CBSAs were calculated for each 3-year period for
                                                                                                            the CBSAs with 3 or more design values in each of     between January 1, 2009, through approximately
                                                   42 For the national scale, 3-year averages of the                                                              January 2018 (U.S. EPA, 2019a, p. ES–2). References
                                                                                                            the 3-year periods. Using the maximum design
                                                 average annual PM2.5 concentrations generally range        value for each CBSA and by each 3-year period, the    that are cited in the 2019 ISA, the references that
                                                 from about 5.3 mg/m3 to 8.1 mg/m3, compared to the         ratio of maximum design values to modeled average     were considered for inclusion but not cited, and
                                                 CBSA scale, which ranges from 5.7 mg/m3 to 8.7 mg/         annual PM2.5 concentrations were calculated, for      electronic links to bibliographic information and
                                                 m3. (U.S. EPA, 2022b, section 2.3.3.2.4, Table 2–6).       each 3-year period. More details about the            abstracts can be found at: https://hero.epa.gov/hero/
                                                   43 For this analysis, the 2022 PA includes CBSAs         analytical methods used for this analysis are         particulate-matter.
                                                 with three or more valid design values for the 3-          described in section A.6 of Appendix A in the 2022      46 Short-term exposures are defined as those

                                                 year period. The regulatory design values for the          PA (U.S. EPA, 2022b).                                 exposures occurring over hours up to 1 month,



                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001      PO 00000   Frm 00018   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024                Page 30 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                                   16219

                                                 the ambient air. Additionally, this                     of safety. The EPA’s assessments are                  health, including the health of sensitive
                                                 rationale is based on a thorough                        primarily documented in the 2019 ISA,                 (also referred to as ‘‘at-risk’’) groups.48
                                                 evaluation of some studies that became                  ISA Supplement, and 2022 PA, all of                   1. Background on the Current Standards
                                                 available after the literature cutoff date              which have received CASAC review and
                                                 of the 2019 ISA, as evaluated in the ISA                public comment (83 FR 53471, October                     The current primary PM2.5 standards
                                                 Supplement, that could either further                   23, 2018; 83 FR 55529, November 6,                    were retained in 2020 based on the
                                                 inform the adequacy of the current PM                   2018; 85 FR 4655, January 27, 2020; 86                scientific evidence and quantitative risk
                                                 NAAQS or address key scientific topics                  FR 52673, September 22, 2021; 86 FR                   information available at that time, as
                                                 that have evolved since the literature                  54186, September 30, 2021; 86 FR                      well as the then-Administrator’s
                                                 cutoff date for the 2019 ISA, generally                 56263, October 8, 2021; 87 FR 958,                    judgments regarding the available health
                                                 through March 2021 (U.S. EPA,                           January 7, 2022; 87 FR 22207, April 14,               effects evidence and the appropriate
                                                 2022a).47 The Administrator’s rationale                 2022; 87 FR 31965, May 26, 2022). In                  degree of public health protection
                                                 also takes into account: (1) The 2022 PA                bridging the gap between the scientific               afforded by the existing standards (85
                                                 evaluation of the policy-relevant                                                                             FR 82718, December 18, 2020). With the
                                                                                                         assessments of the 2019 ISA and ISA
                                                 information in the 2019 ISA and ISA                                                                           2020 decision, the then-Administrator
                                                                                                         Supplement and the judgments required
                                                 Supplement and presentation of                                                                                retained the primary annual PM2.5
                                                                                                         of the Administrator in determining
                                                 quantitative analyses of air quality and                                                                      standard with its level of 12.0 mg/m3
                                                                                                         whether the current standards provide
                                                 health risks; (2) CASAC advice and                                                                            and retained the primary 24-hour PM2.5
                                                                                                         the requisite public health protection,
                                                 recommendations; and (3) public                                                                               standard with its level of 35 mg/m3. The
                                                                                                         the 2022 PA evaluates policy                          key considerations and the then-
                                                 comments received during the                            implications of the evaluation of the
                                                 development of these documents.                                                                               Administrator’s conclusions regarding
                                                                                                         current evidence in the 2019 ISA and                  the primary PM2.5 standards in the 2020
                                                    In presenting the rationale for the
                                                                                                         ISA Supplement, and the risk                          review are summarized below.
                                                 Administrator’s decisions and its
                                                                                                         information documented in the 2022                       The health effects evidence base
                                                 foundations, section II.A provides
                                                 background on the general approach for                  PA. In evaluating the public health                   available in the 2020 review included
                                                 this reconsideration and the basis for                  protection afforded by the current                    extensive evidence from previous
                                                 the existing standard, and also presents                standards, the four basic elements of the             reviews as well as the evidence that had
                                                 brief summaries of key aspects of the                   NAAQS (i.e., indicator, averaging time,               emerged since the prior review had been
                                                 currently available health effects and                  level, and form) are considered                       completed in 2012. This evidence base,
                                                 risk information. Section II.B                          collectively.                                         spanning several decades, documents
                                                 summarizes the CASAC advice and the                        The final decision on the adequacy of              the relationship between short- and
                                                 basis for the proposed conclusions,                     the current primary PM2.5 standards is a              long-term PM2.5 exposure and mortality
                                                 addresses public comments received on                   public health policy judgment to be                   or serious morbidity effects. The
                                                 the proposal and presents the                           made by the Administrator. In reaching                evidence available in the 2019 ISA
                                                 Administrator’s conclusions on the                      conclusions with regard to the                        reaffirmed, and in some cases
                                                 adequacy of the current standards,                      standards, the decision will draw on the              strengthened, the conclusions from the
                                                 drawing on consideration of the                         scientific information and analyses                   2009 ISA regarding the health effects of
                                                 scientific evidence and quantitative risk               about health effects and population                   PM2.5 exposures (U.S. EPA, 2019a).
                                                 information, advice from the CASAC,                     risks, as well as judgments about how to              Much of the evidence came from
                                                 and comments from the public. Section                   consider the range and magnitude of                   epidemiologic studies conducted in
                                                 II.C summarizes the Administrator’s                     uncertainties that are inherent in the                North America, Europe, or Asia
                                                 decision on the primary PM2.5                           scientific evidence and analyses. This                examining short-term and long-term
                                                 standards.                                              approach is based on the recognition                  exposures that demonstrated generally
                                                                                                         that the available health effects evidence            positive, and often statistically
                                                 A. Introduction                                                                                               significant, PM2.5 health effect
                                                                                                         generally reflects a continuum,
                                                    The general approach for this                                                                              associations with a range of outcomes
                                                                                                         consisting of levels at which scientists
                                                 reconsideration of the 2020 final                                                                             including non- accidental,
                                                                                                         generally agree that health effects are
                                                 decision on the primary PM2.5 standards                                                                       cardiovascular, or respiratory mortality;
                                                                                                         likely to occur, through lower levels at
                                                 is fundamentally based on using the                                                                           cardiovascular- or respiratory-related
                                                                                                         which the likelihood and magnitude of
                                                 EPA’s assessment of the current                                                                               hospitalizations or emergency
                                                 scientific evidence and associated                      the response become increasingly                      department visits; and other mortality/
                                                 quantitative analyses to inform the                     uncertain. This approach is consistent                morbidity outcomes (e.g., lung cancer
                                                 Administrator’s judgment regarding                      with the requirements of the NAAQS                    mortality or incidence, asthma
                                                 primary PM2.5 standards that protect                    provisions of the Clean Air Act and with              development). Experimental evidence,
                                                 public health with an adequate margin                   how the EPA and the courts have                       as well as evidence from panel studies,
                                                                                                         historically interpreted the Act                      strengthened support for potential
                                                 whereas long-term exposures are defined as those        (summarized in section I.A above).                    biological pathways through which
                                                 exposures occurring over 1 month to years (U.S.         These provisions require the                          PM2.5 exposures could lead to health
                                                 EPA, 2019a, section P.3.1).                             Administrator to establish primary
                                                    47 The ISA Supplement represents an evaluation                                                             effects reported in many population-
                                                                                                         standards that, in the judgment of the                based epidemiologic studies, including
                                                 of recent studies that are of greatest policy
                                                 relevance to the reconsideration of the 2020 final      Administrator, are requisite to protect               support for pathways that could lead to
                                                 decision on the PM NAAQS. Specifically, the ISA         public health with an adequate margin
ddrumheller on DSK120RN23PROD with RULES3




                                                                                                                                                               cardiovascular, respiratory, nervous
                                                 Supplement focuses on studies of health effects for     of safety. In so doing, the Administrator             system, and cancer-related effects.
                                                 which the evidence in the 2019 ISA supported a
                                                 ‘‘causal relationship’’ (i.e., short- and long-term
                                                                                                         seeks to establish standards that are
                                                 PM2.5 exposure and mortality and cardiovascular         neither more nor less stringent than                     48 As noted in section I.A above, the legislative

                                                 effects) because those were the health effects that     necessary for this purpose. The Act does              history describes such protection for the sensitive
                                                 were most useful in informing conclusions in the        not require that primary standards be set             group of individuals and not for a single person in
                                                 2020 PA. The ISA Supplement does not include an                                                               the sensitive group (see S. Rep. No. 91–1196, 91st
                                                 evaluation of studies for other PM2.5-related health
                                                                                                         at a zero-risk level, but rather at a level           Cong, 2d Sess. 10 [1970]); see also Am. Lung Ass’n
                                                 effects (U.S. EPA, 2022a).                              that avoids unacceptable risks to public              v. EPA, 134 F.3d 388, 389 (D.C. Cir. 1998).



                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00019   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024             Page 31 of 217
                                                 16220             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 Based on this evidence, the 2019 ISA                    populations, to inform his review of the              concentrations in the studies were well-
                                                 concluded there to be a causal                          primary PM2.5 standards, placing the                  above the ambient concentrations
                                                 relationship between long- and short-                   greatest weight on evidence of effects for            typically measured in locations meeting
                                                 term PM2.5 exposure and mortality and                   which the 2019 ISA determined there to                the existing standards (U.S. EPA, 2020b,
                                                 cardiovascular effects, as well as likely               be a causal or likely to be causal                    section 3.2.3.1). Thus, these studies also
                                                 to be causal relationships between long-                relationship with long- and short-term                did not suggest the need for additional
                                                 and short-term PM2.5 exposure and                       PM2.5 exposures (85 FR 82714–82715,                   protection against subdaily PM2.5
                                                 respiratory effects, and between long-                  December 18, 2020).                                   exposures (U.S. EPA, 2020b, section
                                                 term PM2.5 exposure and cancer and                         With regard to indicator, the then-                3.5.2.2). Therefore, the then-
                                                 nervous system effects (U.S. EPA,                       Administrator recognized that,                        Administrator judged that the 24-hour
                                                 2019a, section 1.7).                                    consistent with the evidence available                averaging time remained appropriate (85
                                                    Epidemiologic studies reported PM2.5                 in prior reviews, the scientific evidence             FR 82715, December 18, 2020).
                                                 health effect associations with mortality               continued to provide strong support for                 With regard to the form of the 24-hour
                                                 and/or morbidity across multiple U.S.                   health effects following short- and long-             standard (98th percentile, averaged over
                                                 cities and in diverse populations,                      term PM2.5 exposures. He noted the                    three years), the then-Administrator
                                                 including in studies examining                          2020 PA conclusions that the                          noted that epidemiologic studies
                                                 populations and lifestages that may be                  information continued to support the                  continued to provide strong support for
                                                 at increased risk of experiencing a                     PM2.5 mass-based indicator and                        health effect associations with short-
                                                 PM2.5-related health effect (e.g., older                remained too limited to support a                     term (e.g., mostly 24-hour) PM2.5
                                                 adults, children). The 2019 ISA cited                   distinct standard for any specific PM2.5              exposures (U.S. EPA, 2020b, section
                                                 extensive evidence indicating that ‘‘both               component or group of components, and                 3.5.2.3) and that controlled human
                                                 the general population as well as                       too limited to support a distinct                     exposure studies provided evidence for
                                                 specific populations and lifestages are at              standard for the ultrafine fraction. Thus,            health effects following single short-
                                                 risk for PM2.5-related health effects’’                 the then-Administrator concluded that                 term ‘‘peak’’ PM2.5 exposures. Thus, the
                                                 (U.S. EPA, 2019a, p. 12–1), including                   it was appropriate to retain PM2.5 as the             evidence supported retaining a standard
                                                 children and older adults, people with                  indicator for the primary standards for               focused on providing supplemental
                                                 pre-existing respiratory or                             fine particles (85 FR 82715, December                 protection against short-term peak
                                                 cardiovascular disease, minority                        18, 2020).                                            exposures and supported a 98th
                                                 populations, and low socioeconomic                         With respect to averaging time and                 percentile form for a 24-hour standard.
                                                 status (SES) populations.                               form, the then-Administrator noted that               The then-Administrator further noted
                                                    The risk information available in the                the scientific evidence continued to                  that this form also provided an
                                                 2020 review included risk estimates for                 provide strong support for health effects             appropriate balance between limiting
                                                 air quality conditions just meeting the                 associations with both long-term (e.g.,               the occurrence of peak 24-hour PM2.5
                                                 existing primary PM2.5 standards, and                   annual or multi-year) and short-term                  concentrations and identifying a stable
                                                 also for air quality conditions just                    (e.g., mostly 24-hour) exposures to                   target for risk management programs
                                                 meeting potential alternative standards.                PM2.5, consistent with the conclusions                (U.S. EPA, 2020b, section 3.5.2.3). As
                                                 The general approach to estimating                      in the 2020 PA. In the 2019 ISA,                      such, the then-Administrator concluded
                                                 PM2.5-associated health risks combined                  epidemiologic and controlled human                    that the available information supported
                                                 concentration-response (C–R) functions                  exposure studies examined a variety of                retaining the form and averaging time of
                                                 from epidemiologic studies with model-                  PM2.5 exposure durations.                             the current 24-hour standard (98th
                                                 based PM2.5 air quality surfaces,                       Epidemiologic studies continued to                    percentile, averaged over three years)
                                                 baseline health incidence data, and                     provide strong support for health effects             and annual standard (annual average,
                                                 population demographics for 47 urban                    associated with short-term PM2.5                      averaged over three years) (85 FR 82715,
                                                 areas (U.S. EPA, 2020b, section 3.3,                    exposures based on 24-hour PM2.5                      December 18, 2020).
                                                 Figure 3–10, Appendix C). The risk                      averaging periods, and the EPA noted                    With regard to the level of the
                                                 assessment estimated that the existing                  that associations with subdaily                       standards, in reaching his final decision,
                                                 primary PM2.5 standards could allow a                   estimates are less consistent and, in                 the then-Administrator considered the
                                                 substantial number of PM2.5-associated                  some cases, smaller in magnitude (U.S.                large body of evidence presented and
                                                 deaths in the U.S. Uncertainty in risk                  EPA, 2019a, section 1.5.2.1; U.S. EPA,                assessed in the 2019 ISA (U.S. EPA,
                                                 estimates (e.g., in the size of risk                    2020b, section 3.5.2.2). In addition,                 2019a), the policy-relevant and risk-
                                                 estimates) can result from a number of                  controlled human exposure and panel-                  based conclusions and rationales as
                                                 factors, including assumptions about the                based studies of subdaily exposures                   presented in the 2020 PA (U.S. EPA,
                                                 shape of the C–R relationship with                      typically examined subclinical effects,               2020b), advice from the CASAC, and
                                                 mortality at low ambient PM2.5                          rather than the more serious population-              public comments. In particular, in
                                                 concentrations, the potential for                       level effects that have been reported to              considering the 2019 ISA and 2020 PA,
                                                 confounding and/or exposure                             be associated with 24-hour exposures                  he considered key epidemiologic
                                                 measurement error, and the methods                      (e.g., mortality, hospitalizations). Taken            studies that evaluated associations
                                                 used to adjust PM2.5 air quality.                       together, the 2019 ISA concluded that                 between PM2.5 air quality distributions
                                                    Consistent with the general approach                 epidemiologic studies did not indicate                and mortality and morbidity, including
                                                 routinely employed in NAAQS reviews,                    that subdaily averaging periods were                  key accountability studies; the
                                                 the initial consideration in the 2020                   more closely associated with health                   availability of experimental studies to
ddrumheller on DSK120RN23PROD with RULES3




                                                 review of the primary PM2.5 standards                   effects than the 24-hour average                      support biological plausibility;
                                                 was with regard to the adequacy of the                  exposure metric (U.S. EPA, 2019a,                     controlled human exposure studies
                                                 protection provided by the existing                     section 1.5.2.1). Additionally, while                 examining effects following short-term
                                                 standards.                                              controlled human exposure studies                     PM2.5 exposures; air quality analyses;
                                                    As an initial matter, the then-                      provided consistent evidence for                      and the important uncertainties and
                                                 Administrator considered the range of                   cardiovascular effects following PM2.5                limitations associated with the
                                                 scientific evidence evaluating these                    exposures for less than 24 hours (i.e.,               information (85 FR 82715, December 18,
                                                 effects, including studies of at-risk                   <30 minutes to 5 hours), exposure                     2020).


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00020   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024             Page 32 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                        16221

                                                    As an initial matter, the then-                      further recognized that changes in air                   With respect to the epidemiologic
                                                 Administrator considered the protection                 quality to meet a 24-hour standard, with              evidence, the then-Administrator noted
                                                 afforded by both the annual and 24-hour                 a 98th percentile form, would result not              that the studies did not indicate that
                                                 standards together against long- and                    only in fewer and lower peak 24-hour                  associations in those studies were
                                                 short-term PM2.5 exposures and health                   PM2.5 concentrations, but also in lower               strongly influenced by exposures to
                                                 effects. The Administrator recognized                   annual average PM2.5 concentrations (85               peak concentrations in the air quality
                                                 that the annual standard was most                       FR 82715–82716, December 18, 2020).                   distribution and thus did not indicate
                                                 effective in controlling ‘‘typical’’ PM2.5                 Thus, in considering the adequacy of               the need for additional protection
                                                 concentrations near the middle of the                   the 24-hour standard, the then-                       against short-term exposures to peak
                                                 air quality distribution (i.e., around the              Administrator noted the importance of                 PM2.5 concentrations (U.S. EPA, 2020b,
                                                 mean of the distribution), but also                     considering whether additional                        section 3.5.1). The then-Administrator
                                                 provided some control over short-term                   protection was needed against short-                  noted that this was consistent with
                                                 peak PM2.5 concentrations. On the other                 term exposures to peak PM2.5                          CASAC consensus support for retaining
                                                 hand, the 24-hour standard, with its                    concentrations. In examining the                      the current 24-hour standard. Thus, the
                                                 98th percentile form, was most effective                scientific evidence, he noted the limited             then-Administrator concluded that the
                                                 at limiting peak 24-hour PM2.5                          utility of the animal toxicological                   24-hour standard with its level of 35 mg/
                                                 concentrations, but in doing so also had                studies in directly informing                         m3 was adequate to provide
                                                 an effect on annual average PM2.5                       conclusions on the appropriate level of               supplemental protection (i.e., beyond
                                                 concentrations. Thus, while either                      the standard given the uncertainty in                 that provided by the annual standard
                                                 standard could be viewed as providing                   extrapolating from effects in animals to              alone) against short-term exposures to
                                                 some measure of protection against both                 those in human populations. The then-                 peak PM2.5 concentrations (85 FR 82716,
                                                 average exposures and peak exposures,                   Administrator noted that controlled                   December 18, 2020).
                                                                                                                                                                  With regard to the level of the annual
                                                 the 24-hour and annual standards were                   human exposure studies provided
                                                                                                                                                               standard, the then-Administrator
                                                 not expected to be equally effective at                 evidence for health effects following
                                                                                                                                                               recognized that the annual standard,
                                                 limiting both types of exposures. Thus,                 single, short-term PM2.5 exposures that
                                                                                                                                                               with its form based on the arithmetic
                                                 consistent with previous reviews, the                   corresponded best to exposures that
                                                                                                                                                               mean concentration, was most
                                                 then-Administrator’s consideration of                   might be experienced in the upper end
                                                                                                                                                               appropriately meant to limit the
                                                 the public health protection provided by                of the PM2.5 air quality distribution in
                                                                                                                                                               ‘‘typical’’ daily and annual exposures
                                                 the existing primary PM2.5 standards                    the U.S. (i.e., ‘‘peak’’ concentrations).             that were most strongly associated with
                                                 was based on his consideration of the                   However, most of these studies                        the health effects observed in
                                                 combination of the annual and 24-hour                   examined exposure concentrations                      epidemiologic studies. However, the
                                                 standards. Specifically, he recognized                  considerably higher than are typically                then-Administrator also noted that
                                                 that the annual standard was more                       measured in areas meeting the standards               while epidemiologic studies examined
                                                 likely to appropriately limit the                       (U.S. EPA, 2020b, section 3.2.3.1). In                associations between distributions of
                                                 ‘‘typical’’ daily and annual exposures                  particular, controlled human exposure                 PM2.5 air quality and health outcomes,
                                                 that are most strongly associated with                  studies often reported statistically                  they did not identify particular PM2.5
                                                 the health effects observed in                          significant effects on one or more                    exposures that cause effects and thus,
                                                 epidemiologic studies. The then-                        indicators of cardiovascular function                 they could not alone identify a specific
                                                 Administrator concluded that an annual                  following 2-hour exposures to PM2.5                   level at which the standard should be
                                                 standard (as the arithmetic mean,                       concentrations at and above 120 mg/m3                 set, as such a determination necessarily
                                                 averaged over three years) remained                     (at and above 149 mg/m3 for vascular                  required the then-Administrator’s
                                                 appropriate for targeting protection                    impairment, the effect shown to be most               judgment. Thus, consistent with the
                                                 against the annual and daily PM2.5                      consistent across studies). To provide                approaches in previous NAAQS
                                                 exposures around the middle portion of                  insight into what these studies may                   reviews, the then-Administrator
                                                 the PM2.5 air quality distribution.                     indicate regarding the primary PM2.5                  recognized that any approach that used
                                                 Further, recognizing that the 24-hour                   standards, the 2020 PA (U.S. EPA,                     epidemiologic information in reaching
                                                 standard (with its 98th percentile form)                2020b, p. 3–49) noted that 2-hour                     decisions on what standards are
                                                 was more directly tied to short-term                    ambient concentrations of PM2.5 at                    appropriate necessarily required
                                                 peak PM2.5 concentrations, and more                     monitoring sites meeting the current                  judgments about how to translate the
                                                 likely to appropriately limit exposures                 standards almost never exceeded 32 mg/                information from the epidemiologic
                                                 to such concentrations, the then-                       m3. In fact, even the extreme upper end               studies into a basis for appropriate
                                                 Administrator concluded that the                        of the distribution of 2-hour PM2.5                   standards. This approach included
                                                 current 24-hour standard (with its 98th                 concentrations at sites meeting the                   consideration of the uncertainties in the
                                                 percentile form, averaged over three                    primary PM2.5 standards remained well-                reported associations between daily or
                                                 years) remained appropriate to provide                  below the PM2.5 exposure                              annual average PM2.5 exposures and
                                                 a balance between limiting the                          concentrations consistently shown in                  mortality or morbidity in the
                                                 occurrence of peak 24-hour PM2.5                        controlled human exposure studies to                  epidemiologic studies. Such an
                                                 concentrations and identifying a stable                 elicit effects (i.e., 99.9th percentile of 2-         approach is consistent with setting
                                                 target for risk management programs.                    hour concentrations at these sites is 68              standards that are neither more nor less
                                                 However, the then-Administrator                         mg/m3 during the warm season). Thus,                  stringent than necessary, recognizing
ddrumheller on DSK120RN23PROD with RULES3




                                                 recognized that changes in PM2.5 air                    the experimental evidence did not                     that a zero-risk standard is not required
                                                 quality to meet an annual standard                      indicate the need for additional                      by the Clean Air Act (CAA) (85 FR
                                                 would likely result not only in lower                   protection against exposures to peak                  82716, December 18, 2020).
                                                 short- and long-term PM2.5                              PM2.5 concentrations, beyond the                         The then-Administrator emphasized
                                                 concentrations near the middle of the                   protection provided by the combination                uncertainties and limitations that were
                                                 air quality distribution, but also in fewer             of the 24-hour and the annual standards               present in epidemiologic studies in
                                                 and lower short-term peak PM2.5                         (U.S. EPA, 2020b, section 3.2.3.1; 85 FR              previous reviews and persisted in the
                                                 concentrations. The then-Administrator                  82716, December 18, 2020).                            2020 review. These uncertainties


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00021   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024             Page 33 of 217
                                                 16222             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 included exposure measurement error,                    level of the existing annual standard,                placed on quantitative estimates of risk
                                                 potential confounding by copollutants,                  with the mean of the study-reported                   than on the underlying scientific
                                                 increasing uncertainty of associations at               means or medians equal to 13.5 mg/m3,                 evidence itself (e.g., 78 FR 3086, 3098–
                                                 lower PM2.5 concentrations, and                         a concentration level above the existing              99, January 15, 2013). These
                                                 heterogeneity of effects across different               level of the primary annual standard of               uncertainties and limitations included
                                                 cities or regions (85 FR 82716,                         12 mg/m3. The then-Administrator                      uncertainty in the shapes of C–R
                                                 December 18, 2020). The then-                           further noted his caution in directly                 functions, particularly at low
                                                 Administrator also noted the advice                     comparing the reported study mean                     concentrations; uncertainties in the
                                                 given by the CASAC on this matter. As                   values to the standard level given that               methods used to adjust air quality; and
                                                 described in section I.C.5 above, the                   study-reported mean concentrations, by                uncertainty in estimating risks for
                                                 CASAC did not reach consensus on the                    design, are generally lower than the                  populations, locations and air quality
                                                 adequacy of the primary annual PM2.5                    design value of the highest monitor in                distributions different from those
                                                 standard. ‘‘Some CASAC members’’                        an area, which determines compliance.                 examined in the underlying
                                                 expressed support for retaining the                     In the 2020 PA, analyses of recent air                epidemiologic study (U.S. EPA, 2020b,
                                                 primary annual PM2.5 standard while                     quality in U.S. CBSAs indicated that                  section 3.3.2.4). Additionally, the then-
                                                 ‘‘other members’’ expressed support for                 maximum annual PM2.5 design values                    Administrator noted similar concern
                                                 revising that standard in order to                      for a given three-year period were often              expressed by some members of the
                                                 increase public health protection (Cox,                 10% to 20% higher than average                        CASAC who support retaining the
                                                 2019b, p. 1 of consensus letter). The                   monitored concentrations (i.e., averaged              existing standards; they highlighted
                                                 CASAC members who supported                             across multiple monitors in the same                  similar uncertainties and limitations in
                                                 retaining the annual standard expressed                 CBSA) (U.S. EPA, 2020b, Appendix B,                   the risk assessment (Cox, 2019b). In
                                                 their concerns with the epidemiologic                   section B.7). He further noted his                    light of all of this, the then-
                                                 studies, asserting that these studies did               concern in placing too much weight on                 Administrator judged it appropriate to
                                                 not provide a sufficient basis for                      any one epidemiologic study but instead               place little weight on quantitative
                                                 revising the existing standards. They                   judged that it was more appropriate to                estimates of PM2.5-associated mortality
                                                 also identified several key concerns                    focus on the body of studies together                 risk in reaching conclusions about the
                                                 regarding the associations reported in                  and therefore noted the calculation of                level of the primary PM2.5 standards (85
                                                 epidemiologic studies and concluded                     the mean of study-reported means (or                  FR 82717, December 18, 2020).
                                                 that ‘‘while the data on associations                   medians). Thus, while the then-
                                                                                                                                                                  The then-Administrator additionally
                                                 should certainly be carefully                           Administrator was cautious in placing
                                                                                                                                                               considered an emerging body of
                                                 considered, this data should not be                     too much weight on the epidemiologic
                                                                                                                                                               evidence from accountability studies
                                                 interpreted more strongly than                          evidence alone, he noted that: (1) The
                                                                                                                                                               that examined past reductions in
                                                 warranted based on its methodological                   reported mean concentration in the
                                                                                                                                                               ambient PM2.5 and the degree to which
                                                 limitations’’ (Cox, 2019b, p. 8 consensus               majority of the key U.S. epidemiologic
                                                                                                                                                               those reductions resulted in public
                                                 responses).                                             studies using ground-based monitoring
                                                                                                                                                               health improvements. While the then-
                                                                                                         data were above the level of the existing
                                                    Taking into consideration the views                                                                        Administrator agreed with public
                                                                                                         annual standard; (2) the mean of the
                                                 expressed by the CASAC members who                                                                            commenters that well-designed and
                                                                                                         reported study means (or medians) (i.e.,
                                                 supported retaining the annual                                                                                conducted accountability studies can be
                                                                                                         13.5 mg/m3) was above the level of the
                                                 standard, the then-Administrator                                                                              informative, he viewed the
                                                                                                         current standard; 49 (3) air quality
                                                 recognized that epidemiologic studies                                                                         interpretation of such studies in the
                                                                                                         analyses showed the study means to be
                                                 examined associations between                                                                                 context of the primary PM2.5 standards
                                                                                                         lower than their corresponding design
                                                 distributions of PM2.5 air quality and                                                                        as complicated by the fact that some of
                                                                                                         values by 10–20%; and (4) these
                                                 health outcomes, and they did not                                                                             the available studies had not evaluated
                                                                                                         analyses must be considered in light of
                                                 identify particular PM2.5 exposures that                                                                      PM2.5 specifically (e.g., as opposed to
                                                                                                         uncertainties inherent in the
                                                 cause effects (U.S. EPA, 2020b, section                                                                       PM10 or total suspended particulates),
                                                                                                         epidemiologic evidence. When taken
                                                 3.1.2). While the Administrator                                                                               did not show changes in PM2.5 air
                                                                                                         together, the then-Administrator judged
                                                 remained concerned about placing too                                                                          quality, or had not been able to
                                                                                                         that, even if it were appropriate to place
                                                 much weight on epidemiologic studies                                                                          disentangle health impacts of the
                                                                                                         more weight on the epidemiologic
                                                 to inform conclusions on the adequacy                                                                         interventions from background trends in
                                                                                                         evidence, this information did not call
                                                 of the primary standards, he noted the                                                                        health (U.S. EPA, 2020b, section 3.5.1).
                                                                                                         into question the adequacy of the
                                                 approach to considering such studies in                                                                       He further recognized that the small
                                                                                                         current standards (85 FR 82716–17,
                                                 the 2012 review. In the 2012 review, it                                                                       number of available studies that did
                                                                                                         December 18, 2020).
                                                 was noted that the evidence of an                         In addition to the evidence, the then-              report public health improvements
                                                 association in any epidemiologic study                  Administrator also considered the                     following past declines in ambient PM2.5
                                                 was ‘‘strongest at and around the long-                 potential implications of the risk                    had not examined air quality meeting
                                                 term average where the data in the study                assessment. He noted that all risk                    the existing standards (U.S. EPA, 2020b,
                                                 are most concentrated’’ (78 FR 3140,                    assessments have limitations and that                 Table 3–3). This included U.S. studies
                                                 January 15, 2013). In considering the                   he remained concerned about the                       that reported increased life expectancy,
                                                 characterization of epidemiologic                       uncertainties in the underlying                       decreased mortality, and decreased
                                                 studies, the then-Administrator viewed                  epidemiologic data used in the risk                   respiratory effects following past
                                                 that when assessing the mean                                                                                  declines in ambient PM2.5
ddrumheller on DSK120RN23PROD with RULES3




                                                                                                         assessment. The then-Administrator
                                                 concentrations of the key short-term and                also noted that in previous reviews,                  concentrations. Such studies examined
                                                 long-term epidemiologic studies in the                  these uncertainties and limitations have              ‘‘starting’’ annual average PM2.5
                                                 U.S. that used ground-based monitoring                  often resulted in less weight being                   concentrations (i.e., prior to the
                                                 (i.e., those studies where the mean is                                                                        reductions being evaluated) ranging
                                                 most directly comparable to the current                  49 The median of the study-reported mean (or         from about 13.2 to >20mg/m3 (i.e., U.S.
                                                 annual standard), the majority of studies               median) PM2.5 concentrations is 13.3 mg/m3, which     EPA, 2020b, Table 3–3). Given the lack
                                                 had mean concentrations at or above the                 was also above the level of the existing standard.    of available accountability studies


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00022   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024             Page 34 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                          16223

                                                 reporting public health improvements                    U.S. epidemiologic studies using                      retained the standards, without revision
                                                 attributable to reductions in ambient                   ground-based monitoring data (noting                  (85 FR 82718, December 18, 2020).
                                                 PM2.5 in locations meeting the existing                 that these means tend to be 10–20%
                                                                                                                                                               2. Overview of the Health Effects
                                                 standards, together with his broader                    lower than their corresponding area
                                                                                                                                                               Evidence
                                                 concerns regarding the lack of                          design values which is the more
                                                 experimental studies examining PM2.5                    relevant metric when considering the                     The information summarized here
                                                 exposures typical of areas meeting the                  level of the standard) and below the                  and further detailed in section II.B of
                                                 existing standards, the then-                           mean of the reported means (or                        the proposal (88 FR 5580, January 27,
                                                 Administrator judged that there was                     medians) of these studies (i.e., 13.5 mg/             2023), is an overview of the policy-
                                                 considerable uncertainty in the                         m3). In addition, the then-Administrator              relevant aspects of the health effects
                                                 potential for increased public health                   recognized that concentrations in areas               evidence available in this
                                                 protection from further reductions in                   meeting the existing 24-hour and annual               reconsideration; the assessment of this
                                                 ambient PM2.5 concentrations beyond                     standards remained well-below the                     evidence is documented in the 2019 ISA
                                                 those achieved under the existing                       PM2.5 exposure concentrations                         (U.S. EPA, 2019a) and ISA Supplement
                                                 primary PM2.5 standards (85 FR 82717,                   consistently shown to elicit effects in               (U.S. EPA, 2022a) and its policy
                                                 December 18, 2020).                                     human exposure studies (85 FR 82717–                  implications are further discussed in the
                                                    When the above considerations were                   82718, December 18, 2020).                            2022 PA (U.S. EPA, 2022b). While the
                                                 taken together, the then-Administrator                     In addition, based on the then-                    2019 ISA provides the broad scientific
                                                 concluded that the scientific evidence                                                                        foundation for this reconsideration,
                                                                                                         Administrator’s review of the science in
                                                 assessed in the 2019 ISA, together with                                                                       additional literature has become
                                                                                                         the 2020 review, including controlled
                                                 the analyses in the 2020 PA based on                                                                          available since the cutoff date of the
                                                                                                         human exposure studies examining
                                                 that evidence and consideration of                                                                            2019 ISA that expands the body of
                                                                                                         effects following short-term PM2.5
                                                 CASAC advice and public comments,                                                                             evidence related to mortality and
                                                                                                         exposures, the epidemiologic studies,
                                                 did not call into question the adequacy                                                                       cardiovascular effects for both short-
                                                                                                         and accountability studies conducted at
                                                 of the public health protection provided                                                                      and long-term PM2.5 exposure, which
                                                                                                         levels just above the existing annual
                                                 by the existing annual and 24-hour                                                                            can inform the Administrator’s
                                                                                                         standard, he judged that the degree of
                                                 PM2.5 standards. In particular, the then-                                                                     judgment on the adequacy of the current
                                                                                                         public health protection provided by the
                                                 Administrator judged that there was                                                                           primary PM2.5 standards. As such, the
                                                                                                         existing annual standard is not greater
                                                 considerable uncertainty in the                                                                               ISA Supplement builds on the
                                                                                                         than warranted. This judgment, together               information presented within the 2019
                                                 potential for additional public health
                                                                                                         with the fact that no CASAC member                    ISA with a targeted identification and
                                                 improvements from reducing ambient
                                                                                                         expressed support for a less stringent                evaluation of new scientific information
                                                 PM2.5 concentrations below the
                                                                                                         standard, led the then- Administrator to              (U.S. EPA, 2022a, section 1.2). The ISA
                                                 concentrations achieved under the
                                                                                                         conclude that standards less stringent                Supplement focuses on PM2.5 health
                                                 existing primary standards and that,
                                                                                                         than the existing standards (e.g., with               effects evidence where the 2019 ISA
                                                 therefore, standards more stringent than
                                                                                                         higher levels) were also not supported                concludes a ‘‘causal relationship,’’
                                                 the existing standards (e.g., with lower
                                                                                                         (85 FR 82718, December 18, 2020).                     because such health effects are given the
                                                 levels) were not supported. That is, he
                                                 judged that more stringent standards                       In reaching his final decision in the              most weight in an Administrator’s
                                                 would be more than requisite to protect                 2020 review, the then-Administrator                   decisions in a NAAQS review. As such,
                                                 the public health with an adequate                      concluded that the scientific evidence                in selecting the health effects to evaluate
                                                 margin of safety. This judgment                         and technical information continued to                within the ISA Supplement (i.e., newly
                                                 reflected the Administrator’s                           support the existing annual and 24-hour               available evidence related to short- and
                                                 consideration of the uncertainties in the               PM2.5 standards. This conclusion                      long-term PM2.5 exposure and mortality
                                                 potential implications of the lower end                 reflected the then-Administrator’s view               and cardiovascular effects), the primary
                                                 of the air quality distributions from the               that there were important limitations                 rationale is based on the causality
                                                 epidemiologic studies due in part to the                and uncertainties that remained in the                determinations for health effect
                                                 lack of supporting evidence from                        evidence. The then-Administrator                      categories presented in the 2019 PM
                                                 experimental studies and retrospective                  concluded that these limitations                      ISA, and the subsequent use of the
                                                 accountability studies conducted at                     contributed to considerable uncertainty               health effects evidence in the 2020 PM
                                                 PM2.5 concentrations meeting the                        regarding the potential public health                 PA. Specifically, U.S. and Canadian
                                                 existing standards (85 FR 82717,                        implications of revising the existing                 epidemiologic studies for mortality and
                                                 December 18, 2020).                                     primary PM2.5 standards. Given this                   cardiovascular effects, along with
                                                    In reaching this conclusion in the                   uncertainty, and noting the advice from               controlled human exposure studies
                                                 2020 review, the then-Administrator                     some CASAC members, he concluded                      associated with cardiovascular effects at
                                                 judged that the existing standards                      that the primary PM2.5 standards,                     near ambient concentrations, were
                                                 provided an adequate margin of safety.                  including the indicators (PM2.5),                     considered to be of greatest utility in
                                                 With respect to the annual standard, the                averaging times (annual and 24-hour),                 informing the Administrator’s
                                                 level of 12 mg/m3 was below the lowest                  forms (arithmetic mean and 98th                       conclusions on the adequacy of the
                                                 ‘‘starting’’ concentration (i.e., 13.2 mg/              percentile, averaged over three years)                current primary PM2.5 standards.
                                                 m3) in the available accountability                     and levels (12.0 mg/m3, 35 mg/m3), when               Additionally, studies examining
                                                 studies that showed public health                       taken together, remained requisite to                 associations outside the U.S. or Canada
ddrumheller on DSK120RN23PROD with RULES3




                                                 improvements attributable to reductions                 protect the public health. Therefore, in              reflect air quality and exposure patterns
                                                 in ambient PM2.5. In addition, while the                the 2020 review, the Administrator                    that may be less typical of the U.S., and
                                                 then-Administrator placed less weight                   reached the conclusion that the primary               thus less likely to be informative for
                                                 on the epidemiologic evidence for                       24-hour and annual PM2.5 standards,                   purposes of reviewing the NAAQS (U.S.
                                                 selecting a standard, he noted that the                 together, were requisite to protect public            EPA, 2022b, p.1–3). While the ISA
                                                 level of the annual standard was below                  health from fine particles with an                    Supplement does not include
                                                 the reported mean (and median)                          adequate margin of safety, including the              information for health effects other than
                                                 concentrations in the majority of the key               health of at-risk populations, and                    mortality and cardiovascular effects, the


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00023   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024                Page 35 of 217
                                                 16224             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 scientific evidence for other health                    epidemiologic or exposure studies that                i. Mortality
                                                 effect categories is evaluated in the 2019              examined whether there is evidence of                 Long-Term PM2.5 Exposures
                                                 ISA, which in combination with the ISA                  exposure or risk disparities by race/
                                                 Supplement represents the complete                      ethnicity or SES. These types of studies                 In the 2012 review, the 2009 ISA
                                                 scientific record for the reconsideration               provide additional information related                reported that the evidence was
                                                 of the 2020 final decision.                             to factors that may increase risk of                  ‘‘sufficient to conclude that the
                                                    The ISA Supplement also assessed                     PM2.5-related health effects and provide              relationship between long-term PM2.5
                                                 accountability studies because these                    additional evidence for consideration by              exposures and mortality is causal’’ (U.S.
                                                 types of epidemiologic studies were part                the Administrator in reaching                         EPA, 2009a, p. 7–96). The strongest
                                                 of the body of evidence that was a focus                conclusions regarding the adequacy of                 evidence supporting this conclusion
                                                 of the 2020 review. Accountability                      the current standards. In addition, the               was provided by epidemiologic studies,
                                                 studies inform our understanding of the                 ISA Supplement evaluated studies that                 particularly those examining two
                                                 potential for public health                             examined the relationship between                     seminal cohorts, the American Cancer
                                                 improvements as ambient PM2.5                           short- and long-term PM2.5 exposures                  Society (ACS) cohort and the Harvard
                                                 concentrations have declined over time.                 and SARS-CoV–2 infection and/or                       Six Cities cohort. Analyses of the
                                                 Further, the ISA Supplement considered                  COVID–19 death, as these studies are a                Harvard Six Cities cohort included
                                                 studies that employed statistical                       new area of research and were raised by               evidence indicating that reductions in
                                                 approaches that attempt to more                         a number of public commenters in the                  ambient PM2.5 concentrations are
                                                 extensively account for confounders and                 2020 review.                                          associated with reduced mortality risk
                                                 are more robust to model                                                                                      (Laden et al., 2006) and increases in life
                                                                                                            The evidence presented within the                  expectancy (Pope et al., 2009). Further
                                                 misspecification (i.e., used alternative
                                                                                                         2019 ISA, along with the targeted                     support was provided by other cohort
                                                 methods for confounder control),50
                                                                                                         identification and evaluation of new                  studies conducted in North America
                                                 given that such studies were highlighted
                                                                                                         scientific information in the ISA                     and Europe that reported positive
                                                 by the CASAC and identified in public
                                                                                                         Supplement, provides the scientific                   associations between long-term PM2.5
                                                 comments in the 2020 review. Since the
                                                                                                         basis for the reconsideration of the 2020             exposure and mortality (U.S. EPA,
                                                 literature cutoff date for the 2019 ISA,
                                                 multiple accountability studies and                     final decision on the primary PM2.5                   2019a).
                                                 studies that employ alternative methods                 standards. The subsections below                         Cohort studies, which have become
                                                 for confounder control have become                      briefly summarize the nature of PM2.5-                available since the completion of the
                                                 available for consideration in the ISA                  related health effects (II.A.2.a), with a             2009 ISA and evaluated in the 2019 ISA,
                                                 Supplement and, subsequently, in this                   focus on those health effects for which               continue to provide consistent evidence
                                                 reconsideration.                                        the 2019 ISA concluded a ‘‘causal’’ or                of positive associations between long-
                                                    The ISA Supplement also considered                   ‘‘likely to be causal’’ relationship, the             term PM2.5 exposures and mortality.
                                                 recent health effects evidence that                     potential public health implications and              These studies add support for
                                                 addresses key scientific issues where                   populations at risk (II.A.2.b), and PM2.5             associations with all-cause and total
                                                 the literature has expanded since the                   concentrations in key studies reporting               (non-accidental) mortality,53 as well as
                                                 completion of the 2019 ISA.51 The 2019                  health effects (II.A.2.c).                            with specific causes of mortality,
                                                 ISA evaluated a couple of controlled                    a. Nature of Effects                                  including cardiovascular disease and
                                                 human exposure studies that                                                                                   respiratory disease (U.S. EPA, 2019a,
                                                 investigated the effect of exposure to                     The evidence base available in the                 section 11.2.2). Several of these studies
                                                 near-ambient concentrations of PM2.5                    reconsideration includes decades of                   conducted analyses over longer study
                                                 (U.S. EPA, 2019a, section 6.1.10 and                    research on PM2.5-related health effects              durations and periods of follow-up than
                                                 6.1.13). The ISA Supplement adds to                     (U.S. EPA, 2004b; U.S. EPA, 2009a; U.S.               examined in the original ACS and
                                                 this limited evidence, including a recent               EPA, 2019a), including the full body of               Harvard Six Cities cohort studies and
                                                 study conducted in young healthy                        evidence evaluated in the 2019 ISA                    continue to report positive associations
                                                 individuals exposed to near-ambient                     (U.S. EPA, 2019a), along with the                     between long-term exposure to PM2.5
                                                 PM2.5 concentrations (U.S. EPA, 2022a,                  targeted evaluation of recent evidence in             and mortality (U.S. EPA, 2019a, section
                                                 section 3.3.1). Given the importance of                 the ISA Supplement (U.S. EPA, 2022a).                 11.2.2.1; Figures 11–18 and 11–19). In
                                                 identifying populations at increased risk               In considering the available scientific               addition to studies focusing on the ACS
                                                 of PM2.5-related effects, the ISA                       evidence, the sections below, and in                  and Harvard Six Cities cohorts,
                                                 Supplement also included                                more detail in section II.B.1 of the                  additional studies examining other
                                                                                                         proposal (88 FR 5580, January 27, 2023),              cohorts also provide evidence of
                                                   50 As noted in the ISA Supplement (U.S. EPA,
                                                                                                         summarize the relationships between                   consistent, positive associations
                                                 2022a, p. 1–3): ‘‘In the peer-reviewed literature,
                                                                                                         long-and short-term PM2.5 exposures                   between long-term PM2.5 exposure and
                                                 these epidemiologic studies are often referred to as                                                          mortality across a wide range of
                                                 causal inference studies or studies that used causal    and mortality (II.A.2.a.i), cardiovascular
                                                 modeling methods. For the purposes of this              effects (II.A.2.a.ii), respiratory effects            demographic groups (e.g., age, sex,
                                                 Supplement, this terminology is not used to prevent     (II.A.2.a.iii), cancer (II.A.2.a.iv), nervous         occupation), spatial and temporal
                                                 confusion with the main scientific conclusions (i.e.,
                                                                                                         system effects (II.A.2.a.v) and other                 extents, exposure assessment metrics,
                                                 the causality determinations) presented within an                                                             and statistical techniques (U.S. EPA,
                                                 ISA. In addition, as is consistent with the weight-     effects (II.A.2.a.vi). For these outcomes,
                                                 of-evidence framework used within ISAs and              the 2019 ISA concluded that the                       2019a, sections 11.2.2.1, 11.2.5; U.S.
                                                 discussed in the Preamble to the Integrated Science     evidence supports either a ‘‘causal’’ or              EPA, 2022a, Table 11–8). This includes
ddrumheller on DSK120RN23PROD with RULES3




                                                 Assessments, an individual study on its own cannot
                                                                                                         a ‘‘likely to be causal’’ relationship.52             some of the largest cohort studies
                                                 inform causality, but instead represents a piece of                                                           conducted to date, such as analyses of
                                                 the overall body of evidence.’’
                                                   51 As with the epidemiologic studies for long- and      52 In this reconsideration of the PM NAAQS, the     the U.S. Medicare cohort that includes
                                                 short-term PM2.5 exposure and mortality and             EPA considers the full body of health evidence,
                                                 cardiovascular effects, epidemiologic studies of        placing the greatest emphasis on the health effects     53 The majority of these studies examined non-

                                                 exposure or risk disparities and SARS–CoV–2             for which the evidence has been judged in the 2019    accidental mortality outcomes, though some
                                                 infection and/or COVID–19 death were limited to         ISA to demonstrate a ‘‘causal’’ or ‘‘likely to be     Medicare studies lack cause-specific death
                                                 those conducted in the U.S. and Canada.                 causal’’ relationship with PM2.5 exposures.           information and, therefore, examine total mortality.



                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00024   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024             Page 36 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                        16225

                                                 nearly 61 million enrollees and studies                    A series of epidemiologic studies                  concentrations and subsequent
                                                 that control for a range of individual                  evaluated in the 2019 ISA tested the                  reductions in mortality or morbidity,
                                                 and ecological covariates, including                    hypothesis that past reductions in                    have emerged and were evaluated in the
                                                 race, age, SES, smoking status, body                    ambient PM2.5 concentrations are                      ISA Supplement (U.S. EPA, 2022a,
                                                 mass index, and annual weather                          associated with increased life                        section 3.2.2.3). For example, Sanders et
                                                 variables (e.g., temperature, humidity)                 expectancy or a decreased mortality rate              al. (2020a) examined whether policy
                                                 (U.S. EPA, 2019a).                                      and report that reductions in ambient                 actions (i.e., the first annual PM2.5
                                                    In addition to those cohort studies                  PM2.5 are associated with improvements                NAAQS implementation rule in 2005
                                                 evaluated in the 2019 ISA, recent North                 in longevity (U.S. EPA, 2022a, section                for the 1997 annual PM2.5 standard with
                                                 American cohort studies evaluated in                    11.2.2.5). Pope et al. (2009) conducted a             a 3-year annual average of 15.0 mg/m3)
                                                 the ISA Supplement continue to                          cross-sectional analysis using air quality            reduced PM2.5 concentrations and
                                                 examine the relationship between long-                  data from 51 metropolitan areas across                mortality rates in Medicare beneficiaries
                                                 term PM2.5 exposure and mortality and                   the U.S., beginning in the 1970s through              between 2000–2013, and found that
                                                 report consistent, positive, and                        the early 2000s, and found that a 10 mg/              following implementation of the annual
                                                 statistically significant associations.                 m3 decrease in long-term PM2.5                        PM2.5 NAAQS, annual PM2.5
                                                 These recent studies also utilize large                 concentration was associated with a                   concentrations decreased by 1.59 mg/m3
                                                 and demographically diverse cohorts                     0.61-year increase in life expectancy. In             (95% CI: 1.39, 1.80) which
                                                 that are generally representative of the                a subsequent analysis, the authors                    corresponded to a 0.93% reduction in
                                                 national populations in both the U.S.                   extended the period of analysis to                    mortality rates among individuals 65
                                                 and Canada. These ‘‘studies published                   include 2000 to 2007, a time period                   years and older ([95% CI: 0.10%,
                                                 since the 2019 ISA support and extend                   with lower ambient PM2.5                              1.77%) in non-attainment counties
                                                 the evidence base that contributed to the               concentrations and found a decrease in                relative to attainment counties.
                                                 conclusion of a causal relationship                     long-term PM2.5 concentration                            The 2019 ISA also evaluated a small
                                                 between long-term PM2.5 exposure and                    continued to be associated with an                    number of studies that used alternative
                                                 mortality’’ (U.S. EPA, 2022a, section                   increase in life expectancy, though the               methods for confounder control to
                                                 3.2.2.2.1, Figure 3–19, Figure 3–20).                   magnitude of the increase was smaller                 further assess relationship between
                                                                                                         than during the earlier time period (i.e.,            long-term PM2.5 exposure and mortality
                                                    Furthermore, studies evaluated in the
                                                                                                         a 10 mg/m3 decrease in long-term PM2.5                (U.S. EPA, 2019a, section 11.2.2.4). In
                                                 2019 ISA and the ISA Supplement that
                                                                                                         concentration was associated with a                   addition, multiple epidemiologic
                                                 examined cause-specific mortality                                                                             studies that implemented alternative
                                                                                                         0.35-year increase in life expectancy)
                                                 expand upon previous research that                                                                            methods for confounder control and
                                                                                                         (Correia et al., 2013). Additional studies
                                                 found consistent, positive associations                                                                       were published since the literature
                                                                                                         conducted in the U.S. or Europe
                                                 between PM2.5 exposure and specific                                                                           cutoff date of the 2019 ISA were
                                                                                                         similarly report that reductions in
                                                 mortality outcomes, which include                                                                             evaluated in the ISA Supplement (U.S.
                                                                                                         ambient PM2.5 are associated with
                                                 cardiovascular and respiratory                                                                                EPA, 2022a, section 3.2.2.3). These
                                                                                                         improvements in longevity (U.S. EPA,
                                                 mortality, as well as other mortality                                                                         studies used a variety of statistical
                                                                                                         2022a, section 11.2.2.5).
                                                 outcomes. For cardiovascular-related                       Since the literature cutoff date for the           methods including generalized
                                                 mortality, the evidence evaluated in the                2019 ISA, a few epidemiologic studies                 propensity score (GPS), inverse
                                                 ISA Supplement is consistent with the                   were published that examined the                      probability weighting (IPW), and
                                                 evidence evaluated in the 2019 ISA with                 relationship between long-term PM2.5                  difference-in-difference (DID) to reduce
                                                 recent studies reporting positive                       exposure and life-expectancy (U.S. EPA,               uncertainties related to confounding
                                                 associations with long-term PM2.5                       2022a, section 3.2.1.3) and report results            bias in the association between long-
                                                 exposure. When evaluating cause-                        that are consistent with and expand                   term PM2.5 exposure and mortality.
                                                 specific cardiovascular mortality, recent               upon the body of evidence from the                    These studies reported consistent
                                                 studies reported positive associations                  2019 ISA. For example, Bennett et al.                 positive associations between long-term
                                                 for a number of outcomes, such as                       (2019) reported that PM2.5                            PM2.5 exposure and total mortality (U.S.
                                                 ischemic heart disease (IHD) and stroke                 concentrations above the lowest                       EPA, 2022a, section 3.2.2.3), and
                                                 mortality (U.S. EPA, 2022a, Figure 3–                   observed concentration (2.8 mg/m3) were               provided further support for the
                                                 23). Moreover, recent studies also                      associated with a 0.15 year decrease in               associations reported in the cohort
                                                 provide some initial evidence that                      national life expectancy for women and                studies referenced above.
                                                 individuals with pre-existing health                    0.13 year decrease in national life                      The 2019 ISA and ISA Supplement
                                                 conditions, such as heart failure and                   expectancy for men (U.S. EPA, 2022a,                  also evaluated the degree to which
                                                 diabetes, are at an increased risk of                   section 3.2.2.2.4, Figure 3–25). Another              recent studies examining the
                                                 PM2.5-related health effects (U.S. EPA,                 study compared participants living in                 relationship between long-term PM2.5
                                                 2022a, section 3.2.2.4) and that these                  areas with PM2.5 concentrations >12 mg/               exposure and mortality addressed key
                                                 individuals have a higher risk of                       m3 to participants living in areas with               policy-relevant issues and/or previously
                                                 mortality overall, which was previously                 PM2.5 concentrations <12 mg/m3 and                    identified data gaps in the scientific
                                                 only examined in studies that used                      reported that the number of years of life             evidence, including methods to estimate
                                                 stratified analyses rather than a cohort                lost due to living in areas with higher               exposure, methods to control for
                                                 of people with an underlying health                     PM2.5 concentrations was 0.84 years                   confounding (e.g., co-pollutant
                                                 condition (U.S. EPA, 2022a, section                     over a 5-year period (Ward-Caviness et                confounding), the shape of the C–R
                                                 3.2.2.4). With regard to respiratory
ddrumheller on DSK120RN23PROD with RULES3




                                                                                                         al., 2020; U.S. EPA, 2022a, section                   relationship, as well as examining
                                                 mortality, epidemiologic studies                        3.2.2.2.4).                                           whether a threshold exists below which
                                                 evaluated in the 2019 ISA and ISA                          Additionally, a number of                          mortality effects do not occur. With
                                                 Supplement continue to provide                          accountability studies, which are                     respect to exposure assessment, based
                                                 support for associations between long-                  epidemiologic studies that evaluate                   on its evaluation of the evidence, the
                                                 term PM2.5 exposure and respiratory                     whether an environmental policy or air                2019 ISA concludes that positive
                                                 mortality (U.S. EPA, 2019a, section                     quality intervention resulted in                      associations between long-term PM2.5
                                                 5.2.10; U.S. EPA, 2022a, Table 3–2).                    reductions in ambient air pollution                   exposures and mortality are robust


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00025   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024             Page 37 of 217
                                                 16226             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 across recent analyses using various                    they decompose ambient PM2.5 into                      2019a, Table 11–7; U.S. EPA, 2022a,
                                                 approaches to estimate PM2.5 exposures                  ‘‘spatial’’ and ‘‘spatiotemporal’’                     section 2.2.3.2). Studies have also
                                                 (e.g., based on monitors, models,                       components in order to evaluate the                    conducted cut-point analyses that focus
                                                 satellite-based methods, or hybrid                      potential for bias due to unmeasured                   on examining risk at specific ambient
                                                 methods that combine information from                   spatial confounding. Pun et al. (2017)                 PM2.5 concentrations. Generally, the
                                                 multiple sources) (U.S. EPA, 2019a,                     observed positive associations for the                 evidence remains consistent in
                                                 section 11.2.5.1). Hart et al. (2015)                   ‘‘temporal’’ variation model and                       supporting a no-threshold relationship,
                                                 report that correction for bias due to                  approximately null associations for the                and in supporting a linear relationship
                                                 exposure measurement error increases                    ‘‘spatiotemporal’’ variation model for all             for PM2.5 concentrations >8 mg/m3.
                                                 the magnitude of the hazard ratios                      causes of death except for COPD                        However, uncertainties remain about
                                                 (confidence intervals widen but the                     mortality. The difference in the results               the shape of the C–R curve at PM2.5
                                                 association remains statistically                       of these two models for most causes of                 concentrations <8 mg/m3, with some
                                                 significant), suggesting that failure to                death suggests the presence of                         recent studies providing evidence for
                                                 correct for exposure measurement error                  unmeasured confounding, though the                     either a sublinear, linear, or supralinear
                                                 could result in attenuation or                          authors do not indicate anything about                 relationship at these lower
                                                 underestimation of risk estimates.                      the direction or magnitude of this bias.               concentrations (U.S. EPA, 2019a,
                                                    The 2019 ISA additionally concludes                  It is important to note that the                       section 11.2.4; U.S. EPA, 2022a, section
                                                 that positive associations between long-                ‘‘temporal’’ and ‘‘spatiotemporal’’                    2.2.3.2). There was also some limited
                                                 term PM2.5 exposures and mortality are                  coefficients are not directly comparable               evidence indicating that the slope of the
                                                 robust across statistical models that use               to the results of other epidemiologic                  C–R function may be steeper
                                                 different approaches to control for                     studies when examined individually                     (supralinear) at lower concentrations for
                                                 confounders or different sets of                        and can only be used in comparison                     cardiovascular mortality (U.S. EPA,
                                                 confounders (U.S. EPA, 2019a, sections                  with one another to evaluate the                       2022a, section 3.1.1.2.6).
                                                 11.2.3 and 11.2.5), across diverse                      potential for unmeasured confounding                      The biological plausibility of PM2.5-
                                                 geographic regions and populations, and                 bias. Eum et al. (2018) and Wu et al.                  attributable mortality is supported by
                                                 across a range of temporal periods                      (2020) also attempted to address long-                 the coherence of effects across scientific
                                                 including periods of declining PM                       term trends and meteorological                         disciplines (i.e., animal toxicological,
                                                 concentrations (U.S. EPA, 2019a,                        variables as potential confounders and                 controlled human exposure studies, and
                                                 sections 11.2.2.5 and 11.2.5.3).                        found that not adjusting for temporal                  epidemiologic) when evaluating
                                                 Additional evidence further                             trends could overestimate the                          respiratory and cardiovascular
                                                 demonstrates that associations with                     association, while effect estimates in                 morbidity effects, which are some of the
                                                 mortality remain robust in copollutants                 analyses that excluded meteorological                  largest contributors to total
                                                 analyses (U.S. EPA, 2019a, section                      variables remained unchanged                           (nonaccidental) mortality. The 2019 ISA
                                                 11.2.3), and that associations persist in               compared to the main analyses. While                   outlines the available evidence for
                                                 analyses restricted to long-term                        results of these analyses suggest the                  biologically plausible pathways by
                                                 exposures (annual average PM2.5                         presence of some unmeasured                            which inhalation exposure to PM2.5
                                                 concentrations) below 12 mg/m3 (Di et                   confounding, they do not indicate the                  could progress from initial events (e.g.,
                                                 al., 2017b) or 10 mg/m3 (Shi et al., 2016),             direction or magnitude of the bias.54                  pulmonary inflammation, autonomic
                                                 indicating that risks are not                              An additional important                             nervous system activation) to endpoints
                                                 disproportionately driven by the upper                  consideration in characterizing the                    relevant to population outcomes,
                                                 portions of the air quality distribution.               public health impacts associated with                  particularly those related to
                                                 Recent studies evaluated in the ISA                     PM2.5 exposure is whether C–R                          cardiovascular diseases such as
                                                 Supplement further assess potential                     relationships are linear across the range              ischemic heart disease, stroke and
                                                 copollutant confounding and indicate                    of concentrations or if nonlinear                      atherosclerosis (U.S. EPA, 2019a,
                                                 that while there is some evidence of                    relationships exist along any part of this             section 6.2.1), and to metabolic effects,
                                                 potential confounding of the PM2.5-                     range. Studies evaluated in the 2019 ISA               including diabetes (U.S. EPA, 2019a,
                                                 mortality association by copollutants in                and the ISA Supplement examine this                    section 7.3.1). The 2019 ISA notes
                                                 some of the studies (i.e., those studies of             issue, and continue to provide evidence                ‘‘more limited evidence from respiratory
                                                 the Mortality Air Pollution Associations                of linear, no-threshold relationships                  morbidity’’ (U.S. EPA, 2019a, p. 11–101)
                                                 in Low Exposure Environments                            between long-term PM2.5 exposures and                  such as development of chronic
                                                 (MAPLE) cohort), this result is                         all-cause and cause-specific mortality                 obstructive pulmonary disease (COPD)
                                                 inconsistent with other recent studies                  (U.S. EPA, 2019a, section 11.2.4; U.S.                 (U.S. EPA, 2019a, section 5.2.1) to
                                                 evaluated in the 2019 ISA that were                     EPA, 2022a, section 3.2.2.2.7, Table 3–                support the biological plausibility of
                                                 conducted in the U.S. and Canada that                   6). Across the studies evaluated in the                mortality due to long-term PM2.5
                                                 found associations in both single and                   2019 ISA and the ISA Supplement, a                     exposures (U.S. EPA, 2019a, section
                                                 copollutant models (U.S. EPA, 2019a;                    variety of statistical methods have been               11.2.1).
                                                 U.S. EPA, 2022a, section 3.2.2.4)                       used to assess whether there is evidence                  Taken together, epidemiologic
                                                    Additionally, a few studies use                      of deviations in linearity (U.S. EPA,                  studies, including those evaluated in the
                                                 statistical techniques to reduce                                                                               2019 ISA and more recent studies
                                                 uncertainties related to potential                         54 In public comments on the 2019 draft PA, the     evaluated in the ISA Supplement,
                                                 confounding to further inform                           authors of the Pun et al. (2017) study further note    consistently report positive associations
                                                                                                         that ‘‘the presence of unmeasured
ddrumheller on DSK120RN23PROD with RULES3




                                                 conclusions on causality for long-term                                                                         between long-term PM2.5 exposure and
                                                                                                         confounding. . .was expected given that we did not
                                                 PM2.5 exposure and mortality, as further                control for several potential confounders that may
                                                                                                                                                                mortality across different geographic
                                                 detailed in section II.B.1.a.i of the                   impact PM2.5-mortality associations, such as           locations, populations, and analytic
                                                 proposal (88 FR 5582, January 27, 2023),                smoking, socio-economic status (SES), gaseous          approaches (U.S. EPA, 2019a; U.S. EPA,
                                                 studies by Greven et al. (2011), Pun et                 pollutants, PM2.5 components, and long-term time       2022a, section 3.2.2.4). As such, these
                                                                                                         trends in PM2.5’’ and that ‘‘spatial confounding may
                                                 al. (2017), and Eum et al. (2018)                       bias mortality risks both towards and away from the
                                                                                                                                                                studies reduce key uncertainties
                                                 completed sensitivity analyses as part of               null’’ (Docket ID EPA–HQ–OAR–2015–0072–0065;           identified in previous reviews,
                                                 their Medicare cohort study in which                    accessible in https://www.regulations.gov/).           including those related to potential


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00026   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024             Page 38 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                         16227

                                                 copollutant confounding, and provide                    Whereas many studies assign exposures                 and PM10–2.5 increase the confidence in
                                                 additional information on the shape of                  using data from ambient monitors, other               PM2.5 having an independent effect on
                                                 the C–R curve. As evaluated in the 2019                 studies employ hybrid modeling                        mortality (U.S. EPA, 2019a, section
                                                 ISA, experimental and epidemiologic                     approaches, which estimate PM2.5                      11.1.4). Consistent with the studies
                                                 evidence for cardiovascular effects, and                concentrations using data from a variety              evaluated in the 2019 ISA, studies
                                                 respiratory effects to a more limited                   of sources (i.e., from satellites, land use           evaluated in the ISA Supplement that
                                                 degree, supports the plausibility of                    information, and modeling, in addition                used data from more recent years also
                                                 mortality due to long-term PM2.5                        to monitors) and enable the inclusion of              indicate that associations between short-
                                                 exposures. Overall, studies evaluated in                less urban and more rural locations in                term PM2.5 exposure and mortality
                                                 the 2019 ISA support the conclusion of                  analyses (e.g., Kloog et al., 2013, Lee et            remain unchanged in copollutant
                                                 a causal relationship between long-term                 al., 2015, Shi et al., 2016).                         models. However, the evidence
                                                 PM2.5 exposure and mortality, which is                     Some studies have expanded the                     indicates that the association could be
                                                 supported and extended by evidence                      examination of potential confounders                  larger in magnitude in the presence of
                                                 from recent epidemiologic studies                       including long-term temporal trends,                  some copollutants such as oxidant gases
                                                 evaluated in the ISA Supplement (U.S.                   weather, and co-occurring pollutants.                 (Lavigne et al., 2018; Shin et al., 2021).
                                                 EPA, 2022a, section 3.2.2.4).                           Mortality associations were found to                     The generally positive associations
                                                                                                         remain positive, although in some cases               reported with mortality are supported
                                                 Short-Term PM2.5 Exposures                              were attenuated, when using different                 by a small group of studies employing
                                                    The 2009 ISA concluded that ‘‘a                      approaches to account for temporal                    alternative methods for confounder
                                                 causal relationship exists between short-               trends or weather covariates (e.g., U.S.
                                                                                                                                                               control or quasi-experimental statistical
                                                 term exposure to PM2.5 and mortality’’                  EPA, 2019a, section 11.1.5.1). For
                                                                                                                                                               approaches (U.S. EPA, 2019a, section
                                                 (U.S. EPA, 2009a). This conclusion was                  example, Sacks et al. (2012) examined
                                                                                                                                                               11.1.2.1). For example, two studies by
                                                 based on the evaluation of both multi-                  the influence of model specification
                                                                                                                                                               Schwartz et al. report associations
                                                 and single-city epidemiologic studies                   using the approaches for confounder
                                                                                                                                                               between PM2.5 instrumental variables
                                                 that consistently reported positive                     adjustment from models employed in
                                                                                                                                                               and mortality (U.S. EPA, 2019a, Table
                                                 associations between short-term PM2.5                   several multicity studies within the
                                                                                                                                                               11–2), including in an analysis limited
                                                 exposure and non-accidental mortality.                  context of a common data set (U.S. EPA,
                                                                                                                                                               to days with 24-hour average PM2.5
                                                 These associations were strongest, in                   2019a, section 11.1.5.1). These models
                                                                                                         use different approaches to control for               concentrations <30 mg/m3 (Schwartz et
                                                 terms of magnitude and precision,                                                                             al., 2015; Schwartz et al., 2017). In
                                                 primarily at lags of 0 to 1 days.                       long-term temporal trends and the
                                                                                                         potential confounding effects of                      addition to the main analyses, these
                                                 Examination of the potential                                                                                  studies conducted Granger-like
                                                 confounding effects of gaseous                          weather. The authors report that
                                                                                                         associations between daily PM2.5 and                  causality tests as sensitivity analyses to
                                                 copollutants was limited, though                                                                              examine whether there was evidence of
                                                 evidence from single-city studies                       cardiovascular mortality were similar
                                                                                                         across models, with the percent increase              an association between mortality and
                                                 indicated that gaseous copollutants have                                                                      PM2.5 after the day of death, which
                                                 minimal effect on the PM2.5-mortality                   in mortality ranging from 1.5–2.0%
                                                                                                         (U.S. EPA, 2019a, Figure 11–4). Thus,                 would support the possibility that
                                                 relationship (i.e., associations remain                                                                       unmeasured confounders were not
                                                 robust to inclusion of other pollutants in              alternative approaches to controlling for
                                                                                                         long-term temporal trends and for the                 accounted for in the statistical model.
                                                 copollutant models). The evaluation of                                                                        Neither study reports evidence of an
                                                 cause-specific mortality found that                     potential confounding effects of weather
                                                                                                         may influence the magnitude of the                    association with PM2.5 after death (i.e.,
                                                 effect estimates were larger in                                                                               they do not indicate unmeasured
                                                 magnitude, but also had larger                          association between PM2.5 exposures
                                                                                                         and mortality but have not been found                 confounding). Yorifuji et al. (2016)
                                                 confidence intervals, for respiratory                                                                         conducted a quasi-experimental study
                                                 mortality compared to cardiovascular                    to influence the direction of the
                                                                                                         observed association (U.S. EPA, 2019a,                to examine whether a specific regulatory
                                                 mortality. Although the largest mortality                                                                     action in Tokyo, Japan (i.e., a diesel
                                                 risk estimates were for respiratory                     section 11.1.5.1). Taken together, the
                                                                                                         2019 ISA and the ISA Supplement                       emission control ordinance) resulted in
                                                 mortality, the interpretation of the                                                                          a subsequent reduction in daily
                                                 results was complicated by the limited                  conclude that recent multicity studies
                                                                                                         conducted in the U.S., Canada, Europe,                mortality (Yorifuji et al., 2016). The
                                                 coherence from studies of respiratory                                                                         authors reported a reduction in
                                                                                                         and Asia continue to provide consistent
                                                 morbidity. However, the evidence from                                                                         mortality in Tokyo due to the ordinance,
                                                                                                         evidence of positive associations
                                                 studies of cardiovascular morbidity                                                                           compared to Osaka, which did not have
                                                                                                         between short-term PM2.5 exposures and
                                                 provided both coherence and biological                                                                        a similar diesel emission control
                                                                                                         total mortality across studies that use
                                                 plausibility for the relationship between                                                                     ordinance in place. In another study,
                                                                                                         different approaches to control for the
                                                 short-term PM2.5 exposure and                                                                                 Schwartz et al. (2018) utilized three
                                                                                                         potential confounding effects of weather
                                                 cardiovascular mortality.                                                                                     statistical methods including
                                                                                                         (e.g., temperature) (U.S. EPA, 2019a,
                                                    Multicity studies evaluated in the                                                                         instrumental variable analysis, a
                                                                                                         section 1.4.1.5.1; U.S. EPA, 2022a,
                                                 2019 ISA and the ISA Supplement                                                                               negative exposure control, and marginal
                                                                                                         section 3.2.1.2).
                                                 provide evidence of primarily positive                     With regard to copollutants, studies               structural models to estimate the
                                                 associations between daily PM2.5                        evaluated in the 2019 ISA provide                     association between PM2.5 and daily
                                                 exposures and mortality, with percent                   additional evidence that associations                 mortality (Schwartz et al., 2018). Results
                                                 increases in total mortality ranging from
ddrumheller on DSK120RN23PROD with RULES3




                                                                                                         between short-term PM2.5 exposures and                from this study continue to support a
                                                 0.19% (Lippmann et al., 2013) to 2.80%                  mortality remain positive and relatively              relationship between short-term PM2.5
                                                 (Kloog et al., 2013) 55 at lags of 0 to 1               unchanged in copollutant models with                  exposure and mortality. Additional
                                                 days in single-pollutant models.                        both gaseous pollutants and PM10–2.5                  epidemiologic studies evaluated in the
                                                   55 As detailed in the Preface to the ISA, risk
                                                                                                         (U.S. EPA, 2019a, section 11.1.4).                    ISA Supplement that employed
                                                 estimates are for a 10 mg/m3 increase in 24-hour avg
                                                                                                         Additionally, the low (r < 0.4) to                    alternative methods for confounder
                                                 PM2.5 concentrations, unless otherwise noted (U.S.      moderate correlations (r = 0.4–0.7)                   control to examine the association
                                                 EPA, 2019a).                                            between PM2.5 and gaseous pollutants                  between short-term PM2.5 exposure and


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00027   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024               Page 39 of 217
                                                 16228             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 mortality also report consistent positive               some of the observed heterogeneity                       exposure and mortality, with confidence
                                                 associations in studies that examine                    (U.S. EPA, 2019a, section 11.1.6.3).                     in the shape decreasing at
                                                 effects across multiple cities in the U.S.              Collectively, studies evaluated in the                   concentrations below 5 mg/m3 (Shi et al.,
                                                 (U.S. EPA, 2022a).                                      2019 ISA and the ISA Supplement                          2016; Lavigne et al., 2018). Recent
                                                    The positive associations for total                  indicate that the heterogeneity in PM2.5                 analyses provide initial evidence
                                                 mortality reported across the majority of               mortality risk estimates cannot be                       indicating that PM2.5-mortality
                                                 studies evaluated are further supported                 attributed to one factor, but instead a                  associations persist and may be stronger
                                                 by cause-specific mortality analyses,                   combination of factors including, but                    (i.e., a steeper slope) at lower
                                                 which generally report consistent,                      not limited to, PM composition and                       concentrations (e.g., Di et al., 2017a;
                                                 positive associations with both                         sources as well as community                             Figure 11–12 in U.S. EPA, 2019).
                                                 cardiovascular and respiratory mortality                characteristics that could influence                     However, given the limited data
                                                 (U.S. EPA, 2019a, section 11.1.3).                      exposures (U.S. EPA, 2019a, section                      available at the lower end of the
                                                 Recent multicity studies evaluated in                   11.1.12; U.S. EPA, 2022a, section                        distribution of ambient PM2.5
                                                 the ISA Supplement add to the body of                   3.2.1.2.1).                                              concentrations, the shape of the C–R
                                                 evidence indicating a relationship                         A number of studies evaluated in the                  curve remains uncertain at these low
                                                 between short-term PM2.5 exposure and                   2019 ISA and ISA Supplement                              concentrations. Although difficulties
                                                 cause-specific mortality, with more                     conducted systematic evaluations of the                  remain in assessing the shape of the
                                                 variability in the magnitude and                        lag structure of associations for the                    short-term PM2.5-mortality C–R
                                                 precision of associations for respiratory               PM2.5-mortality relationship by                          relationship, to date, studies have not
                                                 mortality (U.S. EPA, 2022a; Figure 3–                   examining either a series of single day                  conducted systematic evaluations of
                                                 14). For both cardiovascular and                        or multiday lags and these studies                       alternatives to linearity and recent
                                                 respiratory mortality, there has been a                 continue to support an immediate effect                  studies evaluated in the ISA
                                                 limited assessment of potential                         (i.e., lag 0 to 1 days) of short-term PM2.5              Supplement continue to provide
                                                 copollutant confounding, though initial                 exposures on mortality (U.S. EPA,                        evidence of a no-threshold linear
                                                 evidence indicates that associations                    2019a, section 11.1.8.1; U.S. EPA,                       relationship, with less confidence at
                                                 remain positive and relatively                          2022a, section 3.2.1.1). Recent studies                  concentrations lower than 5 mg/m3.
                                                 unchanged in models with gaseous                        also conducted analyses comparing the                       Overall, epidemiologic studies
                                                 pollutants and PM10–2.5, which further                  traditional 24-hour average exposure                     evaluated in the 2019 ISA and the ISA
                                                 supports the copollutant analyses                       metric with a subdaily metric (i.e., 1-                  Supplement build upon and extend the
                                                 conducted for total mortality. The strong               hour max) and provide evidence of a                      conclusions of the 2009 ISA for the
                                                 evidence for ischemic events and heart                  similar pattern of associations for both                 relationship between short-term PM2.5
                                                 failure, as detailed in the assessment of               the 24-hour average and 1-hour max                       exposures and total mortality.
                                                 cardiovascular morbidity (U.S. EPA,                     metric, with the association larger in                   Supporting evidence for PM2.5-related
                                                 2019a, Chapter 6), provides biological                  magnitude for the 24-hour average                        cardiovascular morbidity, and more
                                                 plausibility for PM2.5-related                          metric.                                                  limited evidence from respiratory
                                                 cardiovascular mortality, which                            Multicity studies indicate that                       morbidity, provide biological
                                                 comprises the largest percentage of total               positive and statistically significant                   plausibility for mortality due to short-
                                                 mortality (i.e., ∼33%) (NHLBI, 2017).                   associations with mortality persist in                   term PM2.5 exposures. The primarily
                                                 Although there is evidence for                          analyses restricted to short-term (24-                   positive associations observed across
                                                 exacerbations of COPD and asthma, the                   hour average PM2.5 concentrations)                       studies conducted in diverse geographic
                                                 collective body of respiratory morbidity                PM2.5 exposures below 35 mg/m3 (Lee et                   locations is further supported by the
                                                 evidence provides limited biological                    al., 2015),56 below 30 mg/m3 (Shi et al.,                results from copollutant analyses
                                                 plausibility for PM2.5-related respiratory              2016), and below 25 mg/m3 (Di et al.,                    indicating robust associations, along
                                                 mortality (U.S. EPA, 2019a, Chapter 5).                 2017a), indicating that risks associated                 with evidence from analyses examining
                                                    In the 2009 ISA, one of the main                     with short-term PM2.5 exposures are not                  the C–R relationship. Overall, studies
                                                 uncertainties identified was the regional               disproportionately driven by the peaks                   evaluated in the 2019 ISA support the
                                                 and city-to-city heterogeneity in PM2.5-                of the air quality distribution.
                                                 mortality associations. Studies                                                                                  conclusion of a causal relationship
                                                                                                         Additional studies examined the shape                    between short-term PM2.5 exposure and
                                                 evaluated in the 2019 ISA examine both                  of the C–R relationship for short-term
                                                 city-specific as well as regional                                                                                mortality, which is further supported by
                                                                                                         PM2.5 exposure and mortality and                         evidence from recent epidemiologic
                                                 characteristics to identify the                         whether a threshold exists below which
                                                 underlying contextual factors that could                                                                         studies evaluated in the ISA
                                                                                                         mortality effects do not occur (U.S. EPA,                Supplement (U.S. EPA, 2022a, section
                                                 contribute to this heterogeneity (U.S.                  2019a, section 11.1.10). These studies
                                                 EPA, 2019a, section 11.1.6.3). Analyses                                                                          3.2.1.4, p. 3–69).
                                                                                                         used various statistical approaches and
                                                 focusing on effect modification of the                  consistently demonstrate linear C–R                      ii. Cardiovascular Effects
                                                 PM2.5 mortality relationship by PM2.5                   relationships with no evidence of a
                                                 components, regional patterns in PM2.5                                                                           Long-Term PM2.5 Exposures
                                                                                                         threshold.
                                                 components and city specific                               Moreover, recent studies evaluated in                    The scientific evidence reviewed in
                                                 differences in composition and sources                  the ISA Supplement provide additional                    the 2009 ISA was ‘‘sufficient to infer a
                                                 indicate some differences in the PM2.5                  support for a linear, no-threshold C–R                   causal relationship between long-term
                                                 composition and sources across cities                   relationship between short-term PM2.5                    PM2.5 exposure and cardiovascular
ddrumheller on DSK120RN23PROD with RULES3




                                                 and regions, but these differences do not                                                                        effects’’ (U.S. EPA, 2009a). The strongest
                                                 fully explain the observed                                56 Lee et al. (2015) restrict exposures below 35 mg/   line of evidence comprised findings
                                                 heterogeneity. Additional studies find                  m3 only in areas with annual average                     from several large epidemiologic studies
                                                 that factors related to potential exposure              concentrations <12 mg/m3. Additionally, Lee et al.       of U.S. and Canadian cohorts that
                                                 differences, such as housing stock and                  (2015) also report that positive and statistically       reported consistent positive associations
                                                                                                         significant associations between short-term PM2.5
                                                 commuting, as well as city specific                     exposures and mortality persist in analyses
                                                                                                                                                                  between long-term PM2.5 exposure and
                                                 factors (e.g., land use, port volume, and               restricted to areas with long-term concentrations        cardiovascular mortality (Pope et al.,
                                                 traffic information), may also explain                  below 12 mg/m3.                                          2004; Krewski et al., 2009; Miller et al.,


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00028   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM    06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024                Page 40 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                                  16229

                                                 2007; Laden et al., 2006). Studies of                   progression of cardiovascular disease.                hospital admissions for a variety of
                                                 long-term PM2.5 exposure and                            Positive associations with                            cardiovascular disease outcomes among
                                                 cardiovascular morbidity were limited                   cardiovascular morbidity (e.g., coronary              large nationally representative cohorts
                                                 in number. Biological plausibility and                  heart disease, stroke, arrhythmias,                   and provide additional support for a
                                                 coherence with the epidemiologic                        myocardial infarction (MI),                           relationship between long-term PM2.5
                                                 findings were provided by studies using                 atherosclerosis progression) are                      exposure and cardiovascular effects.
                                                 genetic mouse models of atherosclerosis                 observed in several epidemiologic                        Positive associations reported in
                                                 demonstrating enhanced atherosclerotic                  studies (U.S. EPA, 2019a, sections 6.2.2              epidemiologic studies are supported by
                                                 plaque development and inflammation,                    to 6.2.9; U.S. EPA, 2022a, section                    toxicological evidence evaluated in the
                                                 as well as changes in measures of                       3.1.2.2). Additionally, studies evaluated             2019 ISA. The positive associations
                                                 impaired heart function, following 4- to                in the ISA Supplement report positive                 reported in epidemiologic studies are
                                                 6-month exposures to PM2.5                              associations among those with pre-                    supported by toxicological evidence for
                                                 concentrated ambient particles (CAPs),                  existing conditions, among patients                   increased plaque progression in mice
                                                 and by a limited number of studies                      followed after a cardiac event                        following long-term exposure to PM2.5
                                                 reporting CAPs-induced effects on                       procedure, and among those with a first               collected from multiple locations across
                                                 coagulation factors, vascular reactivity,               hospital admission for heart attacks                  the U.S. (U.S. EPA, 2019a, section
                                                 and worsening of experimentally                         among older adults enrolled in                        6.2.4.2). A small number of
                                                 induced hypertension in mice (U.S.                      Medicare (U.S. EPA, 2022a, sections                   epidemiologic studies also report
                                                 EPA, 2009a).                                            3.1.1 and 3.1.2).                                     positive associations between long-term
                                                    Consistent with the evidence assessed                                                                      PM2.5 exposure and heart failure,
                                                                                                            Recent studies published since the
                                                 in the 2009 ISA, the 2019 ISA concludes                                                                       changes in blood pressure, and
                                                                                                         literature cutoff date of the 2019 ISA
                                                 that recent studies, together with the                                                                        hypertension (U.S. EPA, 2019a, sections
                                                                                                         and evaluated in the ISA Supplement
                                                 evidence available in previous reviews,                                                                       6.2.5 and 6.2.7). Associations with heart
                                                                                                         further assessed the relationship
                                                 support a causal relationship between                                                                         failure are supported by animal
                                                                                                         between long-term PM2.5 exposure and
                                                 long-term exposure to PM2.5 and                                                                               toxicological studies demonstrating
                                                                                                         cardiovascular effects by conducting
                                                 cardiovascular effects. Additionally,                                                                         decreased cardiac contractility and
                                                                                                         accountability analyses or by using
                                                 recent epidemiologic studies published                                                                        function, and increased coronary artery
                                                                                                         alternative methods for confounder
                                                 since the completion of the 2019 ISA                                                                          wall thickness following long-term
                                                                                                         control in evaluating the association
                                                 and evaluated in the ISA Supplement                                                                           PM2.5 exposure (U.S. EPA, 2019a,
                                                 expands the body of evidence and                        between long-term PM2.5 exposure and
                                                                                                         cardiovascular hospital admissions                    section 6.2.5.2). Similarly, a limited
                                                 further supports such a conclusion (U.S.                                                                      number of animal toxicological studies
                                                 EPA, 2022a). As discussed above                         (U.S. EPA, 2022a, section 3.1.2.3).
                                                                                                         Studies that apply alternative methods                demonstrating a relationship between
                                                 (section II.A.2.a.i), results from U.S. and                                                                   long-term PM2.5 exposure and consistent
                                                 Canadian cohort studies evaluated in                    for confounder control increase
                                                                                                         confidence in the relationship between                increases in blood pressure in rats and
                                                 the 2019 ISA conducted at varying                                                                             mice are coherent with epidemiologic
                                                 spatial and temporal scales and                         long-term PM2.5 exposure and
                                                                                                         cardiovascular effects by using methods               studies reporting positive associations
                                                 employing a variety of exposure                                                                               between long-term exposure to PM2.5
                                                 assessment and statistical methods                      that reduce uncertainties related to
                                                                                                         potential confounding through                         and hypertension.
                                                 consistently report positive associations                                                                        Additionally, a number of studies
                                                 between long-term PM2.5 exposure and                    statistical and/or study design
                                                                                                         approaches. For example, to control for               evaluated in the ISA Supplement
                                                 cardiovascular mortality (U.S. EPA,                                                                           focusing on morbidity outcomes,
                                                 2019, Figure 6–19, section 6.2.10).                     potential confounding Wei et al. (2021)
                                                                                                         used a doubly robust additive model                   including those that focused on
                                                 Positive associations between long-term                                                                       incidence of MI, atrial fibrillation (AF),
                                                 PM2.5 exposures and cardiovascular                      (DRAM) and found an association
                                                                                                         between long-term exposure to PM2.5                   stroke, and congestive heart failure
                                                 mortality are generally robust in                                                                             (CHF), expand the evidence pertaining
                                                 copollutant models adjusted for ozone,                  and cardiovascular effects, including
                                                                                                         MI, stoke, and atrial fibrillation, among             to the shape of the C–R relationship
                                                 NO2, PM10–2.5, or SO2. In addition, most                                                                      between long-term PM2.5 exposure and
                                                 of the results from analyses examining                  the Medicare population. For example,
                                                                                                         an accountability study by Henneman et                cardiovascular effects. These studies use
                                                 the shape of the C–R relationship                                                                             statistical techniques that allow for
                                                 between long-term PM2.5 exposures and                   al. (2019) utilized a difference-in-
                                                                                                         difference (DID) approach to determine                departures from linearity (U.S. EPA,
                                                 cardiovascular mortality support a
                                                                                                         the relationship between coal-fueled                  2022a, Table 3–3), and generally
                                                 linear relationship and do not identify
                                                                                                         power plant emissions and                             support the evidence characterized in
                                                 a threshold below which mortality
                                                                                                         cardiovascular effects and found that                 the 2019 ISA showing linear, no-
                                                 effects do not occur (U.S. EPA, 2019a,
                                                                                                         reductions in PM2.5 concentrations                    threshold C–R relationship for most
                                                 section 6.2.16, Table 6–52).
                                                    The body of literature examining the                 resulted in reductions of cardiovascular-             cardiovascular disease (CVD) outcomes.
                                                 relationship between long-term PM2.5                    related hospital admissions.                          However, there is evidence for a
                                                 exposure and cardiovascular morbidity                   Furthermore, several recent                           sublinear or supralinear C–R
                                                 has greatly expanded since the 2009                     epidemiologic studies evaluated in the                relationship for some outcomes (U.S.
                                                 ISA, with positive associations reported                ISA Supplement reported that the                      EPA, 2022a, section 3.1.2.2.9).57
                                                 in several cohorts evaluated in the 2019                association between long-term PM2.5                      Longitudinal epidemiologic analyses
                                                                                                                                                               also report positive associations with
ddrumheller on DSK120RN23PROD with RULES3




                                                 ISA (U.S. EPA, 2019a, section 6.2).                     exposure with stroke persisted after
                                                 Though results for cardiovascular                       adjustment for NO2 but was attenuated                 markers of systemic inflammation (U.S.
                                                 morbidity are less consistent than those                in the model with O3 and oxidant gases                EPA, 2019a, section 6.2.11), coagulation
                                                 for cardiovascular mortality (U.S. EPA,                 represented by the redox weighted                     (U.S. EPA, 2019a, section 6.2.12), and
                                                 2019a, section 6.2), studies in the 2019                average of NO2 and O3 (U.S. EPA, 2022a,                 57 As noted above for mortality, uncertainty in the
                                                 ISA and the ISA Supplement provide                      section 3.1.2.2.8). Overall, these studies            shape of the C–R relationship increases near the
                                                 some evidence for associations between                  report consistent findings that long-term             upper and lower ends of the distribution due to
                                                 long-term PM2.5 exposures and the                       PM2.5 exposure is related to increased                limited data.



                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00029   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024             Page 41 of 217
                                                 16230             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 endothelial dysfunction (U.S. EPA,                      segment depression on an                                regardless of stroke subtype.
                                                 2019a, section 6.2.13). These results are               electrocardiogram) were reported in                     Additionally, as in the 2019 ISA,
                                                 coherent with animal toxicological                      both animal toxicological and                           evidence evaluated in the ISA
                                                 studies generally reporting increased                   epidemiologic panel studies.58 Key                      Supplement continues to indicate an
                                                 markers of systemic inflammation,                       uncertainties from the last review                      immediate effect of PM2.5 on
                                                 oxidative stress, and endothelial                       resulted from inconsistent results across               cardiovascular-related outcomes
                                                 dysfunction (U.S. EPA, 2019a, section                   disciplines with respect to the                         primarily within the first few days after
                                                 6.2.12.2 and 6.2.14).                                   relationship between short-term                         exposure, and that associations
                                                    In summary, the 2019 ISA concludes                   exposure to PM2.5 and changes in blood                  generally persisted in models adjusted
                                                 that there is consistent evidence from                  pressure, blood coagulation markers,                    for copollutants (U.S. EPA, 2022a,
                                                 multiple epidemiologic studies                          and markers of systemic inflammation.                   section 3.1.1.2).
                                                 illustrating that long-term exposure to                 In addition, while the 2009 ISA                            The ISA Supplement includes
                                                 PM2.5 is associated with mortality from                 identified a growing body of evidence                   additional epidemiologic studies,
                                                 cardiovascular causes. Epidemiologic                    from controlled human exposure and                      published since the literature cutoff date
                                                 studies evaluated in the ISA                            animal toxicological studies,                           for the 2019 ISA, including
                                                 Supplement provide additional                           uncertainties remained with respect to                  accountability analyses and
                                                 evidence of positive associations                       biological plausibility.                                epidemiologic studies that employ
                                                 between long-term PM2.5 exposure and                       Studies evaluated in the 2019 ISA                    alternative methods for confounder
                                                 cardiovascular morbidity (U.S. EPA,                     provide additional support for a causal                 control to evaluate the association
                                                 2022a, section 3.1.2.2). Associations                   relationship between short-term PM2.5                   between short-term PM2.5 exposure and
                                                 with coronary heart disease (CHD),                      exposure and cardiovascular effects.                    cardiovascular-related effects (U.S. EPA,
                                                 stroke and atherosclerosis progression                  This includes generally positive                        2022a, section 3.1.1.3). These studies
                                                 were observed in several additional                     associations observed in multicity                      employ a number of statistical
                                                 epidemiologic studies, providing                        epidemiologic studies of emergency                      approaches and report positive
                                                 coherence with the mortality findings.                  department visits and hospital                          associations, providing additional
                                                 Results from copollutant models                         admissions for IHD, heart failure (HF),                 support for a relationship between
                                                 generally support an independent effect                 and combined cardiovascular-related                     short-term PM2.5 exposure and
                                                 of PM2.5 exposure on mortality.                         endpoints. In particular, nationwide                    cardiovascular effects, while also
                                                 Additional evidence of the independent                  studies of older adults (65 years and                   reducing uncertainties related to
                                                 effect of PM2.5 on the cardiovascular                   older) using Medicare records report                    potential confounder bias.
                                                 system is provided by experimental                      positive associations between PM2.5                        A number of controlled human
                                                 studies in animals, which support the                   exposures and hospital admissions for                   exposure, animal toxicological, and
                                                 biological plausibility of pathways by                  HF (U.S. EPA, 2019a, section 6.1.3.1).                  epidemiologic panel studies provide
                                                 which long-term exposure to PM2.5                       Moreover, recent multicity studies,                     evidence that PM2.5 exposure could
                                                 could potentially result in outcomes                    published after the literature cutoff date              plausibly result in IHD or HF through
                                                 such as CHD, stroke, CHF, and                           of the 2019 ISA and evaluated in the                    pathways that include endothelial
                                                 cardiovascular mortality. Overall,                      ISA Supplement, are consistent with                     dysfunction, arterial thrombosis, and
                                                 studies evaluated in the 2019 ISA                       studies evaluated in the 2019 ISA that                  arrhythmia (U.S. EPA, 2019a, section
                                                 support the conclusion of a causal                      report positive association between                     6.1.1). The most consistent evidence
                                                 relationship between long-term PM2.5                    short-term PM2.5 exposure and ED visits                 from recent controlled human exposure
                                                 exposure and cardiovascular effects,                    and hospital admission for IHD, heart                   studies is for endothelial dysfunction, as
                                                 which is supported and extended by                      attacks, and HF (U.S. EPA, 2022a,                       measured by changes in brachial artery
                                                 evidence from recent epidemiologic                      section 3.1). Epidemiologic studies                     diameter or flow mediated dilation.
                                                 studies evaluated in the ISA                            conducted in single cities contribute                   Multiple controlled human exposure
                                                 Supplement (U.S. EPA, 2022a, section                    some support to the causality                           studies that examined the potential for
                                                 3.1.2.2).                                               determination, though associations                      endothelial dysfunction report an effect
                                                                                                         reported in single-city studies are less                of PM2.5 exposure on measures of blood
                                                 Short-Term PM2.5 Exposures                                                                                      flow (U.S. EPA, 2019a, section 6.1.13.2).
                                                                                                         consistently positive than in multicity
                                                   The 2009 ISA concluded that ‘‘a                       studies, and include a number of studies                However, these studies report variable
                                                 causal relationship exists between short-               reporting null associations (U.S. EPA,                  results regarding the timing of the effect
                                                 term exposure to PM2.5 and                              2019a, sections 6.1.2 and 6.1.3). As a                  and the mechanism by which reduced
                                                 cardiovascular effects’’ (U.S. EPA,                     whole, though, the recent body of IHD                   blood flow occurs (i.e., availability vs
                                                 2009a). The strongest evidence in the                   and HF epidemiologic evidence                           sensitivity to nitric oxide). In addition,
                                                 2009 ISA was from epidemiologic                         supports the evidence from previous                     some controlled human exposure
                                                 studies of emergency department (ED)                    ISAs reporting mainly positive                          studies using CAPs report evidence for
                                                 visits and hospital admissions for IHD                  associations between short-term PM2.5                   small increases in blood pressure (U.S.
                                                 and heart failure (HF), with supporting                 concentrations and emergency                            EPA, 2019a, section 6.1.6.3). Although
                                                 evidence from epidemiologic studies of                  department visits and hospital                          not entirely consistent, there is also
                                                 cardiovascular mortality (U.S. EPA,                     admissions.                                             some evidence across controlled human
                                                 2009a). Animal toxicological studies                       Consistent with the evidence assessed                exposure studies for conduction
                                                 provided coherence and biological                       in the 2019 ISA, some studies evaluated                 abnormalities/arrhythmia (U.S. EPA,
                                                 plausibility for the positive associations
ddrumheller on DSK120RN23PROD with RULES3




                                                                                                         in the ISA Supplement report no                         2019a, section 6.1.4.3), changes in heart
                                                 reported with MI, ED visits, and                        evidence of an association with stroke,                 rate variability (HRV) (U.S. EPA, 2019a,
                                                 hospital admissions. These included                                                                             section 6.1.10.2), changes in hemostasis
                                                 studies reporting reduced myocardial                      58 Some animal studies included in the 2009 ISA       that could promote clot formation (U.S.
                                                 blood flow during ischemia and studies                  examined exposures to mixtures, such as motor           EPA, 2019a, section 6.1.12.2), and
                                                                                                         vehicle exhaust or woodsmoke. In these studies, it
                                                 indicating altered vascular reactivity. In              was unclear if the resulting cardiovascular effects
                                                                                                                                                                 increases in inflammatory cells and
                                                 addition, effects of PM2.5 exposure on a                could be attributed specifically to the fine particle   markers (U.S. EPA, 2019a, section
                                                 potential indicator of ischemia (i.e., ST               component of the mixture.                               6.1.11.2). A recent study by Wyatt et al.


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00030   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024             Page 42 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                        16231

                                                 (2020), evaluated in the ISA                            effects, there are inconsistencies in                 exposure and decrements in lung
                                                 Supplement, adds to the limited                         results across some animal                            function growth (as a measure of lung
                                                 evidence base of controlled human                       toxicological, controlled human                       development), indicating a robust and
                                                 exposure studies conducted at near                      exposure, and epidemiologic panel                     consistent association across study
                                                 ambient PM2.5 concentrations. The                       studies, though this may be due to                    locations, exposure assessment
                                                 study, completed in healthy young                       substantial differences in study design               methods, and time periods (U.S. EPA,
                                                 adults subject to intermittent exercise,                and/or study populations. Overall, the                2019a, section 5.2.13). This relationship
                                                 found some significant cardiovascular                   results from epidemiologic panel,                     was further supported by a retrospective
                                                 effects (e.g., systematic inflammation                  controlled human exposure, and animal                 study that reports an association
                                                 markers, including C-reactive protein                   toxicological studies, in particular those            between declining PM2.5 concentrations
                                                 (CRP), and cardiac repolarization).                     related to endothelial dysfunction,                   and improvements in lung function
                                                 Thus, when taken as a whole, controlled                 impaired cardiac function, ST segment                 growth in children (U.S. EPA, 2019a,
                                                 human exposure studies are coherent                     depression, thrombosis, conduction                    section 5.2.11). Epidemiologic studies
                                                 with epidemiologic studies in that they                 abnormalities, and changes in blood                   also examine asthma development in
                                                 demonstrate that short-term exposures                   pressure provide coherence and                        children (U.S. EPA, 2019a, section
                                                 to PM2.5 may result in the types of                     biological plausibility for the consistent            5.2.3), with prospective cohort studies
                                                 cardiovascular endpoints that could                     results from epidemiologic studies                    reporting generally positive
                                                 lead to emergency department visits and                 observing positive associations between               associations, though several are
                                                 hospital admissions for IHD or HF, as                   short-term PM2.5 exposures and IHD and                imprecise (i.e., they report wide
                                                 well as mortality in some people.                       HF, and ultimately cardiovascular                     confidence intervals). Supporting
                                                    Animal toxicological studies                         mortality. Overall, studies evaluated in              evidence is provided by studies
                                                 published since the 2009 ISA and                        the 2019 ISA support the conclusion of                reporting associations with asthma
                                                 evaluated in the 2019 ISA also support                  a causal relationship between short-term              prevalence in children, with childhood
                                                 a relationship between short-term PM2.5                 PM2.5 exposure and cardiovascular                     wheeze, and with exhaled nitric oxide,
                                                 exposure and cardiovascular effects. A                  effects, which is supported and                       a marker of pulmonary inflammation
                                                 study demonstrating decreased cardiac                   extended by evidence from recent                      (U.S. EPA, 2019a, section 5.2.13).
                                                 contractility and left ventricular                      epidemiologic studies evaluated in the                Additionally, the 2019 ISA includes an
                                                 pressure in mice is coherent with the                   ISA Supplement (U.S. EPA, 2022a,                      animal toxicological study showing the
                                                 results of epidemiologic studies that                   section 3.1.1.4).                                     development of an allergic phenotype
                                                 report associations between short-term                                                                        and an increase in a marker of airway
                                                 PM2.5 exposure and heart failure (U.S.                  iii. Respiratory Effects
                                                                                                                                                               responsiveness supports the biological
                                                 EPA, 2019a, section 6.1.3.3). In                        Long-Term PM2.5 Exposures                             plausibility of the development of
                                                 addition, and as with controlled human                                                                        allergic asthma (U.S. EPA, 2019a,
                                                 exposure studies, there is generally                       The 2009 ISA concluded that ‘‘a
                                                                                                         causal relationship is likely to exist                section 5.2.13). Other epidemiologic
                                                 consistent evidence in animal                                                                                 studies report a PM2.5-related
                                                 toxicological studies for indicators of                 between long-term PM2.5 exposure and
                                                                                                         respiratory effects’’ (U.S. EPA, 2009a).              acceleration of lung function decline in
                                                 endothelial dysfunction (U.S. EPA,                                                                            adults, while improvement in lung
                                                 2019a, section 6.1.13.3). Some studies in               This conclusion was based mainly on
                                                                                                         epidemiologic evidence demonstrating                  function was observed with declining
                                                 animals also provide evidence for                                                                             PM2.5 concentrations (U.S. EPA, 2019a,
                                                 changes in a number of other                            associations between long-term PM2.5
                                                                                                         exposure and changes in lung function                 section 5.2.11). A longitudinal study
                                                 cardiovascular endpoints following
                                                                                                         or lung function growth in children.                  found declining PM2.5 concentrations
                                                 short-term PM2.5 exposure including
                                                                                                         Biological plausibility was provided by               are also associated with an
                                                 conduction abnormalities and
                                                                                                         a single animal toxicological study                   improvement in chronic bronchitis
                                                 arrhythmia (U.S. EPA, 2019a, section
                                                                                                         examining pre- and post-natal exposure                symptoms in children, strengthening
                                                 6.1.4.4), changes in HRV (U.S. EPA,
                                                                                                         to PM2.5 CAPs, which found impaired                   evidence reported in the 2009 ISA for a
                                                 2019a, section 6.1.10.3), changes in
                                                                                                         lung development. Epidemiologic                       relationship between increased chronic
                                                 blood pressure (U.S. EPA, 2019a,
                                                                                                         evidence for associations between long-               bronchitis symptoms and long-term
                                                 section 6.1.6.4), and evidence for
                                                                                                         term PM2.5 exposure and other                         PM2.5 exposure (U.S. EPA, 2019a,
                                                 systemic inflammation and oxidative
                                                 stress (U.S. EPA, 2019a, section                        respiratory outcomes, such as the                     section 5.2.11). A common uncertainty
                                                 6.1.11.3).                                              development of asthma, allergic disease,              across the epidemiologic evidence is the
                                                    In summary, evidence evaluated in                    and COPD; respiratory infection; and                  lack of examination of copollutants to
                                                 the 2019 ISA extends the consistency                    the severity of disease was limited, both             assess the potential for confounding.
                                                 and coherence of the evidence base                      in the number of studies available and                While there is some evidence that
                                                 evaluated in the 2009 ISA and prior                     the consistency of the results.                       associations remain robust in models
                                                 assessments. Epidemiologic studies                      Experimental evidence for other                       with gaseous pollutants, a number of
                                                 reporting robust associations in                        outcomes was also limited, with one                   these studies examining copollutant
                                                 copollutant models are supported by                     animal toxicological study reporting                  confounding were conducted in Asia,
                                                 direct evidence from controlled human                   that long-term exposure to PM2.5 CAPs                 and thus have limited generalizability
                                                 exposure and animal toxicologic studies                 results in morphological changes in                   due to high annual pollutant
                                                 reporting independent effects of PM2.5                  nasal airways of healthy animals. Other               concentrations.
                                                                                                                                                                  When taken together, the 2019 ISA
ddrumheller on DSK120RN23PROD with RULES3




                                                 exposures on endothelial dysfunction as                 animal studies examined exposure to
                                                 well as endpoints indicating impaired                   mixtures, such as motor vehicle exhaust               concludes that the epidemiologic
                                                 cardiac function, increased risk of                     and woodsmoke, and effects were not                   evidence strongly supports a
                                                 arrhythmia, changes in HRV, increases                   attributed specifically to the particulate            relationship with decrements in lung
                                                 in BP, and increases in indicators of                   components of the mixture.                            function growth asthma development in
                                                 systemic inflammation, oxidative stress,                   Cohort studies evaluated in the 2019               children, as well as increased bronchitis
                                                 and coagulation (U.S. EPA, 2019,                        ISA provided additional support for the               symptoms in children with asthma.
                                                 section 6.1.16). For some cardiovascular                relationship between long-term PM2.5                  Additionally, the epidemiologic


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00031   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024             Page 43 of 217
                                                 16232             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 evidence strongly supports a                            exacerbation, COPD exacerbation, or                   2019a, sections 5.1.2.4.4 and 5.1.4.4.3).
                                                 relationship with an acceleration of lung               respiratory infection. In the few                     The experimental evidence provides
                                                 function decline in adults, and with                    controlled human exposure studies                     biological plausibility for some
                                                 respiratory mortality and cause-specific                conducted in individuals with asthma                  respiratory-related endpoints, including
                                                 respiratory mortality for COPD and                      or COPD, PM2.5 exposure mostly had no                 limited evidence of altered host defense
                                                 respiratory infection (U.S. EPA, 2019a,                 effect on respiratory symptoms, lung                  and greater susceptibility to bacterial
                                                 p. 1–34). In support of the biological                  function, or pulmonary inflammation.                  infection as well as consistent evidence
                                                 plausibility of associations reported in                Available studies in healthy people also              of respiratory irritant effects. However,
                                                 epidemiologic studies associated with                   did not clearly demonstrate respiratory               animal toxicological evidence for other
                                                 respiratory health effects, animal                      effects following short-term PM2.5                    respiratory effects is inconsistent. A
                                                 toxicological studies evaluated in the                  exposures.                                            recent study evaluated in the ISA
                                                 2019 ISA continue to provide direct                        Epidemiologic studies evaluated in                 supplement by Wyatt et al. (2020) and
                                                 evidence that long-term exposure to                     the 2019 ISA continue to provide strong               conducted at near ambient PM2.5
                                                 PM2.5 results in a variety of respiratory               evidence for a relationship between                   concentrations, adds to the limited
                                                 effects, including pulmonary oxidative                  short-term PM2.5 exposure and several                 evidence base of controlled human
                                                 stress, inflammation, and morphologic                   respiratory-related endpoints, including              exposure studies. The study, completed
                                                 changes in the upper (nasal) and lower                  asthma exacerbation (U.S. EPA, 2019a,                 in healthy young adults subject to
                                                 airways. Other results show that                        section 5.1.2.1), COPD exacerbation                   intermittent exercise, found some
                                                 changes are consistent with the                         (U.S. EPA, 2019a, section 5.1.4.1), and               significant respiratory effects (including
                                                 development of allergy and asthma, and                  combined respiratory-related diseases                 decrease in lung function), however
                                                 with impaired lung development.                         (U.S. EPA, 2019a, section 5.1.6),                     these findings were inconsistent with
                                                 Overall, the 2019 ISA concludes that                    particularly from studies examining ED                the controlled human exposure studies
                                                 ‘‘the collective evidence is sufficient to              visits and hospital admissions. The                   evaluated in the 2019 ISA (U.S. EPA,
                                                 conclude that a causal relationship is                  generally positive associations between               2019a, section 5.1.7.2, 5.1.2.3, and
                                                 likely to exist between long-term PM2.5                 short-term PM2.5 exposure and asthma                  6.1.11.2.1).
                                                 exposure and respiratory effects’’ (U.S.                and COPD as well as ED visits and                        The 2019 ISA concludes that ‘‘[t]he
                                                 EPA, 2019a, section 5.2.13).                            hospital admissions are supported by                  strongest evidence of an effect of short-
                                                                                                         epidemiologic studies demonstrating                   term PM2.5 exposure on respiratory
                                                 Short-Term PM2.5 Exposures                              associations with other respiratory-                  effects is provided by epidemiologic
                                                    The 2009 ISA (U.S. EPA, 2009a)                       related effects such as symptoms and                  studies of asthma and COPD
                                                 concluded that a ‘‘causal relationship is               medication use that are indicative of                 exacerbation. While animal
                                                 likely to exist’’ between short-term                    asthma and COPD exacerbations (U.S.                   toxicological studies provide biological
                                                 PM2.5 exposure and respiratory effects.                 EPA, 2019a, sections 5.1.2.2 and                      plausibility for these findings, some
                                                 This conclusion was based mainly on                     5.4.1.2). The collective body of                      uncertainty remains with respect to the
                                                 the epidemiologic evidence                              epidemiologic evidence for asthma                     independence of PM2.5 effects’’ (U.S.
                                                 demonstrating positive associations                     exacerbation is more consistent in                    EPA, 2019a, p. 5–155). When taken
                                                 with various respiratory effects.                       children than in adults. Additionally,                together, the 2019 ISA concludes that
                                                 Specifically, the 2009 ISA described                    epidemiologic studies examining the                   this evidence ‘‘is sufficient to conclude
                                                 epidemiologic evidence as consistently                  relationship between short-term PM2.5                 that a causal relationship is likely to
                                                 showing PM2.5-associated increases in                   exposure and respiratory mortality                    exist between short-term PM2.5 exposure
                                                 hospital admissions and ED visits for                   provide evidence of consistent positive               and respiratory effects’’ (U.S. EPA,
                                                 COPD and respiratory infection among                    associations, demonstrating a                         2019a, p. 5–155).
                                                 adults or people of all ages, as well as                continuum of effects (U.S. EPA, 2019a,
                                                 increases in respiratory mortality. These                                                                     iv. Cancer
                                                                                                         section 5.1.9).
                                                 results were supported by studies                          Epidemiologic studies evaluated in                    The 2009 ISA concluded that the
                                                 reporting associations with increased                   the 2019 ISA expand the assessment of                 overall body of evidence was
                                                 respiratory symptoms and decreases in                   potential copollutant confounding                     ‘‘suggestive of a causal relationship
                                                 lung function in children with asthma,                  evaluated in the 2009 ISA. There is                   between relevant PM2.5 exposures and
                                                 though the epidemiologic evidence was                   some evidence that PM2.5 associations                 cancer’’ (U.S. EPA, 2009a). This
                                                 inconsistent for hospital admissions or                 with asthma exacerbation, combined                    conclusion was based primarily on
                                                 emergency department visits for asthma.                 respiratory-related diseases, and                     positive associations observed in a
                                                 Studies examining copollutant models                    respiratory mortality remain relatively               limited number of epidemiologic
                                                 showed that PM2.5 associations with                     unchanged in copollutant models with                  studies of lung cancer mortality. The
                                                 respiratory effects were robust to                      gaseous pollutants including O3, NO2,                 few epidemiologic studies that had
                                                 inclusion of CO or SO2 in the model, but                SO2, and with more limited evidence for               evaluated PM2.5 exposure and lung
                                                 often were attenuated (though still                     CO, as well as other particle sizes (i.e.,            cancer incidence or cancers of other
                                                 positive) with inclusion of O3 or NO2. In               PM10–2.5) (U.S. EPA, 2019a, section                   organs and systems generally did not
                                                 addition to the copollutant models,                     5.1.10.1).                                            show evidence of an association.
                                                 evidence supporting an independent                        Insight into whether there is an                    Toxicological studies did not focus on
                                                 effect of PM2.5 exposure on the                         independent effect of PM2.5 on                        exposures to specific PM size fractions,
                                                 respiratory system was provided by                      respiratory health is also partially                  but rather investigated the effects of
ddrumheller on DSK120RN23PROD with RULES3




                                                 animal toxicological studies of PM2.5                   addressed by findings from animal                     exposures to total ambient PM, or other
                                                 CAPs demonstrating changes in some                      toxicological studies evaluated in the                source-based PM such as wood smoke.
                                                 pulmonary function parameters, as well                  2019 ISA. Specifically, short-term                    Collectively, results of in vitro studies
                                                 as inflammation, oxidative stress,                      exposure to PM2.5 enhanced asthma-                    were consistent with the larger body of
                                                 injury, enhanced allergic responses, and                related responses in an animal model of               evidence demonstrating that ambient
                                                 reduced host defenses. Many of these                    allergic airways disease and enhanced                 PM and PM from specific combustion
                                                 effects have been implicated in the                     lung injury and inflammation in an                    sources are mutagenic and genotoxic.
                                                 pathophysiology for asthma                              animal model of COPD (U.S. EPA,                       However, animal inhalation studies


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00032   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024             Page 44 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                          16233

                                                 found little evidence of tumor formation                number of such studies have generally                 cancer mortality and incidence, together
                                                 in response to chronic exposures. A                     focused on O3 and report that PM2.5                   with evidence supporting the biological
                                                 small number of studies provided                        associations remain relatively                        plausibility of such associations,
                                                 preliminary evidence that PM exposure                   unchanged in copollutant models (U.S.                 contributes to the 2019 ISA’s conclusion
                                                 can lead to changes in methylation of                   EPA, 2019a, section 10.2.5.1.3).                      that the evidence ‘‘is sufficient to
                                                 DNA, which may contribute to                            However, available studies have not                   conclude that a causal relationship is
                                                 biological events related to cancer.                    systematically evaluated the potential                likely to exist between long-term PM2.5
                                                    Since the completion of the 2009 ISA,                for copollutant confounding by other                  exposure and cancer’’ (U.S. EPA, 2019,
                                                 additional cohort studies provide                       gaseous pollutants or by other particle               section 10.2.7).
                                                 evidence that long-term PM2.5 exposure                  size fractions (U.S. EPA, 2019a, section
                                                 is positively associated with lung cancer                                                                     v. Nervous System Effects
                                                                                                         10.2.5.1.3).
                                                 mortality and with lung cancer                             Compared to total (non-accidental)                    Reflecting the very limited evidence
                                                 incidence, and provide initial evidence                 mortality (U.S. EPA, 2019a, section                   available in the 2012 review, the 2009
                                                 for an association with reduced cancer                  10.2.4.1.4), fewer studies have examined              ISA did not make a causality
                                                 survival (U.S. EPA, 2019a, section                      the shape of the C–R curve for cause-                 determination for long-term PM2.5
                                                 10.2.5). Re-analyses of the ACS cohort                  specific mortality outcomes, including                exposures and nervous system effects
                                                 using different years of PM2.5 data and                 lung cancer. Several studies of lung                  (U.S. EPA, 2009c). Since the 2012
                                                 follow up, along with various exposure                  cancer mortality and incidence have                   review, this body of evidence has grown
                                                 assignment approaches, provide                          reported no evidence of deviations from               substantially (U.S. EPA, 2019, section
                                                 consistent evidence of positive                         linearity in the shape of the C–R                     8.2). Animal toxicological studies
                                                 associations between long-term PM2.5                    relationship (Lepeule et al., 2012;                   assessed in in the 2019 ISA report that
                                                 exposure and lung cancer mortality                      Raaschou-Nielsen et al., 2013; Puett et               long-term PM2.5 exposures can lead to
                                                 (U.S. EPA, 2019a, Figure 10–3).                         al., 2014), though authors provided only              morphologic changes in the
                                                 Additional support for positive                         limited discussions of results (U.S. EPA,             hippocampus and to impaired learning
                                                 associations with lung cancer mortality                 2019a, section 10.2.5.1.4).                           and memory. This evidence is
                                                 is provided by recent epidemiologic                        In support of the biological                       consistent with epidemiologic studies
                                                 studies using individual level data to                  plausibility of an independent effect of              reporting that long-term PM2.5 exposure
                                                 control for smoking status, as well as by               PM2.5 on lung cancer, the 2019 ISA                    is associated with reduced cognitive
                                                 studies of people who have never                        notes evidence from experimental and                  function (U.S. EPA, 2019a, section
                                                 smoked (though such studies generally                   epidemiologic studies demonstrating                   8.2.5). Further, while the evidence is
                                                 report wide confidence intervals due to                 that PM2.5 exposure can lead to a range               limited, the presence of early markers of
                                                 the small number of lung cancer                         of effects indicative of mutagenicity,                Alzheimer’s disease pathology has been
                                                 mortality cases within this population),                genotoxicity, and carcinogenicity, as                 demonstrated in rodents following long-
                                                 and in additional analyses of cohorts                   well as epigenetic effects (U.S. EPA,                 term exposure to PM2.5 CAPs. These
                                                 that relied upon proxy measures to                      2019a, section 10.2.7). For example,                  findings support reported associations
                                                 account for smoking status (U.S. EPA,                   both in vitro and in vivo toxicological               with neurodegenerative changes in the
                                                 2019a, section 10.2.5.1.1). Although                    studies have shown that PM2.5 exposure                brain (i.e., decreased brain volume), all-
                                                 studies that evaluate lung cancer                       can result in DNA damage (U.S. EPA,                   cause dementia, or hospitalization for
                                                 incidence, including studies of people                  2019a, section 10.2.2). Although such                 Alzheimer’s disease in a small number
                                                 who have never smoked, are limited in                   effects do not necessarily equate to                  of epidemiologic studies (U.S. EPA,
                                                 number, studies in the 2019 ISA                         carcinogenicity, the evidence that PM                 2019a, section 8.2.6). Additionally, loss
                                                 generally report positive associations                  exposure can damage DNA, and elicit                   of dopaminergic neurons in the
                                                 with long-term PM2.5 exposures (U.S.                    mutations, provides support for the                   substantia nigra, a hallmark of
                                                 EPA, 2019a, section 10.2.5.1.2). A subset               plausibility of epidemiologic                         Parkinson disease, has been reported in
                                                 of the studies focusing on lung cancer                  associations exhibited with lung cancer               mice (U.S. EPA, 2019a, section 8.2.4),
                                                 incidence also examined histological                    mortality and incidence. Additional                   though epidemiologic studies provide
                                                 subtype, providing some evidence of                     supporting studies indicate the                       only limited support for associations
                                                 positive associations for                               occurrence of micronuclei formation                   with Parkinson’s disease (U.S. EPA,
                                                 adenocarcinomas, the predominate                        and chromosomal abnormalities (U.S.                   2019a, section 8.2.6). Overall, the lack of
                                                 subtype of lung cancer observed in                      EPA, 2019a, section 10.2.2.3), and                    consideration of copollutant
                                                 people who have never smoked (U.S.                      differential expression of genes that may             confounding introduces some
                                                 EPA, 2019a, section 10.2.5.1.2).                        be relevant to cancer pathogenesis,                   uncertainty in the interpretation of
                                                 Associations between long-term PM2.5                    following PM2.5 exposures.                            epidemiologic studies of nervous system
                                                 exposure and lung cancer incidence                      Experimental and epidemiologic studies                effects, but this uncertainty is partly
                                                 were found to remain relatively                         that examine epigenetic effects indicate              addressed by the evidence for an
                                                 unchanged, though in some cases                         changes in DNA methylation, providing                 independent effect of PM2.5 exposures
                                                 confidence intervals widened, in                        some support that PM2.5 exposure                      provided by experimental animal
                                                 analyses that attempted to reduce                       contributes to genomic instability (U.S.              studies.
                                                 exposure measurement error by                           EPA, 2019a, section 10.2.3). Overall,                    While the findings described above
                                                 accounting for length of time at                        there is limited evidence that long-term              are most relevant to older adults, several
                                                 residential address or by examining                     PM2.5 exposure is associated with                     studies of neurodevelopmental effects in
                                                                                                                                                               children have also been conducted.
ddrumheller on DSK120RN23PROD with RULES3




                                                 different exposure assignment                           cancers in other organ systems, though
                                                 approaches (U.S. EPA, 2019a, section                    there is some evidence that PM2.5                     Epidemiologic studies provided limited
                                                 10.2.5.1.2).                                            exposure may reduce survival in                       evidence of an association between
                                                    To date, relatively few studies have                 individuals with cancer (U.S. EPA,                    PM2.5 exposure during pregnancy and
                                                 evaluated the potential for copollutant                 2019a, section 10.2.7; U.S. EPA, 2022a,               childhood on cognitive and motor
                                                 confounding of the relationship between                 section 2.1.1.4.1).                                   development (U.S. EPA, 2019, section
                                                 long-term PM2.5 exposure and lung                          Epidemiologic evidence for                         8.2.5.2). While some studies report
                                                 cancer mortality or incidence. A small                  associations between PM2.5 and lung                   positive associations between long-term


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00033   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024                  Page 45 of 217
                                                 16234             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 exposure to PM2.5 during the prenatal                   term PM2.5 exposure and nervous                         studies examined whether daily changes
                                                 period and autism spectrum disorder                     system effects in the 2019 ISA reflects                 in PM2.5 can influence SARS–CoV–2
                                                 (ASD) (U.S. EPA, 2019, section 8.2.7.2),                a revision to the causality determination               infection and COVID–19 death (U.S.
                                                 the interpretation of these                             in the 2009 ISA from ‘‘inadequate to                    EPA, 2022a, section 3.3.2.1).
                                                 epidemiologic studies is limited due to                 infer a causal relationship,’’ while this               Additionally, several studies evaluated
                                                 the small number of studies, their lack                 is the first-time assessments of causality              whether long-term PM2.5 exposure
                                                 of control for potential confounding by                 were conducted for long-term PM2.5                      increases the risk of SARS–CoV–2
                                                 copollutants, and uncertainty related to                exposure and nervous system effects, as                 infection and COVID–19 death in North
                                                 the critical exposure windows.                          well as short- and long-term PM2.5                      America (U.S. EPA, 2022a, section
                                                 Biological plausibility is provided for                 exposure and metabolic effects reflect.                 3.3.2.2). While there is initial evidence
                                                 the ASD findings by a study in mice that                   Recent studies evaluated in the 2019                 of positive associations with SARS–
                                                 found inflammatory and morphologic                      ISA also further explored the                           CoV–2 infection and COVID–19 death,
                                                 changes in the corpus collosum and                      relationship between short-and long-                    uncertainties remain due to
                                                 hippocampus, as well as                                 term UFP exposure and health effects.                   methodological issues that may
                                                 ventriculomegaly (i.e., enlarged lateral                (i.e., cardiovascular effects and short-                influence the results, including: (1) The
                                                 ventricles) in young mice following                     term UFP exposures; respiratory effects                 use of ecological study design; (2)
                                                 prenatal exposure to PM2.5 CAPs.                        and short-term UFP exposures; and                       studies were conducted during the
                                                    Taken together, the 2019 ISA                         nervous system effects and long- and                    ongoing pandemic when the etiology of
                                                 concludes that studies indicate long-                   short-term exposures (U.S. EPA, 2022a,                  COVID–19 was still not well understood
                                                 term PM2.5 exposures can lead to effects                Table ES–1). The currently available                    (e.g., specifically, there are important
                                                 on the brain associated with                            evidence is ‘‘suggestive of, but not                    differences in COVID–19-related
                                                 neurodegeneration (i.e.,                                sufficient to infer, a causal relationship’’            outcomes by a variety of factors such as
                                                 neuroinflammation and reductions in                     for short-term UFP exposure and                         race and SES); and (3) studies did not
                                                 brain volume), as well as cognitive                     cardiovascular and respiratory effects                  account for crucial factors that could
                                                 effects in older adults (U.S. EPA, 2019a,               and for short- and long-term UFP                        influence results (e.g., stay-at-home
                                                 Table 1–2). Animal toxicological studies                exposure and nervous system effects,                    orders, social distancing, use of masks,
                                                 provide evidence for a range of nervous                 primarily due to uncertainties and                      and testing capacity) (U.S. EPA, 2022a,
                                                 system effects in adult animals,                        limitations in the evidence, specifically,              chapter 5). Taken together, while there
                                                 including neuroinflammation and                         variability across studies in the                       is initial evidence of positive
                                                 oxidative stress, neurodegeneration,                    definition of UFPs and the exposure                     associations with SARS–CoV–2
                                                 cognitive effects, and effects on                       metric used (U.S. EPA, 2019a, P.3.1;                    infection and COVID–19 death,
                                                 neurodevelopment in young animals.                      U.S. EPA, 2022a, section 3.3.1.6.3). The                uncertainties remain due to
                                                 The epidemiologic evidence is more                      causality determinations for the other                  methodological issues.
                                                 limited, but studies generally support                  health effect categories evaluated in the
                                                 associations between long-term PM2.5                    2019 ISA are ‘‘inadequate to infer a                    b. Public Health Implications and At-
                                                 exposure and changes in brain                           causal relationship.’’ Additionally, this               Risk Populations
                                                 morphology, cognitive decrements and                    is the first time assessments of causality                 The public health implications of the
                                                 dementia. There is also initial, and                    were conducted for short- and long-term                 evidence regarding PM2.5-related health
                                                 limited, evidence for                                   UFP exposure and metabolic effects and                  effects, as for other effects, are
                                                 neurodevelopmental effects, particularly                long-term UFP exposure and nervous                      dependent on the type and severity of
                                                 ASD. The consistency and coherence of                   system effects (U.S. EPA, 2022a, Table                  the effects, as well as the size of the
                                                 the evidence supports the 2019 ISA’s                    ES–1).                                                  population affected. Such factors are
                                                 conclusion that ‘‘the collective evidence                  With the advent of the global COVID–                 discussed below in the context of our
                                                 is sufficient to conclude that a causal                 19 pandemic, a number of recent studies                 consideration of the health effects
                                                 relationship is likely to exist between                 evaluated in the ISA Supplement                         evidence related to PM2.5 in ambient air.
                                                 long-term PM2.5 exposure and nervous                    examined the relationship between                       This section also summarizes the
                                                 system effects’’ (U.S. EPA, 2019a,                      ambient air pollution, specifically PM2.5,              current information on population
                                                 section 8.2.9).                                         and SARS–CoV–2 infections and                           groups at increased risk of the effects of
                                                                                                         COVID–19 deaths, including a few                        PM2.5 in ambient air.
                                                 vi. Other Effects                                       studies within the U.S. and Canada                         The information available in this
                                                    For other health effect categories that              (U.S. EPA, 2022a, section 3.3.2).59 Some                reconsideration has not altered our
                                                 were evaluated for their relationship                                                                           understanding of human populations at
                                                 with PM2.5 exposures (i.e., short-term                     59 While there is no exact corollary within the      risk of health effects from PM2.5
                                                 PM2.5 exposure and nervous system                       2019 ISA for these types of studies, the 2019 ISA       exposures. As recognized in the 2020
                                                 effects and short- and long-term PM2.5                  presented evidence that evaluates the potential         review, the 2019 ISA cites extensive
                                                                                                         relationship between short- and long-term PM2.5
                                                 exposure and metabolic effects,                         exposure and respiratory infection (U.S. EPA,           evidence indicating that ‘‘both the
                                                 reproduction and fertility, and                         2022a, section 5.1.5 and 5.2.6). Studies assessed in    general population as well as specific
                                                 pregnancy and birth outcomes (U.S.                      the 2019 ISA report some evidence of positive           populations and lifestages are at risk for
                                                                                                         associations between short-term PM2.5 and hospital      PM2.5-related health effects’’ (U.S. EPA,
                                                 EPA, 2022a, Table ES–1), the currently                  admissions and ED visits for respiratory infections,
                                                 available evidence is ‘‘suggestive of, but              however the interpretation of these studies is          2019a, p. 12–1). Factors that may
                                                 not sufficient to infer, a causal                       complicated by the variability in the type of           contribute to increased risk of PM2.5-
                                                 relationship,’’ mainly due to                           respiratory infection outcome examined (U.S. EPA,       related health effects include lifestage
ddrumheller on DSK120RN23PROD with RULES3




                                                                                                         2022a, Figure 5–7). In the 2019 ISA, studies of long-   (children and older adults), pre-existing
                                                 inconsistent evidence across specific                   term PM2.5 exposure were limited and while there
                                                 outcomes and uncertainties regarding                    were some positive associations reported, there was     diseases (cardiovascular disease and
                                                 exposure measurement error, the                         minimal overlap in respiratory infection outcomes
                                                 potential for confounding, and potential                examined across studies. Exposure to PM2.5 has          sections 5.1.1 and 5.1.5.) There is some additional
                                                                                                         been shown to impair host defense, specifically         evidence that PM2.5 exposure can lead to decreases
                                                 modes of action (U.S. EPA, 2019a,                       altering macrophage function, providing a               in an individual’s immune response, which can
                                                 sections 7.14, 7.2.10, 8.1.6, and 9.1.5).               biological pathway by which PM2.5 exposure could        subsequently facilitate replication of respiratory
                                                 The causality determination for short-                  lead to respiratory infection (U.S. EPA, 2022a,         viruses (Bourdrel et al., 2021).



                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00034   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM    06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024             Page 46 of 217
                                                                    Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                          16235

                                                 respiratory disease), race/ethnicity, and                individuals, and can provide coherence               evidence base for the likely to be causal
                                                 SES.60                                                   and biological plausibility for the                  relationship between short-term
                                                    Children make up a substantial                        occurrence among this lifestage (U.S.                exposures to PM2.5 and respiratory
                                                 fraction of the U.S. population, and                     EPA, 2019a, section 12.5.1.2).                       health effects (U.S. EPA, 2019a, section
                                                 often have unique factors that contribute                   Individuals with pre-existing disease             12.3.5). For asthma, epidemiologic
                                                 to their increased risk of experiencing a                may be considered at greater risk of an              evidence demonstrates associations
                                                 health effect due to exposures to                        air pollution-related health effect than             between short-term PM2.5 exposures and
                                                 ambient air pollutants because of their                  those without disease because they are               respiratory effects, particularly evidence
                                                 continuous growth and development.61                     likely in a compromised biological state             for asthma exacerbation, and controlled
                                                 Children may be particularly at risk for                 that can vary depending on the disease               human exposure and animal
                                                 health effects related to ambient PM2.5                  and severity. With regard to                         toxicological studies demonstrate
                                                 exposures compared with adults                           cardiovascular disease, we first note that           support for the biological plausibility
                                                 because they have (1) a developing                       cardiovascular disease is the leading                for asthma exacerbation with PM2.5
                                                 respiratory system, (2) increased                        cause of death in the U.S., accounting               exposures (U.S. EPA, 2019a, section
                                                 ventilation rates relative to body mass                  for one in four deaths, and                          12.3.5.1). For COPD, epidemiologic
                                                 compared with adults, and (3) an                         approximately 12% of the adult                       studies report positive associations
                                                 increased proportion of oral breathing,                  population in the U.S. has a                         between short-term PM2.5 exposures and
                                                 particularly in boys, relative to adults                 cardiovascular disease (U.S. EPA,                    hospital admissions and emergency
                                                 (U.S. EPA, 2019a, section 12.5.1.1).                     2019a, section 12.3.1). Strong evidence              department visits for COPD, with
                                                 There is strong evidence that                            demonstrates that there is a causal                  supporting evidence from panel studies
                                                 demonstrates PM2.5 associated health                     relationship between cardiovascular                  demonstration COPD exacerbation.
                                                 effects in children, particularly from                   effects and long- and short-term                     Epidemiologic evidence is supported by
                                                 epidemiologic studies of long-term                       exposures to PM2.5. Some of the                      some experimental evidence of COPD-
                                                 PM2.5 exposure and impaired lung                         evidence supporting this conclusion is               related effects, which provides support
                                                 function growth, decrements in lung                      from studies of panels or cohorts with               for the biological plausibility for COPD
                                                 function, and asthma development.                        pre-existing cardiovascular disease,                 in response to PM2.5 exposures (U.S.
                                                 However, there is limited evidence from                  which provide supporting evidence but                EPA, 2019a, section 12.3.5.2).
                                                 stratified analyses that children are at                 do not directly demonstrate an                          There is strong evidence for racial and
                                                 increased risk of PM2.5-related health                   increased risk (U.S. EPA, 2019a, section             ethnic disparities in PM2.5 exposures
                                                 effects compared to adults.                              12.3.1). Epidemiologic evidence                      and PM2.5-related health risk, as
                                                 Additionally, there is some evidence                     indicates that individuals with pre-                 assessed in the 2019 ISA and with even
                                                 that indicates that children receive                     existing cardiovascular disease may be               more evidence available since the
                                                 higher PM2.5 exposures than adults, and                  at increased risk for PM2.5-associated               literature cutoff date for the 2019 ISA
                                                 dosimetric differences in children                       health effects compared to those                     and evaluated in the ISA Supplement.
                                                 compared to adults can contribute to                     without pre-existing cardiovascular                  There is strong evidence demonstrating
                                                 higher doses (U.S. EPA, 2019a, section                   disease. While the evidence does not                 that Black and Hispanic populations, in
                                                 12.5.1.1).                                               consistently support increased risk for              particular, have higher PM2.5 exposures
                                                    In the U.S., older adults, often defined              all pre-existing cardiovascular diseases,            than non-Hispanic White populations
                                                 as adults 65 years of age and older,                     there is evidence that certain pre-                  (U.S. EPA, 2019a, Figure 12–2; U.S.
                                                 represent an increasing portion of the                   existing cardiovascular diseases (e.g.,              EPA, 2022a, Figure 3–38). Black
                                                 population and often have pre-existing                   hypertension) may be a factor that                   populations or individuals that live in
                                                 diseases or conditions that may                          increases PM2.5-related risk.                        predominantly Black neighborhoods
                                                 compromise biological function. While                    Furthermore, there is strong evidence                experience higher PM2.5 exposures, in
                                                 there is limited evidence to indicate that               supporting a causal relationship for                 comparison to non-Hispanic White
                                                 older adults have higher exposures than                  long- and short-term PM2.5 exposure and              populations. There is also consistent
                                                 younger adults, older adults may receive                 cardiovascular effects, particularly for             evidence across multiple studies that
                                                 higher doses of PM2.5 due to dosimetric                  IHD (U.S. EPA, 2019a, chapter 6, section             demonstrate increased risk of PM2.5-
                                                 differences. There is consistent evidence                12.3.1).                                             related health effects, with the strongest
                                                 from studies of older adults                                With regard to respiratory disease, we            evidence for health risk disparities for
                                                 demonstrating generally consistent                       first note that the most chronic                     mortality (U.S. EPA, 2019a, section
                                                 positive associations in studies                         respiratory diseases in the U.S. are                 12.5.4). There is also evidence of health
                                                 examining health effects from short- and                 asthma and COPD. Asthma affects a                    risk disparities for both Hispanic and
                                                 long-term PM2.5 exposure and                             substantial fraction of the U.S.                     non-Hispanic Black populations
                                                 cardiovascular or respiratory hospital                   population and is the leading chronic                compared to non-Hispanic White
                                                 admissions, emergency department                         disease among children. COPD                         populations for cause-specific mortality
                                                 visits, or mortality (U.S. EPA, 2019a,                   primarily affects older adults and                   and incident hypertension (U.S. EPA,
                                                 sections 6.1, 6.2, 11.1, 11.2, 12.5.1.2).                contributes to compromised respiratory               2022a, section 3.3.3.2).
                                                 Additionally, several animal                             function and underlying pulmonary                       Socioeconomic status (SES) is a
                                                 toxicological, controlled human                          inflammation. The body of evidence                   composite measure that includes
                                                 exposure, and epidemiologic studies did                  indicates that individuals with pre-                 metrics such as income, occupation, or
                                                 not stratify results by lifestage, but                   existing respiratory diseases,                       education, and can play a role in access
ddrumheller on DSK120RN23PROD with RULES3




                                                 instead focused the analyses on older                    particularly asthma and COPD, may be                 to healthy environments as well as
                                                                                                          at increased risk for PM2.5-related health           access to healthcare. SES may be a
                                                   60 As described in the 2019 ISA, other factors that    effects compared to those without pre-               factor that contributes to differential risk
                                                 have the potential to contribute to increased risk       existing respiratory diseases (U.S. EPA,             from PM2.5-related health effects.
                                                 include obesity, diabetes, genetic factors, smoking      2019a, section 12.3.5). There is strong              Studies assessed in the 2019 ISA and
                                                 status, sex, diet, and residential location (U.S. EPA,
                                                 2019, chapter 12).                                       evidence indicating PM2.5-associated                 ISA Supplement provide evidence that
                                                   61 Children, as used throughout this document,         respiratory effects among those with                 lower SES communities are exposed to
                                                 generally refers to those younger than 18 years old.     asthma, which forms the primary                      higher concentrations of PM2.5


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00035   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024                Page 47 of 217
                                                 16236             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 compared to higher SES communities                         With respect to race, American                     a wide range of PM2.5 concentrations,62
                                                 (U.S. EPA, 2019a, section 12.5.3; U.S.                  Indians or Alaskan Native populations                 the sections below summarize the
                                                 EPA, 2022a, section 3.3.3.1.1). Studies                 have the highest prevalence of all heart              considerations in the 2022 PA regarding
                                                 using composite measures of                             disease and coronary heart disease,                   the degree to which the evidence
                                                 neighborhood SES consistently                           while Black populations have the                      assessed in the 2019 ISA and ISA
                                                 demonstrated a disparity in both PM2.5                  highest prevalence of hypertension and                Supplement supports the occurrence of
                                                 exposure and the risk of PM2.5-related                  stroke. Hypertension has the highest                  PM-related health effects at
                                                 health outcomes. There is some                          prevalence across all racial groups                   concentrations relevant to informing
                                                 evidence that supports associations                     compared to other cardiovascular                      conclusions on the primary PM2.5
                                                 larger in magnitude between mortality                   diseases or conditions, ranging from                  standards. In so doing, the 2022 PA
                                                 and long-term PM2.5 exposures for those                 approximately 22% to 32% of each                      focuses on the available studies that are
                                                 with low income or living in lower                      racial group. Overall, the prevalence of              most directly informative to reaching
                                                 income areas compared to those with                     cardiovascular diseases or conditions is              conclusions regarding the adequacy of
                                                 higher income or living in higher                       lowest for Asians compared to Whites,                 the current primary PM2.5 standards
                                                 income neighborhoods (U.S. EPA,                         Blacks, and American Indians or                       (e.g., epidemiologic studies with annual
                                                 2019a, section 12.5.3; U.S. EPA, 2022a,                 Alaskan Natives. Asthma prevalence is                 mean PM2.5 concentrations near or
                                                 section 3.3.3.1.1). Additionally,                       highest among Black and American                      below the level of the standard; and
                                                 evidence supports conclusions that                      Indian or Alaska Native populations,                  controlled human exposure studies at
                                                 lower SES is associated with cause-                     while the prevalence of chronic                       PM2.5 exposures that elicit consistent
                                                 specific mortality and certain health                   bronchitis and emphysema is generally                 effects, as well as examining PM2.5
                                                 endpoints (i.e., HI and CHF), but less so               similar across racial groups. Overall, the            exposures at concentrations that are at
                                                 for all-cause or total (non-accidental)                 prevalence of respiratory diseases is                 or near the level of the standard).
                                                 mortality (U.S. EPA, 2022a, section                     lowest for Asians compared to Whites,
                                                                                                                                                               i. PM2.5 Exposure Concentrations
                                                 3.3.3.1).                                               Blacks, and American Indians or
                                                    The magnitude and characterization                                                                         Evaluated in Experimental Studies
                                                                                                         Alaskan Natives. With regard to
                                                 of a public health impact is dependent                  ethnicity, cardiovascular and respiratory                Evidence for a particular PM2.5-related
                                                 upon the size and characteristics of the                disease prevalence across all diseases or             health outcome is strengthened when
                                                 populations affected, as well as the type               conditions is generally similar between               results from experimental studies
                                                 or severity of the effects. As summarized               Hispanic and non-Hispanic populations,                demonstrate biologically plausible
                                                 above, lifestage (children and older                    although non-Hispanics have a slightly                mechanisms through which adverse
                                                 adults), race/ethnicity and SES are                     higher prevalence compared to                         human health outcomes could occur
                                                 factors that increase the risk of PM2.5-                Hispanics.                                            (U.S. EPA, 2015, p. 20). Two types of
                                                 related health effects. The American                       Taken together, this information                   experimental studies are of particular
                                                 Community Survey (ACS) for 2019                         indicates that the groups at increased                importance in understanding the effects
                                                 estimates that approximately 22% and                    risk of PM2.5-related health effects
                                                 16% of the U.S. population are children                 represent a substantial portion of the                   62 As described in more detail in section 5 of the

                                                 (age<18) and older adults (age 65+),                    total U.S. population. In evaluating the              Preamble to the ISAs, judgments regarding causality
                                                                                                                                                               take into consideration a number of aspects when
                                                 respectively. For all ages, non-Hispanic                primary PM2.5 standards, an important                 evaluating the available scientific evidence (U.S.
                                                 Black and Hispanic populations                          consideration is the potential PM2.5-                 EPA, 2015, Table I). In reaching conclusions
                                                 comprise approximately 12% and 18%                      related public health impacts in these                regarding causality, ‘‘evidence is evaluated for
                                                 of the overall U.S. population in 2019.                 populations.                                          major outcome categories or groups of related
                                                                                                                                                               endpoints (e.g., respiratory effects, vegetation
                                                 Currently available information that                                                                          growth), integrating evidence from across
                                                                                                         c. PM2.5 Concentrations in Key Studies
                                                 helps to characterize key features of                                                                         disciplines, and evaluating the coherence of
                                                                                                         Reporting Health Effects
                                                 these population is included in the 2022                                                                      evidence across a spectrum of related endpoints’’
                                                 PA (U.S. EPA, 2022b, Table 3–2).                           To inform conclusions on the                       (U.S. EPA, 2015, p. 24). Furthermore, ‘‘[i]n drawing
                                                                                                         adequacy of the public health protection              judgments regarding causality for the criteria air
                                                    As noted above, individuals with pre-                                                                      pollutants, the ISA focuses on evidence of effects
                                                 existing cardiovascular disease and pre-                provided by the current primary PM2.5                 in the range of relevant pollutant exposures or
                                                 existing respiratory disease may also be                standards, the sections below                         doses and not on determination of causality at any
                                                 at increased risk of PM2.5-related health               summarize the 2022 PA’s evaluation of                 dose. Emphasis is placed on evidence of effects at
                                                                                                         the PM2.5 exposures, specifically the                 doses (e.g., blood Pb concentration) or exposures
                                                 effects. Currently available information                                                                      (e.g., air concentrations) that are relevant to, or
                                                 that helps to characterize key features of              concentrations that have been examined                somewhat above, those currently experienced by
                                                 populations with cardiovascular or                      in controlled human exposure studies,                 the population. The extent to which studies of
                                                 respiratory diseases or conditions is                   animal toxicological studies, and                     higher concentrations are considered varies by
                                                 included in the 2022 PA (U.S. EPA,                      epidemiologic studies. The 2022 PA                    pollutant and major outcome category, but generally
                                                                                                                                                               includes those with doses or exposures in the range
                                                 2022b, Table 3–3). The National Center                  places the greatest emphasis on the                   of one to two orders of magnitude above current or
                                                 for Health Statistics data for 2018                     health outcomes for which the 2019 ISA                ambient conditions to account for intra-species
                                                 indicate that, for adult populations,                   concludes that the evidence supports a                variability and toxicokinetic or toxicodynamic
                                                 older adults (e.g., those 65 years and                  ‘‘causal’’ or a ‘‘likely to be causal’’               differences between experimental animals and
                                                                                                                                                               humans. Studies that use higher doses or exposures
                                                 older) have a higher prevalence of                      relationship with short- or long-term                 may also be considered to the extent that they
                                                 cardiovascular diseases compared to                     PM2.5 exposures (U.S. EPA, 2022b,                     provide useful information to inform understanding
                                                 younger adults (e.g., those 64 years and                section 3.3.3). As described in greater               of mode of action, inter-species differences, or
                                                                                                                                                               factors that may increase risk of effects for a
ddrumheller on DSK120RN23PROD with RULES3




                                                 younger). For respiratory diseases, older               detail in section II.A.2 above, this
                                                                                                                                                               population and if biological mechanisms have not
                                                 adults also have a higher prevalence of                 includes short- or long-term PM2.5                    been demonstrated to differ based on exposure
                                                 emphysema than younger adults, and                      exposures and mortality, cardiovascular               concentration. Thus, a causality determination is
                                                 adults 44 years or older have a higher                  effects, and respiratory effects and long-            based on weight-of-evidence evaluation for health
                                                 prevalence of chronic bronchitis.                       term PM2.5 exposures and cancer and                   or welfare effects, focusing on the evidence from
                                                                                                                                                               exposures or doses generally ranging from recent
                                                 However, the prevalence for asthma is                   nervous system effects. While the                     ambient concentrations to one or two orders of
                                                 generally similar across all adult age                  causality determinations in the 2019                  magnitude above recent ambient concentrations’’
                                                 groups.                                                 ISA are informed by studies evaluating                (U.S. EPA, 2015, p. 24).



                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00036   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024                Page 48 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                                  16237

                                                 of PM exposures: controlled human                       often, though not always, reported                    2019a, section 6.1 and Figure 6–1).
                                                 exposure and animal toxicological                       following 2-hour exposures to average                 However, just observing the occurrence
                                                 studies. In such studies, investigators                 PM2.5 concentrations at and above about               of impaired vascular function alone
                                                 expose human volunteers or laboratory                   120 mg/m3, with less consistent                       does not clearly suggest an adverse
                                                 animals, respectively, to known                         evidence for effects following exposures              health outcome. Additionally,
                                                 concentrations of air pollutants under                  to concentrations lower than 120 mg/m3.               associated judgments regarding
                                                 carefully regulated environmental                       Impaired vascular function, the effect                adversity or health significance of
                                                 conditions and activity levels. Thus,                   identified in the 2019 ISA as the most                measurable physiological responses to
                                                 controlled human exposure and animal                    consistent across studies (U.S. EPA,                  air pollutants have been informed by
                                                 toxicological studies can provide                       2019a, section 6.1.13.2) is shown                     guidance, criteria or interpretative
                                                 information on the health effects of                    following 2-hour exposures to PM2.5                   statements developed within the public
                                                 experimentally administered pollutant                   concentrations at and above 149 mg/m3.                health community, including the
                                                 exposures under highly controlled                       Mixed results are reported in the studies             American Thoracic Society (ATS) and
                                                 laboratory conditions (U.S. EPA, 2015,                  that evaluated longer exposure                        the European Respiratory Society (ERS),
                                                 p. 11).                                                 durations (i.e., longer than 2 hours) and             which cooperatively updated the ATS
                                                    Controlled human exposure studies                    lower (i.e., near-ambient) PM2.5                      2000 statement What Constitutes an
                                                 have reported that PM2.5 exposures                      concentrations (U.S. EPA, 2022b,                      Adverse Health Effect of Air Pollution
                                                 lasting from less than one hour up to                   section 3.3.3.1). For example, significant            (ATS, 2000) with new scientific
                                                 five hours can impact cardiovascular                    effects for some outcomes were reported               findings, including the evidence related
                                                 function,63 and the most consistent                     following 5-hour exposures to 24 mg/m3                to air pollution and the cardiovascular
                                                 evidence from these studies is for                      in Hemmingsen et al. (2015b), but not                 system (Thurston et al., 2017).64 With
                                                 impaired vascular function (U.S. EPA,                   for other outcomes following 5-hour                   regard to vascular function, the ATS/
                                                 2019a, section 6.1.13.2). In addition,                  exposures to 24 mg/m3 in Hemmingsen                   ERS statement considers the adversity of
                                                 although less consistent, the 2019 ISA                  et al. (2015a) and not following 24-hour              both chronic and acute reductions in
                                                 notes that studies examining PM2.5                      exposures to 10.5 mg/m3 in Bräuner et                endothelial function. While the ATS/
                                                 exposures also provide evidence for                     al. (2008). Additionally, Wyatt et al.                ERS statement concluded that chronic
                                                 increased blood pressure (U.S. EPA,                     (2020) found significant effects for some             endothelial and vascular dysfunction
                                                 2019a, section 6.1.6.3), conduction                     cardiovascular (e.g., systematic                      can be judged to be a biomarker of an
                                                 abnormalities/arrhythmia (U.S. EPA,                     inflammation markers, cardiac                         adverse health effect from air pollution,
                                                 2019a, section 6.1.4.3), changes in heart               repolarization, and decreased                         they also conclude that ‘‘the health
                                                 rate variability (U.S. EPA, 2019a, section              pulmonary function) effects following 4-              relevance of acute reductions in
                                                 6.1.10.2), changes in hemostasis that                   hour exposures to 37.8 mg/m3 in healthy               endothelial function induced by air
                                                 could promote clot formation (U.S. EPA,                 young participants (18–35 years, n=21)                pollution is less certain’’ (Thurston et
                                                 2019a, section 6.1.12.2), and increases                 who were subject to intermittent                      al., 2017). This is particularly
                                                 in inflammatory cells and markers (U.S.                 moderate exercise. The higher                         informative to our consideration of the
                                                 EPA, 2019a, section 6.1.11.2). The 2019                 ventilation rate and longer exposure                  controlled human exposure studies
                                                 ISA concludes that, when taken as a                     duration in this study compared to most               which are short-term in nature (i.e.,
                                                 whole, controlled human exposure                        controlled human exposure studies is                  generally ranging from 2- to 5-hours),
                                                 studies demonstrate that short-term                     roughly equivalent to a 2-hour exposure               including those studies that are
                                                 exposure to PM2.5 may impact                                                                                  conducted at near-ambient PM2.5
                                                                                                         of 75–100 mg/m3 of PM2.5. Therefore,
                                                 cardiovascular function in ways that                                                                          concentrations.
                                                                                                         dosimetric considerations may explain
                                                 could lead to more serious outcomes                                                                              The 2022 PA also notes that it is
                                                                                                         the observed changes in inflammation
                                                 (U.S. EPA, 2019a, section 6.1.16). Thus,                                                                      important to recognize that controlled
                                                                                                         in young healthy individuals. Though
                                                 such studies can provide insight into                                                                         human exposure studies include a small
                                                                                                         this study provides evidence of some
                                                 the potential for specific PM2.5                                                                              number of individuals compared to
                                                                                                         effects at lower PM2.5 concentrations,
                                                 exposures to result in physiological                                                                          epidemiologic studies. Additionally,
                                                                                                         overall, there is inconsistent evidence
                                                 changes that could increase the risk of                                                                       these studies tend to include generally
                                                                                                         for inflammation in other controlled
                                                 more serious effects. Table 3–4 in the                                                                        healthy adult individuals, who are at a
                                                                                                         human exposure studies evaluated in
                                                 2022 PA summarizes information from                                                                           lower risk of experiencing health effects.
                                                                                                         the 2019 ISA (U.S. EPA, 2019a, sections
                                                 the 2019 ISA and 2022 ISA supplement
                                                                                                         5.1.7., 5.1.2.3.3, and 6.1.11.2.1; U.S.
                                                 on available controlled human exposure                                                                           64 The ATS/ERS described its 2017 statement as
                                                                                                         EPA, 2022a, section 3.3.1).
                                                 studies that evaluate effects on markers                                                                      one ‘‘intended to provide guidance to policymakers,
                                                 of cardiovascular function following                       While controlled human exposure                    clinicians and public health professionals, as well
                                                                                                         studies are important in establishing                 as others who interpret the scientific evidence on
                                                 exposure to PM2.5 (U.S. EPA, 2022b).                                                                          the health effects of air pollution for risk
                                                 Most of the controlled human exposure                   biological plausibility, it is unclear how            management purposes’’ and further notes that
                                                 studies in Table 3–4 of the 2022 PA                     the results from these studies alone and              ‘‘considerations as to what constitutes an adverse
                                                 have evaluated average PM2.5                            the importance of the effects observed in             health effect, in order to provide guidance to
                                                                                                         these studies, should be interpreted                  researchers and policymakers when new health
                                                 concentrations at or above about 100 mg/                                                                      effects markers or health outcome associations
                                                 m3, with exposure durations typically                   with respect to adversity to public                   might be reported in future.’’ The most recent
                                                 up to about two hours. Statistically                    health. More specifically, impaired                   policy statement by the ATS, which once again
                                                 significant effects on one or more                      vascular function can signal an                       broadens its discussion of effects, responses and
                                                                                                         intermediate effect along the potential               biomarkers to reflect the expansion of scientific
ddrumheller on DSK120RN23PROD with RULES3




                                                 indicators of cardiovascular function are                                                                     research in these areas, reiterates that concept,
                                                                                                         biological pathways for cardiovascular                conveying that it does not offer ‘‘strict rules or
                                                   63 In contrast, controlled human exposure studies     effects following short-term exposure to              numerical criteria, but rather proposes
                                                 provide little evidence for respiratory effects         PM2.5 and show a role for exposure to                 considerations to be weighed in setting boundaries
                                                 following short-term PM2.5 exposures (U.S. EPA,         PM2.5 leading to potential worsening of               between adverse and nonadverse health effects,’’
                                                 2019a, section 5.1, Table 5–18). Therefore, this                                                              providing a general framework for interpreting
                                                 section focuses on cardiovascular effects evaluated
                                                                                                         IHD and heart failure followed                        evidence that proposes a ‘‘set of considerations that
                                                 in controlled human exposure studies of PM2.5           potentially by ED visits, hospital                    can be applied in forming judgments’’ for this
                                                 exposure.                                               admissions, or mortality (U.S. EPA,                   context (Thurston et al., 2017).



                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00037   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024             Page 49 of 217
                                                 16238             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 These studies, therefore, often do not                  toxicological studies to support the                  or morbidity represent a large part of the
                                                 include children, older adults, or                      plausibility of a wide range of PM2.5-                evidence base supporting several of the
                                                 individuals with pre-existing                           related health effects. While animal                  2019 ISA’s ‘‘causal’’ and ‘‘likely to be
                                                 conditions. As such, these studies are                  toxicological studies often examine                   causal’’ determinations. The 2022 PA
                                                 somewhat limited in their ability to                    more severe health outcomes and longer                considers the ambient PM2.5
                                                 inform at what concentrations effects                   exposure durations than controlled                    concentrations present in areas where
                                                 may be elicited in at-risk populations.                 human exposure studies, there is                      epidemiologic studies have evaluated
                                                    Nonetheless, to provide some insight                 uncertainty in extrapolating the effects              associations with mortality or
                                                 into what these controlled human                        seen in animals, and the PM2.5                        morbidity, and what such
                                                 exposure studies may indicate regarding                 exposures and doses that cause those                  concentrations may indicate regarding
                                                 short-term exposure to peak PM2.5                       effects, to human populations. The 2022               the adequacy of the primary PM2.5
                                                 concentrations and how concentrations                   PA considers these uncertainties when                 standards. The use of information from
                                                 relate to ambient PM2.5 concentrations,                 evaluating what the available animal                  epidemiologic studies to inform
                                                 analyses in the 2022 PA (U.S. EPA,                      toxicological studies may indicate with               conclusions on the primary PM2.5
                                                 2022b, Figure 2–19) examine monitored                   regard to the current primary PM2.5                   standards is complicated by the fact that
                                                 2-hour PM2.5 concentrations (the                        standards.                                            such studies evaluate associations
                                                 exposure window most often utilized in                     As with controlled human exposure                  between distributions of ambient PM2.5
                                                 the controlled human exposure studies)                  studies, most animal toxicological                    and health outcomes, and do not
                                                 at sites meeting the current primary                    studies evaluated in the 2019 ISA have                identify the specific exposures that can
                                                 PM2.5 standards to evaluate the degree to               examined effects following exposure to                lead to the reported effects. Rather,
                                                 which 2-hour ambient PM2.5                              PM2.5 well above the concentrations                   health effects can occur over the entire
                                                 concentrations at such locations are                    likely to be allowed by the current PM2.5             distribution of ambient PM2.5
                                                 likely to exceed the 2-hour exposure                    standards. Such studies have generally                concentrations evaluated, and
                                                 concentrations in the controlled human                  examined short-term exposures to PM2.5                epidemiologic studies conducted to date
                                                 exposure studies at which statistically                 concentrations ranging from 100 to                    do not identify a population-level
                                                 significant effects are reported in                     >1,000 mg/m3 and long-term exposures                  threshold below which it can be
                                                 multiple studies for one or more                        to concentrations from 66 to >400 mg/m3               concluded with confidence that PM2.5-
                                                 indicators of cardiovascular function. At               (e.g., see U.S. EPA, 2019a, Table 1–2).               associated health effects do not occur.
                                                 sites meeting the current primary PM2.5                 Two exceptions are animal toxicological               Therefore, the 2022 PA evaluates the
                                                 standards, most 2-hour concentrations                   studies reporting impaired lung                       PM2.5 air quality distributions over
                                                 are below 10 mg/m3, and almost never                    development following long-term                       which epidemiologic studies support
                                                 exceed 30 mg/m3. The extreme upper                      exposures (i.e., 24 hours per day for                 health effect associations (U.S. EPA,
                                                 end of the distribution of 2-hour PM2.5                 several months prenatally and                         2022b, section 3.3.3.2). In the absence of
                                                 concentrations is shifted higher during                 postnatally) to an average PM2.5                      discernible thresholds, the 2022 PA
                                                 the warmer months (April to                             concentration of 16.8 mg/m3 (Mauad et                 considers the study-reported ambient
                                                 September), generally corresponding to                  al., 2008) and increased carcinogenic                 PM2.5 concentrations reflecting
                                                 the period of peak wildfire frequency in                potential following long-term exposures               estimated exposure with a focus around
                                                 the U.S. At sites meeting the current                   (i.e., 2 months) to an average PM2.5                  the middle portion of the PM2.5 air
                                                 primary PM2.5 standards, the highest 2-                 concentration of 17.7 mg/m3 (Cangerana                quality distribution, where the bulk of
                                                 hour concentrations measured tend to                    Pereira et al., 2011). These two studies
                                                                                                                                                               the observed data reside and which
                                                 occur during the period of peak wildfire                report serious effects following long-
                                                                                                                                                               provides the strongest support for
                                                 frequency (i.e., 99.9th percentile of 2-                term exposures to PM2.5 concentrations
                                                                                                                                                               reported health effect associations. The
                                                 hour concentrations is 62 mg/m3 during                  similar to the ambient concentrations
                                                                                                                                                               section below, as well as in more detail
                                                 the warm season considered as a                         reported in some PM2.5 epidemiologic
                                                                                                                                                               in section II.B.3.b.i of the proposal (88
                                                 whole). Most of the sites measuring                     studies (U.S. EPA, 2019a, Table 1–2),
                                                                                                                                                               FR 5594, January 27, 2023), describes
                                                 these very high concentrations are in the               though still above the ambient
                                                                                                                                                               the consideration of the key
                                                 northwestern U.S. and California (U.S.                  concentrations likely to occur in areas
                                                                                                                                                               epidemiologic studies and observations
                                                                                                         meeting the current primary PM2.5
                                                 EPA, 2022b, Appendix A, Figure A–1),                                                                          from these studies, as evaluated in the
                                                                                                         standards. However, noting uncertainty
                                                 where wildfires have been relatively                                                                          2022 PA (U.S. EPA, 2022b, section
                                                                                                         in extrapolating the effects seen in
                                                 common in recent years. When the                                                                              3.3.3.2).
                                                                                                         animals, and the PM2.5 exposures and
                                                 typical fire season is excluded from the                                                                         As an initial matter, in considering
                                                                                                         doses that cause those effects to human
                                                 analysis, the extreme upper end of the                                                                        the PM2.5 air quality distributions
                                                                                                         populations, animal toxicological
                                                 distribution is reduced (i.e., 99.9th                                                                         associated with mortality or morbidity
                                                                                                         studies are of limited utility in
                                                 percentile of 2-hour concentrations is 55                                                                     in the key epidemiologic studies, the
                                                                                                         informing decisions on the public
                                                 mg/m3).65 Given these results, the 2022                                                                       2022 PA recognizes that in previous
                                                                                                         health protection provided by the
                                                 PA concludes that PM2.5 exposure                                                                              reviews, the decision framework used to
                                                                                                         current or alternative primary PM2.5
                                                 concentrations evaluated in most of                                                                           judge adequacy of the existing PM2.5
                                                                                                         standards. Therefore, the animal
                                                 these controlled human exposure                                                                               standards, and what levels of any
                                                                                                         toxicological studies are most useful in
                                                 studies are well-above the 2-hour                                                                             potential alternative standards should
                                                                                                         providing further evidence to support
                                                 ambient PM2.5 concentrations typically                                                                        be considered, placed significant weight
                                                                                                         the biological mechanisms and
                                                 measured in locations meeting the
ddrumheller on DSK120RN23PROD with RULES3




                                                                                                         plausibility of various adverse effects.              on epidemiologic studies that assessed
                                                 current primary standards.                                                                                    associations between PM2.5 exposure
                                                    With respect to animal toxicological                 ii. Ambient PM2.5 Concentrations in                   and health outcomes that were most
                                                 studies, the 2019 ISA relies on animal                  Locations of Epidemiologic Studies                    strongly supported by the body of
                                                   65 Similar analyses of 4-hour and 5-hour PM
                                                                                                            As summarized in section II.A.2.a                  scientific evidence. In doing so, the
                                                                                               2.5
                                                 concentrations are presented in Appendix A, Figure
                                                                                                         above, epidemiologic studies examining                decision framework recognized that
                                                 A–2 and Figure A–3, respectively of the 2022 PA         associations between daily or annual                  while there is no specific point in the
                                                 (U.S. EPA, 2022b).                                      average PM2.5 exposures and mortality                 air quality distribution of any


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00038   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024             Page 50 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                           16239

                                                 epidemiologic study that represents a                   confidence in the magnitude and                         averages across the study population
                                                 ‘‘bright line’’ at and above which effects              significance of associations observed in                and over the years of the study. Thus,
                                                 have been observed and below which                      the epidemiologic studies is greatest (78               mean concentrations from short-term
                                                 effects have not been observed, there is                FR 3101, January 15, 2013). In addition                 exposure studies reflect long-term
                                                 significantly greater confidence in the                 to the overall study means, the 2022 PA                 averages of 24-hour PM2.5 exposure
                                                 magnitude and significance of observed                  also focuses on concentrations                          estimates. In this manner, the
                                                 associations for the part of the air                    somewhat below the means (e.g., 25th                    examination of study-reported means in
                                                 quality distribution corresponding to                   and 10th percentiles), when such                        key epidemiologic studies in the 2022
                                                 where the bulk of the health events in                  information is available from the                       PA aims to evaluate the protection
                                                 each study have been observed,                          epidemiologic studies, which again is                   provided by the annual PM2.5 standard
                                                 generally at or around the mean                         consistent with approaches used in                      against the exposures where confidence
                                                 concentration. This is the case both for                previous reviews. In so doing, the 2022                 is greatest for associations with
                                                 studies of daily PM2.5 exposures and for                PA notes, as in previous reviews, that a                mortality and morbidity. In addition,
                                                 studies of annual average PM2.5                         relatively small portion of the health                  the protection provided by the annual
                                                 exposures (U.S. EPA, 2022b, section                     events are observed in the lower part of                standard is evaluated in conjunction
                                                 3.3.3.2.1).                                             the air quality distribution and                        with that provided by the 24-hour
                                                    As discussed further in the 2022 PA,                 confidence in the magnitude and                         standard, with its 98th percentile form,
                                                 studies of daily PM2.5 exposures                        significance of the associations begins to              which aims to provide supplemental
                                                 examine associations between day-to-                    decrease in the lower part of the air                   protection against the short-term
                                                 day variation in PM2.5 concentrations                   quality distribution. Furthermore,                      exposures to peak PM2.5 concentrations
                                                 and health outcomes, often over several                 consistent with past reviews, there is no               that can occur in areas with strong
                                                 years (U.S. EPA, 2022b, section                         single percentile value within a given                  contributions from local or seasonal
                                                 3.3.3.2.1). While there can be                          air quality distribution that is most                   sources, even when overall ambient
                                                 considerable variability in daily                       appropriate or ‘‘correct’’ to use to                    mean PM2.5 concentrations in an area
                                                 exposures over a multi-year study                       characterize where our confidence in                    remain relatively low.
                                                 period, most of the estimated exposures                 associations becomes appreciably lower.
                                                                                                                                                                    In focusing on the annual standard,
                                                 reflect days with ambient PM2.5                         However, and as detailed further in the
                                                                                                                                                                 and in evaluating the range of study-
                                                 concentrations around the middle of the                 2022 PA, the range from the 25th to 10th
                                                                                                                                                                 reported exposure concentrations for
                                                 air quality distributions examined (i.e.,               percentiles is a reasonable range to
                                                 ‘‘typical’’ days rather than days with                                                                          which the strongest support for adverse
                                                                                                         consider as a region where there is
                                                 extremely high or extremely low                                                                                 health effects exists, the 2022 PA
                                                                                                         appreciably less confidence in the
                                                 concentrations). Similarly, for studies of                                                                      examines exposure concentrations in
                                                                                                         associations observed in epidemiologic
                                                 annual PM2.5 exposures, most of the                                                                             key epidemiologic studies to determine
                                                                                                         studies compared to the means (U.S.
                                                 health events occur at estimated                                                                                whether the current primary annual
                                                                                                         EPA, 2022b, p. 3–69).66
                                                 exposures that reflect annual average                                                                           PM2.5 standard provides adequate
                                                                                                           In evaluating the overall study-
                                                 PM2.5 concentrations around the middle                  reported means, and concentrations                      protection against these exposure
                                                 of the air quality distributions                        somewhat below the means from                           concentrations. This means, as in past
                                                 examined. In both cases, epidemiologic                  epidemiologic studies, the 2022 PA                      reviews, application of a decision
                                                 studies provide the strongest support for               focuses on the form, averaging time and                 framework based on assessing means
                                                 reported health effect associations for                 level of the current primary annual                     reported in key epidemiologic studies
                                                 this middle portion of the PM2.5 air                    PM2.5 standard. Consistent with the                     must also consider how the study means
                                                 quality distribution, which corresponds                                                                         were computed and how these values
                                                                                                         approaches used in the 2012 and 2020
                                                 to the bulk of the underlying data, rather                                                                      compare to the annual standard metric
                                                                                                         reviews (78 FR 3161–3162, January 15,
                                                 than the extreme upper or lower ends of                                                                         (including the level, averaging time and
                                                                                                         2013; 85 FR 82716–82717, December 18,
                                                 the distribution. Consistent with this, as                                                                      form) and the use of the monitor with
                                                                                                         2020), the annual standard has been
                                                 noted in the 2022 PA (U.S. EPA, 2022b,                                                                          the highest PM2.5 design value in an area
                                                                                                         utilized as the primary means of
                                                 section 3.3.1.1), several epidemiologic                 providing public health protection                      for compliance. In the 2012 review, it
                                                 studies report that associations persist                against the bulk of the distribution of                 was recognized that the key
                                                 in analyses that exclude the upper                      short- and long-term PM2.5 exposures.                   epidemiologic studies computed the
                                                 portions of the distributions of                                                                                study mean using an average across
                                                                                                         Thus, the evaluation of the study-
                                                 estimated PM2.5 exposures, indicating                                                                           monitor-based PM2.5 concentrations. As
                                                                                                         reported mean concentrations from key
                                                 that ‘‘peak’’ PM2.5 exposures are not                   epidemiologic studies lends itself best                 such, the Agency noted that this
                                                 disproportionately responsible for                      to evaluating the adequacy of the annual                decision framework applied an
                                                 reported health effect associations.                    PM2.5 standard (rather than the 24-hour                 approach of using maximum monitor
                                                    Thus, in considering PM2.5 air quality                                                                       concentrations to determine compliance
                                                                                                         standard with its 98th percentile form).
                                                 data from epidemiologic studies,                                                                                with the standard, while selecting the
                                                                                                         This is true for the study-reported
                                                 consistent with approaches in the 2012                                                                          standard level based on consideration of
                                                                                                         means from both long-term and short-
                                                 and 2020 reviews (78 FR 3161, January                                                                           composite monitor concentrations.
                                                                                                         term exposure epidemiologic studies,
                                                 15, 2013; U.S. EPA, 2011, sections 2.1.3                                                                        Further, the Agency included analyses
                                                                                                         recognizing that the overall mean PM2.5
                                                 and 2.3.4.1; 85 FR 82716–82717,                                                                                 (Hassett-Sipple et al., 2010; Frank, 2012)
                                                                                                         concentrations reported in studies of
                                                 December 18, 2020; U.S. EPA, 2020b,                                                                             that examined the differences in these
                                                                                                         short-term (24-hour) exposures reflect
                                                                                                                                                                 two metrics (i.e., maximum monitor
ddrumheller on DSK120RN23PROD with RULES3




                                                 sections 3.1.2 and 3.2.3), the 2022 PA
                                                 evaluates study-reported means (or                         66 As detailed in the 2011 PA, we note the           concentrations and composite monitor
                                                 medians) of daily and annual average                    interrelatedness of the distributional statistics and   concentrations) across the U.S. and in
                                                 PM2.5 concentrations as indicators for                  a range of one standard deviation around the mean       areas included in the key epidemiologic
                                                 the middle portions of the air quality                  which represents approximately 68% of normally          studies and found that the maximum
                                                                                                         distributed data, and in that one standard deviation
                                                 distributions, over which studies                       below the mean falls between the 25th and 10th
                                                                                                                                                                 design value in an area was generally
                                                 generally provide strong support for                    percentiles (U.S. EPA, 2011, p. 2–71; U.S. EPA,         higher than the monitor average across
                                                 reported associations and for which                     2005, p. 5–22).                                         that area, with the difference varying


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00039   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024                Page 51 of 217
                                                 16240             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 based on location and concentration.                    substantial number of epidemiologic                   mean 24-hour average or average annual
                                                 This information was taken into account                 studies used hybrid model-based                       PM2.5 concentration. Other studies that
                                                 in the Administrator’s final decision in                methods in evaluating associations                    use hybrid modeling methods to
                                                 selecting a level for the primary annual                between PM2.5 exposure and health                     estimate PM2.5 concentrations may use
                                                 PM2.5 standard the 2012 review and                      effects (U.S. EPA, 2019a; U.S. EPA,                   each grid cell to calculate the study-
                                                 discussed more specifically in her                      2022a). Hybrid model-based studies                    reported mean 24-hour average or
                                                 considerations on adequate margin of                    employ various fusion techniques that                 average annual PM2.5 concentration. As
                                                 safety.                                                 combine ground-based monitored data                   such, these types of studies do not apply
                                                    Consistent with the approach taken in                with air quality modeled estimates and/               population weighting in their mean
                                                 2012, in assessing how the overall mean                 or information from satellites to                     concentrations. In studies that use each
                                                 (or median) PM2.5 concentrations                        estimate PM2.5 exposures.68                           grid cell to report a mean PM2.5
                                                 reported in key epidemiologic studies                   Additionally, hybrid modeling                         concentration and do not apply aspects
                                                 can inform conclusions on the primary                   approaches tend to broaden the areas                  of population weighting, the study mean
                                                 annual PM2.5 standard, the 2022 PA                      captured in the exposure assessment,                  may not reflect the exposure
                                                 notes that the relationship between                     and in so doing, tend to report lower                 concentrations used in the
                                                 mean PM2.5 concentrations and the area                  mean PM2.5 concentrations than                        epidemiologic study to assess the
                                                 design value continues to be an                         monitor-based approaches because they                 reported association. The impact of the
                                                 important consideration in evaluating                   include more suburban and rural areas                 differences in methods is an important
                                                 the adequacy of the current or potential                where concentrations are lower. While                 consideration when comparing mean
                                                 alternative annual PM2.5 standard levels                these studies provide a broader                       concentrations across studies (U.S. EPA,
                                                 in this reconsideration. In a given area,               estimation of PM2.5 exposures compared                2022b, section 3.3.3.2.1). Thus, the 2022
                                                 the area design value is based on the                   to monitor-based studies (i.e., PM2.5                 PA also considers the methods used to
                                                 monitor in an area with the highest                     concentrations are estimated in areas                 estimate PM2.5 concentrations, which
                                                 PM2.5 concentrations and is used to                     without monitors), the hybrid modeling                vary from traditional methods using
                                                 determine compliance with the                           approaches result in study-reported                   monitoring data from ground-based
                                                 standard. The highest PM2.5                             means that are more difficult to relate to            monitors 69 to those using more complex
                                                 concentrations spatially distributed in                 the annual standard metric and to the                 hybrid modeling approaches and how
                                                 the area would generally occur at or                    use of maximum monitor design values                  these methods calculate the study-
                                                 near the area design value monitor and                  to assess compliance. In addition, and to             reported mean PM2.5 concentration.70
                                                 the distribution of PM2.5 concentrations                further complicate the comparison,
                                                 would generally be lower in other                       when looking across these studies,                      Given the emergence of the hybrid
                                                 locations and at monitors in that area.                 variations exist in how exposure is                   model-based epidemiologic studies
                                                 As such, when an area is meeting a                      estimated between such studies, which                 since the 2012 review, the 2022 PA
                                                 specific annual standard level, the                     in turn affects how the study means are               explores the relationship between the
                                                 annual average exposures in that area                   calculated. Two important variations                  approaches used in these studies to
                                                 are expected to be at concentrations                    across studies include: (1) Variability in            estimate PM2.5 concentrations and the
                                                 lower than that level and the average of                spatial scale used (i.e., averages                    impact that the different methods have
                                                 the annual average exposures across that                computed across the nation (or large                  on the study-reported mean PM2.5
                                                 area are expected (i.e., a metric similar               portions of the country) versus a focus               concentrations. The 2022 PA further
                                                 to the study-reported mean values) to be                on only CBSAs) and (2) variability in                 seeks to understand how the approaches
                                                 lower than that level.67                                exposure assignment methods (i.e.,                    and resulting mean concentrations
                                                    Another important consideration is                   averaging across all grid cells [non-                 compare across studies, as well as what
                                                 that there are a substantial number of                  population weighting], averaging across               the resulting mean values represent
                                                 different types of epidemiologic studies                a scaled-up area like a ZIP code [aspects             relative to the annual standard. In so
                                                 available since the 2012 review,                        of population weighting applied], and/                doing, the 2022 PA presents analyses
                                                 included in both the 2019 ISA and the                   or applying population weighting). To                 that compare the area annual design
                                                 ISA Supplement, that make                               elaborate further on the variability in               values, composite monitor PM2.5
                                                 understanding the relationship between                  exposure assignment methods, studies                  concentrations, and mean
                                                 the mean PM2.5 concentrations and the                   that use hybrid modeling approaches                   concentrations from two hybrid
                                                 area design value even more important                   can estimate PM2.5 concentrations at                  modeling approaches, including
                                                 (U.S. EPA, 2019a; U.S. EPA, 2022a).                     different spatial resolutions, including              evaluation of the means when
                                                 While the key epidemiologic studies in                  at 1 km x 1 km grid cells, at 12 km x                 population weighting is applied and
                                                 the 2012 review were all monitor-based                  12 km grid cells, or at the census tract              when population weighting is not
                                                 studies, the newer studies include                      level. Mean reported PM2.5
                                                 hybrid modeling approaches, which                       concentrations can then be estimated                     69 In those studies that use ground-based monitors

                                                 have emerged in the epidemiologic                       either by averaging up to a larger spatial            alone to estimate long- or short-term PM2.5
                                                 literature as an alternative to approaches                                                                    concentrations, approaches include: (1) PM2.5
                                                                                                         resolution that corresponds to the                    concentrations from a single monitor within a city/
                                                 that only use ground-based monitors to                  spatial resolution for which health data              county; (2) average of PM2.5 concentrations across
                                                 estimate exposure. As assessed in the                   exists (e.g., ZIP code level) and therefore           all monitors within a city/county or other defined
                                                 2019 ISA and ISA Supplement, a                          apply aspects of population weighting.                study area (e.g., CBSA); or (3) population-weighted
                                                                                                                                                               averages of exposures. Once the study location
                                                                                                         These values are then averaged across                 average PM2.5 concentration is calculated, the
ddrumheller on DSK120RN23PROD with RULES3




                                                   67 In setting a standard level that would require

                                                 the design value monitor to meet a level equal to       all study locations at the larger spatial             study-reported long-term average is derived by
                                                 the study-reported mean PM2.5 concentrations            resolution (e.g., averaged across all ZIP             averaging daily/annual PM2.5 concentrations across
                                                                                                                                                               all study locations over the entire study period.
                                                 would generally result in lower concentrations of       codes in the study) over the study                       70 Detailed information on the methods by which
                                                 PM2.5 across the entire area, such that even those
                                                 people living near an area design value monitor
                                                                                                         period, resulting in the study-reported               mean PM2.5 concentrations are calculated in key
                                                 (where PM concentrations are generally highest)                                                               monitor- and hybrid model-based U.S. and
                                                 will be exposed to PM2.5 concentrations below the         68 More detailed information about hybrid model     Canadian epidemiologic studies are presented in
                                                 air quality conditions reported in the epidemiologic    methods and performance is described in section       Tables 3–6 through 3–9 in the 2022 PA (U.S. EPA,
                                                 studies.                                                2.3.3.2 of the 2022 PA (U.S. EPA, 2022b).             2022b).



                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00040   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024             Page 52 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                         16241

                                                 applied (U.S. EPA, 2022b, section                       mean, and more specifically whether a                   Based on these results, and similar to
                                                 2.3.3.1).                                               study is focused on nationwide,                       conclusions for the monitor-based
                                                    In the air quality analyses comparing                regional, or urban areas, will affect the             studies, the 2022 PA generally
                                                 composite monitored PM2.5                               calculation of the study mean based on                concludes that study-reported mean
                                                 concentrations with annual PM2.5 design                 how many rural areas, with lower                      concentrations in the studies that
                                                 values in U.S. CBSAs, maximum annual                    estimated PM2.5 concentrations, are                   employ hybrid modeling approaches
                                                 PM2.5 design values were approximately                  included in the study area. While the                 and calculate a population-weighted
                                                 10% to 20% higher than annual average                   determination of what spatial scale to                mean are associated with air quality
                                                 composite monitor concentrations (i.e.,                 use to estimate PM2.5 concentrations                  conditions that would be achieved by
                                                 averaged across multiple monitors in                    does not inherently affect the quality of             meeting annual standard levels that are
                                                 the same CBSA) (sections I.D.5.a above                  the epidemiologic study, the spatial                  15–18% higher than study-reported
                                                 and U.S. EPA, 2022b, section 2.3.3.1,                   scale can influence the calculated                    means. Therefore, an annual standard
                                                 Figure 2–28 and Table 2–3). The                         reported long-term mean concentration                 level that is no more than 15–18%
                                                 difference between the maximum                          across the study area and period. The                 higher than the study-reported means
                                                 annual design value and average                         results of the analysis show that,                    would generally maintain air quality
                                                 concentration in an area can be smaller                 regardless of the hybrid modeling                     exposures to be below those associated
                                                 or larger than this range (10–20%),                     approach assessed, the annual average                 with the study-reported mean PM2.5
                                                 depending on a variety of factors such                  PM2.5 concentrations in CBSA-only                     concentrations, exposures for which we
                                                 as the number of monitors, monitor                      analyses are 4–8% higher than for                     have the strongest support for adverse
                                                 siting characteristics, the distribution of             nationwide analyses, likely as a result of            health effects occurring. For the studies
                                                 ambient PM2.5 concentrations, and how                   higher PM2.5 concentrations in more                   that utilize hybrid modeling approaches
                                                 the average concentrations are                          densely populated areas, and exclusion                but do not incorporate population
                                                 calculated (i.e., averaged across                       of more rural areas (U.S. EPA, 2022b,                 weighting in calculating the mean, the
                                                 monitors versus across modeled grid                     Table 2–4). When evaluating                           annual design values associated with
                                                 cells). Results of this analysis suggest                comparisons between surfaces that                     these air quality conditions are expected
                                                 that there will be a distribution of                    estimate exposure using aspects of                    to be much higher (i.e., 40–50% higher)
                                                 concentrations across an area and the                   population weighting versus surfaces                  and this larger difference makes it more
                                                 maximum annual average monitored                        that do not calculate means using                     difficult to consider how these studies
                                                 concentration in an area (at the design                 population weighting, surfaces that                   can be used to determine the adequacy
                                                 value monitor, used for compliance                      calculate long-term mean PM2.5                        of the protection afforded by the current
                                                 with the standard), will generally be 10–               concentrations with population-                       or potential alternative annual
                                                 20% higher than the average PM2.5                       weighted averages have higher average                 standards. Additionally, as noted above
                                                 concentration across the other monitors                 annual PM2.5 concentrations, compared                 in studies that utilize hybrid modeling
                                                 in the area. Thus, in considering how                   to annual PM2.5 concentrations in                     approaches and that do not incorporate
                                                 the annual standard levels would relate                 analyses that do not apply population                 population weighting in calculating the
                                                 to the study-reported means from key                    weighting.72 Analyses show that average               mean (e.g., use each grid cell to
                                                 monitor-based epidemiologic studies,                    maximum annual design values are 40                   calculate a mean PM2.5 concentration),
                                                 the 2022 PA generally concludes that an                 to 50% higher when compared to                        the study mean does not reflect the
                                                 annual standard level that is no more                   annual average PM2.5 concentrations                   exposure concentrations used in the
                                                 than 10–20% higher than monitor-based                   estimated without population weighting                epidemiologic study to assess the
                                                 study-reported mean PM2.5                               versus 15% to 18% higher when                         reported association.
                                                 concentrations would generally                          compared to average annual PM2.5                        The 2022 PA notes that while these
                                                 maintain air quality exposures to be                    concentrations estimated with                         analyses can be useful to informing the
                                                 below those associated with the study-                  population weighting applied (similar to              understanding of the relationship
                                                 reported mean PM2.5 concentrations,                     the differences observed for the                      between study-reported mean
                                                 exposures for which the strongest                       composite monitor comparison values                   concentrations and the level of the
                                                 support for adverse health effects                      for the monitor-based epidemiologic                   annual standard, some limitations of
                                                 occurring is available.                                 studies) (U.S. EPA, 2022b, section                    this analysis must be recognized (U.S.
                                                    The 2022 PA also evaluates data from                 2.3.3.2.4). Given these results, it is                EPA, 2022a, section 3.3.3.2.1). First, the
                                                 two hybrid modeling approaches                          worth noting that for the studies using               comparisons used only two hybrid
                                                 (DI2019 and HA2020) that have been                      the hybrid modeling approaches, the                   modeling approaches. Although these
                                                 used in several recent epidemiologic                    choice of methodology employed in                     two hybrid modeling surfaces have been
                                                 studies (U.S. EPA, 2022b, section                       calculating the study-reported means                  used in a number of recent
                                                 2.3.3.2.4).71 The analysis shows that the               (i.e., using population weighting or not),            epidemiologic studies, they represent
                                                 means differ when PM2.5 concentrations                  and not a difference in estimates of                  just two of the many hybrid modeling
                                                 are estimated in urban areas only                       exposure in the study itself, can                     approaches that have been used in
                                                 (CBSAs) versus when the averages were                   produce substantially different study-                epidemiologic studies to estimate PM2.5
                                                 calculated with all or most grid cells                  reported mean values, where
                                                 nationwide, likely because areas                                                                              concentrations. These methods continue
                                                                                                         approaches that do not apply                          to evolve, with further development and
                                                 included outside of CBSAs tend to be                    population weighting leading to much
                                                 more rural and have lower estimated                                                                           improvement to prediction models that
                                                                                                         lower estimated mean PM2.5
ddrumheller on DSK120RN23PROD with RULES3




                                                 PM2.5 concentrations. The 2022 PA                                                                             estimate PM2.5 concentrations in
                                                                                                         concentrations.                                       epidemiologic studies. In addition to
                                                 recognizes the importance of this
                                                                                                                                                               differences in hybrid modeling
                                                 variability in the means since the study                  72 The annual PM
                                                                                                                            2.5 concentrations for the         approaches, epidemiologic studies also
                                                 areas included in the calculation of the                population-weighted averages ranged from 8.2–10.2     use different methods to assign a
                                                                                                         mg/m3, while those that do not apply population
                                                   71 More details on the evaluation of the two          weighting ranged from 7.0–8.6 mg/m3. Average
                                                                                                                                                               population weighted average PM2.5
                                                 hybrid modeling approaches is provided in section       maximum annual design values ranged from 9.5 to       concentration to their study population,
                                                 2.3.3.2.4 of the 2022 PA (U.S. EPA, 2022b).             11.7 mg/m3.                                           and the assessment presented in the


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00041   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                               Filed: 03/06/2024                    Page 53 of 217
                                                 16242             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 2022 PA does not evaluate all of the                    controlled human exposure studies),                       current or potential alternative the
                                                 potential methods that could be used.                   and robust to potential confounding by                    levels of the annual standard. Lastly, the
                                                    Additionally, while some of these                    co-occurring pollutants and other                         2022 PA emphasizes multicity/
                                                 epidemiologic studies also provide                      factors.73 In particular the 2022 PA                      multistate studies that examine health
                                                 information on the broader distributions                considers the U.S. and Canadian                           effect associations, as such studies are
                                                 of exposure estimates and/or health                     epidemiologic studies to be more useful                   more encompassing of the diverse
                                                 events and the PM2.5 concentrations                     for reaching conclusions on the current                   atmospheric conditions and population
                                                 corresponding to the lower percentiles                  standards than studies conducted in                       demographics in the U.S. than studies
                                                 of those data (e.g., 25th and/or 10th), the             other countries, given that the results of                that focus on a single city or State.
                                                 air quality analysis in the 2022 PA                     the U.S. and Canadian studies are more                    Figures 3–4 through 3–7 in the 2022 PA
                                                 focuses on mean PM2.5 concentrations                    directly applicable for quantitative                      summarize the study details for the key
                                                 and a similar comparison for lower                      considerations, whereas studies                           U.S. and Canadian epidemiologic
                                                 percentiles of data was not assessed.                   conducted in other countries reflect                      studies (U.S. EPA, 2022b, section
                                                 Therefore, any direct comparison of                     different populations, exposure                           3.3.3.2.1).75
                                                 study-reported PM2.5 concentrations                     characteristics, and air pollution                          The key epidemiologic studies
                                                 corresponding to lower percentiles and                  mixtures. Additionally, epidemiologic                     identified in the 2022 PA indicate
                                                 annual design values is more uncertain                  studies outside of the U.S. and Canada                    generally positive and statistically
                                                 than such comparisons with the mean.                    generally reflect higher PM2.5                            significant associations between
                                                 Finally, air quality analysis presented in              concentrations in ambient air than are                    estimated PM2.5 exposures (short- or
                                                 the 2022 PA and detailed above in                       currently found in the U.S., and are less                 long-term) and mortality or morbidity
                                                 section I.D.5 included two hybrid                       relevant to informing questions about                     across a range of ambient PM2.5
                                                 modeling-based approaches that used                     adequacy of the current standards.74                      concentrations (U.S. EPA, 2022b,
                                                 U.S.-based air quality information for                  However, and as noted above, the 2022                     section 3.3.3.2.1), report overall mean
                                                 estimating PM2.5 concentrations. As                     PA also recognizes that while                             (or median) PM2.5 concentrations, and
                                                 such, the analyses are most relevant to                 information from Canadian studies can                     include those for which the years of
                                                 interpreting the study-reported mean                    be useful in assessing the adequacy of                    PM2.5 air quality data used to estimate
                                                 concentrations from U.S. epidemiologic                  the annual standard, there are still                      exposures overlap entirely with the
                                                 studies and do not provide additional                   important differences between the                         years during which health events are
                                                 information about how the mean                          exposure environments in the U.S. and                     reported.76 Additionally, for studies that
                                                 exposures concentrations reported in                    Canada and interpreting the data (e.g.,                   estimate PM2.5 exposure using hybrid
                                                 epidemiologic studies in other countries                mean concentrations) from the Canadian                    modeling approaches, the 2022 PA also
                                                 would compare to annual design values                   studies in the context of a U.S.-based                    considers the approach used to estimate
                                                 observed in the U.S. In addition, while                 standard may present challenges in                        PM2.5 concentrations and the approach
                                                 information from Canadian studies can                   directly and quantitatively informing                     used to validate hybrid model
                                                 be useful in assessing the adequacy of                  questions regarding the adequacy of the                   predictions when evaluating those
                                                 the annual standard, differences in the                                                                           studies as key epidemiologic studies 77
                                                 exposure environments and population                       73 As described in the Preamble to the ISAs (U.S.      and focuses on those studies that use
                                                 characteristics between the U.S. and                    EPA, 2015), ‘‘the U.S. EPA emphasizes the                 recent methods based on surfaces that
                                                                                                         importance of examining the pattern of results
                                                 other countries can affect the study-                   across various studies and does not focus solely on
                                                                                                                                                                   are with fused with monitored PM2.5
                                                 reported mean value and its relationship                statistical significance or the magnitude of the
                                                 with the annual standard level. Sources                 direction of the association as criteria of study            75 The cohorts examined in the studies included

                                                 and pollutant mixtures, as well as PM2.5                reliability. Statistical significance is influenced by    in Figure 3–4 to Figure 3–7 of the 2022 PA include
                                                                                                         a variety of factors including, but not limited to, the   large numbers of individuals in the general
                                                 concentration gradients, may be                         size of the study, exposure and outcome                   population, and often also include those
                                                 different between countries, and the                    measurement error, and statistical model                  populations identified as at-risk (i.e., children,
                                                 exposure environments in other                          specifications. Statistical significance may be           older adults, minority populations, and individuals
                                                 countries may differ from those                         informative; however, it is just one of the means of      with pre-existing cardiovascular and respiratory
                                                                                                         evaluating confidence in the observed relationship        disease).
                                                 observed in the U.S. Furthermore,                       and assessing the probability of chance as an                76 For some studies of long-term PM
                                                                                                                                                                                                             2.5 exposures,
                                                 differences in population characteristics               explanation. Other indicators of reliability such as      exposure is estimated from air quality data
                                                 and population densities can also make                  the consistency and coherence of a body of studies        corresponding to only part of the study period,
                                                 it challenging to directly compare                      as well as other confirming data may be used to           often including only the later years of the health
                                                                                                         justify reliance on the results of a body of              data, and are not likely to reflect the full ranges of
                                                 studies from countries outside of the                   epidemiologic studies, even if results in individual      ambient PM2.5 concentrations that contributed to
                                                 U.S. to a design value in the U.S.                      studies lack statistical significance. Traditionally,     reported associations. While this approach can be
                                                    As with the experimental studies                     statistical significance is used to a larger extent to    reasonable in the context of an epidemiologic study
                                                 discussed above, the 2022 PA focuses                    evaluate the findings of controlled human exposure        that is evaluating health effect associations with
                                                                                                         and animal toxicological studies. Understanding           long-term PM2.5 exposures, under the assumption
                                                 on epidemiologic studies assessed in the                that statistical inferences may result in both false      that spatial patterns in PM2.5 concentrations are not
                                                 2019 ISA and ISA Supplement that have                   positives and false negatives, consideration is given     appreciably different during time periods for which
                                                 the potential to be most informative in                 to both trends in data and reproducibility of results.    air quality information is not available (e.g., Chen
                                                 reaching decisions on the adequacy of                   Thus, in drawing judgments regarding causality, the       et al., 2016), the 2022 PA focuses on the
                                                                                                         U.S. EPA emphasizes statistically significant             distribution of ambient PM2.5 concentrations that
                                                 the primary PM2.5 standards. The 2022                   findings from experimental studies, but does not          could have contributed to reported health
                                                 PA focuses on epidemiologic studies                     limit its focus or consideration to statistically         outcomes. Therefore, the 2022 PA identifies studies
                                                 that provide strong support for ‘‘causal’’              significant results in epidemiologic studies.’’           as key epidemiologic studies when the years of air
                                                                                                                                                                   quality data and health data overlap in their
ddrumheller on DSK120RN23PROD with RULES3




                                                                                                            74 This emphasis on studies conducted in the U.S.
                                                 or ‘‘likely to be causal’’ relationships
                                                                                                         or Canada is consistent with the approach in the          entirety.
                                                 with PM2.5 exposures in the 2019 ISA.                   2012 and 2020 reviews of the PM NAAQS (U.S.                  77 Such studies are identified as those that use
                                                 Further, the 2022 PA also focuses on the                EPA, 2011, section 2.1.3; U.S. EPA, 2020b, section        hybrid modeling approaches for which recent
                                                 health effect associations that are                     3.2.3.2.1) and with approaches taken in other             methods and models were used (e.g., recent
                                                 determined in the 2019 ISA and ISA                      NAAQS reviews. However, the importance of                 versions and configurations of the air quality
                                                                                                         studies in the U.S., Canada, and other countries in       models); studies that are fused with PM2.5 data from
                                                 Supplement to be consistent across                      informing an ISA’s considerations of the weight of        national monitoring networks (i.e., FRM/FEM data);
                                                 studies, coherent with the broader body                 the evidence that informs causality determinations        and studies that reported a thorough model
                                                 of evidence (e.g., including animal and                 is recognized.                                            performance evaluation for core years of the study.



                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00042   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM       06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024                   Page 54 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                                     16243

                                                 concentration data (U.S. EPA, 2022b,                    the 25th and 10th percentiles of health                  when available (see Appendix B, section
                                                 section 3.3.3.2.1).                                     events 79 (see Appendix B, Section B.2                   B.3 for additional information).81
                                                   Figure 1 below (U.S. EPA, 2022b,                      of the 2022 PA for more information).
                                                 Figure 3–8) highlights the overall mean                 Figure 2 (U.S. EPA, 2022a, Figure 3–14)
                                                                                                         presents overall means of predicted                      estimates are presented. The exception is Di et al.
                                                 (or median) PM2.5 concentrations                                                                                 (2017b), for which Figure 2 (U.S. EPA, 2022b,
                                                 reported in key U.S. studies that use                   PM2.5 concentrations for key U.S.                        Figure 3–14) presents the short-term PM2.5 exposure
                                                 ground-based monitors alone to estimate                 model-based epidemiologic studies that                   estimates corresponding to the 25th and 10th
                                                 long- or short-term PM2.5 exposure.78                   apply aspects of population-weighting,                   percentiles of deaths in the study population (i.e.,
                                                 For the small subset of studies with                    and the concentrations corresponding to                  25% and 10% of deaths occurred at concentrations
                                                 available information on the broader                    the 25th and 10th percentiles of                         below these concentrations). In addition, the
                                                                                                         estimated exposures or health events 80                  authors of Di et al. (2017b) provided population-
                                                 distributions of underlying data, Figure                                                                         weighted exposure values. The 10th and 25th
                                                 1 below also identifies the study-period                                                                         percentiles of these population-weighted exposure
                                                                                                            79 That is, 25% of the total health events occurred
                                                 PM2.5 concentrations corresponding to                                                                            estimates are 7.9 and 9.5 mg/m3, respectively.
                                                                                                         in study locations with mean PM2.5 concentrations          81 Overall mean (or median) PM
                                                                                                                                                                                                     2.5 concentrations
                                                                                                         (i.e., averaged over the study period) below the 25th
                                                   78 Canadian studies that use ground-based             percentiles identified in Figure 3–8 of the 2022 PA      reported in key Canadian studies that use model-
                                                 monitors estimate long- or short-term PM2.5             and 10% of the total health events occurred in           based approaches to estimate long- or short-term
                                                 exposures are found in Figure 3–9 of the 2022 PA,       study locations with mean PM2.5 concentrations           PM2.5 concentrations and the concentrations
                                                 including concentrations corresponding to the 25th      below the 10th percentiles identified.                   corresponding to the 25th and 10th percentiles of
                                                 and 10th percentiles of estimated exposures or             80 For most studies in Figure 2 below (Figure 3–      estimated exposures or health events, when
                                                 health events, when available (U.S. EPA, 2022b).        14 in the 2022 PA), 25th percentiles of exposure         available are found in Figure 3–9 of the 2022 PA
                                                                                                                                                                  (U.S. EPA, 2022b).
ddrumheller on DSK120RN23PROD with RULES3




                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00043   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM     06MRR3
ddrumheller on DSK120RN23PROD with RULES3
VerDate Sep<11>2014




                                                                                                                                                                                                                                                    BILLING CODE 6560–50–P


                                                                                                                                                                                                                                                                             16244
                                                                                                                                                                                                                                                                                                                                        USCA Case #24-1051
19:03 Mar 05, 2024




                                                                                                                                                                                                                                                                             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations
                                            Figure 1. Monitor-based PM2.s Concentrations in Key U.S. Epidemiologic Studies. (Asterisks denote studies included in the ISA
                                            Supplement)
Jkt 262001




                                             ST Exposure Franklin 2007 (US: 27 Cities)
                                             & Mortality   Franklin 2008 (US: 25 Cities)
                                                                                                                                                                                     •                         ■
                                                                                                                                                                                                                               summary Statistics
                                                                                                                                                                                                                               0 10th percentile
                                                                                                                                                                                                                               • 25th percentile
                                                           Klemm 2003 (US: Harvard 6 City)                                                                                                                     ■                ■ Mean
PO 00000




                                                                                                                                                                                                                                                                                                                                        Document #2043704
                                                           Krall 2013 (US: 72 Cities)                                                                                                            .■
                                                           Dai 2014 (US: 75 Cities)                                                                                                          ■
                                                           zanobettl and Schwartz 2009 (us: 112 Cltles)                               0
                                                                                                                                                                             •           ■
Frm 00044




                                                           Liu 2019 (US: 107 cities; ST Exposure)•                                                                       ■
                                             ST exposure ostro 2016 (us: 8 California counties)                                                                                                                            ■
                                             & Morbidity Zanobetti 2009 {US: 26cities)                                                                                                                             ■
                                                           Bell 2014 (US: 4 Counties in MA & CT)
                                                                                                                                                                                                      •
Fmt 4701




                                                           Dominici 2006 (US: 204 Urban Counties)                                                                                            ■
                                                           Bell 2008 (US: 202 Counties)
                                                           Bravo 2017 (US: 418 Counties)
                                                                                                                               0'                         •                  ■
                                                                                                                                                                                     ■
Sfmt 4725




                                                           Bell 2015 (us: 70 urban counties)                                                                             ■
                                                           Peng 2009 (US: 119 Urban Counties)                                                                    ■
                                             LT exposure Zeger 2008 (us: 421 Eastern Region counties)                                                                                                 ■
E:\FR\FM\06MRR3.SGM




                                                                                                                                                                                         ■




                                                                                                                                                                                                                                                                                                                                        Filed: 03/06/2024
                                             & Mortality   Zeger 2008 {US: 62 Western Region Counties)
                                                           Hart 2015 (US: Nationwide)                                                                                            ■
                                                           Eum 2018 (us: Eastern Geographic Region; LT Exposure)•                                                        ■
                                                           Kioumourtzogtou 2016 (us: 207 Cities)
                                                           Eum 2018 {US: 3 Geographic Regions overall; LT Exposure)•                                         ■
                                                                                                                                                                     •
                                                           Eum 2018 {US: Western Geographic Region; LT Exposure)•                                        ■
                                                           Zeger 2008 (US: 185 Central Region counties)                   i                    ■
06MRR3




                                                           Eum 2018 (US: Central Geographic Region; LT Exposure)•         I     ■
                                                      - - - - - - - - - ··---·----------·-·····--· ..--.-·---~-~------·-·-f-~~-- '-·--·-   •                                                     ~    -~   '       . ",-   '
                                             LT Exposure Mcconnell 2010 {us: 13 California communities)                   ••               •                                                          ■
                                             & Morbidity Gharibvand 2016 (US: Nationwide)                                                                                            ■




                                                                                                                                                                                                                                                                                                                                        Page 55 of 217
                                                                                                                                10.0 10.5 11.0 11.5 12.0 12.5 13.0 13.5 14.0 14.5 15.0 15.5 16.0 16.5
                                                                                                                                                   Overall PM 2 . 5 Concentration for the Study Period (µg/m3}




ER06MR24.029</GPH>
                                                       USCA Case #24-1051                                                                                                                                                                                                                                                                                                                                                       Document #2043704                                                                                                                                                                                                                                                                                                                               Filed: 03/06/2024                                                                                                                                                                            Page 56 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          16245
                                                                        Figure 2. Hybrid Model-Predicted PM2.s Concentrations in Key U.S. Epidemiologic Studies that Apply Aspects of Population-


                                                                                                                                                                                                    - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - ~ - - - - - - - - - - - - - - - - - - - - - - - - - - ~ summarystatistics

                                                                                                                                                                                                                                                                                                                                              • 25th percentile
                                                                                                                                                                                                                                                                                                                                              0 10th percentile

                                                                                                                                                                                                                                                                                                                                                                                                                     ■ Mean




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       •




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             12
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          II




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Overal I PM2 .,; Concentration for the Study Period (tt9/rrr)
                                                                                                                                                                                                                                                                                                                                                      ■




                                                                                                                                                                                                                                                                                                                                                                                                                                                                          •




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      •
                                                                                                                                                                                                                                                                                                                                                                                                                                ■




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             11
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  •
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   •
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ■




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             10
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  •
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           ■




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      •

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   •


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             9
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             8
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      0




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             7
                                                                                                                                                                                                                                                                                                                                               •




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             6
                                                                        Weighting. (Asterisks denote studies included in the ISA Supplement)




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             5
                                                                                                                                                                                                                                                                                                                                                      0




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        LT eJ<posure & Mortality Thurstlll!Wl!l (us: !>states and 2 MSAs; LT Elq)osure)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       wvatt 202oc (us:sao us counties; ST ExP9Sum)*




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Dominici 2019 (us: Nationwide; LT Exposure}'"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                           ST expc:>sure & Morbidity deSouza2921 (us: Nationwide; sr ExpoS1Jre)"




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Wang 2020 (us: Nationwide; LT Exposure)*



                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   wu 2020a (us: Nationwide; LT Bq>osure)*
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Wang 2017 (US: 7 SE States; LT Exposure)
                                                                                                                                                                                                                                                                                                                                                                                                                              Lee 2015b (US: 3 SE Statl!S; ST Bq>osute}




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Hart_ 2015. {US: Nationwide; LT Exposure)
                                                                                                                                                                                                                                                                                                                                                     ST Exposure & Mortality Di 2011a (US: Natioowide; STExposure)




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      DI 2017b (US: Nationwide; LT Exposure)
                                                 BILLING CODE 6560–50–C
                                                                                                                                                                                                                                                                                                                                                                                                                                                                          across a wide range of ambient PM2.5                                                                                                                                                                                                                                                                                                                                                                epidemiologic studies. For studies that
                                                   Based on its evaluation of study-                                                                                                                                                                                                                                                                                                                                                                                      concentrations (U.S. EPA, 2022b,                                                                                                                                                                                                                                                                                                                                                                    use monitors to estimate PM2.5
ddrumheller on DSK120RN23PROD with RULES3




                                                 reported mean concentrations, the 2022                                                                                                                                                                                                                                                                                                                                                                                   section 3.3.3.2.1). The 2022 PA makes a                                                                                                                                                                                                                                                                                                                                                             exposures, overall mean PM2.5
                                                 PA notes that key epidemiologic studies                                                                                                                                                                                                                                                                                                                                                                                  number of observations with regard to                                                                                                                                                                                                                                                                                                                                                               concentrations range between 9.9 mg/
                                                 conducted in the U.S. or Canada report                                                                                                                                                                                                                                                                                                                                                                                   the study-reported PM2.5 concentrations                                                                                                                                                                                                                                                                                                                                                             m3 82 to 16.5 mg/m3 (Figure 1 above and
                                                 generally positive and statistically                                                                                                                                                                                                                                                                                                                                                                                     in the key U.S. and Canadian
                                                 significant associations between                                                                                                                                                                                                                                                                                                                                                                                         epidemiologic studies.                                                                                                                                                                                                                                                                                                                                                                                82 This is generally consistent with, but slightly
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              below, the lowest study-reported mean PM2.5
                                                 estimated PM2.5 exposures (short- or                                                                                                                                                                                                                                                                                                                                                                                       The 2022 PA first considers the PM2.5                                                                                                                                                                                                                                                                                                                                                             concentration from monitor-based studies available




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              ER06MR24.030</GPH>
                                                 long-term) and mortality or morbidity                                                                                                                                                                                                                                                                                                                                                                                    concentrations from the key U.S.                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Continued
                                            VerDate Sep<11>2014   19:03 Mar 05, 2024                                                                                                                                                               Jkt 262001                                                                                                                                                                  PO 00000                                                                                                            Frm 00045                                           Fmt 4701                                                                               Sfmt 4700                                                                        E:\FR\FM\06MRR3.SGM                                                                                                                             06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024             Page 57 of 217
                                                 16246             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 U.S. EPA, 2022b, Figure 3–8). For key                   25th and 10th percentiles of health data              7.0 mg/m3 to 9.0 mg/m3 (U.S. EPA,
                                                 U.S. epidemiologic studies that use                     or exposure estimates to provide insight              2022b, Figure 3–9). For these studies,
                                                 hybrid model-predicted exposures and                    into the concentrations that comprise                 25th percentiles of health events
                                                 apply aspects of population-weighting,                  the lower quartile of the air quality                 correspond to PM2.5 concentrations at or
                                                 mean PM2.5 concentrations range from                    distributions. In studies that use                    above 6.5 mg/m3 and 10th percentiles of
                                                 9.3 mg/m3 to just above 12.2 mg/m3                      monitors to estimate PM2.5 exposures,                 health events correspond to PM2.5
                                                 (Figure 2 above and U.S. EPA, 2022b,                    25th percentiles of health events                     concentrations at or above 6.4 mg/m3
                                                 Figure 3–14). In studies that average up                correspond to PM2.5 concentrations (i.e.,             (U.S. EPA, 2022b, Figure 3–9). For the
                                                 from the grid cell level to the ZIP code,               averaged over the study period for each               key Canadian epidemiologic studies that
                                                 postal code, or census tract level, mean                study city) at or above 11.5 mg/m3 and                use hybrid model-predicted exposure,
                                                 PM2.5 concentrations range from 9.8 mg/                 10th percentiles of health events                     the mean PM2.5 concentrations are
                                                 m3 to 12.2 mg/m3. The one study that                    correspond to PM2.5 concentrations at or              generally lower than in U.S. model-
                                                 population-weighted the grid cell prior                 above 9.8 mg/m3 (i.e., 25% and 10% of                 based studies (U.S. EPA, 2022b, Figure
                                                 to averaging up to the ZIP code or                      health events, respectively, occur in                 3–10), ranging from approximately 6.0
                                                 census tract level reported mean PM2.5                  study locations with PM2.5                            mg/m3 to just below 10.0 mg/m3 (U.S.
                                                 concentrations of 9.3 mg/m3. Based on                   concentrations below these values)                    EPA, 2022b, Figure 3–11). The majority
                                                 air quality analyses noted above, these                 (Figure 1 above and U.S. EPA, 2022b,                  of the key Canadian epidemiologic
                                                 hybrid modelled epidemiologic studies                   Figure 3–8). Of the key U.S.                          studies that used hybrid modeling were
                                                 are expected to report means similar to                 epidemiologic studies that use hybrid                 completed at the nationwide scale,
                                                 those from monitor-based studies.                       modeling approaches and apply                         while four studies were completed at
                                                   Other key U.S. epidemiologic studies                  population-weighting to estimate long-                the regional geographic spatial scale. In
                                                 that use hybrid modeling approaches                     term PM2.5 exposures, the ambient PM2.5               addition, all the key Canadian
                                                 estimate mean PM2.5 exposure by                         concentrations corresponding to 25th                  epidemiologic studies apply aspects of
                                                 averaging each grid cell across the entire              percentiles of estimated exposures are                population weighting, where all grid
                                                 study area, whether that be the nation                  9.1 mg/m3 (Figure 2 and U.S. EPA,                     cells within a postal code are averaged,
                                                 or a region of the country. These studies               2022b, Figure 3–14). In key U.S.                      individuals are assigned exposure at the
                                                 do not weight the estimated exposure                    epidemiologic studies that use hybrid                 postal code resolution, and study mean
                                                 concentrations based on population                      modeling approaches and apply                         PM2.5 concentrations are based on the
                                                 density or location of health events. As                population-weighting to estimate short-               average of individual exposures. The
                                                 such, the study mean reported in these                  term PM2.5 exposures, the ambient                     majority of studies estimating exposure
                                                 studies may not reflect the exposure                    concentrations corresponding to 25th                  nationwide range between just below
                                                 concentrations used in the                              percentiles of estimated exposures, or                6.0 mg/m3 to 8.0 mg/m3 (U.S. EPA,
                                                 epidemiologic study to assess the                       health events, are 6.7 mg/m3 (Figure 2                2022b, Figure 3–11). One study by
                                                 reported association. As a result, these                and U.S. EPA, 2022b, Figure 3–14). In                 Erickson et al. (2020) presents an
                                                 reported mean concentrations are the                    key U.S. epidemiologic studies that use               analysis related immigrant status and
                                                 most different (and much lower) than                    hybrid modeling approaches and do not                 length of residence in Canada versus
                                                 the means reported in monitor-based                     apply population-weighting to estimate                non-immigrant populations, which
                                                 studies. Due to the methodology                         PM2.5 exposures, the ambient                          accounts for the four highest mean PM2.5
                                                 employed in calculating the study-                      concentrations corresponding to 25th                  concentrations which range between 9.0
                                                 reported means and not necessarily a                    percentiles of estimated exposures, or                mg/m3 and 10.0 mg/m3 (U.S. EPA, 2022b,
                                                 difference in estimates of exposure,                    health events, range from 4.6 to 9.2 mg/              Figure 3–11). The four studies that
                                                 these epidemiologic studies are                         m3 (U.S. EPA, 2022b, Figure 3–14).83 In               estimate exposure at the regional scale
                                                 expected to report some of the lowest                   the key epidemiologic studies that apply              report mean PM2.5 concentrations that
                                                 mean values. For these studies, the                     hybrid modeling approaches with                       range from 7.8 mg/m3 to 9.8 mg/m3 (U.S.
                                                 reported mean PM2.5 concentrations                      population-weighting and with                         EPA, 2022b, Figure 3–11). Three key
                                                 range from 8.1 mg/m3 to 11.9 mg/m3 (U.S.                information available on the 10th                     Canadian epidemiologic studies report
                                                 EPA, 2022b, Figure 3–14). As noted                      percentile of health events, the ambient
                                                                                                                                                               information on the 25th percentile of
                                                 above, for studies that utilize hybrid                  PM2.5 concentration corresponding to
                                                                                                                                                               health events. In these studies, the
                                                 modeling approaches but do not                          that 10th percentile range from 4.7 mg/
                                                                                                                                                               ambient PM2.5 concentration
                                                 incorporate population weighting into                   m3 to 7.3 mg/m3 (Figure 2 and U.S. EPA,
                                                                                                                                                               corresponding to the 25th percentile is
                                                 the reported mean calculation, the                      2022b, Figure 3–14).
                                                                                                           The 2022 PA next considers the PM2.5                approximately 8.0 mg/m3 in two studies,
                                                 associated annual design values would
                                                                                                                                                               and 4.3 mg/m3 in a third study (U.S.
                                                 be expected to be much higher (i.e., 40–                concentrations from the key Canadian
                                                                                                         epidemiologic studies. Generally, the                 EPA, 2022b, Figure 3–11).
                                                 50% higher) than the study-reported
                                                                                                         study-reported mean concentrations in                    In addition to the expanded body of
                                                 means. This larger difference between
                                                                                                         Canadian studies are lower than those                 evidence from the key U.S.
                                                 design values and study-reported mean
                                                                                                         reported in the U.S. studies for both                 epidemiologic studies discussed above,
                                                 concentrations makes it more difficult to
                                                                                                         monitor-based and hybrid model                        there are also a subset of epidemiologic
                                                 consider how these studies can be used
                                                                                                         methods. For the majority of key                      studies that have emerged that further
                                                 to determine the adequacy of the
                                                                                                         Canadian epidemiologic studies that use               inform an understanding of the
                                                 protection afforded by the current or
                                                                                                         monitor-based exposure, mean PM2.5                    relationship between PM2.5 exposure
                                                 potential alternative annual standards
                                                                                                                                                               and health effects, including studies
ddrumheller on DSK120RN23PROD with RULES3




                                                 (U.S. EPA, 2022b, section 3.3.3.2.1).                   concentrations generally ranged from
                                                   In addition to the mean PM2.5                                                                               with the highest exposures excluded
                                                                                                                                                               (restricted analyses), epidemiologic
                                                 concentrations, a subset of the key U.S.                  83 In the one study that reports 25th percentile

                                                                                                         exposure estimates of 4.6 mg/m3 (Shi et al., 2016),   studies that employed statistical
                                                 epidemiologic studies report PM2.5
                                                                                                         the authors report that most deaths occurred at or    approaches that attempt to more
                                                 concentrations corresponding to the                     above the 75th percentile of annual exposure          extensively account for confounders and
                                                                                                         estimates (i.e., 10 mg/m3). The short-term exposure
                                                 in the 2020 PA, which was 10.7 mg/m3 (U.S. EPA,         estimates accounting for most deaths are not
                                                                                                                                                               are more robust to model
                                                 2020a, Figure 3–7).                                     presented in the published study.                     misspecification (i.e., used alternative


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00046   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024                Page 58 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                                   16247

                                                 methods for confounder control),84 and                  exposures when analyses are restricted                the relationship between long- and
                                                 accountability studies (U.S. EPA, 2019a,                to lower PM2.5 concentrations and                     short-term PM2.5 exposure and total
                                                 U.S. EPA, 2021a, U.S. EPA, 2022a).                      indicate that effect estimates are                    mortality. Studies that employ
                                                    Restricted analyses are studies that                 generally greater in magnitude in the                 alternative methods for confounder
                                                 examine health effect associations in                   restricted analyses for long- and short-              control to assess the association
                                                 analyses with the highest exposures                     term PM2.5 exposure compared to the                   between long-term exposure to PM2.5
                                                 excluded, restricting analyses to daily                 main analyses. In two U.S. studies that               and mortality reduce uncertainties
                                                 exposures less than the 24-hour primary                 report mean PM2.5 concentrations in                   related to confounding and provide
                                                 PM2.5 standard and annual exposures                     restricted analyses and that estimate                 additional support for the associations
                                                 less than the annual PM2.5 standard. The                effects associated with long-term                     reported in the broader body of cohort
                                                 2022 PA presents a summary of                           exposure to PM2.5, the effect estimates               studies that examined long-term PM2.5
                                                 restricted analyses evaluated in the 2019               are greater in the restricted analyses                exposure and mortality.
                                                 ISA and ISA Supplement (U.S. EPA,                       than in the main analyses. Di et al.                     Lastly, there is a subset of
                                                 2022b, Table 3–10). The restricted                      (2017a) and Dominici et al. (2019) report             epidemiologic studies that assess
                                                 analyses can be informative in assessing                positive and statistically significant                whether long-term reductions in
                                                 the nature of the association between                   associations in analyses restricted to                ambient PM2.5 concentrations result in
                                                 long-term exposures (e.g., annual                       concentrations less than 12.0 mg/m3 for               corresponding reductions in health
                                                 average concentrations <12.0 mg/m3) or                  all-cause mortality and effect estimates              outcomes. These include studies that
                                                 short-term exposures (e.g., daily                       are greater in the restricted analyses                evaluate the potential for improvements
                                                 concentrations <35 mg/m3) when                          than effect estimates reported in main                in public health, including reductions
                                                 looking only at exposures to lower                      analyses. In addition, both studies                   in mortality rates, increases in life
                                                 concentrations, including whether the                   report mean PM2.5 concentrations of 9.6               expectancy, and reductions in
                                                 association persists in such restricted                 mg/m3. While none of the U.S. studies of              respiratory disease as ambient PM2.5
                                                 analyses compared to the same analyses                  short-term exposure present mean PM2.5                concentrations have declined over time.
                                                 for all exposures, as well as whether the               concentrations for the restricted                     Some of these studies, accountability
                                                 association is stronger, in terms of                    analyses, these studies generally have                studies, provide insight on whether the
                                                 magnitude and precision, than when                      mean 24-hour average PM2.5                            implementation of environmental
                                                 completing the same analysis for all                    concentrations in the main analyses                   policies or air quality interventions
                                                 exposures. While these studies are                      below 12.0 mg/m3, and report increases                result in changes/reductions in air
                                                 useful in supporting the confidence and                 in the effect estimates in the restricted             pollution concentrations and the
                                                 strength of associations at lower                       analyses compared to the main analyses.               corresponding effect on health
                                                 concentrations, these studies also have                 Additionally, in the one Canadian study               outcomes.85 The 2022 PA presents a
                                                 inherent uncertainties and limitations,                 of long-term PM2.5 exposure, Zhang et                 summary of these studies, which are
                                                 including uncertainty in how studies                    al. (2021) conducted analyses where                   assessed in the 2019 ISA and ISA
                                                 exclude concentrations (e.g., are they                  annual PM2.5 concentrations were                      Supplement (U.S. EPA, 2022b, Table 3–
                                                 excluded at the modeled grid cell level,                restricted to concentrations below 10.0               12). These studies lend support for the
                                                 the ZIP code level) and in how                          mg/m3 and 8.8 mg/m3, which presumably                 conclusion that improvements in air
                                                 concentrations in studies that restrict air             have lower mean concentrations than                   quality are associated with
                                                 quality data relate to design values for                the mean of 7.8 mg/m3 reported in the                 improvements in public health.
                                                 the annual and 24-hour standards.                                                                                More specifically, of the
                                                                                                         main analyses, though restricted
                                                                                                                                                               accountability studies that account for
                                                 Further, these studies often do not                     analysis mean PM2.5 concentrations are
                                                                                                                                                               changes in PM2.5 concentrations due to
                                                 report descriptive statistics (e.g., mean               not reported. Effect estimates for non-               a policy or the implementation of an
                                                 PM2.5 concentrations, or concentrations                 accidental mortality are greater in                   intervention and whether there was
                                                 at other percentiles) that allow for                    analyses restricted to PM2.5                          evidence of changes in associations with
                                                 additional consideration of this                        concentrations less than 10.0 mg/m3, but              mortality or cardiovascular effects as a
                                                 information. As such, while these                       less in analyses restricted to <8.8 mg/m3.            result of changes in annual PM2.5
                                                 studies can provide additional                             The second type of studies that have               concentrations, Corrigan et al. (2018),
                                                 supporting evidence for associations at                 recently emerged and further inform the               Henneman et al. (2019) and Sanders et
                                                 lower concentrations, the 2022 PA notes                 consideration of the relationship                     al. (2020a) present analyses with
                                                 that there are also limitations in how to               between PM2.5 exposure and health                     starting PM2.5 concentrations (or
                                                 interpret these studies when evaluating                 effects in the 2022 PA are those that                 concentrations prior to the policy or
                                                 the adequacy of the current or potential                employ alternative methods for                        intervention) below 12.0 mg/m3.
                                                 alternative standards.                                  confounder control. Alternative                       Henneman et al. (2019) explored
                                                    Restricted analyses provide additional               methods for confounder control seek to                changes in modeled PM2.5
                                                 information on the nature of the                        mimic randomized experiments through                  concentrations following the retirement
                                                 association between long- or short-term                 the use of study design and statistical               of coal fired power plants in the U.S.,
                                                    84 As noted in the ISA Supplement (U.S. EPA,
                                                                                                         methods to more extensively account for               and found that reductions from mean
                                                 2022a, p. 1–3): ‘‘In the peer-reviewed literature,
                                                                                                         confounders and are more robust to                    annual PM2.5 concentrations of 10.0 mg/
                                                 these epidemiologic studies are often referred to as    model misspecification. The 2022 PA                   m3 in 2005 to mean annual PM2.5
                                                 alternative methods for confounder control. For the     presents a summary of the studies that                concentrations of 7.2 mg/m3 in 2012
                                                 purposes of this Supplement, this terminology is        employ alternative methods for
ddrumheller on DSK120RN23PROD with RULES3




                                                                                                                                                               from coal-fueled power plants resulted
                                                 not used to prevent confusion with the main
                                                 scientific conclusions (i.e., the causality
                                                                                                         confounder control, and employ a                      in corresponding reductions in the
                                                 determinations) presented within an ISA. In             variety of statistical methods, which are             number of cardiovascular-related
                                                 addition, as is consistent with the weight-of-          evaluated in the 2019 ISA and ISA
                                                 evidence framework used within ISAs and                 Supplement (U.S. EPA, 2022b, Table 3–                   85 Given the nature of these studies, the majority
                                                 discussed in the Preamble to the Integrated Science                                                           tend to focus on time periods in the past during
                                                 Assessments, an individual study on its own cannot
                                                                                                         11). These studies reported consistent                which ambient PM2.5 concentrations were
                                                 inform causality, but instead represents a piece of     results among large study populations                 substantially higher than those measured more
                                                 the overall body of evidence.’’                         across the U.S. and can further inform                recently (e.g., see U.S. EPA, 2022b, Figure 2–16).



                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00047   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024                Page 59 of 217
                                                 16248             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 hospital admissions, including for all                  d. Uncertainties in the Health Effects                  While studies using hybrid modeling
                                                 cardiovascular disease, acute MI, stroke,               Evidence                                              methods have reduced exposure
                                                 heart failure, and ischemic heart disease                  The 2022 PA recognizes that there are              measurement error and uncertainty in
                                                 in those aged 65 and older. Corrigan et                 a number of uncertainties and                         the health effect estimates, these studies
                                                 al. (2018) examined whether there was                   limitations associated with the available             use a variety of approaches to estimate
                                                 a change in the cardiovascular mortality                health effects evidence. Although the                 PM2.5 concentrations and to assign
                                                 rate before (2000–2004) and after (2005–                epidemiologic studies clearly                         exposure to assess the association
                                                 2010) implementation of the first annual                demonstrate associations between long-                between health outcomes and PM2.5
                                                 PM2.5 NAAQS implementation based on                     and short-term PM2.5 exposures and                    exposure. This variability in
                                                 mortality data from the National Center                 health outcomes, several uncertainties                methodology has inherent limitations
                                                 for Health Statistics and reported 1.10                 and limitations in the health effects                 and uncertainties, as described in more
                                                 (95% confidence interval (CI): 0.37,                    evidence remain. Epidemiologic studies                detail in section 2.3.3.1.5 of the 2022
                                                 1.82) fewer cardiovascular deaths per                   evaluating short-term PM2.5 exposure                  PA, and the performance of the
                                                 year per 100,000 people for each 1 mg/                  and health effects have reported                      modeling approaches depends on the
                                                 m3 reduction in annual PM2.5                            heterogeneity in associations between                 availability of monitoring data which
                                                 concentrations. When comparing                          cities and geographic regions within the              varies by location. Factors that likely
                                                 whether counties met the annual PM2.5                   U.S. Heterogeneity in the associations                contribute to poorer model performance
                                                 standard (attainment counties), there                   observed across epidemiologic studies                 often coincide with relatively low
                                                 were 1.96 (95% CI: 0.77, 3.15) fewer                    may be due in part to exposure error                  ambient PM2.5 concentrations, in areas
                                                 cardiovascular deaths for each 1 mg/m3                  related to measurement-related issues,                where predicted exposures are at a
                                                 reduction in annual PM2.5                               the use of central fixed-site monitors to             greater distance to monitors, and under
                                                 concentrations between the two periods                  represent population exposure to PM2.5,               conditions where the reliability and
                                                 for attainment counties, whereas in non-                and a limited understanding of factors                availability of key datasets (e.g., air
                                                 attainment counties (e.g., counties that                including exposure error related to                   quality modeling) are limited. Thus,
                                                 did not meet the annual PM2.5 standard),                measurement-related issues, variability               uncertainty in hybrid model predictions
                                                 there were 0.59 (95% CI: ¥ 0.54, 1.71)                  in PM2.5 composition regionally, and                  becomes an increasingly important
                                                                                                                                                               consideration as lower predicted
                                                 fewer cardiovascular deaths between the                 factors that result in differential
                                                                                                                                                               concentrations are considered.
                                                 two periods. And lastly, Sanders et al.                 exposures (e.g., topography, the built
                                                                                                                                                                 Regardless of whether a study uses
                                                 (2020a) examined whether policy                         environment, housing characteristics,                 monitoring data or a hybrid modeling
                                                 actions (i.e., the first annual PM2.5                   personal activity patterns).                          approach when estimating PM2.5
                                                 NAAQS implementation rule in 2005                       Heterogeneity is expected when the                    exposures, one key limitation that
                                                 for the 1997 annual PM2.5 standard with                 methods or the underlying distribution                persists is associated with the
                                                 a 3-year annual average of 15 mg/m3)                    of covariates vary across studies (U.S.               interpretation of the study-reported
                                                 reduced PM2.5 concentrations and                        EPA, 2019a, p. 6–221). Studies assessed               mean PM2.5 concentrations and how
                                                 mortality rates in Medicare beneficiaries               in the 2019 ISA and ISA Supplement                    they compare to design values, the
                                                 between 2000–2013. They report                          have advanced the state of exposure                   metric that describes the air quality
                                                 evidence of changes in associations with                science by presenting innovative                      status of a given area relative to the
                                                 mortality (a decreased mortality rate of                methodologies to estimate PM exposure,                NAAQS.86 As discussed above in
                                                 ∼0.5 per 1,000 in attainment and non-                   detailing new and existing measurement                section II.B.3.b, the overall mean PM2.5
                                                 attainment areas) due to changes in                     and modeling methods, and further                     concentrations reported by key
                                                 annual PM2.5 concentrations in both                     informing our understanding of the                    epidemiologic studies reflect averaging
                                                 attainment and non-attainment areas.                    influence of exposure measurement                     of short- or long-term PM2.5 exposure
                                                 Additionally, attainment areas had                      error due to exposure estimation                      estimates across location (i.e., across
                                                 starting concentrations below 12.0 mg/                  methods on the associations between                   multiple monitors or across modeled
                                                 m3 prior to implementation of the                       PM2.5 and health effects reported in                  grid cells) and over time (i.e., over
                                                 annual PM2.5 NAAQS in 2005. In                          epidemiologic studies (U.S. EPA, 2019a,               several years). For monitor-based
                                                 addition, following implementation of                   section 1.2.2; U.S. EPA, 2022a). Data                 studies, the comparison is somewhat
                                                 the annual PM2.5 NAAQS, annual PM2.5                    from PM2.5 monitors continue to be                    more straightforward than for studies
                                                 concentrations decreased by 1.59 mg/m3                  commonly used in health studies as a                  that use hybrid modeling methods, as
                                                 (95% CI: 1.39, 1.80) which                              surrogate for PM2.5 exposure, and often               the monitors used to estimate exposure
                                                 corresponded to a reduction in mortality                provide a reasonable representation of                in the epidemiologic studies are
                                                 rates among individuals 65 years and                    exposures throughout a study area (U.S.               generally the same monitors that are
                                                 older (0.93% [95% CI: 0.10%, 1.77%])                    EPA, 2019a, section 3.4.2.2; U.S. EPA,                used to calculate design values for a
                                                 in non-attainment counties relative to                  2022a, section 3.2.2.2.2). However, an                given area. It is expected that areas
                                                 attainment counties. In a life expectancy               increasing number of studies employ                   meeting a PM2.5 standard with a
                                                 study, Bennett et al. (2019) reports                    hybrid modeling methods to estimate                   particular level would be expected to
                                                 increases in life expectancy in all but 14              PM2.5 exposure using data from several                have average PM2.5 concentrations (i.e.,
                                                 counties (1325 of 1339 counties) that                   sources, often including satellites and               averaged across space and over time in
                                                 have exhibited reductions in PM2.5                      models, in addition to ground-based                   the area) somewhat below that standard
                                                 concentrations from 1999 to 2015. These                 monitors. These hybrid models typically               level., but the difference between the
ddrumheller on DSK120RN23PROD with RULES3




                                                 studies provide support for                             have good cross-validation, especially                maximum annual design value and
                                                 improvements in public health                           for PM2.5, and have the potential to
                                                 following the implementation of                         reduce exposure measurement error and                   86 For the annual PM
                                                                                                                                                                                       2.5 standard, design values
                                                 policies, including in areas with PM2.5                 uncertainty in the health effect                      are calculated as the annual arithmetic mean PM2.5
                                                 concentrations below the level of the                   estimates from epidemiologic models of                concentration, averaged over 3 years. For the 24-
                                                                                                                                                               hour standard, design values are calculated as the
                                                 current annual standard, as well as                     long-term exposure (U.S. EPA, 2019a,                  98th percentile of the annual distribution of 24-
                                                 increases in life expectancy in areas                   section 3.5; U.S. EPA, 2022a, section                 hour PM2.5 concentrations, averaged over three
                                                 with reductions in PM2.5 concentrations.                2.3.3).                                               years (Appendix N of 40 CFR part 50).



                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00048   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024             Page 60 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                        16249

                                                 average concentration in an area can be                 EPA, 2019a, section 1.5.1; U.S. EPA,                  animal toxicological studies). With
                                                 smaller or larger than analyses                         2022a, section 2.2.1).                                respect to controlled human exposure
                                                 presented above in section I.D.5.a, likely                 Another area of uncertainty is                     studies, the PA recognizes that these
                                                 depending on factors such as the                        associated with other potential                       studies include a small number of
                                                 number of monitors, monitor siting                      confounders, beyond copollutants.                     individuals compared to epidemiologic
                                                 characteristics, and the distribution of                Some studies have expanded the                        studies. Additionally, these studies tend
                                                 ambient PM2.5 concentrations. For                       examination of potential confounders to               to include generally healthy adult
                                                 studies that use hybrid modeling                        not only include copollutants, but also               individuals, who are at a lower risk of
                                                 methods to estimate PM2.5                               systematic evaluations of the potential               experiencing health effects. These
                                                 concentrations, the comparison between                  impact of inadequate control from long-               studies, therefore, often do not include
                                                 study-reported mean PM2.5                               term temporal trends and weather (U.S.                populations that are at increased risk of
                                                 concentrations and design values is                     EPA, 2019a, section 11.1.5.1). Analyses               PM2.5-related health effects, including
                                                 more complicated given the variability                  examining these covariates further                    children, older adults, or individuals
                                                 in the modeling methods, temporal                       confirm that the relationship between                 with pre-existing conditions. As such,
                                                 scales (i.e., daily versus annual), and                 PM2.5 exposure and mortality is unlikely              these studies are somewhat limited in
                                                 spatial scales (i.e., nationwide versus                 to be biased by these factors. Other                  their ability to inform at what
                                                 urban) across studies. Analyses above in                studies have explored the use of                      concentrations effects may be elicited in
                                                 section I.D.5.b and detailed more in the                alternative methods for confounder                    at-risk populations. With respect to
                                                 2022 PA (U.S. EPA, 2022b, section                       control to more extensively account for               animal toxicological studies, while
                                                 2.3.3.2.4) present a comparison between                 confounders and are more robust to                    these studies often examine more severe
                                                 two hybrid modeling surfaces, which                     model misspecification that can further               health outcomes and longer exposure
                                                 explored the impact of these factors on                 inform the causality determination for                durations and higher exposure
                                                 the resulting mean PM2.5 concentrations                 long-term and short-term PM2.5 and                    concentrations than controlled human
                                                 and provided additional information                     mortality and cardiovascular effects                  exposure studies, there is uncertainty in
                                                 about the relationship between mean                     (U.S. EPA, 2019a, section 11.2.2.4; U.S.              extrapolating the effects seen in
                                                 concentrations from studies using                       EPA, 2022a, sections 3.1.1.3, 3.1.2.3,                animals, and the PM2.5 exposures and
                                                 hybrid modeling methods and design                      3.2.1.2, and 3.2.2.3). These studies                  doses that cause those effects, to human
                                                 values. However, the results of those                   indicate that bias from unmeasured                    populations.
                                                 analyses only reflect two surfaces and                  confounders can occur in either                          Consideration of health effects are
                                                 two types of approaches, so uncertainty                 direction, although controlling for these             informed by the epidemiologic,
                                                 remains in understanding the                            confounders did not result in the                     controlled human exposure, and animal
                                                 relationship between estimated modeled                  elimination of the association, but                   toxicological studies. The evaluation
                                                 PM2.5 concentrations and design values                  instead provided additional support for               and integration of the scientific
                                                 more broadly across hybrid modeling                     associations between long-term PM2.5                  evidence in the ISA focuses on
                                                 studies. Moreover, this analysis was                    exposure and mortality when                           evaluating the findings from the body of
                                                 completed using two hybrid modeling                     accounting for additional confounders                 evidence across disciplines, including
                                                 methods that estimate PM2.5                             (U.S. EPA, 2022a, section 3.2.2.2.6).                 evaluating the strengths and weaknesses
                                                                                                            Another important limitation                       in the overall collection of studies
                                                 concentrations in the U.S., thus an
                                                                                                         associated with the evidence is that,                 across disciplines. Integrating evidence
                                                 additional uncertainty includes
                                                                                                         while epidemiologic studies indicate                  across disciplines can strengthen causal
                                                 understanding the relationship between
                                                                                                         associations between PM2.5 and health                 inference, such that a weak inference
                                                 modeled PM2.5 concentrations and
                                                                                                         effects, the currently available evidence             from one line of evidence can be
                                                 design values reported in Canada.                       does not identify particular PM2.5                    addressed by other lines of evidence,
                                                    In addition, where PM2.5 and other                   concentrations that do not elicit health              and coherence of these lines of evidence
                                                 pollutants (e.g., ozone, nitrogen dioxide,              effects. Rather, health effects can occur             can add support to a cause-effect
                                                 and carbon monoxide) are correlated, it                 over the entire distribution of ambient               interpretation of the association.
                                                 can be difficult to distinguish whether                 PM2.5 concentrations evaluated, and                   Evaluation and integration of the
                                                 attenuation of effects in some studies                  epidemiologic studies conducted to date               evidence also includes consideration of
                                                 results from copollutant confounding or                 do not identify a population-level                    uncertainties that are inherent in the
                                                 collinearity with other pollutants in the               threshold below which it can be                       scientific findings (U.S. EPA, 2015, pp.
                                                 ambient mixture (U.S. EPA, 2019a,                       concluded with confidence that PM2.5-                 13–15), some of which are described
                                                 section 1.5.1; U.S. EPA, 2022a, section                 related effects do not occur.                         above.
                                                 2.2.1). Studies evaluated in the 2019                      Overall, evidence assessed in the 2019
                                                 ISA and ISA Supplement further                          ISA and ISA Supplement continues to                   3. Summary of Exposure and Risk
                                                 examined the potential confounding                      indicate a linear, no-threshold C–R                   Estimates
                                                 effects of both gaseous and particulate                 relationship for PM2.5 concentrations >8                 Beyond the consideration of the
                                                 copollutants on the relationship                        mg/m3. However, uncertainties remain                  scientific evidence, discussed above in
                                                 between long- and short-term PM2.5                      about the shape of the C–R curve at                   section II.B, the EPA also considers the
                                                 exposure and health effects. As noted in                PM2.5 concentrations <8 mg/m3, with                   extent to which new or updated
                                                 the Appendix to the 2019 ISA (U.S.                      some recent studies providing evidence                quantitative analyses of PM2.5 air
                                                 EPA, 2019a, Table A–1), copollutant                     for either a sublinear, linear, or                    quality, exposure, or health risks could
ddrumheller on DSK120RN23PROD with RULES3




                                                 models are not without their limitations,               supralinear relationship at these lower               inform conclusions on the adequacy of
                                                 such as instances for which correlations                concentrations (U.S. EPA, 2019a,                      the public health protection provided by
                                                 are high between pollutants resulting in                section 11.2.4; U.S. EPA, 2022a, section              the current primary PM2.5 standards.
                                                 greater copollutant confounding bias in                 2.2.3.2).                                             Additionally, the 2022 PA includes an
                                                 results. However, the studies continue                     There are also a number of                         at-risk analysis that assesses PM2.5-
                                                 to provide evidence indicating that                     uncertainties and limitations associated              attributable risk associated with PM2.5
                                                 associations with PM2.5 are relatively                  with the experimental evidence (i.e.,                 air quality that has been adjusted to
                                                 unchanged in copollutants models (U.S.                  controlled human exposure studies and                 simulate air quality scenarios of policy


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00049   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024             Page 61 of 217
                                                 16250             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 interest (e.g., ‘‘just meeting’’ the current            areas controlled by the annual standard                   In addition to the overall risk
                                                 or potential alternative standards).                    linear interpolation and extrapolation                 assessment, the 2022 PA also includes
                                                 Drawing on the summary in section II.C                  were employed to simulate just meeting                 an at-risk analysis and estimates
                                                 of the proposal, the sections below                     alternative annual standards with levels               exposures and health risks of specific
                                                 provide a brief overview of key aspects                 of 11.0 (interpolated between 12.0 and                 populations identified as at-risk that
                                                 of the assessment design (II.A.3.a), key                10.0 mg/m3), 9.0 mg/m3, and 8.0 mg/m3                  would be allowed under the current and
                                                 limitations and uncertainties (II.A.3.b),               (both extrapolated from 12.0 and 10.0                  potential alternative standards to further
                                                 and exposure/risk estimates (II.A.3.c).                 mg/m3) (U.S. EPA, 2022b, section                       inform the Administrator’s conclusions
                                                                                                         3.4.1.3). The 2022 PA notes that there is              regarding the adequacy of the public
                                                 a. Key Design Aspects
                                                                                                         greater uncertainty regarding whether a                health protection provided by the
                                                    Risk assessments combine data from                   revised 24-hour standard (i.e., with a                 current primary PM2.5 standards. In so
                                                 multiple sources and involve various                    lower level) is needed to further limit                doing, the 2022 PA evaluates exposure
                                                 assumptions and uncertainties. Input                    ‘‘peak’’ PM2.5 concentration exposure                  and PM2.5 mortality risk for older adults
                                                 data for these analyses includes C–R                    and whether a lower 24-hour standard                   (e.g., 65 years and older), stratified for
                                                 functions from epidemiologic studies                    level would most effectively reduce                    White, Black, Asian, Native American,
                                                 for each health outcome and ambient                     PM2.5-associated health risks associated               Non-Hispanic, and Hispanic individuals
                                                 annual or 24-hour PM2.5 concentrations                  with ‘‘typical’’ daily exposures. The risk             residing in the same study areas
                                                 for the study areas utilized in the risk                assessment estimates health risks                      included in the overall risk assessment.
                                                 assessment (U.S. EPA, 2022b, section                    associated with air quality adjusted to                This analysis utilizes a recent
                                                 3.4.1). Additionally, quantitative and                  meet a revised 24-hour standard with a                 epidemiologic study that provides race-
                                                 qualitative methods were used to                        level of 30 mg/m3, in conjunction with                 and ethnicity-specific risk coefficients
                                                 characterize variability and uncertainty                estimating the health risks associated                 (Di et al., 2017b).
                                                 in the risk estimates (U.S. EPA, 2022b,                 with meeting a revised annual standard
                                                 section 3.4.1.7).                                                                                              b. Key Limitations and Uncertainties
                                                                                                         with a level of 10.0 mg/m3 (U.S. EPA,
                                                    Concentration-response functions                     2022b, section 3.4.1.3). More details on                  Uncertainty in risk estimates (e.g., in
                                                 used in the risk assessment are from                    the air quality adjustment approaches                  the size of risk estimates) can result
                                                 large, multicity U.S. epidemiologic                     used in the risk assessment are                        from a number of factors, including the
                                                 studies that evaluate the relationship                  described in section 3.4.1.4 and                       assumptions about the shape of the C–
                                                 between PM2.5 exposures and mortality.                  Appendix C of the 2022 PA (U.S. EPA,                   R function with mortality at low
                                                 Epidemiologic studies and                               2022b).                                                ambient PM concentrations, the
                                                 concentration-response studies that                        When selecting U.S. study areas for                 potential for confounding and/or
                                                 were used in the risk assessment to                     inclusion in the risk assessment, the                  exposure measurement error in the
                                                 estimate risk were identified using                     available ambient monitors, geographic                 underlying epidemiologic studies, and
                                                 criteria that take into account factors                 diversity, and ambient PM2.5 air quality               the methods used to adjust PM2.5 air
                                                 such as study design, geographic                        concentrations were taken into                         quality. More specifically, the use of air
                                                 coverage, demographic populations, and                  consideration (U.S. EPA, 2022b, section                quality modeling to adjust PM2.5
                                                 health endpoints (U.S. EPA, 2022b,                      3.4.1.4). When these factors were                      concentrations are limited as they rely
                                                 section 3.4.1.1).87 The risk assessment                 applied, 47 urban study areas were                     on model predictions, are based on
                                                 focuses on all-cause or nonaccidental                   identified, which include nearly 60                    emission changes scaled by fixed
                                                 mortality associated with long-term and                 million people aged 30–99, or                          percentages, and use only two of the full
                                                 short-term PM2.5 exposures, for which                   approximately 30% of the U.S                           set of possible emission scenarios and
                                                 the 2019 ISA concluded that the                         population in this age range (U.S. EPA,                linear interpolation/extrapolation to
                                                 evidence provides support for a ‘‘causal                2022b, section 3.4.1.5, Appendix C,                    adjust air quality that may not fully
                                                 relationship’’ (U.S. EPA, 2022b, section                section C.1.3). Of the 47 study areas,                 capture potential non-linearities
                                                 3.4.1.2).88                                             there were 30 study areas where just                   associated with real-world changes in
                                                    As described in more detail in the                   meeting the current standards is                       air quality. Additionally, the selection
                                                 2022 PA, the risk assessment first                      controlled by the annual standard,89 11                of case study areas is limited to urban
                                                 estimated health risks associated with                  study areas where just meeting the                     areas predominantly located CA and in
                                                 air quality for 2015 adjusted to simulate               current standards is controlled by the                 the Eastern U.S. that are controlled by
                                                 ‘‘just meeting’’ the current primary                    daily standard,90 and 6 study areas                    the annual standard. While the risk
                                                 PM2.5 standards (i.e., the annual                       where the controlling standard differed                assessment does not report quantitative
                                                 standard with its level of 12.0 mg/m3                   depending on the air quality adjustment                uncertainty in the risk estimates as
                                                 and the 24-hour standard with its level                 approach (U.S. EPA, 2022b, section                     exposure concentrations are reduced, it
                                                 of 35 mg/m3). Air quality modeling was                  3.4.1.5).91                                            does provide information on the
                                                 then used to simulate air quality just                                                                         distribution of concentrations associated
                                                 meeting an alternative standard with a                     89 For these areas, the annual standard is the      with the risk estimates when evaluating
                                                 level of 10.0 mg/m3 (annual) and 30 mg/                 ‘‘controlling standard’’ because when air quality is   progressively lower alternative annual
                                                 m3 (24-hour). In addition to the model-                 adjusted to simulate just meeting the current or       standards. Based on these data, as lower
                                                                                                         potential alternative annual standards, that air
                                                 based approach, for the subset of 30                    quality also would meet the 24-hour standard being     alternative annual standards are
                                                                                                         evaluated.                                             evaluated, larger proportions of the
                                                   87 Additional detail regarding the selection of          90 For these areas, the 24-hour standard is the
                                                                                                                                                                distributions in risk occur at or below
                                                 epidemiologic studies and specification of C–R          controlling standard because when air quality is
ddrumheller on DSK120RN23PROD with RULES3




                                                                                                                                                                10 mg/m3 (at concentrations below or
                                                 functions is provided in the 2022 PA (U.S. EPA,         adjusted to simulate just meeting the current or
                                                 2022b, Appendix C, section C.1.1).                      potential alternative 24-hour standards, that air      near most of the study-reported means
                                                   88 While the 2019 ISA also found that evidence        quality also would meet the annual standard being      from the key U.S. epidemiologic
                                                 supports the determination of a ‘‘causal                evaluated. Some areas classified as being controlled   studies) and at or below 8 mg/m3 (the
                                                 relationship’’ between long- and short-term PM2.5       by the 24-hour standard also violate the annual        concentration at which the ISA reports
                                                 exposures and cardiovascular effects,                   standard.
                                                 cardiovascular mortality was not included as a             91 In these 6 areas, the controlling standard       increasing uncertainty in the shape of
                                                 health outcome as it will be captured in the            depended on the air quality adjustment method          the C–R curve based on the body of
                                                 estimates of all-cause mortality.                       used and/or the standard scenarios evaluated.          epidemiologic evidence).


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00050   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024             Page 62 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                         16251

                                                    Similarly, the at-risk analysis is also              included in the risk assessment (U.S.                 CAA related to the review of the
                                                 subject to many of these same                           EPA, 2022b, section 3.4.2.4).                         NAAQS and with how the EPA and the
                                                 uncertainties noted above. Additionally,                  Revising the level of the 24-hour                   courts have historically interpreted the
                                                 the at-risk analysis included C–R                       standard to 30 mg/m3 is estimated to                  CAA. As discussed in section I.A above,
                                                 functions from only one study (Di et al.,               lower PM2.5-associated risks across a                 these provisions require the
                                                 2017b), which reported associations                     more limited population and number of                 Administrator to establish primary
                                                 between long-term PM2.5 exposures and                   areas than revising the annual standard               standards that, in the Administrator’s
                                                 mortality, stratified by race/ethnicity, in             (U.S. EPA, 2022, section 3.4.2.4). Risk               judgment, are requisite (i.e., neither
                                                 populations age 65 and older, as                        reduction predictions are largely                     more nor less stringent than necessary)
                                                 opposed to the multiple studies used in                 confined to areas located in the western              to protect public health with an
                                                 the overall risk assessment to convey                   U.S., several of which are also likely to             adequate margin of safety. Consistent
                                                 risk estimate variability. These and                    experience risk reductions upon                       with the Agency’s approach across all
                                                 other sources of uncertainty in the                     meeting a revised annual standard. In                 NAAQS reviews, the EPA’s approach to
                                                 overall risk assessment and the at-risk                 the 11 areas controlled by the 24-hour                informing these judgments is based on
                                                 analyses are characterized in more                      standard, when air quality is simulated               a recognition that the available health
                                                 depth in the 2022 PA (U.S. EPA, 2022b,                  to just meet the current 24-hour                      effects evidence generally reflects a
                                                 section 3.4.1.7, section 3.4.1.8,                       standard, PM2.5 exposures are estimated               continuum that includes ambient air
                                                 Appendix C, section C.3).                               to be associated with as many as 2,570                exposures for which scientists generally
                                                                                                         deaths annual. Compared to just                       agree that health effects are likely to
                                                 c. Summary of Risk Estimates                            meeting the current standard, air quality             occur through lower levels at which the
                                                    Although limitations in the                          just meeting an alternative 24-hour                   likelihood and magnitude of response
                                                 underlying data and approaches lead to                  standard level of 30 mg/m3 is associated              become increasingly uncertain. The
                                                 some uncertainty regarding estimates of                 with reductions in estimated risk of 9–               CAA does not require the Administrator
                                                 PM2.5-associated risk, the risk                         13% (U.S. EPA, 2022b, section 3.4.2.3).               to establish a primary standard at a zero-
                                                 assessment estimates that the current                                                                         risk level or at background
                                                 primary PM2.5 standards could allow a                   B. Conclusions on the Primary PM2.5
                                                                                                         Standards                                             concentration levels, but rather at a
                                                 substantial number of PM2.5-associated                                                                        level that reduces risk sufficiently so as
                                                 deaths in the U.S. For example, when                       In drawing conclusions on the                      to protect public health, including the
                                                 air quality in the 47 study areas is                    adequacy of the current primary PM2.5                 health of sensitive groups, with an
                                                 adjusted to simulate just meeting the                   standards, in view of the advances in                 adequate margin of safety.
                                                 current standards, the risk assessment                  scientific knowledge and additional                      The decisions on the adequacy of the
                                                 estimates up to 45,100 deaths in 2015                   information now available, the                        current primary PM2.5 standards
                                                 are attributable to long-term PM2.5                     Administrator has considered the                      described below is a public health
                                                 exposures associated with just meeting                  evidence base, information, and policy                policy judgment by the Administrator
                                                 the current annual and 24-hour PM2.5                    judgments that were the foundation of                 that draws on the scientific evidence for
                                                 standards (U.S. EPA, 2022b, section                     the 2012 and 2020 reviews and reflects                health effects, quantitative analyses of
                                                 3.4.2.1). Additionally, as described in                 upon the body of evidence and                         population exposures and/or health
                                                 more detail in the 2022 PA, the at-risk                 information newly available in this                   risks, and judgments about how to
                                                 analysis suggests that a lower annual                   reconsideration. In so doing, the                     consider the uncertainties and
                                                 standard level (i.e., below 12 mg/m3 and                Administrator has taken into account                  limitations that are inherent in the
                                                 down as low as 8 mg/m3) will help to                    both evidence-based and risk-based                    scientific evidence and quantitative
                                                 reduce PM2.5 exposure and may also                      considerations, as well as advice from                analyses. The four basic elements of the
                                                 help to mitigate exposure and risk                      the CASAC and public comments.                        NAAQS (i.e., indicator, averaging time,
                                                 disparities in populations identified as                Evidence-based considerations draw                    form, and level) have been considered
                                                 particularly at-risk for adverse effects                upon the EPA’s integrated assessment of               collectively in evaluating the public
                                                 from PM exposures (i.e., minority                       the scientific evidence of health effects             health protection afforded by the
                                                 populations).                                           related to PM2.5 exposure presented in                current standards.
                                                    Compared to the current annual                       the 2019 ISA and ISA Supplement                          Section II.B.2 below briefly
                                                 standard, meeting a revised annual                      (summarized in the proposal in sections               summarizes the basis for the
                                                 standard with a lower level is estimated                II.B (88 FR 5580, January 27, 2023) and               Administrator’s proposed decision,
                                                 to reduce PM2.5-associated health risks                 II.D.2.a (88 FR 5609, January 27, 2023),              drawing from section II.D.3 of the
                                                 in the 30 study areas controlled by the                 and also in section II.A.2 above) to                  proposal (88 FR 5617, January 27, 2023).
                                                 annual standard by about 7–9% for a                     address key policy-relevant questions in              The advice and recommendations of the
                                                 level of 11.0 mg/m3, 15–19% for a level                 the reconsideration. Similarly, the risk-             CASAC and public comments on the
                                                 of 10.0 mg/m3, 22–28% for a level of 9.0                based considerations draw upon the                    proposed decision are addressed below
                                                 mg/m3, and 30–37% for a level of 8.0 mg/                assessment of population exposure and                 in sections II.B.1 and II.B.3,
                                                 m3) (U.S. EPA, 2022b, Table 3–17).                      risk (summarized in the proposal in                   respectively. The Administrator’s final
                                                 Meeting a revised annual standard with                  sections II.C (88 FR 5605, January 27,                conclusions in this reconsideration
                                                 a lower level may also help to mitigate                 2023) and II.D.2.b (88 FR 5614, January               regarding the adequacy of the current
                                                 exposure and risk disparities in                        27, 2023), and also in section II.A.3                 primary PM2.5 standards and whether
                                                 populations identified as particularly at-              above) in addressing policy-relevant                  any revisions are appropriate are
                                                 risk for adverse effects from PM
ddrumheller on DSK120RN23PROD with RULES3




                                                                                                         questions focused on the potential for                described in section II.B.4.
                                                 exposures (i.e., minority populations) in               PM2.5 exposures associated with
                                                 simulated scenarios just meeting                        mortality under air quality conditions                1. CASAC Advice
                                                 alternative annual standards. However,                  just meeting the current and potential                   As part of its review of the 2019 draft
                                                 though reduced, disparities by race and                 alternative standards.                                PA, the CASAC provided advice on the
                                                 ethnicity persist even at an alternative                   The approach to reviewing the                      adequacy of the public health protection
                                                 annual standard level of 8 mg/m3, the                   primary standards is consistent with                  afforded by the current primary PM2.5
                                                 lowest alternative annual standard                      requirements of the provisions of the                 standards. Its advice is documented in


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00051   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024             Page 63 of 217
                                                 16252             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 a letter sent to the EPA Administrator                  ‘‘while the data on associations should               conclusion noted that the body of health
                                                 (Cox, 2019b). In this letter, the                       certainly be carefully considered, this               evidence for PM2.5 not only includes the
                                                 committee recommended retaining the                     data should not be interpreted more                   repeated demonstration of associations
                                                 current 24-hour PM2.5 standard but did                  strongly than warranted based on its                  in epidemiologic studies, but also
                                                 not reach consensus on whether the                      methodological limitations’’ (Cox,                    includes support for biological
                                                 scientific and technical information                    2019b, p. 8 of consensus responses).                  plausibility established by controlled
                                                 support retaining or revising the current                  These members of the CASAC further                 human exposure and animal toxicology
                                                 annual standard. In particular, though                  concluded that the quantitative risk                  studies. They pointed to recent studies
                                                 the CASAC agreed that there is a long-                  assessment included in the 2019 draft                 demonstrating that the associations
                                                 standing body of health evidence                        PA does not provide a valid basis for                 between PM2.5 and health effects occur
                                                 supporting relationships between PM2.5                  revising the current standards. This                  in a diversity of locations, in different
                                                 exposures and various health outcomes,                  conclusion was based on concerns that                 time periods, with different
                                                 including mortality and serious                         (1) ‘‘the risk assessment treats regression           populations, and using different
                                                 morbidity effects, individual CASAC                     coefficients as causal coefficients with              exposure estimation and statistical
                                                 members ‘‘differ[ed] in their                           no justification or validation provided               methods. They concluded that ‘‘the
                                                 assessments of the causal and policy                    for this decision;’’ (2) the estimated                entire body of evidence for PM health
                                                 significance of these associations’’ (Cox,              regression concentration-response                     effects justifies the causality
                                                 2019b, p. 8 of consensus responses).                    functions ‘‘have not been adequately                  determinations made in the Draft PM
                                                 Drawing from this evidence, ‘‘some                      adjusted to correct for confounding,                  ISA’’ (Cox, 2019b, p. 8 of consensus
                                                 CASAC members’’ expressed support                       errors in exposure estimates and other                responses).
                                                 for retaining the current annual                        covariates, model uncertainty, and                       The members of the CASAC who
                                                 standard while ‘‘other members’’                        heterogeneity in individual biological                supported revising the current annual
                                                 expressed support for revising that                     (causal) [concentration-response]                     standard particularly emphasized recent
                                                 standard in order to increase public                    functions;’’ (3) the estimated                        findings of associations with PM2.5 in
                                                 health protection (Cox, 2019b, p.1 of                   concentration-response functions ‘‘do                 areas with average long-term PM2.5
                                                 letter). These views are summarized                     not contain quantitative uncertainty                  concentrations below the level of the
                                                 below.                                                  bands that reflect model uncertainty or               annual standard and studies that show
                                                                                                         effects of exposure and covariate                     positive associations even when
                                                    The CASAC members who supported
                                                                                                         estimation errors;’’ and (4) ‘‘no                     estimated exposures above 12 mg/m3 are
                                                 retaining the current annual standard                   regression diagnostics are provided                   excluded from analyses. They found it
                                                 expressed the view that substantial                     justifying the use of proportional                    ‘‘highly unlikely’’ that the extensive
                                                 uncertainty remains in the evidence for                 hazards . . . and other modeling                      body of evidence indicating positive
                                                 associations between PM2.5 exposures                    assumptions’’ (Cox, 2019b, p. 9 of                    associations at low estimated exposures
                                                 and mortality or serious morbidity                      consensus responses). These committee                 could be fully explained by
                                                 effects. These committee members                        members also contended that details                   confounding or by other non-causal
                                                 asserted that ‘‘such associations can                   regarding the derivation of                           explanations (Cox, 2019b, p. 8 of
                                                 reasonably be explained in light of                     concentration-response functions,                     consensus responses). They additionally
                                                 uncontrolled confounding and other                      including specification of the beta                   concluded that ‘‘the risk
                                                 potential sources of error and bias’’                   values and functional forms, were not                 characterization does provide a useful
                                                 (Cox, 2019b, p. 8 of consensus                          well-documented, hampering the ability                attempt to understand the potential
                                                 responses). They noted that associations                of readers to evaluate these design                   impacts of alternate standards on public
                                                 do not necessarily reflect causal effects,              details. Thus, these members ‘‘think that             health risks’’ (Cox, 2019b, p. 11 of
                                                 and they contended that recent                          the risk characterization does not                    consensus responses). These CASAC
                                                 epidemiologic studies assessed in the                   provide useful information about                      members concluded that the available
                                                 2019 ISA that report positive                           whether the current standard is                       evidence reasonably calls into question
                                                 associations at lower estimated                         protective’’ (Cox, 2019b, p. 11 of                    the protection provided by the current
                                                 exposure concentrations mainly confirm                  consensus responses).                                 primary PM2.5 standards and supports
                                                 what was anticipated or already                            Drawing from their evaluation of the               revising the annual standard to increase
                                                 assumed in setting the 2012 NAAQS. In                   evidence and the risk assessment in the               that protection (Cox, 2019b).
                                                 particular, they concluded that such                    2019 draft PA, these committee                           As a part of this reconsideration, the
                                                 studies have some of the same                           members concluded that ‘‘the Draft PM                 CASAC reviewed the 2021 draft PA
                                                 limitations as prior studies and do not                 PA does not establish that new scientific             (developed to support the
                                                 provide new information calling into                    evidence and data reasonably call into                reconsideration as described in section
                                                 question the existing standard. They                    question the public health protection                 I.C.5 above). As a part of their review of
                                                 further asserted that ‘‘accountability                  afforded by the . . . 2012 PM2.5 annual               the 2021 draft PA, the CASAC provided
                                                 studies provide potentially crucial                     standard’’ (Cox, 2019b, p.1 of letter).               advice on the adequacy of the current
                                                 information about whether and how                          In contrast, ‘‘[o]ther members of                  primary PM2.5 standards. The range of
                                                 much decreasing PM2.5 causes decreases                  CASAC conclude[d] that the weight of                  views summarized here generally
                                                 in future health effects’’ (Cox, 2019b, p.              the evidence, particularly reflecting                 reflects differing judgments as to the
                                                 10 of consensus responses), and they                    recent epidemiology studies showing                   relative weight to place on various types
                                                 cited recent reviews (i.e., Henneman et                 positive associations between PM2.5 and               of evidence, the risk-based information,
ddrumheller on DSK120RN23PROD with RULES3




                                                 al., 2017; Burns et al., 2019) to support               health effects at estimated annual                    and the associated uncertainties, as well
                                                 their position that in such studies,                    average PM2.5 concentrations below the                as differing judgments about the
                                                 ‘‘reductions of PM2.5 concentrations                    current standard, does reasonably call                importance of various PM2.5-related
                                                 have not clearly reduced mortality                      into question the adequacy of the 2012                health effects from a public health
                                                 risks’’ (Cox, 2019b, p. 8 of consensus                  annual PM2.5 [standard] to protect                    perspective.
                                                 responses). Thus, the committee                         public health with an adequate margin                    In its comments on the 2021 draft PA,
                                                 members who supported retaining the                     of safety’’ (Cox, 2019b, p.1 of letter). The          the CASAC stated that: ‘‘[o]verall the
                                                 current annual standard advise that,                    committee members who supported this                  CASAC finds the Draft PA to be well-


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00052   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024             Page 64 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                         16253

                                                 written and appropriate for helping to                  PM2.5 exposure and mortality with                     the CASAC members agreed with ‘‘the
                                                 ‘bridge the gap’ between the agency’s                   study-reported mean concentrations                    EPA’s preliminary conclusion [in the
                                                 scientific assessments and quantitative                 below 10 mg/m3. Further, these members                draft PA] to retain the current 24-hour
                                                 technical analyses, and the judgments                   also noted that the lower portions of the             PM2.5 standard without revision’’
                                                 required of the Administrator in                        air quality distribution (i.e.,                       (Sheppard, 2022a, p. 4 of consensus
                                                 determining whether it is appropriate to                concentrations below the mean) provide                letter). The CASAC recommended that
                                                 retain or revise the National Ambient                   additional information to support                     in future reviews, the EPA should also
                                                 Air Quality Standards (NAAQS)’’                         associations between health effects and               consider alternative forms for the
                                                 (Sheppard, 2022a, p. 1 of consensus                     PM2.5 concentrations lower than the                   primary 24-hour PM2.5 standard.
                                                 letter). The CASAC also stated that the                 reported long-term mean concentration.                Specifically, the CASAC ‘‘suggests
                                                 ‘‘[d]raft PA adequately captures and                    In addition, the CASAC members                        considering a rolling 24-hour average
                                                 appropriately characterizes the key                     recognized that the available evidence                and examining alternatives to the 98th
                                                 aspects of the evidence assessed and                    has not identified a threshold                        percentile of the 3-year average,’’
                                                 integrated in the 2019 ISA and Draft ISA                concentration, below which an                         pointing to concerns that computing 24-
                                                 Supplement of PM2.5-related health                      association no longer remains, pointing               hour average PM2.5 concentrations using
                                                 effects’’ (Sheppard, 2022b, p. 2 of                     to the conclusion in the draft ISA                    the current midnight-to-midnight
                                                 consensus letter). The CASAC also                       Supplement that the ‘‘evidence remains                timeframe could potentially
                                                 stated that ‘‘[t]he interpretation of the               clear and consistent in supporting a no-              underestimate the effects of high 24-
                                                 risk assessment for the purpose of                      threshold relationship, and in                        hour exposures, especially in areas with
                                                 evaluating the adequacy of the current                  supporting a linear relationship for                  wood-burning stoves and wintertime
                                                 primary PM2.5 annual standard is                        PM2.5 concentrations >8 mg/m3’’                       stagnation (Sheppard, 2022a, p. 18 of
                                                 appropriate given the scientific findings               (Sheppard, 2022a, p. 16 of consensus                  consensus responses).
                                                 presented’’ (Sheppard, 2022a, p. 2 of                   responses). Finally, these CASAC                         As noted above, the majority of the
                                                 consensus letter).                                      members placed weight on the at-risk                  CASAC favored revising the level of the
                                                    With regard to the adequacy of the                   analysis as providing support for                     primary 24-hour PM2.5 standard,
                                                 current primary annual PM2.5 standard,                  protection of at-risk demographic                     suggesting that a range of 25–30 mg/m3
                                                 ‘‘all CASAC members agree that the                      groups, including minority populations.               would be adequately protective. In so
                                                 current level of the annual standard is                    In recommending a range of 10–11 mg/               doing, the majority of the CASAC
                                                 not sufficiently protective of public                   m3 for the primary annual PM2.5                       placed weight on the available
                                                 health and should be lowered’’                          standard, the minority of the CASAC                   epidemiologic evidence, including
                                                 (Sheppard, 2022a, p. 2 of consensus                     emphasized that there were few key                    epidemiologic studies that restricted
                                                 letter). Additionally, ‘‘the CASAC                      epidemiologic studies that reported                   analyses to 24-hour PM2.5
                                                 reached consensus that the indicator,                   positive and statistically significant                concentrations below 25 mg/m3. These
                                                 form, and averaging time should be                      health effects associations for PM2.5 air             members also placed weight on results
                                                 retained, without revision’’ (Sheppard,                 quality distributions with overall mean               of controlled human exposure studies
                                                 2022a, p. 2 of consensus letter). With                  concentrations below 9.6 mg/m3                        with exposures close to the current
                                                 regard to the level of the primary annual               (Sheppard, 2022a, p. 17 of consensus                  standard, which they note provide
                                                 PM2.5 standard, the CASAC had                           responses). In so doing, the minority of              support for the epidemiologic evidence
                                                 differing recommendations for the                       the CASAC specifically noted the                      to lower the standard. These members
                                                 appropriate range for an alternative                    variability in the relationship between               noted the limitations in using controlled
                                                 level. The majority of the CASAC                        study-reported means and area annual                  human exposure studies alone in
                                                 ‘‘judge[d] that an annual average in the                design values based on the methods                    considering the adequacy of the 24-hour
                                                 range of 8–10 mg/m3’’ was most                          utilized in the studies, noting that                  standard, recognizing that controlled
                                                 appropriate, while the minority of the                  design values are generally higher than               human exposure studies preferentially
                                                 CASAC members stated that ‘‘the range                   area average exposure levels. Further,                recruit less susceptible individuals and
                                                 of the alternative standard of 10–11 mg/                the minority of the CASAC stated that                 have a typical exposure duration shorter
                                                 m3 is more appropriate’’ (Sheppard,                     ‘‘uncertainties related to copollutants               than 24 hours. These members also
                                                 2022a, p. 16 of consensus responses).                   and confounders make it difficult to                  placed ‘‘greater weight on the scientific
                                                 The CASAC did highlight, however, that                  justify a recommendation below 10–11                  evidence than on the values estimated
                                                 ‘‘the alternative standard level of 10 mg/              mg/m3’’ (Sheppard, 2022a, p. 17 of                    by the risk assessment,’’ citing their
                                                 m3 is within the range of acceptable                    consensus responses). Finally, the                    concerns that the risk assessment ‘‘may
                                                 alternative standards recommended by                    minority of the CASAC placed less                     not adequately capture areas with
                                                 all CASAC members, and that an annual                   weight on the risk assessment results,                wintertime stagnation and residential
                                                 standard below 12 mg/m3 is supported                    noting large uncertainties, including the             wood-burning where the annual
                                                 by a larger and coherent body of                        approaches used for adjusting air                     standard is less likely to be protective’’
                                                 evidence’’ (Sheppard, 2022a, p. 16 of                   quality to simulate just meeting the                  (Sheppard, 2022a, p. 17 of consensus
                                                 consensus responses).                                   current and alternative standards.                    responses). Furthermore, these CASAC
                                                    In reaching conclusions on a                            With regard to the current primary 24-             members ‘‘also are less confident that
                                                 recommended range of 8–10 mg/m3 for                     hour PM2.5 standard, in their review of               the annual standard could adequately
                                                 the primary annual PM2.5 standard, the                  the 2021 draft PA, the CASAC did not                  protect against health effects of short-
                                                 majority of the CASAC placed weight on                  reach consensus regarding the adequacy                term exposures’’ (Sheppard, 2022a, p.
ddrumheller on DSK120RN23PROD with RULES3




                                                 various aspects of the available                        of the public health protection provided              17 of consensus responses).
                                                 scientific evidence and quantitative risk               by the current standard. As described                    The minority of the CASAC agreed
                                                 assessment information discussed in the                 further below, the majority of the                    with the EPA’s preliminary conclusion
                                                 2021 draft PA (Sheppard, 2022a, p. 16                   CASAC members concluded ‘‘that the                    in the 2021 draft PA to retain the
                                                 of consensus responses). In particular,                 available evidence calls into question                current primary 24-hour PM2.5 standard.
                                                 these members cited recent U.S.- and                    the adequacy of the current 24-hour                   In so doing, the minority of the CASAC
                                                 Canadian-based epidemiologic studies                    standard’’ (Sheppard, 2022a, p. 3 of                  placed greater weight on the risk
                                                 that show positive associations between                 consensus letter), while the minority of              assessment, noting that the risk


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00053   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024             Page 65 of 217
                                                 16254             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 assessment accounts for both the level                     In reaching his proposed conclusions               values at or near the study-reported
                                                 and the form of the current standard and                on whether the currently available                    mean PM2.5 concentrations, which is
                                                 the manner by which attainment with                     scientific evidence and quantitative                  where the most confidence in the
                                                 the standard is determined. Further, the                risk-based information support or call                reported association of the
                                                 minority of the CASAC stated that the                   into question the adequacy of the public              epidemiologic study exists. He further
                                                 ‘‘risk assessment indicates that the                    health protection afforded by the                     noted that there are a number of
                                                 annual standard is the controlling                      current primary PM2.5 standards, and as               epidemiologic studies available in this
                                                 standard across most of the urban study                 is the case with NAAQS reviews in                     reconsideration that use new PM2.5
                                                 areas evaluated and revising the level of               general, the extent to which the current              exposure estimation techniques (e.g.,
                                                 the 24-hour standard is estimated to                    primary PM2.5 standards are judged to                 hybrid modeling) that were not used in
                                                 have minimal impact on the PM2.5-                       be adequate will depend on a variety of               epidemiologic studies that were
                                                 associated risks’’ and therefore, ‘‘the                 factors, including science policy and                 available in previous reviews. These
                                                 annual standard can be used to limit                    public health policy judgments to be                  recent epidemiologic studies that use
                                                 both long- and short-term PM2.5                         made by the Administrator on the                      new exposure estimation techniques
                                                 concentrations’’ (Sheppard, 2022a, p. 18                strength and uncertainties of the                     report long-term mean PM2.5
                                                 of consensus responses). Further, the                   scientific evidence. The factors relevant             concentrations that are well below
                                                 minority of the CASAC placed more                       to judging the adequacy of the standards              corresponding design values, which is
                                                 weight on the controlled human                          also include the interpretation of, and               an important consideration in reaching
                                                 exposure studies, which show ‘‘effects                  decisions as to the weight to place on,               decisions on the level of the annual
                                                 at PM2.5 concentrations well above those                different aspects of the results of the risk          PM2.5 standard.
                                                 typically measured in areas meeting the                 assessment for the study areas included                  In reaching his proposed decision, the
                                                 current standards’’ and which suggest                   and the associated uncertainties. Thus,               Administrator noted that a level of 9–10
                                                 that ‘‘the current standards are                        in reaching proposed conclusions of the               mg/m3 would near or below the reported
                                                 providing adequate protection against                   current standards, the Administrator                  25th percentiles in key U.S. based
                                                 these exposures’’ (Sheppard, 2022a, p.                  recognized that such a determination                  epidemiologic studies, while also
                                                 18 of consensus responses).                             depends in part on judgments regarding                recognizing that he has less confidence
                                                    While the CASAC members expressed                    aspects of the evidence and risk                      in the magnitude and significance of the
                                                 differing opinions on the appropriate                   estimates, and judgments about the                    association at even lower percentiles
                                                 revisions to the current standards, they                degree of protection that is requisite to             (e.g., 10th percentile), where even fewer
                                                 did ‘‘find that both primary standards,                 protect public health with an adequate                health events are observed. The
                                                 24-hour and annual, are critical to                     margin of safety.                                     Administrator also noted that a
                                                 protect public health given the evidence                   The Administrator’s full rationale for             proposed level of 9–10 mg/m3 would be
                                                 on detrimental health outcomes at both                  his proposed conclusions is presented                 near the mean PM2.5 reported in
                                                 short-term and long-term exposures                      in section II.D.3 of proposal (88 FR                  Canadian based studies, though he also
                                                 including peak events’’ (Sheppard,                      5658, January 27, 2023), but is also                  recognized that there are a number of
                                                 2022a, p. 13 of consensus responses).                   briefly summarized here. In reaching the              factors associated with the studies in
                                                 The comments from the CASAC also                        proposed decision to revise the annual                Canada (e.g., exposure environments)
                                                 took note of uncertainties that remain in               standard level to 9–10 mg/m3, the                     that make it more difficult to compare
                                                 this reconsideration of the primary                     Administrator placed weight on the full               mean concnetrations from Canadian
                                                 PM2.5 standards and they identified a                   body of scientific information. He noted              studies to design values, which
                                                 number of additional areas for future                   that the 2019 ISA finds that exposure to              determine compliance with the standard
                                                 research and data gathering and                         PM2.5 causes mortality and                            in the U.S.
                                                 dissemination that would inform future                  cardiovascular effects and is likely to                  The Administrator took note of
                                                 reviews of the primary PM2.5 NAAQS                      cause respiratory effects, cancer, and                additional pieces of scientific evidence,
                                                 (Sheppard, 2022a, pp. 14–15 of                          nervous system effects as detailed                    which were not available in previous
                                                 consensus responses).                                   further in section II.B.1 of the proposal.            reviews, including restricted analyses,
                                                                                                         As detailed further in section II.B.4 of              which support that the association seen
                                                 2. Basis for the Proposed Decision                                                                            in epidemiologic studies does not just
                                                                                                         the proposal, he additionally noted that
                                                    In reaching his proposed decisions to                the 2019 ISA identifies at-risk                       occur from the peaks of the exposure
                                                 revise the level of the primary annual                  populations at greater risk of health                 distribution. Additionally, he notes that
                                                 PM2.5 standard from its current level of                effects from exposure to PM2.5,                       a level of 9–10 mg/m3 would be below
                                                 12.0 mg/m3 to within the range of 9.0 to                including children, older adults, people              the starting concentration in newly
                                                 10.0 mg/m3, and to retain the current                   with pre-existing respiratory or                      available accountability studies, though
                                                 primary 24-hour PM2.5 standard (88 FR                   cardiovascular disease, minority                      he did note that it is more difficult to
                                                 5558, January 27, 2023), the                            populations, and low socioeconomic                    interpret these studies in the context of
                                                 Administrator carefully considered the                  status (SES) populations.                             selecting the level of the annual PM2.5
                                                 assessment of the current evidence and                     The Administrator also recognized                  standard.
                                                 conclusions reached in the 2019 ISA                     that epidemiologic studies provide the                   Further, the Administrator took into
                                                 and ISA Supplement; the currently                       strongest scientific evidence when                    consideration the advice of the CASAC,
                                                 available exposure and risk information,                evaluating the adequacy of the level of               noting that all members included 10 mg/
                                                 including associated limitations and                    the annual standard. He noted that there              m3 in their recommended range, and
                                                 uncertainties, described in detail in the
ddrumheller on DSK120RN23PROD with RULES3




                                                                                                         is no specific point in the air quality               that the proposed range of 9–10 mg/m3
                                                 2022 PA; the considerations and staff                   distribution of any epidemiologic study               for the level of the primary annual PM2.5
                                                 conclusions and associated rationales                   that represents a ‘bright line’ at and                standard was within the range
                                                 presented in the 2022 PA; the advice                    above which effects have been observed                recommended by the majority of the
                                                 and recommendations from the CASAC;                     and below which effects have not been                 CASAC.
                                                 and public comments that had been                       observed. In his proposed decision, he                   In reaching the proposed conclusion
                                                 offered up to that point (88 FR 5558,                   noted previous decision-making                        of a range between 9–10 mg/m3, the
                                                 January 27, 2023).                                      frameworks, which placed weight on                    Administrator noted that a level as high


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00054   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024             Page 66 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                        16255

                                                 as 11 mg/m3 might not provide an                        recognized that these studies are                     changed since the 2020 final decision,
                                                 adequate margin of safety, given that 11                somewhat limited in their ability to                  and they note that these uncertainties
                                                 mg/m3 was well above many of the                        inform at what concentrations effects                 were essential factors in the then-
                                                 epidemiologic study-reported mean                       may be elicited in in at-risk populations.            Administrator’s decision to retain the
                                                 PM2.5 concentrations. Additionally, the                 The Administrator also considered air                 primary annual PM2.5 standard. These
                                                 Administrator noted the uncertainties                   quality analyses in the 2022 PA that                  commenters argue that, while the
                                                 associated with the scientific and                      demonstrate that there will be very few,              current Administrator acknowledges
                                                 quantitative information supporting a                   if any, days with PM2.5 concentrations at             these uncertainties, he does not place
                                                 level as low as 8 mg/m3, which call into                levels evaluated in controlled human                  enough weight on them in reaching his
                                                 question the potential public health                    exposure studies that are associated                  conclusions regarding the current
                                                 improvements of a standard below 9 mg/                  with effects in areas that meet the                   standard. The commenters specifically
                                                 m3. The Administrator specifically                      current primary 24-hour PM2.5 standard.               highlight uncertainties related to
                                                 noted the lack of key U.S. studies with                    The Administrator also noted that as,              exposure misclassification,
                                                 mean concentrations below 9.3 mg/m3                     in previous PM NAAQS reviews, the                     confounding, and other sources of
                                                 and he further noted that the risk                      protection provided by the suite of                   potential bias, which they claim
                                                 assessment suggests that the risk                       standards (e.g., annual and 24-hour                   supports retaining the current level of
                                                 remaining under a standard of 8 mg/m3                   standards) is evaluated together. He                  the annual standard. These commenters
                                                 would occur at very low concentrations                  noted that the annual standard is the                 also note that these uncertainties were
                                                 (e.g., mainly 7 mg/m3 and below).                       controlling standard in most areas of the             emphasized by the minority of the
                                                    As such, the Administrator’s                         country. He also considered air quality               CASAC in their review of the 2021 draft
                                                 proposed decision noted that the                        analyses in the 2022 PA that suggest                  PA, and the commenters further suggest
                                                 current PM2.5 annual standard did not                   that revision of the annual standard to               that the lack of consensus from the
                                                 adequately provide requisite protection                 a level between 9–10 mg/m3 would also                 CASAC on the appropriate level for the
                                                 against exposures to PM2.5 and that a                   control 24-hour PM2.5 concentrations in               primary annual PM2.5 standard show
                                                 proposed range of 9–10 mg/m3 would                      most areas to, or below, 30 mg/m3.                    that the research is unclear. The
                                                 provide an adequate margin of safety.                   Finally, the Administrator noted the                  commenters contend that there is not
                                                    In his proposed decision to retain the               agreement with the advice from the                    support in this reconsideration for
                                                 current primary 24-hour PM2.5 standard                  minority of CASAC and additionally                    deviating from the then-Administrator’s
                                                 with a level of 35 mg/m3, the                           noted the limited rationale and evidence              decision in 2020.
                                                 Administrator first considered the                      provided by the majority CASAC’s                         In contrast, other commenters,
                                                 scientific information related to short-                recommendation to support revision of                 primarily from public health and
                                                 term exposures to PM2.5 and health                      the 24-hour standard. As such, the                    environmental organizations, some State
                                                 effects. He noted that the controlled                   Administrator proposed to retain the                  and local elected representatives, and
                                                 human exposure studies are the                          current 24-hour standard with its level               some State and local government
                                                 strongest line of evidence for informing                of 35 mg/m3.                                          agencies agree with the EPA’s proposed
                                                 his conclusions regarding the adequacy                     Additionally, the Administrator                    decision that the primary annual PM2.5
                                                 of the current 24-hour standard. In so                  proposed to conclude that it is                       standard is not adequate. These
                                                 doing, the Administrator recognized                     appropriate to retain all other elements              commenters support revising the level
                                                 that controlled human exposure studies                  (i.e., indicator, averaging time, and                 of the primary annual PM2.5 standard
                                                 are conducted with healthy adult                        form) of the annual and 24-hour                       and emphasize that the available
                                                 volunteers and that these studies do not                standards.                                            scientific evidence, in particular
                                                 include individuals who may be at                                                                             epidemiologic studies, along with the
                                                                                                         3. Comments on the Proposed Decision
                                                 increased risk of PM2.5-related health                                                                        CASAC’s advice in their review for the
                                                 effects (i.e., children, older adults,                     With respect to the adequacy of the                2021 draft PA, provide strong support
                                                 people with pre-existing diseases). He                  primary annual PM2.5 standard, a                      for the proposed decision. In particular,
                                                 also noted that the effects observed in                 number of commenters, primarily those                 these commenters agree with the EPA’s
                                                 the controlled human exposure studies                   from industry and industry groups, non-               conclusions about the strength of the
                                                 (e.g., changes in vascular function) are                governmental organizations, and some                  scientific evidence, including
                                                 not effects that are judged to be clearly               State and local governments, disagree                 uncertainties, and they emphasize that
                                                 adverse. He recognized the most                         with the EPA’s proposed decision to                   the CASAC reached consensus in their
                                                 consistent evidence of effects in these                 revise the level of the primary annual                review of the 2021 draft PA that the
                                                 studies occurs at higher concentrations                 PM2.5 standard. These commenters                      current primary annual PM2.5 standard
                                                 (e.g., >120 mg/m3) following 1–5 hour                   generally expressed the view that the                 is not adequate. Some of these
                                                 exposures, and that one study observed                  current standards provide the requisite               commenters also note that a revised
                                                 effects at concentrations as low as 38 mg/              degree of public health protection and                primary annual PM2.5 standard would
                                                 m3 following 4-hour exposures.                          should be retained, consistent with the               result in significant public health
                                                 However, the Administrator reiterated                   2020 final decision. In supporting their              benefits by reducing morbidity and
                                                 that these studies do not tell us at                    view, these commenters assert that the                mortality associated with PM2.5
                                                 exactly what concentrations an adverse                  scientific evidence available in this                 exposure, especially for at-risk
                                                 effect might occur, especially for at-risk              reconsideration is essentially                        populations.
                                                 populations. As noted above in section                  unchanged since the 2020 final decision                  The EPA agrees with commenters that
                                                                                                         and that the additional scientific
ddrumheller on DSK120RN23PROD with RULES3




                                                 II.A.2.c, controlled human exposure                                                                           the primary annual PM2.5 standard is
                                                 studies tend to include generally                       evidence and quantitative risk                        not adequate. The EPA recognizes the
                                                 healthy adult individuals who are at a                  information available for the                         longstanding body of health evidence
                                                 lower risk of experiencing health effects,              reconsideration does not support                      supporting relationships between PM2.5
                                                 and often do not include at-risk                        strengthening the primary annual PM2.5                exposures (short- and long-term) and
                                                 populations (e.g., children, older adults,              standard. These commenters also assert                both mortality and serious morbidity
                                                 or individuals with pre-existing                        that uncertainties associated with the                effects. The evidence available in this
                                                 conditions). As such, the Administrator                 available scientific evidence have not                reconsideration (i.e., the studies


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00055   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024             Page 67 of 217
                                                 16256             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 assessed in the 2019 ISA and ISA                        the 2022 PA (U.S. EPA, 2022b), use a                     In the CASAC’s review of the 2019
                                                 Supplement summarized above in                          variety of statistical methods to control             draft PA, the CASAC did not reach
                                                 section II.A.2.a) reaffirms, and in some                for confounding bias. These studies                   consensus on whether the current
                                                 cases strengthens, the conclusions from                 consistently report positive associations,            annual standard is adequate, with the
                                                 the 2009 ISA regarding the health effects               which further supports the broader body               majority of the CASAC recommending
                                                 of PM2.5 exposures. As noted above,                     of epidemiologic evidence for both                    that the annual standard be retained and
                                                 epidemiologic studies demonstrate                       cardiovascular effects and mortality.                 the minority of the CASAC
                                                 generally positive and often statistically                 In addition, there are epidemiologic               recommending that the standard be
                                                 significant associations between PM2.5                  studies that provide supplemental                     revised. In their review of the 2021 draft
                                                 exposures and health effects. Such                      information for consideration in                      PA, the CASAC unanimously
                                                 studies report associations between                     reaching conclusions that the current                 recommended that the current annual
                                                 estimated PM2.5 exposures and non-                      suite of PM2.5 standards is not adequate.             standard is not sufficiently protective of
                                                 accidental, cardiovascular, or                          These studies include analyses that                   public health (Sheppard, 2022a, p. 2 of
                                                 respiratory mortality; cardiovascular or                restrict annual average PM2.5                         consensus letter).
                                                 respiratory hospitalizations or                         concentrations to concentrations below                   The EPA disagrees with the
                                                 emergency room visits; and other                        12 mg/m3 and provide support for                      commenters who state that the available
                                                 mortality/morbidity outcomes (e.g., lung                positive and statistically significant                scientific and quantitative information
                                                 cancer mortality or incidence, asthma                   associations with mortality and                       available in this reconsideration does
                                                 development). Recent experimental                       cardiovascular morbidity at mean PM2.5                not provide support for the current
                                                 evidence, as well as evidence from                      concentrations below the current level                Administrator to reach a different
                                                 epidemiologic panel studies,                            of the primary annual PM2.5 standard                  decision than the then-Administrator
                                                 strengthens support for potential                       (described above in section II.A.2.c.ii               reached in the 2020 final action. The
                                                 biological pathways through which                       and in Table 3–10 of the 2022 PA (U.S.                EPA agrees with these commenters that
                                                 PM2.5 exposures could lead to the                       EPA, 2022b)). Recent accountability                   there are uncertainties associated with
                                                 serious effects reported in many                        studies that have starting annual PM2.5               the currently available scientific
                                                 population-level epidemiologic studies,                 concentrations at or below 12 mg/m3                   evidence. The EPA has considered these
                                                 including support for pathways that                     suggest public health improvements                    uncertainties extensively both in
                                                 could lead to cardiovascular,                           may occur at concentrations below 12                  reaching conclusions in the 2022 PA
                                                 respiratory, nervous system, and cancer-                mg/m3. These studies indicate positive                (U.S. EPA, 2022b, sections 3.4.3, 3.6.1,
                                                 related effects. Moreover, these recent                 and statistically significant associations            and 4.6.3) and in the proposal (88 FR
                                                 epidemiologic studies strengthen                        with mortality and morbidity (e.g.,                   5604, 5609, January 27, 2023), and the
                                                 support for health effect associations at               cardiovascular hospital admissions) and               EPA addresses more detailed public
                                                 PM2.5 concentrations lower than in                      reductions in PM2.5 concentrations in                 comments about these uncertainties,
                                                 those evaluated in epidemiologic                        ambient air (described above in section               including those related to copollutant
                                                 studies available at the time of previous               II.A.2.c.ii and in Table 3–12 of the 2022             confounding, unmeasured confounding,
                                                 reviews.                                                PA (U.S. EPA, 2022b)).                                and temporal and spatiotemporal
                                                                                                            Thus, in considering the available                 confounding, in the Response to
                                                    Additionally, as discussed in more                   scientific evidence to inform                         Comments document. However, we
                                                 detail in section I.C.5.b above, the ISA                conclusions on the adequacy of the                    disagree with the commenters that the
                                                 Supplement focused on studies that                      primary PM2.5 standards, the                          evidence does not provide support for
                                                 were most likely to inform decisions on                 Administrator recognizes that the 2019                the Administrator’s conclusion that the
                                                 the appropriate standard, but not to                    ISA and the ISA Supplement together                   current primary annual PM2.5 standard
                                                 reassess areas that, based on the                       provides a strong scientific foundation               is not adequate to protect public health
                                                 assessment of available science                         for concluding that the current primary               with an adequate margin of safety, and
                                                 published since the cutoff date of the                  PM2.5 standards are not adequate.                     should be revised. As described above,
                                                 2019 ISA and through 2021, were                            In addition to the scientific evidence             epidemiologic studies in the 2019 ISA
                                                 judged unlikely to have new                             above, the risk assessment estimates that             and the ISA Supplement support and
                                                 information that would be useful for the                the current primary annual PM2.5                      extend the evidence evaluated in the
                                                 Administrator’s decision making. The                    standard could allow a substantial                    2009 ISA, through studies conducted in
                                                 ISA Supplement included U.S. and                        number of deaths in the U.S. Although                 diverse populations and geographic
                                                 Canadian epidemiologic studies for                      the Administrator recognizes that while               locations, using various statistical
                                                 health effect categories where the 2019                 the risk estimates can help to place the              models and approaches to control for
                                                 ISA concluded a causal relationship                     evidence for specific health effects into             potential confounders, and using a
                                                 (i.e., short- and long-term PM2.5                       a broader public health context, they                 variety of exposure assessment
                                                 exposure and cardiovascular effects and                 should be considered along with the                   methodologies. Therefore, the
                                                 mortality), as well as U.S. and Canadian                inherent uncertainties and limitations of             consistent, positive associations
                                                 epidemiologic studies that employed                     such analyses when informing                          reported across studies (U.S. EPA,
                                                 alternative methods for confounder                      judgments about the potential for                     2019a, Figures 11–1 and 11–18; U.S.
                                                 control or conducted accountability                     additional public health protection                   EPA, 2022a) are unlikely to be to be the
                                                 analyses (i.e., studies that examined the               associated with PM2.5 exposures and                   result of unmeasured confounding and
                                                 effect of a policy on reducing PM2.5                    related health effects. The Administrator             other biases are unlikely to account for
ddrumheller on DSK120RN23PROD with RULES3




                                                 concentrations). These studies,                         takes into consideration these                        the consistent positive associations
                                                 summarized in section II.A.2.a above,                   uncertainties, which are described in                 observed across epidemiologic studies.
                                                 examine both short- and long-term PM2.5                 more detail in section II.A.3.b above, but               Additionally, this reconsideration
                                                 exposure and cardiovascular effects and                 notes that the general magnitude of risk              includes epidemiologic studies that
                                                 mortality. Additionally, studies that                   estimates supports the potential for                  were not before the then-Administrator
                                                 employ alternative methods for                          significant public health impacts,                    for consideration in reaching his final
                                                 confounder control, as described in                     particularly for lower alternative annual             decisions at the time of the 2020
                                                 II.A.2.a above and in Table 3–11 and of                 standard levels.                                      decision and that specifically evaluate


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00056   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024               Page 68 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                                 16257

                                                 confounding using alternative methods                   consistent positive associations                      ISA Supplement and 2022 PA, as well
                                                 for confounder control). These recent                   observed across epidemiologic studies                 as the additional consideration of the
                                                 epidemiologic studies provide support                   (U.S. EPA, 2022b, sections 3.1.1.3,                   scientific record by the CASAC and the
                                                 for the current Administrator’s                         3.1.2.3, 3.2.1.3, and 3.2.2.3).                       public provided the Administrator with
                                                 conclusion that the suite of primary                       Further, the EPA disagrees with the                significant additional information on
                                                 PM2.5 standards are not adequate. While                 commenters who argue that the                         which to base his decision.93 In
                                                 confounding was an uncertainty noted                    Administrator did not appropriately                   addition, in this reconsideration, the
                                                 by the then-Administrator in the 2020                   consider the strengths and limitations of             Administrator is reaching different
                                                 decision, he recognized ‘‘that                          the health evidence in reaching his                   judgments about how to weigh the
                                                 methodological study designs to address                 decision to revise the current primary                epidemiologic evidence, including the
                                                 confounding, such as causal inference                   annual PM2.5 standard in this                         uncertainties in the scientific evidence,
                                                 methods, are an emerging field of                       reconsideration. In reaching his                      and how to ensure an adequate margin
                                                 study’’ (85 FR 82710, December 18,                      proposed decision, the Administrator                  of safety to protect against uncertain
                                                 2020). The ISA Supplement considered                    considered the entire body of evidence                harms, compared to the approach in the
                                                 studies that employed statistical                       and how to appropriately weigh the                    2020 final decision. For example, as
                                                 approaches that attempt to more                         uncertainties associated with the health              discussed in greater detail above in
                                                 extensively account for confounders and                 evidence (88 FR 5617, January 27,                     section II.A.1 and in the 2020 notice of
                                                 are more robust to model                                2023). Such an approach is consistent                 final rulemaking (85 FR 82717,
                                                 misspecification (i.e., used alternative                with setting standards that are neither               December 18, 2020), in considering the
                                                 methods for confounder control),92                      more nor less stringent than necessary,               epidemiologic evidence as part of his
                                                 given that such studies were highlighted                recognizing that ‘‘Congress provided                  decision to retain the current primary
                                                 by the CASAC in their review of the                     that the Administrator is to use his                  annual PM2.5 standard in the 2020
                                                 2019 draft PA and identified in public                  judgment in setting air quality standards             decision, the then-Administrator placed
                                                 comments on the 2020 proposal. Since                    precisely to permit him to act in the face            weight on the mean of the study-
                                                 the literature cutoff date for the 2019                 of uncertainty,’’ the Administrator must              reported means (or medians) (i.e., 13.5
                                                 ISA, multiple studies that employ                       set standards on ‘‘the frontiers of                   mg/m3) from key U.S. epidemiologic
                                                 alternative methods for confounder                      scientific and medical knowledge’’ and                studies that are monitor-based being
                                                 control have become available for                       ‘‘Congress directed the Administrator to              above the level of the current primary
                                                 consideration in the ISA Supplement                     err on the side of caution in making the              annual PM2.5 standard of 12.0 mg/m3. By
                                                 and, subsequently, in this                              necessary decisions.’’ Lead Indus. Ass’n,             contrast, in this reconsideration, the
                                                 reconsideration. For example, one study                 Inc. v. EPA, 647 F.2d 1130, 1155 & n.50               current Administrator has taken an
                                                 before the Administrator in this                        (D.C. Cir. 1980) (quoting H.R. Rep. No.               approach more similar to how the EPA
                                                 reconsideration that was not available in               95–294, at 50). As such, a determination              has considered study-reported mean
                                                 the 2019 ISA is Schwartz et al. (2021),                 of identifying a specific level at which              PM2.5 concentrations relative to the level
                                                 which used a causal modeling approach                   the standard should be set necessarily                of the primary annual PM2.5 standard in
                                                 focused on exposure changes and                         requires the Administrator’s judgement                other recent PM NAAQS reviews. In so
                                                 controls for measured confounders by                    (e.g., weighing the uncertainties and                 doing, in reaching his decision to revise
                                                 design in order to evaluate the                         margin of safety).                                    the level of the primary annual PM2.5
                                                                                                            Additionally, the EPA disagrees with
                                                 association between long-term PM2.5                                                                           standard to 9.0 mg/m3, he is using an
                                                                                                         the commenters that contend that there
                                                 exposure and mortality in the Medicare                                                                        approach that places weight on selecting
                                                                                                         is no basis in this reconsideration for
                                                 population. The study authors found                                                                           a level for the standard that is below the
                                                                                                         deviating from the previous
                                                 significant associations of PM2.5 with                  Administrator’s decision in 2020. It is               study-reported mean PM2.5
                                                 increased mortality rates using a causal                well-established that in CAA section                  concentrations reported in key U.S.
                                                 modeling approach robust to omitted                     109 Congress specifically left the                    epidemiologic studies, including recent
                                                 confounding. The results of this study                  determination of the requisite NAAQS                  epidemiologic studies that use hybrid
                                                 and other studies in the ISA                            to the judgment of the Administrator                  model-based methods, as well as being
                                                 Supplement that employ alternative                      and, moreover, that ‘‘decisions about the             near or below the 25th percentile PM2.5
                                                 methods to control for confounders lend                 appropriate NAAQS level must                          concentrations in those key U.S.
                                                 support to the robustness of positive                   ‘necessarily . . . rest largely on policy             epidemiologic studies that report these
                                                 associations between PM2.5 exposure                     judgments.’ ’’ Mississippi v. EPA, 744                concentrations.
                                                 and multiple morbidity and mortality                    F.3d 1344, 1357 (D.C. Cir. 2013)                         As such and further detailed in
                                                 endpoints exhibited across                              (quoting Lead Industries Ass’n v. EPA,                section II.B.4 below, in considering the
                                                 epidemiologic studies, and also indicate                647 F.2d 1130, 1147 (D.C. Cir. 1980)).                adequacy of the current primary PM
                                                 that unmeasured confounding and other                   As the Court of Appeals for the D.C.                  standards in this reconsideration, the
                                                 biases are unlikely to account for the                  Circuit has noted, ‘‘Every time EPA                   Administrator has carefully considered
                                                                                                         reviews a NAAQS, it (presumably) does                 the: (1) Policy-relevant evidence and
                                                   92 As noted in the ISA Supplement: ‘‘In the peer-
                                                                                                         so against contemporary policy                        conclusions contained in the 2019 ISA
                                                 reviewed literature, these epidemiologic studies are                                                          and 2022 ISA Supplement; (2) the
                                                 often referred to as causal inference studies or        judgments and the existing corpus of
                                                 studies that used causal modeling methods. For the      scientific knowledge.’’ Id., at 1343.                 quantitative information presented and
                                                 purposes of this Supplement, this terminology is           In this reconsideration, both the
                                                 not used to prevent confusion with the main             existing corpus of scientific knowledge                 93 The EPA notes that, in considering the
ddrumheller on DSK120RN23PROD with RULES3




                                                 scientific conclusions (i.e., the causality                                                                   additional scientific evidence available in this
                                                 determinations) presented within an ISA. In
                                                                                                         as well as the Administrator’s policy                 reconsideration, one member of the CASAC who
                                                 addition, as is consistent with the weight-of-          judgments about how to interpret and                  reviewed both the 2019 draft PA and the 2021 draft
                                                 evidence framework used within ISAs and                 weigh that evidence to protect public                 PA found that the available scientific and
                                                 discussed in the Preamble to the Integrated Science     health with an adequate margin of safety              quantitative information available in this
                                                 Assessments, an individual study on its own cannot                                                            reconsideration supported revising the level of the
                                                 inform causality, but instead represents a piece of
                                                                                                         have changed. The expansion of the air                primary annual PM2.5 standard, whereas he
                                                 the overall body of evidence’’ (U.S. EPA, 2022a, p.     quality criteria to encompass additional              recommended retaining the standard during the
                                                 1–3).                                                   studies, information and analyses in the              review of the 2019 draft PA.



                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00057   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024             Page 69 of 217
                                                 16258             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 assessed in the 2022 PA; (3) the                        associations with both long-term (e.g.,                particularly for at-risk populations.
                                                 evaluation of this evidence, the                        annual or multi-year) and short-term                   These commenters express concern that
                                                 quantitative information, and the                       (e.g., mostly 24-hour) exposures to                    the current 98th percentile form allows
                                                 rationale and conclusions presented in                  PM2.5. Epidemiologic studies continue                  7 exceedances per year and contend that
                                                 the 2022 PA; (4) the advice and                         to provide strong support for health                   a 99th percentile form that would allow
                                                 recommendations from the CASAC; and                     effects associated with short-term PM2.5               half that number is more appropriate.
                                                 (5) public comments. The Administrator                  exposures based on 24-hour PM2.5                       Commenters also cite to the CASAC’s
                                                 concludes that the current suite of                     averaging periods, and we note that                    advice in their review of the 2021 draft
                                                 primary PM2.5 standards are not                         subdaily effect estimates are less                     PA, which recommended that the EPA
                                                 adequate to protect public health with                  consistent and, in some cases, smaller in              consider alternative percentiles for the
                                                 an adequate margin of safety.                           magnitude (88 FR 5618, January 27,                     form of the primary 24-hour PM2.5
                                                    The four basic elements of the                       2023). Controlled human exposure and                   standard in the future.
                                                 NAAQS (indicator, averaging time,                       panel-based studies of subdaily                           The EPA disagrees that the current
                                                 form, and level) are considered                         exposures typically examine subclinical                98th percentile form does not provide
                                                 collectively in evaluating the health                   effects rather than the more serious                   the requisite public health protection
                                                 protection afforded by a standard. The                  population-level effects that have been                against peak PM2.5 exposures and
                                                 EPA received relatively few comments                    reported to be associated with 24-hour                 concludes that the 98th percentile,
                                                 on the averaging time and form for the                  exposures (e.g., mortality,                            averaged over three years, remains
                                                 primary PM2.5 standards, but those who                  hospitalizations). Collectively, the 2019              appropriate for the primary 24-hour
                                                 did provide comments on these                           ISA concludes that epidemiologic                       PM2.5 standard. As noted in previous
                                                 elements were primarily from public                     studies do not indicate that subdaily                  reviews and in the proposal, the EPA
                                                 health and environmental organizations,                 averaging periods are more closely                     has set both an annual standard and a
                                                 State and local elected representatives,                associated with health effects than the                24-hour standard to provide protection
                                                 and State and local government                          24-hour average exposure metric (U.S.                  from health effects associated with both
                                                 agencies. Some commenters assert that                   EPA, 2019a, section 1.5.2.1).                          long- and short-term exposures to PM2.5
                                                 the current 24-hour averaging time for                  Additionally, the EPA notes that while                 (62 FR 38667, July 18, 1997; 88 FR 5620,
                                                 the primary 24-hour PM2.5 standard                      recent controlled human exposure
                                                                                                                                                                January 27, 2023). With respect to the
                                                 does not adequately protect against                     studies provide consistent evidence for
                                                                                                                                                                form of the 24-hour standard, as
                                                 short-term peaks. These commenters                      cardiovascular effects following PM2.5
                                                 further state that the 24-hour averaging                                                                       described just above, the epidemiologic
                                                                                                         exposures for less than 24 hours (i.e.,
                                                 time protects against chronic exposures                                                                        studies continue to provide strong
                                                                                                         <30 minutes to 5 hours), exposure
                                                 but does not adequately protect against                                                                        support for health effect associations
                                                                                                         concentrations in these studies are well-
                                                 serious acute risks from certain sources                                                                       with short-term (e.g., mostly 24-hour)
                                                                                                         above the ambient concentrations
                                                 such as prescribed burning. Also, a few                                                                        PM2.5 exposures and controlled human
                                                                                                         typically measured in locations meeting
                                                 commenters explicitly recommend that                                                                           exposure studies provide evidence for
                                                                                                         the current standards (U.S. EPA, 2022a,
                                                 a subdaily averaging time would be                                                                             health effects following single short-
                                                                                                         section 3.3.3.1). Therefore, this
                                                 more appropriate, although none of the                  information does not indicate that a                   term ‘‘peak’’ PM2.5 exposures (88 FR
                                                 commenters recommended a specific                       revision to the averaging time is needed               5619, January 27, 2023). Both the 98th
                                                 averaging time for consideration.                       to provide additional protection against               and the 99th percentile form provide a
                                                 Additionally, some commenters cite to                   subdaily PM2.5 exposures, beyond that                  very high degree of control of peak
                                                 the CASAC’s advice in their review of                   provided by the current primary                        concentrations. As the commenters
                                                 the 2021 draft PA that future reviews of                standards. This conclusion is also                     point out, a 99th percentile would
                                                 the PM NAAQS should include                             supported by the advice given to EPA by                reduce the number of allowable
                                                 evaluation of alternative forms and                     the CASAC in their review of the 2021                  exceedances to four days per year. The
                                                 averaging times of the current primary                  draft PA, which reached consensus that                 EPA anticipates, however, that such a
                                                 24-hour PM2.5 standard.                                 averaging times for the standards should               revision to the form would make the
                                                    The EPA disagrees with commenters                    be retained, without revision (Sheppard,               attainment status of an area more
                                                 that the current primary 24-hour PM2.5                  2022a, p. 2 of consensus letter).94 For all            subject to change from unpredictable
                                                 standard, with its 24-hour averaging                    of these reasons, the Administrator                    nonanthropogenic factors, such as
                                                 time, does not adequately protect                       concludes that the currently available                 meteorological events. The EPA has
                                                 against short-term peaks and disagrees                  evidence does not support considering                  often noted that frequent shifts in
                                                 that that there is sufficient information               alternatives to the annual and 24-hour                 attainment status that are unrelated to
                                                 to conclude that a subdaily averaging                   averaging times for standards meant to                 long-term air quality trends is
                                                 time would be more appropriate than a                   protect against long- and short-term                   inconsistent with providing a stable
                                                 24-hour averaging time. The EPA has                     PM2.5 exposures.                                       target for air quality planning and risk
                                                 reviewed the currently available                           Multiple commenters, primarily from                 management programs, which in turn
                                                 scientific evidence and finds that it does              public health and environmental                        provides for the most effective public
                                                 not indicate that alternative averaging                 organizations, recommend revising the                  health protection in the long run (78 FR
                                                 times would be more appropriate for the                 form of the primary 24-hour PM2.5                      3127, January 15, 2013; 80 FR 65351,
                                                 primary PM2.5 standards. Accordingly,                   standard to a 99th percentile to provide               October 26, 2015). Thus, the EPA’s
                                                 the EPA concludes that it is appropriate                increased public health protection                     interest in an appropriate degree of
                                                                                                                                                                stability is to ensure that the State air
ddrumheller on DSK120RN23PROD with RULES3




                                                 to retain both the annual and 24-hour                   against peak PM2.5 exposures,
                                                 averaging times for standards meant to                                                                         quality programs are effective in
                                                 protect against long- and short-term                      94 In providing advice on the 2019 draft PA, the     controlling pollution and that the public
                                                 PM2.5.                                                  CASAC did not weigh in specifically on the             health protections of the standard are
                                                    As noted in the proposal, the 2019                   averaging time of the primary 24-hour PM2.5            achieved. As discussed above, while
                                                                                                         standard but did recommend that the standard be
                                                 ISA and ISA Supplement found that the                   retained because the available evidence does not
                                                                                                                                                                recent controlled human exposure
                                                 scientific evidence continues to provide                call into question its adequacy (Cox, 2019b, p. 3 of   studies provide consistent evidence for
                                                 strong support for health effect                        consensus letter).                                     cardiovascular effects following PM2.5


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00058   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024                Page 70 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                                   16259

                                                 exposures for less than 24 hours (i.e., <               the primary annual PM2.5 standards, in                long-term mean concentrations reported
                                                 30 minutes to 5 hours), exposure                        particular concentrations below the                   in key epidemiologic studies. These
                                                 concentrations in these studies are well-               mean, such as the 25th percentile. In                 approaches were supported by the
                                                 above the ambient concentrations                        supporting this view, commenters point                CASAC in previous reviews and were
                                                 typically measured in locations meeting                 to the CASAC’s advice in their review                 supported in this reconsideration by the
                                                 the current standards (U.S. EPA, 2022a,                 of the 2021 draft PA, where the majority              CASAC in their review of the 2021 draft
                                                 section 3.3.3.1), and the 98th percentile               of the CASAC stated that the ‘‘use of the             PA.96
                                                 form is very effective at limiting                      mean to define where the data provide                    In considering the available scientific
                                                 occurrences of exposures of concern.                    the most evidence is conservative since               evidence, the EPA notes the strength of
                                                 Taking into consideration the available                 robust data clearly indicate effects                  the epidemiologic evidence which
                                                 scientific information and quantitative                 below the mean in concentration-                      includes multiple studies that
                                                 information, the EPA therefore                          response functions’’ (Sheppard, 2022a,                consistently report positive associations
                                                 concludes that the 98th percentile form                 p. 16 of consensus responses), and that               for short- and long-term PM2.5 exposures
                                                 provides an appropriate balance                         ‘‘[e]pidemiologic studies require                     and mortality and cardiovascular
                                                 between limiting the occurrence of peak                 consideration of distribution around the              effects. Some available studies also use
                                                 24-hour PM2.5 concentrations and                        mean of exposure to identify effects and              a variety of statistical methods to
                                                 identifying a stable target for risk                    thus lower levels than the mean must be               control for confounding bias and report
                                                 management programs. This conclusion                    considered as part of the range where                 similar associations, which further
                                                 is also supported by the advice given to                the data provide higher confidence’’                  supports the broader body of
                                                 the EPA by the CASAC in their review                    (Sheppard, 2022a, p. 13 of consensus                  epidemiologic evidence for both
                                                 of the 2021 draft PA, where they                        responses).                                           mortality and cardiovascular effects.
                                                 reached consensus that the form for the                    As an initial matter, consistent with              Additionally, the EPA notes that recent
                                                 standards should be retained, without                   some previous approaches and as                       epidemiologic studies strengthen
                                                 revision (Sheppard, 2022a, p. 2 of                      detailed by the Administrator in                      support for health effect associations at
                                                 consensus letter).95                                    reaching conclusions on the level of the              PM2.5 concentrations lower than in
                                                    Additionally, the EPA recognizes the                 primary annual PM2.5 standard in                      those evaluated in epidemiologic
                                                 CASAC’s advice in their review of the                   section II.B.4 below, the EPA considers               studies available at the time of previous
                                                 2021 draft PA, where they                               the long-term study-reported mean                     reviews.
                                                 recommended ‘‘that in future reviews,                   PM2.5 concentrations from key                            While these epidemiologic studies
                                                 the EPA provide a more comprehensive                    epidemiologic studies and sets the level              evaluate associations between
                                                 assessment of the 24-hour standard that                 of the standard to somewhat below the                 distributions of ambient PM2.5
                                                 includes the form as well as the level’’                lowest long-term mean PM2.5                           concentrations and health outcomes,
                                                 (Sheppard, 2022a, p. 4 of consensus                     concentration. Additionally, as                       they do not identify the specific
                                                 letter). This advice is reflected in the                discussed further below, the EPA also                 exposures that led to the reported
                                                 proposal by the EPA, which noted ‘‘that                 considers the available information from              effects. As such, there is no specific
                                                 it would be appropriate to gather                       a subset of epidemiologic studies that                point in the air quality distribution of
                                                 additional air quality and scientific                   report exposure estimates or health                   any epidemiologic study that represents
                                                 information and further consider these                  events at the 25th and 10th percentiles               a ‘‘bright line’’ at and above which
                                                 issues in future reviews’’ (88 FR 5619,                 of PM2.5 concentrations. The                          effects have been observed and below
                                                 January 27, 2023). The EPA will                         Administrator gives some weight to the                which effects have not been observed.
                                                 consider the information provided by                    25th percentile data, although he                        Studies of daily PM2.5 exposures
                                                 the commenters regarding the form of                    recognizes that his confidence in the                 examine associations between day-to-
                                                 the 24-hour PM2.5 standard in the next                  magnitude and significance in the                     day variation in PM2.5 concentrations
                                                 review of the PM NAAQS.                                 reported concentrations, and their                    and health outcomes, often over several
                                                    A number of commenters who                           ability to inform decisions on the                    years. While there can be considerable
                                                 support revising the level of the primary               appropriate level of the annual                       variability in daily exposures over a
                                                 annual PM2.5 standard, particularly                     standard, decreases with reduced data                 multi-year study period, most of the
                                                 those who support a revised level of 8                  (below the mean) and diminishes                       estimated exposures reflect days with
                                                 mg/m3, disagree with how the EPA has                    further at percentiles that are even
                                                 emphasized the mean PM2.5                               further below the mean and the 25th                      96 The Administrator notes that, in their review of

                                                 concentrations reported in key                          percentile. Therefore, the Administrator              the 2021 draft PA, a majority of members of the
                                                 epidemiologic studies to inform                         places weight on the reported 25th                    CASAC noted that there are some limitations for
                                                                                                         percentiles concentrations, rather than               this approach ‘‘for the purpose of informing the
                                                 conclusions on the level of the primary                                                                       adequacy of the standards’’ (Sheppard, 2022a, p. 8
                                                 PM2.5 standard. These commenters                        the reported 10th percentile                          of consensus responses) and advised that future
                                                                                                         concentrations, for the subset of studies             reviews should include evaluation of other metrics,
                                                 argue that, in this reconsideration, the
                                                                                                         that report lower percentile PM2.5                    including the distribution of concentrations
                                                 EPA is arbitrarily emphasizing                                                                                reported in epidemiologic studies and in analyses
                                                                                                         concentrations in reaching his
                                                 uncertainties in key epidemiologic                                                                            restricting concentrations to below the current
                                                                                                         conclusions regarding the appropriate
                                                 studies in the focus on mean                                                                                  standard level. The Administrator also notes that,
                                                                                                         level for the primary annual PM2.5                    in their review of the 2019 draft PA, the CASAC
                                                 concentrations. Many of these
                                                                                                         standard.                                             lacked consensus on the inferences to be drawn
                                                 commenters recommend that the EPA                          In considering the available scientific            from the epidemiologic evidence, with a majority of
                                                 consider the full distribution of PM2.5                                                                       CASAC having concerns about confounding, error
ddrumheller on DSK120RN23PROD with RULES3




                                                                                                         evidence to reach decisions on the
                                                 concentrations from the key                             adequacy of the suite of primary PM2.5                and bias and concluding that newer studies did not
                                                 epidemiologic studies in reaching                                                                             provide a basis for revising the current standards,
                                                                                                         standards, the EPA notes that in                      while a minority concluded that the evidence,
                                                 conclusions on the appropriate level for                previous PM NAAQS reviews                             including more recent studies showing associations
                                                                                                         (including the 1997, 2006 and 2012                    in areas with average long-term PM2.5
                                                   95 The CASAC did not provide advice or                                                                      concentrations below the current annual standard,
                                                 recommendations regarding the forms of the
                                                                                                         reviews), evidence-based approaches                   supported their conclusion that the current
                                                 primary PM2.5 standards in their review of the 2019     were used that focused on identifying                 standards are inadequate (Cox, 2019b, pp. 8–9 of
                                                 draft PA (Cox, 2019b).                                  standard levels near or somewhat below                consensus responses).



                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00059   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024             Page 71 of 217
                                                 16260             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 ambient PM2.5 concentrations around                     the additional study-reported PM2.5                   mean can be used to inform conclusions
                                                 the middle of the air quality                           concentrations below the means (e.g.,                 regarding the level of the primary
                                                 distributions examined (i.e., ‘‘typical’’               25th and 10th percentiles) that are                   annual PM2.5 standard, the EPA first
                                                 days rather than days with extremely                    available from a limited subset of key                notes that the three monitor-based
                                                 high or extremely low concentrations).                  U.S. epidemiologic studies. As shown in               epidemiologic studies (Bell et al., 2008;
                                                 Similarly, for studies of annual PM2.5                  Figures 1 and 2 above, six key U.S.                   Franklin et al., 2007; Zanobetti and
                                                 exposures, most of the health events                    epidemiologic studies report                          Schwartz, 2009) report 25th percentile
                                                 occur at estimated exposures that reflect               information on other percentiles (e.g.,               concentrations that are at or above 11.5
                                                 annual average PM2.5 concentrations                     10th and 25th percentiles of PM2.5                    mg/m3. For two of the more recent
                                                 around the middle of the air quality                    concentrations or 10th and 25th                       hybrid model-based studies (Di et al.,
                                                 distributions examined. In both cases,                  percentiles of PM2.5 concentrations                   2017b; Wang et al., 2017), the 25th
                                                 epidemiologic studies provide the                       associated with health events) that are               percentile of estimated PM2.5
                                                 strongest support for reported health                   below the mean.97 Three of the studies                concentrations are just above 9 mg/m3,
                                                 effect associations for this middle                     are monitor-based and three are hybrid                while one study (Di et al., 2017a) reports
                                                 portion of the PM2.5 air quality                        model-based.                                          a PM2.5 concentrations corresponding to
                                                 distribution, which corresponds to the                    The key U.S. epidemiologic studies                  25th percentiles of health events of just
                                                 bulk of the underlying data, rather than                that report percentiles below the mean                below 7 mg/m3. For the Di et al. (2017a)
                                                 the extreme upper or lower ends of the                  that are monitor based are older studies.             study, the 25th percentile PM2.5
                                                 distribution. Therefore, in the absence                 These studies included smaller numbers                concentration (6.7 mg/m3) is based on
                                                 of discernible thresholds, long-term                    of people than the newer hybrid model-                the PM2.5 concentration at which the
                                                 study-reported means—that is, the                       based studies. For the three older,                   25th percentile of deaths occur in the
                                                 study-reported ambient PM2.5                            monitor-based studies, because the                    study, while the reported mean (11.6 mg/
                                                 concentrations in the epidemiologic                     cohorts were smaller in size, a relatively            m3) is based on estimated PM2.5
                                                 studies that reflect estimated exposures                smaller portion of the health events                  exposure concentrations. Additionally,
                                                 with a focus around the middle portion                  were observed in the lower part of the                the 25th percentiles of the other two
                                                 of the PM2.5 air quality distribution                   air quality distribution. As such, our                recently available hybrid model-based
                                                 where the bulk of the observed data                     confidence in the magnitude and                       studies (Di et al., 2017b; Wang et al.,
                                                 reside—provide the strongest support                    significance of the associations begins to            2017) are based on estimated PM2.5
                                                 for reported health effect associations in              decrease in the lower part of the air                 concentrations. As such, the PM2.5
                                                 epidemiologic studies.                                  quality distribution of those older,                  concentration at which the 25th
                                                    Based on the air quality criteria for                monitor-based studies.                                percentile of health events occur may be
                                                 this reconsideration, as described in the                 The three newer, hybrid model-based                 different from the estimated 25th
                                                 2019 ISA, ISA Supplement, 2022 PA                       studies have larger cohort sizes than the             percentile PM2.5 concentration in this
                                                 and the proposal, the EPA believes it is                older, monitor-based studies and, as                  study (Di et al., 2017a), creating an
                                                 appropriate to continue to use the mean                 noted by commenters, have more health                 uncertain basis for comparison with the
                                                 PM2.5 concentrations from the key                       events in the lower part of the air                   studies by Di et al. (2017b) and Wang et
                                                 epidemiologic studies to inform                         quality distribution. For these reasons,              al. (2017). The 25th percentiles from
                                                 conclusions regarding the appropriate                   the EPA notes that we have more                       these studies, in particular those that are
                                                 level for the primary annual PM2.5                      confidence in the reported association at             more recently available, help to inform
                                                 standard.                                               concentrations lower than the reported                the Administrator’s judgments regarding
                                                    There are a large number of key                      mean in these more recent hybrid                      the appropriate level for the primary
                                                 epidemiologic studies available in this                 model-based studies, particularly at the
                                                 reconsideration to inform conclusions                                                                         annual PM2.5 standard.
                                                                                                         25th percentile compared to the 10th
                                                 regarding the level of the primary                                                                               Some commenters disagree with the
                                                                                                         percentile. While the cohort sizes in the
                                                 annual PM2.5 standard. For the key U.S.                                                                       EPA’s consideration of the relationship
                                                                                                         more recent, hybrid model-based
                                                 epidemiologic studies, the study-                                                                             between mean PM2.5 concentrations
                                                                                                         studies are larger than the older,
                                                 reported mean PM2.5 concentrations                                                                            reported in the key epidemiologic
                                                                                                         monitor-based studies, the EPA notes
                                                 range from 9.9–16.5 mg/m3 for monitor-                                                                        studies and design values to inform
                                                                                                         that the 10th percentiles are well below
                                                 based studies (Figure 1 above) and range                                                                      conclusions on the appropriate level for
                                                                                                         the middle portion of the air quality
                                                 from 9.3–12.2 mg/m3 for hybrid                                                                                the primary annual PM2.5 standards.
                                                                                                         distribution for which we have the
                                                 modeling-based studies (Figure 2                                                                              Commenters contend that setting the
                                                                                                         greatest confidence, and as noted above,
                                                 above).                                                                                                       level of the primary annual standard
                                                                                                         our confidence in the magnitude and
                                                    In addition to the study-reported                                                                          below the design values in the
                                                                                                         significance of associations in the lower
                                                 mean PM2.5 concentrations, the EPA                                                                            epidemiologic studies, rather than
                                                                                                         parts of the air quality distribution
                                                 agrees with the CASAC’s advice in their                                                                       below the study-reported mean
                                                                                                         begins to decrease. While we have more
                                                 review of the 2021 draft PA and public                                                                        concentrations, might keep overall mean
                                                                                                         confidence in the lower percentiles
                                                 comments that information on other                                                                            PM2.5 concentrations throughout an area
                                                                                                         because of the larger cohort sizes in the
                                                 percentiles below the mean can also be                                                                        below the study-reported means but
                                                                                                         more recent hybrid model-based
                                                 informative, and the EPA notes that the                                                                       allow PM2.5 concentrations in some
                                                                                                         studies, we also have more confidence
                                                 CASAC advised that for the purpose of                                                                         parts of the area, including near the
                                                                                                         in the 25th percentiles than in the 10th
                                                 informing the adequacy of the                                                                                 ‘‘design value monitor’’ to remain above
                                                                                                         percentiles, which are further from the
ddrumheller on DSK120RN23PROD with RULES3




                                                 standards, future reviews should                                                                              the study-reported mean PM2.5
                                                                                                         means and closer to the lower end of the
                                                 include an evaluation of other metrics,                                                                       concentrations, which are the
                                                                                                         air quality distribution.
                                                 including the distribution of                             In considering how the six studies                  concentrations where the evidence of
                                                 concentrations reported in                              that report percentiles lower than the                health effects is strongest. Commenters
                                                 epidemiologic studies (Sheppard,                                                                              contend that such a decision framework
                                                 2022a, p. 9 of consensus responses). As                   97 The Wang et al. (2017) study only reports the    would not result in a standard that
                                                 such, in reaching conclusions in this                   25th percentile of the estimated PM2.5                would provide requisite protection with
                                                 reconsideration, the EPA takes note of                  concentrations, not the 10th percentile.              an adequate margin of safety,


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00060   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024             Page 72 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                        16261

                                                 particularly for at-risk populations.                   design value is the metric used to                    which is how compliance with the
                                                 These commenters further support this                   determine compliance with the standard                standard is assessed and composite
                                                 view by citing the CASAC’s advice in                    and is the statistic that describes the air           monitor concentrations, which is how
                                                 their review of the 2021 draft PA, where                quality status of a given location relative           key epidemiologic studies report their
                                                 the majority of CASAC stated that ‘‘even                to the level of the primary annual PM2.5              mean concentrations) across the U.S.
                                                 if a design value is somewhat higher                    NAAQS. The design value is different                  and in areas included in the key
                                                 than the area average, it reflects actual               from the study-reported mean PM2.5                    epidemiologic studies and found that
                                                 exposure levels and thus any portion of                 concentrations. This is because the                   the maximum design value in an area
                                                 the population living near the design                   study-reported mean PM2.5                             was generally higher than the monitor
                                                 value monitor does experience                           concentrations are an annual average                  average across that area, with the
                                                 exposures at that level and consequent                  PM2.5 concentration, similar to the level             amount of difference between the two
                                                 health effects of exposure to that higher               of the standard, but the epidemiologic                metrics varying based on location and
                                                 concentration’’ (Sheppard, 2022a, p. 14                 studies do not report statistics that take            concentration (Hassett-Sipple et al.,
                                                 of consensus responses). Additionally,                  into account the other elements of the                2010; Frank, 2012). This information
                                                 these commenters suggest that the EPA                   standard (i.e., averaging time and form).             was taken into account by the then-
                                                 should not deviate from the approach                    Therefore, when considering the                       Administrator’s final decision in
                                                 taken in the 2012 review, which was to                  appropriate revisions to the annual                   selecting a level of 12.0 mg/m3 for the
                                                 set the standard at a level ‘‘somewhat                  PM2.5 standard, the EPA must consider                 primary annual PM2.5 standard in the
                                                 below’’ the lowest mean PM2.5                           the protection provided by a revised                  2012 review and discussed more
                                                 concentration in the key epidemiologic                  standard taking into account all of the               specifically in her considerations on
                                                 studies.                                                elements of the standard, not just the                adequate margin of safety.
                                                    To the extent that commenters are                    annual average PM2.5 concentration                       The relationship between the mean
                                                 suggesting that the EPA is setting the                  alone.                                                PM2.5 concentrations and the area
                                                 level of the primary annual PM2.5                                                                             design value continues to be an
                                                                                                            In considering the annual standard,
                                                 standard below the design values in the                                                                       important consideration in evaluating
                                                                                                         and in assessing the range of study-
                                                 epidemiologic studies, rather than                                                                            the adequacy of the current or potential
                                                                                                         reported exposure concentrations for
                                                 below the study-reported mean PM2.5                                                                           alternative annual standard levels in
                                                                                                         which we have the strongest support for
                                                 concentrations, we disagree with the                                                                          this reconsideration. Again, in a given
                                                                                                         adverse health effects observed in
                                                 commenters. In reaching conclusions on                                                                        area, the area design value is based on
                                                 the level of the primary annual PM2.5                   epidemiologic studies, the EPA focuses                the monitor in an area with the highest
                                                 standard, the EPA considers the long-                   on whether the current primary annual                 PM2.5 concentrations and is used to
                                                 term study-reported mean PM2.5                          PM2.5 standard provides adequate                      determine compliance with the
                                                 concentrations from key epidemiologic                   protection against these exposure                     standard, including the averaging time
                                                 studies and sets the level of the standard              concentrations or if the level of the                 and form of the standard (i.e., an annual
                                                 to somewhat below the lowest long-term                  standard should be revised to provide                 average over 3-years must not exceed
                                                 mean PM2.5 concentration, not below                     the appropriate public health                         the level of the of the annual PM2.5
                                                 the design values in the epidemiologic                  protection. This means that, as in some               standard). The highest PM2.5
                                                 studies. Additionally, the EPA also                     previous reviews, it is important to                  concentrations spatially distributed in
                                                 considers the available information from                consider how the study means were                     the area would generally occur at or
                                                 a subset of epidemiologic studies that                  computed and how these concentrations                 near the area design value monitor and
                                                 report exposure estimates or health                     compare to the annual standard metric                 the distribution of PM2.5 concentrations
                                                 events at the 25th and 10th percentiles                 (including the level, averaging time and              would generally be lower in other
                                                 of PM2.5 concentrations. The EPA                        form) which must be met at the monitor                locations and at monitors in that area.
                                                 particularly considers the 25th                         with the highest PM2.5 design value in                As such, when an area is meeting a
                                                 percentile data, while recognizing that                 an area for compliance with the                       specific annual standard level (e.g., 9.0
                                                 our confidence in the magnitude and                     NAAQS. This approach is based on the                  mg/m3), we would expect the annual
                                                 significance in the reported                            application of a decision framework                   average exposures (i.e., a metric similar
                                                 concentrations, and the ability of the                  based on assessing means (as well as the              to the study-reported mean values) in
                                                 lower percentile PM2.5 concentrations to                lower distribution of reported PM2.5                  that area to be at concentrations lower
                                                 inform decisions on the appropriate                     concentration, as noted above) reported               than that level (e.g., lower than 9.0 mg/
                                                 level of the annual standard, decreases                 in key epidemiologic studies. In the                  m3).
                                                 with reduced data (below the mean) and                  2012 review, the available key                           However, as described in section
                                                 diminishes further at percentiles that                  epidemiologic studies computed the                    II.A.2.c.ii, we note that there are a
                                                 are even further below the mean and the                 mean PM2.5 concentrations using an                    substantial number of different types of
                                                 25th percentile.                                        average across monitor-based PM2.5                    epidemiologic studies available since
                                                    However, the EPA notes that it is                    concentrations. As such, at that time,                the 2012 review, as assessed in both the
                                                 important to understand, and to not                     the decision framework used an                        2019 ISA and the ISA Supplement, that
                                                 ignore, the relationship between the                    approach based on maximum monitor                     make understanding the relationship
                                                 study-reported mean PM2.5                               concentrations to determine compliance                between the mean PM2.5 concentrations
                                                 concentrations reported in key                          with the standard, while selecting the                and the area design value an even more
                                                 epidemiologic studies and the area                      standard level based on consideration of              important consideration in this
                                                                                                         composite monitor concentrations (i.e.,
ddrumheller on DSK120RN23PROD with RULES3




                                                 design value. As an initial matter, the                                                                       reconsideration (U.S. EPA, 2019a; U.S.
                                                 NAAQS consists of all four elements of                  selecting the standard level of 12.0 mg/              EPA, 2022a). While the key
                                                 the standard (indicator, averaging time,                m3 was just below the long-term study-                epidemiologic studies in the 2012
                                                 form, and level) and setting a standard                 reported mean PM2.5 concentrations in                 review were all monitor-based studies,
                                                 that is requisite to protect public health              key epidemiologic studies). Further, the              the recent epidemiologic studies in this
                                                 includes consideration of all four                      EPA conducted analyses that examined                  reconsideration include hybrid
                                                 elements together. Following                            the differences in these two metrics (i.e.,           modeling approaches that have emerged
                                                 implementation of the NAAQS, the                        maximum monitor concentrations,                       in the epidemiologic literature as an


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00061   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024             Page 73 of 217
                                                 16262             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 alternative to approaches that only use                 and that the area’s annual design value,              PM2.5 design values were approximately
                                                 ground-based monitors to estimate PM2.5                 which is used for compliance with the                 10% to 20% higher than annual average
                                                 exposure. As assessed in the 2019 ISA                   standard, is calculated based on the                  composite monitor concentrations (i.e.,
                                                 and ISA Supplement, a substantial                       highest monitor in the area. Next, in this            averaged across multiple monitors in
                                                 number of epidemiologic studies used                    example, mean PM2.5 concentrations                    the same CBSA). Based on these results,
                                                 hybrid model-based methods in                           were calculated using similar                         this analysis suggests that there will be
                                                 evaluating associations between PM2.5                   approaches to those used in hybrid                    a distribution of concentrations and the
                                                 exposure and health effects. Hybrid                     modeling-based epidemiologic studies                  maximum annual average monitored
                                                 model-based studies employ various                      to compute study-reported means,                      concentration in an area (at the design
                                                 fusion techniques that combine ground-                  including (1) the average concentration               value monitor, used for compliance
                                                 based monitored data with air quality                   across the entire State of Georgia; (2) the           with the standard), will generally be 10–
                                                 modeled estimates and/or information                    population-weighted average across the                20% higher than the average across the
                                                 from satellites to estimate PM2.5                       entire State; (3) the average                         other monitors in the area. Thus, in
                                                 exposures. While these studies provide                  concentration across the Atlanta-Sandy                considering how the annual standard
                                                 a broader estimation of PM2.5 exposures                 Springs-Roswell CBSA; and (4) the                     levels would relate to the study-reported
                                                 compared to monitor-based studies (i.e.,                population-weighted average across the                means from monitor-based studies, we
                                                 PM2.5 concentrations are estimated in                   Atlanta-Sandy Springs-Roswell CBSA.                   can generally conclude that an annual
                                                 areas without monitors), the hybrid                     At the urban level (e.g., Atlanta-Sandy               standard level that is no more than 10–
                                                 modeling approaches result in study-                    Springs-Roswell CBSA), the average                    20% higher than monitor-based study-
                                                 reported means that are more difficult to               PM2.5 concentration when taking the                   reported mean PM2.5 concentrations
                                                 relate to the annual standard metric and                mean of all grid cells is 9.2 mg/m3,                  would generally maintain air quality
                                                 to the maximum monitor design values                    whereas the population-weighted mean                  exposures to be below those associated
                                                 used to assess compliance. In addition,                 is 9.6 mg/m3. Across Georgia, the average             with the study-reported mean PM2.5
                                                 to further complicate the comparison,                   PM2.5 concentration using the hybrid                  concentrations, exposures for which we
                                                 when looking across these studies, we                   approach and averaged across each grid                have the strongest support for adverse
                                                 find variations in how exposure is                      cell is 8.3 mg/m3, which is lower than                health effects occurring.
                                                 estimated between such studies, and                     the population-weighted statewide                        Air quality analyses described in
                                                 thus, how the study means are                           average of 9.1 mg/m3. While this is a                 section I.D.5 above also consider
                                                 calculated. Two important variations                    simple example completed in one State                 information from the epidemiologic
                                                 across studies include: (1) Variability in              and one CBSA, it suggests that the                    studies that utilized the hybrid
                                                 spatial scale used (i.e., averages                      lowest mean values tend to result from                modeling approaches. Analyses show
                                                 computed across the national (or large                  the approaches that use concentrations                that average maximum annual design
                                                 portions of the country) versus a focus                 from all or most grid cells (e.g., did not            values are 40–50% higher when
                                                 on only CBSAs); and (2) variability in                  apply population weighting), both urban               compared to annual average PM2.5
                                                 exposure assignment methods (i.e.,                      and rural, across the study area to                   concentrations estimated without
                                                 averaging across all grid cells, averaging              compute the mean. Higher mean values                  population weighting and are 15–18%
                                                 across a scaled-up area like a ZIP code,                are observed when the approach focuses                higher when compared to average
                                                 and population weighting). The                          on the urban areas alone or when the                  annual PM2.5 concentrations with
                                                 differences in these approaches can                     approach incorporates population                      population weighting applied. Given
                                                                                                                                                               these results, it is worth noting that for
                                                 result in studies reporting different                   weighting. Overall, this example
                                                                                                                                                               the studies using the hybrid modeling
                                                 study means, even though the                            suggests that the means from studies
                                                                                                                                                               approaches, the choice of methodology
                                                 association between PM2.5 exposure and                  using hybrid modeling approaches are
                                                                                                                                                               employed in calculating the study-
                                                 health effects outcomes are similar.                    generally lower than the means from
                                                                                                                                                               reported means (i.e., using population
                                                    To emphasize the importance of the                   monitor-based approaches, and means
                                                                                                                                                               weighting versus not applying aspects of
                                                 differences between the studies, we                     from both approaches are lower than the
                                                                                                                                                               population weighting), and not a
                                                 revisit the simplified example in the                   annual design values for the same area.
                                                                                                                                                               difference in estimates of exposure in
                                                 State of Georgia from the 2022 PA that                  Population weighting tends to increase
                                                                                                                                                               the study itself, can produce
                                                 evaluates monitors and hybrid modeling                  the calculated mean concentration,
                                                                                                                                                               substantially different study-reported
                                                 approaches, noting that this example is                 likely because more densely populated                 mean values, with the approach that
                                                 useful to exhibit how the differences in                areas also tend to have higher PM2.5                  does not employ population weighting
                                                 the methods used to estimate exposure                   concentrations. In other words, this                  producing a much lower reported mean
                                                 can lead to differences in the reported                 simplified example exhibits how not all               PM2.5 concentration. Therefore, the
                                                 mean concentrations (U.S. EPA, 2022b,                   reported mean PM2.5 concentrations                    impact of the differences in methods is
                                                 p. 3–71). In this example, for all                      from key epidemiologic studies are the                an important consideration when
                                                 monitors within the Atlanta-Sandy                       same; some reported means are from                    comparing mean concentrations across
                                                 Springs-Roswell CBSA, the average                       monitored studies and some reported                   studies.
                                                 PM2.5 concentration is 9.3 mg/m3, while                 means are from hybrid modeling                           Because of the differences in the
                                                 the area design value (based on the                     studies, while some reported means                    methods employed by the key
                                                 highest monitored PM2.5 concentration                   include only urban areas, and other                   epidemiologic studies, and as
                                                 in the area) is 10.4 mg/m3. This                        reported means include both urban and                 demonstrated by the example and air
                                                                                                         rural areas, and some reported means
ddrumheller on DSK120RN23PROD with RULES3




                                                 comparison helps to illustrate the fact                                                                       quality analyses above, the application
                                                 that composite monitor values tend to                   include aspects of population weighting               of any decision framework that
                                                 be somewhat lower than the highest                      while others do not.                                  considers the study-reported mean
                                                 area monitor values, consistent with the                   As detailed above in section I.D.5, in             PM2.5 concentrations, and evaluates
                                                 key points made in the 2012 review.                     the air quality analyses comparing                    whether the current annual standard
                                                 This example also illustrates how                       composite monitored PM2.5                             provides adequate protection against
                                                 monitors are sited to represent the                     concentrations with annual PM2.5 design               these reported exposure concentrations,
                                                 higher concentrations within the area                   values in U.S. CBSAs, maximum annual                  is more complicated than the


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00062   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024             Page 74 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                        16263

                                                 approaches used in past reviews. As                     would decrease even further with                      mean PM2.5 concentration and design
                                                 such, the EPA disagrees with                            distance from the highest monitor (i.e.,              values, stated that ‘‘the form of the
                                                 commenters who argue that the EPA’s                     the ‘‘design value monitor’’) (see, for               standard and the way attainment with
                                                 consideration of the relationship                       example, U.S. EPA, 2022a, section                     the standard is determined (i.e., highest
                                                 between mean PM2.5 concentrations                       2.3.3.2.4 and pp. 3–71 to 3–77). The                  design value in the CBSA) are important
                                                 reported in key epidemiologic studies                   Administrator further notes that when                 factors when determining the
                                                 and design values is not appropriate and                an epidemiologic study reports a mean                 appropriate level for the standard’’ and
                                                 should be ignored.                                      PM2.5 concentration that reflects the                 noted that that design values are
                                                   In considering the information from                   average of annual average monitor-based               generally higher than area average
                                                 the epidemiologic studies, while the                    concentrations across an area, the area               exposure levels (Sheppard, 2022a, p. 17
                                                 EPA does not dispute the reported                       design value will generally be higher                 of consensus responses). For all of the
                                                 associations of epidemiologic studies in                than the study-reported mean.                         reasons discussed above, and consistent
                                                 hybrid modeling studies that report                     Similarly, he observes that when a study              with the minority of the CASAC’s
                                                 long-term mean concentrations and do                    reports a mean that reflects the average              advice in their review of the 2021 draft
                                                 not apply aspects of population                         of annual average concentrations                      PA, we disagree with the commenters
                                                 weighting, using the reported long-term                 estimated at across an area using a                   that areas near the design value
                                                 mean concentration from these studies                   hybrid modeling approach, the area                    monitors would be expected to
                                                 in informing an appropriate level of the                design value will generally be higher.                experience PM2.5 concentrations above
                                                 annual PM2.5 standard is more                           As such, by evaluating the difference                 the study-reported mean concentrations.
                                                 uncertain. Given this, hybrid modeling                  between the study-reported mean PM2.5                    Several commenters assert that
                                                 studies that do not apply aspects of                    concentrations and design values, the                 epidemiologic studies that restrict PM2.5
                                                 population weighting provide less                       Administrator seeks to set the level of               concentration to below 12 mg/m3
                                                 information on conclusions regarding                    the standard below the lowest study-                  provide additional support for revising
                                                 the appropriate level of the primary                    reported mean, while ensuring that the                the level of the primary annual PM2.5
                                                 annual PM2.5 standard. In support of                    primary annual PM2.5 standard,                        standard to 8 mg/m3. Some commenters
                                                 this, some commenters also noted this                   including its averaging time and form,                disagree with the EPA’s assertion that
                                                 consideration and suggested that the                    provides protection against the                       the studies that employ restricted
                                                 Administrator place lower weight on                     exposures associated with health effects              analyses do not provide enough
                                                 U.S. studies that did not use population                observed in the key epidemiologic
                                                 weighting.                                                                                                    information to understand how the
                                                                                                         studies.                                              studies were restricted to certain PM2.5
                                                   In considering the relationship
                                                 between study-reported mean PM2.5                         Additionally, the EPA disagrees with                concentrations, with commenters
                                                 concentrations and the design values,                   commenters who contend that the                       providing additional information on the
                                                 the EPA agrees with commenters that                     approach taken may allow PM2.5 near                   methods for restricted analyses. The
                                                 setting the level of the primary annual                 the design value monitor to remain                    commenters state that for the long-term
                                                 standard below the design values, rather                above the study-reported mean PM2.5                   studies at issue here, the study authors
                                                 than below the study-reported mean                      concentrations. In following this                     simply examined their database that
                                                 concentrations, might allow PM2.5                       approach of setting the annual standard               linked subjects to long-term PM2.5
                                                 concentrations in some part of the area                 level somewhat below the lowest                       concentrations above 12 mg/m3,
                                                 near the design value monitor to remain                 reported mean PM2.5 concentration,                    removed those data from the analysis,
                                                 above the study-reported mean                           setting a standard level that requires the            and reran the analysis. Additionally,
                                                 PM2.5concentration, where evidence of                   design value monitor (which is the                    one commenter provided an explanation
                                                 health effects is strongest. As discussed               highest monitor in an area) to be just                of how the restricted analyses were
                                                 in the proposal and in section II.B.4                   below the lowest study-reported mean                  conducted in studies for which he was
                                                 below, the Administrator specifically                   across key studies will generally result              an author. The commenter notes that for
                                                 notes that that the highest PM2.5                       in distributions of even lower                        each year a subject was in the study,
                                                 concentrations spatially distributed in                 concentrations of PM2.5 across the entire             annual PM2.5 concentrations were
                                                 the area would generally occur at or                    area, such that even those people living              assigned at the ZIP code level. If they
                                                 near the area design value monitor and                  near an area design value monitor                     moved, they were assigned the ZIP code
                                                 that PM2.5 concentrations will be equal                 (where PM2.5 concentrations are                       level PM2.5 concentration for the new
                                                 to or lower at other monitors in the area.              generally highest) will be exposed to                 ZIP code. The commenter notes that
                                                 Furthermore, since monitoring strategies                PM2.5 concentrations below the PM2.5                  these restricted analyses only included
                                                 aim to site monitors in areas with higher               concentrations reported in the                        subjects whose annual PM2.5 exposure
                                                 PM2.5 concentrations, monitored areas                   epidemiologic studies where there is the              never exceeded that restricted
                                                 will generally have higher                              highest confidence of an association. In              concentration for any year of follow-up
                                                 concentrations compared to areas                        their review of the 2021 draft PA, the                in the study. The commenter suggested
                                                 without monitors. Therefore, by setting                 majority of the CASAC had some                        that the EPA may be concerned as to
                                                 the level of the standard to 9.0 mg/m3                  concerns about the approach for                       how PM2.5 concentrations in restricted
                                                 and just below the lowest study-                        comparing study means and design                      analyses related to a design value since
                                                 reported mean PM2.5 concentration (e.g.,                values, questioning whether such an                   these are exposures for individuals who
                                                 9.3 mg/m3), the highest possible design                 approach would provide adequate                       may have relocated during the study but
                                                                                                         protection for people who live in areas
ddrumheller on DSK120RN23PROD with RULES3




                                                 value in a given area would be just                                                                           argue that that is not the point. The
                                                 below the study-reported mean PM2.5                     with higher concentrations, such as                   commenters assert that while the
                                                 concentration, the concentration where                  those living in areas with higher                     analyses were restricted to people never
                                                 we have the most confidence in the                      concentrations (e.g., near the design                 exposed above certain concentrations
                                                 reported health effect association, and                 value monitor) (Sheppard, 2022a, p. 8 of              over longer periods of time, the actual
                                                 we anticipate that, based on our                        consensus responses). The minority of                 PM2.5 exposure was one year of
                                                 assessment of air quality data, the                     the CASAC, in considering the                         exposure in most of these studies.
                                                 distribution of PM2.5 concentrations                    relationship between the study-reported               Commenters also suggest that, since the


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00063   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024             Page 75 of 217
                                                 16264             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 EPA has deviated from its approach                      health effect associations for the full                  Several commenters contend that in
                                                 from the 2012 review for considering                    distribution of PM2.5 concentrations.                 considering the accountability studies,
                                                 study-reported mean PM2.5                                  As described in reaching his                       the EPA inappropriately reached
                                                 concentrations, the EPA should dismiss                  conclusions in the section below, the                 conclusions regarding the level of the
                                                 its concerns regarding being able to                    Administrator judges that, despite these              primary annual PM2.5 standard based on
                                                 relate the mean PM2.5 concentrations                    uncertainties and limitations, studies                the starting PM2.5 concentrations of
                                                 from these studies to design values.                    that use restricted analyses can provide              these studies, rather than the ending
                                                    First, the EPA agrees with                           supplemental information for                          concentrations (i.e., concentrations after
                                                 commenters that studies that employ                     consideration in reaching conclusions                 a policy was implemented). The
                                                 restricted analyses can be used for                     regarding both the adequacy and level of              commenters assert that these studies
                                                 informing conclusions regarding the                     the standard. He notes two studies (Di                provide support for revising the level of
                                                 appropriate level of the primary annual                 et al., 2017b and Dominici et al., 2019)              the primary annual PM2.5 standard to
                                                 PM2.5 standard. However, the EPA                        are available in this reconsideration that            below the proposed range of 9–10 mg/m3
                                                 disagrees that the information provided                 report means in their restricted analyses             to protect public health with an
                                                 by the commenters provides a sufficient                 (restricting annual average PM2.5                     adequate margin of safety.
                                                 basis for an annual standard level of 8                 exposure below 12 mg/m3) and used                        Accountability studies examine the
                                                 mg/m3. Restricted analyses provide                      population-weighted approaches to                     effect of a policy on reducing PM2.5
                                                 additional support for effects at lower                 estimate PM2.5 exposures and these                    concentrations in ambient air and
                                                 concentrations, exhibiting associations                 studies report mean PM2.5                             evaluate whether such reductions were
                                                                                                         concentrations of 9.6 mg/m3. He
                                                 for mean concentrations presumably                                                                            observed to also lead to reductions in
                                                                                                         recognizes that these studies are just one
                                                 below the mean concentrations for the                                                                         PM2.5- associated health outcomes (e.g.,
                                                                                                         line of evidence for consideration and
                                                 main analyses. However, even though                                                                           mortality). Additionally, accountability
                                                                                                         that along with the broader evidence
                                                 commenters note that any individual                                                                           studies can reduce uncertainties related
                                                                                                         base, including the key epidemiologic
                                                 with exposures over the restricted                                                                            to residual confounding of temporal and
                                                                                                         studies, these studies provide support
                                                 analyses is excluded from restricted                                                                          spatial factors (U.S. EPA, 2022a, p. 3–
                                                                                                         that the level of the primary annual
                                                 analyses, uncertainties remain with                                                                           25). Prior to implementation of the
                                                                                                         PM2.5 standard should be set below 10
                                                 regard to how the mean PM2.5                                                                                  policies, three accountability studies
                                                                                                         mg/m3.
                                                 concentrations in restricted analyses                      We disagree with the commenters that               newly available in this reconsideration
                                                 compare to design values, particularly                  concerns about relating the mean PM2.5                and assessed in the ISA Supplement,
                                                 in light of the removal of entire ZIP                   concentrations from restricted analyses               report mean PM2.5 concentrations below
                                                 codes from analyses. Design values are                  to design values are not valid. As an                 the level of the current annual standard
                                                 calculated based on all measured PM2.5                  initial matter, restricted analyses were              level (12.0 mg/m3) and ranged from 10.0
                                                 concentrations. When an analysis is                     not available and did not inform the                  mg/m3 to 11.1 mg/m3 (Sanders et al.,
                                                 restricted below a certain level, some                  2012 decision to revise the annual PM2.5              2020b; Corrigan et al., 2018; and
                                                 parts of the air quality distribution are               standard level to 12.0 mg/m3. The                     Henneman et al., 2019). These studies
                                                 removed, but comparing the restricted                   approach in 2012 in revising the annual               suggest that public health improvements
                                                 mean to a design value is not possible                  standard was to set the level to                      may occur following the
                                                 because these are two different metrics.                somewhat below the mean of key                        implementation of a policy that reduces
                                                 For example, in a study that restricts                  epidemiologic studies. As noted above,                annual average PM2.5 concentrations
                                                 concentrations below 12 mg/m3, that                     while the EPA believes that restricted                below the level of the current standard
                                                 represents only part of the air quality                 analyses can help inform conclusions                  of 12.0 mg/m3, and potentially below the
                                                 distribution, whereas a design value for                regarding the adequacy and the level of               lowest ‘‘starting’’ concentrations in
                                                 that study area would include all PM2.5                 the primary annual PM2.5 standard, in                 these studies of 10.0 mg/m3. However,
                                                 concentrations, not just the ones below                 the context of placing the studies in a               while the small number of studies may
                                                 12 mg/m3. Therefore, in contrast to                     decision framework to inform the                      provide limited information related to
                                                 means from the main (unrestricted)                      appropriate level of the annual PM2.5                 informing the adequacy and level of the
                                                 analysis, it is not possible to compare                 standard, the EPA has not deviated from               annual PM2.5 standard, we note that
                                                 mean concentrations from restricted                     its approach from the 2012 review.                    accountability studies are only one line
                                                 analyses to design values. Further, it is               Given that restricted analyses are new                of evidence, and that these studies
                                                 unclear how one could evaluate such a                   since the 2012 review, the EPA                        provide supplemental information for
                                                 relationship between design values and                  disagrees with commenters that                        consideration in addition to the full
                                                 mean PM2.5 concentrations from studies                  uncertainties associated with these                   body of evidence. Further, the EPA does
                                                 that use restricted analyses because the                studies should not be considered, and                 not believe it would be appropriate to
                                                 standard is set based on all of its                     that these studies should be used in a                determine the level of the standard by
                                                 elements (indicator, averaging time,                    similar manner to their main analyses in              reference to ending concentrations in
                                                 form, and level) and removing PM2.5                     taking an approach to set a level of the              accountability studies. Accountability
                                                 concentrations from the calculation of                  standard somewhat below the lowest                    studies are most informative in
                                                 the design value for such a comparison                  long-term reported mean PM2.5                         demonstrating that public health
                                                 would result in a metric that is no                     concentration. Specifically, as detailed              improvements may occur following the
                                                 longer a design value that would                        above there are uncertainties and                     implementation of a policy that reduces
                                                 provide the intended protection of the                                                                        annual average PM2.5 concentrations
ddrumheller on DSK120RN23PROD with RULES3




                                                                                                         limitations associated with relating the
                                                 standard. This leads to greater                         mean PM2.5 concentrations from these                  below the level of the current standard
                                                 uncertainty in how to use the mean                      studies to design values for studies that             of 12.0 mg/m3, and potentially below the
                                                 PM2.5 concentrations from these studies                 use restricted analyses, and many of                  lowest ‘‘starting’’ concentrations in
                                                 that use restricted analyses in a similar               these studies did not expressly report a              these studies of 10.0 mg/m3. However,
                                                 decision framework as the                               mean PM2.5 concentration for the                      the EPA finds the available information
                                                 epidemiologic studies that report long-                 restricted analysis which makes it                    from accountability studies is too
                                                 term mean PM2.5 concentrations for                      impossible to make such a comparison.                 limited to support a conclusion that the


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00064   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024             Page 76 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                        16265

                                                 appropriate level at which to set the                   kilometer in the contiguous U.S.98                    areas, which are further from air quality
                                                 primary annual PM2.5 standard would                     compared to Canada, which has one of                  monitors and where PM2.5
                                                 be equal to the ending concentrations of                the lowest population densities on the                concentrations in the ambient air tend
                                                 those studies, as the commenters                        Earth with 4.2 people per square                      to be lower (U.S. EPA, 2022b, pp. 2–51
                                                 suggest. These studies demonstrate that                 kilometer (Statistics Canada, 2023). This             and 2–63). Additionally, it is unclear
                                                 there are reductions in health outcomes                 difference in population density                      what portion of the PM2.5 concentrations
                                                 when PM2.5 concentrations are reduced                   between the U.S. and Canada was not as                from rural areas are contributing to the
                                                 in these studies from the starting                      apparent, and did not need to be                      study reported mean. Given this, studies
                                                 concentration to the ending                             highlighted, in the 2012 review given                 that incorporate more rural areas into
                                                 concentration, but do not provide                       that the available Canadian                           the epidemiologic studies highlight the
                                                 support for health effect associations at               epidemiologic studies used population-                importance of considering the
                                                 or below the ending concentrations that                 weighting and focused on urban areas                  differences between the population
                                                 would warrant a more stringent                          where monitors were available and                     exposures in the studies themselves and
                                                 standard.                                               population densities were more                        in the U.S. versus Canadian study areas,
                                                    Commenters disagree with the                         comparable with those in the U.S. Given               as well as the influence these
                                                 Administrator placing less weight on                    this, the study-reported mean                         differences have on the interpretation of
                                                 the epidemiologic studies conducted in                  concentrations from U.S. and Canadian                 the epidemiologic study results. For
                                                 Canada when reaching conclusions                        studies in the 2012 review were very                  these reasons, while the Canadian
                                                 regarding the level of the primary                      similar. The recent epidemiologic                     epidemiologic studies provide
                                                 annual PM2.5 standard. These                            evidence available in this                            additional support for associations
                                                 commenters argue that the Canadian                      reconsideration, however, includes                    between PM2.5 concentrations and
                                                 epidemiologic studies provide support                   studies that utilize approaches that                  health effects, the long-term means from
                                                 for setting the level at the lowest end of              highlight the importance of considering               Canadian epidemiologic studies are a
                                                 the proposed range (i.e., 8 mg/m3)                      the differences between the two                       less certain basis for informing the
                                                 because they report mean PM2.5                          exposure environments in the U.S.                     EPA’s selection of the annual standard
                                                 concentrations, in some cases, below 8                  versus Canada. When focusing on the                   level, given that it is a U.S.-based
                                                 mg/m3. Commenters disagree with the                     recently available Canadian monitor-                  standard.
                                                 EPA’s reasoning for placing less weight                 based epidemiologic studies in this                      With respect to the CASAC’s advice
                                                 on the Canadian epidemiologic studies,                  reconsideration, the information                      in their review of the 2021 draft PA, the
                                                 suggesting it conflicts with the                        indicates that these studies, unlike the              EPA recognizes that the majority of the
                                                 approaches in previous PM NAAQS                         studies available in the 2012 review, do              CASAC pointed to the Canadian studies
                                                 reviews and arguing that the findings of                not apply population weighting (e.g.,                 as supporting their recommendation to
                                                 the Canadian epidemiologic studies can                  Lavigne et al., 2018; Liu et al., 2019). As           revise the annual standard level to
                                                 be directly translated into a primary                   noted in responding to other public                   within the range of 8–10 mg/m3.
                                                 annual PM2.5 standard. Additionally,                    comments above, the absence of                        However, the EPA also notes that the
                                                 while the commenters disagree with the                  population weighting is an important                  CASAC did not advise the EPA to revise
                                                 EPA’s approach for considering the                      consideration that limits the utility of              the annual standard to a level that was
                                                 study-reported mean PM2.5                               these studies in informing the                        below the study-reported means in the
                                                 concentrations and design values in                     appropriate level of the primary annual               key Canadian epidemiologic studies.
                                                 general, they note that the CASAC, in                   PM2.5 standard. In addition, there are                Indeed, the CASAC noted that some of
                                                 their review of the 2021 PA, noted that                 recently available studies in the 2019                the Canadian studies showed
                                                 ‘‘while there may be no design value in                 ISA and ISA Supplement that expand                    associations below 8 mg/m3, but did not
                                                 Canada, there are data that indicate                    the geographical extent of the                        recommend that the Administrator
                                                 what a U.S. design value would be if an                 epidemiologic study areas by estimating               consider levels below 8 mg/m3 for the
                                                 area average like that found in the                     exposure concentrations in areas where                annual standard. Further, based on the
                                                 Canadian studies were to occur in the                   there are no monitors. To do this, these              CASAC’s advice, the Administrator is
                                                 U.S.’’ (Sheppard, 2022a, p. 13 of                       studies use either a statistical                      not excluding Canadian studies from his
                                                 consensus responses). The commenters                    extrapolation of monitored values or use              consideration in this reconsideration,
                                                 contend that the EPA failed to                          air quality modeling and other forms of               but he is considering them in light of
                                                 acknowledge this advice from the                        data (e.g., hybrid model-based                        the limitations and challenges presented
                                                 CASAC, specifically noting that the                     approaches). For these Canadian                       and in the context of the full body of
                                                 majority of the CASAC highlighted                       studies, the EPA notes two important                  available scientific evidence.
                                                 Canadian epidemiologic studies as a                     considerations in using the information                  Lastly, the EPA disagrees with
                                                 part of their rationale for revising the                to directly translate to policy decisions             commenters that the findings of the
                                                 level of the primary annual PM2.5                       regarding the level of the annual                     Canadian epidemiologic studies can be
                                                 standard to within the range of 8–10 mg/                standard in the U.S. The first is that in             directly translated into a primary annual
                                                 m3.                                                     incorporating a larger portion of Canada              PM2.5 standard based on the evaluation
                                                    In considering the information from                  into these recent studies, more rural                 of the relationship between U.S. study-
                                                 the epidemiologic studies in reaching                   areas are included, and as such, the                  reported mean PM2.5 concentrations and
                                                 his conclusions, the Administrator                      population densities and exposure                     U.S. design values. It is unclear whether
                                                 considered the full body of evidence,                   environment differences become more                   the relationship between U.S. study-
ddrumheller on DSK120RN23PROD with RULES3




                                                 including studies conducted in the U.S.                 important. The second is that in                      reported mean PM2.5 concentrations and
                                                 and Canada. However, as described in                    analyses that evaluate and validate                   U.S. design values (which, in the case
                                                 the proposal and in section II.B.4 below,               hybrid models, there is less certainty in             of U.S. hybrid model-based studies,
                                                 the Administrator also recognizes that                  PM2.5 exposure estimates in more rural                indicates that design values are 15–18%
                                                 the exposure environments in the U.S.                                                                         greater than area mean PM2.5
                                                 are different from those in Canada. In                    98 All of the key U.S. epidemiologic studies        concentrations) would apply to the
                                                 particular, the U.S. population density                 considered in this reconsideration focus on all or    Canadian epidemiologic studies and
                                                 is approximately 43 people per square                   subsections of the continental U.S.                   their reported mean PM2.5


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00065   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                                Filed: 03/06/2024                   Page 77 of 217
                                                 16266             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 concentrations, given that these studies                of 9.0 mg/m3, disparities in exposure are                  from epidemiologic studies that do not
                                                 generally report lower PM2.5                            significantly reduced for an alternative                   quantitatively account for uncertainties
                                                 concentrations than the U.S.-based                      standard level of 8.0 mg/m3 (U.S. EPA,                     in associations between PM2.5 exposure
                                                 studies. As such, interpreting the study-               2022b, p. 3–162).                                          and health effects at lower
                                                 reported mean concentrations from the                      As discussed in section I above, the                    concentrations and are based on an air
                                                 Canadian studies in the context of a                    primary (health-based) NAAQS are                           quality adjustment approach that
                                                 U.S.-based standard may present                         established at a level that is requisite to                incorporates proportional decreases in
                                                 challenges in directly and quantitatively               protect public health, including the                       PM2.5 concentrations to meet lower
                                                 informing decisions regarding potential                 health of sensitive or at-risk groups,                     alternative standard levels. As a result,
                                                 alternative levels of the annual                        with an adequate margin of safety.99 In                    simulated air quality improvements
                                                 standard, particularly noting the                       so doing, decisions on the NAAQS are                       used in the risk assessment will always
                                                 different in exposure relationships in                  based on an explicit and comprehensive                     lead to proportional decreases in risk
                                                 the U.S. versus Canada given the large                  assessment of the current scientific                       (i.e., each additional mg/m3 reduction
                                                 difference in population densities                      evidence and associated risk analyses.                     produces additional benefits with no
                                                 between the two countries. Further, as                  More specifically, the EPA expressly                       clear stopping point), without
                                                 mentioned above, while the CASAC                        considers the available information                        considering the substantially greater
                                                 advised the EPA to consider the                         regarding health effects among at-risk                     uncertainties associated with the
                                                 Canadian studies as relevant evidence                   populations in decisions on the primary                    relationship between PM2.5 exposures
                                                 and found that placing weight on the                    NAAQS. Where populations with                              and health effects at lower
                                                 Canadian studies supported their                        disparities in exposure and risk are                       concentrations.
                                                 recommendation to revise the annual                     among the at-risk populations, the                            The same is true for the new at-risk
                                                 standard level to within the range of 8–                decision on the standards is based on                      analysis in the risk assessment
                                                 10 mg/m3, the lower end of their                        providing requisite protection for these                   presented in the 2022 PA that is based
                                                 recommended range for the level of the                  and other at-risk populations and                          on a recent epidemiologic study that is
                                                 annual standard did not extend below                    lifestages.                                                available in this reconsideration that
                                                 the lower study-reported means from                        The Administrator expressly                             provides mortality risk coefficients for
                                                 those studies.                                          considered the available information                       older adults (i.e., 65 years and older)
                                                    Commenters who supported retaining                   regarding health effects among at-risk                     based on PM2.5 exposure and stratified
                                                 and revising the primary annual PM2.5                   populations in reaching the proposed                       by racial and ethnic demographics.
                                                 standard both raised concerns regarding                 decisions that the current primary                         Generally, the results of at-risk analyses
                                                 how the EPA used the scientific                         annual PM2.5 standard is not requisite to                  can vary greatly depending on the
                                                 evidence and quantitative risk                          protect public health with an adequate                     inputs to the analyses, including the
                                                 assessment related to disparities in                    margin of safety, and should be revised.                   representativeness of the populations
                                                 PM2.5 exposure and risk in informing                    The 2019 ISA and ISA Supplement                            and demographics captured by the
                                                 conclusions on the standard.                            identified children, older adults, people                  study areas that are a part of the
                                                 Commenters who supported retaining                      with pre-existing diseases                                 analyses, as well as the available C–R
                                                 the standard assert that the available                  (cardiovascular disease and respiratory                    functions from epidemiologic studies
                                                 scientific evidence that demonstrates                   disease), minority populations, and low                    that stratify by race and ethnicity and
                                                 disparities for minority populations do                 SES populations as at-risk populations.                    the air quality adjustment approaches
                                                 not support revising the standard,                      The Administrator is thus, in his final                    that are used to simulate air quality at
                                                 noting that these studies are in areas                  decision, establishing primary PM2.5                       different standard levels. In fact, for this
                                                 that tend to have large minority                        standards which, in his judgment, will                     at-risk analysis, the results are even
                                                 populations and more sources of PM.                     provide protection for these at-risk                       more uncertain than similar estimates
                                                 These commenters contend that because                   populations, including minority                            from the overall risk assessment due to
                                                 the studies conclude that minority                      populations, with an adequate margin of                    additional sources of uncertainty
                                                 populations experience more effects                     safety.                                                    specific to the at-risk analysis, such as
                                                 than others living in the same area that                   With respect to the risk assessment,                    using C–R functions derived from
                                                 something other than PM2.5                              while the EPA notes that the analyses                      smaller epidemiologic sample sizes
                                                 concentrations in ambient air is causing                support the conclusion that the primary
                                                 the disproportionate impact on minority                                                                            along with the sources of uncertainty
                                                                                                         PM2.5 standards are not adequate, as                       that apply to the overall risk assessment
                                                 populations, providing proximity to a                   detailed further in the proposal and
                                                 source as an example. The commenters                                                                               (U.S. EPA, 2022b, section 3.4.1.8).
                                                                                                         above in section II.A.3, the EPA also                      Additionally, in characterizing at-risk
                                                 note that it is unclear how a national                  cautions against an over-interpretation
                                                 standard will reduce exposure                                                                                      populations, the at-risk analysis only
                                                                                                         of the absolute results. The quantitative                  used one of the air quality adjustment
                                                 disparities for population groups living                risk assessment provides estimates of
                                                 in the same area, and further assert that                                                                          approaches used in the overall risk
                                                                                                         PM2.5-attributable mortality based on                      assessment, which decreases the
                                                 studies of exposure disparities among                   input data that include C–R functions
                                                 minority populations were considered                                                                               potential representativeness of the PM2.5
                                                 in reaching the 2020 final decision to                     99 The legislative history of section 109 indicates
                                                                                                                                                                    concentrations across the study areas
                                                 retain the standards.                                   that a primary standard is to be set at ‘‘the
                                                                                                                                                                    (U.S. EPA, 2022b, section 3.4.1.8).
                                                    Conversely, commenters who support                   maximum permissible ambient air level . . . which          Lastly, this at-risk analysis relies on the
                                                                                                         will protect the health of any [sensitive] group of        stratified risk coefficients from only one
ddrumheller on DSK120RN23PROD with RULES3




                                                 revising the standard assert that the at-
                                                                                                         the population,’’ and that for this purpose                epidemiologic study.100 For these
                                                 risk analyses conducted in the 2022 PA                  ‘‘reference should be made to a representative
                                                 provide support for revising the primary                sample of persons comprising the sensitive group
                                                                                                                                                                    reasons, the Administrator places little
                                                 annual PM2.5 standard to a level of 8 mg/               rather than to a single person in such a group.’’ S.
                                                 m3. In particular, these commenters                     Rep. No. 91–1196, 91st Cong., 2d Sess. 10 (1970);            100 Additional information on all available at-risk

                                                                                                         see also, e.g., Am. Lung Ass’n v. EPA, 134 F.3d 388,       epidemiologic studies in this reconsideration are
                                                 state that the at-risk analysis                         389 (D.C. Cir. 1998) (‘‘If a pollutant adversely affects   available in section 3.4 and Appendix C of the 2022
                                                 demonstrated that while disparities in                  the health of these sensitive individuals, EPA must        PA (U.S. EPA, 2022b, section 3.4, Figure 3–17, and
                                                 mortality risk remain at a standard level               strengthen the entire national standard’’).                Appendix C, section C.3.2).



                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00066   Fmt 4701   Sfmt 4700    E:\FR\FM\06MRR3.SGM      06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024             Page 78 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                         16267

                                                 weight on the absolute results of the risk              These commenters also noted the                       standard to within the range of 25–30
                                                 assessment, including the at-risk                       primary annual and 24-hour PM2.5                      mg/m3 as recommended by the majority
                                                 analysis, for purposes of selecting the                 standards work together to provide                    of the CASAC. Some of these
                                                 level of the annual standard that is                    public health protection, with the 98th               commenters support a level no higher
                                                 requisite.                                              percentile form of the 24-hour standard               than 25 mg/m3 and others support a
                                                    While there are substantial                          effectively limiting peak daily                       level of 20 mg/m3. These commenters
                                                 uncertainties in the absolute results of                concentrations. The commenters agree                  generally cite to the available scientific
                                                 the quantitative risk assessment, the                   with the EPA that the current suite of                evidence, including evidence of
                                                 EPA also notes that recent scientific                   standards maintain subdaily                           disproportionate exposures and risks for
                                                 evidence evaluated in the ISA                           concentrations below the higher                       certain at-risk groups, and the CASAC’s
                                                 Supplement, which built upon the 2019                   concentrations in controlled human                    advice in support for their
                                                 PM ISA conclusions, found that the                      exposure studies where more consistent                recommendation. Some of these
                                                 evidence ‘‘[c]ontinue[s] to support                     health effects are observed. Commenters               commenters also suggest that decisions
                                                 disparities in PM2.5 exposure and health                also agree with the EPA’s conclusions                 regarding the primary 24-hour PM2.5
                                                 risks by race and ethnicity’’ while                     that the epidemiologic studies are not                standard should not be related to
                                                 studies of SES ‘‘provide additional                     useful for informing decisions on the                 decisions on the primary annual PM2.5
                                                 support indicating there may be                         level of the primary 24-hour PM2.5                    standard.
                                                 disparities in PM2.5 exposure and health                standard because the standard focuses                    As an initial matter, the EPA disagrees
                                                 risk by SES’’ (U.S. EPA, 2022a, p. 5–4).                on reducing peak exposures with its                   with commenters who suggest that
                                                 Thus, in light of the statutory                         98th percentile form, while the                       decisions regarding the primary 24-hour
                                                 requirement to provide protection for at-               epidemiologic studies often focus on the              PM2.5 standard should not be related to
                                                 risk populations, it is not surprising that             mean or median as the percentile for                  decisions on the primary annual PM2.5
                                                 the stratified population results of the                which associations with short-term                    standard. In reviewing the adequacy of
                                                 risk assessment suggest that meeting a                  exposures are observed. These                         the public health protection afforded by
                                                 revised standard would result in higher                 commenters also agree with the EPA’s                  the primary PM2.5 standards, the
                                                 risk reductions for minority and low                    focus on U.S.-based studies because of                Administrator’s consistent past practice
                                                 SES populations.                                        differences compared to Canadian
                                                    In conclusion, the EPA recognizes                                                                          has been to evaluate the combination of
                                                                                                         studies. The commenters also generally                the annual and 24-hour standards
                                                 that the at-risk analysis was based on                  agree with the Administrator’s judgment
                                                 one epidemiologic study that stratified                                                                       together. In 2012, the then-
                                                                                                         that it was appropriate to place less                 Administrator concluded that the most
                                                 by race/ethnicity for older adults (e.g.,               weight on the risk assessment, noting
                                                 65+ years old) and that there is                                                                              effective and efficient way to reduce
                                                                                                         that the annual standard is controlling               total population risk associated with
                                                 increasing uncertainty in quantitative
                                                                                                         in most areas of the country and                      both long- and short-term PM2.5
                                                 estimates of stratified risk estimates at
                                                                                                         revising the annual standard would                    exposures was to set a generally
                                                 the lower end of the range of standard
                                                                                                         have the most potential to reduce risk                controlling annual standard, and to
                                                 levels assessed. Moreover, the EPA finds
                                                                                                         related to PM2.5 exposures and would                  provide supplemental protection by
                                                 that the goal of the NAAQS is to provide
                                                                                                         reduce both average (annual) and peak                 means of a 24-hour standard set at the
                                                 the requisite protection to at-risk
                                                                                                         (daily) PM2.5 concentrations. Finally,                appropriate level. In so doing, the then-
                                                 groups, and where minority populations
                                                                                                         these commenters note that the CASAC                  Administrator explicitly recognized that
                                                 are included among the at-risk groups,
                                                                                                         did not reach consensus on whether the                potential air quality changes associated
                                                 providing requisite protection to
                                                                                                         current primary 24-hour PM2.5 standard                with meeting a revised annual standard
                                                 minority populations will also result in
                                                 protecting the public health of other                   should be revised, and they agree with                (with a level of 12 mg/m3) would result
                                                 populations. Thus, in setting the                       the minority of the CASAC’s                           in lowering risks associated with both
                                                 NAAQS to protect the health of at-risk                  recommendation in their review of the                 long- and short-term PM2.5 exposures by
                                                 groups with an adequate margin of                       2021 draft PA that the primary 24-hour                lowering the overall distribution of air
                                                 safety, the Administrator is selecting the              primary PM2.5 standard should be                      quality concentrations, and that
                                                 standard that will provide requisite                    retained. These commenters also note                  retaining a 24-hour standard at the
                                                 protection, including for minority                      the CASAC’s support in their review of                appropriate level would ensure an
                                                 populations and other at-risk                           the 2019 draft PA for retaining the                   adequate margin of safety against short-
                                                 populations, which also generally                       primary 24-hour PM2.5 standard.                       term effects in areas with high peak-to-
                                                 results in protecting the public health of                 A number of commenters, primarily                  mean ratios (78 FR 3163, January 15,
                                                 other populations and reducing risk                     from public health and environmental                  2013). In this reconsideration, also, the
                                                 disparities.                                            organizations and some States, oppose                 Administrator considers it appropriate
                                                    A number of commenters, primarily                    the EPA’s proposed decision to retain                 to rely on the annual standard
                                                 from industries and industry groups and                 the primary 24-hour PM2.5 standard.                   (arithmetic mean, averaged over three
                                                 some States, support the EPA’s                          These commenters support revising the                 years) for targeting protection against
                                                 proposed decision to retain the primary                 level of the primary 24-hour PM2.5                    both long- and short-term PM2.5
                                                 24-hour PM2.5 standard. Many of these                   standard, contending that a more                      exposures, noting that the annual
                                                 commenters contend that the available                   stringent standard is necessary to                    standard is typically controlling, while
                                                 scientific evidence and quantitative                    provide requisite public health                       the 24-hour standard (98th percentile,
ddrumheller on DSK120RN23PROD with RULES3




                                                 information has not significantly                       protection with an adequate margin of                 averaged over three years) can provide
                                                 changed since the 2020 final decision                   safety, particularly for at-risk groups. In           supplemental protection against the
                                                 and note that important uncertainties                   so doing, these commenters place                      occurrence of peak 24-hour PM2.5
                                                 remain. The commenters agree with the                   weight on the same aspects of the                     concentrations (U.S. EPA, 2022b,
                                                 EPA’s conclusions regarding the                         available scientific evidence as the                  section 3.6.3). Further, the
                                                 controlled human exposure studies and                   majority of the CASAC in their review                 Administrator notes that, as in the 2012
                                                 their relationship to short-term peak                   of the 2021 draft PA, and generally                   review, changes in PM2.5 air quality to
                                                 PM2.5 concentrations in ambient air.                    advocate for revising the level of the                meet a revised annual standard would


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00067   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024                Page 79 of 217
                                                 16268             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 affect the entire distribution of long- and             submitted an analysis of monitoring                   due to short-term exposure to PM2.5, and
                                                 short-term concentrations, thus likely                  data from 2017–2020, which compares                   typically would not, by themselves, be
                                                 resulting not only in lower short- and                  the number of days per year where                     judged as adverse (88 FR 5620, January
                                                 long-term PM2.5 concentrations near the                 maximum daily PM2.5 concentrations                    27, 2023) 102 103
                                                 middle of the air quality distribution,                 exceed 120 mg/m3 and 37.8 mg/m3.                         The EPA notes that the majority of the
                                                 but also in fewer and lower short-term                     Additionally, other commenters assert              CASAC, in their review of the 2021 draft
                                                 peak PM2.5 concentrations.101 Thus, the                 that the EPA should focus less on peak                PA, commented that these controlled
                                                 Administrator continues to conclude it                  PM2.5 concentrations ‘‘typically                      human exposure studies generally do
                                                 is appropriate to consider whether the                  measured’’ in areas meeting the current               not include populations with
                                                 annual and 24-hour standards together                   primary PM2.5 standards even if they do               substantially increased risk from
                                                 provide requisite protection of public                  not exceed the concentrations in the                  exposure to PM2.5, such as children,
                                                 health, rather than considering each                    controlled human exposure studies                     older adults, or those with more severe
                                                 standard in isolation.                                  because, in their view, the standard                  underlying illness, and often involve
                                                    Regarding the appropriate basis for                  needs to protect against atypical                     exposure to only one pollutant to elicit
                                                 determining the level of the 24-hour                    exposures to atypical peak PM2.5                      a response. However, both the majority
                                                 standard, a number of commenters who                    concentrations. These commenters                      and the minority of the CASAC
                                                 support revising the primary 24-hour                    conclude that, when considered                        explained that, even taking into
                                                 PM2.5 standard to a lower level contend                 together, the controlled human exposure               consideration their limitations, the
                                                 that the EPA should not rely on the                     studies and the epidemiologic studies                 controlled human exposure studies
                                                 controlled human exposure studies in                    warrant strengthening the level of the                provide some support for assessing the
                                                 evaluating the adequacy of the public                   primary 24-hour PM2.5 standard.                       adequacy of the 24-hour standard.104
                                                 health protection afforded by the                          The EPA generally disagrees with                      The EPA agrees with the CASAC that
                                                 primary 24-hour PM2.5 standard. These                   commenters who contend that it is                     the controlled human exposure studies
                                                 commenters support this view by citing                  inappropriate to rely on the controlled               generally do not include populations
                                                 the CASAC comments in their review of                   human exposures studies in evaluating                 with substantially increased risk from
                                                 the 2019 draft PA which advised that                    the adequacy of the public health                     exposure to PM2.5, like children, older
                                                 controlled human exposure studies have                  protection afforded by the primary 24-                adults, or those with pre-existing severe
                                                 limitations that may impact their ability               hour PM2.5 standard. The Agency                       illness, like cardiovascular effects. As
                                                 to inform conclusions on the adequacy                   considers these studies informative both              such, and as an initial note, these
                                                 of the public health protection afforded                for establishing biological plausibility
                                                 by the primary 24-hour PM2.5 standard.                  and for determining an appropriate level                 102 Judgments regarding adversity or health

                                                 Commenters noted that these studies do                  for the 24-hour standard. When looking                significance of measurable physiological responses
                                                                                                                                                               to air pollutants have been informed by guidance,
                                                 not include the most vulnerable                         to the experimental studies, the EPA                  criteria or interpretative statements developed
                                                 populations and often involve exposure                  finds that the 2019 ISA and ISA                       within the public health community, including the
                                                 to only one pollutant to elicit a                       Supplement included controlled human                  American Thoracic Society (ATS) and the European
                                                 response, and therefore are not                         exposure studies that report statistically            Respiratory Society (ERS), which cooperatively
                                                                                                                                                               updated the ATS 2000 statement What Constitutes
                                                 representative of real-world exposures.                 significant effects on one or more                    an Adverse Health Effect of Air Pollution (ATS,
                                                    Other commenters support the EPA’s                   indicators of cardiovascular function                 2000) with new scientific findings, including the
                                                 use of the controlled human exposure                    following 2-hour exposures to PM2.5                   evidence related to air pollution and the
                                                 studies to inform the adequacy of the                   concentrations at and above 120 mg/m3                 cardiovascular system (Thurston et al., 2017).
                                                                                                                                                                  103 The ATS/ERS described its 2017 statement as
                                                 public health protection and note that                  (and at and above 149 mg/m3 for                       one ‘‘intended to provide guidance to policymakers,
                                                 the 24-hour standard must at least                      vascular impairment, the effect shown                 clinicians and public health professionals, as well
                                                 provide protection against the health                   to be most consistent across studies). As             as others who interpret the scientific evidence on
                                                 effects observed in controlled human                    noted in the 2019 ISA, these studies are              the health effects of air pollution for risk
                                                                                                         important in establishing biological                  management purposes’’ and further notes that
                                                 exposure studies. Some of the                                                                                 ‘‘considerations as to what constitutes an adverse
                                                 commenters cite the Wyatt et al. (2020)                 plausibility for PM2.5 exposures causing              health effect, in order to provide guidance to
                                                 study that demonstrated cardiovascular                  more serious health effects, such as                  researchers and policymakers when new health
                                                 effects following 2-hour exposures to                   those seen in short-term exposure                     effects markers or health outcome associations
                                                                                                         epidemiologic studies, and they provide               might be reported in future.’’ The most recent
                                                 120 mg/m3 and 4-hour exposures to 37.8                                                                        policy statement by the ATS, which once again
                                                 mg/m3. Some of these commenters                         support that more adverse effects may                 broadens its discussion of effects, responses and
                                                 contend that the current primary 24-                    be experienced following longer                       biomarkers to reflect the expansion of scientific
                                                 hour PM2.5 standard allows PM2.5                        exposure durations and/or exposure to                 research in these areas, reiterates that concept,
                                                                                                         higher concentrations. Additionally, one              conveying that it does not offer ‘‘strict rules or
                                                 exposures comparable to those observed                                                                        numerical criteria, but rather proposes
                                                 to elicit effects in the controlled human               controlled human exposure study                       considerations to be weighed in setting boundaries
                                                 exposure studies, and therefore, the EPA                assessed in the ISA Supplement reports                between adverse and nonadverse health effects,’’
                                                 must revise the level of the current                    evidence of some effects for                          providing a general framework for interpreting
                                                                                                         cardiovascular markers at lower PM2.5                 evidence that proposes a ‘‘set of considerations that
                                                 standard to protect public health. To                                                                         can be applied in forming judgments’’ for this
                                                 support this view, some commenters                      concentrations, 4-hour exposures to 37.8              context (Thurston et al., 2017).
                                                                                                         mg/m3 (Wyatt et al., 2020). However,                     104 In their review of the 2021 draft PA, the
                                                    101 Similarly, the Administrator recognizes that     there is inconsistent evidence for                    majority of the CASAC advised that ‘‘evidence of
                                                 changes in air quality to meet a 24-hour standard,      inflammation in other controlled human                effects from controlled human exposure studies
                                                 would result not only in fewer and lower peak 24-                                                             with exposures close to the current standard
ddrumheller on DSK120RN23PROD with RULES3




                                                                                                         exposure studies evaluated in the 2019
                                                 hour PM2.5 concentrations, but also in lower annual                                                           support epidemiologic evidence for lowering the
                                                 average PM2.5 concentrations. However, as noted in
                                                                                                         ISA. The EPA notes that although the                  standard’’ (Sheppard, 2022a, p. 4 of consensus
                                                 2012, an approach that relied on setting the level      controlled human exposure studies do                  letter). The minority of the CASAC also advised that
                                                 of the 24-hour standard such that the 24-hour           not provide a threshold below which no                it was appropriate to place ‘‘more emphasis on the
                                                 standard was generally controlling would be less        effects occur, the observed effects in                controlled human exposure studies, showing effects
                                                 effective and result in less uniform protection                                                               at PM2.5 concentrations well above those typically
                                                 across the U.S. than an approach that focuses on
                                                                                                         these controlled human exposures                      measured in areas meeting the current standards’’
                                                 setting a generally controlling annual standard (78     studies are ones that signal an                       (Sheppard, 2022a, p. 4 of consensus letter), in
                                                 FR 3163, January 15, 2013).                             intermediate effect in the body, likely               evaluating adequacy of the 24-hour standard.



                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00068   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024             Page 80 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                        16269

                                                 studies are therefore somewhat limited                  decreases in the number of days per                   hour max concentration over 37.8 mg/m3
                                                 in their ability to inform at what                      monitor per year with 2-hour maximum                  when that monitor was meeting the
                                                 concentrations effects may be elicited in               concentrations over 120 mg/m3 and 4-                  current primary 24-hour PM2.5 standard
                                                 at-risk populations. In spite of this                   hour max concentration over 37.8 mg/m3                with its level of 35 mg/m3 and a revised
                                                 limitation, the EPA also agrees with the                were also seen when comparing                         primary annual PM2.5 standard of 9.0
                                                 CASAC, that even taking into                            monitors close to achieving 24-hour                   mg/m3.
                                                 consideration the limitations of the                    standards with levels of 35 mg/m3 versus                 In evaluating the results from the new
                                                 controlled human exposure studies,                      25 mg/m3.                                             analyses, it is important to keep in mind
                                                 these studies can provide some support                    First, the EPA notes that this analysis             that the 2019 ISA and ISA Supplement
                                                 for evaluating the adequacy of the 24-                  submitted by commenters was limited                   concluded that the most consistent
                                                 hour standard. However, the EPA                         to a very small number of monitors and                evidence from the controlled human
                                                 further notes that while the controlled                 did not include a national perspective.               exposures studies is for impaired
                                                 human exposure studies are important                    Second, the EPA notes that this analysis              vascular function following 2-hour
                                                 in establishing biological plausibility,                focused on number of days (rather than                exposures to average PM2.5
                                                 the health outcomes observed in these                   the number of times) where there was a                concentrations at and above about 120
                                                 controlled human exposure studies are                   2-hour maximum concentration over                     mg/m3, with less consistent evidence for
                                                 often ‘‘intermediate’’ outcomes (i.e., not              120 mg/m3 or a 4-hour max                             effects following exposures to
                                                 always clearly adverse) and therefore it                concentration over 37.8 mg/m3. In order               concentrations lower than 120 mg/m3.
                                                 is unclear how the importance of the                    to evaluate the protection provided by                The new analyses show that across all
                                                 effects observed in the studies should be               the current 24-hour standard against                  monitors, on average, only 0.029 percent
                                                 interpreted with respect to adversity to                peak exposures, including exposures                   of 2-hour observations reach PM2.5
                                                 public health. The EPA finds that it is                 with 2-hour concentrations greater than               concentrations higher than 120 mg/m3 in
                                                 appropriate to consider these study                     120 mg/m3 and 4-hour concentrations                   areas meeting the current 24-hour
                                                 limitations in assessing the information                greater than 37.8 mg/m3, the EPA                      standard and a revised annual standard
                                                 provided by controlled human exposure                   considers it more informative and                     of 9.0 mg/m3. Further, recognizing that
                                                 studies in evaluating the adequacy of                   appropriate from a public health                      one purpose of the 24-hour standard is
                                                 the primary 24-hour PM2.5 standard.                     perspective to assess the number of                   to protect against exposure in areas with
                                                    The EPA agrees with commenters that                  times a subdaily exposure of concern                  high peak-to-mean ratios, when
                                                 the primary 24-hour PM2.5 standard                      occurs in a year, rather than the number              assessing the monitors individually
                                                 must at least provide protection against                of days on which they occur because the               across the U.S. under these same
                                                 the health effects consistently observed                former identifies more potential                      conditions, the monitors reporting the
                                                 in controlled human exposure studies.                   exposures of concern and provides more                highest PM2.5 concentrations have only
                                                 As discussed in the proposal, the EPA                   information about the scale and scope of              0.47 percent of 2-hour observations
                                                 looks at whether the exposures that                     the occurrences of those exposures.                   reach PM2.5 concentrations higher than
                                                 elicit a response following exposure to                 Lastly, the analyses allowed monitors                 120 mg/m3.
                                                 PM2.5 in the controlled human exposure                  somewhat above the standards to be                       Additionally, the analyses also
                                                 studies occur under recent air quality                  included. Therefore, it is unclear                    evaluated the frequency of reporting a 4-
                                                 conditions in areas meeting the current                 whether the exceedances of the 2-hour                 hour maximum concentration over 37.8
                                                 standards. Based on these air quality                   or 4-hour benchmarks would still have                 mg/m3 when monitors were meeting the
                                                 analyses, the EPA concludes that these                  occurred if the area had actually been                current 24-hour standard and a revised
                                                 types of exposures very rarely occur                    meeting the current primary PM2.5                     annual standard of 9.0 mg/m3. For this
                                                 when the current standards are being                    standards. However, in considering the                part of the analysis, the EPA finds that
                                                 met.                                                    analyses submitted by the commenters,                 across all monitors, on average, only
                                                    The EPA did receive multiple                         the EPA conducted new analyses 105                    0.41 percent of 4-hour observations
                                                 comments questioning these results and                  that looked at all individual monitors                reach PM2.5 concentrations higher than
                                                 the approach in the EPA’s analyses. For                 across the U.S. and evaluated the                     37.8 mg/m3 in areas meeting the current
                                                 example, some commenters submitted                      percentage of times the monitors                      24-hour standard and a revised annual
                                                 an analysis of monitoring data from                     experienced a 2-hour maximum                          standard of 9.0 mg/m3. Further, when
                                                 2017–2020, which compares the number                    concentration over 120 mg/m3 or a 4-                  assessing the monitors individually
                                                 of days per year where maximum daily                    hour max concentration over 37.8 mg/m3                across the U.S. under these same
                                                 PM2.5 concentrations exceed 120 mg/m3                   when that monitor was meeting the                     conditions, the monitors reporting the
                                                 and 37.8 mg/m3 and evaluate the number                  current standards. Further, given that                highest PM2.5 concentrations have only
                                                 of days subset by groups of monitors                    the Administrator concludes that the                  2.6 percent of 4-hour observations reach
                                                 with 4-year average PM2.5                               level of the current primary annual                   PM2.5 concentrations higher than 37.8
                                                 concentrations close to the levels of                   PM2.5 is not adequate and that it should              mg/m3. Thus, the EPA disagrees with
                                                 combinations of current and proposed                    be revised to 9.0 mg/m3, the new                      commenters that the current primary 24-
                                                 annual (+/¥ 0.2 mg/m3) and 24-hour (+/                  analysis evaluates the percentage of                  hour PM2.5 standard typically allows
                                                 ¥2 mg/m3) PM2.5 standards. To support                   times during a recent 3-year period (i.e.             PM2.5 exposures at or above those
                                                 their view that the primary PM2.5                       2019–2021) that individual monitors                   observed to cause health effects in
                                                 standards should be revised, the                        experienced a 2-hour maximum                          controlled human exposure studies.
                                                 commenters describe decreases in days                   concentration over 120 mg/m3 or a 4-                  Furthermore, the EPA notes that in light
ddrumheller on DSK120RN23PROD with RULES3




                                                 per monitor per year with 2-hour                                                                              of the small number of occurrences and
                                                 maximum concentrations greater than                       105 Jones et al. (2023). Comparison of Occurrence   the intermediate nature of the effects
                                                 120 mg/m3 and 4-hour maximum                            of Scientifically Relevant Air Quality Observations   observed in Wyatt et al. (2020) at
                                                 concentrations greater than 37.8 mg/m3                  Between Design Value Groups. Memorandum to the        concentrations of 37.8 mg/m3 (i.e.,
                                                 when comparing monitors that achieve                    Rulemaking Docket for the Review of the National      effects that typically would not, by
                                                                                                         Ambient Air Quality Standards for Particulate
                                                 close to 10 and 30 mg/m3 versus                         Matter (EPA–HQ–OAR–2015–0072). Available at:
                                                                                                                                                               themselves, be judged as adverse), there
                                                 monitors that meet close to 8 mg/m3 and                 https://www.regulations.gov/docket/EPA-HQ-OAR-        is substantial basis to doubt whether
                                                 25 mg/m3. The commenters noted                          2015-0072.                                            further improvements in public health


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00069   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024             Page 81 of 217
                                                 16270             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 would be achieved by further reducing                   standard. Additionally, commenters                    While short-term epidemiologic studies
                                                 these exposures. In drawing this                        contend that there are epidemiologic                  evaluate associations between
                                                 conclusion, the EPA notes the lack of                   studies using restricted analyses that                distributions of ambient PM2.5 and
                                                 evidence of effects from controlled                     show that positive and statistically                  health outcomes, they do not identify
                                                 human exposure studies at levels below                  significant associations between short-               the specific exposures (i.e., a specific
                                                 the current 24-hour standard and the                    term PM2.5 exposure and mortality                     24-hour concentration) that can lead to
                                                 fact that the results of Wyatt et al. (2020)            persist at daily mean concentrations                  the reported effects. Short-term
                                                 are inconsistent with other currently                   below 25 mg/m3. The commenters also                   epidemiologic studies evaluate the
                                                 available studies, and this study only                  cite several studies that provide no                  association between day-to-day
                                                 observes intermediate effects.                          evidence of a threshold. These                        variation in daily (24-hour) PM2.5
                                                    In response to commenters that cited                 commenters also point to the CASAC                    exposure and health endpoints (e.g.,
                                                 the majority of the CASAC’s view that,                  advice in their review of the 2021 draft              mortality) to understand how these
                                                 in general, ‘‘[t]here is . . . less                     PA, where the majority of the CASAC                   changes in air pollution concentrations
                                                 confidence that the annual standard                     cited epidemiologic studies using                     are associated with changes in health
                                                 could adequately protect against health                 restricted analyses as offering support               outcomes. But these studies do not
                                                 effects of short-term exposures’’                       for revision. The commenters argue that               report daily concentrations; rather, they
                                                 (Sheppard, 2022a, p. 4 of consensus                     the EPA cannot base discretion on                     report the long-term mean concentration
                                                 letter), the EPA disagrees with the                     uncertainties related to the methods                  of the 24-hour PM2.5 concentrations over
                                                 majority of CASAC, noting that the                      used in restricted analyses in the                    the entire multi-year period of the
                                                 results of the EPA’s analysis suggest that              epidemiologic studies. In so doing,                   study, and typically report their results
                                                 high peak concentrations are extremely                  these commenters disagree with the                    as a relative risk (e.g., for each 10 mg/
                                                 infrequent in areas meeting an annual                   EPA that it is important to take into                 m3 increase in PM2.5, the risk of
                                                 standard of 9.0 mg/m3, occurring less                   consideration that these studies do not               mortality or cardiovascular hospital
                                                 than 0.029–0.41 percent of the time (for                consider the form or averaging time of                admissions increases by a certain
                                                 2-hour concentrations >120 mg/m3 and                    the 24-hour standard. Finally, the                    percentage, across the full range of the
                                                 4-hour concentrations >37.8 mg/m3,                      commenters claim that while the EPA                   24-hour PM2.5 concentrations in the
                                                 respectively). This suggests that in most               stated that the study-reported means
                                                                                                                                                               study). This means that there is no
                                                 locations, even the upper tail of the                   from epidemiologic studies that use
                                                                                                                                                               specific point in the air quality
                                                 distribution would be controlled quite                  restricted analyses are more useful for
                                                 well under a revised annual standard.                                                                         distribution of any epidemiologic study
                                                                                                         identifying impacts from typical 24-
                                                 With regard to the likelihood that the                                                                        that represents a ‘‘bright line’’ at and
                                                                                                         hour exposures than for peak 24-hour
                                                 current standards would allow peak                                                                            above which effects have been observed
                                                                                                         exposures, the commenters assert that
                                                 concentrations that are clearly of                                                                            and below which effects have not been
                                                                                                         the studies also indicate that there are
                                                 concern from a health perspective,                                                                            observed. Nor, as noted above, do these
                                                                                                         health risks at relatively high
                                                 therefore, the EPA concludes that such                                                                        studies allow for any direct inferences
                                                                                                         concentrations below the current level
                                                 occurrences are extremely infrequent—                                                                         about health impacts associated with
                                                                                                         of the primary 24-hour PM2.5 standard
                                                 and will be even less frequent under the                that must be addressed.                               the short-term ‘‘peak’’ exposures that
                                                 improved air quality conditions                            As noted by the commenters,                        the primary 24-hour standard is
                                                 associated with meeting a revised                       epidemiologic studies that show                       designed to protect against. While there
                                                 annual PM2.5 standard of 9.0 mg/m3.                     positive and statistically significant                can be considerable variability in daily
                                                    A number of commenters who                           associations between short-term PM2.5                 exposures over a multi-year study
                                                 support revising the primary 24-hour                    exposure and mortality provide support                period, most of the estimated exposures
                                                 PM2.5 standard to a lower level suggest                 for the causal determination in the 2019              in these epidemiologic studies reflect
                                                 that the available epidemiologic                        ISA. The EPA also agrees that the                     days with ambient PM2.5 concentrations
                                                 evidence provides support for such a                    available epidemiologic studies include               around the mean or middle of the air
                                                 revision. To support their view, the                    diverse populations that are broadly                  quality distributions examined (i.e.,
                                                 commenters note that the currently                      representative of the U.S. population,                ‘‘typical’’ days rather than days with
                                                 available evidence, including a number                  including at-risk populations. Further,               extremely high or extremely low
                                                 of epidemiologic studies that                           the EPA agrees that studies evaluated in              concentrations). This is true of long-
                                                 demonstrate associations between short-                 the 2019 ISA and the ISA Supplement                   term epidemiologic studies as well. The
                                                 term PM2.5 exposures and health effects,                continue to provide evidence of linear,               difference between epidemiologic
                                                 provides support for causal                             no-threshold concentration-response                   studies examining associations with
                                                 relationships for short-term PM2.5                      relationships, but with less certainty in             long-term exposures and short-term
                                                 exposures and health effects as                         the shape of the curve at lower                       exposures is comparing different levels
                                                 described in the 2019 ISA and ISA                       concentrations (i.e., below about 8 mg/               of exposure over different exposure
                                                 Supplement. The commenters further                      m3), with some recent studies providing               durations (i.e., long-term studies
                                                 note that the available epidemiologic                   evidence for either a sublinear, linear, or           exposures are defined as those that are
                                                 studies include diverse populations that                supralinear relationship at these lower               annual or multi-year, while short-term
                                                 are broadly representative of the U.S.                  concentrations (U.S. EPA, 2019a,                      exposures are defined as those that are
                                                 population, including at-risk                           section 11.2.4; U.S. EPA, 2022a, section              mostly 24-hour) (U.S. EPA, 2019a,
                                                 populations, which they assert is an                    2.2.3.2).                                             section P.3.1). Thus, in both cases, and
                                                                                                                                                               in the absence of a discernible
ddrumheller on DSK120RN23PROD with RULES3




                                                 advantage over the controlled human                        However, findings of positive,
                                                 exposure studies and the risk                           significant associations in short-term                threshold, epidemiologic studies of
                                                 assessment, which are not as broadly                    epidemiologic studies do not directly                 short-term and long-term exposures
                                                 representative.                                         indicate that short-term effects would                provide the strongest support and
                                                    These commenters highlight a number                  occur in areas meeting the 24-hour                    confidence for reported health effect
                                                 of specific epidemiologic studies that                  standard and therefore, do not directly               associations around the middle portion
                                                 they suggest provide support for                        address the question of whether the                   of the PM2.5 air quality distribution (e.g.,
                                                 revising the level of the 24-hour                       current 24-hour standard is adequate.                 the study-reported mean PM2.5


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00070   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024             Page 82 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                        16271

                                                 concentration), which corresponds to                     way to reduce the risks from short-term              reflect days with ambient PM2.5
                                                 the bulk of the underlying data, rather                  exposures . . . as the bulk of the risk              concentrations around the middle of the
                                                 than at the extreme upper or lower ends                  comes from the large number of days                  air quality distributions examined (i.e.,
                                                 of the distribution. However, the                        across the bulk of the air quality                   the mean or median). However, there is
                                                 difference between the annual standard                   distribution, not the relatively small               not a metric or statistic reported in
                                                 and the 24-hour standard, aside from                     number of days with peak                             short-term epidemiologic studies that
                                                 averaging times, is that the form of the                 concentrations’’ (78 FR 3156, January                allows for a direct comparison to the
                                                 annual standard is a mean PM2.5                          15, 2013).                                           current 24-hour PM2.5 standard and its
                                                 concentration, which is based on the                        As noted above, in evaluating the                 98th percentile form. While a 98th
                                                 bulk of the air quality data, while the                  adequacy of the current standards, the               percentile of PM2.5 concentrations is a
                                                 form of the 24-hour standard is a 98th                   EPA has consistently considered the                  metric that might be more closely
                                                 percentile form, which is based on peak                  annual standard (based on arithmetic                 compared to the 24-hour standard level,
                                                 concentrations. Both long-term and                       mean concentrations) and 24-hour                     98th percentile PM2.5 concentrations
                                                 short-term epidemiologic studies are                     standard (based on 98th percentile                   were not reported in key epidemiologic
                                                 informative for determining the                          concentrations) together in evaluating               studies. Consistent with the
                                                 appropriate level of the annual PM2.5                    the public health protection provided by             Administrator’s final decision in 2012,
                                                 standard, which is designed to control                   the standards against the full                       the EPA notes that even if 98th
                                                 ‘‘typical’’ daily exposures and risks,                   distribution of short- and long-term                 percentile values were reported, it
                                                 because these studies most often report                  PM2.5 exposures. Moreover, the EPA has               would be inappropriate to focus on
                                                 long-term mean (or median) PM2.5                         previously noted that the annual                     these concentrations without also
                                                 concentrations that are representative of                standard is generally controlling in most
                                                                                                                                                               considering the impact of a revised
                                                 ‘‘typical’’ exposures that are associated                parts of the country, providing an
                                                                                                                                                               annual standard on short-term
                                                 with health effects. In contrast, while                  effective and efficient way to reduce
                                                                                                                                                               concentrations, since many areas would
                                                 the short-term epidemiologic studies                     total population risk to both long- and
                                                                                                                                                               be expected to experience decreasing
                                                 examine health effects associated with                   short-term PM2.5 exposures, while the
                                                                                                                                                               short- and long-term PM2.5
                                                 shorter exposure durations (e.g., mostly                 24-hour standard, with its 98th
                                                                                                                                                               concentrations in response to a revised
                                                 24-hour exposures), these studies are                    percentile form, provides supplemental
                                                                                                                                                               annual standard (78 FR 3156, January
                                                 less informative for determining the                     protection, particularly for areas with
                                                                                                                                                               15, 2013). Furthermore, in light of the
                                                 appropriate level of the 24-hour PM2.5                   high peak-to-mean ratios of 24-hour
                                                                                                          PM2.5 concentrations (78 FR 3158,                    scarcity of days at the very upper end
                                                 standard because these studies do not                                                                         of the distribution, and to avoid placing
                                                 report the 98th percentile PM2.5                         January 15, 2013). In such areas, annual
                                                                                                          average PM2.5 concentrations could be                undue reliance on the peak
                                                 concentrations,106 which is more                                                                              concentrations observed in these studies
                                                 directly comparable to the form of the                   quite low, and the 24-hour standard
                                                                                                          provides a means of ensuring control of              (which by definition rarely occur), the
                                                 24-hour standard. Additionally, if the                                                                        EPA finds that such values would need
                                                 98th percentile of data were reported,                   episodic peaks possibly associated with
                                                                                                          strong local or seasonal sources, or                 to be considered in conjunction with
                                                 the EPA would consider the peak                                                                               other supporting evidence. In addition,
                                                 concentrations observed in these studies                 PM2.5-related effects that may be
                                                                                                          associated with shorter-than daily                   as described above, the other lines of
                                                 (which by definition rarely occur) in                                                                         evidence available for consideration by
                                                 conjunction with other supporting                        exposure periods. The approach taken
                                                                                                          in evaluating the adequacy and                       the EPA do not indicate that the current
                                                 evidence. However, as already noted,                                                                          primary 24-hour standard requires
                                                                                                          alternative levels of the annual standard
                                                 there is an absence of new information                                                                        revision to protect public health with an
                                                                                                          has been to evaluate the long-term mean
                                                 in this reconsideration (either from                                                                          adequate margin of safety. The EPA
                                                                                                          PM2.5 concentrations of both long-term
                                                 controlled human exposure studies or                                                                          notes again the lack of corroborating
                                                                                                          and short-term key epidemiologic
                                                 epidemiologic studies) suggesting that                                                                        evidence from controlled human
                                                                                                          studies, where we have the most
                                                 peak concentrations just below the level                                                                      exposure studies. While the EPA agrees
                                                                                                          confidence in the reported health effects
                                                 of the current 24-hour standard (with its                                                                     with the CASAC that the controlled
                                                                                                          association, while also giving some
                                                 level of 35 mg/m3) are associated with                                                                        human exposure studies are limited in
                                                                                                          consideration to lower percentiles of the
                                                 adverse effects. Instead, the evidence                                                                        their ability to speak to the
                                                                                                          air quality distribution (e.g., 25th
                                                 links risk to more typical daily                         percentiles). However, using a similar               concentrations at which effects may be
                                                 exposures near the middle of the air                     approach to evaluate the adequacy of                 elicited in at-risk populations, as
                                                 quality distribution—exposures most                      the current and any potential alternative            discussed above the lowest
                                                 effectively controlled through a                         levels of the 24-hour standard with                  concentration associated with effects is
                                                 strengthening of the annual standard. As                 short-term epidemiologic studies, as the             37.8 mg/m3 and the effects observed
                                                 noted in the 2012 final rule, ‘‘reducing                 majority of CASAC and some                           were ‘‘intermediate’’ outcomes that are
                                                 the annual standard is the most efficient                commenters are suggesting, presents                  not by themselves considered adverse.
                                                                                                          challenges.                                          We also note that, as detailed in section
                                                   106 In the 2022 PA, the EPA has identified a
                                                                                                             Short-term epidemiologic studies,                 II.A.2.a above, the study that observed
                                                 number of key areas for additional research and
                                                 data collection for PM2.5, based on the uncertainties    including those that use restricted                  intermediate effects at concentrations of
                                                 and limitations that remain in the scientific            analyses, often report metrics that                  37.8 mg/m3 was evaluated in the ISA
                                                 evidence and technical information. In addition to       include mean PM2.5 concentrations,                   Supplement and the results of this study
                                                 research and data collection, the EPA specifically
ddrumheller on DSK120RN23PROD with RULES3




                                                                                                          with some studies also reporting lower               were inconsistent with the controlled
                                                 highlights additional information that could be
                                                 reported in the epidemiologic studies that may help
                                                                                                          percentiles, such as the 25th percentile.            human exposure studies evaluated in
                                                 inform future reviews of the primary PM2.5               As previously noted above, for studies               the 2019 ISA. Additionally, as noted
                                                 standards, including additional descriptive              of daily PM2.5 exposure, which examine               above, the EPA finds that across all
                                                 statistics in the upper percentiles of the air quality   associations between day-to-day                      monitors, on average, only 0.41 percent
                                                 distribution (i.e., from the 95th to the 99th
                                                 percentile), as well as the number of days of
                                                                                                          variation in PM2.5 concentrations and                of 4-hour observations reach PM2.5
                                                 concentrations and/or health events within each of       health outcomes, often over several                  concentrations higher than 38 mg/m3 in
                                                 these percentiles (U.S. EPA, 2022a, section 3.7).        years, most of the estimated exposures               areas meeting the current 24-hour


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00071   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024             Page 83 of 217
                                                 16272             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 standard and a revised annual standard                  24-hour standard, with its 98th                       25 mg/m3). However, the EPA notes that
                                                 of 9.0 mg/m3. Given the rarity of these                 percentile form.                                      neither the CASAC nor public
                                                 occurrences and the fact that the effects                  As described in the proposal (88 FR                commenters provided any detail
                                                 associated with exposures to this PM2.5                 5613, January 27, 2023), the 2022 PA                  regarding, how, in their view, these
                                                 concentration have not been found to be                 also noted the epidemiologic studies                  studies demonstrate that the level of the
                                                 adverse in and of themselves, the EPA                   that restrict 24-hour average PM2.5                   current 24-hour standard is not
                                                 finds it reasonable to conclude that this               concentrations to values of less than 35              adequate, and/or how these studies
                                                 pattern of air quality will protect at-risk             mg/m3, and in some cases less than 25                 demonstrate what revised level of the
                                                 populations, even though such                           mg/m3, and annual average PM2.5                       24-hour standard would provide
                                                 populations were not in the study                       concentrations less than 12 mg/m3.                    requisite public health protection with
                                                 groups. The EPA concludes that further                  Restricted analyses use a subset of data              an adequate margin of safety. The EPA
                                                 evidence would be needed at specific                    from their main analyses and conduct                  considers that such an approach would
                                                 short-term (i.e., hourly or daily)                      an epidemiologic study with health                    have several important limitations.
                                                 concentrations below the level of the                   events that occur at concentrations                   First, the approach assumes that a
                                                 current 24-hour standard to support any                 below a certain concentration (e.g., 25               specific point on the air quality
                                                 revision to the current 24-hour standard.               mg/m3). While some of these studies do                distribution (e.g., the point at which the
                                                    With regard to the data that are                     not report the mean PM2.5 concentration               analysis was restricted) is where health
                                                 available from the short-term                           for the restricted analysis, the mean of              effects are exhibited and where we have
                                                 epidemiologic studies (which, as noted,                 the restricted analysis is presumably                 the most confidence in the reported
                                                                                                         less than the mean PM2.5 concentration                association. However, in addition to the
                                                 do not include 98th percentile values),
                                                                                                         in the main analysis. Restricted analyses             limitations associated with the short-
                                                 the EPA considers it inappropriate to
                                                                                                         from long-term and short-term exposure                term epidemiologic studies outlined
                                                 utilize the study-reported means from
                                                                                                         epidemiologic studies are informative in              above, the EPA does not agree that it
                                                 the short-term epidemiologic evidence
                                                                                                         providing support that the health effects             would be appropriate to identify the
                                                 to assess the adequacy of the 24-hour
                                                                                                         associations are not driven by just the               requisite level of the primary 24-hour
                                                 standard, with its 98th percentile form,
                                                                                                         upper peaks of the PM2.5 air quality                  PM2.5 standard based on the specific
                                                 considering that the study-reported
                                                                                                         distributions and provide support for                 concentration at which the analyses
                                                 mean concentrations do not provide
                                                                                                         revision to the level of the annual PM2.5             restrict their studies. The choice to
                                                 meaningful insight regarding the
                                                                                                         standard. Short-term restricted analyses              restrict the data at a particular
                                                 frequency or health significance of peak                also report positive associations                     concentration is in effect arbitrary, and
                                                 concentrations occurring during the                     between short-term PM2.5 exposure and                 does not establish that any particular
                                                 study period. As indicated in the 2022                  morbidity and mortality. As an example,               effects are attributable to that
                                                 PA, the study-reported means of short-                  in a restricted analysis evaluating the               concentration as opposed to other
                                                 term epidemiologic studies do not serve                 association between short-term                        concentrations within the restricted
                                                 a purpose in determining a level at                     exposures and PM2.5 concentrations less               analysis.
                                                 which we can confidently attribute                      than 25 mg/m3, Di et al. (2017a) removed                 Further, these restricted analyses do
                                                 effects to the impact of ‘‘peak’’                       6.3 percent of the data from their main               not report the PM2.5 concentration at the
                                                 exposures. The 24-hour standard is                      analyses, (i.e., all PM2.5 concentrations             98th percentile of data or other metrics
                                                 intended to provide supplemental                        greater than 25 mg/m3), and still found               relating to the upper end of the
                                                 protection against short-term peak                      a positive and significant association                distribution that could provide
                                                 exposures and while there is a general                  between short-term PM2.5 exposure and                 information about health risks
                                                 relationship between mean                               mortality. This study provides                        associated with peak exposures. For
                                                 concentrations and 98th percentile                      additional support that the association               example, the CASAC does not provide
                                                 concentrations in individual locations,                 between short-term exposure to PM2.5                  a discussion of what the comparable
                                                 such relationships vary by location and                 and mortality in the main epidemiologic               98th percentile concentration is in the
                                                 there is not an established relationship                analysis is not driven by the upper                   distribution of remaining 24-hour PM2.5
                                                 that can be relied upon to predict 98th                 peaks of the PM2.5 air quality                        concentrations of restricted analyses
                                                 percentile concentrations based on                      distribution, which in turn supports the              (because such data is not reported by
                                                 mean PM2.5 concentrations reported in                   conclusion that lowering the entire                   the study authors) and what degree of
                                                 multi-city epidemiologic studies.                       distribution of air quality concentrations            confidence the Administrator should
                                                 Instead, mean concentrations from                       through a revised annual standard is an               place on those upper percentile values
                                                 short-term epidemiologic studies are                    appropriate means of protecting against               (e.g., 98th percentile values). In order to
                                                 more useful in addressing questions                     adverse effects from short-term                       identify a level of the 24-hour standard
                                                 regarding the effects of ‘‘typical’’ or                 exposure, as discussed further below.                 based on associations between the
                                                 average 24-hour exposures, which are                      In their review of the 2021 draft PA,               ‘‘upper end’’ of exposures, either in the
                                                 addressed through the annual standard.                  the majority of the CASAC highlighted                 unrestricted or the restricted analyses,
                                                 For this reason, the EPA does consider                  three U.S.-based epidemiologic studies                and adverse health effects, it would be
                                                 the mean concentrations of short-term                   that restricted 24-hour average PM2.5                 necessary to have both greater detail on
                                                 studies (as well as the means from the                  concentrations below 25 mg/m3 as a part               the distribution of air quality in the
                                                 long-term studies) in evaluating the                    of their rationale for recommending that              study and greater confidence in the
                                                 level of the annual standard, which the                 the EPA revise the level of the primary               reported association at the peak
                                                 EPA recognizes as the generally
ddrumheller on DSK120RN23PROD with RULES3




                                                                                                         24-hour PM2.5 standard. Similarly, in                 concentrations such as the 98th
                                                 controlling standard for both long- and                 evaluating positive associations in                   percentile—in other words, a better
                                                 short-term exposures. However, the EPA                  restricted analyses, some commenters                  understanding of how specific 24-hour
                                                 does not agree with commenters that it                  also suggest that because an association              concentrations correspond to the
                                                 is appropriate to use means from short-                 exists at 24-hour concentrations below                frequency and total number of observed
                                                 term epidemiologic studies as the basis                 25 mg/m3, the 24-hour standard level                  health events in the study.
                                                 for a decision-making framework to                      should be set at the concentration at                    Further, the EPA notes that when
                                                 determine the adequacy of the current                   which the analysis was restricted (e.g.,              resulting analyses based on the


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00072   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024             Page 84 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                         16273

                                                 restricted dataset continue to find                     ‘‘descriptive statistics of PM2.5                     4. Administrator’s Conclusions
                                                 positive associations between the                       concentrations at individual percentiles                 This section summarizes the
                                                 remaining air quality distribution and                  from the 95th percentile to the 99th                  Administrator’s considerations and
                                                 health effects, it suggests that the                    percentile, as well as the number of                  conclusions related to the adequacy of
                                                 relationship was in fact not driven                     days of concentrations and/or health                  the current primary PM2.5 standards and
                                                 primarily by the upper tail (now                        events within each of these percentiles’’             presents his decision to revise the
                                                 removed from the dataset) but rather by                 and other descriptive statistics and                  primary annual PM2.5 standard to a level
                                                 lower portions of the distribution of air               details regarding analytical design in                of 9.0 mg/m3 and retain the primary 24-
                                                 quality. In other words, we have no                     studies employing restricted analyses                 hour PM2.5 standard. In establishing
                                                 confidence that the remaining upper                     (U.S. EPA, 2022b, pp. 3–225 to 3–226).                primary standards under the Act that
                                                 end of the air quality distribution is                  Such information could significantly                  are ‘‘requisite’’ to protect public health
                                                 driving the remaining associations                      improve the EPA’s ability to draw                     with an adequate margin of safety, the
                                                 reported in the restricted analyses, as                 conclusions from these studies with                   Administrator is seeking to establish
                                                 opposed to the vast array of health                     regard to the adequacy of the current                 standards that are neither more nor less
                                                 events at and around the mean PM2.5                     primary 24-hour PM2.5 standard.                       stringent than necessary for this
                                                 concentration. In fact, it is reasonable to                Due to the limitations and                         purpose. He recognizes that the
                                                 conclude that to effectively address the                uncertainties outlined above, in                      requirement to provide an adequate
                                                 health effects observed in the study, it                reaching his decision on the primary 24-              margin of safety was intended to
                                                 is necessary to control not just the peak               hour PM2.5 standard, the Administrator                address uncertainties associated with
                                                 concentrations but to reduce the bulk of                judges that the information from                      inconclusive scientific and technical
                                                 the exposures (occurring near the                       currently available short-term                        information and to provide a reasonable
                                                 mean), a task more effectively achieved,                epidemiologic studies, including those                degree of protection against hazards that
                                                 as noted above through a tightening of                  that use restricted analyses, is                      research has not yet identified.
                                                 the annual standard, which has the                      inadequate to inform decisions                        However, the Act does not require that
                                                 effect of shifting the entire distribution              regarding the adequacy of the current                 primary standards be set at a zero-risk
                                                 of PM2.5 concentrations downward (both                  24-hour standard. Additionally,                       level; rather, the NAAQS must be
                                                 peaks and means). Therefore, while the                  consistent with the final decision in                 sufficiently protective, but not more
                                                 EPA agrees that both short- and long-                   2012, the EPA continues to view an                    stringent than necessary.
                                                 term epidemiologic studies that                         approach that focuses on setting a                       Given these requirements, the
                                                 completed restricted analyses and                       generally controlling annual standard as              Administrator’s final decision in this
                                                 reported the resulting study means                      the most effective and efficient way to               reconsideration is a public health policy
                                                 could be used to inform conclusions                     reduce total population risk associated               judgment drawing upon scientific and
                                                 regarding the adequacy of the annual                    with both long- and short-term PM2.5                  technical information examining the
                                                 standard, given that the resulting study                exposures. Potential air quality changes              health effects of PM2.5 exposures,
                                                 means (when reported) could be                          associated with meeting an annual                     including how to consider the range and
                                                 evaluated in the context of the decision                standard level of 9.0 mg/m3 will result               magnitude of uncertainties inherent in
                                                 framework described above for                           in lowering risk associated with both                 that information. This public health
                                                 informing decisions on the level of the                 long- and short-term PM2.5 exposure by                policy judgment is based on an
                                                 annual standard, the EPA considers that                 lowering the overall air quality                      interpretation of the scientific and
                                                 current short-term epidemiologic                        distribution. As discussed above,                     technical information that neither
                                                 studies that restrict analyses are subject              reducing the annual standard is the                   overstates nor understates its strengths
                                                 to the same limitations outlined above                  most efficient way to reduce the risks                and limitations, nor the appropriate
                                                 for current short-term epidemiologic                    from short-term exposures identified in               inferences to be drawn, and is informed
                                                 studies in how they can be used in a                    the epidemiologic studies, as the                     by the Administrator’s consideration of
                                                 decision-making framework to inform                     available evidence suggests the bulk of               advice from the CASAC and public
                                                 the adequacy and alternative level of the               the risk comes from the large number of               comments received on the proposal.
                                                 primary 24-hour PM2.5 standard. As                      days across the bulk of the air quality                  The initial issue to be addressed in
                                                 such, while the available short-term                    distribution, not the relatively small                the reconsideration of the primary PM2.5
                                                 epidemiologic studies that restrict their               number of days with peak                              standards is whether, in view of the
                                                 analyses are useful for informing                       concentrations. However, as in the 2012               advances in scientific knowledge and
                                                 conclusions regarding the strength of                   review, the Administrator recognizes                  other information reflected in the 2019
                                                 the associations for health outcomes,                   that an annual standard alone would not               ISA, ISA Supplement, and 2022 PA, the
                                                 they are not, as currently designed, as                 be expected to offer sufficient protection            current standards are requisite to protect
                                                 useful for informing conclusions                        with an adequate margin of safety                     public health with an adequate margin
                                                 regarding the adequacy of the current                   against the effects of short-term PM2.5               of safety. In considering the adequacy of
                                                 primary 24-hour PM2.5 standard. In                      exposures in all parts of the country,                the current suite of primary PM2.5
                                                 reaching this conclusion, the EPA notes                 particularly in areas with high peak-to-              standards, the Administrator has
                                                 that the majority of the CASAC did not                  mean ratios, and concludes that it is                 considered the large body of evidence
                                                 address the limitations of these studies                appropriate to continue to provide                    presented and assessed in the 2019 ISA
                                                 outlined in the 2021 draft PA,                          supplemental protection by means of a                 and ISA Supplement, the conclusions
                                                 particularly in the context of the 24-                  24-hour standard. In so doing, the                    presented in the 2022 PA, the views
ddrumheller on DSK120RN23PROD with RULES3




                                                 hour standard with its 98th percentile                  Administrator concludes that retaining                expressed by the CASAC, and public
                                                 form. Among the future research needs                   the level of the primary 24-hour PM2.5                comments. The Administrator has taken
                                                 identified by the EPA in the 2022 final                 standard of 35 mg/m3 will provide                     into account both evidence- and risk-
                                                 PA, the Agency noted a number of gaps                   requisite protection against short-term               based considerations in developing final
                                                 in the currently available information                  peak PM2.5 concentrations, in                         conclusions on the adequacy of the
                                                 reported in the epidemiologic studies of                conjunction with a revised annual                     current primary PM2.5 standards. The
                                                 short-term exposure, including                          standard level of 9.0 mg/m3.                          Administrator has additionally


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00073   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024             Page 85 of 217
                                                 16274             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 considered the associated public health                 approach recognizes that changes in                   distributions with overall mean PM2.5
                                                 policy judgments and judgments about                    PM2.5 air quality designed to meet either             concentrations that are well below the
                                                 the uncertainties inherent in the                       the annual or the 24-hour standard                    current level of the annual standard of
                                                 scientific evidence and quantitative                    would likely result in changes to both                12.0 mg/m3. He further recognizes that
                                                 analyses that are integral to the                       long-term average and short-term peak                 there is additional scientific evidence
                                                 conclusions on the adequacy of the                      PM2.5 concentrations.                                 assessed in the 2019 ISA and newly
                                                 current primary PM2.5 standards.                           Further, consistent with the approach              assessed in this reconsideration in the
                                                    In evaluating the adequacy of the                    adopted in 2012, the Administrator                    ISA Supplement that can provide
                                                 current standards, the Administrator                    concludes that the most effective and                 supplemental information to inform his
                                                 first recognizes the longstanding body of               efficient way to reduce total population              decisions. In addition to the key U.S.
                                                 health evidence supporting                              risk associated with both long- and                   epidemiologic studies, the
                                                 relationships between PM2.5 exposures                   short-term PM2.5 exposures is to set a                Administrator also recognizes that key
                                                 (short- and long-term) and mortality and                generally controlling annual standard,                Canadian epidemiologic studies also
                                                 serious morbidity effects. The evidence                 and to provide supplemental protection                demonstrate positive and statistically
                                                 available in this reconsideration (i.e.,                against the occurrence of peak 24-hour                significant associations at
                                                 that assessed in the 2019 ISA and ISA                   PM2.5 concentrations by means of a 24-                concentrations below 12 mg/m3. He also
                                                 Supplement) and summarized above in                     hour standard set at the appropriate                  recognizes that epidemiologic studies
                                                 section II.A.2.a reaffirms, and in some                 level. In reaching this conclusion, the               that restrict annual average PM2.5
                                                 cases strengthens, the conclusions from                 Administrator explicitly recognizes that              concentrations to below 12 mg/m3 also
                                                 the 2009 ISA regarding the health effects               air quality changes associated with                   provide support for positive and
                                                 of PM2.5 exposures. Recent                              meeting a revised annual standard                     statistically significant associations at
                                                 epidemiologic studies demonstrate                       would result in lowering risks                        lower mean PM2.5 concentrations, as do
                                                 generally positive and often statistically              associated with both long- and short-                 accountability studies that also suggest
                                                 significant associations between PM2.5                  term PM2.5 exposures by lowering the                  public health improvements may occur
                                                 exposures and a number of health                        overall distribution of air quality                   at concentrations below 12 mg/m3.
                                                 effects, including non-accidental,                      concentrations, leading to not only in
                                                                                                                                                                  With regard to the available scientific
                                                 cardiovascular, or respiratory mortality;               lower short- and long-term PM2.5
                                                                                                                                                               evidence to inform his final decisions
                                                 cardiovascular or respiratory                           concentrations near the middle of the
                                                                                                                                                               on the adequacy of the current 24-hour
                                                 hospitalizations or emergency room                      air quality distribution, but also in fewer
                                                 visits; and other mortality/morbidity                   and lower short-term peak PM2.5                       standard, the Administrator finds that
                                                 outcomes (e.g., lung cancer mortality or                concentrations. Similarly, the                        there is less information available to
                                                 incidence, asthma development). Recent                  Administrator recognizes that changes                 support decisions on the 24-hour
                                                 controlled human exposure and animal                    in air quality to meet a 24-hour                      standard than that summarized above
                                                 toxicological studies, as well as                       standard, would result not only in fewer              for the annual standard. The
                                                 evidence from epidemiologic panel                       and lower peak 24-hour PM2.5                          Administrator first notes that controlled
                                                 studies, strengthens support for                        concentrations, but also in lower annual              human exposure studies, including
                                                 potential biological pathways through                   average PM2.5 concentrations. However,                those newly available in this
                                                 which PM2.5 exposures could lead to the                 as noted in 2012, he also recognizes that             reconsideration, demonstrate effects
                                                 serious effects reported in many                        an approach that relies on setting the                following short-term PM2.5 exposures at
                                                 population-level epidemiologic studies,                 level of the 24-hour standard such that               concentrations higher than the current
                                                 including support for pathways that                     the 24-hour standard is generally                     24-hour standard. The Administrator
                                                 could lead to cardiovascular,                           controlling would be less effective and               also considers air quality analyses
                                                 respiratory, nervous system, and cancer-                result in less uniform protection across              conducted in the 2022 PA and in
                                                 related effects. In considering the                     the U.S. than an approach that focuses                responding to public comments, as
                                                 available scientific evidence, and                      on setting a generally controlling annual             described above in section II.B.3, that
                                                 consistent with approaches employed in                  standard. Thus, he concludes that                     evaluate PM2.5 concentrations in
                                                 past NAAQS reviews, the Administrator                   relying on a revised annual standard as               ambient air for similar durations to the
                                                 places the most weight on evidence                      the controlling standard will reduce                  controlled human exposure studies. As
                                                 supporting ‘‘causal’’ or ‘‘likely to be                 aggregate risks associated with both                  noted above, these air quality analyses
                                                 causal’’ relationship with long or short-               long- and short-term exposures more                   indicate that the current 24-hour
                                                 term PM2.5 exposures. In addition, the                  consistently than a generally controlling             standard, particularly in conjunction
                                                 Administrator also takes note of those                  24-hour standard. He further concludes                with the revised level of the annual
                                                 populations identified to be at greater                 that retaining a 24-hour standard at the              standard, provides a high degree of
                                                 risk of PM2.5-related health effects, as                appropriate level will ensure an                      protection against subdaily PM2.5
                                                 characterized in the 2019 ISA and ISA                   adequate margin of safety against short-              concentrations that have been shown to
                                                 Supplement, and the potential public                    term effects in areas with high peak-to-              elicit effects in controlled human
                                                 health implications.                                    mean ratios.                                          exposure studies. The Administrator
                                                    In evaluating what existing or revised                  In light of his focus on the annual                considers a limited number of available
                                                 standards may be requisite to protect                   standard as the generally controlling                 epidemiologic studies that report
                                                 public health, as described above in                    standard, in considering whether the                  associations with health effects when
                                                 section II.A.2, the Administrator’s                     primary PM2.5 standards are adequate,                 the analyses are restricted to daily PM2.5
                                                                                                                                                               concentrations below 35 mg/m3. As
ddrumheller on DSK120RN23PROD with RULES3




                                                 approach recognizes that the current                    the Administrator first considers
                                                 annual standard (based on arithmetic                    information available to inform his final             described above, although these studies
                                                 mean concentrations) and 24-hour                        conclusions regarding the primary                     are useful in demonstrating that health
                                                 standard (based on 98th percentile                      annual PM2.5 standard. In so doing, he                effects are associated with exposure to
                                                 concentrations), together, are intended                 notes that in this reconsideration, a                 daily PM2.5 concentrations in the lower
                                                 to provide public health protection                     large number of key U.S. epidemiologic                part of the air quality distribution, they
                                                 against the full distribution of short- and             studies report positive and statistically             do not provide information about health
                                                 long-term PM2.5 exposures. This                         significant associations for air quality              effects associated with the short-term


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00074   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024             Page 86 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                        16275

                                                 ‘‘peak’’ exposures that the 24-hour                     standard, while the minority of the                   Administrator concluded that it was
                                                 standard is designed to protect against.                CASAC concluded that the standard                     appropriate to place more weight on
                                                 Accordingly, these studies have limited                 was adequate and should be retained.                  epidemiologic studies that used ground-
                                                 relevance in informing a decision about                 However, in considering the advice of                 based monitors and to place less weight
                                                 the appropriate level of the 24-hour                    the CASAC collectively in the context of              on the studies that used hybrid model-
                                                 standard.                                               this reconsideration, the Administrator               based approaches, citing to increased
                                                    In addition to the scientific evidence,              recognizes that the 2021 draft PA                     uncertainties associated with this new
                                                 the Administrator also considers the                    included scientific evidence and                      and emerging approach to estimating
                                                 information from the risk assessment. In                quantitative risk information that was                exposure. In placing more weight on the
                                                 so doing, he notes that the risk                        not available in the 2019 draft PA, and               key U.S. monitor-based studies, the
                                                 assessment estimates that the current                   therefore, the advice and                             then-Administrator noted that the
                                                 primary annual PM2.5 standard could                     recommendations of the CASAC in their                 majority of these studies had mean
                                                 allow a substantial number of deaths in                 review of the 2021 draft PA are based                 concentrations at or above the level of
                                                 the U.S. With respect to the 24-hour                    on consideration of the full body of                  the annual standard (12.0 mg/m3).
                                                 standard, the Administrator recognizes                  scientific evidence available in this                 However, unlike the approach for
                                                 that there are only a small number of                   reconsideration, including the evidence               considering such studies in the 2012
                                                 study areas where the 24-hour standard                  evaluated in the 2019 ISA and the ISA
                                                 is controlling and changes in the 24-                                                                         review, the then-Administrator
                                                                                                         Supplement.
                                                 hour standard level are estimated to                       The Administrator recognizes that                  concluded that it was appropriate to
                                                 have a much smaller impact on public                    much of the scientific evidence                       consider the study-reported means
                                                 health. The Administrator recognizes                    available in this reconsideration was                 collectively, and in so doing, he placed
                                                 that while the risk estimates can help to               also available in the 2019 ISA and was                weight on the average of the study-
                                                 place the evidence for specific health                  considered by the then-Administrator                  reported means (or medians) across the
                                                 effects into a broader public health                    when he decided that the current                      U.S. monitor-based studies of 13.5 mg/
                                                 context, they should be considered                      primary PM2.5 standards are requisite to              m3, and noted that this concentration
                                                 along with the inherent uncertainties                   protect public health with an adequate                was above the level of the standard (85
                                                 and limitations of such analyses when                   margin of safety. However, as described               FR 82717, December 18, 2020). In
                                                 informing judgments about the potential                 in section I.C.5.b above, in reaching his             contrast, in this reconsideration, the
                                                 for additional public health protection                 decision to reconsider the 2020 final                 current Administrator judges that it is
                                                 associated with PM2.5 exposure and                      decision, the Administrator also                      appropriate to consider the individual
                                                 related health effects. While the                       recognized that there were a number of                study-reported mean PM2.5
                                                 Administrator recognizes that these                     studies published since the literature                concentrations from not only the U.S.
                                                 uncertainties are important, he also                    cutoff date of the 2019 ISA that were                 monitor-based epidemiologic studies,
                                                 notes that the general magnitude of the                 raised by some members of the CASAC                   but also the U.S. hybrid model-based
                                                 risk estimates provide support for                      in their review of the 2019 draft PA, in              epidemiologic studies, which are an
                                                 significant public health impacts,                      public comments on the 2020 proposal,                 advancement in the available science
                                                 particularly for lower alternative annual               and in the petitions for reconsideration.             since the completion of the 2009 ISA.
                                                 standard levels.                                        As such, the expansion of the air quality             The current Administrator also adopts
                                                    In reaching his final conclusions                    criteria in this reconsideration to                   an approach similar to some previous
                                                 regarding the adequacy of the primary                   encompass both the 2019 ISA and the                   approaches for the PM NAAQS in
                                                 PM2.5 standards, the Administrator also                 additional scientific evidence evaluated              which he judges it most appropriate to
                                                 considers the CASAC’s advice and                        in the ISA Supplement, along with                     set the level of the standard to
                                                 recommendations, as well as public                      evidence and updated quantitative                     somewhat below the lowest long-term
                                                 comments. With respect to the CASAC’s                   analyses in the 2022 PA also provided                 study-reported mean PM2.5
                                                 advice, the Administrator recognizes                    an expanded record for the CASAC’s                    concentration reported in key U.S.
                                                 that, in their review of the 2021 draft                 review and public comments as a part                  epidemiologic studies, which is 9.3 mg/
                                                 PA, the CASAC reached consensus that                    of this reconsideration. Taken together,              m3. The study that reports the long-term
                                                 the current primary annual PM2.5                        the 2019 ISA, ISA Supplement, and
                                                                                                                                                               mean PM2.5 concentration of 9.3 mg/m3
                                                 standard is not adequate and that it is                 2022 PA, along with the CASAC’s
                                                 not sufficiently protective of public                                                                         is newly available in this
                                                                                                         advice and recommendations and
                                                 health. The Administrator also takes                                                                          reconsideration and is evaluated in the
                                                                                                         public comments, provide the
                                                 note of the CASAC’s advice in their                     Administrator with additional                         ISA Supplement. In the 2019 ISA, the
                                                 review of the 2019 draft PA, where the                  information for consideration in                      lowest long-term study-reported mean
                                                 CASAC did not reach consensus on the                    reaching his final conclusions in this                PM2.5 concentrations for U.S.-based
                                                 adequacy of the primary annual PM2.5                    reconsideration. As a result, the record              studies that use ground-based monitors
                                                 standard, with the minority                             before him notably expands upon and                   and hybrid model-based approaches are
                                                 recommending revision and the                           strengthens the basis for the conclusions             9.9 mg/m3 and 10.7 mg/m3, respectively.
                                                 majority recommending the standard be                   of the 2019 ISA while reducing some                   In judging that it is appropriate to
                                                 retained. Furthermore, he recognizes                    uncertainties that were identified in the             consider both monitor- and hybrid
                                                 that in reviewing the 2019 draft PA, the                2020 final action.                                    model-based epidemiologic studies and
                                                 CASAC reached consensus regarding                          In considering the available                       that it is appropriate to adopt an
                                                                                                                                                               approach to set the level of the standard
ddrumheller on DSK120RN23PROD with RULES3




                                                 the adequacy of the primary 24-hour                     information in this reconsideration, the
                                                 PM2.5 standard, concluding that the                     current Administrator reached different               to somewhat below the lowest long-term
                                                 standard should be retained.                            conclusions regarding the appropriate                 mean PM2.5 concentration, the current
                                                 Conversely, in their review of the 2021                 weight to place on certain aspects of the             Administrator judges that the available
                                                 draft PA, the majority of the CASAC                     evidence than the then-Administrator in               scientific evidence—evaluated in both
                                                 advised that the current primary 24-                    the 2020 final decision. For example, in              the 2019 ISA and in the ISA
                                                 hour PM2.5 standard is not adequate and                 reaching his conclusions on the primary               Supplement—provide support for his
                                                 recommended revising the level of the                   annual PM2.5 standard in 2020, the then-              conclusion that that current primary


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00075   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024                Page 87 of 217
                                                 16276             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 PM2.5 standard is not adequate and                      cardiovascular effects (U.S. EPA, 2022a,              the full body of scientific evidence, in
                                                 should be revised.                                      section 3.2.2.3). In considering the                  reaching his judgment that there was
                                                   In addition to adopting a different                   epidemiologic evidence evaluated in the               considerable uncertainty in the
                                                 approach than the previous                              2019 ISA, along with the newly                        potential for increased public health
                                                 Administrator for considering the long-                 available studies evaluated in the ISA                protection from further reductions in
                                                 term mean PM2.5 concentrations from                     Supplement, the current Administrator                 ambient PM2.5 concentrations beyond
                                                 key U.S. epidemiologic studies (one                     also recognizes that there are                        those achieved under the existing
                                                 more consistent with the approach of                    uncertainties and limitations associated              primary PM2.5 NAAQS (85 FR 82717,
                                                 the EPA in other prior reviews), the                    with the epidemiologic studies, but                   December 18, 2020). However, there are
                                                 current Administrator both has                          judges that it is appropriate to place less           several accountability studies available
                                                 information newly available in this                     weight on these uncertainties than the                since the literature cutoff date of the
                                                 reconsideration before him and is                       then-Administrator placed on them in                  2019 ISA and evaluated in the ISA
                                                 reaching different conclusions about                    reaching his final decision in 2020,                  Supplement in this reconsideration that
                                                 how to weigh the evidence before him                    given the strength of the longstanding                have starting concentrations (or
                                                 in reaching his final conclusions. For                  large body of epidemiologic evidence,                 concentrations prior to the policy or
                                                 example, in reaching his final decision                 employing a variety of study designs,                 intervention) below 12.0 mg/m3
                                                 in 2020, the then-Administrator was                     that demonstrates associations between                (Corrigan et al, 2018; Henneman et al.,
                                                 concerned about placing too much                        long- and short-term PM2.5 exposures                  2019; Sanders et al., 2020a). The current
                                                 weight on epidemiologic studies to                      and health effects across multiple U.S.               Administrator concludes that, while the
                                                 inform his conclusions on the adequacy                  cities and in diverse populations,                    number of available accountability
                                                 of the primary PM2.5 standards, noting                  including in studies examining                        studies is limited, he recognizes that
                                                 that the epidemiologic studies do not                   populations and lifestages that may be                these studies provide supplemental
                                                 identify particular PM2.5 concentrations                at comparatively higher risk of                       information for consideration for
                                                 that cause effects and cannot alone                     experiencing a PM2.5-related health                   informing decisions on the appropriate
                                                 identify a specific level at which to set               effect (e.g., older adults, children).                level of the primary annual PM2.5
                                                 the standard. In so doing, the then-                       In reaching this final decision, the               standard along with the full body of
                                                 Administrator placed greater weight on                  Administrator recognizes he is differing              evidence.
                                                 the uncertainties and limitations                       not only with the prior Administrator                    As EPA has frequently noted
                                                 associated with the epidemiologic                       but also with the advice some members                 throughout this document, the extent to
                                                 studies, including exposure                             of the CASAC provided during their                    which the current primary PM2.5
                                                 measurement error, potential                            review of the 2019 draft PA.                          standards are judged to be adequate
                                                 confounding by copollutants, increased                  Specifically, taking into consideration               depends in part on science policy and
                                                 uncertainty of associations at lower                    the strength of the evidence providing                public health policy judgments to be
                                                 PM2.5 concentrations, and heterogeneity                 support for causality determinations,                 made by the Administrator on the
                                                 of effects across different cities or                   the advice of other members of the                    strength and uncertainties of the
                                                 regions (85 FR 82716, December 18,                      CASAC and the need to protect public                  scientific evidence, such as how to
                                                 2020). The Administrator recognizes                     health with an adequate margin of                     consider epidemiologic evidence and
                                                 that in reaching these judgments, the                   safety, the current Administrator                     the need for an adequate margin of
                                                 then-Administrator took into                            disagrees with these members of CASAC                 safety in setting the standards. Thus, it
                                                 consideration the views of some                         regarding the weight to be given to                   would be pure speculation to guess
                                                 members of the CASAC, who, in their                     epidemiologic evidence ‘‘based on its                 whether the then-Administrator would
                                                 advice on the 2019 draft PA, expressed                  methodological limitations’’ (Cox,                    have reached the same or different
                                                 the view that the current PM NAAQS                      2019b, p. 8 of consensus responses),                  conclusions in the 2020 final decision
                                                 should be retained because reported                     such as the possibility ‘‘that such                   had the record before him included the
                                                 associations between short- and long-                   associations could reasonably be                      newly available information in this
                                                 term PM2.5 exposures and adverse                        explained by uncontrolled confounding                 reconsideration.107 However, the
                                                 health outcomes ‘‘can reasonably be                     and other potential sources of error and              current Administrator concludes that,
                                                 explained in light of uncontrolled                      bias’’ (Cox, 2019b, p. 8 of consensus                 for the reasons explained herein that, in
                                                 confounding and other potential sources                 responses).                                           his judgment, based on the record before
                                                 of error and bias’’ (Cox, 2019b, p. 8 of                   As another example of information                  him in this reconsideration, it is
                                                 consensus responses).                                   that was not available to the CASAC in                necessary and appropriate to revise the
                                                   In this reconsideration, the current                  providing advice to the Administrator in              primary annual PM2.5 NAAQS to
                                                 Administrator notes that the ISA                        reaching his final decision in 2020, the              provide requisite protection of public
                                                 Supplement evaluates additional                         then-Administrator noted in his final                 health with an adequate margin of
                                                 studies that employed statistical                       decision that, while some members of                  safety.
                                                 approaches that attempted to more                       the CASAC and public commenters                          Based on the available scientific
                                                 extensively account for confounders and                 highlighted a number of accountability                evidence and quantitative information,
                                                 are more robust to model                                studies that examined past reductions in              as well as consideration of the CASAC’s
                                                 misspecification (i.e., used alternative                ambient PM2.5 concentrations and the                  advice and public comments, the
                                                 methods for confounder control, which                   degree to which those reductions have                 Administrator concludes that the
                                                 are sometimes referred to as causal                     resulted in public health improvements,
ddrumheller on DSK120RN23PROD with RULES3




                                                 modeling or causal inference methods)                   the small number of available                           107 The EPA notes that, in considering the

                                                 that build upon those studies available                 accountability studies did not examine                additional scientific evidence available in this
                                                                                                                                                               reconsideration, one member of the CASAC who
                                                 and evaluated in the 2019 ISA (U.S.                     air quality with starting concentrations              reviewed both the 2019 draft PA and the 2021 draft
                                                 EPA, 2019, sections 11.1.2.1 and                        meeting the primary annual PM2.5                      PA found that the available scientific and
                                                 11.2.2.4). These studies report                         standard of 12.0 mg/m3. The then-                     quantitative information available in this
                                                                                                                                                               reconsideration supported revising the level of the
                                                 consistent positive associations between                Administrator took into consideration                 primary annual PM2.5 standard to within the range
                                                 long-term and short-term PM2.5                          the absence of such accountability                    of 10–11 mg/m3, whereas he recommended retaining
                                                 exposure and total mortality and                        studies, as part of his consideration of              the standard during the review of the 2019 draft PA.



                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00076   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024               Page 88 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                                 16277

                                                 current primary annual PM2.5 standard                   concludes that epidemiologic studies do               standard to provide protection against
                                                 is not adequate to protect public health                not indicate that subdaily averaging                  long- and short-term PM2.5 exposures. In
                                                 with an adequate margin of safety. In                   periods are more closely associated with              its review of the 2021 draft PA, the
                                                 addition, he finds the available                        health effects than the 24-hour average               CASAC reached consensus that the form
                                                 information insufficient to call into                   exposure metric (U.S. EPA, 2019a,                     of the annual standard (i.e., annual
                                                 question the adequacy of the public                     section 1.5.2.1). In addition, controlled             mean, averaged over 3 years) should be
                                                 health protection afforded by the                       human exposure and panel-based                        retained, without revision (Sheppard,
                                                 current primary 24-hour PM2.5 standard.                 studies of subdaily exposures typically               2022a, p. 2 of consensus letter).110 The
                                                    In considering how to revise the                     examine subclinical effects rather than               Administrator also notes that there were
                                                 current suite of primary PM2.5 standards                the more serious population-level                     no public comments that recommended
                                                 in order to achieve the requisite                       effects that have been reported to be                 an alternative form for the primary
                                                 protection for public health, with an                   associated with 24-hour exposures (e.g.,              annual PM2.5 standard.
                                                 adequate margin of safety, against long-                mortality, hospitalizations). While                      With regard to the form of the 24-hour
                                                 and short-term PM2.5 exposures the                      recent controlled human exposure                      standard (98th percentile, averaged over
                                                 Administrator considers the four basic                  studies provide consistent evidence for               three years), epidemiologic studies
                                                 elements of the NAAQS (indicator,                       cardiovascular effects following PM2.5                continue to provide strong support for
                                                 averaging time, form, and level)                        exposures for less than 24 hours (i.e.,               health effect associations with short-
                                                 collectively. With respect to indicator,                <30 minutes to 5 hours), air quality                  term (e.g., mostly 24-hour) PM2.5
                                                 the Administrator recognizes that the                   analyses have shown that the current                  exposures, and controlled human
                                                 scientific evidence in this                             averaging times can effectively protect               exposure studies provide evidence for
                                                 reconsideration, as in previous reviews,                against the exposure concentrations in                health effects following single short-
                                                 continues to provide strong support for                 these studies. This information does not              term ‘‘peak’’ PM2.5 exposures (88 FR
                                                 health effects associated with PM2.5                    indicate that a revision to the averaging             5618, January 27, 2023). Therefore, the
                                                 mass. He notes the 2022 PA conclusion                   time is necessary to provide additional               Administrator concludes that the
                                                 that the available information continues                protection against subdaily PM2.5                     evidence supports retaining a standard
                                                 to support the PM2.5 mass-based                         exposures, beyond that provided by the                focused on providing supplemental
                                                 indicator and remains too limited to                    current primary annual and 24-hour                    protection against short-term peak
                                                 support a distinct standard for any                     PM2.5 standards. The Administrator also               exposures and supports a 98th
                                                 specific PM2.5 component or group of                    notes that this conclusion is also                    percentile form for a 24-hour standard,
                                                 components, and too limited to support                  support by the CASAC’s advice in their                in combination with a primary annual
                                                 a distinct standard for the ultrafine                   review of the 2021 draft PA where they                PM2.5 standard with its annual mean
                                                 fraction of PM (U.S. EPA, 2022b, section                reached consensus that averaging times                averaged over three years form. As
                                                 3.6.3.2.1). In its advice on the adequacy               for the primary PM2.5 standards should                described in the proposal and in
                                                 of the current primary PM2.5 standards                  be retained, without revision (Sheppard,              responding to comments in section
                                                 in their review of the 2021 draft PA, the               2022a, p. 2 of consensus letter).109 The              II.B.3 above, the Administrator further
                                                 CASAC reached consensus that the                        Administrator also considers the                      notes that the 98th percentile, averaged
                                                 PM2.5 mass-based indicator should be                    relatively few public comments received               over three years, form also provides an
                                                 retained, without revision (Sheppard,                   that support a subdaily averaging time,               appropriate balance between limiting
                                                 2022a, p. 2 of consensus letter).108                    but concludes that the currently                      the occurrence of peak 24-hour PM2.5
                                                 Additionally, there was no information                  available information does not provide                concentrations and identifying a stable
                                                 in the public comments that provided a                  support for an alternate averaging time.              target for risk management programs
                                                 rationale for an alternative indicator.                 Consistent with his proposed decision,                (U.S. EPA, 2022b, section 3.6.3.2.3).
                                                 For all of these reasons, the                           the Administrator concludes that it is                Furthermore, the Administrator notes
                                                 Administrator concludes that it is                      appropriate to retain the annual and 24-              that the multi-year percentile form (i.e.,
                                                 appropriate to retain PM2.5 mass as the                 hour averaging times for the primary                  averaged over three years) offers greater
                                                 indicator for the primary standards for                 PM2.5 standards to protect against long-              stability to the air quality management
                                                 fine particles.                                         and short-term PM2.5 exposures.                       process by reducing the possibility that
                                                    Consistent with his proposed                            With regard to form, the                           statistically unusual indicator values
                                                 conclusions regarding averaging time,                   Administrator first notes that the EPA                will lead to transient violations of the
                                                 the Administrator notes that the                        has set both an annual standard and a                 standard. This conclusion is also
                                                 scientific evidence continues to provide                24-hour standard to provide protection                supported by the CASAC’s advice in
                                                 strong support for health effect                        from health effects associated with both              their review of the 2021 draft PA, where
                                                 associations with both long- and short-                 long- and short-term exposures to PM2.5               they reached consensus that the form for
                                                 term PM2.5 exposures (88 FR 5618,                       (62 FR 38667, July 18, 1997; 88 FR 5620,              the primary PM2.5 standards should be
                                                 January 27, 2023). Epidemiologic                        January 27, 2023). With regard to the                 retained, without revision (Sheppard,
                                                 studies continue to provide strong                      form of the annual standard, the                      2022a, p. 2 of consensus letter).111
                                                 support for health effects associated                   Administrator recognizes that a large                    The Administrator also recognizes
                                                 with short-term PM2.5 exposures based                   majority of the recently available                    that the CASAC recommended that in
                                                 on 24-hour averaging periods, and                       epidemiologic studies continue to report              future reviews, the EPA also consider
                                                 associations in epidemiologic studies                   associations between health effects and               alternative forms for the primary 24-
                                                 with subdaily estimates are less                        annual average PM2.5 concentrations.                  hour PM2.5 standard (Sheppard, 2022a,
ddrumheller on DSK120RN23PROD with RULES3




                                                 consistent and, in some cases, smaller in               These studies of annual average PM2.5
                                                                                                                                                                 110 The CASAC did not provide advice or
                                                 magnitude (88 FR 5618, January 27,                      concentrations provide support for                    recommendations regarding the forms of the
                                                 2023). Taken together, the 2019 ISA                     retaining the current form of the annual              primary PM2.5 standards in their review of the 2019
                                                                                                                                                               draft PA (Cox, 2019b).
                                                   108 The CASAC did not provide advice or                 109 The CASAC did not provide advice or               111 The CASAC did not provide advice or

                                                 recommendations regarding the indicator of the          recommendations regarding the averaging times of      recommendations regarding the forms of the
                                                 primary PM2.5 standards in their review of the 2019     the primary PM2.5 standards in their review of the    primary PM2.5 standards in their review of the 2019
                                                 draft PA (Cox, 2019b).                                  2019 draft PA (Cox, 2019b).                           draft PA (Cox, 2019b).



                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00077   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024             Page 89 of 217
                                                 16278             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 p. 18 of consensus responses). Based on                 information calls into question the                      Consistent with his conclusions on
                                                 the CASAC’s advice, the proposal                        adequacy of public health protection                  the need for revision of the current
                                                 solicited comment on alternatives to the                afforded by the current standard,                     annual standard, in reaching a decision
                                                 current form for consideration in future                particularly for at-risk populations.                 on level, the Administrator places the
                                                 reviews (88 FR 5619, January 27, 2023).                 Consistent with his consideration of the              most weight on information from
                                                 The Administrator recognizes that there                 available information in reaching his                 epidemiologic studies. In so doing, the
                                                 were a limited number of public                         proposed decisions, the Administrator’s               Administrator notes that these studies
                                                 comments related to the form of the                     final decision on the level of the                    provide consistent evidence of positive
                                                 primary PM2.5 standards as discussed in                 primary annual PM2.5 standard places                  and statistically significant associations
                                                 section II.D.3 above and in the Response                the greatest emphasis on key U.S.                     between long- and short-term exposure
                                                 to Comments document, and notes that,                   epidemiologic studies that report                     to PM2.5 and mortality and morbidity
                                                 the EPA will consider the information                   associations between long- and short-                 (88 FR 5624, January 27, 2023). The
                                                 provided by the commenters regarding                    term PM2.5 exposures and mortality and                Administrator recognizes that placing
                                                 the form of the 24-hour PM2.5 standard                  morbidity. As in the proposal, and as                 weight on the information from the
                                                 in the next review of the PM NAAQS.                     discussed further below, he views                     epidemiologic studies allows for
                                                 Consistent with his proposed decision,                  additional epidemiologic studies (i.e.,               examination of the entire population,
                                                 in considering the information                          studies that employ alternative methods               including those that may be at
                                                 summarized above, the Administrator                     for confounding control, studies that                 comparatively higher risk of
                                                 concludes that it is appropriate to retain              employ restricted analyses, and                       experiencing a PM2.5-related health
                                                 the forms of the current annual and 24-                 accountability studies), the controlled               effects (e.g., children, older adults,
                                                 hour PM2.5 standards.                                   human exposure studies, and the risk                  minority populations) (88 FR 5624,
                                                    In considering how to revise the                     assessment as providing supplemental                  January 27, 2023). The Administrator
                                                 current suite of PM2.5 standards to                     information in support of his decision to             also recognizes that recent
                                                 provide the requisite public health                     revise the current annual standard, but               epidemiologic studies continue to
                                                 protection with an adequate margin of                   recognizes that some of these lines of                support a no-threshold relationship,
                                                 safety, the Administrator next evaluates                evidence and information provide a                    meaning that there is no ‘‘bright line’’
                                                 the appropriate levels of the primary                   more limited basis for selecting a                    below which no effects have been
                                                 PM2.5 standards, beginning with the                     particular standard level among a range               found. These studies also support a
                                                 annual PM2.5 standard. In having                        of options. See Mississippi, 744 F. 3d at             linear relationship between health
                                                 carefully considered public comments                    1351–52 (studies can legitimately                     effects and PM2.5 exposures at PM2.5
                                                 related to the primary annual PM2.5                     support a decision to revise the                      concentrations greater than 8 mg/m3,
                                                 standard, the Administrator believes                    standard, but not provide sufficient                  though uncertainties remain about the
                                                 that the fundamental conclusions                        information to justify their use in setting           shape of the C–R curve at PM2.5
                                                 regarding the scientific evidence and                   the level of a revised standard).                     concentrations less than 8 mg/m3, with
                                                 quantitative information that supported                                                                       some recent studies providing evidence
                                                 his proposed conclusions (as described                     Given his consideration of the
                                                                                                                                                               for either a sublinear, linear, or
                                                 in the 2019 ISA, ISA Supplement, 2022                   scientific evidence, quantitative risk                supralinear relationship at these lower
                                                 PA, and the proposal) remain valid. In                  information, advice from the CASAC,                   concentrations (U.S. EPA, 2019a,
                                                 considering the level at which the                      and public comments, the                              section 11.2.4; U.S. EPA, 2022a, section
                                                 primary annual PM2.5 standard should                    Administrator judges that a primary                   2.2.3.2; 88 FR 5625, January 27, 2023).
                                                 be set, the Administrator considers the                 annual PM2.5 standard with a level of                    As at the time of proposal, the
                                                 entire body of evidence and                             9.0 mg/m3 is requisite to protect public              Administrator notes that some recent
                                                 information, giving appropriate weight                  health with an adequate margin of                     epidemiologic studies have adopted a
                                                 to each part of that body of evidence                   safety. He notes that the determination               broad range of approaches to examine
                                                 and information. He continues to place                  of what constitutes an adequate margin                confounding and the results of those
                                                 the greatest weight in this                             of safety is expressly left to the                    examinations support the robustness of
                                                 reconsideration on the available                        judgment of the EPA Administrator. See                reported associations seen in
                                                 scientific evidence that provides                       Lead Industries Association v. EPA, 647               epidemiologic studies. These include
                                                 support for associations between health                 F.2d at 1161–62; Mississippi, 744 F.3d                studies that employ alternative methods
                                                 effects and long- and short-term PM2.5                  at 1353. He further notes that in                     for confounder control and studies that
                                                 exposures. In conjunction with his                      evaluating how particular standards                   evaluate the uncertainty related to
                                                 decisions to retain the current indicator,              address the requirement to provide an                 exposure measurement error, both of
                                                 averaging time, and form as described                   adequate margin of safety, it is                      which continue to support associations
                                                 above, the Administrator is revising the                appropriate to consider such factors as               between PM2.5 exposures and health
                                                 level of the primary annual PM2.5                       the nature and severity of the health                 effects while taking approaches to
                                                 standard to 9.0 mg/m3. In so doing, he                  effects, the size of the at-risk                      address uncertainties.
                                                 is selecting a primary annual PM2.5                     populations, and the kind and degree of                  In considering the epidemiologic
                                                 standard that, together with the primary                the uncertainties present. In considering             evidence, the Administrator judges that,
                                                 24-hour PM2.5 standard, provides                        the need for an adequate margin of                    in reaching his decision on an
                                                 requisite public health protection with                 safety, the Administrator notes that a                appropriate level for the annual
                                                 an adequate margin of safety, based on                  primary annual PM2.5 standard with a                  standard that will protect public health
                                                                                                         level of 9.0 mg/m3 would be expected to
ddrumheller on DSK120RN23PROD with RULES3




                                                 his judgments about and interpretation                                                                        with an adequate margin of safety, in
                                                 of the scientific evidence and                          provide substantial improvements in                   the absence of any discernible
                                                 quantitative risk information.                          public health compared to the current                 population-level thresholds, and in
                                                    The Administrator’s decision to revise               annual standard, including for at-risk                recognizing the need to weigh
                                                 the level of the primary annual PM2.5                   groups such as children, older adults,                uncertainties associated with the
                                                 standard to 9.0 mg/m3 builds upon his                   people with preexisting conditions,                   epidemiologic evidence, it is most
                                                 conclusion that the overall body of                     minority populations, and low SES                     appropriate to examine where the
                                                 scientific evidence and quantitative risk               populations.                                          evidence of associations observed in the


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00078   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024                Page 90 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                                 16279

                                                 epidemiologic studies is strongest and,                 reviews. As a result, the Administrator               epidemiologic study that represents a
                                                 conversely, to place less weight where                  has concluded on reconsideration that                 ‘‘bright line’’ at and above which effects
                                                 he has less confidence in the                           the level of the primary annual standard              have been observed and below which
                                                 associations observed in the                            is not adequate and should be revised to              effects have not been observed. The
                                                 epidemiologic studies. As at the time of                protect public health with an adequate                Administrator further notes that the
                                                 proposal, the Administrator notes that                  margin of safety.                                     epidemiologic studies provide the
                                                 in previous reviews, evidence-based                        Consistent with his proposed                       strongest support for reported health
                                                 approaches noted that the evidence of                   decisions, in reaching conclusions on                 effect associations for this middle
                                                 an association in any epidemiologic                     the level of the primary annual PM2.5                 portion of the PM2.5 air quality
                                                 study is ‘‘strongest at and around the                  standard, the Administrator considers                 distribution, which corresponds to the
                                                 long-term average where the data in the                 the long-term 112 study-reported mean                 bulk of the underlying data, rather than
                                                 study are most concentrated’’ (78 FR                    PM2.5 concentrations from key long- and               the extreme upper or lower ends of the
                                                 3140, January 15, 2013). Given this,                    short-term epidemiologic studies and                  distribution, and concludes that the
                                                 these approaches focused on identifying                 sets the level of the standard to                     long-term study-reported means from
                                                 standard levels near or somewhat below                  somewhat below the lowest long-term                   both long- and short-term studies
                                                 long-term mean concentrations reported                  mean PM2.5 concentration.113 He notes                 provide the strongest support for
                                                 in key epidemiologic studies. These                     that in previous PM NAAQS reviews                     reported health effect associations in
                                                 approaches were supported by previous                   (including the 1997, 2006 and 2012                    epidemiologic studies. For these
                                                 CASAC advice as well as the CASAC’s                     reviews), evidence-based approaches                   reasons, as described in the proposal
                                                 advice in their review of the 2021 draft                focused on identifying standard levels                and in responding to public comments
                                                 PA as a part of this reconsideration.                   near or somewhat below long-term                      in section II.B.3 above, the
                                                    Additionally, the Administrator                      mean concentrations reported in key                   Administrator concludes that it is
                                                 acknowledges that in the 2020 final                     long- and short-term epidemiologic                    appropriate to continue to employ an
                                                 action, the then-Administrator decided                  studies. These approaches were                        approach that focuses on the mean
                                                 to retain the standard based in part on                 supported by the CASAC in previous                    PM2.5 concentrations from the key
                                                 concerns about placing reliance on the                  reviews and were supported in this                    epidemiologic studies to inform his
                                                 epidemiologic studies and his judgment                  reconsideration by the CASAC in their                 conclusions regarding the appropriate
                                                 that even if he did rely on them, the                   review of the 2021 draft PA. In                       level for the primary annual PM2.5
                                                 majority of the studies had means or                    considering the available scientific                  standard.
                                                 medians, as well as the mean of all of                  evidence to inform such an approach,                     In adopting such an approach, the
                                                 the key study-reported means or                         the Administrator notes the strength of               Administrator considers the long-term
                                                 medians, above the level of the current                 the epidemiologic evidence which                      mean concentrations reported in two
                                                 annual standard. However, after                         includes multiple studies that                        types of key epidemiologic studies: (1)
                                                 considering the evidence, the advice of                 consistently report positive associations             Monitor-based studies 114
                                                 CASAC, and public comments the                          for short- and long-term PM2.5 exposure               (epidemiologic studies that used
                                                 Administrator judges that this approach                 and mortality and cardiovascular                      ground-based monitors to estimate
                                                 is insufficient to protect public health                effects. Some available studies also use              exposure, similar to approaches used in
                                                 with an adequate margin of safety. The                  a variety of statistical methods to                   past reviews), and (2) hybrid modeling-
                                                 Administrator’s decision to reach a                     control for confounding bias and report               based studies 115 (epidemiologic studies
                                                 different judgment about the                            similar associations, which further                   that used hybrid modeling approaches
                                                 appropriate level of the annual standard                supports the broader body of                          and apply aspects of population
                                                 reflects the updated and expanded                       epidemiologic evidence for both                       weighting to estimate exposures). In
                                                 scientific record available to the                      mortality and cardiovascular effects.                 reaching conclusions regarding the level
                                                 Administrator in this reconsideration, as               Additionally, he notes that recent                    of a standard that would provide
                                                 well as the additional advice from the                  epidemiologic studies available for                   requisite protection with an adequate
                                                 CASAC and the public comments based                     consideration in reaching his final                   margin of safety, the Administrator
                                                 on this newly available information. In                 decision strengthen support for health                recognizes that he must use his
                                                 addition, the Administrator observes the                effect associations at PM2.5                          judgment regarding the appropriate
                                                 decision in this action to place weight                 concentrations lower than in those                    weight to place on the available
                                                 on the epidemiologic studies, and to                    evaluated in epidemiologic studies                    evidence and technical information,
                                                 revise the annual primary standard to a                 available at the time of previous                     including uncertainties. As shown in
                                                 level below the lowest long-term mean                   reviews. The Administrator does                       Figures 1 and 2 above, for the key U.S.
                                                 in the U.S.-based epidemiologic studies,                recognize, however, that while these                  monitor-based epidemiologic studies,
                                                 is consistent with the EPA’s past                       epidemiologic studies evaluate
                                                 practice in PM NAAQS reviews.                           associations between distributions of                   114 Reported mean PM
                                                                                                                                                                                          2.5 concentrations in
                                                    In this reconsideration, the                         ambient PM2.5 concentrations and                      monitor-based studies are averaged across monitors
                                                 Administrator is considering the                                                                              in each study area with multiple monitors, referred
                                                                                                         health outcomes, they do not identify                 to as a composite monitor concentration, in contrast
                                                 scientific record which has been                        the specific exposures that led to the                to the highest concentration monitored in the study
                                                 expanded and updated since the 2020                     reported effects. As such, he notes that              area, referred to as a maximum monitor
                                                 final action, as well as the additional                 there is no specific point in the air                 concentration (i.e., the ‘‘design value’’
                                                 advice from the CASAC and the public                                                                          concentration), which is used to determine whether
                                                                                                         quality distribution of any                           an area meets a given standard.
ddrumheller on DSK120RN23PROD with RULES3




                                                 comments that are based on the newly                                                                            115 Studies that use hybrid modeling approaches
                                                 available information that expands upon                   112 ‘‘Long-term’’ represents PM
                                                                                                                                           2.5 exposures and   employ methods to estimate ambient PM2.5
                                                 the information previously available. In                concentrations that are annual or multi-year.         concentrations across large geographical areas,
                                                 addition, the Administrator is exercising                 113 As described in section II.A.2.c above, key     including areas without monitors, and thus, when
                                                 his judgment about how to interpret and                 epidemiologic studies are those that report overall   compared to monitor-based studies, require
                                                                                                         mean (or median) PM2.5 concentrations and for         additional information to inform the relationship
                                                 weigh the expanded evidence in a way                    which the years of PM2.5 air quality data used to     between the estimated PM2.5 concentrations across
                                                 that is more consistent with the                        estimate exposures overlap entirely with the years    an area and the maximum monitor design values
                                                 approaches used in prior PM NAAQS                       during which health events are reported.              used to assess compliance.



                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00079   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024               Page 91 of 217
                                                 16280             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 the study-reported mean concentrations                  other types of epidemiologic studies,                 conclusions regarding the appropriate
                                                 range from 9.9–16.5 mg/m3, and for the                  study-reported PM2.5 concentrations                   level for the primary annual PM2.5
                                                 key U.S. hybrid modeling-based                          from key Canadian epidemiologic                       standard. However, the Administrator
                                                 epidemiologic studies, the mean                         studies, and the results from the                     also recognizes that his confidence in
                                                 concentrations range from 9.3–12.2 mg/                  quantitative risk assessment.                         the magnitude and significance in the
                                                 m3. The Administrator also recognizes                      In weighing the evidence in                        reported concentrations, and their
                                                 that, in their review of the 2021 draft                 considering the requisite level of the                ability to inform decisions on the
                                                 PA, both the majority and minority of                   annual standard, the Administrator also               appropriate level of the annual
                                                 the CASAC emphasized the                                takes into account additional                         standard, starts to diminish at
                                                 epidemiologic studies in support of                     information from the key long- and                    percentiles that are even further below
                                                 their recommendations for the level of                  short-term U.S. epidemiologic studies                 the mean and the 25th percentile. For
                                                 the annual standard, but they weighed                   available that provide study-reported                 these reasons, the Administrator places
                                                 the studies in different ways (Sheppard,                PM2.5 concentrations below the mean                   weight on the reported 25th percentiles
                                                 2022a, p. 16–17 of consensus                            and, in particular, the subset of                     concentrations in the recent hybrid
                                                 responses).                                             epidemiologic studies that report 25th                model-based studies, rather than the
                                                   Based on this information, and in                     and 10th percentile concentrations.                   reported 10th percentile concentrations,
                                                 considering the CASAC’s advice in their                 Consistent with his proposed                          in reaching his conclusions regarding
                                                 review of the 2021 draft PA, the                        conclusions, as well as the CASAC’s                   the appropriate level for the primary
                                                 Administrator judges that it is                         advice in their review of the 2021 draft              annual PM2.5 standard.
                                                 appropriate to set the level of the                     PA and public comments, the                              In considering the information from
                                                 primary PM2.5 standard at least as low                  Administrator judges that it is                       these studies, as described in section
                                                 as the lowest mean PM2.5 concentration                  appropriate to place some weight on                   II.A.2.c and in responding to public
                                                 from these key U.S.-based                               these lower percentiles in reaching his               comments in section II.B.3 above, the
                                                 epidemiologic studies, which is 9.3 mg/                 conclusions on the level of the primary               Administrator notes that there are two
                                                 m3. The Administrator additionally                      annual standard. There are six key U.S.               hybrid model-based studies with large
                                                 notes that setting the annual standard                  epidemiologic studies that report                     cohort sizes that apply population
                                                 level at 9.0 mg/m3, which is below the                  information on other percentiles (e.g.,               weighting and report lower percentile
                                                 lowest study-reported mean PM2.5                        10th and 25th percentiles of PM2.5                    values. These studies are Di et al.
                                                 concentration of 9.3 mg/m3, would be                    concentrations or 10th and 25th                       (2017b) and Wang et al. (2017) and the
                                                 expected to shift the distribution of                   percentiles of PM2.5 concentrations                   reported 25th percentile concentration
                                                 PM2.5 concentrations in an area such                    associated with health events) that are               is 9.1 mg/m3 for both studies.118 In
                                                 that the area’s highest monitor would                   below the mean.117 In considering the                 considering these studies, the
                                                 generally be at or below 9.0 mg/m3                      information from these studies, the                   Administrator concludes that it is
                                                 annually, when meeting the annual                       Administrator first notes that the three              appropriate to place weight on the 25th
                                                 standard. In this situation, the resulting              older, monitor-based studies that report              percentile concentrations of these newer
                                                 average or mean PM2.5 concentration for                 lower percentiles of PM2.5                            hybrid model-based studies (of 9.1 mg/
                                                 the entire area (measured across a                      concentrations have smaller cohort sizes              m3) such that setting the level of the
                                                 number of monitors) would be even                       than the three hybrid model-based                     standard near these 25th percentile
                                                 further below the study-reported                        studies. Thus, the Administrator                      concentrations would provide requisite
                                                 means,116 and will provide adequate                     recognizes that the older, monitor-based              protection. The Administrator observes
                                                 protection not only in areas where the                  studies had a relatively smaller portion              that an annual standard level of 9.0 mg/
                                                 highest allowable concentrations would                  of the health events that were observed               m3 would be near the reported 25th
                                                 be expected (i.e., near design value                    in the lower part of the air quality                  percentile concentrations in these
                                                 monitors) but also in other parts of the                distribution because of the generally                 studies.
                                                 area where PM2.5 concentrations would                   smaller size of the cohorts. He further                  As at the time of proposal, the
                                                 be expected to be maintained even                       notes that the recent hybrid model-                   Administrator also takes note of the
                                                 lower.                                                  based studies have larger cohort sizes                study-reported long-term mean PM2.5
                                                   As noted above, however, the                          than the older, monitor-based studies,                concentrations in long- and short-term
                                                 Administrator must exercise his                         and therefore, have more health events                Canadian epidemiologic studies, which
                                                 judgment regarding the appropriate                      in the lower part of the air quality                  ranged from 6.9 to 13.3 mg/m3 for
                                                 weight to place on the available                        distribution. Because of the larger                   monitor-based studies and 5.9 to 9.8 mg/
                                                 scientific evidence and quantitative                    cohort sizes and having a larger portion              m3 for hybrid model-based studies.
                                                 information, including uncertainties, in                of health events that are observed across             While the Administrator notes that
                                                 determining what level of the annual                    the air quality distribution, the                     these studies provide additional support
                                                 standard is sufficient to protect public                Administrator has more confidence in                  for associations between PM2.5
                                                 health with an adequate margin of                       the magnitude and significance of the                 concentrations and health effects, he is
                                                 safety. In so doing, he considers other                 associations in the lower parts of the air            also mindful that there are important
                                                 information available in this                           quality distribution for the recent,                  differences between the exposure
                                                 reconsideration to inform his                           hybrid model-based studies compared                   environments in the U.S. and Canada
                                                 judgments, including study-reported                     to the older, monitor-based studies.                  and that interpreting the data (e.g.,
                                                 PM2.5 concentrations at lower                           Given this, the Administrator judges                  study-reported mean concentrations)
ddrumheller on DSK120RN23PROD with RULES3




                                                 percentiles in key epidemiologic                        that it is appropriate to place weight on
                                                 studies, supplemental information from                  the 25th percentile concentrations                      118 There is a third hybrid model-based study, as

                                                                                                         reported in the recently available hybrid             described in the 2022 PA and in section II.B.3 above
                                                   116 Analyses in the 2022 PA suggest that the                                                                in responding to public comments, but it is not
                                                 highest monitored value would be expected to be         model-based studies in reaching his                   referenced here because it reports a 25th percentile
                                                 greater than the study-reported mean values by 10–                                                            PM2.5 concentration based on the 25th percentile of
                                                 20% for monitor-based studies and 15–18% for              117 The Wang et al. (2017) study only reports the   health events that occur in the study (Di et al.,
                                                 hybrid modeling studies that apply aspects of           25th percentile of the estimated PM2.5                2017a) rather than report the 25th percentile based
                                                 population weighting.                                   concentrations, not the 10th percentile.              on air quality concentrations.



                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00080   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024             Page 92 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                         16281

                                                 from the Canadian studies in the context                differences between the population                    PA, the CASAC noted that
                                                 of a U.S.-based standard may present                    exposures in the U.S. and Canadian                    epidemiologic studies that restrict
                                                 challenges in directly and quantitatively               study areas and how these differences                 analyses below certain PM2.5
                                                 informing decisions regarding potential                 influence the interpretation of the                   concentrations represent one area for
                                                 alternative levels of the annual                        epidemiologic study results.                          which the evidence has expanded in
                                                 standard. For example, in terms of                         Thus, the Administrator considers the              this reconsideration, stating that these
                                                 people per square kilometer, the U.S.                   Canadian studies to inform his                        studies provide support for mortality
                                                 population density is nearly 10 times in                judgments on what level for the annual                effects at concentrations below the
                                                 the contiguous U.S. compared to                         standard is requisite in light of the                 current PM NAAQS (Sheppard, 2022a,
                                                 Canada. As described in more detail in                  limitations and challenges presented.                 p. 5 of consensus responses). In their
                                                 responding to public comments in                        The Administrator also recognizes that                recommendations on alternative levels
                                                 section II.B.3 above, in this                           the majority of the CASAC in their                    for the primary annual PM2.5 standard,
                                                 reconsideration, the Administrator                      review of the 2021 draft PA, as well as               the majority of the CASAC cited to
                                                 recognizes that this difference in                      a number of public commenters, place                  studies that restrict PM2.5 concentrations
                                                 population density between the U.S.                     weight on the Canadian epidemiologic                  to below 12 mg/m3 as a part of their
                                                 and Canada is more apparent than in                     studies in recommending that the level                rationale for supporting a level within
                                                 previous reviews because the studies                    of the primary annual PM2.5 standard be               the range of 8–10 mg/m3 (Sheppard,
                                                 available in this reconsideration use                   revised to 8–10 mg/m3. The                            2022a p. 16 of consensus responses).
                                                 different approaches than those                         Administrator further notes while the                 Additionally, the Administrator notes
                                                 previously available. In the 2012 review,               majority of the CASAC advised the EPA                 that some members of the CASAC, in
                                                                                                         to consider the Canadian studies in                   their review of the 2019 draft PA,
                                                 the available Canadian epidemiologic
                                                                                                         revising the annual standard level to                 concluded that the epidemiologic
                                                 studies used population-weighting and
                                                                                                         within the range of 8.0–10.0 mg/m3, they              studies that restrict analyses below 12
                                                 focused on urban areas where monitors
                                                                                                         did not advise the EPA to set the annual              mg/m3 and show positive associations
                                                 were available and population densities
                                                                                                         standard level below the study-reported               with health effects, along with other
                                                 were more comparable with those in the
                                                                                                         means from those studies. Given these                 aspects of the scientific evidence,
                                                 U.S., and at that time, the U.S. and
                                                                                                         considerations, the Administrator                     provide support for their conclusion
                                                 Canadian studies reported similar mean
                                                                                                         judges that it is appropriate to set the              that the primary annual PM2.5 standard
                                                 PM2.5 concentrations. However, in this
                                                                                                         level of annual standard within the                   is not adequate (Cox, 2019b, p. 9 of
                                                 reconsideration, the Administrator takes                range of 8–10 mg/m3 to be consistent
                                                 note that for the new Canadian                                                                                consensus responses). Furthermore, the
                                                                                                         with the majority of the CASAC’s advice               Administrator takes note of public
                                                 epidemiologic studies: (1) The Canadian                 in their consideration of these studies.
                                                 monitor-based studies available in this                                                                       commenters who also noted that the
                                                                                                            The Administrator also recognizes
                                                 reconsideration do not apply population                                                                       epidemiologic studies that restrict PM2.5
                                                                                                         that information from epidemiologic
                                                 weighting as the previously available                                                                         concentrations to below the current
                                                                                                         studies that included analyses that
                                                 studies did; and (2) some of the studies                                                                      standard provide support, along with
                                                                                                         restrict annual average PM2.5
                                                 now use hybrid modeling approaches                                                                            the other available information, for
                                                                                                         concentrations to concentrations below
                                                 for estimating exposure. The                                                                                  lowering the level of the primary annual
                                                                                                         the level of the current annual standard
                                                 Administrator recognizes that these                                                                           PM2.5 standard. In considering the
                                                                                                         can be useful for informing conclusions
                                                 differences are important to consider in                                                                      studies that include restricted analyses,
                                                                                                         regarding the appropriate level of the
                                                 reaching conclusions on how these                                                                             along with the CASAC’s advice and
                                                                                                         primary annual PM2.5 standard. In so
                                                 Canadian epidemiologic studies should                                                                         public comments on these types of
                                                                                                         doing, he particularly notes the two key
                                                 be interpreted regarding decisions on                   U.S. epidemiologic studies (Di et al.,                studies, the Administrator concludes
                                                 the requisite level of the primary annual               2017b and Dominici et al., 2019) that                 that, although there are inherent
                                                 PM2.5 standard. Specifically, the                       restrict annual average PM2.5                         uncertainties associated with this
                                                 Administrator notes that the more                       concentrations to less than 12 mg/m3                  limited body of evidence, these studies
                                                 recent Canadian studies that use hybrid                 and report positive and statistically                 that apply restricted analyses provide
                                                 modeling incorporate larger portions of                 significant associations with all-cause               support for serious effects (e.g.,
                                                 the country, and therefore include more                 mortality and mean PM2.5                              mortality) at concentrations below 10.0
                                                 rural areas. The more rural areas that are              concentrations of 9.6 mg/m3. He also                  mg/m3. Given this, the Administrator
                                                 included in the study using the hybrid                  considers these results along with the                concludes that it is appropriate to place
                                                 modeling approaches, the more                           uncertainties and limitations associated              some weight on these studies, and in
                                                 important it is to consider how the                     with studies that restricted analyses                 doing so, notes that a standard level of
                                                 population densities and exposure                       below certain PM2.5 concentrations. As                9.0 mg/m3 would be below the reported
                                                 environments differ between the U.S.                    described in responding to comments in                mean PM2.5 concentrations of 9.6 mg/m3
                                                 and Canada. Additionally, the                           section II.B.3 above, uncertainties                   in these studies and would, thus, be
                                                 Administrator notes that for hybrid                     associated with how the studies exclude               expected to provide protection against
                                                 modeling-based studies there is less                    PM2.5 concentrations from the analyses                exposures related to these reported
                                                 certainty in PM2.5 exposure estimates in                (e.g., at what spatial resolution are                 mean concentrations.
                                                 more rural areas, which are further from                concentrations being excluded), make it                  The Administrator also takes into
                                                 air quality monitors and where PM2.5                    difficult to understand how to interpret              consideration recent U.S. accountability
                                                                                                                                                               studies, which assess the health effects
ddrumheller on DSK120RN23PROD with RULES3




                                                 concentrations in the ambient air tend                  the results of the restricted analyses in
                                                 to be lower. For these hybrid model-                    the context of the approach employed in               associated with actions that improve air
                                                 based studies, the portion of the rural                 this reconsideration, which takes into                quality (e.g., air quality policies or
                                                 areas that are contributing to the study-               consideration the relationship between                implementation of an intervention).
                                                 reported mean PM2.5 concentrations in                   mean PM2.5 concentrations and design                  These types of studies can also reduce
                                                 these studies is unclear. For these                     values.                                               uncertainties related to residual
                                                 reasons, the Administrator concludes                       The Administrator also recognizes                  confounding of temporal and spatial
                                                 that it is important to consider the                    that, in their review of the 2021 draft               factors (U.S. EPA, 2022a, p. 3–25). The


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00081   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024             Page 93 of 217
                                                 16282             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 Administrator notes that in the 2020                    from accountability studies based on the              exposure and related health effects. The
                                                 review, the available accountability                    methodological limitations of the                     Administrator recognizes that the
                                                 studies had ‘‘starting’’ annual average                 studies (Cox, 2019b, p. 8 of consensus                overall risk assessment estimates
                                                 PM2.5 concentrations (i.e., mean                        responses). The Administrator notes                   suggest that the current primary annual
                                                 concentration prior to reductions being                 that the CASAC did not explicitly cite                PM2.5 standard could allow a substantial
                                                 evaluated) from 13.2–31.5 mg/m3, and                    to accountability studies in their                    number of PM2.5-associated deaths in
                                                 the then-Administrator cited the lack of                reviews of the 2019 draft PA or 2021                  the U.S. The Administrator also
                                                 accountability studies in areas where                   draft PA as support for their                         recognizes that the CASAC concurred
                                                 the ‘‘starting’’ concentration met the                  recommendations on the adequacy of                    with the 2021 draft PA’s assessment that
                                                 current primary PM2.5 standards as part                 the primary annual PM2.5 standard or                  meaningful risk reductions will result
                                                 of his rationale for retaining the                      potential alternative standard levels. A              from lowering the annual PM2.5
                                                 standards. As at the time of proposal,                  number of public commenters who                       standard (Sheppard, 2022a, p. 16 of
                                                 the current Administrator notes that in                 support revising the level of the                     consensus responses).
                                                 three studies newly available in this                   standard to 8 mg/m3 cite these                           Additionally, with respect to the
                                                 reconsideration and assessed in the ISA                 accountability studies, along with the                results of the quantitative risk
                                                 Supplement, prior to implementation of                  broader evidence base, as support for a               assessment, the Administrator
                                                 the policies, mean PM2.5 concentrations                 more protective standard. The                         recognizes that the 2022 PA also
                                                 in these studies were below the level of                Administrator, in considering the                     provides information on the distribution
                                                 the current annual standard level (12.0                 evidence, the advice from the CASAC,                  of concentrations associated with the
                                                 mg/m3) and ranged from 10.0 mg/m3 to                    and public comment, first recognizes                  estimated mortality risk at each
                                                                                                         that accountability studies are just one              alternative standard level assessed (U.S.
                                                 11.1 mg/m3. These studies report
                                                                                                         line of evidence to be considered in the              EPA, 2022b, sections 3.4.2.2 and 3.6.2.2,
                                                 positive and significant associations
                                                                                                         broader evaluations of the information                Figure 3–18 and 3–19). When meeting
                                                 between mortality and cardiovascular
                                                                                                         available to inform conclusions on the                an annual standard of 9.0 mg/m3 at the
                                                 morbidity and reductions in ambient
                                                                                                         level of the standard. In so doing, he                design value monitor, the exposure
                                                 PM2.5 following the implementation of a
                                                                                                         notes that public health improvements                 concentrations within an area are
                                                 policy (Henneman et al., 2019; Corrigan
                                                                                                         may occur following the                               estimated to be below 9 mg/m3, with the
                                                 et al., 2018; Sanders et al., 2020a; 88 FR
                                                                                                         implementation of a policy that reduces               majority of those exposures being at
                                                 5627, January 27, 2023). These studies
                                                                                                         annual average PM2.5 concentrations                   concentrations of below 8 mg/m3. The
                                                 suggest that public health improvements                                                                       Administrator notes that this range of
                                                 may occur following the                                 below the level of the current standard
                                                                                                         of 12.0 mg/m3, and potentially below the              concentrations is below the lowest
                                                 implementation of a policy that reduces                                                                       means in the key long- and short-term
                                                 annual average PM2.5 concentrations                     lowest ‘‘starting’’ concentrations in
                                                                                                         these studies of 10.0 mg/m3. However,                 epidemiologic studies (concentrations at
                                                 below the level of the current standard                                                                       which the evidence is the strongest in
                                                 of 12.0 mg/m3. The Administrator                        the Administrator concludes that the
                                                                                                         limited number of accountability                      supporting an association between
                                                 recognizes that in their review of the                                                                        exposure to PM2.5 and adverse health
                                                 2021 draft PA, the CASAC noted that                     studies provide limited information for
                                                                                                         informing decisions on the appropriate                effects observed in the key
                                                 the availability of recent accountability                                                                     epidemiologic studies available in this
                                                 studies was one area where the evidence                 level of the primary annual PM2.5
                                                                                                         standard but recognizes that these                    reconsideration). Thus, the
                                                 had been strengthened and that the                                                                            Administrator concludes that the results
                                                 studies assessed in the ISA Supplement                  studies provide supplemental
                                                                                                                                                               of the quantitative risk assessment
                                                 provide evidence of mortality effects at                information for consideration along
                                                                                                                                                               suggest that a revised annual standard
                                                 annual average PM2.5 concentrations                     with the full body of evidence. Taken
                                                                                                                                                               level of 9.0 mg/m3 is estimated to reduce
                                                 below the current NAAQS (Sheppard,                      together, the Administrator notes a
                                                                                                                                                               PM2.5 exposures to fall within the range
                                                 2022a, p. 5 of consensus responses). The                revised annual standard level of 9.0 mg/
                                                                                                                                                               of concentrations in which there is the
                                                 Administrator recognizes that the                       m3 is at or below the lowest starting
                                                                                                                                                               most confidence in the associations and
                                                 CASAC also concluded that, along with                   concentration of these accountability
                                                                                                                                                               thus, confidence that estimated risk
                                                 other lines of evidence, the                            studies (i.e., 10.0 mg/m3), and judges
                                                                                                                                                               reductions will actually occur.
                                                 accountability studies with starting                    that it is appropriate to place some                     The Administrator also notes the
                                                 concentrations below the levels of the                  weight on these studies, particularly for             information provided by the
                                                 current standards are appropriate to                    informing his public policy judgments                 quantitative risk assessment on the
                                                 consider for informing conclusions on                   regarding an adequate margin of safety.               distribution of concentrations associated
                                                 alternative standard levels (Sheppard,                     In addition to his consideration of and            with the estimated mortality risk for a
                                                 2022a, p. 13 of consensus responses).                   conclusions regarding the available                   higher annual standard level of 10.0 mg/
                                                 The Administrator also notes the advice                 scientific evidence, the Administrator                m3 and a lower standard level of 8.0 mg/
                                                 of the CASAC in their review of the                     also considers the results of the                     m3 (U.S. EPA, 2022b, sections 3.4.2.2
                                                 2019 draft ISA, where they suggested                    quantitative risk assessment to inform                and 3.6.2.2, Figure 3–18 and 3–19). The
                                                 that accountability studies be taken into               his conclusions regarding the                         Administrator finds that, for an annual
                                                 account and such studies provide                        appropriate level for the primary annual              standard level of 10.0 mg/m3, the
                                                 potentially crucial information about                   PM2.5 standard. The Administrator                     quantitative risk assessment estimates
                                                 whether and how much decreasing                         recognizes that the risk estimates can                that the standard would allow multiple
                                                 PM2.5 causes decreases in future health
ddrumheller on DSK120RN23PROD with RULES3




                                                                                                         help to place the evidence for specific               exposures at concentrations above the
                                                 effects, which reflects the primary                     health effects into a broader public                  lowest means in the key epidemiologic
                                                 purpose of the NAAQS (Cox, 2019b, p.                    health context, but should be                         studies, and therefore, calls into
                                                 8 and 10 of consensus responses). The                   considered along with the inherent                    question whether a standard level of
                                                 Administrator also notes that in their                  uncertainties and limitations of such                 10.0 mg/m3 would provide enough
                                                 review of the 2019 draft ISA, some                      analyses when informing judgments                     public health protection. Additionally,
                                                 members of the CASAC cautioned                          about the potential for additional public             the Administrator also finds that, for a
                                                 against placing more weight on the data                 health protection associated with PM2.5               lower annual standard level of 8.0 mg/


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00082   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024             Page 94 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                         16283

                                                 m3, the quantitative risk assessment                    a level below the long-term mean PM2.5                   The Administrator also takes note of
                                                 estimates the exposure concentrations to                concentrations in the key long- and                   the study-reported long-term mean
                                                 be below 8 mg/m3, with the majority of                  short-term epidemiologic studies,                     PM2.5 concentrations in the key
                                                 those exposures being at concentrations                 including the lowest study reported                   Canadian epidemiologic studies. While
                                                 of below 7 mg/m3. The Administrator                     mean of 9.3 mg/m3, following an                       the Administrator notes that these
                                                 observes that the majority of exposure                  approach that is consistent with                      studies provide additional support for
                                                 concentrations under this air quality                   previous PM NAAQS reviews. The                        associations between PM2.5
                                                 scenario are estimated to fall outside of               Administrator additionally notes that air             concentrations and health effects, he is
                                                 the range of concentrations in which he                 quality analyses in the 2022 PA                       also mindful that there are important
                                                 has the most confidence in the                          demonstrate that areas meeting a revised              differences between the exposure
                                                 associations and that the additional risk               annual standard of 9.0 mg/m3 would be                 environments in the U.S. and Canada
                                                 reductions will actually occur.                         expected to shift the distribution of                 that affect interpretation of the data in
                                                    Recognizing and building upon the                    PM2.5 exposure concentrations in an                   the context of informing decisions
                                                 above considerations and judgments,                     area such that the area’s highest monitor             regarding potential alternative levels of
                                                 and with consideration of advice from                   would generally be at or below 9.0 mg/                the annual standard. The Administrator
                                                 the CASAC and public comment, the                       m3 annually, and most of the resulting                also recognizes that the majority of the
                                                 Administrator concludes that the                        PM2.5 concentrations across the area                  CASAC in their review of the 2021 draft
                                                 current body of scientific evidence and                 would be even further below the study-                PA, as well as a number of public
                                                 quantitative risk assessment support his                reported means.119 120 Thus, a standard               commenters, placed weight on the
                                                 judgment that the level of the primary                  level of 9.0 mg/m3 is expected to provide             Canadian epidemiologic studies in
                                                 annual PM2.5 standard should be revised                 sufficient protection not only in areas               recommending that the level of the
                                                 to a level of 9.0 mg/m3. Revising the                   where the highest allowable                           primary annual PM2.5 standard be
                                                 level of the primary annual PM2.5                       concentration would be located (i.e.,                 revised to 8–10 mg/m3. The
                                                 standard will, in the Administrator’s                   near design value monitors) but also in               Administrator notes that a decision to
                                                 judgment, provide requisite public                      other parts of the area where PM2.5                   revise the annual standard to 9.0 mg/m3
                                                 health protection with an adequate                      concentrations would be expected to be                would set the level of the standard
                                                 margin of safety.                                       maintained even lower.                                within the range of levels recommended
                                                    The Administrator recognizes that                       Furthermore, the Administrator                     by the majority of CASAC in their
                                                 placing weight on the information from                  recognizes the CASAC’s advice in their                consideration of these studies.
                                                 the epidemiologic studies allows for                    review of the 2021 draft PA, as well as
                                                 examination of the entire population,                   public comments, that weight should be                   Additionally, the Administrator also
                                                 including those that may be at                          placed on study-reported PM2.5                        considers the information provided by
                                                 comparatively higher risk of                            concentrations that are somewhat below                epidemiologic studies that use restricted
                                                 experiencing a PM2.5-related health                     the mean, particularly for some of the                analyses, as well as accountability
                                                 effects (e.g., children, older adults,                  newer epidemiologic studies with larger               studies. With respect to the restricted
                                                 minority populations) (88 FR 5624,                      cohort sizes. In weighing uncertainties               analyses, the Administrator, in
                                                 January 27, 2023). In considering the                   associated with using these data to                   considering the CASAC’s advice in their
                                                 epidemiologic evidence, the                             inform a revised annual standard level,               review of the 2021 draft PA and many
                                                 Administrator judges that, in reaching                  as well as noting the limited studies for             public comments on these types of
                                                 his decision on an appropriate level for                which this information is available, the              studies, concludes that, although there
                                                 the annual standard that will protect                   Administrator judges that some weight                 are inherent uncertainties associated
                                                 public health with an adequate margin                   should be placed on these data, but they              with this limited body of evidence, the
                                                 of safety, in the absence of any                        should not receive the same weight as                 studies that apply restricted analyses
                                                 discernible population-level thresholds,                the study-reported mean concentrations.               provide support for serious effects (e.g.,
                                                 and in recognizing the need to weigh                    Thus, the Administrator concludes that                mortality) at concentrations below 10.0
                                                 uncertainties associated with the                       it would be appropriate to set the                    mg/m3. Additionally, in considering
                                                 epidemiologic evidence, it is most                      annual standard level near the 25th                   accountability studies, the
                                                 appropriate to examine where the                        percentile PM2.5 concentrations in the                Administrator concludes that while the
                                                 evidence of associations observed in the                two newer key epidemiologic studies for               small number of these studies provide
                                                 epidemiologic studies is strongest and,                 which these values were reported. In                  limited information for informing
                                                 conversely, to place less weight where                  doing so, the Administrator notes that a              decisions on the appropriate level of the
                                                 he has less confidence in the                           decision to revise the annual standard to             primary annual PM2.5 standard, these
                                                 associations observed in the                            9.0 mg/m3 would set a level of the                    studies provide supplemental
                                                 epidemiologic studies. The                              standard near and somewhat below the                  information for consideration along
                                                 Administrator notes that in previous                    reported 25th percentile PM2.5                        with the full body of evidence. The
                                                 reviews, evidence-based approaches                      concentrations of 9.1 mg/m3 in these two              Administrator further notes that these
                                                 noted that the evidence of an                           more recent hybrid model-based                        studies suggest that public health
                                                 association in any epidemiologic study                  studies.                                              improvements may occur following the
                                                 is ‘‘strongest at and around the long-                                                                        implementation of a policy that reduces
                                                 term average where the data in the study                   119 Analyses in the 2022 PA suggest that the       annual average PM2.5 concentrations
                                                 are most concentrated’’ (78 FR 3140,                    highest monitored value would be expected to be       below the level of the current standard
                                                                                                         greater than the study-reported mean values by 10–    of 12.0 mg/m3, and potentially below the
ddrumheller on DSK120RN23PROD with RULES3




                                                 January 15, 2013). These approaches                     20% for monitor-based studies and 15–18% for
                                                 were supported by previous CASAC                        hybrid modeling studies that apply aspects of         lowest ‘‘starting’’ concentrations in
                                                 advice as well as the CASAC’s advice in                 population weighting (U.S. EPA, 2022b, section        these studies of 10.0 mg/m3. Taken
                                                 their review of the 2021 draft PA as a                  2.3.3.2.4).                                           together, the Administrator judges that
                                                                                                            120 The risk assessment in the 2022 PA used air
                                                 part of this reconsideration. Given this,                                                                     it is appropriate to place some weight
                                                                                                         quality adjustments to simulate just meeting the
                                                 the Administrator notes that in revising                current primary PM2.5 standards, as well as
                                                                                                                                                               on these types of studies, particularly
                                                 the annual PM2.5 standard to a level of                 alternative standard levels (U.S. EPA, 2022b,         for informing his public policy
                                                 9.0 mg/m3, he is setting the standard at                section 3.4.1.4 and Appendix C, section C.1.4).       judgments regarding an adequate margin


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00083   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024             Page 95 of 217
                                                 16284             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 of safety, and notes that a revised                     establishing primary standards under                  safety against PM2.5 exposures in the
                                                 annual standard level of 9.0 mg/m3 is                   the Act that are requisite to protect                 lower percentiles of the air quality
                                                 below the lowest starting concentration                 public health with an adequate margin                 distribution (i.e., 25th percentile) for
                                                 of the accountability studies (i.e., 10.0               of safety, he is seeking to establish                 which associations with health effects
                                                 mg/m3), and below the concentration at                  standards that are neither more nor less              have been observed in a limited number
                                                 which studies that apply restricted                     stringent than necessary for this                     of epidemiologic studies. Furthermore,
                                                 analyses provide support for serious                    purpose. The Act does not require that                the Administrator notes that the primary
                                                 effects (i.e., 9.6 mg/m3).                              primary standards be set at a zero-risk               annual and 24-hour PM2.5 standards,
                                                    The Administrator also judges that the               level or to protect the most sensitive                together, are intended to provide public
                                                 results of the quantitative risk                        individual, but rather at a level that                health protection against the full
                                                 assessment provide support for a                        avoids unacceptable risks to public                   distribution of long- and short-term
                                                 primary annual PM2.5 standard with a                    health. In this context, the                          PM2.5 exposures. As noted above, the
                                                 level of 9.0 mg/m3. The results of the risk             Administrator’s conclusion is that                    Administrator recognizes that the
                                                 assessment suggest that when meeting                    revised primary annual standard, in                   changes in PM2.5 air quality designed to
                                                 an annual standard of 9.0 mg/m3, PM2.5                  conjunction with the 24-hour standard,                meet a less stringent annual standard
                                                 exposures are maintained below 9 mg/                    provides the appropriate degree of                    would likely result in higher exposures
                                                 m3 at the design value monitor, with the                protection, and that more or less                     across the distribution of air quality,
                                                 majority of those exposures being at                    stringent standards would not be                      including both higher average (or
                                                 concentrations below 8 mg/m3. Thus, the                 requisite.                                            typical) concentrations as well as higher
                                                 Administrator notes that an annual                         In considering the requirement for an              short-term peak PM2.5 concentrations.
                                                 standard level of 9.0 mg/m3 would be                    adequate margin of safety, the                        Taking into consideration both the full
                                                 expected to provide protection from                     Administrator notes that the                          evidence base for associations of PM2.5
                                                 exposures where he has the greatest                     determination of what constitutes an                  with mortality and other adverse health
                                                 confidence in the associations between                  adequate margin of safety is expressly                effects, including the reported mean
                                                 health effects and PM2.5 exposures (i.e.                left to the judgment of the EPA                       PM2.5 concentrations from key long- and
                                                 the long-term mean PM2.5                                Administrator. See Lead Industries                    short-term U.S. epidemiologic studies,
                                                 concentrations in the key U.S.                          Association v. EPA, 647 F.2d at 1161–                 information from epidemiologic studies
                                                 epidemiologic studies, of which the                     62; Mississippi, 744 F.3d at 1353. He                 that report 25th percentile PM2.5
                                                 lowest is 9.3 mg/m3) and would provide                  further notes that in evaluating how                  concentrations, supplemental
                                                 an adequate margin of safety by                         particular standards address the                      information from other epidemiologic
                                                 maintaining most PM2.5 exposures even                   requirement to provide an adequate                    studies (i.e., epidemiologic studies that
                                                 further below 9.0 mg/m3.                                margin of safety, it is appropriate to                use restricted analyses, accountability
                                                    When considering adequate margin of                  consider such factors as the nature and               studies, and Canadian epidemiologic
                                                 safety, the Administrator notes that in                 severity of the health effects, the size of           studies), and the results of the risk
                                                 his decision to revise the annual                       sensitive population(s) at risk, and the              assessment, as well as the advice from
                                                 standard level to 9.0 mg/m3, he is                      kind and degree of the uncertainties                  the CASAC and public comments, the
                                                 placing weight on the information from                  present. Consistent with past practice                Administrator concludes that a less
                                                 the epidemiologic studies which allows                  and long-standing judicial precedent,                 stringent standard would allow risks of
                                                 for examination of the entire                           and as described in this section, the                 mortality and other adverse health
                                                 population, including those that may be                 Administrator takes the need for an
                                                                                                                                                               effects that are too great, and thus would
                                                 at comparatively higher risk of                         adequate margin of safety into account
                                                                                                                                                               not provide sufficient protection for
                                                 experiencing a PM2.5-related health                     as an integral part of his decision
                                                 effects (e.g., children, older adults,                                                                        public health as required by the CAA.
                                                                                                         making on a standard. See, e.g., NRDC
                                                 minority populations). Additionally, as                 v. EPA, 902 F. 2d 962, 973–74 (D.C. Cir.                 Additionally, in considering a less
                                                 discussed above, the Administrator also                 1990).                                                stringent standard, the Administrator
                                                 recognizes that setting the annual                         Given all of the evidence and                      recognizes that through its control of
                                                 standard level at 9.0 mg/m3, which is                   information discussed above, the                      long- and short-term PM2.5
                                                 below concentrations at which the                       Administrator judges that a standard                  concentrations, the annual standard
                                                 evidence is the strongest in supporting                 with a level of 9.0 mg/m3 is requisite to             provides a margin of safety for less well-
                                                 an association between exposure to                      protect public health with an adequate                studied exposure levels and population
                                                 PM2.5 and adverse health effects                        margin of safety. In so doing, he first               groups for which the evidence is limited
                                                 observed in the key epidemiologic                       recognizes that a less stringent standard             or lacking. In so doing, he recognizes
                                                 studies available in this reconsideration,              would allow the occurrence of higher                  that our understanding of the
                                                 would be expected to shift the                          long- and short-term PM2.5                            relationships between the presence of a
                                                 distribution of PM2.5 exposure                          concentrations at a level at or above the             pollutant in ambient air and associated
                                                 concentrations in an area such that the                 mean PM2.5 concentrations in key U.S.                 health effects is based on a broad body
                                                 area’s highest monitor would generally                  epidemiologic studies. That is, a less                of information encompassing not only
                                                 be at or below 9.0 mg/m3 annually, and                  stringent standard would be expected to               more established aspects of the
                                                 most of the resulting PM2.5                             allow more PM2.5 exposures at                         evidence, such as the conclusion that
                                                 concentrations across the area would be                 concentrations at or above which the                  long- and short-term exposures to PM2.5
                                                 even lower. In considering these air                    key U.S. epidemiologic studies have                   are causally related to mortality and
ddrumheller on DSK120RN23PROD with RULES3




                                                 quality relationships, the Administrator                reported associations between mean                    cardiovascular effects and likely to be
                                                 judges that a revised annual standard                   PM2.5 concentrations and serious health               causally related to respiratory effects,
                                                 level of 9.0 mg/m3 would provide                        effects and would deviate from some                   but also aspects with which there may
                                                 requisite protection with adequate                      past approaches for selecting the                     be substantial uncertainty. In particular,
                                                 margin of safety, for all populations,                  appropriate level of the annual                       the Administrator notes that there are
                                                 including those most at-risk.                           standard. A less stringent standard                   other categories of effects with causality
                                                    In reaching this conclusion, the                     would also not provide requisite                      determinations that are suggestive of,
                                                 Administrator recognizes that in                        protection with an adequate margin of                 but not sufficient to infer, a causal


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00084   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024             Page 96 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                         16285

                                                 relationship between PM2.5 exposure                     which include diverse populations that                assessment. As discussed in this section
                                                 and health outcomes. These include, but                 are broadly representative of the U.S.                and in responses to significant
                                                 are not limited t,o short-term exposure                 population including at-risk                          comments above and in the Response to
                                                 and nervous system effects, as well as                  populations, have provided the                        Comments document, the Administrator
                                                 long- and short-term exposure and                       strongest evidence supporting effects,                has concluded that placing a large
                                                 pregnancy and birth outcomes, where                     and in other ways as well. For example,               emphasis on these factors and revising
                                                 the evidence is less certain but which                  consideration of a margin of safety is                the standard to a level below 9.0 mg/m3
                                                 represent potentially substantial                       reflected in the approach of setting the              would result in a standard that is more
                                                 additional risk to public health from                   level of the annual standard near and                 stringent than the evidence indicates to
                                                 exposure to PM2.5. He recognizes the                    somewhat below the 25th percentile                    be sufficient to protect public health
                                                 CAA requirement that requires primary                   PM2.5 concentrations from key U.S.                    with an adequate margin of safety.
                                                 standards to provide an adequate                        epidemiologic studies (i.e., 9.1 mg/m3),              Compared to a primary annual PM2.5
                                                 margin of safety was intended to                        as well as recognition that attaining a               standard set at a level of 9.0 mg/m3, the
                                                 address uncertainties associated with                   design value will generally result in                 Administrator concludes that the extent
                                                 inconclusive scientific and technical                   significantly broader and greater                     to which lower standard levels could
                                                 information as well as to provide a                     improvements of air quality across an                 result in further public health
                                                 reasonable degree of protection against                 area (including but certainly not limited             improvements becomes notably less
                                                 hazards that research has not yet                       to areas near the design value monitor)               certain.
                                                 identified and in his judgment, the                     (U.S. EPA, 2022a, sections 2.3.3.2.4 and                 Thus, having carefully considered the
                                                 primary NAAQS must be set at a level                    3.3.3.2.1, Table 3–5). Based on all of the            scientific evidence, quantitative
                                                                                                         considerations noted here, and                        information, CASAC advice, and public
                                                 that is adequately protective against
                                                                                                         considering the current body of                       comments relevant to his decision on
                                                 these and other effects which research
                                                                                                         evidence, including the associated                    the level of the primary annual PM2.5
                                                 has not yet identified. Thus, even if the
                                                                                                         limitations and uncertainties, in                     standard, as discussed above and in the
                                                 Administrator had somewhat greater
                                                                                                         combination with the exposure/risk                    Response to Comments document, the
                                                 concerns about the possibility of
                                                                                                         information, the Administrator                        Administrator is revising the level of the
                                                 confounding, error and bias in the
                                                                                                         concludes that a less stringent standard              primary annual PM2.5 standard to 9.0
                                                 epidemiologic studies, which reduced
                                                                                                         than the current standard would not                   mg/m3. In the Administrator’s judgment,
                                                 his confidence in finding that PM2.5 is
                                                                                                         provide the requisite protection of                   based on the currently available
                                                 causally related to mortality and                                                                             evidence and information, an annual
                                                 cardiovascular effects, he would still                  public health, including an adequate
                                                                                                         margin of safety.                                     standard set at this level and using the
                                                 find it appropriate to set the primary                                                                        specified indicator, averaging time, and
                                                 NAAQS below the means of key U.S.                          Having concluded that a less stringent             form, in conjunction with the other
                                                 epidemiologic studies given the strength                standard would not provide the                        primary PM standards, would be
                                                 of the evidence providing support for                   requisite protection of public health, the            requisite to protect public health with
                                                 the association, as well as additional                  Administrator next considers whether a                an adequate margin of safety. The
                                                 evidence linking PM2.5 to other                         more stringent standard would be                      Administrator judges that such a
                                                 endpoints of substantial public health                  appropriate. In so doing, he notes that               standard would protect, with an
                                                 concern, and the need to protect public                 a decision to set the level of the annual             adequate margin of safety, the health of
                                                 health with an adequate margin of                       standard to below 9.0 mg/m3 would                     at-risk populations, including children,
                                                 safety. In considering the uncertainties                place a large amount of the emphasis on               older adults, those with pre-existing
                                                 in both the epidemiologic evidence and                  potential public health importance of                 cardiovascular and respiratory diseases,
                                                 the controlled human exposures studies,                 further reducing the occurrence of PM2.5              minority populations, and low SES
                                                 the Administrator recognizes that                       concentrations of concern, though the                 populations. The Administrator believes
                                                 collectively, the health effects evidence               exposures about which he is most                      that a standard set at 9.0 mg/m3 would
                                                 generally reflects a continuum,                         concerned are well controlled with an                 be sufficient to protect public health
                                                 consisting of levels at which scientists                annual standard level of 9.0 mg/m3, as                with a margin of safety, and believes
                                                 generally agree that health effects are                 demonstrated by the quantitative risk                 that a lower standard would be more
                                                 likely to occur, through lower levels at                assessment. Such a decision would also                than what is necessary to provide this
                                                 which the likelihood and magnitude of                   place greater weight on (1) further                   degree of protection. This judgment by
                                                 the response become increasingly                        reducing ambient PM2.5 concentrations                 the Administrator appropriately
                                                 uncertain. In light of these uncertainties,             relative to those observed in long-and                considers the degree of protection that
                                                 the Administrator recognizes that the                   short-term epidemiologic studies,                     is neither more nor less stringent than
                                                 CAA requirement that primary                            including those that he had judged to                 necessary for this purpose and
                                                 standards provide an adequate margin                    have significant uncertainties, including             recognizes that the CAA does not
                                                 of safety, as summarized in section I.A                 Canadian studies, studies using                       require that primary standards be set at
                                                 above, is intended to address                           restricted analyses, and accountability               a zero-risk level, but rather at a level
                                                 uncertainties associated with                           studies; (2) shifting the air quality                 that reduces risk sufficiently so as to
                                                 inconclusive scientific and technical                   distribution in areas such that the                   protect public health with an adequate
                                                 information, as well as to provide a                    highest exposure concentrations are                   margin of safety.
                                                 reasonable degree of protection against                 reduced to below PM2.5 concentrations                    In reaching his conclusions on
                                                 hazards that research has not yet
ddrumheller on DSK120RN23PROD with RULES3




                                                                                                         observed in epidemiologic studies to be               adequacy of the current suite of primary
                                                 identified. The Administrator has taken                 in the 25th or lower percentile, for                  PM2.5 standards, based on consideration
                                                 the need to provide for an adequate                     which the evidence is limited; and (3)                of the available scientific evidence and
                                                 margin of safety into account as an                     further shifting exposure concentrations              quantitative information, the CASAC’s
                                                 integral part of his decision-making on                 to those shown at the lower end of the                advice and public comments, the
                                                 the appropriate standards in setting the                distribution in the quantitative risk                 Administrator finds that the available
                                                 standard at a level below the level                     assessment, despite the important                     information is insufficient to call into
                                                 where available epidemiologic studies,                  uncertainties in the overall risk                     question the adequacy of the public


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00085   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024             Page 97 of 217
                                                 16286             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 health protection afforded by the                       recognizes that effects observed in these             to inform a decision about the adequacy
                                                 current primary 24-hour PM2.5 standard.                 studies are intermediate effects which                of the current standard. The
                                                 As described earlier in this section, the               are not typically considered adverse and              Administrator finds the information
                                                 Administrator concludes that it is                      that the study participants were healthy              available from these studies to be useful,
                                                 appropriate to retain the current                       individuals. Taking into consideration                noting that the recently available
                                                 indicator (PM2.5), averaging time (24-                  the available scientific evidence,                    controlled human exposure studies
                                                 hour), and form (98th percentile,                       including the uncertainties and                       provide evidence for health effects
                                                 averaged over three years) for the                      limitations, along with the CASAC’s                   following single, short-term exposures
                                                 primary 24-hour PM2.5 standard and                      advice, the Administrator concludes                   to PM2.5 concentrations that are greater
                                                 below explains the basis for his final                  that it is appropriate to maintain a                  than those allowed under the current
                                                 decision that is also appropriate to                    primary 24-hour PM2.5 standard to                     standard. The results of the controlled
                                                 retain the current level of the primary                 protect against peak exposures.                       human exposure studies are
                                                 24-hour PM2.5 standard.                                    Thus, the Administrator considers                  inconsistent, particularly at lower PM2.5
                                                    In reaching his conclusion to retain                 what primary 24-hour PM2.5 standard is                concentrations, but some studies do
                                                 the current primary 24-hour PM2.5                       requisite to provide supplemental                     report statistically significant effects on
                                                 standard the Administrator does so in                   protection against peak exposures.                    one or more indicators of cardiovascular
                                                 light of the conclusion that the                        While having confidence that the                      function following 2-hour exposures to
                                                 epidemiologic evidence supports                         revised annual standard will result in                PM2.5 concentrations at and above 120
                                                 associations between short- and long-                   lowering risk associated with both long-              mg/m3 (and at and above 149 mg/m3 for
                                                                                                         and short-term PM2.5 exposure by                      vascular impairment, the effect shown
                                                 term PM2.5 exposures and adverse
                                                                                                         lowering the overall air quality
                                                 health effects, but that the                                                                                  to be most consistent across studies).
                                                                                                         distribution, as in the 2012 review, the
                                                 epidemiologic evidence does not                                                                               Additionally, one controlled human
                                                                                                         Administrator recognizes that an annual
                                                 identify specific concentrations at                                                                           exposure study assessed in the ISA
                                                                                                         standard alone would not be expected to
                                                 which those effects occur and the                                                                             Supplement reports evidence of some
                                                                                                         offer sufficient protection with an
                                                 Administrator has greatest confidence in                                                                      effects for cardiovascular markers
                                                                                                         adequate margin of safety against the
                                                 effects where the bulk of the data is                                                                         following 4-hour exposures to 37.8 mg/
                                                                                                         effects of short-term PM2.5 exposures in
                                                 reported (i.e., the mean PM2.5                                                                                m3 (Wyatt et al., 2020). However, there
                                                                                                         all parts of the country. Therefore, he
                                                 concentration, with some consideration                                                                        is inconsistent evidence for
                                                                                                         continues to conclude that it is
                                                 for the 25th percentile of the air quality              appropriate to continue to provide                    inflammation in other controlled human
                                                 distribution). Thus, in considering the                 supplemental protection by means of a                 exposure studies evaluated in the 2019
                                                 epidemiologic evidence, the                             24-hour standard, in conjunction with a               ISA. The Administrator finds these
                                                 Administrator concludes it is                           revised annual standard level of 9.0 mg/              studies are important in establishing
                                                 appropriate to focus on setting a                       m3.                                                   biological plausibility for PM2.5
                                                 generally controlling annual standard as                   In considering the available scientific            exposures causing more serious health
                                                 the most effective and efficient way to                 evidence assessed in the 2019 ISA and                 effects, such as those seen in short-term
                                                 reduce total population risk associated                 ISA Supplement, the Administrator first               exposure epidemiologic studies, and
                                                 with both long- and short-term PM2.5                    considers the controlled human                        they provide support that more adverse
                                                 exposures, and that it is appropriate to                exposure studies for informing his                    effects may be experienced following
                                                 revise the level of the annual standard                 decisions on the primary 24-hour PM2.5                longer exposure durations and/or
                                                 level to 9.0 mg/m3. In addition to the                  standard. In so doing, he notes that in               exposure to higher concentrations. As
                                                 epidemiologic evidence, the                             their review of the 2021 draft PA, the                described in more detail in responding
                                                 Administrator also considers the                        majority of CASAC members expressed                   to public comments in section II.B.3
                                                 available controlled human exposure                     the view that controlled human                        above, he notes that although the
                                                 studies, which provide evidence for                     exposure studies are not the best                     controlled human exposure studies do
                                                 health effects following single, short-                 evidence to use for justifying retaining              not provide a threshold below which no
                                                 term PM2.5 exposures to concentrations                  the 24-hour standard without revision,                effects occur, the observed effects in
                                                 that typically correspond to upper end                  in part because these studies                         these controlled human exposures
                                                 of the PM2.5 air quality distribution in                preferentially recruit less susceptible               studies are ones that signal an
                                                 the U.S. (i.e., ‘‘peak’’ concentrations). In            individuals and have a typical exposure               intermediate effect in the body, likely
                                                 so doing, the Administrator notes that                  duration much shorter than 24 hours.                  due to short-term exposure to PM2.5, and
                                                 these studies report statistically                      Thus, in the view of the majority, ‘‘the              typically would not, by themselves, be
                                                 significant effects on one or more                      evidence of effects from controlled                   judged as adverse. As noted in sections
                                                 indicators of cardiovascular function                   human exposure studies with exposures                 II.A.2 and II.B.3 above, associated
                                                 following 2-hour exposures to PM2.5                     close to the current 24-hour standard                 judgments regarding adversity or health
                                                 concentrations at and above 120 mg/m3                   supports epidemiological evidence for                 significance of measurable physiological
                                                 and at and above 149 mg/m3 for vascular                 lowering the standard’’ (Sheppard,                    responses to air pollutants in previous
                                                 impairment, the effect shown to be most                 2022a, p. 3–4 of consensus letter). In                NAAQS reviews have been informed by
                                                 consistent across studies. In particular,               reviewing the controlled human                        guidance, criteria or interpretative
                                                 the Administrator notes that a single                   exposure studies, the Administrator                   statements developed within the public
                                                 study is assessed in the ISA Supplement                 agrees with the majority of CASAC that                health community. This type of
                                                 that reports effects following 4-hour                                                                         information on adversity of effects is
ddrumheller on DSK120RN23PROD with RULES3




                                                                                                         these controlled human exposure
                                                 exposures at 37.8 mg/m3, although the                   studies generally do not include                      particularly informative to the
                                                 results of this study are inconsistent                  populations with substantially                        Administrator’s judgments regarding the
                                                 with the results of the controlled human                increased risk from exposure to PM2.5,                adversity of the effects observed in the
                                                 exposure studies assessed in the 2019                   such as children, older adults, or those              controlled human exposure studies
                                                 ISA. Along with the inconsistent results                with more severe underlying illness.                  which are short-term in nature (i.e.,
                                                 from the controlled human exposure                      However, he disagrees with any                        generally ranging from 2- to 5-hours),
                                                 studies, the Administrator also                         conclusion that they should not be used               including those studies that are


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00086   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024             Page 98 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                         16287

                                                 conducted at near-ambient PM2.5                         analysis of whether areas that meet the               pointing to ‘‘substantial epidemiologic
                                                 concentrations. Based on the                            current standards experience peak                     evidence from both morbidity and
                                                 observation that the effects observed in                concentrations reported in controlled                 mortality studies’’ which ‘‘includes
                                                 Wyatt et al. (2020) are not by themselves               human exposure studies. He notes that                 three U.S. air pollution studies with
                                                 adverse, and the fact that the findings of              2-hour observations greater than 120 mg/              analyses restricted to 24-hour
                                                 this study are inconsistent with other                  m3 and 4-hour observations greater than               concentrations below 25 mg/m3’’
                                                 currently available evidence regarding                  38 mg/m3 rarely occur (e.g., 0.025% of                (Sheppard, 2022a, p. 17 consensus
                                                 the level at which effects are observed,                rolling 2-hour observations are greater               responses). The Administrator notes
                                                 the Administrator disagrees with the                    than 120 mg/m3 and 0.78% of rolling 4-                that the epidemiologic evidence
                                                 view expressed by the majority of                       hour observations greater than 38 mg/                 available in this reconsideration,
                                                 CASAC that this study supports                          m3). Based on this information, the                   including the studies that restrict short-
                                                 epidemiologic evidence for lowering the                 Administrator finds that the current                  term PM2.5 exposures (i.e., 24-hour
                                                 24-hour standard.                                       suite of standards maintains subdaily                 PM2.5 concentrations) to levels below 25
                                                    Consistent with his approach in                      concentrations of PM2.5 in ambient air                mg/m3, provides support for positive and
                                                 reaching his proposed decision and                      far below the exposure concentrations                 statistically significant associations
                                                 taking into consideration these points as               in controlled human exposure studies                  between short-term exposure to PM2.5
                                                 well as balancing these limitations (i.e.,              where consistent effects have been                    and all-cause mortality (Di et al., 2017a)
                                                 that the health outcomes observed in                    observed, and notes that while these                  and CVD hospital admissions (deSouza
                                                 these controlled human exposure                         studies generally do not include the                  et al., 2021; Di et al., 2017a). He agrees
                                                 studies are not clearly adverse and that                most at-risk individuals, the exposure                that these studies help to provide
                                                 the studies generally do not include                    concentrations in these studies also do               additional support for reaching
                                                 those at increased risk from PM2.5                      not elicit adverse effects.                           conclusions on causality in the 2019
                                                 exposure), the Administrator still                         Further, in light of the                           ISA. He further agrees that the available
                                                 considers it appropriate to ensure that                 Administrator’s emphasis on the annual                epidemiologic studies provide
                                                 the 24-hour PM2.5 standard provides                     standard as the controlling standard,                 important information that it is
                                                 protection against health effects                       with the 24-hour standard providing                   appropriate to consider in this
                                                 consistently observed in the controlled                 supplemental protection against peak                  reconsideration, including information
                                                 human exposure studies. He next                         concentrations, he next considers the                 on associations between health effects
                                                 examines the air quality analyses,                      potential impact of a revised annual                  and PM2.5 exposures in diverse
                                                 described in more detail in section                     standard of 9.0 mg/m3 on the occurrence               populations that are broadly
                                                 II.A.c.i above, to assess whether during                of peak sub-daily PM2.5 concentrations.               representative of the U.S. population,
                                                 recent air quality conditions, areas                    Specifically, the Administrator takes                 and include populations identified as
                                                 meeting the current standards would                     note of the new air quality analyses 122              at-risk (e.g., older adults, minority
                                                 experience PM2.5 concentrations                         where he observes that lower                          populations), as well as evidence of
                                                 reported in these controlled human                      percentages of concentrations greater                 linear, no-threshold concentration-
                                                 exposure studies. He observes that air                  than 120 mg/m3 and 38 mg/m3 occur in                  response relationships in those
                                                 quality analyses demonstrate that the                   areas meeting an annual standard of 9.0               associations, although with less
                                                 PM2.5 exposures shown to cause                          mg/m3 and a 24-hour standard of 35 mg/                certainty in the shape of the curve at
                                                 consistent effects in the controlled                    m3, versus an annual standard of 12.0                 long-term average concentrations below
                                                 human exposure studies are well above                   mg/m3 and a 24-hour standard of 35 mg/                about 8 mg/m3.
                                                 the ambient concentrations typically                    m3. Thus, he concludes that an annual                    However, the Administrator also
                                                 measured in locations meeting the                       standard that is controlling across most              notes significant limitations in the
                                                 current primary standards, and therefore                areas of the country will continue to                 currently available epidemiologic
                                                 suggest that the current primary PM2.5                  effectively limit peak daily                          information that limit his ability to draw
                                                 standards provide protection against                    concentrations in conjunction with the                conclusions from the key short-term
                                                 these ‘‘peak’’ concentrations. In fact, at              existing 24-hour standard, with its level             studies, including those that employ
                                                 air quality monitoring sites meeting the                of 35 mg/m3 and 98th percentile form,                 restricted analyses, to inform his
                                                 current primary PM2.5 standards (i.e.,                  which continues to provide                            decision regarding the level of the 24-
                                                 the 24-hour standard of 35 mg/m3 and                    supplemental protection against peak                  hour PM2.5 standard. As a result of these
                                                 the annual standard of 12 mg/m3), the 2-                concentrations.                                       limitations, the Administrator does not
                                                 hour concentrations generally remain                       In addition, the Administrator also                find that the short-term epidemiologic
                                                 below 10 mg/m3, and rarely exceed 30                    notes that the majority of the CASAC in               studies, or the other evidence such as
                                                 mg/m3. Though two-hour concentrations                   their review of the 2021 draft PA, as                 the controlled human exposure studies
                                                 are higher at monitoring sites violating                well as a number of public commenters,                or the risk assessment, provide a
                                                 the current standards, they generally                   support their recommendation to revise                sufficient justification for revising the
                                                 remain below 16 mg/m3 and rarely                        the current 24-hour standard by                       24-hour standard.
                                                 exceed 80 mg/m3, still below                                                                                     First, he notes that short-term
                                                 concentrations in CHE studies where                     Between Design Value Groups. Memorandum to the
                                                                                                                                                               epidemiologic studies examine
                                                 consistent effects are observed (e.g.,                  Rulemaking Docket for the Review of the National      associations between day-to-day
                                                 greater than 120 mg/m3) (U.S. EPA,                      Ambient Air Quality Standards for Particulate         variations in PM2.5 concentrations and
                                                                                                         Matter (EPA–HQ–OAR–2015–0072). Available at:          health outcomes, often over multi-year
                                                 2022b, section 2.3.2.2.3, Figure 2–19,                  https://www.regulations.gov/docket/EPA-HQ-OAR-
ddrumheller on DSK120RN23PROD with RULES3




                                                 and section 3.3.3.1). Additionally, and                 2015-0072.
                                                                                                                                                               study periods. As such, these studies
                                                 in response to public comments, the                       122 Jones et al. (2023). Comparison of Occurrence   report long-term mean 24-hour PM2.5
                                                 Administrator notes additional air                      of Scientifically Relevant Air Quality Observations   concentrations (e.g., mean 24-hour
                                                 quality analyses conducted by the                       Between Design Value Groups. Memorandum to the        PM2.5 concentrations over multi-year
                                                                                                         Rulemaking Docket for the Review of the National      study periods), rather than at specific
                                                 EPA,121 that provide a more refined                     Ambient Air Quality Standards for Particulate
                                                                                                         Matter (EPA–HQ–OAR–2015–0072). Available at:
                                                                                                                                                               points in the distribution (i.e., 90th or
                                                   121 Jones et al. (2023). Comparison of Occurrence     https://www.regulations.gov/docket/EPA-HQ-OAR-        98th percentile 24-hour concentrations)
                                                 of Scientifically Relevant Air Quality Observations     2015-0072.                                            at which effects occur. Further, he notes


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00087   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                           Document #2043704                              Filed: 03/06/2024             Page 99 of 217
                                                 16288             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 that while there can be considerable                    concentration (e.g., 25 mg/m3). The                   studies, the evidence does not suggest
                                                 variability in daily exposures over a                   Administrator notes that the                          there is a specific point in the air quality
                                                 multi-year study period, the bulk of the                associations between the health effects               distribution of these short-term studies
                                                 observations reflect days with ambient                  (e.g., mortality and cardiovascular                   that represents a ‘‘bright line’’ at and
                                                 PM2.5 concentrations in the middle of                   morbidity) and PM2.5 concentrations                   above which effects have been observed
                                                 the air quality distribution (i.e.,                     remain even after excluding higher                    and below which effects have not been
                                                 ‘‘typical’’ days rather than days with                  concentrations in the restricted                      observed. In order to identify a level of
                                                 extremely low or extremely high                         analyses, and he also recognizes that the             the 24-hour standard based on
                                                 concentrations). As a result, the results               magnitude of the effect is generally                  associations between the ‘‘upper end’’ of
                                                 of these studies are more directly                      greater in the restricted analyses                    exposures, either in the unrestricted or
                                                 applicable to decisions regarding the                   compared to the associations reported in              the restricted analyses, and adverse
                                                 annual standard (which is based on the                  the main analysis. He considers such                  health effects, it would be necessary to
                                                 long-term mean of both short- and long-                 analyses to be informative in indicating              have a better understanding of how
                                                 term epidemiologic studies), and the                    that the health effects association                   specific 24-hour concentrations
                                                 fact that they do not report other air                  reported in the main (unrestricted)                   correspond to the frequency and total
                                                 quality statistics, such as the 98th                    analysis are not driven only by the                   number of observed health events in the
                                                 percentile concentrations which might                   upper peaks of the PM2.5 air quality                  study. Currently, such information,
                                                 be more directly compared to the level                  distribution, but rather persist at lower             including 98th percentile statistics, are
                                                 of the 24-hour standard, makes them                     portions of the distribution (consistent              not reported in the key short-term
                                                 less useful for informing decisions on                  with his emphasis on the annual                       epidemiologic studies (and if they were
                                                 the 24-hour standard. As discussed in                   standard, which is focused on exposures               reported, the Administrator would have
                                                 responding to comments above, the                       near the mean concentration, where the                to carefully consider how to weigh the
                                                 form of the annual standard is based on                 bulk of the exposure distribution is                  data). As such, in reaching his decision
                                                 the annual mean PM2.5 concentration                     concentrated). Indeed, he notes that if               on the primary 24-hour PM2.5 standard,
                                                 averaged over three years,123 which                     peak concentrations were the principal                the Administrator judges that the
                                                 makes it better suited as a basis for                   driver of health effects associated with              currently available information from
                                                 controlling air quality to avoid effects                PM2.5 exposure, one might expect the                  short-term epidemiologic studies,
                                                 observed in both long-term and short-                   associations to become weaker as the                  including those that employ restricted
                                                 term epidemiologic studies. By contrast,                upper portion of the data is excluded in              analyses, does not provide a sufficient
                                                 the form of the 24-hour standard is the                 the restricted analyses, which is not                 basis to revise the current 24-hour
                                                 98th percentile averaged over three                     what is reported by the analyses (e.g.,               standard, given that the 24-hour
                                                 years, which makes it appropriate for                   the restricted analyses generally report              standard focuses on reducing ‘‘peak’’
                                                 controlling short-term peak                             associations that are greater in                      exposures (with its 98th percentile
                                                 concentrations. However, based on the                   magnitude compared to the main                        form), but rather that such information
                                                 available air quality information,                      analyses). However, he disagrees with                 supports his judgment that it is
                                                 including distribution statistics of PM2.5              the assertion by the CASAC in their                   appropriate to focus on revising the
                                                 concentrations and health events                        review of the 2021 draft PA and some                  annual standard for purposes of
                                                 reported in the short-term                              public commenters that it would be                    reducing all exposures, across the entire
                                                 epidemiologic studies, these studies are                appropriate to focus on the specific                  distribution of air quality, to increase
                                                 too limited in their ability to identify                PM2.5 concentration (e.g., 25 or 30 mg/               public health protection.
                                                 health effects attributable to specific                 m3) at which the analysis was restricted                 In reaching final decisions regarding
                                                 short-term peak concentrations that are                 as the basis for choosing a 24-hour                   the adequacy of the primary 24-hour
                                                 necessary to evaluate whether the 24-                   standard level. The Administrator                     PM2.5 standard, the Administrator
                                                 hour standard with its 98th percentile                  recognizes that in restricted analyses,               continues to view an approach that
                                                 form should be revised (e.g., restricted                while an association continues to persist             focuses on setting a generally
                                                 epidemiologic studies do not report the                 across the full range of the air quality              controlling annual standard as the most
                                                 number or the percentile of health                      distribution, and that the cutpoint                   effective and efficient way to reduce
                                                 events or the percentile of PM2.5                       concentration at which the analysis was               total population risk associated with
                                                 concentrations across the highest part of               restricted (e.g., 25 or 30 mg/m3) becomes             both long- and short-term PM2.5
                                                 the restricted air quality distribution,                the maximum PM2.5 concentration in                    exposures. Additionally, he emphasizes
                                                 including the 98th percentile). Thus, the               the distribution, he also notes that these            that improvements in air quality
                                                 Administrator does not consider it                      studies do not provide information                    associated with meeting an annual
                                                 appropriate to use the reported means                   related to the distribution of health                 standard level of 9.0 mg/m3 will result
                                                 from short-term studies to determine the                events and PM2.5 concentrations, and as               in lowering risk associated with both
                                                 appropriate level for a 24-hour standard                such, he is more uncertain where the                  long- and short-term PM2.5 exposure by
                                                 with a 98th percentile form.                            bulk of the data are and where he has                 lowering the overall air quality
                                                    Similarly, the Administrator does not                confidence in the reported                            distribution. The Administrator
                                                 consider the results of the restricted                  association.124 He notes that no                      concludes that reducing the annual
                                                 analyses to be well suited to informing                 evidence exists to support a conclusion               standard is the most efficient way to
                                                 the choice of level for a 24-hour                       that the PM2.5 concentration chosen as                reduce the risks from short-term
                                                 standard. Restricted analyses use a                     the cutpoint in a restricted analysis has             exposures identified in the
ddrumheller on DSK120RN23PROD with RULES3




                                                 subset of data from their main analyses                 any bearing on the concentration at                   epidemiologic studies, as the available
                                                 to evaluate health events that occur at                 which effects are likely to occur (or not             evidence suggests the bulk of the risk
                                                 concentrations below a certain                          occur). He notes that, as with long-term              comes from the large number of days
                                                   123 The annual mean is calculated by averaging          124 These studies do not report information about
                                                                                                                                                               across the bulk of the air quality
                                                 daily values in a calendar quarter and then             the distribution of the health events and PM2.5
                                                                                                                                                               distribution, not the relatively small
                                                 averaging calendar quarters. See 40 CFR part 50         concentrations (e.g., means, medians, other           number of days with peak
                                                 Appendix N, section 4.4.                                percentiles) in the restricted analyses.              concentrations. However, as in the 2012


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00088   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024               Page 100 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                                 16289

                                                 review, the Administrator recognizes                    public health with an adequate margin                 ‘‘capture areas with wintertime
                                                 that an annual standard alone would not                 of safety, and that there is substantial              stagnation and residential wood-burning
                                                 be expected to offer sufficient protection              basis to doubt whether further                        where the annual standard is less likely
                                                 with an adequate margin of safety                       improvements in public health would                   to be protective’’ (Sheppard, 2022a, p. 4
                                                 against the effects of short-term PM2.5                 be achieved by further reducing these                 of consensus letter).
                                                 exposures in all parts of the country and               exposures. Furthermore, the                              In considering the application of the
                                                 concludes that, in conjunction with a                   Administrator concludes that due to the
                                                                                                                                                               risk assessment to judgments about the
                                                 revised annual standard level of 9.0 mg/                limitations and uncertainties outlined
                                                 m3, it is appropriate to continue to                                                                          adequacy of the current primary 24-hour
                                                                                                         above, the information from recent
                                                 provide supplemental protection by                                                                            PM2.5 standard, the Administrator again
                                                                                                         short-term epidemiologic studies,
                                                 means of a 24-hour standard,                                                                                  notes that the risk assessment analyses
                                                                                                         including those that use restricted
                                                 particularly for areas with high peak-to-                                                                     of PM2.5-attributable mortality use input
                                                                                                         analyses, is inadequate to inform
                                                 mean ratios possibly associated with                    decisions regarding the adequacy of the               data that include C–R functions from
                                                 strong local or seasonal sources.                       current 24-hour standard. Thus, in                    epidemiologic studies that have no
                                                    In selecting the level of a 24-hour                  reaching his decision on the primary 24-              threshold and a linear C–R relationship
                                                 standard designed to provide                            hour PM2.5 standard, the Administrator                down to zero, as well an air quality
                                                 supplemental protection against peak                    concludes that currently available                    adjustment approach that incorporates
                                                 exposures (in conjunction with a                        evidence does not call into question the              proportional decreases in PM2.5
                                                 revised annual standard of 9.0 mg/m3),                  adequacy of the current standard.                     concentrations to meet lower standard
                                                 the Administrator considers the                                                                               levels. As such, the Administrator notes
                                                                                                            In addition to the scientific evidence,
                                                 information from the controlled human                                                                         that this quantitative approach does not
                                                                                                         the Administrator also considers the
                                                 exposure studies and the EPA’s analysis                                                                       incorporate any elements of uncertainty
                                                                                                         risk assessment in evaluating the
                                                 of peak concentrations observed in areas                                                                      in associations of health effects at lower
                                                                                                         appropriate level of the 24-hour PM2.5
                                                 meeting the current standard of 35 mg/                                                                        concentrations and that simulated air
                                                                                                         standard. The risk assessment indicates
                                                 m3 in conjunction with a revised                                                                              quality improvements will always lead
                                                                                                         that the annual standard is the
                                                 standard of 9.0 mg/m3 to be of particular                                                                     to proportional decreases in risk (i.e.,
                                                                                                         controlling standard across most of the
                                                 relevance. He notes the controlled                                                                            each additional mg/m3 reduction
                                                                                                         urban study areas evaluated (i.e., when
                                                 human exposure evidence includes                                                                              produces additional benefits with no
                                                                                                         air quality related to the annual average
                                                 studies reporting effects on one or more                                                                      clear stopping point at any PM2.5
                                                 indicators of cardiovascular function                   PM2.5 concentrations decrease, daily
                                                                                                         average PM2.5 concentrations are also                 concentration). Therefore, the
                                                 following 2-hour exposures at and above                                                                       Administrator recognizes that while the
                                                 120 mg/m3, including effects reported at                expected to decrease). When air quality
                                                                                                         is adjusted to just meet an alternative               risk estimates can help to place the
                                                 and above 149 mg/m3 for vascular                                                                              evidence for specific health effects into
                                                 impairment, the effect shown to be most                 24-hour standard level of 30 mg/m3 in
                                                                                                         the areas where the 24-hour standard is               a broader public health context, the
                                                 consistent across studies, and less                                                                           results should be considered along with
                                                 consistent effects at lower                             controlling, the risk assessment
                                                                                                         estimates reductions in PM2.5-associated              the inherent uncertainties and
                                                 concentrations, including a single study
                                                                                                         risks across a more limited population                limitations of such analyses when
                                                 at near ambient concentrations (Wyatt et
                                                                                                         and number of areas compared to when                  informing judgments about the potential
                                                 al., 2020) reporting effects following 4-
                                                                                                         air quality is adjusted to simulate                   for additional public health protection
                                                 hour exposures at 37.8 mg/m3. He
                                                 recognizes that the effects observed (in                alternative levels for the annual                     associated with PM2.5 exposure and
                                                 those studies that observed effects) are                standard (i.e., where the annual                      related health effects. Further, the
                                                 ones that signal an intermediate effect in              standard is controlling), and these                   Administrator notes additionally that air
                                                 the body, likely due to short-term                      predictions are largely confined to areas             quality analyses have also been
                                                 exposure to PM2.5, and typically would                  located in the western U.S., several of               considered in looking at the adequacy of
                                                 not, by themselves, be judged as                        which are also likely to experience risk              the 24-hour standard in controlling peak
                                                 adverse, and the study participants were                reductions upon meeting a revised                     PM2.5 concentrations of potential
                                                 healthy individuals.                                    annual standard. With respect to the                  concern,125 and that those analyses
                                                    He notes in particular that, in the                  CASAC’s advice in their review of the                 included monitoring information from
                                                 EPA’s analysis, in areas meeting the                    2021 draft PA, the Administrator notes                across the entire U.S., specifically
                                                 current 24-hour standard and the                        that the minority of CASAC advised that               highlighting areas with higher peak
                                                 revised annual standard 0.029 percent                   these results suggest that the annual                 concentrations and including areas
                                                 of 2-hour observations and 0.41 percent                 standard can be used to limit both long-              impacted by wintertime stagnation and
                                                 of 4-hour observations reach PM2.5                      and short-term PM2.5 concentrations and               residential wood-burning. Thus, while
                                                 concentrations higher than 120 mg/m3                    views these risk assessment results as                the risk assessment may have focused
                                                 and 37.8 mg/m3, respectively. He also                   supporting the conclusion that the                    on a subset of areas across the U.S.
                                                 notes the lack of evidence of effects                   current 24-hour standard is adequate                  based on the study area selection
                                                 from controlled human exposure studies                  (Sheppard, 2022a, p. 4 of consensus                   criteria, the Administrator is
                                                 at levels below the current 24-hour                     letter). In contrast, the majority of                 considering a broader set of information
                                                 standard and the fact that the results of               CASAC members in their review of the                  in reaching his conclusions regarding
                                                 Wyatt et al. (2020) are inconsistent with               2021 draft PA, as well as a number of                 the appropriateness of the current 24-
                                                                                                         public commenters that support
ddrumheller on DSK120RN23PROD with RULES3




                                                 other available studies, as well as the
                                                 intermediate nature of effects observed                 revision of the 24-hour standard, placed                125 Jones et al. (2023). Comparison of Occurrence
                                                 in this study. In his judgment, the small               greater weight on the evidence-based                  of Scientifically Relevant Air Quality Observations
                                                 number of occurrences of peak                           considerations (e.g. scientific evidence,             Between Design Value Groups. Memorandum to the
                                                 exposures indicate that, in conjunction                 like the restricted analyses) than on the             Rulemaking Docket for the Review of the National
                                                                                                                                                               Ambient Air Quality Standards for Particulate
                                                 with a revised annual standard of 9.0                   values estimated by the risk assessment,              Matter (EPA–HQ–OAR–2015–0072). Available at:
                                                 mg/m3, the current 24-hour standard of                  noting the potential for uncertainties in             https://www.regulations.gov/docket/EPA-HQ-OAR-
                                                 35 mg/m3 remains requisite to protect                   how the risk assessment was able to                   2015-0072.



                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00089   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024              Page 101 of 217
                                                 16290             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 hour standard to control peak                           estimates, as well as noting that very                report the number or the percentile of
                                                 concentrations.                                         few areas were included. In addition, he              health events or the percentile of PM2.5
                                                    The Administrator also considers the                 has given careful consideration to the                concentrations across the highest part of
                                                 advice from the CASAC in their reviews                  majority of the CASAC’s advice in their               the restricted air quality distribution,
                                                 of the 2019 draft PA and 2021 draft PA.                 review of the 2021 draft PA, but has                  including the 98th percentile) and do
                                                 In their review of the 2019 draft PA, the               drawn different conclusions with                      not identify any particular
                                                 CASAC ‘‘agrees with the EPA and finds                   respect to how currently available                    concentration within the air quality
                                                 that the available evidence does not call               evidence and air quality information                  distribution above which effects have
                                                 into question the adequacy of public                    inform the selection of level for the 24-             been observed and below which effects
                                                 health protection afforded by the                       hour primary PM2.5 standard.                          have not been observed. Similarly, the
                                                 current 24-hour PM2.5 standard and                         In considering the advice of the                   risk assessment highlights that the
                                                 concurs that it be retained’’ (Cox, 2019b,              majority of CASAC, the Administrator                  annual standard is controlling across
                                                 p. 3 of letter). He also notes that in their            notes that a decision to set the level of             much of the U.S. and is generally more
                                                 review of the 2021 draft PA, the CASAC                  the 24-hour standard to below 35 mg/m3                effective at reducing risk than the 24-
                                                 did not reach consensus on whether the                  would place a large amount of emphasis                hour standard and, taking into account
                                                 current 24-hour standard is adequate,                   on the potential public health                        the limitations and assumptions of the
                                                 with the majority of the CASAC                          importance of further reducing the                    risk assessment discussed above, does
                                                 recommending that the 24-hour                           occurrence of peak PM2.5                              not provide a basis for revising the 24-
                                                 standard be revised and the minority of                 concentrations. However, the                          hour standard. For the reasons
                                                 the CASAC recommending that the                         Administrator concludes that there is                 discussed herein, the Administrator
                                                 standard be retained. The majority of                   insufficient basis to conclude that a                 judges that the uncertainties as to
                                                 the CASAC members further stated that                   more stringent standard to further                    whether there would be public health
                                                 ‘‘[t]here is also less confidence that the              reduce peak concentrations is needed or               benefits from a more stringent 24-hour
                                                 annual standard could adequately                        would benefit public health. As                       standard are too great to justify revising
                                                 protect against health effects of short-                discussed above, he judges that the                   the standard.
                                                 term exposures. A range of 25–30 mg/m3                  PM2.5 exposures in controlled human                      Thus, having carefully considered the
                                                 for the 24-hour PM2.5 standard would be                 exposure studies that correspond to                   scientific evidence, quantitative
                                                 adequately protective’’ (Sheppard,                      peak concentrations will already be well              information, CASAC advice, and public
                                                 2022a, p. 4 of consensus letter). The                   controlled via the combination of the                 comments, the Administrator is
                                                 Administrator also acknowledges that                    revised annual standard, with a level of              retaining the current primary 24-hour
                                                 some public commenters agreed with                      9.0 mg/m3, and the 24-hour standard                   PM2.5 standard, with its level of to 35
                                                 the majority of the CASAC in                            with its level 35 mg/m3 and its 98th                  mg/m3 and its 98th percentile form. In
                                                 supporting a revision to the level of the               percentile form. Taking into                          the Administrator’s judgment, based on
                                                 24-hour standard to a range between 25–                 consideration the inconsistent results                the currently available evidence and
                                                 30 mg/m3. These commenters cite a                       reported in controlled human exposure                 information, a 24-hour standard set at
                                                 number of reasons, including: (1)                       studies, the intermediate nature of the               this level and using the specified
                                                 Results from controlled human                           health effects observed in the controlled             indicator, averaging time, and form
                                                 exposure studies at near ambient                        human exposure studies that are not                   would be requisite to protect public
                                                 concentrations; (2) aspects of the                      typically considered adverse, the health              health with an adequate margin of
                                                 scientific evidence, including restricted               status of the study participants, and                 safety, in conjunction with the annual
                                                 analyses that report positive and                       how infrequently peak concentrations of               standard. As noted, in evaluating the
                                                 significant associations below 35 mg/m3;                potential concern are anticipated to                  adequacy of the current standards, the
                                                 and (3) quantitative risk analyses that                 occur in areas meeting the revised                    Administrator focuses on evaluating the
                                                 show decreasing risk with decreasing                    primary annual PM2.5 standard, he                     public health protection afforded by the
                                                 PM2.5 concentrations. In responding to                  judges that the current 24-hour standard              annual and 24-hour standards, taken
                                                 these comments, the Administrator                       is requisite to protect against the effects           together, against adverse health effects
                                                 recognizes that some commenters have                    reported in these studies with an                     associated with long- or short-term
                                                 different interpretations of the evidence,              adequate margin of safety. Likewise, he               PM2.5 exposures. A 24-hour standard set
                                                 air quality information, and quantitative               judges that neither the epidemiologic                 at a level of 35 mg/m3, in conjunction
                                                 results from the risk assessment in this                studies (including the studies that use               with a revised annual standard level of
                                                 review and would make different                         restricted analyses) nor the risk                     9.0 mg/m3, in the judgment of the
                                                 judgments about the weight to place on                  assessment provide a sufficient basis for             Administrator, provides an appropriate
                                                 the relative strength and limitations of                revising the 24-hour standard. As                     level of public health protection, for
                                                 the currently available scientific                      discussed above, the epidemiologic                    both long- and short-term PM2.5
                                                 evidence and information and how such                   studies, including short-term studies                 exposures. The Administrator believes
                                                 information could be used in making                     and those with restricted analyses, are               that a 24-hour standard set at 35 mg/m3
                                                 public health policy decisions on the                   not well-suited for identifying a level for           would continue to be sufficient to
                                                 24-hour standard. However, as outlined                  a 24-hour standard to address health                  protect public health with a margin of
                                                 above, the Administrator has carefully                  effects associated with peak                          safety, and believes that a lower
                                                 considered the information available                    concentrations. The restricted analyses               standard would be more than what is
                                                 from controlled human exposure studies                  support the conclusion that the health                necessary to provide this degree of
ddrumheller on DSK120RN23PROD with RULES3




                                                 and short-term epidemiologic studies,                   effects associated with PM2.5 is not                  protection when considered in
                                                 and weighed the strengths and                           associated primarily with exposure to                 conjunction with a revised annual
                                                 limitations of this evidence in                         higher concentrations of the main                     standard. The Administrator concludes
                                                 formulating his decisions. Furthermore,                 analyses, but like other epidemiologic                the current 24-hour standard at a level
                                                 as discussed above the Administrator                    studies they typically report only long-              of 35 mg/m3, in conjunction with a
                                                 has noted significant uncertainties and                 term mean 24-hour concentrations (e.g.,               revised annual standard level of 9.0 mg/
                                                 limitations inherent in the risk                        restricted epidemiologic studies do not               m3, will provide appropriate protection


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00090   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024              Page 102 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                             16291

                                                 in areas in which the long-term mean                    PM2.5 concentrations. The                               the proposal, and presents the
                                                 concentrations are already relatively                   Administrator concludes that this suite                 Administrator’s conclusions on the
                                                 low (i.e., below 9 mg/m3) but where                     of standards is requisite to protect                    adequacy of the current standard,
                                                 there may be elevated short-term peak                   public health with an adequate margin                   drawing on consideration of information
                                                 PM2.5 concentrations, often associated                  of safety against health effects                        in the 2019 ISA and the 2022 PA, advice
                                                 with strong local or seasonal sources.                  potentially associated with long- and                   from the CASAC, and comments from
                                                 This judgment by the Administrator                      short-term PM2.5 exposures.                             the public. Section III.C summarizes the
                                                 appropriately considers the degree of                                                                           Administrator’s decision on the primary
                                                                                                         III. Rationale for Decisions on the
                                                 protection that is neither more nor less                                                                        PM10 standard.
                                                                                                         Primary PM10 Standard
                                                 stringent than necessary for this purpose
                                                                                                            This section presents the rationale for              A. Introduction
                                                 and recognizes that the CAA does not
                                                 require that primary standards be set at                the Administrator’s decision to retain                    The general approach for this
                                                 a zero-risk level, but rather at a level                the existing primary PM10 standard.                     reconsideration of the 2020 final
                                                 that reduces risk sufficiently so as to                 This decision is based on a thorough                    decision on the primary PM10 standard
                                                 protect public health with an adequate                  review of the latest scientific                         relies on the scientific information
                                                 margin of safety.                                       information, published through January                  available for this review, as well as the
                                                    In making this decision to retain the                2018 126 and evaluated in the 2019 ISA,                 Administrator’s judgments regarding the
                                                 current level of the primary PM2.5 24-                  on human health effects associated with                 available public health effects evidence,
                                                 hour standard at 35 mg/m3 in                            PM10–2.5 in ambient air. As described in                and the appropriate degree of public
                                                 conjunction with revising the annual                    section I above and in section 1.2 of the               health protection for the existing
                                                 standard level from 12.0 mg/m3 to 9.0                   ISA Supplement, the scope of the                        standards. With the 2020 decision, the
                                                 mg/m3, given all of the evidence and                    updated scientific evaluation of the                    then-Administrator retained the existing
                                                 information discussed above, the                        health effects evidence is based on those               primary 24-hour PM10 standard, with its
                                                 Administrator judges that the revised                   PM size fractions, exposure durations,                  level of 150 mg/m3 and its one-expected-
                                                 suite of primary PM2.5 standards and the                and health effects category                             exceedance form on average over three
                                                 rationale supporting these levels                       combinations where the 2019 ISA                         years, to continue to provide public
                                                 appropriately reflects consideration of                 concluded a causal relationship exists                  health protection against short-term
                                                 the strength of the available evidence                  (U.S. EPA, 2019a, U.S. EPA, 2022b).).                   exposures to PM10–2.5 (85 FR 82725,
                                                 and other information and its associated                Therefore, because the 2019 ISA did not                 December 18, 2020).
                                                 uncertainties as well as the advice of                  conclude a causal relationship for
                                                                                                                                                                 1. Background on the Current Standard
                                                 CASAC and consideration of public                       PM10–2.5 for any exposure durations or
                                                 comments. He additionally judges that                   health effect categories, the ISA                          Consistent with the 2009 ISA, the
                                                 this suite of primary PM2.5 standards is                Supplement does not include an                          2019 ISA concluded that the available
                                                 requisite to protect public health,                     evaluation of additional studies for                    epidemiologic, controlled human
                                                 including at-risk populations, with an                  PM10–2.5. As a result, the 2019 ISA                     exposure, and animal toxicological
                                                 adequate margin of safety from effects                  continues to serve as the scientific                    studies, including uncertainties,
                                                 associated with long and short-term                     foundation for assessing the adequacy of                provided support for the causality
                                                 exposures to fine particles. This                       the primary PM10 standard in this                       determinations of ‘‘suggestive of, but not
                                                 judgment by the Administrator                           reconsideration of the 2020 final                       sufficient to infer, a causal relationship’’
                                                 appropriately considers the requirement                 decision (U.S. EPA, 2019a, section 1.7;                 between short-term exposures to
                                                 for standards that are requisite to protect             U.S. EPA, 2022a). The Administrator’s                   PM10–2.5 and cardiovascular effects,
                                                 public health but are neither more nor                  decision also takes into account the                    respiratory effects, and mortality (U.S.
                                                 less stringent than necessary.                          2022 PA evaluation of the policy-                       EPA, 2019a, section 1.4.2). The 2019
                                                                                                         relevant information in the 2019 ISA,                   ISA also reached the conclusion that the
                                                 C. Decisions on the Primary PM2.5                                                                               evidence supports a ‘‘suggestive of, but
                                                                                                         CASAC advice and recommendations,
                                                 Standards                                                                                                       not sufficient to infer, a causal
                                                                                                         and public comments.
                                                   For the reasons discussed above, and                     In presenting the rationale for the                  relationship’’ between short-term
                                                 taking into account the information and                 Administrator’s final decision and its                  PM10–2.5 exposures and metabolic
                                                 assessments presented in the 2019 ISA                   foundations, Section III.A provides                     effects, an endpoint that was not
                                                 and ISA Supplement, the scientific and                  background on the 2020 final decision                   evaluated in the 2009 ISA (U.S. EPA,
                                                 quantitative risk information in the 2022               to retain the primary PM10 and a brief                  2019a, section 1.4.2).
                                                 PA, the advice and recommendations of                   summary of key aspects of the currently                    Compared to the 2009 ISA, the 2019
                                                 the CASAC, and public comments, the                     available health effects information.                   ISA includes expanded evidence for the
                                                 Administrator revises the current suite                 Section III.B summarizes the CASAC                      relationships between long-term
                                                 of primary PM2.5 standards. Specifically,               advice and the Administrator’s                          exposures and cardiovascular effects,
                                                 the Administrator revises the level of                  proposed conclusions to retain the                      metabolic effects, nervous system
                                                 the primary annual PM2.5 standard to                    existing primary PM10 standard,                         effects, cancer, and mortality. The 2019
                                                 9.0 mg/m3 while retaining its form,                     addresses public comments received on                   ISA concluded that the small number of
                                                 indicator and averaging time. In                                                                                epidemiologic and experimental
                                                 conjunction with revising the primary                      126 In addition to the review’s opening ‘‘call for   studies, including uncertainties,
                                                 annual PM2.5 standard level to provide                  information’’ (79 FR 71764, December 3, 2014), the      contribute to the determination that,
                                                                                                         2019 ISA identified and evaluated studies and           ‘‘the evidence is suggestive of, but not
ddrumheller on DSK120RN23PROD with RULES3




                                                 protection from effects associated with
                                                                                                         reports that have undergone scientific peer review
                                                 long- and short-term PM2.5 exposures,                   and were published or accepted for publication
                                                                                                                                                                 sufficient to infer, a causal relationship
                                                 the Administrator retains the level of 35               between January 1, 2009, through approximately          between long-term PM10–2.5 exposure
                                                 mg/m3 and the 98th percentile form,                     January 2018 (U.S. EPA, 2019a, p. ES–2). References     and cardiovascular effects, metabolic
                                                 indicator and averaging time of the                     cited in the 2019 ISA, the references considered for    effects, nervous system effects, cancer,
                                                                                                         inclusion but not cited, and electronic links to
                                                 primary 24-hour PM2.5 standard to                       bibliographic information and abstracts can be
                                                                                                                                                                 and mortality and cancer (U.S. EPA,
                                                 continue to provide supplemental                        found at: https://hero.epa.gov/hero/particulate-        2019a, p. 10–87). For long-term
                                                 protection for areas with high peak                     matter.                                                 exposures and cardiovascular effects,


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00091   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024              Page 103 of 217
                                                 16292             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 cardiovascular effects, and cancer, this                 Therefore, these studies provided                     at co-located monitors, (2) calculating
                                                 is an upgrade from the ‘‘inadequate to                   limited evidence for the biological                   the difference between county-wide
                                                 infer the presence or absence of a causal                plausibility of PM10–2.5-induced effects              averages of monitored PM10 and PM2.5
                                                 relationship’’ conclusions in the 2009                   (U.S. EPA, 2019a). Although the                       based on monitors that are not
                                                 ISA (U.S. EPA, 2019a, section 1.4.2).                    scientific evidence available in the 2019             necessarily co-located, and (3) direct
                                                 This determination is also the first for                 ISA expanded the understanding of                     measurement of PM10–2.5 using a
                                                 long-term exposures and metabolic                        health effects associated with PM10–2.5               dichotomous sampler (U.S. EPA, 2019a,
                                                 effects, as the 2009 ISA did not include                 exposures, a number of important                      section 1.4.2). Given the relatively small
                                                 metabolic effects as an endpoint (U.S.                   uncertainties remained. These                         number of PM10–2.5 monitoring sites, the
                                                 EPA, 2019a section 1.4.2).                               uncertainties, and their implications for             relatively large spatial variability in
                                                    In considering the available body of                  interpreting the scientific evidence,                 ambient PM10–2.5 concentrations, the use
                                                 evidence, it was noted in the 2020                       include the following:                                of different approaches to estimating
                                                 review there were considerable                             • The potential for confounding by                  ambient PM10–2.5 concentrations across
                                                 uncertainties and limitations associated                 copollutants, notably PM2.5, was                      epidemiologic studies, and the
                                                 with the experimental evidence for                       addressed with copollutant models in a                limitations inherent in such estimates,
                                                 PM2.5 exposures and health effects, and                  relatively small number of PM10–2.5                   the distributions of PM10–2.5
                                                 as such more weight was placed on the                    epidemiologic studies (U.S. EPA,                      concentrations over which reported
                                                 available epidemiologic evidence.                        2019a). This was particularly important               health outcomes occur remain highly
                                                 Therefore, the primary focus in the 2020                 given the relatively small body of                    uncertain (U.S. EPA, 2019a).
                                                 review was on multi-city and single-city                 experimental evidence (i.e., controlled                  There was relatively little information
                                                 epidemiologic studies that evaluated                     human exposure and animal                             available to characterize potential
                                                 associations between short-term                          toxicological studies) available to                   exposure differences that may inform
                                                 PM10–2.5 and mortality, cardiovascular                   support the independent effect of                     the apparent variability in associations
                                                 effects (hospital admissions and                         PM10–2.5 on human health. This                        between short-term PM10–2.5 exposures
                                                 emergency department visits, as well as                  increases the uncertainty regarding the               and health effects across study locations
                                                 blood pressure and hypertension), and                    extent to which PM10–2.5 itself, rather               (U.S. EPA, 2019a). Specifically, the
                                                 respiratory effects. Despite differences                 than one or more copollutants, is                     potential spatial and temporal
                                                 in the approaches 127 used to estimate                   responsible for the mortality and                     variability in PM10–2.5 exposures
                                                 ambient PM10–2.5 concentrations, the                     morbidity effects reported in                         complicates the interpretation of results
                                                 majority of the studies reported positive,               epidemiologic studies.                                between study locations as well as the
                                                 though often not statistically significant,                • There was greater spatial variability             relative lack of information on the
                                                 associations with short-term PM10–2.5                    in PM10–2.5 concentrations than PM2.5                 chemical and biological composition of
                                                 exposures. Most PM10–2.5 effect                          concentrations, resulting in the                      PM10–2.5 (U.S. EPA, 2009a U.S. EPA,
                                                 estimates remained positive in                           potential for increased exposure error                2019a).
                                                 copollutant models that included either                  for PM10–2.5 (U.S. EPA, 2019a). Available                In reaching his decision in 2020 to
                                                 gaseous pollutants or other particulate                  measurements did not provide sufficient               retain the existing 24-hour primary
                                                 matter size fractions (e.g., PM2.5). In U.S.             information to adequately characterize                PM10 standard, the then-Administrator
                                                 study locations likely to have met the                   the spatial distribution of PM10–2.5                  specifically noted that, while the health
                                                 PM10 standard during the study period,                   concentrations (U.S. EPA, 2019a). The                 effects evidence was somewhat
                                                 a few studies reported positive                          limitations in estimates of ambient                   expanded since the prior reviews, the
                                                 associations between PM10–2.5 and                        PM10–2.5 concentrations ‘‘would tend to               overall conclusions in the 2019 ISA,
                                                 mortality that were statistically                        increase uncertainty and make it more                 including uncertainties and limitations,
                                                 significant and remained so in                           difficult to detect effects of PM10–2.5 in            were generally consistent with what was
                                                 copollutant models (U.S. EPA, 2019a).                    epidemiologic studies’’ (U.S. EPA,                    considered in the 2012 review (85 FR
                                                 In addition to the epidemiologic studies,                2019a).                                               82725, December 18, 2020). In addition,
                                                 there were a small number of controlled                    • Estimation of PM10–2.5                            the then-Administrator recognized that
                                                 human exposure studies evaluated in                      concentrations over which reported                    there were still a number of
                                                 the 2019 ISA that reported alterations in                health outcomes occur remain highly                   uncertainties and limitations associated
                                                 heart rate variability or increased                      uncertain. When compared with PM2.5,                  with the available evidence.
                                                 pulmonary inflammation following                         there is uncertainty spanning all                        With regard to the evidence on
                                                 short-term exposure to PM10–2.5,                         epidemiologic studies examining                       PM10–2.5-related health effects, the then-
                                                 providing some support for the                           associations with PM10–2.5 including                  Administrator noted that epidemiologic
                                                 associations in the epidemiologic                        deficiencies in the existing monitoring               studies continued to report positive
                                                 studies. Animal toxicological studies                    networks, the lack of a systematic                    associations with mortality and
                                                 examined the effect of short-term                        evaluation of the various methods used                morbidity in cities across North
                                                 PM10–2.5 exposures using non-inhalation                  to estimate PM10–2.5 concentrations and               America, Europe, and Asia, where
                                                 (e.g., intratracheal instillation) route.128             the resulting uncertainty in the spatial              PM10–2.5 sources and composition were
                                                                                                          as well as the temporal variability in                expected to vary widely. While
                                                    127 As discussed further below, methods
                                                                                                          PM10–2.5 concentration (U.S. EPA,                     significant uncertainties remained in the
                                                 employed by the epidemiologic studies to estimate
                                                                                                          2019a).). Given these limitations in                  2020 review, the then-Administrator
                                                 ambient PM10–2.5 concentrations include: (1)
                                                                                                          routine monitoring, epidemiologic                     recognized that this expanded body of
                                                 Calculating the difference between PM10 and PM2.5
ddrumheller on DSK120RN23PROD with RULES3




                                                                                                          studies employed a number of different                evidence had broadened the range of
                                                 at co-located monitors, (2) calculating the difference
                                                 between county-wide averages of monitored PM10           approaches for estimating PM10–2.5                    effects that have been linked with
                                                 and PM2.5 based on monitors that are not                                                                       PM10–2.5 exposures. The studies
                                                                                                          concentrations, including (1) calculating
                                                 necessarily co-located, and (3) direct measurement
                                                                                                          the difference between PM10 and PM2.5                 evaluated in the 2019 ISA expanded the
                                                 of PM10–2.5 using a dichotomous sampler (U.S. EPA,                                                             scientific foundation presented in the
                                                 2019a, section 1.4.2).
                                                    128 Non-inhalation exposure experiments (i.e.,        the airway of a study animal and may provide
                                                                                                                                                                2009 ISA and led to revised causality
                                                 intratracheal [IT] instillation) are informative for     information relevant to biological plausibility and   determinations (and new
                                                 size fractions (e.g., PM10–2.5) that cannot penetrate    dosimetry (U.S. EPA, 2019a, section A–12).            determinations) for long-term PM10–2.5


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00092   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024              Page 104 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                        16293

                                                 exposures and mortality, cardiovascular                 important, the ‘‘evidence does not call               across epidemiologic studies in the
                                                 effects, metabolic effects, nervous                     into question the adequacy of the public              approaches used to estimate PM10–2.5
                                                 system effects, and cancer (85 FR 82726,                health protection afforded by the                     concentrations. Additionally, some
                                                 December 18, 2020). Drawing from his                    current primary PM10 standard’’ and                   studies estimate long-term PM10–2.5
                                                 consideration of this evidence, the then-               ‘‘supports consideration of retaining the             exposures as the difference between
                                                 Administrator concluded that the                        current standard in this review’’ (Cox,               PM10 and PM2.5 concentrations based on
                                                 scientific information available since                  2019b, p. 3 of consensus letter). Thus,               information from spatiotemporal or land
                                                 the time of the last review supported a                 the then-Administrator concluded that                 use regression (LUR) models, in
                                                 decision to maintain a primary PM10                     the primary PM10 standard (in all of its              addition to monitors. The various
                                                 standard to provide public health                       elements (i.e., indicator, averaging time,            methods used to estimate PM10–2.5
                                                 protection against PM10–2.5 exposures,                  form, and level)) was requisite to protect            concentrations have not been
                                                 regardless of location, source of origin,               public health with an adequate margin                 systematically evaluated (U.S. EPA,
                                                 or particle composition (85 FR 82726,                   of safety against effects that have been              2019a, section 3.3.1.1), contributing to
                                                 December 18, 2020). With regard to                      associated with PM10–2.5. In light of this            uncertainty regarding the spatial and
                                                 uncertainties in the available evidence,                conclusion, the EPA retained the                      temporal correlations in PM10–2.5
                                                 the then-Administrator first noted that a               existing PM10 standard.                               concentrations across methods and in
                                                 number of limitations were identified in                                                                      the PM10–2.5 exposure estimates used in
                                                                                                         2. Overview of the Health Effects
                                                 the 2012 review related to: (1) Estimates                                                                     epidemiologic studies (U.S. EPA, 2019a,
                                                                                                         Evidence
                                                 of ambient PM10–2.5 concentrations used                                                                       section 2.5.1.2.3). Given the greater
                                                                                                            The information summarized here is                 spatial and temporal variability of
                                                 in epidemiologic studies; (2) limited                   based on the scientific assessment of the
                                                 evaluation of copollutant models to                                                                           PM10–2.5 and the lower number of
                                                                                                         health effects evidence available in this             PM10–2.5 monitoring sites, compared to
                                                 address the potential for confounding;                  reconsideration; this evaluation is
                                                 and (3) limited experimental studies                                                                          PM2.5, this uncertainty is particularly
                                                                                                         documented in the 2019 ISA and its                    important for the coarse size fraction.
                                                 supporting biological plausibility for                  policy implications are discussed
                                                 PM10–2.5-related effects. Despite the                                                                         Beyond the uncertainty associated with
                                                                                                         further in the 2022 PA. As noted above,               PM10–2.5 exposure estimates in
                                                 expanded body of evidence for PM10–2.5                  the ISA Supplement does not include an                epidemiologic studies, the limited
                                                 exposures and health effects, the then-                 evaluation of studies for PM10–2.5, and               information on the potential for
                                                 Administrator recognized that                           the 2019 ISA continues to serve as the                confounding by copollutants and the
                                                 uncertainties in the 2020 review                        scientific foundation for this                        limited support available for the
                                                 continued to include those associated                   reconsideration.                                      biological plausibility of health effects
                                                 with the exposure estimates used in
                                                                                                         a. Nature of Effects                                  following PM10–2.5 exposures also
                                                 epidemiologic studies, the
                                                                                                                                                               continue to contribute to uncertainty in
                                                 independence of the PM10–2.5 health                        For the health effect categories and               the PM10–2.5 health evidence.
                                                 effect associations, and the biologically               exposure duration combinations                        Uncertainty related to potential
                                                 plausible pathways for PM10–2.5 health                  evaluated, the 2019 ISA concludes that                confounding stems from the relatively
                                                 effects (85 FR 82726, December 18,                      the evidence supports causality                       small number of epidemiologic studies
                                                 2020). These uncertainties contributed                  determinations for PM10–2.5 that are at               that have evaluated PM10–2.5 health
                                                 to the 2019 ISA determinations that the                 most ‘‘suggestive of, but not sufficient to           effect associations in copollutants
                                                 evidence is at most ‘‘suggestive of, but                infer, a causal relationship’’. While the             models with both gaseous pollutants
                                                 not sufficient to infer’’ causal                        evidence supporting the causal nature of              and other PM size fractions. On the
                                                 relationships (85 FR 82726, December                    relationships between exposure to                     other hand, uncertainty related to the
                                                 18, 2020). In considering the available                 PM10–2.5 has been strengthened for some               biological plausibility of effects
                                                 evidence in his basis for the decision,                 health effect categories since the                    attributed to PM10–2.5 exposures results
                                                 the then-Administrator emphasized                       completion of the 2009 ISA, the 2019                  from the small number of controlled
                                                 evidence supporting ‘‘causal’’ and                      ISA concludes that overall ‘‘the                      human exposure and animal
                                                 ‘‘likely to be causal’’ relationships, and              uncertainties in the evidence identified              toxicological studies that have evaluated
                                                 therefore, judged that the PM10–2.5-                    in the 2009 ISA have, to date, still not              the health effects of experimental
                                                 related health effects evidence provided                been addressed’’ (U.S. EPA, 2019a,                    PM10–2.5 inhalation exposures. The
                                                 an uncertain scientific foundation for                  section 1.4.2, p. 1–41; U.S. EPA, 2022b,              evidence supporting the 2019 ISA’s
                                                 making standard-setting decisions. He                   section 4.3.1). Specifically,                         ‘‘suggestive of, but not sufficient to
                                                 further judged limitations in the                       epidemiologic studies available in the                infer, a causal relationship’’ causality
                                                 evidence raised questions as to whether                 2012 review relied on various methods                 determinations for PM10–2.5, including
                                                 additional public health improvements                   to estimate PM10–2.5 concentrations, and              uncertainties in this evidence, is
                                                 would be achieved by revising the                       these methods had not been                            summarized below in sections III.B.1.a
                                                 existing PM10 standard (85 FR 24126,                    systematically compared to evaluate                   through III.B.1.f.
                                                 April 30, 2020). In the 2020 decision, for              spatial and temporal correlations in
                                                 all of the reasons discussed above and                  PM10–2.5 concentrations. Methods                      i. Mortality
                                                 recognizing the CASAC conclusion that                   included: (1) Calculating the difference                 Due to the dearth of studies
                                                 the evidence provided support for                       between PM10 and PM2.5 concentrations                 examining the association between long-
                                                 retaining the current standard, the then-               at co-located monitors, (2) calculating               term PM10–2.5 exposure and mortality,
                                                 Administrator concluded that it was
ddrumheller on DSK120RN23PROD with RULES3




                                                                                                         the difference between county-wide                    the 2009 ISA concluded that the
                                                 appropriate to retain the existing                      averages of monitored PM10- and PM2.5-                evidence was ‘‘inadequate to determine
                                                 primary PM10 standard, without                          based on monitors that are not                        if a causal relationship exists’’ (U.S.
                                                 revision. His decision was consistent                   necessarily co-located, and (3) direct                EPA, 2009a). As reported in the 2019
                                                 with the CASAC advice related to the                    measurement of PM10–2.5 using a                       ISA, some cohort studies conducted in
                                                 primary PM10 standard. Specifically, the                dichotomous sampler (U.S. EPA, 2019a,                 the U.S. and Europe report positive
                                                 CASAC agreed with the 2020 PA                           section 1.4.2). As described in the 2019              associations between long-term PM10–2.5
                                                 conclusions that, while these effects are               ISA, there continues to be variability                exposure and total (nonaccidental)


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00093   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024              Page 105 of 217
                                                 16294             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 mortality, though results are                           instances (U.S. EPA, 2019a, section                   remain positive, in copollutants models
                                                 inconsistent across studies (U.S. EPA,                  11.3.4.1, Figure 11–28, Table 11–10).                 that adjust for PM2.5. For morbidity
                                                 2019a, Table 11–11). The examination                    The 2019 ISA concludes that, overall,                 outcomes, associations are inconsistent
                                                 of copollutant models in these studies                  the assessment of potential copollutant               in copollutant models that adjust for
                                                 remains limited and, when included,                     confounding is limited due to the lack                PM2.5, NO2, and chronic noise pollution
                                                 PM10–2.5 effect estimates are often                     of information on the correlation                     (U.S. EPA, 2019a, p. 6–276). The lack of
                                                 attenuated after adjusting for PM2.5 (U.S.              between PM10–2.5 and gaseous pollutants               toxicological evidence for long-term
                                                 EPA, 2019a, Table 11–11). Across                        and the small number of locations in                  PM10–2.5 exposures represents a data gap
                                                 studies, PM10–2.5 exposure                              which copollutant analyses have been                  (U.S. EPA, 2019a, section 6.4.10),
                                                 concentrations are estimated using a                    conducted. Associations with cause-                   resulting in the 2019 ISA conclusion
                                                 variety of approaches, including direct                 specific mortality (i.e., cardiovascular              that ‘‘evidence from experimental
                                                 measurements from dichotomous                           and respiratory mortality) provide some               animal studies is of insufficient quantity
                                                 samplers, calculating the difference                    support for associations with total                   to establish biological plausibility’’ (U.S.
                                                 between PM10 and PM2.5 concentrations                   (nonaccidental) mortality, though                     EPA, 2019a, p. 6–277). Based largely on
                                                 measured at collocated monitors, and                    associations with respiratory mortality               the observation of positive associations
                                                 calculating difference of area-wide                     are more uncertain (i.e., wider                       in some epidemiologic studies, the 2019
                                                 concentrations of PM10 and PM2.5. As                    confidence intervals) and less consistent             ISA concludes that ‘‘evidence is
                                                 discussed above, temporal and spatial                   (U.S. EPA, 2019a, section 11.3.7). The                suggestive of, but not sufficient to infer,
                                                 correlations between these approaches                   2019 ISA concludes that the evidence                  a causal relationship between long-term
                                                 have not been evaluated, contributing to                for PM10–2.5-related cardiovascular                   PM10–2.5 exposure and cardiovascular
                                                 uncertainty regarding the potential for                 effects provides only limited support for             effects’’ (U.S. EPA, 2019a, p. 6–277).
                                                 exposure measurement error (U.S. EPA,                   the biological plausibility of a                         With regard to short-term PM10–2.5
                                                 2019a, section 3.3.1.1 and Table 11–11).                relationship between short-term                       exposures and cardiovascular effects,
                                                 The 2019 ISA concludes that this                        PM10–2.5 exposure and cardiovascular                  the 2009 ISA found that the available
                                                 uncertainty ‘‘reduces the confidence in                 mortality (U.S. EPA, 2019a, section                   evidence for short-term PM10–2.5
                                                 the associations observed across                        11.3.7). Based on the overall evidence,               exposure and cardiovascular effects was
                                                 studies’’ (U.S. EPA, 2019a, p. 11–125).                 the 2019 ISA concludes that, ‘‘this body              ‘‘suggestive of a causal relationship.’’
                                                 The 2019 ISA additionally concludes                     of evidence is suggestive, but not                    This conclusion was based on several
                                                 that the evidence for long-term PM10–2.5                sufficient to infer, that a causal                    epidemiologic studies reporting
                                                 exposures and cardiovascular effects,                   relationship exists between short-term                associations between short-term
                                                 respiratory morbidity, and metabolic                    PM10–2.5 exposure and total mortality’’               PM10–2.5 exposure and cardiovascular
                                                 disease provide limited biological                      (U.S. EPA, 2019a, p. 11–120).                         effects, including IHD hospitalizations,
                                                 plausibility for PM10–2.5-related                                                                             supraventricular ectopy, and changes in
                                                                                                         ii. Cardiovascular Effects                            heart rate variability (HRV). In addition,
                                                 mortality (U.S. EPA, 2019a, sections
                                                                                                            In the 2009 ISA, the evidence                      dust storm events resulting in high
                                                 11.4.1 and 11.4). Taken together, the
                                                                                                         describing the relationship between                   concentrations of crustal material were
                                                 2019 ISA concludes that, ‘‘this body of
                                                                                                         long-term exposure to PM10–2.5 and                    linked to increases in total
                                                 evidence is suggestive, but not sufficient
                                                                                                         cardiovascular effects was characterized              cardiovascular disease emergency
                                                 to infer, that a causal relationship exists
                                                                                                         as ‘‘inadequate to infer the presence or              department visits and hospital
                                                 between long-term PM10–2.5 exposure                     absence of a causal relationship.’’ The               admissions. However, the 2009 ISA
                                                 and total mortality’’ (U.S. EPA, 2019a, p.              limited number of epidemiologic                       noted the potential for exposure
                                                 11–125).                                                studies reported contradictory results                measurement error primarily due to the
                                                    With regard to short-term PM10–2.5                   and experimental evidence                             different methods used across studies to
                                                 exposures and mortality, the 2009 ISA                   demonstrating an effect of PM10–2.5 on                estimate PM10–2.5 concentrations and
                                                 concluded that the evidence is                          the cardiovascular system was lacking                 copollutant confounding in these
                                                 ‘‘suggestive of a causal relationship                   (U.S. EPA, 2019a, section 6.4).                       epidemiologic studies. In addition, there
                                                 between short-term exposure to PM10–2.5                    The evidence relating long-term                    was only limited evidence of
                                                 and mortality’’ (U.S. EPA, 2009a). The                  PM10–2.5 exposures to cardiovascular                  cardiovascular effects from a small
                                                 2019 ISA included multicity                             mortality remains limited, with no                    number of experimental studies (e.g.
                                                 epidemiologic studies conducted                         consistent pattern of associations across             animal toxicological studies and
                                                 primarily in Europe and Asia that                       studies and, as discussed above,                      controlled human exposure studies) that
                                                 continue to provide consistent evidence                 uncertainty stemming from the use of                  examined short-term PM10–2.5 exposures
                                                 of positive associations between short-                 various approaches to estimate PM10–2.5               (U.S. EPA, 2009a, section 6.2.12.2). In
                                                 term PM10–2.5 exposure and total                        concentrations (U.S. EPA, 2019a, Table                the 2019 ISA, key uncertainties
                                                 (nonaccidental) mortality (U.S. EPA,                    6–70). The evidence for associations                  included the potential for exposure
                                                 2019a, Table 11–9). Although these                      with cardiovascular morbidity has                     measurement error, copollutant
                                                 studies contribute to increasing                        grown and, while results across studies               confounding, and limited evidence of
                                                 confidence in the PM10–2.5-mortality                    are not entirely consistent, some                     biological plausibility for cardiovascular
                                                 relationship, the use of various                        epidemiologic studies report positive                 effects following inhalation exposure
                                                 approaches to estimate PM10–2.5                         associations with ischemic heart disease              (U.S. EPA, 2019a, section 6.3.13).
                                                 exposures continues to contribute                       (IHD) and MI (U.S. EPA, 2019a, Figure                    The evidence for short-term PM10–2.5
                                                                                                         6–34); stroke (U.S. EPA, 2019a, Figure
ddrumheller on DSK120RN23PROD with RULES3




                                                 uncertainty to the associations observed.                                                                     exposure and cardiovascular outcomes
                                                 Recent studies expand the assessment of                 6–35); atherosclerosis (U.S. EPA, 2019a,              has expanded since the 2009 ISA,
                                                 potential copollutant confounding of the                section 6.4.5); venous thromboembolism                though important uncertainties remain.
                                                 PM10–2.5-mortality relationship and                     (VTE) (U.S. EPA, 2019a, section 6.4.7);               The 2019 ISA notes that there are a
                                                 provide evidence that PM10–2.5                          and blood pressure and hypertension                   small number of epidemiologic studies
                                                 associations generally remain positive                  (U.S. EPA, 2019a, Section 6.4.6).                     reporting positive associations between
                                                 in copollutant models, though                           PM10–2.5 cardiovascular mortality effect              short-term exposure to PM10–2.5 and
                                                 associations are attenuated in some                     estimates are often attenuated, but                   cardiovascular-related morbidity


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00094   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024              Page 106 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                           16295

                                                 outcomes. However, the 2019 ISA notes                   epidemiologic studies is the lack of a                related metabolic effects. One
                                                 that there is limited evidence to support               systematic evaluation of the various                  epidemiologic study in the 2019 ISA
                                                 that these associations are biologically                methods used to estimate PM10–2.5                     reports an association between long-
                                                 plausible, or independent of copollutant                concentrations and the resulting                      term PM10–2.5 exposure and incident
                                                 confounding. The 2019 ISA also                          uncertainty in the spatial and temporal               diabetes, while additional cross-
                                                 concludes that it remains unclear how                   variability in PM10–2.5 concentrations                sectional studies report associations
                                                 the approaches used to estimate PM10–2.5                compared to PM2.5 (U.S. EPA, 2019a,                   with effects on glucose or insulin
                                                 concentrations in epidemiologic studies                 sections 2.5.1.2.3 and 3.3.1.1).                      homeostasis (U.S. EPA, 2019a, section
                                                 compare amongst one another and                         Specifically, the existing monitoring                 7.4). As discussed above for other
                                                 subsequently how exposure                               networks do not provide a good                        outcomes, uncertainties with the
                                                 measurement error varies between each                   characterization of how well correlated               epidemiologic evidence include the
                                                 method. Specifically, it is unclear how                 concentrations are both spatially and
                                                                                                                                                               potential for copollutant confounding
                                                 well-correlated PM10–2.5 concentrations                 temporally across the PM10–2.5
                                                                                                                                                               and exposure measurement error due to
                                                 are both temporally and spatially across                estimation methods and overall spatial
                                                 these methods and therefore whether                     and temporal patterns in PM10–2.5                     the different methods used across
                                                 exposure measurement error varies                       concentrations. Taken together, the 2019              studies to estimate PM10–2.5
                                                 across these methods. Taken together,                   ISA concludes that ‘‘the collective                   concentrations (U.S. EPA, 2019a, Tables
                                                 the 2019 ISA concludes that ‘‘the                       evidence is suggestive of, but not                    7–14 and 7–15). The evidence base to
                                                 evidence is suggestive of, but not                      sufficient to infer, a causal relationship            support the biological plausibility of
                                                 sufficient to infer, a causal relationship              between short-term PM10–2.5 exposure                  metabolic effects following PM10–2.5
                                                 between short-term PM10–2.5 exposures                   and respiratory effects’’ (U.S. EPA,                  exposures is limited, but a cross-
                                                 and cardiovascular effects’’ (U.S. EPA,                 2019a, p. 5–270).                                     sectional study that investigated
                                                 2019a, p. 6–254).                                                                                             biomarkers of insulin resistance and
                                                                                                         iv. Cancer                                            systemic and peripheral inflammation
                                                 iii. Respiratory Effects                                  In the 2012 review, little information              may support a pathway leading to type
                                                    With regard to short-term PM10–2.5                   was available from studies of cancer                  2 diabetes (U.S. EPA, 2019a, sections
                                                 exposures and respiratory effects, the                  following inhalation exposures to                     7.4.1 and 7.4.3). Based on the expanded,
                                                 2009 ISA (U.S. EPA, 2009a) concluded                    PM10–2.5. Thus, the 2009 ISA determined               though still limited evidence base, the
                                                 that the relationship between short-term                the evidence was ‘‘inadequate to                      2019 ISA concludes that, ‘‘[o]verall, the
                                                 exposure to PM10–2.5 and respiratory                    evaluate the relationship between long-               evidence is suggestive of, but not
                                                 effects is ‘‘suggestive of a causal                     term PM10–2.5 exposures and cancer’’                  sufficient to infer, a causal relationship
                                                 relationship’’ based on a small number                  (U.S. EPA, 2009a). The scientific                     between [long]-term PM10–2.5 exposure
                                                 of epidemiologic studies observing                      information evaluated in the 2019 ISA
                                                                                                                                                               and metabolic effects’’ (U.S. EPA, 2019a,
                                                 associations with some respiratory                      of long-term PM10–2.5 exposure and
                                                                                                                                                               p. 7–56).
                                                 effects and limited evidence from                       cancer remains limited, with a few
                                                 experimental studies to support                         recent epidemiologic studies reporting                vi. Nervous System Effects
                                                 biological plausibility. Epidemiologic                  positive, but imprecise, associations
                                                 findings were consistent for respiratory                with lung cancer incidence (U.S. EPA,                    The 2009 ISA did not make a
                                                 infection and combined respiratory-                     2019a). Moreover, uncertainty remains                 causality determination for PM10–2.5-
                                                 related diseases, but not for COPD.                     in these studies with respect to                      related nervous system effects. In the
                                                 Studies were characterized by overall                   exposure measurement error due to the                 2019 ISA, available epidemiologic
                                                 uncertainty in the exposure assignment                  use of PM10–2.5 predictions that have not             studies report associations between
                                                 approach and limited information                        been validated by monitored PM10–2.5                  PM10–2.5 and impaired cognition and
                                                 regarding potential copollutant                         concentrations (U.S. EPA, 2019a,                      anxiety in adults in longitudinal
                                                 confounding. Controlled human                           sections 3.3.2.3 and 10.3.4). Relatively              analyses (U.S. EPA, 2019a, Table 8–25,
                                                 exposure studies of short-term PM10–2.5                 few experimental studies of PM10–2.5                  section 8.4.5). Associations of long-term
                                                 exposures found no lung function                        have been conducted, though available                 exposure with neurodevelopmental
                                                 decrements and inconsistent evidence                    studies indicate that PM10–2.5 exhibits               effects are not consistently reported in
                                                 for pulmonary inflammation. Animal                      two key characteristics of carcinogens:               children (U.S. EPA, 2019a, sections
                                                 toxicological studies were limited to                   genotoxicity and oxidative stress. While              8.4.4 and 8.4.5). Uncertainties in these
                                                 those using non-inhalation (e.g., intra-                limited, such experimental studies                    studies include the potential for
                                                 tracheal instillation) routes of PM10–2.5               provide some evidence of biological                   copollutant confounding, as no studies
                                                 exposure.                                               plausibility for the findings in a small              examined copollutants models (U.S.
                                                    Recent epidemiologic findings                        number of epidemiologic studies (U.S.
                                                 consistently link PM10–2.5 exposure to                                                                        EPA, 2019a, section 8.4.5), and for
                                                                                                         EPA, 2019a, section 10.3.4).                          exposure measurement error, given the
                                                 asthma exacerbation and respiratory                       Taken together, the small number of
                                                 mortality, with some evidence that                                                                            use of various methods to estimate
                                                                                                         epidemiologic and experimental
                                                 associations remain positive (though                                                                          PM10–2.5 concentrations (U.S. EPA,
                                                                                                         studies, along with uncertainty with
                                                 attenuated in some studies of mortality)                                                                      2019a, Table 8–25). In addition, there is
                                                                                                         respect to exposure measurement error,
                                                 in copollutant models that include                                                                            limited animal toxicological evidence
                                                                                                         contribute to the determination in the
                                                 PM2.5 or gaseous pollutants.                            2019 ISA that, ‘‘the evidence is                      supporting the biological plausibility of
                                                                                                                                                               nervous system effects (U.S. EPA,
ddrumheller on DSK120RN23PROD with RULES3




                                                 Epidemiologic studies provide limited                   suggestive of, but not sufficient to infer,
                                                 evidence for positive associations with                 a causal relationship between long-term               2019a, sections 8.4.1 and 8.4.5). Overall,
                                                 other respiratory outcomes, including                   PM10–2.5 exposure and cancer’’ (U.S.                  the 2019 ISA concludes that, ‘‘the
                                                 COPD exacerbation, respiratory                          EPA, 2019a, p. 10–87).                                evidence is suggestive of, but not
                                                 infection, and combined respiratory-                                                                          sufficient to infer, a causal relationship’’
                                                 related diseases (U.S. EPA, 2019a, Table                v. Metabolic Effects                                  between long-term PM10–2.5 exposure
                                                 5–36). As noted above for other                            The 2009 ISA did not make a                        and nervous system effects (U.S. EPA,
                                                 endpoints, an uncertainty in these                      causality determination for PM10–2.5-                 2019a, p. 8–75).


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00095   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024              Page 107 of 217
                                                 16296             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 B. Conclusions on the Primary PM10                      primary PM10 standard and that the                      CASAC concurred that ‘‘. . . at this
                                                 Standard                                                standard should be retained, without                    time, PM10 is an appropriate choice as
                                                    In drawing conclusions on the                        revision.                                               the indicator for PM10–2.5’’ and ‘‘that it
                                                                                                            In its review of the 2019 draft PA, the              is important to retain the level of
                                                 adequacy of the current primary PM10
                                                                                                         CASAC concurred with the overall                        protection afforded by the current PM10
                                                 standard, in view of the advances in
                                                                                                         preliminary conclusion that it is                       standard’’ (Sheppard, 2022a, p. 4 of
                                                 scientific knowledge and additional
                                                                                                         appropriate to consider retaining the                   consensus letter). The CASAC also
                                                 information now available, the
                                                                                                         current primary PM10 standard, without                  recognized uncertainties associated with
                                                 Administrator has considered the
                                                                                                         revision. In their agreement with the                   the scientific evidence, including
                                                 evidence base, information, and policy
                                                                                                         conclusions in the 2019 draft PA, the                   ‘‘compared to PM2.5 studies, the more
                                                 judgments that were the foundation of
                                                                                                         CASAC stated that ‘‘that key                            limited number of epidemiology studies
                                                 the 2020 review and reflects upon the
                                                                                                         uncertainties identified in the last                    with positive statistically significant
                                                 body of information and evidence
                                                                                                         review remain’’ (Cox, 2019b) and that                   findings, and the difficulty in extracting
                                                 available in this reconsideration. In so
                                                                                                         ‘‘none of the identified health outcomes                the sole contribution of coarse PM to
                                                 doing, the Administrator has taken into                 linked to PM10–2.5’’ were judged to be                  observed adverse health effects’’
                                                 account both evidence-based and                         causal or likely to be causal (Cox, 2019b,              (Sheppard, 2022a, p. 19 of consensus
                                                 quantitative information-based                          p. 12 of consensus responses).                          responses).
                                                 considerations, as well as advice from                  Moreover, to reduce these uncertainties                    The CASAC recommended several
                                                 the CASAC and public comments.                          in future reviews, the CASAC                            areas for additional research to reduce
                                                 Evidence-based considerations draw                      recommended improvements to PM10–2.5                    uncertainties in the PM10–2.5 exposure
                                                 upon the EPA’s integrated synthesis of                  exposure assessment, including a more                   estimates used in the epidemiologic
                                                 the scientific evidence from animal                     extensive network for direct monitoring                 studies, to evaluate the independence of
                                                 toxicologic, controlled human exposure,                 of the PM10–2.5 fraction (Cox, 2019b, p.                PM10–2.5 health effect associations, to
                                                 and epidemiologic studies evaluating                    13 of consensus responses). The CASAC                   evaluate the biological plausibility of
                                                 health effects related to exposures to                  also recommended additional controlled                  PM10–2.5-related effects, and to increase
                                                 PM10–2.5 as presented in the 2019 ISA                   human exposure and animal                               the number of studies examining
                                                 and discussed in section III.A.2. In                    toxicological studies of the PM10–2.5                   PM10–2.5-related health effects in at-risk
                                                 addition to the evidence, the                           fraction to improve the understanding of                populations (Sheppard, 2022a, p. 20 of
                                                 Administrator has weighed a range of                    biological mechanisms and pathways                      consensus responses). Furthermore, the
                                                 policy-relevant considerations as                       (Cox, 2019b, p. 13 of consensus                         CASAC ‘‘recognizes a need for, and
                                                 discussed in the 2022 PA and                            responses). Overall, the CASAC agreed                   supports investment in research and
                                                 summarized in sections III.B and III.C of               with the EPA’s preliminary conclusion                   deployment of measurement systems to
                                                 the proposal and summarized in section                  in the 2019 draft PA that ‘‘. . . the                   better characterize PM10–2.5’’ and to
                                                 III.B.2 below. These considerations,                    available evidence does not call into                   ‘‘provide information that can improve
                                                 along with the advice from the CASAC                    question the adequacy of the public                     public health’’ (Sheppard, 2022a, p. 20
                                                 (section III.B.1) and public comments                   health protection afforded by the                       of consensus responses).
                                                 (section III.B.3), are discussed below. A               current primary PM10 standard and that
                                                 more detailed summary of all significant                                                                        2. Basis for the Proposed Decision
                                                                                                         evidence supports consideration of
                                                 comments, along with the EPA’s                          retaining the current standard in this                     At the time of the proposal, the
                                                 responses in the Response to Comments                   review’’ (Cox, 2019b, p. 3 of letter).                  Administrator carefully considered the
                                                 document, can be found in the docket                       In its review of the 2021 draft PA, the              assessment of the current evidence and
                                                 for this rulemaking (Docket No. EPA–                    CASAC provided advice on the                            conclusions reached in the 2019 ISA,
                                                 HQ–OAR–2015–00072). This document                       adequacy of the current primary PM10                    considerations and staff conclusions
                                                 is available for review in the docket for               standard in the context of its review of                and associated rationales presented in
                                                 this rulemaking and through EPA’s                       the revised PA for this reconsideration                 the 2020 PA and 2022 PA, and advice
                                                 NAAQS website (link). The                               (Sheppard, 2022a) 129.) 130. In this                    and recommendations of the CASAC (88
                                                 Administrator’s conclusions in this                     context, the CASAC supported the                        FR 5634, January 27, 2023). Consistent
                                                 reconsideration regarding the adequacy                  preliminary conclusion in the 2021 draft                with previous reviews, the
                                                 of the current primary PM10 standard                    PA that the evidence reviewed in the                    Administrator first considered the
                                                 and whether any revisions are                           2019 ISA does not call into question the                available scientific evidence for
                                                 appropriate are described in section                    public health protection provided by the                PM10–2.5-related exposures and health
                                                 III.B.4.                                                current primary PM10 standard against                   effects, as evaluated in the 2019 ISA. As
                                                                                                         PM10–2.5 exposures and concurs with the                 an initial matter, the Administrator
                                                 1. CASAC Advice                                                                                                 recognized that the scientific evidence
                                                                                                         2021 draft PA’s overall preliminary
                                                    As described in section I.X, the EPA                 conclusion that it is appropriate to                    for PM10–2.5-related effects available in
                                                 decided to prepare a revised PA for the                 consider retaining the current primary                  this reconsideration is the same body of
                                                 reconsideration of the 2020 final                       PM10 standard (Sheppard, 2022a, p. 4 of                 evidence that was available at the time
                                                 decision. The CASAC’s advice on the                     consensus letter). Additionally, the                    of the 2020 review, as evaluated in the
                                                 2019 draft PA and the 2021 draft PA                                                                             2019 ISA and summarized in section
                                                 was documented in letters to the prior                    129 As described in section I.C.5.b above, the        III.A.2 above. The 2019 ISA concludes
                                                 and current Administrators (Cox, 2019b;                 scope of the ISA Supplement did not include             that the evidence supports ‘‘suggestive
                                                 Sheppard, 2022a) and is summarized                      consideration of studies of health effects associated   of, but not sufficient to infer’’ causal
ddrumheller on DSK120RN23PROD with RULES3




                                                                                                         with exposure to PM10–2.5. Therefore, the
                                                 below. In reviewing both the 2019 draft                 information and conclusions presented in the 2022       relationships between short- and long-
                                                 PA and the 2021 draft PA, the CASAC                     PA are very similar to those in the 2020 PA.            term exposures to PM10–2.5 and
                                                 agreed with the EPA’s preliminary                         130 As described in section I.C.5.b above, the        cardiovascular effects, cancer, and
                                                 conclusion that the available scientific                scope of the ISA Supplement did not include             mortality and long-term PM10–2.5
                                                                                                         consideration of studies of health effects associated
                                                 evidence, including its uncertainties                   with exposure to PM10–2.5. Therefore, the
                                                                                                                                                                 exposures and metabolic effects and
                                                 and limitations, does not call into                     information and conclusions presented in the 2022       nervous system effects (U.S. EPA,
                                                 question the adequacy of the current                    PA are very similar to those in the 2020 PA.            2019a). The Administrator noted that


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00096   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024              Page 108 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                        16297

                                                 the evidence for several PM10–2.5-related               against such effects, in conjunction with             information has emerged since the 2020
                                                 health effects has expanded since the                   the current primary 24-hour PM10                      decision to retain the current standard.
                                                 completion of the 2009 ISA, but                         standard. He preliminarily concluded                  Furthermore, these commenters note
                                                 important uncertainties remain. The                     that the current primary 24-hour PM2.5                that the EPA did not evaluate any new
                                                 uncertainties in the epidemiologic                      standard that reduces 24-hour exposures               scientific evidence related to PM10–2.5
                                                 studies contribute to the determinations                also likely reduces long-term average                 exposures and health effects as a part of
                                                 in the 2019 ISA that the evidence for                   exposures, and therefore provides some                the 2022 ISA Supplement developed for
                                                 short and long-term PM10–2.5 exposures                  margin of safety against the health                   this reconsideration, nor did the revised
                                                 and mortality, cardiovascular effects,                  effects associated with long-term                     2022 PA consider any new or different
                                                 metabolic effects, nervous system                       PM10–2.5 exposures.                                   information from the 2020 PA, and
                                                 effects, and cancer is ‘‘suggestive of, but               In reaching his proposed decision on                therefore, the EPA reached the same
                                                 not sufficient to infer’’ causal                        the adequacy of the current primary 24-               conclusion as is the 2020 PA that the
                                                 relationships (U.S. EPA, 2019a; U.S.                    hour PM10 standard, the Administrator                 current standard is adequate and should
                                                 EPA, 2022b, section 4.3.1). Drawing                     also considered advice from the CASAC.                be retained. This group includes
                                                 from the evidence evaluated in the 2019                 As noted above in section III.B.1, the                industries and industry groups, as well
                                                 ISA and consideration of the scientific                 CASAC recognized uncertainties                        as some State and local governments.
                                                 evidence in the 2022 PA, the                            associated with the scientific evidence               All of these commenters generally note
                                                 Administrator noted that, consistent                    and agreed with the 2019 draft PA and                 their agreements with the rationale
                                                 with previous reviews, the 2019 ISA                     2021 draft PA conclusions that the                    provided in the proposal and the
                                                 and the 2022 PA highlight a number of                   scientific evidence does not call into                CASAC concurrence with the 2021 draft
                                                                                                         question the adequacy of the primary                  PA conclusion that the available
                                                 uncertainties associated with the
                                                                                                         PM10 standard and supports                            information does not call into question
                                                 evidence, including: (1) PM10–2.5
                                                                                                         consideration of retaining the current                the adequacy of the current standard,
                                                 exposure estimates used in
                                                                                                         standard.                                             and therefore, does not support revision
                                                 epidemiologic studies, (2) independence                    When considering the above
                                                 of PM10–2.5 health effect associations,                                                                       and that the current standard should be
                                                                                                         information together, the Administrator               retained.
                                                 and (3) biological plausibility of the                  proposed to conclude that the available                  Some commenters, including those
                                                 PM10–2.5-related effects. These                         scientific evidence continues to support              from environmental and public health
                                                 uncertainties contribute to the                         a PM10 standard to provide some                       organizations and groups, some states,
                                                 determinations in the 2019 ISA that the                 measure of protection against PM10–2.5                and individuals, disagreed with the
                                                 evidence for short-term PM10–2.5                        exposures. Additionally, he recognized                Administrator’s proposed decision to
                                                 exposures and key health effects is                     that there are important uncertainties                retain the current primary PM10
                                                 ‘‘suggestive of, but not sufficient to                  and limitations associated with the                   standard. These commenters
                                                 infer’’ causal relationships. In                        available evidence for PM10–2.5-related               recommend that the EPA revise the
                                                 considering the available scientific                    health effects, for both short and long-              primary PM10 standard to a lower level
                                                 evidence, consistent with approaches                    term exposure, as evaluated in the 2019               to provide increased public health
                                                 employed in past NAAQS reviews, the                     ISA. Consistent with the decisions in                 protection, citing to the available
                                                 Administrator placed the most weight                    the previous reviews, the Administrator               scientific evidence, as well as the
                                                 on evidence supporting ‘‘causal’’ and                   proposed to conclude that these                       proposed revision to the primary PM2.5
                                                 ‘‘likely to be causal’’ relationships. In so            limitations lead to considerable                      standard.
                                                 doing, he noted that the available                      uncertainty regarding the potential                      Commenters who disagreed with the
                                                 evidence for short- and long-term                       public health implications of revising                proposal to retain the current standard
                                                 PM10–2.5 exposures and health effects                   the level of the current primary 24-hour              state that revision to the primary PM10
                                                 does not support causality                              PM10 standard. Thus, based on his                     standard is necessary to protect public
                                                 determinations of a ‘‘causal                            consideration of the evidence and                     health with an adequate margin of
                                                 relationship’’ or ‘‘likely to be causal                 associated uncertainties and limitations              safety. In their recommendations for
                                                 relationship.’’ Furthermore, the                        for PM10–2.5-related health effects and               revising the standard, some commenters
                                                 Administrator recognized that, because                  his consideration of CASAC advice on                  contend that the current standard, with
                                                 of the uncertainties and limitations in                 the primary PM10 standard, the                        its indicator of PM10 to target exposures
                                                 the evidence base, the 2022 PA does not                 Administrator proposed to retain the                  to PM10–2.5, has become less protective
                                                 include a quantitative assessment of                    current primary PM10 standard, without                as ambient concentrations of PM2.5 have
                                                 PM10–2.5 exposures and risk that might                  revision.                                             been reduced with revisions to that
                                                 further inform decisions regarding the                                                                        standard. These commenters assert that
                                                 adequacy of the current 24-hour primary                 3. Comments on the Proposed Decision
                                                                                                                                                               the current primary PM10 standard
                                                 PM10 standard. Therefore, in light of the                  Of the public comments received on                 allows increased exposure to PM10–2.5 in
                                                 2019 ISA conclusions that the evidence                  the proposal, very few commenters                     ambient air because retaining the
                                                 supports ‘‘suggestive of, but not                       provided comments on the primary                      primary PM10 would allow
                                                 sufficient to infer’’ causal relationships.             PM10 standard. Of those commenters                    proportionately more PM10–2.5 mass as
                                                 The Administrator judged that there are                 who did provide comments on the                       the PM2.5 standard has been revised
                                                 substantial uncertainties that raise                    primary PM10 standard, the majority                   downward. Moreover, in support of
                                                 questions regarding the degree to which                 agree with the EPA’s proposed decision                their recommendations, the commenters
                                                 additional public health improvements
ddrumheller on DSK120RN23PROD with RULES3




                                                                                                         to retain the primary PM10 standard. In               note that the available evidence of
                                                 would be achieved by revising the                       so doing, these commenters agree with                 PM10–2.5-related health effects has been
                                                 existing PM10 standard. In considering                  the EPA’s rationale regarding the                     expanded and strengthened since the
                                                 the available evidence for long-term                    available scientific information,                     time of the last review. Taken together,
                                                 PM10–2.5 exposures, the Administrator                   including uncertainties and limitations,              the commenters contend that the
                                                 noted that there is limited evidence that               for informing decisions on the standard.              primary PM10 standard should be
                                                 would support consideration of an                       These commenters state that no new                    revised and failure to do so would be
                                                 annual standard to provide protection                   scientific evidence or quantitative                   arbitrary and capricious. Some of these


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00097   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024              Page 109 of 217
                                                 16298             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 commenters assert that the level of the                 March 03, 2013). As described in the                  ambient air and long- or short-term
                                                 primary PM10 standard should be                         2019 ISA, PM10 has become                             exposures. In the absence of such
                                                 revised to 140 or 145 mg/m3, concurrent                 considerably coarser across the U.S.                  evidence, the public health implications
                                                 with a strengthened primary 24-hour                     compared to similar observations in the               of changes in ambient PM10–2.5
                                                 PM2.5 standard, while other commenters                  2009 ISA such that, in urban areas, the               concentrations as PM2.5 concentrations
                                                 recommend revising the level of the                     mass of the coarse fraction of PM is                  decrease remain unclear. Therefore, the
                                                 standard to within the range of 65–75                   similar to or greater than the mass of the            EPA continues to recognize this as an
                                                 mg/m3, to provide increased public                      fine fraction of PM (U.S. EPA, 2019,                  area for future research, to address the
                                                 health protection.                                      section 2.5.1.1.4; U.S. EPA, 2009c).                  existing uncertainties (U.S. EPA, 2022b,
                                                    We disagree with the commenters that                 However, in considering recent air                    section 4.6), and inform future reviews
                                                 the primary PM10 standard should be                     quality data, the EPA notes that in most              of the PM NAAQS. Taken together, as at
                                                 revised because of reductions in                        areas of the country PM2.5 and PM10                   the time of proposal, the Administrator
                                                 ambient concentrations of PM2.5. As an                  concentrations have declined and are                  concludes that these and other
                                                 initial matter, we note that overall,                   well below their respective 24-hour                   limitations in the PM10–2.5 evidence
                                                 ambient concentrations of both PM10                     standards. While the contribution of                  raised questions as to whether
                                                 and PM2.5 have declined significantly                   fine and coarse PM to PM10 mass                       additional public health improvements
                                                 over time. Ambient concentrations of                    concentrations may vary spatially and                 would be achieved by revising the
                                                 PM10 have declined by 46% across the                    temporally, based on the trends in                    existing PM10 standard, particularly
                                                 U.S. from 2000 to 2019,131 while PM2.5                  recent air quality data, the                          when considering such judgments along
                                                 concentrations in ambient air have                      Administrator concludes that the                      with his decision to retain the current
                                                 declined by 43% during this same time                   current primary 24-hour PM10 standard                 primary 24-hour PM2.5 standard.
                                                 period.132 As noted in the 2022 PA (p.                  is maintaining air quality at level that              Therefore, the EPA does not agree with
                                                 2–41), the majority of PM10–2.5 sites have              provides requisite protection against                 the commenters that the currently
                                                 generally remained steady and do not                    PM10–2.5. That is, recent air quality data            available air quality information or
                                                 exhibit a trend of increasing or                        does not suggest that PM10–2.5                        scientific evidence support revisions to
                                                 decreasing concentrations during this                   concentrations have been increasing as                the primary PM10 standard in this
                                                 time period, reflecting the relatively                  PM2.5 concentrations have been                        reconsideration.
                                                 consistent level of dust emission across                decreasing. In considering the available                 Consistent with their comments on
                                                 the U.S. from 2000 to 2019 (U.S. EPA,                   PM10–2.5 health effects evidence in this              the 2020 proposal, some commenters
                                                 2022b).                                                 reconsideration, there continue to be                 disagreed with the Administrator’s
                                                    The 2019 ISA provides a comparison                   significant uncertainties and limitations,            proposed conclusion to retain the
                                                 of the relative contribution of PM2.5 and               specifically with respect to the exposure             current primary PM10 standard,
                                                 PM10–2.5 to PM10 concentrations by                      assessment methods used to estimate                   primarily focusing their comments on
                                                 region and season using the more                        PM10–2.5 concentrations, that make it                 the need for revisions to the form of the
                                                 comprehensive monitoring data from                      difficult to fully assess the public health           standard or the level of the standard.
                                                 the NCore network available in this                     implications of revising the primary                  With regard to comments on the form of
                                                 reconsideration (U.S. EPA, 2019, section                PM10 standard even considering the                    the standard, some commenters assert
                                                 2.5.1.1.4). The data indicate that, for                 possibility for additional variability in             that the EPA should revise the standard
                                                 urban areas, there are roughly                          the relative ratio of PM2.5 to PM10–2.5 in            by adopting a separate form (or a
                                                 equivalent amounts of PM2.5 and                         current PM10 air quality across the U.S.              ‘‘compliance threshold’’ in their
                                                 PM10–2.5 contributing to PM10 in ambient                As described in detail above in section               words)—the 99th percentile, averaged
                                                 air, while rural locations have a slightly              III.A.2 and in the proposal (85 FR 5558,              over three years—for the primary PM10
                                                 higher contribution of PM10–2.5                         January 27, 2023), the uncertainties and              standard for continuous monitors,
                                                 contributing to PM10 concentrations                     limitations in the health effects                     which provide data every day, while
                                                 than PM2.5 (U.S. EPA, 2019, section                     evidence for PM10–2.5 contributed to the              maintaining the current form of the
                                                 2.5.1.1.4, Table 2–7). There is generally               determinations in the 2019 ISA that the               standard (one exceedance, averaged
                                                 a greater contribution from the PM2.5                   evidence for key PM10–2.5 health effects              over three years) for 1-in-6 samplers,
                                                 fraction in the East and a greater                      is ‘‘suggestive of, but not sufficient to             given the increased use of continuous
                                                 contribution from the PM10–2.5 fraction                 infer, a causal relationship’’ or                     monitoring and to ease the burden of
                                                 in the West and Midwest.                                ‘‘inadequate to infer the presence, or                demonstrating exceptional events.
                                                    The EPA recognizes that when the                     absence of a causal relationship’’ (U.S.              These commenters, in support of their
                                                 primary annual PM2.5 standard was                       EPA, 2019a). While the evidence base                  comment, contend that the 99th
                                                 revised from 15.0 mg/m3 to 12.0 mg/m3                   for PM10–2.5-related health effects has               percentile would effectively change the
                                                 while leaving the 24-hour PM2.5                         somewhat expanded since the 2009 ISA,                 form from the 2nd highest to the 4th
                                                 standards unchanged at 35 mg/m3 and                     the Administrator concludes that the                  highest and would allow no more than
                                                 the 24-hour PM10 standard unchanged at                  evidence remains too limited to inform                three exceedances per year, averaged
                                                 150 mg/m3, the PM10–2.5 fraction of PM10                judgments regarding whether a more                    over three years. These commenters
                                                 could increase in some areas as the                     protective primary PM10 standard is                   additionally highlight the EPA’s
                                                 PM2.5 fraction decreases (78 FR 3085,                   warranted at this time.                               decision in the 1997 review to adopt a
                                                                                                            Beyond the uncertainties and                       99th percentile form, averaged over
                                                    131 PM
                                                           10 concentrations presented as the annual                                                           three years, citing to advantages of a
                                                                                                         limitations associated with the available
ddrumheller on DSK120RN23PROD with RULES3




                                                 second maximum 24-hour concentration (in mg/m3)
                                                 at 262 sites in the U.S. For more information, see:     scientific evidence, the EPA also notes               percentile-based form in the
                                                 https://www.epa.gov/air-trends/particulate-matter-      that, while the NCore monitoring                      Administrator’s rationale in that review.
                                                 pm10-trends                                             network has been expanded since the                   The comments further assert that a 99th
                                                    132 PM
                                                           2.5 concentrations presented as the           time of the last review, epidemiologic                percentile form for the primary PM10
                                                 seasonally-weighted annual average concentration
                                                 (in mg/m3) at 406 sites in the U.S. For more
                                                                                                         studies available in this review do not               standard is still more conservative than
                                                 information, see: https://www.epa.gov/air-trends/       use PM10–2.5 NCore data in evaluating                 the form for other short-term NAAQS
                                                 particulate-matter-pm25-trends                          associations between PM10–2.5 in                      (e.g., PM2.5 and NO2).


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00098   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024              Page 110 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                         16299

                                                    First, the EPA has long recognized                   implementation focused products under                 uncertainties inherent in that
                                                 that the form is an integral part of the                development that are intended to assist               information. The Administrator’s final
                                                 NAAQS and must be selected together                     air agencies with the development of                  decision is based on an interpretation of
                                                 with the other elements (i.e., indicator,               demonstrations for specific types of                  the scientific evidence that neither
                                                 averaging time, level) of the NAAQS to                  exceptional events. With regard to the                overstates nor understates its strengths
                                                 ensure the appropriate stringency and                   commenters’ specific concerns for                     and limitations, nor the appropriate
                                                 requisite degree of public health                       wildfires or high winds, the EPA                      inferences to be drawn.
                                                 protection. Thus, if the EPA were to                    released updated guidance documents                      Having carefully considered advice
                                                 change the form according to the                        on the preparation of exceptional event               from the CASAC and public comments,
                                                 monitoring method it would be                           demonstrations related to wildfires in                as discussed above, the Administrator
                                                 establishing two different NAAQS,                       September 2016, high wind dust events                 notes that the fundamental scientific
                                                 varying based on the monitoring                         in April 2019, and prescribed fires in                conclusions on health effects of PM10–2.5
                                                 method. The EPA has not done this to                    August 2019. These guidance                           in ambient air that were reached in the
                                                 date, did not propose such an approach,                 documents outline the regulatory                      2019 ISA and summarized in the 2020
                                                 and declines to adopt it for the final                  requirements and provide examples for                 PA and 2022 PA remain valid.
                                                 rule, as we believe such a decision in                  air agencies preparing demonstrations                 Additionally, the Administrator believes
                                                 this final rule is beyond the scope of the              for wildfires, high wind dust, and                    the judgments he proposed (85 FR 5558,
                                                 proposal, and that each PM standard                     prescribed fire events. For all of the                January 27, 2023) with regard to the
                                                 should have a single form, indicator,                   reasons discussed above, the EPA does                 evidence remain appropriate. Further,
                                                 level and averaging time, chosen by the                 not agree with the commenters that the                in considering the adequacy of the
                                                 Administrator as necessary and                          form of the primary PM10 standard                     current primary PM10 standard in this
                                                 appropriate. While certain continuous                   should be revised to a 99th percentile                reconsideration, the Administrator has
                                                 monitors may be established and                         for continuous monitors.                              carefully considered the policy-relevant
                                                 approved as a Federal Equivalent                                                                              evidence and conclusions contained in
                                                                                                         4. Administrator’s Conclusions
                                                 Method (FEM) for PM10, as an                                                                                  the 2019 ISA; the rationale and
                                                 alternative to a Federal Reference                         This section summarizes the
                                                                                                         Administrator’s considerations and                    conclusions presented in the 2020 PA
                                                 Method (FRM), the use of an FEM is
                                                                                                         conclusions related to the current                    and 2022 PA; the advice and
                                                 intended as an alternative means of
                                                                                                         primary PM10 standard. In establishing                recommendations from the CASAC in
                                                 determining compliance with the
                                                                                                         primary standards under the Act that                  their reviews of the 2019 draft PA and
                                                 NAAQS, not as authorizing a different
                                                                                                         are ‘‘requisite’’ to protect the public               2021 draft PA; and public comments, as
                                                 NAAQS.
                                                    Even if the commenters had asked                     health with an adequate margin of                     addressed in section III.B.3 above and in
                                                 that the change in form be made without                 safety, the Administrator is seeking to               the RTC document. In the discussion
                                                 regard to monitoring method, the EPA                    establish standards that are neither more             below, the Administrator gives weight
                                                 does not believe such a change would                    nor less stringent than necessary for this            to the conclusions in the 2020 PA and
                                                 be warranted. The change in form for                    purpose. In so doing, the Administrator               2022 PA, with which the CASAC has
                                                 continuous monitors suggested by the                    notes that his final decision in this                 concurred, as summarized in section
                                                 commenters, without also lowering the                   reconsideration is a public health policy             III.C of the proposal and takes note of
                                                 level of such a standard, would allow                   judgment that draws upon scientific                   the key aspects of the rationale for those
                                                 more exceedances and thereby reduce                     information, as well as judgments about               conclusions that contribute to his
                                                 the public health protection provided                   how to consider the range and                         decision in this review. In considering
                                                 against exposures to PM10–2.5 in ambient                magnitude of uncertainties that are                   this information, the Administrator
                                                 air, resulting in a less stringent primary              inherent in the information.                          concludes that the preliminary
                                                 PM10 standard than the current                          Accordingly, he recognizes that his                   conclusions and policy judgments
                                                 standard. These commenters have not                     decision requires judgments based on                  supporting his proposed decision
                                                 provided new evidence or analyses to                    the interpretation of the evidence that               remain valid, and that the current
                                                 support their conclusion that an                        neither overstates nor understates the                primary PM10 standard provides
                                                 appropriate degree of public health                     strength or limitations of the evidence               requisite protection of public health
                                                 protection could be achieved by                         nor the appropriate inferences to be                  with an adequate margin of safety and
                                                 allowing the use of an alternative form                 drawn. He recognizes, as described in                 should be retained. In considering the
                                                 (i.e., 99th percentile), while retaining                section I.A above, that the Act does not              2020 PA and 2022 PA evaluations and
                                                 the other elements of the standard.                     require that primary standards be set at              conclusions, the Administrator notes
                                                    With regard to the commenters’                       a zero-risk level; rather, the NAAQS                  that, while the health effects evidence is
                                                 assertion that an alternate form of the                 must be sufficient but not more                       somewhat expanded since the 2009 ISA
                                                 standard would ease the burden of                       stringent than necessary to protect                   as described in section III.A.2 above, the
                                                 demonstrating exceptional events, the                   public health, including the health of                overall conclusions are generally
                                                 EPA recognizes, consistent with the                     sensitive groups with an adequate                     consistent with those reached in the
                                                 CAA, that it may be appropriate to                      margin of safety.                                     2009 ISA (U.S. EPA, 2020b, section 4.4).
                                                 exclude monitoring data influenced by                      Given these requirements, and                      In so doing, he additionally notes that
                                                 ‘‘exceptional’’ events when making                      consistent with the primary PM2.5                     the CASAC supported the preliminary
                                                 certain regulatory determinations.                      standards discussed above (section                    conclusion in the 2019 draft PA and
                                                                                                                                                               2021 draft PA that the evidence
ddrumheller on DSK120RN23PROD with RULES3




                                                 However, the EPA notes that the cost of                 II.C.3), the Administrator’s final
                                                 implementation of the standards may                     decision in this reconsideration of the               reviewed in the 2019 ISA does not call
                                                 not be considered by the EPA in                         current primary PM10 standard will be                 into question the public health
                                                 reviewing the standards. The EPA                        a public health policy judgment that                  protection provided by the current
                                                 continues to update and develop                         draws upon the scientific information                 primary PM10 standard against PM10–2.5
                                                 documentation and tools to facilitate the               examining the health effects of PM10–2.5              exposures and concurs that it is
                                                 implementation of the 2016 Exceptional                  exposures, including how to consider                  appropriate to consider retaining the
                                                 Events Rule, including new PM2.5                        the range and magnitude of                            current primary PM10 standard (Cox,


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00099   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024              Page 111 of 217
                                                 16300             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 2019b, p. 13 of consensus responses;                    effect associations, and the biologically             reported in many epidemiologic studies
                                                 Sheppard, 2022a, p. 4 of consensus                      plausible pathways for PM10–2.5 health                that are reflected by the ‘‘suggestive of,
                                                 letter).                                                effects (U.S. EPA, 2022b, section 4.3).               but not sufficient to infer’’ causal
                                                    As noted below, the scientific                       These uncertainties contribute to the                 determinations. Thus, in light of the
                                                 evidence for PM10–2.5-related health                    2019 ISA determinations that the                      currently available information,
                                                 effects has expanded somewhat since                     evidence is ‘‘suggestive of, but not                  including the uncertainties and
                                                 the 2012 review, in particular for long-                sufficient to infer’’ causal relationships            limitations of the evidence base
                                                 term exposures. The Administrator                       (U.S. EPA, 2019a). The Administrator                  available to inform his judgments
                                                 recognizes, however, that there are a                   recognizes that the NAAQS must allow                  regarding protection against PM10–2.5-
                                                 number of uncertainties and limitations                 for a margin of safety but also places                related effects, the Administrator does
                                                 associated with the available                           emphasis on evidence supporting                       not find it appropriate to increase the
                                                 information, as described in the                        ‘‘causal’’ or ‘‘likely to be causal’’                 stringency of the standard in order to
                                                 proposal (85 FR 5558, January 27, 2023)                 relationships (as described in sections               provide the requisite public health
                                                 and below. With regard to the current                   II.A.2 and III.A.2 above). Finding that               protection. Rather, he judges it
                                                 evidence on PM10–2.5-related health                     there is too much uncertainty that a                  appropriate to maintain the level of
                                                 effects, the Administrator takes note of                more stringent standard would improve                 protection provided by the current
                                                 recent epidemiologic studies that                       public health, the Administrator judges               primary PM10 standard for PM10–2.5
                                                 continue to report positive associations                that the available evidence provides                  exposures and he does not judge that
                                                 with mortality and morbidity in cities                  support for his conclusion that the                   the available information and the
                                                 across North America, Europe, and Asia,                 current standard provides the requisite               associated uncertainties indicate the
                                                 where PM10–2.5 sources and composition                  level of protection from the effects of               need for a greater level of public health
                                                 are expected to vary widely. While                      PM10–2.5. In making this judgment, the                protection.
                                                                                                                                                                  In reaching his conclusions on the
                                                 significant uncertainties remain, as                    Administrator considers whether this
                                                                                                                                                               primary PM10 standard, the
                                                 described below, the Administrator                      level of protection is more than what is
                                                                                                                                                               Administrator also considers advice
                                                 recognizes that this expanded body of                   requisite and whether a less stringent
                                                                                                                                                               from the CASAC. In their comments, the
                                                 evidence has broadened the range of                     standard would be appropriate to
                                                                                                                                                               CASAC noted that uncertainties that
                                                 effects that have been linked with                      consider. He notes that there continues
                                                                                                                                                               were identified in the 2012 review
                                                 PM10–2.5 exposures. These studies                       to be uncertainty associated with the
                                                                                                                                                               persist in the evidence for PM10–2.5-
                                                 provide an important part of the                        evidence, as reflected by the ‘‘suggestive            related health effects (Cox, 2019b, p. 13
                                                 scientific foundation supporting the                    of, but not sufficient to infer’’ causal              of consensus responses; Sheppard,
                                                 2019 ISA’s revised causality                            determinations. The Administrator                     2022a, p. 4 of consensus letter) In
                                                 determinations (and new                                 recognizes that the CAA requirement                   considering these comments, the
                                                 determinations) for long-term PM10–2.5                  that primary standards provide an                     Administrator takes note of the CASAC
                                                 exposures and mortality, cardiovascular                 adequate margin of safety, as                         consideration of the evidence, and
                                                 effects, metabolic effects, nervous                     summarized in section I.A above, is                   associated uncertainties, and its
                                                 system effects, and cancer (U.S. EPA,                   intended to address uncertainties                     conclusion that the evidence reviewed
                                                 2019a; U.S. EPA, 2022b, section 4.2).                   associated with inconclusive scientific               in the 2019 ISA does not call into
                                                 Drawing from his consideration of this                  evidence and technical information, as                question the adequacy of the public
                                                 evidence, the Administrator concludes                   well as to provide a reasonable degree                health protection afforded by the
                                                 that the available scientific information               of protection against hazards that                    current primary PM10 standard (Cox,
                                                 supports a decision to maintain a                       research has not yet identified. In light             2019b, p. 3 of letter; Sheppard, 2022a,
                                                 primary PM10 standard to provide                        of these considerations and the current               p. 4 of consensus letter). The
                                                 public health protection against PM10–2.5               body of evidence, including                           Administrator further notes the
                                                 exposures, regardless of location, source               uncertainties and limitations, the                    unanimous conclusions of the CASAC
                                                 of origin, or particle composition. With                Administrator concludes that a less                   that evidence supports consideration of
                                                 regard to uncertainties in the evidence,                stringent standard would not provide                  retaining the current primary PM10
                                                 the Administrator first notes that a                    the requisite protection of public health,            standard (Cox, 2019b, p. 3 of consensus
                                                 number of limitations were identified in                including an adequate margin of safety.               letter; Sheppard, 2022a, p. 4 of
                                                 the 2012 review related to: (1) Estimates               The Administrator also considers                      consensus letter). In addition to the
                                                 of ambient PM10–2.5 concentrations used                 whether the level of protection                       CASAC’s advice, the Administrator also
                                                 in epidemiologic studies; (2) limited                   associated with the current standard is               considers public comments, the
                                                 evaluation of copollutant models to                     less than what is requisite and whether               majority of which supported retaining
                                                 address the potential for confounding;                  a more stringent standard would be                    the primary PM10 standard, citing to and
                                                 and (3) limited experimental studies                    appropriate to consider. In so doing, the             agreeing with the Administrator’s
                                                 supporting biological plausibility for                  Administrator considers, as discussed                 rationale for his proposed decision. The
                                                 PM10–2.5-related effects. Despite the                   above, the level of protection offered                Administrator also recognizes that a few
                                                 expanded body of evidence for PM10–2.5                  from exposures for which public health                public commenters supported revising
                                                 exposures and health effects assessed in                implications are less clear. In so doing,             the primary PM10 standard in order to
                                                 the 2019 ISA, the Administrator                         he again notes the significant                        provide increased protection against
                                                 recognizes that uncertainties remain,                   uncertainties and limitations that persist            PM10–2.5-related health effects.
                                                                                                         in the scientific evidence. In particular,
ddrumheller on DSK120RN23PROD with RULES3




                                                 similar to those in the 2012 review. As                                                                          The Administrator also notes that the
                                                 summarized in section III.A.2 above and                 he notes limitations in the approaches                scientific record for his decision on the
                                                 in responding to public comments,                       used to estimate ambient PM10–2.5                     primary PM10 standard is the same as
                                                 uncertainties in the available scientific               concentrations in epidemiologic studies,              the record before the then-Administrator
                                                 evidence continue to include those                      limited examination of the potential for              in 2020, as the scope of the ISA
                                                 associated with the exposure estimates                  confounding by co-occurring pollutants,               Supplement focused on health effect
                                                 used in epidemiologic studies, the                      and limited support for the biological                categories where the 2019 ISA
                                                 independence of the PM10–2.5 health                     plausibility of the serious effects                   concluded a causal relationship (i.e.,


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00100   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024                Page 112 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                                  16301

                                                 short- and long-term PM2.5 exposure and                 averaging time, not to be exceeded more               C. Decision on the Primary PM10
                                                 cardiovascular effects and mortality).                  than once per year on average over three              Standard
                                                 Therefore, because no health outcome                    years, is intended to protect against                   For the reasons discussed above and
                                                 categories for short- or long-term                      short-term peak PM10–2.5 exposures. In                considering information and
                                                 PM10–2.5 exposure in the 2019 ISA were                  so doing, while the Administrator notes               assessments presented in the 2019 ISA
                                                 greater than ‘‘suggestive of, but not                   that changes in PM2.5 concentrations in               and the 2022 PA, the advice from the
                                                 sufficient to infer, a causal                           ambient air can influence the                         CASAC, and public comments, the
                                                 relationship’’, the ISA Supplement did                  contribution of the fine and coarse                   Administrator concludes that the
                                                 not evaluate studies published after the                fractions to PM10 mass, such that                     current primary PM10 standard is
                                                 literature cutoff date of the 2019 ISA
                                                                                                         reductions in PM2.5 concentrations can                requisite to protect public health with
                                                 related to PM10–2.5 exposures and health
                                                                                                         lead to more allowable PM10–2.5 under                 an adequate margin of safety, including
                                                 effects. The Administrator further notes
                                                                                                         the current primary PM10 standard, he                 the health of at-risk populations, and is
                                                 his decision is consistent with the
                                                                                                         recognizes that there is no new                       retaining the current standard without
                                                 decision of the prior Administrator in
                                                                                                         information available in this                         revision.
                                                 2020 to retain the primary PM10
                                                 standard.                                               reconsideration to suggest that the                   IV. Communication of Public Health
                                                    With regard to the indicator for the                 public health protection provided by the
                                                 primary PM10 standard, the                              current standard is not requisite or that             A. Air Quality Index Overview
                                                 Administrator recognizes that the 2022                  a more stringent standard is warranted                   Information about the public health
                                                 PA notes that the evidence continues to                 at this time. The Administrator                       implications of ambient concentrations
                                                 support retaining the PM10 indicator to                 concludes that, particularly in light of              of criteria pollutants is communicated
                                                 provide public health protection against                his decision to retain the primary 24-                to the public using the Air Quality
                                                 PM10–2.5-related effects. He notes that,                hour PM2.5 standard with its level of 35              Index (AQI) reported on the EPA’s
                                                 consistent with the approaches in                       mg/m3 as described in section II.B.4                  AirNow website.133 The current AQI has
                                                 previous reviews, a standard with a                     above, the primary PM10 standard                      been in use since its inception in
                                                 PM10 mass-based indicator, in                           would be expected to maintain PM10–2.5                1999.134 It provides useful, timely, and
                                                 conjunction with a PM2.5 mass-based                     concentrations in ambient air below                   easily understandable information about
                                                 standard, will result in controlling                    those that have been considered to be                 the daily degree of pollution. The goal
                                                 allowable concentrations of PM10–2.5.                   associated with serious health effects in             of the AQI is to establish a nationally
                                                 The Administrator also takes note of the                                                                      uniform system of indexing pollution
                                                                                                         past NAAQS reviews. The
                                                 2019 ISA comparison that showed that                                                                          concentrations for ozone, carbon
                                                                                                         Administrator also notes that while the
                                                 the relative contribution of PM2.5 and                                                                        monoxide, nitrogen dioxide, PM, and
                                                 PM10–2.5 to PM10 concentrations can vary                scientific evidence available in the 2019
                                                                                                         ISA has expanded since the completion                 sulfur dioxide. The AQI is recognized
                                                 across the U.S. by region and season,                                                                         internationally as a proven tool to
                                                 with urban locations having a somewhat                  of the 2009 ISA, he concludes that this
                                                                                                                                                               effectively communicate air quality
                                                 higher contribution of PM2.5                            information does not provide support
                                                                                                                                                               information to the public as
                                                 contributing to PM10 concentrations                     for the causal or likely to be causal                 demonstrated by the fact that many
                                                 than PM10–2.5 (U.S. EPA, 2019a, section                 relationships upon which he places the                countries have created similar indices
                                                 2.5.1.1.4, Table 2–7). In these urban                   greatest weight in considering the                    based on the AQI.
                                                 locations, where PM2.5 concentrations                   adequacy of the current standards. He                    The AQI converts an individual
                                                 are somewhat higher than in rural                       further concludes that the uncertainties              pollutant concentration in a
                                                 locations, the toxicity of the PM10 may                 and limitations of the scientific                     community’s air to a number on a scale
                                                 be higher due to contaminating PM2.5.                   evidence, along with the absence of                   from 0 to 500. Reported AQI values for
                                                 Further, although uncertainties with the                information to inform a quantitative                  specific pollutants enable the public to
                                                 evidence persist, the strongest health                  exposure or risk assessment, make it                  know whether air pollution levels in a
                                                 effects evidence associated with PM10–2.5               difficult to reach decisions regarding                particular location are characterized as
                                                 comes from epidemiologic studies                        whether a more protective standard is                 good (0–50), moderate (51–100),
                                                 conducted in urban areas. He also notes                 warranted at this time. He has                        unhealthy for sensitive groups (101–
                                                 that the CASAC agreed with the EPA’s                    additionally considered the public                    150), unhealthy (151–200), very
                                                 conclusions that a PM10 indicator                       comments regarding revisions to these                 unhealthy (201–300), or hazardous
                                                 remained appropriate (Cox, 2019b, p. 13                                                                       (301+). Across criteria pollutants, the
                                                                                                         elements of the standard and continues
                                                 of consensus responses; Sheppard,                                                                             AQI value of 100 typically corresponds
                                                 2022a, p. 4 of letter). In light of this                to judge that the existing level and the
                                                                                                         existing form, in all its aspects, together           to the level of the short-term (e.g., 24-
                                                 information, the Administrator                                                                                hour, 8-hour, or 1-hour standard)
                                                 concludes that the PM10 indicator                       with the other elements of the existing
                                                                                                         standard provide an appropriate level of              NAAQS for each pollutant. Below an
                                                 remains appropriate and provides                                                                              index value of 100, an intermediate
                                                 protection from exposure to all coarse                  public health protection. For all of the
                                                                                                         reasons discussed above and                           value of 50 is defined either as the level
                                                 PM, regardless of location, source of                                                                         of the annual standard if an annual
                                                 origin, or particle composition.                        recognizing the CASAC’s conclusion
                                                                                                                                                               standard has been established (e.g.,
                                                    Similarly, with regard to averaging                  that the current evidence provides
                                                                                                                                                               PM2.5, nitrogen dioxide), a
                                                 time, form, and level of the standard,                  support for retaining the current
ddrumheller on DSK120RN23PROD with RULES3




                                                 the Administrator takes note of                         standard, the Administrator concludes                   133 See http://www.airnow.gov/.
                                                 uncertainties in the available evidence                 that the current primary PM10 standard                  134 In 1976, the EPA established a nationally
                                                 and information and continues to find                   (in all of its elements) is requisite to              uniform air quality index, then called the Pollutant
                                                 that the current standard, as defined by                protect public health with an adequate                Standard Index (PSI), for use by State and local
                                                 in all of its elements, is requisite. As an                                                                   agencies on a voluntary basis (41 FR 37660,
                                                                                                         margin of safety from effects of PM10–2.5             September 7, 1976; 52 FR 24634, July 1,1987). In
                                                 initial matter, the Administrator notes                 in ambient air and should be retained                 August 1999, the EPA adopted revisions to this air
                                                 that the current primary PM10 standard,                 without revision.                                     quality index (64 FR 42530, August 4, 1999) and
                                                 with its level of 150 mg/m3, 24-hour                                                                          renamed the index the AQI.



                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00101   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024               Page 113 of 217
                                                 16302             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 concentration equal to one-half the                     B. Air Quality Index Category                            upper AQI breakpoints (200 and above)
                                                 value of the 24-hour standard used to                   Breakpoints for PM2.5                                    and to replace the linear-relationship
                                                 define an index value of 100 (e.g.,                       Recognizing the scientific information                 approach used in 1999 to set these
                                                 carbon monoxide), or a concentration                    available and current AQI reporting                      breakpoints, with an approach that more
                                                 based directly on health effects evidence               practices, the EPA proposed several                      fully considers the PM2.5 health effects
                                                 (e.g., ozone). An AQI value greater than                                                                         evidence from controlled human
                                                                                                         revisions to the AQI PM2.5 breakpoints.
                                                 100 means that a pollutant is in one of                                                                          exposure and epidemiologic studies that
                                                                                                         EPA solicited and received comments
                                                 the unhealthy categories (i.e., unhealthy                                                                        have become available in the last 20
                                                                                                         on these proposed revisions. Upon
                                                 for sensitive groups, unhealthy, very                                                                            years (64 FR 42530, August 4, 1999).
                                                                                                         reviewing the information in the
                                                 unhealthy, or hazardous). An AQI value                  proposal and considering the comments                    a. Air Quality Index Values of 50, 100
                                                 at or below 100 means that a pollutant                  received EPA is making final revisions                   and 150
                                                 concentration is in one of the                          to the AQI category breakpoints for                         With respect to the lower AQI
                                                 satisfactory categories (i.e., moderate or              PM2.5. This section summarizes the                       breakpoints in the proposal (88 FR 5638,
                                                 good). The scientific evidence on                       proposed revisions, which can be read                    January 27, 2023), the EPA proposed to
                                                 pollutant-related health effects for each               in full in the proposal (88 FR 5638,                     conclude that it is appropriate to
                                                 NAAQS review support decisions                          January 27, 2023), significant comments,                 continue setting these breakpoints to be
                                                 related to pollutant concentrations at                  and final revisions.                                     consistent with the primary annual and
                                                 which to set the various AQI                                                                                     24-hour PM2.5 standard levels. The
                                                                                                         1. Summary of Proposed Revisions
                                                 breakpoints, which delineate the AQI                                                                             lowest AQI value of 50 provides the
                                                 categories for each individual pollutant                   One purpose of the AQI is to                          breakpoint between the ‘‘good’’ and
                                                 (i.e., the pollutant concentrations                     communicate to the public when air                       ‘‘moderate’’ categories. At and below
                                                 corresponding to index values of 150,                   quality is poor and thus when they                       this concentration, air quality is
                                                 200, 300, and 500). The AQI is reported                 should consider taking actions to reduce                 considered ‘‘good’’ for everyone. Above
                                                 three ways by the EPA and State, local                  their exposures. The higher the AQI                      this concentration, in the ‘‘moderate’’
                                                 and Tribal agencies, all of which are                   value, the higher the level of air                       category, the AQI contains advisories for
                                                 useful and complementary. The daily                     pollution and the greater the health                     unusually sensitive individuals. The
                                                 AQI is reported for the previous day and                concern. In recognition of the scientific                EPA has historically set this breakpoint
                                                 used to observe trends in community air                 information available that is informing                  at the level of the primary annual PM2.5
                                                 quality, the AQI forecast helps people                  the reconsideration of the 2020 final                    standard. In doing so, the EPA has
                                                 plan their outdoor activities for the next              decision on the primary PM2.5                            recognized that: (1) The annual standard
                                                 day, and the near-real-time AQI, or                     standards, including a number of new                     is set to provide protection to the
                                                 NowCast AQI, tells people whether it is                 controlled human exposure and                            public, including at-risk populations,
                                                 a good time for outdoor activity.                       epidemiologic studies published since                    from PM2.5 concentrations, which, when
                                                                                                         the completion of the 2009 ISA, as well                  experienced on average for a year, have
                                                    Historically, State and local agencies               as additional epidemiologic studies
                                                 have primarily used the AQI to provide                                                                           the potential to result in adverse health
                                                                                                         from other peer reviewed documents                       effects; and (2) the AQI exposure period
                                                 general information to the public about                 that evaluate the health effects of
                                                 air quality and its relationship to public                                                                       represents a shorter exposure period
                                                                                                         wildfire smoke exposure and that can                     (e.g., 24-hour (or less)) while focusing
                                                 health. For more than two decades,                      inform the selection of AQI breakpoints                  on the most sensitive individuals. The
                                                 many State and local agencies, as well                  at higher PM2.5 concentrations,135 the                   EPA saw no basis for deviating from this
                                                 as the EPA and other Federal agencies,                  EPA proposed to make two sets of                         approach in this reconsideration. Thus,
                                                 have been developing new and                            changes to the PM2.5 sub-index of the                    the EPA proposed to set the AQI value
                                                 innovative programs and initiatives to                  AQI. First, the EPA proposed to                          of 50 at a daily (i.e., 24-hour) average
                                                 provide more information related to air                 continue to use the approach used in                     concentration equal to the level of the
                                                 quality and health messaging to the                     the revisions to the AQI in 2012 (77 FR                  primary annual PM2.5 standard that is
                                                 public in a more timely way. These                      38890, June 29, 2012) of setting the                     promulgated.
                                                 initiatives, including air quality                      lower breakpoints (50, 100 and 150) to                      The historical approach to setting an
                                                 forecasting, near real-time data reporting              be based on the levels of the primary                    AQI value of 100, which is the
                                                 through the AirNow website, use of data                 PM2.5 annual and 24-hour standards and                   breakpoint between the ‘‘moderate’’ and
                                                 from air quality sensors on the EPA and                 proposed to revise the lower                             ‘‘unhealthy for sensitive groups’’
                                                 U.S. Forest Service’s (USFS) Fire and                   breakpoints to be consistent with                        categories, and above which advisories
                                                 Smoke Map, and air quality action day                   changes to the primary PM2.5 standards                   are generated for sensitive groups, is to
                                                 programs, provide useful, up-to-date,                   that are part of this reconsideration.                   set it at the same level as the primary
                                                 and timely information to the public                    Second, the EPA proposed to revise the                   24-hour PM2.5 standard. In so doing, the
                                                 about air pollution and its health effects.                                                                      EPA has recognized that the primary 24-
                                                 Such information can help the public                       135 In evaluating the scientific evidence available   hour PM2.5 standard is set to provide
                                                 learn when their well-being may be                      to inform decisions regarding the AQI breakpoints,       protection to the public, including at-
                                                 compromised, so they can take actions                   the EPA considered studies that were included as
                                                                                                         a part of the 2019 ISA and ISA Supplement, but
                                                                                                                                                                  risk populations, from short-term
                                                 to avoid or to reduce exposures to                      also considered other studies that were not              exposures to PM2.5 concentrations that
                                                 ambient air pollution at concentrations                 included as a part of the review of the air quality      have the potential to result in adverse
                                                 of concern. This information can also                   criteria. The ISAs have specific criteria for study
ddrumheller on DSK120RN23PROD with RULES3




                                                                                                                                                                  health effects. Given this, it is
                                                 encourage the public to take actions that               inclusion and consideration in reaching
                                                                                                         conclusions regarding causal relationships, and
                                                                                                                                                                  appropriate to generate advisories for
                                                 will reduce air pollution on days when                  some studies that may not have met those criteria        sensitive groups at concentrations above
                                                 concentrations are projected to be of                   (e.g., epidemiologic studies that evaluate the health    this level. In the past, State, local, and
                                                 concern to local communities (e.g., air                 effects of wildfire smoke exposure that would have       Tribal air quality agencies have
                                                                                                         higher PM2.5 concentrations, which are outside of
                                                 quality action day programs can                         the scope of the ISA) were identified as studies that
                                                                                                                                                                  expressed strong support for this
                                                 encourage individuals to drive less or                  could be used to inform decisions on the AQI,            approach (78 FR 3086, January 15,
                                                 carpool).                                               particularly for the upper breakpoints.                  2013). The EPA saw no basis to deviate


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00102   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM    06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024                Page 114 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                                 16303

                                                 from this approach in this                              evidence, which suggested that as PM2.5               2021b).137 Thus, the EPA concluded
                                                 reconsideration. In the proposal (88 FR                 concentrations increase, increasingly                 that it is appropriate to reevaluate the
                                                 5638, January 27, 2023), the EPA                        larger numbers of people are likely to                upper AQI breakpoints, taking into
                                                 proposed to retain the current primary                  experience serious health effects in this             account the expanded body of scientific
                                                 24-hour PM2.5 standard with its level of                range of PM2.5 concentrations (64 FR                  evidence, particularly given several new
                                                 35 mg/m3 but took comment on revising                   42536, August 4, 1999). For the AQI                   epidemiologic studies conducted during
                                                 the level of that standard to 25 mg/m3                  breakpoint of 500, the concentration                  high pollution events like wildfires and
                                                 (section II.D.3.b). Thus, the EPA                       was based on the method used to                       multiple controlled human exposure
                                                 proposed to retain the AQI value of 100                 establish a previously existing PM10                  studies. While it remains unclear the
                                                 set at the level of the current primary                 breakpoint that was informed by studies               exact PM2.5 concentrations at which
                                                 24-hour PM2.5 standard concentration of                 conducted in London using the British                 specific health effects occur, the more
                                                 35 mg/m3 (i.e., 24-hour average).                       Smoke method, which uses a different                  recent studies do provide more refined
                                                    With respect to an AQI value of 150,                                                                       information about the concentration
                                                 which is the breakpoint between the                     particle size cutpoint as noted in the
                                                                                                                                                               range in which these effects might occur
                                                 ‘‘unhealthy for sensitive groups’’ and                  proposal (88 FR 5639, January 27, 2023).
                                                                                                                                                               in some populations. These studies
                                                 ‘‘unhealthy categories,’’ this breakpoint               Due to limited ambient PM2.5                          provide support for coherence of effects
                                                 concentration in this reconsideration is                monitoring data available at that time,               across scientific disciplines and
                                                 based upon the considering the same                     the decision on the 500 value                         potentially biologically plausible
                                                 health effects information, as assessed                 concentration for PM2.5 was based on                  pathways for the overt population-level
                                                 in the 2019 ISA and ISA Supplement                      the stated assumption that PM                         health effects observed in epidemiologic
                                                 and described in section II above, that                 concentrations measured by the British                studies. Therefore, taking into account
                                                 informs the proposed decisions on the                   Smoke method were approximately                       the short exposure time period in these
                                                 level of the 24-hour standard and the                   equivalent to PM2.5 concentrations (64                studies (e.g., 1–6 hours) and that the
                                                 AQI value of 100. Previously, the                       FR 42530, August 4, 1999). Given that                 studies generally do not include at-risk
                                                 Agency has used a proportional                          the British Smoke method has a larger                 (or sensitive) populations, but rather
                                                 adjustment in which the AQI value of                    particle size cutpoint than the current               young, healthy adults, these studies, in
                                                 150 was set proportionally to the AQI                   PM2.5 monitoring method, which has a                  conjunction with information from
                                                 value of 100. This proportional                         cutpoint of 2.5 microns, a concentration              epidemiologic studies, the EPA
                                                 adjustment inherently recognizes that                   of 500 mg/m3 based on the British                     preliminarily concluded it would be
                                                 the available epidemiologic studies                     Smoke method would be equivalent to                   appropriate to be more cautionary and
                                                 provide no evidence of discernible                      a lower PM2.5 concentration. With                     offer advisories to the public for
                                                 thresholds, below which effects do not                  respect to the upper breakpoints of the               reducing exposures at lower
                                                 occur in either sensitive groups or in the              AQI, the EPA has historically been                    concentrations than recommended with
                                                 general population, that could inform                   concerned about establishing these                    the current AQI breakpoints.
                                                 conclusions regarding concentrations at                 upper breakpoints using evidence based                   The AQI value of 200 is the
                                                 which to set this breakpoint. Given that                on larger size fractions of PM, given that            breakpoint between the ‘‘unhealthy’’
                                                 the epidemiologic evidence continues to                                                                       and ‘‘very unhealthy’’ categories. At
                                                                                                         PM2.5 is the indicator for the AQI. While
                                                 be the most relevant health effects                                                                           AQI values above 200, the AQI would
                                                                                                         monitoring data for higher PM2.5
                                                 evidence for informing this range of AQI                                                                      be providing a health warning that the
                                                 values, the EPA saw no basis to deviate                 concentrations in ambient air has been                risk of anyone experiencing a health
                                                 from this approach in this                              available for many years, the health                  effect following short-term exposures to
                                                 reconsideration. Therefore, the EPA                     effects evidence has only recently                    these PM2.5 concentrations has
                                                 proposed to set an AQI value of 150                     become available for consideration in                 increased. To inform proposed
                                                 proportionally, depending on the                        informing decisions on the upper                      decisions on this breakpoint, the EPA
                                                 breakpoint concentration of the AQI                     breakpoints of the AQI.                               takes note of studies indicating the
                                                 value of 100 (i.e., 55.4 for a 24-hour                     As part of this reconsideration, the               potential for respiratory or
                                                 standard of 35 mg/m3).                                  EPA recognized that the health effects                cardiovascular effects that are on their
                                                                                                         evidence associated with PM2.5                        own representative of or are on the
                                                 b. Air Quality Index Values of 200 and
                                                                                                         exposure has greatly expanded in recent               biologically plausible pathway to more
                                                 Above
                                                                                                         years. Multiple controlled human                      serious health outcomes (e.g.,
                                                    In the proposal (88 FR 5639, January                 exposure studies have become available                emergency department visits, hospital
                                                 27, 2023), the EPA summarized the                       that provide information about health                 admissions). The controlled human
                                                 history of setting the AQI values of 300                                                                      exposure studies evaluated in the 2009
                                                                                                         effects across a range of concentrations.
                                                 and above in the 1999 rule (64 FR                                                                             and 2019 ISAs provide evidence of
                                                                                                         While many of the new studies
                                                 42530, August 4, 1999) and established                                                                        inflammation as well as cardiovascular
                                                                                                         evaluated in the 2019 ISA focused on
                                                 breakpoints for PM2.5 in that range. In                                                                       effects in healthy subjects at and above
                                                 general, the AQI values between 100                     examining health effects associated with
                                                                                                         exposure to lower PM2.5 concentrations,               120 mg/m3. For example, Ramanathan et
                                                 and 500 were based on PM2.5                                                                                   al. (2016) observed a transient reduction
                                                 concentrations that generally reflected a               there are also several new controlled
                                                                                                         human exposure studies that provide                   in antioxidant/anti-inflammatory
                                                 linear relationship between increasing                                                                        function after exposing healthy young
                                                 index values and increasing PM2.5                       information about the health effects
                                                                                                         observed in study participants at                     subjects to a mean concentration of 150
                                                 concentrations.136 It was found that this
ddrumheller on DSK120RN23PROD with RULES3




                                                                                                         concentrations well above the standard                mg/m3 of PM2.5 for 2 hours. Urch et al.
                                                 linear relationship was generally
                                                 consistent with the health effects                      levels. Additionally, there are also                    137 In this reconsideration, the controlled human
                                                                                                         epidemiologic studies now available                   exposure studies were evaluated in the 2019 ISA,
                                                    136 The AQI breakpoint at 150 was originally set     and evaluated in other Agency peer-                   whereas the epidemiologic studies of wildfire
                                                 in 1999 to be linearly related to the concentrations    reviewed documents that can inform                    smoke exposures were included in the EPA
                                                 at the 100 and 500 breakpoints but then revised in                                                            Comparative Assessment of the Impacts of
                                                 2012 to be proportional to the AQI breakpoint
                                                                                                         health effects associated with higher                 Prescribed Fire Versus Wildfire (CAIF): A Case
                                                 concentration at 100 (78 FR 3181, January 15, 2013).    PM2.5 concentrations (U.S. EPA,                       Study in the Western U.S. (U.S. EPA 2021b).



                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00103   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024              Page 115 of 217
                                                 16304             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 (2010) also reported increased markers                  discussed above and in the proposal (88                 increases in blood pressure.
                                                 of inflammation when exposing both                      FR 5640, January 27, 2023), this                        Additionally, Behbod et al. (2013)
                                                 asthmatic and non-asthmatic subjects to                 concentration is at the lower end of the                reported increased inflammatory
                                                 a mean concentration of 140 mg/m3 of                    concentrations consistently shown to be                 markers following a 2-hour exposure to
                                                 PM2.5 for 3 hours. In studies specifically              associated with respiratory and                         an average PM2.5 concentration of 250
                                                 examining cardiovascular effects, Ghio                  cardiovascular effects in controlled                    mg/m3 in healthy subjects.
                                                 et al. (2000) and Ghio et al. (2003)                    human exposure studies following
                                                                                                                                                                    In addition to the controlled human
                                                 exposed healthy subjects to a mean                      short-term exposures (e.g., 2–3 hours)
                                                 concentration of 120 mg/m3 for 2 hours                  and in young, healthy adults (Ghio et                   exposure studies discussed above, the
                                                 and reported significantly increased                    al., 2000; Ghio et al., 2003; Urch et al.,              epidemiologic study conducted by
                                                 levels of fibrinogen, a marker of                       2010; Ramanathan et al., 2016;                          DeFlorio-Barker et al. (2019) examined
                                                 coagulation that increases during                       Sivagangabalan et al., 2011; and Brook                  the relationship between wildfire smoke
                                                 inflammation. Sivagangabalan et al.                     et al., 2009) and also within the range                 and cardiopulmonary hospitalizations
                                                 (2011) exposed healthy subjects to a                    of 5-day average and maximum                            among adults 65 years of age and older
                                                 mean concentration of 150 mg/m3 of                      concentrations observed to be associated                from 2008–2010 in 692 U.S. counties.
                                                 PM2.5 for 2 hours and noted an                          with respiratory-related outcomes                       The authors reported a 2.22% increase
                                                 increased QT interval (3.4 ± 1.4)                       following exposure to wildfire smoke                    in all-cause respiratory hospitalizations
                                                 indicating some evidence for                            (Hutchinson et al., 2018).                              on wildfire smoke days for a 10 mg/m3
                                                 conduction abnormalities, an indicator                     The AQI value of 300 denotes the                     increase in 24-hour average PM2.5
                                                 of possible arrhythmias. Lastly, Brook et               breakpoint between the ‘‘very                           concentrations (DeFlorio-Barker et al.,
                                                 al. (2009) reported a transient increase                unhealthy’’ and ‘‘hazardous’’ categories,               2019). The maximum 24-hour average
                                                 of 2.9 mm Hg in diastolic blood pressure                and thus marks the beginning of the                     concentration in this study on wildfire
                                                 in healthy subjects during the 2-hour                   ‘‘hazardous’’ AQI category. At AQI                      smoke days was 212.5 mg/m3 (DeFlorio-
                                                 exposure to a mean concentration of 148                 values above 300, the AQI provides a                    Barker et al., 2019). In considering this
                                                 mg/m3 of PM2.5.                                         health warning that everyone is likely to               study, the EPA notes the increased
                                                    In addition to epidemiologic studies                 experience effects following short-term                 probability that even healthy adults
                                                 evaluated in the 2019 ISA that analyzed                 exposures to these PM2.5 concentrations.                experience effects at this maximum
                                                 exposures at ambient PM2.5                              To inform decisions on this AQI                         exposure concentration, particularly
                                                 concentrations, there are a number of                   breakpoint, the EPA takes note of                       given that this maximum concentration
                                                 recent epidemiologic studies focusing                   controlled human exposure studies that
                                                                                                                                                                 is near the exposure concentrations in
                                                 on wildfire smoke that have become                      consistently show subclinical effects
                                                                                                                                                                 controlled human exposure studies that
                                                 available that were evaluated in the                    which are often associated with more
                                                 EPA’s recently released peer-reviewed                   severe cardiovascular outcomes. As                      consistently reported evidence of
                                                 assessment on wildland fire (U.S. EPA,                  discussed above, Brook et al. (2009)                    impaired vascular function and several
                                                 2021b). One of these studies,                           reported a transient increase of 2.9 mm                 that reported increases in blood
                                                 Hutchinson et al. (2018), conducted a                   Hg in diastolic blood pressure in                       pressure in healthy adults following 2-
                                                 bidirectional case-crossover analysis to                healthy subjects during the 2-hour                      hour exposures.
                                                 examine associations between wildfire-                  exposure to a mean concentration of 148                    Based on the information discussed
                                                 specific PM2.5 exposure and respiratory-                mg/m3 of PM2.5. Bellavia et al. (2013)                  above and in the proposal (88 FR 5640,
                                                 related healthcare encounters (i.e., ED                 exposed healthy subjects to an average                  January 27, 2023), the EPA proposed to
                                                 visits, inpatient hospital admissions,                  PM2.5 concentration of 242 mg/m3 for 2                  revise the 300 level of the AQI, which
                                                 and outpatient visits) prior and during                 hours and reported increased systolic                   marks the beginning of the ‘‘hazardous’’
                                                 the 2007 San Diego wildfires. This study                blood pressure (2.53 mm Hg). Tong et al.                AQI category, to a concentration that is
                                                 found positive and significant                          (2015) exposed healthy subjects to an                   consistent with the PM2.5 concentrations
                                                 associations to PM2.5 exposures and                     average PM2.5 concentration of 253 mg/                  associated with health effects as
                                                 respiratory-related healthcare                          m3 for 2 hours and observed a                           reported in the controlled human
                                                 encounters. Further, during the initial 5-              significant increase in diastolic blood                 exposure (Brook et al., 2009; Bellavia et
                                                 day period of the wildfire event, the                   pressure (2.1 mm Hg) and a                              al., 2013; Tong et al., 2015; Behbod et
                                                 study observed that there was evidence                  nonsignificant increase in systolic blood               al., 2013) and epidemiologic studies
                                                 of increases in a number of respiratory-                pressure (2.5 mm Hg). Lucking et al.                    (DeFlorio-Barker et al. (2019).
                                                 related outcomes particularly ED visits                 (2011) reported impaired vascular                       Specifically, the Agency proposed to set
                                                 for asthma, upper respiratory infection,                function and increased potential for                    an AQI value of 300 at a daily (i.e., 24-
                                                 respiratory symptoms, acute bronchitis,                 coagulation when exposing healthy                       hour average) PM2.5 concentration of
                                                 and all respiratory-related visits                      subjects to diesel exhaust (DE) with an
                                                                                                                                                                 225 mg/m3. This concentration falls
                                                 (Hutchinson et al., 2018). When                         average PM2.5 concentration of 320 mg/
                                                 examining the air quality during the                                                                            between the 2-hour average
                                                                                                         m3 for a duration of 1 hour.138 These
                                                 wildfire event, PM2.5 concentrations                                                                            concentrations reported in controlled
                                                                                                         studies all provided evidence of
                                                 were highest during the initial five days                                                                       human exposure studies found to be
                                                                                                         impaired vascular function, including
                                                 of the wildfire, with 24-hour average                                                                           consistently associated, in healthy
                                                                                                         vasodilatation impairment and
                                                 PM2.5 concentrations of 89.1 mg/m3                      increased thrombus formation, with                      adults, with impaired vascular function
                                                 across all zip codes and with the highest               Tong et al. (2015), Bellavia et al. (2013),             and/or increases in blood pressure,
                                                                                                                                                                 which could both be a precursor to more
ddrumheller on DSK120RN23PROD with RULES3




                                                 24-hour average of 160 mg/m3 on the                     Brook et al. (2009) all reporting
                                                 first day (Hutchinson et al., 2018).                                                                            severe cardiovascular effects following
                                                    When considering this collective body                   138 Although participants in Lucking et al. (2011)   short-term (1- to 2-hour) exposures, and
                                                 of evidence from controlled human                       were exposed to diesel exhaust (DE), the authors        the maximum 24-hour average PM2.5
                                                 exposure and epidemiologic studies, the                 also conducted analyses using a particle trap, and      concentrations on wildfire smoke days
                                                                                                         as noted in the 2019 ISA, this type of study design
                                                 Agency proposed to set an AQI value of                  allows for the assessment of the role of PM2.5 on the
                                                                                                                                                                 reported in the epidemiologic study
                                                 200 at a daily (i.e., 24-hour average)                  health effects observed by removing PM from the         conducted by DeFlorio-Barker et al.
                                                 concentration of PM2.5 of 125 mg/m3. As                 DE mixture.                                             (2019).


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00104   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                                          Document #2043704                                                 Filed: 03/06/2024                      Page 116 of 217
                                                                          Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                                                                  16305

                                                 c. Air Quality Index Value of 500                                           DE with a mean PM2.5 concentration of                                       longitudinal study that reported
                                                    Lastly, the EPA also proposed                                            320 mg/m3 for 1 hour.140 Epidemiologic                                      exposure to wildfire smoke from a
                                                 revisions to the 500 value of the AQI.                                      studies have linked the types of                                            multi-month fire resulted in reduced
                                                 The 500 value of the AQI is within the                                      cardiovascular effects observed in these                                    lung function in subsequent years and
                                                 ‘‘hazardous’’ category but is specified                                     controlled human exposure studies with                                      concluded that exposure to high PM2.5
                                                 and used to calculate the slope of the                                      the exacerbation of ischemic heart                                          concentrations during a multi-week fire
                                                 AQI values in the ‘‘hazardous category’’                                    disease (IHD) and heart failure as well                                     event may lead to health consequences,
                                                 above and below AQI values of 500. In                                       as myocardial infarction (MI) and                                           such as declines in lung function.
                                                 the past, this breakpoint had a very                                        stroke.                                                                     During the 2017 wildfire event (August
                                                 prominent role in determining the                                              In addition to the controlled human                                      1 to September 19, 2017), Orr et al.
                                                 current upper AQI values given that it                                      exposure studies discussed in the                                           (2020) reported that many days during
                                                 was used as part of the linear                                              proposal (88 FR 5641, January 27, 2023)                                     the multi-month fire had PM2.5
                                                 relationship with the concentration at                                      and summarized above, recent                                                concentrations above 300 mg/m3,
                                                 the AQI value of 100 to determine the                                       epidemiologic studies examining the                                         resulting in a daily average PM2.5
                                                 AQI values of 200 and 300 in 1999 (64                                       relationship between concentrations of                                      concentration of 220.9 mg/m3 with a
                                                 FR 42530, August 4, 1999).                                                  PM2.5 during wildfires and respiratory                                      maximum PM2.5 concentration of 638
                                                    As discussed above and in the                                            health also informed the proposed                                           mg/m3.
                                                 proposal (88 FR 5641, January 27, 2023),                                    decisions on the concentration for the
                                                                                                                             AQI value of 500. As discussed in the                                          The controlled human exposure
                                                 the current breakpoint concentration for                                                                                                                studies provide biological plausibility
                                                 the 500 value of the AQI was set in 1999                                    proposal (88 FR 5641, January 27, 2023)
                                                                                                                             and summarized earlier in this section,                                     for results of epidemiologic studies that
                                                 at a 24-hour average PM2.5 concentration                                                                                                                document increases in respiratory-
                                                 of 500 mg/m3 and was based on studies                                       Hutchinson et al. (2018) reported
                                                                                                                             increases in a number of respiratory-                                       related health care events during the
                                                 conducted in London using the British                                                                                                                   wildfires. The collective evidence from
                                                 Smoke method, which used a different                                        related ED visits for asthma, upper
                                                                                                                             respiratory infection, respiratory                                          controlled human exposure and
                                                 particle size cutpoint and likely
                                                                                                                             symptoms, acute bronchitis, and all                                         epidemiologic studies, which includes
                                                 overestimated the PM2.5 concentration.
                                                                                                                             combined respiratory-related visits                                         decreases in stroke volume, increased
                                                 In looking to improve upon that
                                                                                                                             based on data from Medi-Cal claims for                                      arterial stiffness, impaired vascular
                                                 approach, the EPA considered several
                                                                                                                             emergency department presentations,                                         function and respiratory-related
                                                 recent controlled human exposure
                                                                                                                             inpatient hospitalizations, and                                             healthcare encounters provide health-
                                                 studies that observe health effects that
                                                                                                                             outpatient visits during the initial 5-day                                  based evidence that informed the
                                                 are on the biologically plausible
                                                                                                                             period of the 2007 San Diego fire.                                          proposed decisions on the level of the
                                                 pathway to more severe cardiovascular
                                                                                                                             During the initial 5-day window, PM2.5                                      AQI value of 500. Given the
                                                 outcomes and note that these seem to
                                                                                                                             concentrations were found to be at their                                    concentrations observed in these
                                                 follow exposures to high PM2.5
                                                 concentrations that are well above those                                    highest with the 95th percentile of 24-                                     studies, the Agency proposed to revise
                                                 typically observed in ambient air. More                                     hour average concentrations of 333 mg/                                      the AQI value of 500 to a level set at a
                                                 specifically, in controlled human                                           m3.                                                                         daily (i.e., 24-hour average) PM2.5
                                                 exposure studies, Vieira et al. (2016a)                                        Although studies of short-term (i.e.,                                    concentration of 325 mg/m3. This
                                                 and Vieira et al. (2016b) exposed                                           daily) exposures to wildfire smoke are                                      concentration is at or below the lowest
                                                 healthy subjects and subjects with heart                                    more informative in considering                                             concentrations observed in the
                                                 failure to diesel exhaust (DE) with a                                       alternative level for the AQI value of                                      controlled human exposure studies
                                                 mean PM2.5 concentration of 325 mg/m3                                       500 since they mirror the 24-hour                                           associated with more severe effects
                                                 for 21 minutes and reported decreased                                       exposure timeframe, additional                                              discussed above and also at the low end
                                                 stroke volume, and increased arterial                                       information from epidemiologic studies                                      of the daily concentrations observed in
                                                 stiffness (an indicator of endothelial                                      of longer-term exposures (i.e., over                                        the epidemiologic studies conducted by
                                                 dysfunction) in both healthy and heart                                      many weeks) during wildfire events can                                      Hutchinson et al. (2018) and Orr et al.
                                                 failure subjects.139 Also as summarized                                     provide supporting information. As                                          (2020).
                                                 above and discussed in the proposal (88                                     discussed in the proposal (88 FR 5641,                                         Table 1 below summarizes the
                                                 FR 5641, January 27, 2023), Lucking et                                      January 27, 2023) and summarized here,                                      proposed breakpoints for the PM2.5 sub-
                                                 al. (2011) exposed healthy subjects to                                      Orr et al. (2020) conducted a                                               index.

                                                                                                           TABLE 1—PROPOSED BREAKPOINTS FOR PM2.5 SUB-INDEX
                                                                                                                                                                                                                                     Proposed
                                                                                                                                                                                                                                    breakpoints
                                                                                                                 AQI category                                                                            Index values             (μg/m3, 24-hour
                                                                                                                                                                                                                                     average)

                                                 Good ................................................................................................................................................            0–50                    0.0–(9.0–10.0)
                                                 Moderate ..........................................................................................................................................            51–100                   (9.1–10.1)–35.4
                                                 Unhealthy for Sensitive Groups .......................................................................................................                        101–150                         35.5–55.4
                                                 Unhealthy .........................................................................................................................................           151–200                        55.5–125.4
ddrumheller on DSK120RN23PROD with RULES3




                                                 Very Unhealthy ................................................................................................................................               201–300                       125.5–225.4



                                                   139 These effects were attenuated when the DE                               140 When applying a particle trap, PM                                     and thrombus formation were attenuated indicating
                                                                                                                                                                    2.5
                                                 was filtered, to reduce PM2.5 concentrations,                               concentrations were reduced, and effects associated                         associations with PM2.5.
                                                 indicating the effects were likely associated with                          with cardiovascular function including impaired
                                                 PM2.5 exposure.                                                             vascular function, as measured by vasodilatation



                                            VerDate Sep<11>2014         19:03 Mar 05, 2024          Jkt 262001       PO 00000       Frm 00105        Fmt 4701       Sfmt 4700       E:\FR\FM\06MRR3.SGM          06MRR3
                                                       USCA Case #24-1051                                        Document #2043704                                               Filed: 03/06/2024                   Page 117 of 217
                                                 16306                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                                                             TABLE 1—PROPOSED BREAKPOINTS FOR PM2.5 SUB-INDEX—Continued
                                                                                                                                                                                                                              Proposed
                                                                                                                                                                                                                             breakpoints
                                                                                                               AQI category                                                                          Index values          (μg/m3, 24-hour
                                                                                                                                                                                                                              average)

                                                 Hazardous 1 .....................................................................................................................................           301+                            225.5
                                                    1 AQI values between breakpoints are calculated using equation 1 in appendix G. For AQI values in the hazardous category, AQI values great-
                                                 er than 500 should be calculated using equation 1 and the PM2.5 concentration specified for the AQI value of 500.


                                                 2. Summary of Significant Comments on                                     decisions are connected to the AQI                                        areas with strong contributions from
                                                 Proposed Revisions                                                        while others are based on PM                                              local or seasonal sources, even when
                                                    The EPA received many comments on                                      concentrations, which could lead to                                       annual average PM2.5 concentrations
                                                 the proposed changes to the PM2.5 AQI                                     inconsistent messaging reducing the                                       remain relatively low. Because the
                                                 breakpoints. Many commenters                                              public’s trust. These comments were                                       annual standard provides public health
                                                 generally supported all the proposed                                      supported by noting that revised                                          protection for typical daily PM2.5
                                                 revisions to the AQI breakpoints based                                    breakpoints could lead to more                                            exposures, the EPA thinks it is
                                                 on the revisions to the primary annual                                    moderate days than in the past, but the                                   appropriate to use that level for the 50
                                                 and daily PM2.5 standards and recent                                      monitor values would be the same as                                       breakpoint of the AQI and describe
                                                 scientific evidence discussed in the                                      before when the commenters considered                                     daily air quality at and below the level
                                                 proposal (88 FR 5558, January 27, 2023).                                  it ‘‘healthy,’’ possibly eroding trust in                                 of the annual standard ‘‘Good.’’ Since an
                                                 However, we received specific                                             air agencies’ messaging. Commenters                                       annual standard allows for days with air
                                                 comments on proposed revisions to the                                     also noted if the breakpoints are revised,                                quality above that level, it is appropriate
                                                 breakpoints in the lower end of the AQI,                                  the public will not visually be able to                                   to call days just above it ‘‘Moderate.’’ If
                                                 related to their linkage to the annual                                    detect the difference between what was                                    the 50 breakpoint of the AQI was set at
                                                 and daily PM2.5 standards, and proposed                                   considered a good AQI day versus a                                        a level above the annual standard, it
                                                 revisions to the breakpoints at the upper                                 now moderate AQI day.                                                     would be possible for the majority of
                                                 end of the AQI, based on EPA’s                                               The EPA disagrees with these                                           days to be called ‘‘good’’ in a year when
                                                 interpretation of available health effects                                commenters. With respect to setting a                                     an area exceeds the annual standard.
                                                 evidence.                                                                 short-term breakpoint to the level of a                                   This could cause confusion with the
                                                                                                                           much longer-term (annual) standard,                                       public about air quality if the general
                                                 a. Air Quality Index Values of 50, 100,                                   setting the lower AQI breakpoints at the                                  perception is that local air quality is
                                                 and 150                                                                   level of the annual and daily PM2.5                                       ‘‘good,’’ but the area fails to meet the
                                                    Some commenters agreed with using                                      standards for communication purposes                                      annual standard. In addition, the EPA
                                                 the historical approach of setting the 50,                                was discussed in the proposed                                             continues to find it appropriate to use
                                                 100 and 150 breakpoints of the AQI to                                     reconsideration (88 FR 5558, January 27,                                  the NowCast with the PM2.5 AQI index
                                                 be consistent with the primary PM2.5                                      2023) and previously supported by State                                   to provide more real-time information to
                                                 standards. Some cited the reason that                                     organizations in the 2012 PM Final Rule                                   the public. As discussed in the AQI
                                                 this approach creates consistent                                          (77 FR 38890, June 29, 2012). Both the                                    Technical Assistance Document, while
                                                 communication with respect to air                                         AQI and the Pollutant Standards Index,                                    the NowCast algorithm is approximating
                                                 quality and the standards, and this is                                    which came before it, have historically                                   a 24-hour average exposure, it can
                                                 how the other AQI sub-indices are set.                                    been normalized across pollutants by                                      reflect concentrations observed over
                                                 A few commenters disagreed with the                                       defining an index value of 50 and 100                                     shorter averaging times when air quality
                                                 historical approach and suggested                                         as the numerical level of the annual                                      is changing rapidly (U.S. EPA, 2018a).
                                                 instead that the 50 breakpoint of the                                     (when defined) and short-term (i.e.,                                      The EPA continues to consider the use
                                                 AQI should not be revised at all, or that                                 averaging time of 24-hours or less)                                       of the primary annual standard level
                                                 the 50 and 100 breakpoints of the AQI                                     primary NAAQS for each pollutant.                                         suitable in the NowCast given the health
                                                 should be supported directly by health                                    This approach clearly communicates the                                    evidence supporting the standard and
                                                 data similar to the basis for the                                         air quality to the public. The EPA                                        given that the reported concentrations
                                                 proposed 200, 300 and 500 breakpoints.                                    considers this approach to be                                             are an approximation of ‘‘typical’’ daily
                                                    The few commenters that disagreed                                      appropriate given the available evidence                                  exposure. Additionally, the EPA reflects
                                                 with the historical approach of the 50                                    and structure of the standard. As                                         the nature of the NowCast in the
                                                 breakpoint of the AQI noted that setting                                  discussed in section II.B above and in                                    associated health messaging.
                                                 a short-term breakpoint to annual                                         the notice of final rulemaking for the                                       With regard to the commenter stating
                                                 standard was not logical since it is a                                    2012 review (77 FR 38890, June 29,                                        the public may not be able to visually
                                                 long-term standard and not meant to be                                    2012), the primary annual and 24-hour                                     detect a difference in the air quality, the
                                                 interpreted for short-term messaging                                      PM2.5 standards work together in                                          EPA notes that the AQI is intended to
                                                 with the AQI, in particular when                                          concert to provide public health                                          be a communication tool for public
                                                 reported hourly via the NowCast. These                                    protection. The annual PM2.5 standard is                                  awareness precisely because it is
                                                 commenters also noted that additional                                                                                                               generally difficult for the public to
ddrumheller on DSK120RN23PROD with RULES3




                                                                                                                           generally viewed as the principal means
                                                 studies are needed to identify the health                                 of providing public health protection                                     visually judge air quality risks when air
                                                 impacts of short-term exposures at low                                    against ‘‘typical’’ daily and annual PM2.5                                pollution is ‘‘moderate.’’ Moreover,
                                                 concentrations. They also noted that                                      exposures, while the 24-hour PM2.5                                        since the establishment of the AQI, the
                                                 lowering the 50 breakpoint of the AQI                                     standard is generally viewed as a means                                   EPA and State and local air agencies
                                                 in conjunction with the annual standard                                   of providing protection against short-                                    and organizations have developed
                                                 may cause confusion with the public                                       term exposures to ‘‘peak’’ PM2.5                                          experience in educating the public
                                                 because some State programs and policy                                    concentrations, such as can occur in                                      about changes in the standards and,


                                            VerDate Sep<11>2014         19:03 Mar 05, 2024        Jkt 262001       PO 00000       Frm 00106       Fmt 4701       Sfmt 4700      E:\FR\FM\06MRR3.SGM         06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024              Page 118 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                          16307

                                                 concurrently, related changes to AQI                    view that this would more adequately                  commenters stated the proposed
                                                 breakpoints and advisories. When the                    allow the public to take health-                      revisions to the AQI upper breakpoints
                                                 standards change, the EPA and State                     protective actions.                                   are not justified because the scientific
                                                 and local agencies have sought to help                     The EPA disagrees with these                       evidence supporting the revisions is
                                                 the public understand that air quality is               commenters and notes that many State,                 inadequate. To support this view, the
                                                 not getting worse, it’s that the health                 Tribal and local air agencies have                    commenters suggest that only three
                                                 evidence underlying the standards and                   expressed strong support for aligning                 epidemiologic studies were used in
                                                 the AQI has changed. The EPA’s Air                      the 100 breakpoint of the AQI with the                determining the upper breakpoints and
                                                 Quality System (AQS), the primary                       short-term 24-hour primary PM2.5                      none of them were representative of
                                                 repository for air quality monitoring                   standards as discussed in the proposal                potential effects in the general public; of
                                                 data, is also adjusted to reflect the                   (88 FR 5558, January 27, 2023). The EPA               the 13 studies cited only three were near
                                                 revised breakpoints. Specifically, all                  agrees with the view, expressed by                    the proposed revised breakpoints; four
                                                 historical AQI values in AQS are                        State, local and Tribal entities, that                of the studies involved exposure to PM
                                                 recomputed with the revised                             aligning the lower breakpoints with the               from diesel and traffic pollution, which
                                                 breakpoints, so that all data queries and               standards enables clear communication                 is different than PM from wildfire
                                                 reports downstream of AQS will show                     of the standards. This alignment                      smoke; and the data supporting the
                                                 appropriate trends in AQI values over                   approach is also utilized in the other                revisions only indicated ‘‘mild’’ health
                                                 time. If any State, local or Tribal air                 AQI sub-indices lower breakpoints and                 effects that were mostly in sensitive
                                                 agency is concerned that people are or                  taking a different approach with the                  populations.
                                                 will be confused on a moderate AQI                      PM2.5 AQI could cause confusion.                         The EPA agrees with the majority of
                                                 day, then they could use the                            Additionally, the Administrator has                   commenters that supported utilizing the
                                                 communication information that has                      judged that it is appropriate to retain the           expanded body of scientific evidence to
                                                 been developed with this rulemaking.                    24-hour standard at a level of 35 mg/m3               revise the 200, 300 and 500 breakpoints
                                                    Some commenters stated that the AQI                  (in conjunction with the other primary                of the AQI. The EPA appreciates the
                                                 should not necessarily be linked to the                 standards) to protect public health with              suggestion of using a revised linear
                                                 primary PM2.5 standards. One example                    an adequate margin of safety, based on                approach from 200 to 500. But rather
                                                 is the comment that if the annual                       the health evidence discussed in section              than using the available evidence to
                                                 standard is not lowered to 8 mg/m3, the                 II.A.2. Thus, EPA disagrees that it is                only set the breakpoint of 500, the EPA
                                                 EPA should lower the 50 breakpoint of                   necessary or appropriate to set the 100               finds it appropriate to set the
                                                 the AQI to that level to better inform the              breakpoint at a lower concentration to                breakpoints for 200, 300 and 500 using
                                                 public of the need for behavioral                       provide further information to the                    an evidence-based approach, by relying
                                                 modifications to reduce the harm to                     public. The 50 breakpoint, which is set               on information presented in both
                                                 health from PM2.5 exposure. Similar to                  at a level below 25 mg/m3, will continue              controlled human exposure studies and
                                                 the reasons discussed above, the EPA                    to provide information to members of                  epidemiologic studies that examine
                                                 concludes that setting the 50 breakpoint                the public particularly concerned about               relationships between high PM2.5
                                                 of the AQI at the level of the annual                   exposures to PM2.5. As with the 50                    exposure episodes (i.e., periods of
                                                 PM2.5 standard is appropriate from a                    breakpoint, aligning the breakpoint with              wildfire smoke) and various health
                                                 health perspective and for                              the standard both reflects the                        outcomes. Setting these breakpoints
                                                 communication purposes. The                             Administrator’s judgment about the                    based directly on health effects
                                                 Administrator has judged the primary                    health risks and eliminates the potential             evidence, which can be communicated,
                                                 annual standard (in conjunction with                    to cause confusion in the public about                is more useful and appropriate than
                                                 the other primary standards) as revised                 those risks.                                          using a linear approach, because it can
                                                 in this final action to be requisite to                                                                       better describe the potential health
                                                                                                         b. Air Quality Index Values of 200 and
                                                 protect public health with an adequate                                                                        effects and symptoms which also helps
                                                                                                         Above
                                                 margin of safety, based on the health                                                                         the public better understand why more
                                                 evidence discussed in section II.A.2.                      Some commenters supported the                      health protective actions are needed. By
                                                 Setting the 50 breakpoint lower than the                proposed revisions to the 200, 300 and                its nature, a linear approach does not
                                                 annual standard also has the potential to               500 breakpoints that recognize the                    evaluate and identify associated health
                                                 cause confusion with the public since it                expanded body of scientific evidence,                 effects and risk factors.
                                                 does not reflect the standards and the                  particularly several new epidemiologic                   The EPA disagrees with the
                                                 Administrator’s judgments about the                     studies conducted during high pollution               commenters that expressed the view
                                                 standards as well.                                      events such as wildfires and multiple                 that these upper breakpoints should not
                                                    With regard to the 100 breakpoint of                 controlled human exposure studies. A                  be revised based largely on the
                                                 the AQI, several commenters expressed                   few commenters agreed with                            numerous peer-reviewed studies
                                                 the view that the level of the 24-hour                  incorporating the expanded body of                    published since the 200, 300 and 500
                                                 PM2.5 standard and an AQI value of 100                  scientific evidence into the 200, 300 and             breakpoints were originally established
                                                 should be set at 25 mg/m3 based on the                  500 breakpoints, but suggested a                      in 1999 (64 FR 42530, August 4, 1999).
                                                 body of evidence and lower end of the                   modified linear approach between 200                  As discussed in the proposal (88 FR
                                                 range recommended by CASAC. These                       (115 mg/m3) and 500 (312 mg/m3, setting               5641, January 27, 2023), the rationale
                                                 commenters noted that if the current 24-                the 300 breakpoint to 187 mg/m3) based                behind the proposed revisions is rooted
                                                 hour standard and AQI value of 100 is                   on recent epidemiologic wildfire smoke                in the fact the upper AQI breakpoints
ddrumheller on DSK120RN23PROD with RULES3




                                                 retained at 35 mg/m3 then the public                    studies.                                              are based on outdated scientific
                                                 will not be able to make informed                          Other commenters disagreed with the                evidence. Specifically, the traditional
                                                 decisions about actions to take to                      proposed revisions and suggested the                  linear approach was predicated on the
                                                 protect their health. Many of these                     EPA should continue using the previous                500 value of the AQI, which was
                                                 commenters further recommended that                     breakpoints that follow the 1999 linear               estimated using health studies that used
                                                 the AQI value of 100 should be lowered                  approach (64 FR 42530, August 4, 1999),               the British Smoke Method. The British
                                                 to 25 mg/m3 even if the standard is                     because not changing the breakpoints                  Smoke Method is based on a particle
                                                 retained. Commenters expressed the                      would simplify communications. A few                  size fraction (4.5 microns) that is larger


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00107   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024              Page 119 of 217
                                                 16308             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 than PM2.5. Given that the British Smoke                et al., 2016; Sivagangabalan et al., 2011; take actions to reduce PM2.5 exposures.
                                                 method has a larger particle size                       Brook et al., 2009; Bellavia et al. (2013);Furthermore, with regard to an
                                                 cutpoint than the current PM2.5                         Tong et al. (2015); Behbod et al. (2013);  additional warning system, the EPA is
                                                 monitoring method, which has a                          Vieira et al. (2016a) Vieira et al. (2016b);
                                                                                                                                                    concerned that having two air quality
                                                 cutpoint of 2.5 microns, a concentration                and Lucking et al. (2011)).                communication systems operating at the
                                                 of 500 mg/m3 based on the British                                                                  same time would likely be confusing to
                                                                                                         c. Other Comments
                                                 Smoke method would be equivalent to                                                                the public and reduce the effectiveness
                                                 a lower PM2.5 concentration (88 FR                         The EPA received a few additional       of the systems.
                                                 5641, January 27, 2023). The                            comments on elements of the PM2.5 AQI,        At the same time, the EPA recognizes
                                                 combination of a larger particle size                   including the averaging time. Some         that when air quality is rapidly
                                                 fraction informing previous decisions                   commenters expressed the view that the changing, such as during wildfire smoke
                                                 around upper AQI breakpoints and                        24-hour averaging time was not useful      events, reporting information based on a
                                                 more recent scientific evidence than the                when informing the public how to           24-hour metric may not be as useful for
                                                 London Fog Episode, on the potential                    protect their health, particularly during  the public as reporting more frequently
                                                 health consequences of what we                          rapidly changing conditions such as        would be. The EPA has balanced
                                                 currently consider to be high PM2.5                     wildfire smoke events. Instead, they       concerns about being able to provide
                                                 exposures, provides the underlying                      suggested a subdaily averaging time of     timely communication of air quality
                                                 basis for revising the upper breakpoints                1–3 hours would be more effective          hazards when conditions are changing
                                                 to better inform the public about air                   because it more closely aligns with how quickly with the goal of limiting the
                                                 quality to allow the public to take health              people breathe.                            number of air quality communications
                                                 protective actions as appropriate.                         A few of these commenters suggested     systems and its judgment that the
                                                 Moreover, as discussed above, until                     that instead of changing the AQI           evidence supports a 24-hour-based
                                                                                                         averaging time, which aligns with the      metric linked to the daily standard by
                                                 recently there was limited information
                                                                                                         short-term standard, the EPA could         establishing the NowCast, which takes
                                                 upon which to base the breakpoints
                                                                                                         create a public health warning system      into consideration subdaily PM2.5
                                                 between 150 and 500, so the linear
                                                                                                         for unhealthy PM2.5 levels. The            concentrations and provides a near real-
                                                 approach was a reasonable substitute.
                                                                                                         commenters noted that aligning the AQI time AQI value based on the AQI colors
                                                 While not changing the breakpoints may
                                                                                                         averaging time with the short-term         and scale. Specifically, the NowCast
                                                 be easier because there is no change to
                                                                                                         standard could be useful for consistent    shows air quality conditions for the
                                                 communicate, using a health-based
                                                                                                         communication with the standards and       most current hour of PM2.5 data
                                                 approach is more appropriate, because it
                                                                                                         attainment but suggested that a subdaily available by using a calculation that
                                                 helps the public better understand that
                                                                                                         warning system could better allow the      involves multiple hours of past data. As
                                                 more health protective actions are                      public to take health protective actions.
                                                 needed.                                                                                            noted in the AQI Technical Assistance
                                                                                                            The EPA disagrees that a shorter        Document, the NowCast currently uses
                                                    The Agency disagrees that the                        averaging period for the PM2.5 AQI sub-    longer averages during periods of stable
                                                 scientific evidence discussed in the                    index would be better. The health          air quality and shorter averages (down
                                                 proposal is inadequate to revise the 200,               effects evidence supporting a subdaily     to a 3-hour average) when air quality is
                                                 300 and 500 breakpoints of the AQI (88                  metric is limited and inconsistent. As     changing rapidly, such as during a
                                                 FR 5640, January 27, 2023). The EPA                     part of its review of the health effects   wildfire (U.S. EPA, 2018a). As discussed
                                                 disagrees that these studies should not                 evidence, the 2019 ISA evaluated           further in section IV.D.2 of this notice,
                                                 be considered because they ‘‘indicated                  whether a subdaily metric would be         the EPA uses the NowCast to
                                                 mild health effects in sensitive                        more closely related to health effects.    approximate the complete daily AQI
                                                 populations.’’ The EPA notes that many                  Most epidemiologic studies that            (24-hour average) during any given
                                                 of the subclinical effects discussed in                 examined the relationship between          hour. This means the subdaily NowCast
                                                 the proposal (88 FR 5640, January 27,                   short-term PM2.5 exposures and health      is approximating a 24-hour average
                                                 2023) that informed the breakpoints are                 effects evaluated an exposure metric       exposure, which aligns with the health
                                                 on the biologically plausible pathway                   averaged over 24-hours. Some recent        evidence and the existing AQI
                                                 (see 2019 ISA, section 6.1.1 and Figure                 studies, focusing on respiratory and       communications network, while also
                                                 6–1) to more severe cardiovascular                      cardiovascular effects and mortality,      being capable of communicating rapidly
                                                 outcomes, such as ED visits, hospital                   have examined whether there is             changing conditions to the public.
                                                 admissions, and death as depicted in                    evidence that subdaily exposure metrics
                                                 the large number of epidemiologic                       are more closely related to health effects 3. Summary of Final Revisions
                                                 studies evaluated in the 2019 ISA and                   than a traditional 24-hour average            Upon reviewing and considering the
                                                 ISA Supplement. From a public health                    metric. After evaluating this limited      comments on the proposed revisions
                                                 perspective, the purpose of the AQI is                  newer evidence, the 2019 ISA               (summarized above in Section IV.C)
                                                 to inform the public when air quality                   concluded that ‘‘collectively, the         along with the scientific evidence
                                                 could adversely affect their health. The                available evidence does not indicate       outlined in the proposal (88 FR 5639,
                                                 scientific evidence informed revisions                  that subdaily averaging periods for        January 27, 2023) and summarized
                                                 to the breakpoints at the upper end of                  PM2.5 are more closely associated with     above in section IV.A, the EPA is
                                                 the AQI allow it to better reflect the risk             health effects than the 24-hour avg        finalizing the proposed changes to the
                                                 of experiencing health effects at higher                exposure metric,’’ (2019 ISA, chapter 1,   AQI.
                                                 PM2.5 concentrations. In addition, the                                                                Thus, as discussed in section IV of the
ddrumheller on DSK120RN23PROD with RULES3




                                                                                                         section 1.5.2.1, pp. 146–147; U.S. EPA,
                                                 EPA disagrees with the commenter that                   2022a).                                    preamble (88 FR 5639, January 27, 2023)
                                                 the effects reported at these higher                       In addition, there are communication    to the proposed rule, the EPA is taking
                                                 concentrations were observed only in                    benefits to aligning the averaging time of final action to revise the AQI value of
                                                 sensitive populations as these effects                  the AQI with the daily standard, as        50 to 9.0 mg/m3, 24-hour average,
                                                 were also reported in healthy                           some of these commenters note, such as consistent with the final decision on the
                                                 populations (Ghio et al., 2000; Ghio et                 providing consistent messages about        primary annual PM2.5 standard level as
                                                 al., 2003; Urch et al., 2010; Ramanathan                when it may be beneficial for people to    summarized in section II.C of the


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00108   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024              Page 120 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                         16309

                                                 preamble to the final rule; retain the                  weekends. Since that time, advances in                recommendation to report the AQI in
                                                 AQI value of 100 at 35 mg/m3, 24-hour                   technology have allowed for reporting                 near-real-time.
                                                 average, consistent with the final                      seven days per week automatically                        In addition to the proposed updates to
                                                 decision on the primary 24-hour PM2.5                   without expending additional resources                the reporting requirements and
                                                 standard level as summarized in section                 on weekends. As a result, most State,                 recommendations for near-real-time
                                                 II.C of the preamble to the final rule;                 local, and Tribal air agencies now report             reporting and data submission
                                                 and retain the AQI value of 150 at 55 mg/               the AQI seven days per a week. Given                  recommendations, the Agency also
                                                 m3, 24-hour average. The EPA is also                    these technological advances and noting               proposed reformatting the question-and-
                                                 taking action to revise the AQI value of                that reporting agencies currently report              answer format used in appendix G to
                                                 200 to 125 mg/m3, 24-hour average; 300                  the AQI seven days per week, the EPA                  align with the current standard
                                                 to 225 mg/m3, 24-hour average; and 500                  proposed that State, local, and Tribal                formatting used in the Code of Federal
                                                 to 325 mg/m3, 24-hour average,                          agencies that report the AQI be required              Regulations. In proposing to update the
                                                 consistent with the rationale discussed                 to report it seven days a week, ensuring              format, the EPA did not reopen the
                                                 above and the health evidence                           that the members of the public continue               language that has merely been moved or
                                                 discussed in section IV of the preamble                 to have access to daily air quality and               rearranged as there are no substantive
                                                 (88 FR 5639, January 27, 2023) to the                   health information that they can use to               changes.
                                                 proposed rule. The EPA has prepared                     take steps to protect their health.                      Another change the EPA proposed to
                                                 communications materials to assist                        Improvements in monitoring                          make to appendix G is with regard to
                                                 States with adjusting to the revised AQI                networks and modeling capabilities                    Table 2—Breakpoints for the AQI for
                                                 and looks forward to working with, and                  have also enabled the ability to report               purposes of clarity. As discussed in the
                                                 learning from the experiences of, State,                the AQI in near real-time. This allows                proposal (88 FR 5642, January 27, 2023)
                                                 local, and Tribal governments in                                                                              and summarized here, the EPA
                                                                                                         State, local, and Tribal air agencies to
                                                 implementing these changes.                                                                                   proposed to collapse the two rows
                                                                                                         provide timely air quality information to
                                                                                                                                                               presented for the Hazardous Category
                                                 C. Air Quality Index Category                           the public for making health-protective
                                                                                                                                                               into one. The two rows in the current
                                                 Breakpoints for PM10                                    decisions and to help satisfy AQI
                                                                                                                                                               table specify pollutant concentrations
                                                                                                         reporting requirements. The availability
                                                    The EPA proposed to retain the PM10                                                                        for two AQI ranges within the
                                                                                                         of near real-time AQI data also allows
                                                 sub-index of the AQI consistent with the                                                                      Hazardous category (301–400 and 401–
                                                                                                         for more timely responses by the public
                                                 proposed decision to retain the primary                                                                       500), with an intermediate break at 400.
                                                                                                         when air quality conditions are
                                                 PM10 standard, and consistent with the                                                                        The 400 breakpoint for all criteria
                                                                                                         changing rapidly, such as during
                                                 health effects information that supports                                                                      pollutants in the current Table 2 is set
                                                                                                         wildfire smoke events. Subdaily                       at the proportional pollutant
                                                 this proposed decision, as discussed in
                                                                                                         reporting of the AQI can be critical                  concentration approximately halfway
                                                 section III.D of the proposal (88 FR
                                                                                                         when there are rapidly change                         between the Index values of 300 and
                                                 5632, January 27, 2023). EPA did not
                                                                                                         conditions and/or high pollution events               500. In proposing updated AQI
                                                 receive comments on this and is taking
                                                                                                         so that the public is able to make                    breakpoints for PM2.5, the EPA
                                                 final action to retain the PM10 sub-index
                                                                                                         informed decisions to protect their                   considered adjusting the 400 breakpoint
                                                 of the AQI for the reasons stated in the
                                                                                                         health. Many State, local, and Tribal air             similarly. However, the EPA concluded
                                                 preamble to the proposed rule (88 FR
                                                                                                         agencies currently report the AQI hourly              that collapsing the two rows into a
                                                 5642, January 27, 2023).
                                                                                                         to ensure that the public has access to               single range (301–500) would provide a
                                                 D. Air Quality Index Reporting                          accurate and timely information. In                   more transparent and easy-to-follow
                                                   With respect to the reporting                         recognition of these advances, and to                 presentation of the pollutant
                                                 requirements for the AQI and as noted                   continue to provide for near-real time                concentrations corresponding to the
                                                 in the proposal (88 FR 5642, January 27,                AQI reporting that the public has come                AQI range for the Hazardous category.
                                                 2023) there have been many                              to rely on, the EPA proposed to                       Moreover, collapsing the Hazardous
                                                 technological advances in air quality                   recommend that State, local, and Tribal               category into a single row in Table 2 has
                                                 monitoring and data reporting since the                 agencies report the AQI in near-real                  no substantive effect on the Emergency
                                                 appendix G to 40 CFR part 58 was last                   time.                                                 Episode program in 40 CFR part 51,
                                                 revised in 1999. Federal, State, local,                   In lieu of or along with reporting the              appendix L. Thus, the EPA proposed to
                                                 and Tribal agencies have used these                     near-real-time AQI directly to the                    remove the breakpoint of 400 from the
                                                 changes to make health information and                  public, most State/local and Tribal                   table in appendix G but this change
                                                 air quality data more readily available                 agencies submit hourly air quality data               would not substantively affect the
                                                 and easier to access. Given this, it is                 to the EPA. The EPA and some State,                   derivation of the AQI for any pollutant.
                                                 useful to update the reporting                          local and Tribal air quality agencies use                In addition, the EPA proposed to
                                                 requirements and recommendations to                     this near-real-time data to create                    move some information currently in
                                                 match current practices and ensure the                  products for use by the public, weather               appendix G into the Technical
                                                 public has the most useful and timely                   service providers and the media as                    Assistance Document for the Reporting
                                                 information to take health-protective                   discussed in the proposal (88 FR 5643,                of Daily Air Quality, or TAD (U.S. EPA,
                                                 behaviors.                                              January 27, 2023). To continue to ensure              2018a), so that it can be updated in a
                                                                                                         the availability of the products that the             more timely manner to reflect current
                                                 1. Summary of Proposed Revisions                        public and many stakeholders rely                     scientific and health effects evidence
                                                    Currently, appendix G defines daily                  upon, the EPA proposed to recommend
ddrumheller on DSK120RN23PROD with RULES3




                                                                                                                                                               and current communication methods,
                                                 reporting as five days per week. When                   that State, local, and Tribal air quality             thereby assisting State, local, and Tribal
                                                 this reporting requirement was                          agencies submit hourly data to the                    agencies in providing accurate and
                                                 originated in 1999 the technology                       EPA’s air quality database. Submitting                timely information to the public.
                                                 available at that time was not sufficient               hourly data to the EPA for use on the                 Information that was proposed to be
                                                 to calculate and report the AQI more                    AirNow website and in other products                  moved from appendix G to the TAD
                                                 than five days per week without                         also enables State, local, and Tribal air             included the definitions of the sensitive
                                                 requiring additional staffing on the                    quality agencies to meet the                          (at-risk) populations for each pollutant.


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00109   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024               Page 121 of 217
                                                 16310             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 This definition is typically evaluated                     A few commenters noted that the                    Quality Index (AQI)), the NowCast
                                                 and updated, as warranted, in most                      proposal preamble language mentioned                  algorithm is based on the AQI
                                                 NAAQS reviews, even if the standard is                  AQI is reported three ways (88 FR 5637,               methodology but provides more real-
                                                 not revised. Generally, if the standard is              5638, January 27, 2023): ‘‘The AQI is                 time information to the public (U.S.
                                                 not revised in a review of the NAAQS,                   reported three ways all of which are                  EPA, 2018a). While the NowCast
                                                 then appendix G is also not revised.                    useful and complementary. The daily                   algorithm is approximating a 24-hour
                                                 Moving the definitions of sensitive                     AQI is reported for the previous day and              average exposure, it can reflect
                                                 groups to the TAD allows them to be                     used to observe trends in community air               concentrations observed over shorter
                                                 updated even when a NAAQS is not                        quality, the AQI forecast helps people                averaging times when air quality is
                                                 revised to be consistent with the                       plan their outdoor activities for the next            changing rapidly (U.S. EPA, 2018a). The
                                                 definitions of the sensitive (at-risk)                  day, and the near-real-time AQI, or                   EPA reflects the nature of the NowCast
                                                 populations identified in the ISA for                   NowCast AQI, tells people whether it is               in the health messaging provided there.
                                                 that NAAQS review. Also, the proposal                   a good time for outdoor activity.’’ These                As noted in the above discussion of
                                                 (88 FR 5642, January 27, 2023)                          commenters suggested that the NowCast                 the AQI, air quality can change quickly
                                                 recognized that the ways that air quality               is being codified in 40 CFR part 58                   during the day. A central purpose of the
                                                 and health information is supplied to                   Appendix G as a method of calculating                 AQI is to help the public know when it
                                                 the news media and public changes                       the AQI, which they oppose, saying that               is prudent to take action to reduce their
                                                 regularly and thus proposed that                        codifying its use is inappropriate given              exposure to pollution. Accordingly, the
                                                 information about suggested approaches                  the shortest averaging period of the                  EPA developed the NowCast to estimate
                                                 for public communication be taken out                   PM2.5 NAAQS remains at 24-hours.                      the 24-hour AQI for the current hour to
                                                 of appendix G and discussed in the                      Some stated that NowCast values have                  give people information and tools to
                                                 TAD.                                                    no direct correlation to the AQI                      reduce their exposures to protect their
                                                                                                         calculation methodology codified in 40                health, particularly when air quality
                                                 2. Summary of Significant Comments on                                                                         may be changing. The NowCast gives
                                                                                                         CFR part 58 Appendix G. These
                                                 the Proposed Revisions                                                                                        people the knowledge and ability to take
                                                                                                         commenters say that codifying the
                                                    The EPA received many comments on                    NowCast would impose a significant                    timely action. They can use this
                                                 the proposed changes to AQI reporting,                  burden on States’ forecasting staff.                  information to reduce their exposure—
                                                 many of which supported the proposed                       However, some other commenters                     reducing exposures if PM2.5 is high only
                                                 revisions. EPA discusses several of the                 noted they appreciate the public-                     during a few hours a day will help
                                                 topics that received the most attention                 friendly format and near real-time data               reduce a person’s 24-hour exposure—or
                                                 from commenters below. Discussion of                    the NowCast provides and use it in their              be active when air quality is better.
                                                 other comments received on the                          clinical encounters with patients. One                   The first NowCast method was
                                                 proposed changes to the AQI can be                      air agency recognized the importance of               developed in 2003 and was designed so
                                                 found in section IV of the Responses to                 the NowCast near real-time AQI during                 ‘‘current conditions’’ represent the 24-
                                                 Significant Comments on the 2023                        high pollution events and suggested the               hour PM2.5 standard as closely as
                                                 Proposed Reconsideration of the                         EPA should provide more ‘‘concrete’’                  possible. This method proved to be slow
                                                 National Ambient Air Quality Standards                  health messaging for these short-term                 to respond during rapid air quality
                                                 for Particulate Matter.                                 spikes.                                               changes. In 2013, the EPA developed an
                                                    Most commenters expressed support                       The EPA disagrees that the preamble                updated NowCast method for PM2.5 141
                                                 for revising the definition of ‘‘daily                  language proposed to codify the                       that responds more quickly to rapidly
                                                 reporting’’ from five days a week to                    NowCast or to impose a burden on                      changing air quality conditions, such as
                                                 seven days a week. A commenter did                      reporting agencies. The preamble to the               those we see during wildfires, to make
                                                 not support this change and                             proposed rule references the AQI being                air quality alerts more timely. We
                                                 recommended the EPA maintain the                        reported in three ways and it does so                 analyzed millions of data points in
                                                 definition of daily as five days per week,              because the EPA and many State, local                 developing this NowCast method and
                                                 noting that State and local air agencies                and Tribal air quality agencies already               presented this information to State,
                                                 do not routinely work seven days per                    report it these three ways. However, text             local and Tribal air agencies. The
                                                 week and would not be available to                      included in the preamble is generally                 updated NowCast, which is still in use,
                                                 perform quality control of this data and                explanatory and does not alter                        was launched August 1, 2013, on
                                                 report it reliably on weekends.                         regulatory provisions. Comments that                  AirNow.gov. It was designed to
                                                    The EPA appreciates the support for                  State that EPA is codifying the NowCast               represent a shorter average (target 3-
                                                 this proposed revision and disagrees                    into Appendix G are incorrect. Further,               hour) when air quality is changing
                                                 that the proposed change would require                  in proposed revisions to 40 CFR part 58               rapidly, in part because 3-hour averages
                                                 personnel to perform quality control of                 Appendix G, the EPA recommended,                      from some continuous monitors are
                                                 AQI data on weekends. 40 CFR part 58                    but did not propose to require, the use               more stable than 1-hour averages. The
                                                 Appendix D defines continuous                           of air quality forecasts and a subdaily               NowCast reflects a longer-term (12-hour)
                                                 monitoring requirements for agencies                    AQI. Consistent with the proposal, the                average when air quality is stable.
                                                 participating in the State/Local Air                    EPA is therefore not finalizing any                      After evaluating the 2013 NowCast
                                                 Monitoring Stations (SLAMS) network,                    additional requirement or burden on                   method, the EPA concluded that it
                                                 and Appendix G states that agencies ‘‘                  States’ forecasting staff relative to                 matched the desired characteristics. The
                                                 . . . must use concentration data from                  forecasts or a subdaily AQI.                          NowCast method responds to rapid
                                                 State/Local Air Monitoring Stations                        The EPA disagrees with the comment
ddrumheller on DSK120RN23PROD with RULES3




                                                                                                                                                               changes in air quality yet still reflects a
                                                 (SLAMS) required by 40 CFR 58.10’’                      that the NowCast values have no direct
                                                 when reporting the AQI. Therefore, as                   correlation to the AQI calculation                      141 U.S. EPA. (2013). Transitioning to a New

                                                 noted in Appendix D and G, Agencies                     methodology codified in 40 CFR part 58                NowCast Method. Presentation available in the
                                                 are required to report the AQI using                    Appendix G. As noted in the AQI                       Rulemaking Docket for the Review of the National
                                                                                                                                                               Ambient Air Quality Standards for Particulate
                                                 monitors within SLAMS, which are not                    Technical Assistance Document                         Matter (EPA–HQ–OAR–2015–0072), at: https://
                                                 subject to daily quality control/                       (Technical Assistance Document for the                www.regulations.gov/docket/EPA-HQ-OAR-2015-
                                                 validation.                                             Reporting of Daily Air Quality—the Air                0072.



                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00110   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                                          Document #2043704                                                 Filed: 03/06/2024                        Page 122 of 217
                                                                          Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                                                                       16311

                                                 longer-term average when air quality is                                     of the AQI that the NowCast provides                                        seven days a week; recommend that
                                                 stable; will work in any location with                                      and suggested more specific messaging                                       State, local, and Tribal agencies report
                                                 adequate air quality data and for any air                                   is needed. The EPA appreciates this                                         the AQI in near-real time; recommend
                                                 quality situation; gives people the best                                    insight and will continue to consider                                       that State, local, and Tribal air quality
                                                 possible estimate of a 24-hour exposure;                                    ways to communicate air quality                                             agencies submit hourly data to the
                                                 allows the EPA to caution people in                                         information most effectively to the                                         EPA’s air quality database; reformat
                                                 time for them to take protective action                                     public. For example, in light of recent                                     appendix G to align with the current
                                                 and reduce their 24-hour exposure; and                                      wildfire events, the EPA worked with                                        standard formatting used in the Code of
                                                 ensures that AQI maps on AirNow more                                        the USFS to pilot the AirNow Fire and                                       Federal Regulations; collapse the two
                                                 closely match what people see.                                              Smoke Map.                                                                  rows in Table 2 presented for the
                                                    The AQI is designed to allow people                                                                                                                  Hazardous Category into one by
                                                 to reduce their exposure when pollution                                     3. Summary of Final Revisions
                                                                                                                                                                                                         removing the 400 breakpoint; and move
                                                 levels are higher and be active outdoors                                       Upon reviewing and considering the
                                                                                                                                                                                                         some information currently in appendix
                                                 when pollution levels are lower. Since                                      comments on the proposed revisions
                                                                                                                             (summarized above in Section IV.C)                                          G into the Technical Assistance
                                                 air quality almost always changes
                                                                                                                             along with the rationale outlined in the                                    Document for the Reporting of Daily Air
                                                 during the day, that level of granularity
                                                                                                                             proposal (88 FR 5638, January 27, 2023)                                     Quality, or TAD (U.S. EPA, 2018a) such
                                                 is not possible with a 24-hour forecast.
                                                                                                                             and summarized above in section IV.C,                                       as including the definitions of the
                                                 If the public has only the 24-hour
                                                                                                                             the EPA is finalizing the proposed                                          sensitive (at-risk) populations for each
                                                 forecast, they may miss the times to be
                                                 active outdoors when air quality is                                         changes to the AQI reporting                                                pollutant and suggested approaches for
                                                 better and may be active outdoors when                                      requirements. Thus, as discussed in                                         public communication as stated in the
                                                 air quality is worse.                                                       section IV of the preamble to the                                           revised Appendix G.
                                                    Also as noted above, many entities                                       proposed rule, the EPA is taking final                                        Table 2 below summarizes the
                                                 appreciate the near real-time reporting                                     action to require the AQI be reported                                       breakpoints for the PM2.5 sub-index.

                                                                                                                      TABLE 2—BREAKPOINTS FOR PM2.5 SUB-INDEX
                                                                                                                                                                                                                                      Breakpoints
                                                                                                                 AQI category                                                                            Index values           (μg/m3, 24-hour average)

                                                 Good ................................................................................................................................................             0–50                                0.0–9.0
                                                 Moderate ..........................................................................................................................................             51–100                              9.1–35.4
                                                 Unhealthy for Sensitive Groups .......................................................................................................                         101–150                             35.5–55.4
                                                 Unhealthy .........................................................................................................................................            151–200                            55.5–125.4
                                                 Very Unhealthy ................................................................................................................................                201–300                           125.5–225.4
                                                 Hazardous 1 .....................................................................................................................................                 301+                                  225.5
                                                   1 AQI values between breakpoints are calculated using equation 1 in appendix G. For AQI values in the hazardous category, AQI values great-
                                                 er than 500 should be calculated using equation 1 and the PM2.5 concentration specified for the AQI value of 500.


                                                 V. Rationale for Decisions on the                                           December 2017,143 as presented in the                                       (U.S. EPA, 2022a). The selection of
                                                 Secondary PM Standards                                                      2019 ISA (U.S. EPA, 2019a), on the non-                                     welfare effects evaluated within the ISA
                                                                                                                             ecological public welfare effects of PM                                     Supplement was based on the causality
                                                    This section presents the rationale for                                  pertaining to the presence of PM in                                         determinations reported in the 2019 ISA
                                                 the Administrator’s decision that no                                        ambient air, specifically visibility,                                       and the subsequent use of scientific
                                                 change to the current secondary PM                                          climate, and materials effects.                                             evidence in the 2020 PA.145
                                                 standards is required at this time to                                       Additionally, this decision is based on
                                                 provide requisite protection against the                                    a thorough evaluation of some studies                                       Specifically, studies must be peer reviewed and
                                                 public welfare effects of PM within the                                     that became available after the literature                                  published between approximately January 2018 and
                                                 scope of this reconsideration (i.e.,                                        cutoff date of the 2019 ISA that could                                      March 2021’’ (U.S. EPA, 2022a, section 1.2.2).
                                                                                                                                                                                                            145 As described in section 1.2.1 of the ISA
                                                 visibility, climate, and materials                                          either further inform the adequacy of
                                                                                                                                                                                                         Supplement, ‘‘the selection of welfare effects to
                                                 effects).142 This decision is based on a                                    the current PM NAAQS or address key                                         evaluate within this Supplement is based on the
                                                 thorough review of the scientific                                           scientific topics that have evolved since                                   causality determinations reported in the 2019 PM
                                                 evidence generally published through                                        the literature cutoff date for the 2019                                     ISA and the subsequent use of scientific evidence
                                                                                                                             ISA, generally through March 2021, as                                       in the 2020 PM PA. The 2019 PM ISA concluded
                                                                                                                                                                                                         a causal relationship for each of the welfare effects
                                                    142 Consistent with the 2016 Integrated Review                           presented in the ISA Supplement 144                                         categories evaluated (i.e., visibility, climate effects,
                                                 Plan (U.S. EPA, 2016), other welfare effects of PM,                                                                                                     and materials effects). While the 2020 PM PA
                                                 including ecological effects, are being considered in                         143 In addition to the 2020 review’s opening ‘‘call                       considered the broader set of evidence for these
                                                 the separate, on-going review of the secondary                              for information’’ (79 FR 71764, December 3, 2014),                          effects, for climate effects and material effects, it
                                                 NAAQS for oxides of nitrogen, oxides of sulfur and                          the 2019 ISA identified and evaluated studies and                           concluded that there remained ‘substantial
                                                 PM. Accordingly, the public welfare protection                              reports that have undergone scientific peer review                          uncertainties with regard to the quantitative
                                                 provided by the secondary PM standards against                              and were published or accepted for publication                              relationships with PM concentrations and
                                                 ecological effects such as those related to deposition                      between January 1, 2009 through approximately                               concentration patterns that limit[ed] [the] ability to
                                                 of nitrogen- and sulfur-containing compounds in                             January 2018 (U.S. EPA, 2019a, p. ES–2). References                         quantitatively assess the public welfare protection
ddrumheller on DSK120RN23PROD with RULES3




                                                 vulnerable ecosystems is being considered in that                           that are cited in the 2019 ISA, the references that                         provided by the standards from these effects (U.S.
                                                 separate review. Thus, the Administrator’s decision                         were considered for inclusion but not cited, and                            EPA, 2020b). Given these uncertainties and
                                                 in this reconsideration will be focused only and                            electronic links to bibliographic information and                           limitations, the basis of the discussion on
                                                 specifically on the adequacy of public welfare                              abstracts can be found at: https://hero.epa.gov/hero/                       conclusions regarding the secondary standards in
                                                 protection provided by the secondary PM standards                           particulate-matter.                                                         the 2020 PM PA primarily focused on visibility
                                                 from effects related to visibility, climate, and                              144 As described in more detail in the ISA                                effects. Therefore, this Supplement focuses only on
                                                 materials and hereafter ‘‘welfare effects’’ refers to                       Supplement, ‘‘the scope of this Supplement                                  visibility effects in evaluating newly available
                                                 non-ecological welfare effects (i.e., visibility,                           provides specific criteria for the types of studies                         scientific information and is limited to studies
                                                 climate, and materials effects).                                            considered for inclusion within the Supplement.                                                                           Continued




                                            VerDate Sep<11>2014         19:03 Mar 05, 2024          Jkt 262001       PO 00000       Frm 00111        Fmt 4701       Sfmt 4700       E:\FR\FM\06MRR3.SGM           06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024              Page 123 of 217
                                                 16312             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 Specifically, for welfare effects, the                  958, January 7, 2022; 87 FR 22207, April              then-Administrator’s judgments
                                                 focus within the ISA Supplement is on                   14, 2022; 87 FR 31965, May 26, 2022).                 regarding the available welfare effects
                                                 visibility effects. The ISA Supplement                  In bridging the gap between the                       evidence, the appropriate degree of
                                                 does not include an evaluation of                       scientific assessments of the 2019 ISA                public welfare protection for the
                                                 studies on climate or materials effects.                and ISA Supplement and the judgments                  existing standards, and available air
                                                 The Administrator’s decision also takes                 required of the Administrator in                      quality information on visibility
                                                 into account the 2022 PA evaluation of                  determining whether the current                       impairment that may be allowed by
                                                 the policy-relevant information in the                  standards provide the requisite public                such a standard (85 FR 82684, December
                                                 2019 ISA and ISA Supplement and                         welfare protection, the 2022 PA                       18, 2020). With the 2020 decision, the
                                                 presentation of quantitative analysis of                evaluates policy implications of the                  then-Administrator retained the
                                                 air quality related to visibility                       evaluation of the current evidence in the             secondary 24-hour PM2.5 standard, with
                                                 impairment; CASAC advice and                            2019 ISA and ISA Supplement, and the                  its level of 35 mg/m3, the annual PM2.5
                                                 recommendations, as reflected in                        quantitative information documented in                standard, with its level of 15.0 mg/m3,
                                                 discussions of the drafts of the ISA                    the 2022 PA. In evaluating the public                 and the 24-hour PM10 standard, with its
                                                 Supplement and 2022 PA at public                        welfare protection afforded by the                    level of 150 mg/m3. The subsections
                                                 meetings and in the CASAC’s letters to                  current standards against PM-related                  below focus on the key considerations
                                                 the Administrator; and public                           effects within the scope of this                      and the then-Administrator’s
                                                 comments received on the proposal.                      reconsideration, the four basic elements              conclusions in the 2020 final decision
                                                    In presenting the rationale for the                  of the NAAQS (indicator, averaging                    for climate and materials effects (section
                                                 Administrator’s final decision and its                  time, level, and form) are considered                 V.A.1.a) and visibility effects (section
                                                 foundations, section V.A provides                       collectively.                                         V.A.2.b).
                                                 background on the 2020 final decision                      The final decision on the adequacy of
                                                 to retain the secondary PM standards                    the current secondary standards is a                  a. Non-Visibility Effects
                                                 (section V.A.1), and also provides brief                public welfare policy judgment to be                     In light of the robust evidence base,
                                                 summaries of key aspects of the                         made by the Administrator. In reaching                the 2019 ISA concluded there to be
                                                 currently available welfare effects                     conclusions with regard to the standard,              causal relationships between PM and
                                                 evidence (section V.A.2) and                            the decision draws on the scientific                  climate effects and materials effects
                                                 quantitative information (section V.A.3).               information and analyses about welfare                (U.S. EPA, 2019a, sections 13.3.9 and
                                                 Section V.B summarizes the CASAC’s                      effects, and associated public welfare                13.4.2). The 2020 final decision was
                                                 advice (section V.B.1) and the proposed                 significance, as well as judgments about              based on a thorough review in the 2019
                                                 conclusions (section V.B.2), addresses                  how to consider the range and                         ISA of the scientific information on PM-
                                                 public comments received on the                         magnitude of uncertainties that are                   induced climate and materials effects.
                                                 proposal (section V.B.3), and presents                  inherent in the scientific evidence and               The decision also took into account: (1)
                                                 the Administrator’s conclusions on the                  analyses. This approach is based on the               Assessments in the 2020 PA of the most
                                                 adequacy of the current standards                       recognition that the available evidence               policy-relevant information in the 2019
                                                 (section V.B.4), drawing on                             generally reflects a continuum that                   ISA regarding evidence of adverse
                                                 consideration of the available scientific               includes ambient air exposures at which               effects of PM to climate and materials,
                                                 and quantitative information, advice                    scientists agree that effects are likely to           (2) uncertainties in the available
                                                 from the CASAC, and comments from                       occur through lower levels at which the               evidence to inform a quantitative
                                                 the public. Section V.C summarizes the                  likelihood and magnitude of responses                 assessment of PM-related climate and
                                                 Administrator’s decision on the                         become increasingly uncertain. This                   materials effects, (3) CASAC advice and
                                                 secondary PM standards.                                 approach is consistent with the                       recommendations, and (4) public
                                                                                                         requirements of the provisions of the                 comments received during the
                                                 A. Introduction                                         Clean Air Act related to the review of                development of these documents and on
                                                    The general approach for this                        NAAQS and with how the EPA and the                    the proposal document.
                                                 reconsideration of the 2020 final                       courts have historically interpreted the                 In considering non-visibility welfare
                                                 decision on the secondary PM standards                  Act. These provisions require the                     effects in the 2020 decision, the then-
                                                 relies on the EPA’s assessments of the                  Administrator to establish secondary                  Administrator concluded that, while it
                                                 current scientific evidence and                         standards that, in the judgment of the                is important to maintain an appropriate
                                                 associated quantitative analyses to                     Administrator, are requisite to protect               degree of control of fine and coarse
                                                 inform the Administrator’s judgments                    public welfare from known or                          particles to address non-visibility
                                                 regarding secondary standards that are                  anticipated adverse effects associated                welfare effects, ‘‘it is generally
                                                 requisite to protect the public welfare                 with the presence of the pollutant in the             appropriate to retain the existing
                                                 from known or anticipated adverse                       ambient air. In so doing, the                         standards and that there is insufficient
                                                 effects associated with the pollutant’s                 Administrator seeks to establish                      information to establish any distinct
                                                 presence in the ambient air. The EPA’s                  standards that are neither more nor less              secondary PM standards to address
                                                 assessments are primarily documented                    stringent than necessary for this                     climate and materials effects of PM’’ (85
                                                 in the 2019 ISA, ISA Supplement, and                    purpose. The Act does not require that                FR 82744, December 18, 2020).
                                                 2022 PA, which builds on the 2020 PA,                   standards be set at a zero-risk level, but               With regard to climate, the then-
                                                 all of which have received CASAC                        rather at a level that reduces risk                   Administrator recognized that there
                                                 review and public comment (83 FR                        sufficiently so as to protect the public              were a number of improvements and
                                                                                                                                                               refinements to climate models since the
ddrumheller on DSK120RN23PROD with RULES3




                                                 53471, October 23, 2018; 83 FR 55529,                   welfare from known or anticipated
                                                 November 6, 2018; 85 FR 4655, January                   adverse effects.                                      2012 review. However, while the
                                                 27, 2020; 86 FR 52673, September 22,                                                                          evidence continued to support a causal
                                                                                                         1. Background on the Current Standards                relationship between PM and climate
                                                 2021; 86 FR 54186, September 30, 2021;
                                                 86 FR 56263, October 8, 2021; 87 FR                        The current secondary PM standards                 effects, the then-Administrator noted
                                                                                                         were retained in 2020 based on the                    that significant limitations continued to
                                                 conducted in the U.S. and Canada’’ (U.S. EPA,           scientific and technical information                  exist related to quantifying the
                                                 2022a, section 1.2.1).                                  available at that time, as well as the                contributions of direct and indirect


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00112   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024                Page 124 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                                  16313

                                                 effects of PM and PM components on                      the current secondary PM standards’’                  little since the 2012 review (U.S. EPA,
                                                 climate forcing (U.S. EPA, 2020b,                       and recommended that the secondary                    2019a, section 13.1; U.S. EPA, 2009a,
                                                 sections 5.2.2.1.1 and 5.4). He also                    standards ‘‘should be retained’’ (Cox,                section 9.2.5). The evidence related to
                                                 recognized that the models continued to                 2019b, p. 3 of letter). In reaching a final           public perception of visibility
                                                 exhibit considerable variability in                     decision in 2020, for all of the reasons              impairment was from studies from four
                                                 estimates of PM-related climate impacts                 discussed above and recognizing the                   areas in North America.146 These
                                                 at regional scales (e.g., ∼100 km) as                   CASAC conclusion that the evidence                    studies provided information to inform
                                                 compared to simulations at global                       provided support for retaining the                    our understanding of levels of visibility
                                                 scales. Therefore, the resulting                        current secondary PM standards, the                   impairment that the public judged to be
                                                 uncertainty led the then-Administrator                  then-Administrator concluded that it                  ‘‘acceptable’’ (U.S. EPA, 2010b; 85 FR
                                                 to conclude in the 2020 decision that                   was appropriate to retain the existing                24131, April 30, 2020). In considering
                                                 the available scientific information                    secondary PM standards, without                       these public preference studies, the
                                                 remained insufficient to quantify                       revision. For climate and materials                   then-Administrator noted that no new
                                                 climate impacts associated with                         effects, this conclusion reflected his                visibility studies conducted in the U.S.
                                                 particular concentrations of PM in                      judgment that, although it remains                    were discussed in the 2019 ISA, and
                                                 ambient air (U.S. EPA, 2020b, section                   important to maintain secondary PM2.5                 there was little newly available
                                                 5.2.2.2.1) or to evaluate or consider a                 and PM10 standards to provide some                    information with regard to acceptable
                                                 level of PM air quality in the U.S. to                  degree of control over long- and short-               levels of visibility impairment in the
                                                 protect against climate effects and that                term concentrations of both fine and                  U.S. The Administrator recognized that
                                                 there was insufficient information                      coarse particles, there was insufficient              visibility impairment can have
                                                 available to base a national ambient                    information to establish distinct                     implications for people’s enjoyment of
                                                 standard on climate impacts (85 FR                      secondary PM standards to address non-                daily activities and their overall well-
                                                 82744, December 18, 2020).                              visibility PM-related welfare effects (85             being, and therefore, considered the
                                                    With regard to materials effects, the                FR 82744, December 18, 2020).                         degree to which the current secondary
                                                 then-Administrator noted that the                                                                             standards protect against PM-related
                                                 evidence available in the 2019 ISA                      b. Visibility Effects
                                                                                                                                                               visibility impairment.
                                                 continued to support a causal                              The 2019 ISA concluded that, ‘‘the                    Consistent with the 2012 review, in
                                                 relationship between materials effects                  evidence is sufficient to conclude that a             the 2020 review, the then-Administrator
                                                 and PM deposition (U.S. EPA, 2019a,                     causal relationship exists between PM                 first concluded that a target level of
                                                 section 13.4). He recognized that the                   and visibility impairment’’ (U.S. EPA,                protection for a secondary PM standard
                                                 deposition of fine and coarse particles to              2019a, section 13.2.6). The 2020                      is most appropriately defined in terms
                                                 materials can lead to physical damage                   decision on the adequacy of the                       of a visibility index that directly takes
                                                 and/or impaired aesthetic qualities.                    secondary standards with regard to                    into account the factors (i.e., species
                                                 Particles can contribute to materials                   visibility effects was a public welfare               composition and relative humidity) that
                                                 damage by adding to the natural                         policy judgment made by the then-                     influence the relationship between
                                                 weathering processes and by promoting                   Administrator, which drew upon the                    PM2.5 in ambient air and PM-related
                                                 the corrosion of metals, the degradation                available scientific evidence for PM-                 visibility impairment. In defining a
                                                 of building materials, and the                          related visibility effects and on analyses            target level of protection, the then-
                                                 weakening of material components.                       of visibility impairment, as well as                  Administrator considered the specific
                                                 While some new information was                          judgments about the appropriate weight                aspects of such an index, including the
                                                 available in the 2019 ISA, the                          to place on the range of uncertainties                appropriate indicator, averaging time,
                                                 information was from studies primarily                  inherent in the evidence and analyses.                form and level (78 FR 82742–82744,
                                                 conducted outside of the U.S. in areas                  The 2020 final decision was based on a                December 18, 2020).
                                                 where PM concentrations in ambient air                  thorough review in the 2019 ISA of the                   First, with regard to indicator, the
                                                 are higher than those observed in the                   scientific information on PM-related                  then-Administrator noted that in the
                                                 U.S. (U.S. EPA, 2020b, section 13.4).                   visibility effects. The decision also took            2012 review, the EPA used an index
                                                 Additionally, the information assessed                  into account: (1) Assessments in the                  based on estimates of light extinction by
                                                 in the 2019 ISA did not support                         2020 PA of the most policy-relevant                   PM2.5 components calculated using an
                                                 quantitative analyses of PM-related                     information in the 2019 ISA regarding                 adjusted version of the IMPROVE
                                                 materials effects in the 2020 PA (U.S.                  evidence of adverse effects of PM on                  algorithm, which allows the estimation
                                                 EPA, 2020b, section 5.2.2.2.2). Given the               visibility; (2) air quality analyses of the           of the light extinction using routinely
                                                 limited amount of information available                 PM2.5 visibility index and design values              monitored components of PM2.5,
                                                 and its inherent uncertainties and                      based on the form and averaging time of               PM10–2.5 mass, and estimates of relative
                                                 limitations, the Administrator                          the existing secondary 24-hour PM2.5                  humidity. The then-Administrator
                                                 concluded that he was unable to relate                  standard; (3) CASAC advice and                        recognized that, while there have been
                                                 soiling or damage to specific levels of                 recommendations; and (4) public                       some revisions to the IMPROVE
                                                 PM in ambient air or to evaluate or                     comments received during the                          algorithm since the time of the 2012
                                                 consider a level of air quality to protect              development of these documents and on
                                                 against such materials effects, and that                the 2020 proposal document.                              146 Preference studies were available in four

                                                 there was insufficient information                         In considering the visibility effects in           urban areas. Three western preference studies were
                                                 available to support a distinct national                the 2020 review, the then-Administrator               available, including one in Denver, Colorado (Ely et
                                                                                                         noted the long-standing body of                       al., 1991), one in the lower Fraser River valley near
ddrumheller on DSK120RN23PROD with RULES3




                                                 ambient standard based on materials
                                                                                                                                                               Vancouver, British Columbia, Canada (Pryor, 1996),
                                                 effects (85 FR 82744, December 18,                      evidence for PM-related visibility                    and one in Phoenix, Arizona (BBC Research &
                                                 2020).                                                  impairment. This evidence, which is                   Consulting, 2003). A pilot focus group study was
                                                    In reviewing the 2019 draft PA, the                  based on the fundamental relationship                 also conducted for Washington, DC (Abt Associates,
                                                 CASAC agreed with staff conclusions                     between light extinction and PM mass,                 2001), and a replicate study with 26 participants
                                                                                                                                                               was also conducted for Washington, DC (Smith and
                                                 that, while these effects are important,                demonstrated that ambient PM can                      Howell, 2009). More details about these studies are
                                                 ‘‘the available evidence does not call                  impair visibility in both urban and                   available in Appendix D of the 2022 PA (U.S. EPA,
                                                 into question the protection afforded by                remote areas, and had changed very                    2022b).



                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00113   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024              Page 125 of 217
                                                 16314             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 review, our fundamental understanding                   information to identify a different target              Administrator concluded that it was
                                                 of the relationship between PM in                       than that identified for Federal Class I                appropriate to again use a level of 30 dv
                                                 ambient air and light extinction had                    areas (U.S. EPA, 2011, p. 4–59).                        for the visibility index (78 FR 82742–
                                                 changed little and the various IMPROVE                  Therefore, the then-Administrator                       82744, December 18, 2020).
                                                 algorithms appropriately reflected this                 judged that a visibility index based on                    Having concluded that the protection
                                                 relationship across the U.S. In the                     estimates of light extinction, with a 24-               provided by a standard defined in terms
                                                 absence of a monitoring network for                     hour averaging time and a 90th                          of a PM2.5 visibility index, with a 24-
                                                 direct measurement of light extinction,                 percentile form, averaged over three                    hour averaging time, and a 90th
                                                 he concluded that a calculated light                    years, remained appropriate (78 FR                      percentile form, averaged over 3 years,
                                                 extinction indicator that utilizes the                  82742–82744, December 18, 2020).                        set at a level of 30 dv, was requisite to
                                                 IMPROVE algorithms continued to                           With regard to the level of a visibility              protect public welfare with regard to
                                                 provide a reasonable basis for defining                 index, consistent with the 2012 review,                 visual air quality, the Administrator
                                                 a target level of protection against PM-                the then-Administrator judged that it                   next considered the degree of protection
                                                 related visibility impairment (78 FR                    was appropriate to establish a target                   from visibility impairment afforded by
                                                 82742–82744, December 18, 2020).                        level of protection of 30 deciviews                     the existing suite of secondary PM
                                                    In further defining the characteristics              (dv),147 148 reflecting the upper end of                standards.
                                                                                                         the range of visibility impairment                         In this context, the then-
                                                 of a visibility index, the then-
                                                                                                         judged to be acceptable by at least 50%                 Administrator considered the updated
                                                 Administrator next considered the
                                                                                                         of study participants in the available                  analyses of visibility impairment
                                                 appropriate averaging time, form, and
                                                                                                         public preference studies (78 FR 3226,                  presented in the 2020 PA (U.S. EPA,
                                                 level of the index. Given the available
                                                                                                         January 15, 2013). The 2011 PA                          2020b, section 5.2.1.2), which reflected
                                                 scientific information the review, and in
                                                                                                         identified a range of levels from 20 to                 a number of improvements since the
                                                 considering the CASAC’s advice and                                                                              2012 review. Specifically, the updated
                                                                                                         30 dv based on the responses in the
                                                 public comments, the then-                                                                                      analyses examined multiple versions of
                                                                                                         public preference studies available at
                                                 Administrator concluded that,                                                                                   the IMPROVE equation, including the
                                                                                                         that time (U.S. EPA, 2011, section 4.3.4).
                                                 consistent with the decision in the 2012                                                                        version incorporating revisions since
                                                                                                         At the time of the 2012 review, the then-
                                                 review, a visibility index with a 24-hour                                                                       the time of the 2012 review. These
                                                                                                         Administrator noted a number of
                                                 averaging time and a form based on the                                                                          updated analyses provided a further
                                                                                                         uncertainties and limitations in public
                                                 3-year average of annual 90th percentile                                                                        understanding of how variation in the
                                                                                                         preference studies, including the small
                                                 values remained reasonable. With                        number of stated preference studies                     inputs to the algorithms affect the
                                                 regard to the averaging time and form of                available, the relatively small number of               estimates of light extinction (U.S. EPA,
                                                 such an index, the Administrator noted                  study participants, the extent to which                 2020b, Appendix D). Additionally, for a
                                                 analyses conducted in the last review                   the study participants may not be                       subset of monitoring sites with available
                                                 that demonstrated relatively strong                     representative of the broader study area                PM10–2.5 data, the updated analyses
                                                 correlations between 24-hour and                        population in some of the studies, and                  better characterized the influence of
                                                 subdaily (i.e., 4-hour average) PM2.5                   the variations in the specific materials                coarse PM on light extinction than in
                                                 light extinction (78 FR 3226, January 15,               and methods used in each study. In                      the 2012 review (U.S. EPA, 2020b,
                                                 2013), indicating that a 24-hour                        considering the available preference                    section 5.2.1.2).
                                                 averaging time is an appropriate                        studies in 2012, with their inherent                       The results of the updated analyses in
                                                 surrogate for the subdaily time periods                 uncertainties and limitations, the then-                the 2020 PA were consistent with those
                                                 of the perception of PM-related                         Administrator concluded that the                        from the 2012 review. Regardless of
                                                 visibility impairment and the relevant                  substantial degree of variability and                   which version of the IMPROVE equation
                                                 exposure periods for segments of the                    uncertainty in the public preference                    was used, the analyses demonstrated
                                                 viewing public. This decision in the                    studies should be reflected in a target                 that, based on 2015–2017 data, the 3-
                                                 2020 review also recognized that a 24-                  level of protection based on the upper                  year visibility metric was at or below
                                                 hour averaging time may be less                         end of the range of candidate protection                about 30 dv in all areas meeting the
                                                 influenced by atypical conditions and/                  levels (CPLs).                                          current 24-hour PM2.5 standard, and
                                                 or atypical instrument performance (78                    Given that there were no new                          below 25 dv in most of those areas. In
                                                 FR 3226, January 15, 2013). The then-                   preference studies in the 2019 ISA, the                 locations with available PM10–2.5
                                                 Administrator recognized that there was                 then-Administrator’s judgments in 2020                  monitoring, which met both the current
                                                 no new information to support updated                   were based on the same studies, with                    24-hour secondary PM2.5 and PM10
                                                 analyses of this nature, and therefore, he              the same range of levels, available in the              standards, 3-year visibility index
                                                 believed these analyses continued to                    2012 review. The 2020 PA (U.S. EPA,                     metrics were at or below 30 dv
                                                 provide support for consideration of a                  2020b, section 5.5), discussed a number                 regardless of whether the coarse fraction
                                                 24-hour averaging time for a visibility                 of limitations and uncertainties                        was included as an input to the
                                                 index in this review. With regard to the                associated with these studies. In                       algorithm for estimating light extinction
                                                 statistical form of the index, the                      considering the scientific information,                 (U.S. EPA, 2020b, section 5.2.1.2).
                                                 Administrator noted that, consistent                    with its uncertainties and limitations, as              While the inclusion of the coarse
                                                 with the 2012 review: (1) A multi-year                  well as public comments on the level of                 fraction had a relatively modest impact
                                                 percentile form offers greater stability                the target level of protection against                  on the estimates of light extinction, the
                                                 from the occasional effect of interannual               visibility impairment, the then-                        then-Administrator recognized the
                                                 meteorological variability (78 FR 3198,
ddrumheller on DSK120RN23PROD with RULES3




                                                                                                                                                                 continued importance of the PM10
                                                 January 15, 2013; U.S. EPA, 2011, p. 4–                    147 Deciview (dv) refers to a scale for              standard given the potential for larger
                                                 58); (2) a 90th percentile represents the               characterizing visibility that is defined directly in   impacts on light extinction in areas with
                                                 median of the distribution of the 20                    terms of light extinction. The deciview scale is        higher coarse particle concentrations,
                                                 percent worst visibility days, which are                frequently used in the scientific and regulatory        which were not included in the analyses
                                                                                                         literature on visibility.
                                                 targeted in Federal Class I areas by the                   148 For comparison, 20 dv, 25 dv, and 30 dv are      in the 2020 PA due to a lack of available
                                                 Regional Haze Program; and (3) public                   equivalent to 64, 112, and 191 megameters (Mm¥1),       data (U.S. EPA, 2019a, section 13.2.4.1;
                                                 preference studies did not provide                      respectively.                                           U.S. EPA, 2020b, section 5.2.1.2). He


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00114   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024                 Page 126 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                                    16315

                                                 noted that the air quality analyses                     evidence presented within the 2019                    i. Visibility
                                                 showed that all areas meeting the                       ISA, along with the targeted                             The fundamental relationship
                                                 existing 24-hour PM2.5 standard, with its               identification and evaluation of new                  between light extinction and PM mass,
                                                 level of 35 mg/m3, had visual air quality               scientific information in the ISA                     and the EPA’s understanding of this
                                                 at least as good as 30 dv, based on the                 Supplement, provides the scientific                   relationship, has changed little since the
                                                 visibility index. Thus, the secondary 24-               basis for the reconsideration of the 2020             2009 ISA (U.S. EPA, 2009a). The
                                                 hour PM2.5 standard would likely be                     final decision on the secondary PM                    combined effect of light scattering and
                                                 controlling relative to a 24-hour                       standards for visibility effects. For                 absorption by particles and gases is
                                                 visibility index set at a level of 30 dv.               climate and materials effects, the 2020               characterized as light extinction, i.e., the
                                                 Additionally, areas would be unlikely to                PA concluded that there were                          fraction of light that is scattered or
                                                 exceed the target level of protection for               substantial uncertainties associated with             absorbed per unit of distance in the
                                                 visibility of 30 dv without also                        the quantitative relationships with PM                atmosphere.149 Light extinction is
                                                 exceeding the existing secondary 24-                    concentrations and the concentration                  measured in units of 1/distance, which
                                                 hour PM2.5 standard. Thus, the then-                    patterns that limited the ability to                  is often expressed in the technical
                                                 Administrator judged that the 24-hour                   quantitatively assess the public welfare              literature as visibility per megameter
                                                 PM2.5 standard provided sufficient                      protection provided by the standards                  (abbreviated Mm¥1). Higher values of
                                                 protection in all areas against the effects             from these effects. Therefore, the                    light extinction (usually given in units
                                                 of visibility impairment, i.e., that the                evaluation of the information related to              of Mm¥1 or dv) correspond to lower
                                                 existing 24-hour PM2.5 standard would                   these effects draws heavily from the                  visibility. When PM is present in the air,
                                                 provide at least the target level of                    2019 ISA and 2020 PA. The subsections                 its contribution to light extinction is
                                                 protection for visual air quality of 30 dv              below briefly summarize the nature of                 typically much greater than that of gases
                                                 which he judged appropriate (78 FR                      PM-related visibility (section V.B.1.a),              (U.S. EPA, 2019a, section 13.2.1). The
                                                 82742–82744, December 18, 2020).                        climate (section V.B.1.b), and materials              impact of PM on light scattering
                                                 2. Overview of Welfare Effects Evidence                 (section V.B.1.c) effects.                            depends on particle size and
                                                    The information summarized here is                                                                         composition, as well as relative
                                                                                                         a. Nature of Effects
                                                 based on the scientific assessment of the                                                                     humidity. All particles scatter light, as
                                                 welfare effects evidence available in this                 Visibility impairment can have                     described by the Mie theory, which
                                                 reconsideration; this assessment is                     implications for people’s enjoyment of                relates light scattering to particle size,
                                                 documented in the 2019 ISA and ISA                      daily activities and for their overall                shape, and index of refraction (U.S.
                                                 Supplement and its policy implications                  sense of well-being (U.S. EPA, 2009a,                 EPA, 2019a, section 13.2.3; Mie, 1908,
                                                 are further discussed in the 2022 PA.                   section 9.2). The strongest evidence for              Van de Hulst, 1981). Fine particles
                                                 While the 2019 ISA provides the broad                   PM-related visibility impairment comes                scatter more light than coarse particles
                                                 scientific foundation for this                          from the fundamental relationship                     on a per unit mass basis and include
                                                 reconsideration, additional literature                  between light extinction and PM mass                  sulfates, nitrates, organics, light-
                                                 has become available since the cutoff                   (U.S. EPA, 2009a), which confirms a                   absorbing carbon, and soil (Malm et al.,
                                                 date of the 2019 ISA that expands the                   well-established ‘‘causal relationship                1994). Hygroscopic particles like
                                                 body of evidence related to visibility                  exists between PM and visibility                      ammonium sulfate, ammonium nitrate,
                                                 effects that can inform the                             impairment’’ (U.S. EPA, 2009a, p. 2–28).              and sea salt increase in size as relative
                                                 Administrator’s judgment on the                         Beyond its effects on visibility, the 2009            humidity increases, leading to increased
                                                 adequacy of the current secondary PM                    ISA also identified a causal relationship             light scattering (U.S. EPA, 2019a,
                                                 standards. As such, the ISA Supplement                  ‘‘between PM and climate effects,                     section 13.2.3).
                                                 builds on the information in the 2019                   including both direct effects of radiative               As at the time of the 2012 and 2020
                                                 ISA with a targeted identification and                  forcing and indirect effects that involve             reviews, direct measurements of PM
                                                 evaluation of new scientific information                cloud and feedbacks that influence                    light extinction, scattering, and
                                                 regarding visibility effects. As described                                                                    absorption continue to be considered
                                                                                                         precipitation formation and cloud
                                                 in the ISA Supplement and the 2022                                                                            more accurate for quantifying visibility
                                                                                                         lifetimes’’ (U.S. EPA, 2009a, p. 2–29).
                                                 PA, the selection of welfare effects to                                                                       than PM mass-based estimates because
                                                                                                         The evidence also supports a causal
                                                 evaluate within the ISA Supplement                                                                            measurements do not depend on
                                                                                                         relationship between PM and effects on
                                                 were based on the causality                                                                                   assumptions about particle
                                                                                                         materials, including soiling effects and
                                                 determinations reported in the 2019 ISA                                                                       characteristics (e.g., size, shape, density,
                                                                                                         materials damage (U.S. EPA, 2009a, p.
                                                 and the subsequent use of scientific                                                                          component mixture, etc.) (U.S. EPA,
                                                                                                         2–31).
                                                 evidence in the 2020 PA (U.S. EPA,                                                                            2019a, section 13.2.2.2). Measurements
                                                 2019a, section 1.2; U.S. EPA, 2022a,                       The evidence available in this                     of light extinction can be made with
                                                 section 1.4.2). The ISA Supplement                      reconsideration is consistent with the                high time resolution, allowing for
                                                 focuses on U.S. and Canadian studies                    evidence available at the time of the                 characterization of subdaily temporal
                                                 that provide new information on public                  2012 and 2020 reviews and supports the                patterns of visibility impairment. A
                                                 preferences for visibility impairment                   conclusions of causal relationships                   number of measurement methods have
                                                 and/or developed new methodologies or                   between PM and visibility, climate, and               been used for visibility impairment (e.g.,
                                                 conducted quantitative analyses of light                materials effects (U.S. EPA, 2019a,
                                                 extinction (U.S. EPA, 2022a, section                    chapter 13). Evidence newly available in                 149 All particles scatter light and, although a

                                                                                                         this reconsideration augments the                     larger particle scatters more light than a similarly
ddrumheller on DSK120RN23PROD with RULES3




                                                 1.2). Such studies of visibility effects
                                                                                                                                                               shaped smaller particle of the same composition,
                                                 and quantitative relationships between                  previously available evidence of the                  the light scattered per unit of mass is greatest for
                                                 visibility impairment and PM in                         relationship between PM and visibility                particles with diameters from ∼0.3–1.0 mm (U.S.
                                                 ambient air were considered to be of                    impairment (U.S. EPA, 2019a, section                  EPA, 2009a, section 2.5.1; U.S. EPA, 2019a, section
                                                 greatest utility in informing the                       13.2; U.S. EPA, 2022a, section 4),                    13.2.1). Particles with hygroscopic components
                                                                                                                                                               (e.g., particulate sulfate and nitrate) contribute more
                                                 Administrator’s conclusions on the                      climate effects (U.S. EPA, 2019a, section             to light extinction at higher relative humidity than
                                                 adequacy of the current secondary PM                    13.3), and materials effects (U.S. EPA,               at lower relative humidity because they change size
                                                 standards. The visibility effects                       2019a, section 13.4).                                 in the atmosphere in response to relative humidity.



                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00115   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024                Page 127 of 217
                                                 16316             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 transmissometers, integrating                           original IMPROVE algorithm                            images of the Grand Canyon, AZ,
                                                 nephelometers, teleradiometers,                         (Lowenthal and Kumar, 2004, Malm and                  described in the ISA Supplement (U.S.
                                                 telephotometers, and photography and                    Hand, 2007, Ryan et al., 2005) and the                EPA, 2022a). The Grand Canyon study,
                                                 photographic modeling), although each                   revised IMPROVE algorithm (Pitchford                  conducted by Malm et al. (2019), has a
                                                 of these methods has its own strengths                  et al., 2007). As described in detail in              similar study design to that used in the
                                                 and limitations (U.S. EPA, 2019a, Table                 the 2022 PA (U.S. EPA, 2022b, section                 public preference studies discussed
                                                 13–1). While some recent research                       5.3.1.1) and the 2019 ISA (U.S. EPA,                  above; however, there are several
                                                 confirms and adds to the body of                        2019a, section 13.2.3), the algorithm has             important differences that make it
                                                 knowledge regarding direct                              been further evaluated and refined since              difficult to directly compare the results
                                                 measurements as is described in the                     the time of the 2012 review (Lowenthal                of the Malm et al. (2019) study with
                                                 2019 ISA and ISA Supplement, no                         and Kumar, 2016), particularly for PM                 other public preference studies. As an
                                                 major new developments have been                        characteristics and relative humidity in              initial matter, the Grand Canyon study
                                                 made with these measurement methods                     remote areas. All three versions of the               was conducted in a Federal Class I area,
                                                 since prior reviews (U.S. EPA, 2019a,                   IMPROVE algorithm were considered in                  as opposed to in an urban area, with a
                                                 section 13.2.2.2; U.S. EPA, 2022a,                      evaluating visibility impairment in this              scene depicted in the photographs that
                                                 section 4.2).                                           reconsideration.                                      did not include urban features.152 We
                                                    In the absence of a robust monitoring                   Consistent with the evidence                       recognize that public preferences with
                                                 network for the routine measurement of                  available at the time of the 2012 and                 respect to visibility in Federal Class 1
                                                 light extinction across the U.S.,                       2020 reviews, our understanding of                    areas may well differ from visibility
                                                 estimation of light extinction based on                 public perception of visibility                       preferences in urban areas and other
                                                 existing PM monitoring can be used.                     impairment comes from visibility                      contexts, although there is currently a
                                                 The theoretical relationship between                    preference studies conducted in four                  lack of information to on such
                                                 light extinction and PM characteristics,                areas in North America.151 The detailed               questions. Further, the Malm et al.
                                                 as derived from Mie theory (U.S. EPA,                   methodology for these studies are                     (2019) study also used a much lower
                                                 2019a, Equation 13.5), can be used to                   described in the 2022 PA (U.S. EPA,                   range of superimposed ‘‘haze’’ than the
                                                 estimate light extinction by combining                  2022b, section 5.3.1.1), the 2019 ISA                 preference studies discussed above.153 It
                                                 mass scattering efficiencies of particles               (U.S. EPA, 2019a), and the 2009 ISA                   is unclear whether the participant
                                                 with particle concentrations (U.S. EPA,                 (U.S. EPA, 2019a). In summary, the                    preferences are a function in part of the
                                                 2019a, section 13.2.3; U.S. EPA, 2009a,                 study participants were queried                       range of potential values presented,
                                                 sections 9.2.2.2 and 9.2.3.1). This                     regarding multiple images that were                   such that the participant preferences for
                                                 estimation of light extinction is                       either photographs of the same location               the Grand Canyon were generally
                                                 consistent with the method used in                      and scenery that had been taken on                    lower 154 than the other preference
                                                 previous reviews. The algorithm used to                 different days on which measured                      studies in part because of the lower
                                                 estimate light extinction, known as the                 extinction data were available or                     range of superimposed ‘‘haze’’ for the
                                                 IMPROVE algorithm,150 provides for the                  digitized photographs onto which a                    images in that study, or if their
                                                 estimation of light extinction (bext), in               uniform ‘‘haze’’ had been                             preferences would vary if presented
                                                 units of Mm 1, using routinely                          superimposed. Results of the studies                  with images with a range of
                                                 monitored components of fine (PM2.5)                    indicated a wide range of judgments on                superimposed ‘‘haze’’ more comparable
                                                 and coarse (PM10–2.5) PM. Relative                      what study participants considered to                 to the levels used in the other studies
                                                 humidity data are also needed to                        be acceptable visibility across the                   (i.e., more ‘‘haze’’ superimposed on the
                                                 estimate the contribution by liquid                     different study areas, depending on the               images).
                                                 water that is in solution with the                      setting depicted in each photograph.                     The Malm et al. (2019) study also
                                                 hygroscopic components of PM. To                        Based on the results of the four cities,              explored alternate methods for
                                                 estimate each component’s contribution                  a range encompassing the PM2.5                        evaluating ‘‘acceptable’’ levels of visual
                                                 to light extinction, their concentrations               visibility index values from images that              air quality from the preference studies,
                                                 are multiplied by extinction coefficients               were judged to be acceptable by at least              including the use of scene-specific
                                                 and are additionally multiplied by a                    50 percent of study participants across               visibility indices as potential indicators
                                                 water growth factor that accounts for                   all four of the urban preference studies              of visibility levels as perceived by the
                                                 their expansion with moisture. Both the                 was identified (U.S. EPA, 2010b, p. 4–                observer (Malm et al., 2019). In addition
                                                 extinction efficiency coefficients and                  24; U.S. EPA, 2020b, Figure 5–2). Much                to measures of atmospheric haze, such
                                                 water growth factors of the IMPROVE                     lower visibility (considerably more haze
                                                 algorithm have been developed by a                      resulting in higher values of light                      152 The Grand Canyon study used a single scene

                                                                                                         extinction) was considered acceptable                 looking west down the canyon with a small
                                                 combination of empirical assessment                                                                           landscape feature of a 100-km-distant mountain
                                                 and theoretical calculation using                       in Washington, DC, than was in Denver,                (Mount Trumbull), along with other closer
                                                 particle size distributions associated                  and 30 dv reflected the level of                      landscape features. The scenes presented in the
                                                 with each of the major aerosol                          impairment that was determined to be                  previously available visibility preference studies are
                                                                                                         ‘‘acceptable’’ by at least 50 percent of              presented in more detail in Table D–9 in the 2022
                                                 components (U.S. EPA, 2019a, sections                                                                         PA (U.S. EPA, 2022b, Appendix D).
                                                 13.2.3.1 and 13.2.3.3).                                 study participants (78 FR 3226–3227,                     153 The Grand Canyon study superimposed light

                                                    At the time of the 2012 review, two                  January 15, 2013).                                    extinction ranging from 3 dv to 20 dv on the image
                                                 versions of the IMPROVE algorithm                          Since the completion of the 2009 and               slides shown to participants compared to the
                                                 were available in the literature—the                    2019 ISAs, there has been only one                    previously available preference studies. In those
                                                                                                                                                               studies, the visibility ranges presented were as low
ddrumheller on DSK120RN23PROD with RULES3




                                                                                                         public preference study that has become
                                                                                                                                                               as 9 dv and as high as 45 dv. The visibility ranges
                                                    150 The algorithm is referred to as the IMPROVE      available in the U.S. This study uses                 presented in the previously available visibility
                                                 algorithm as it was developed specifically to use                                                             preference studies are described in more detail in
                                                 monitoring data generated at IMPROVE network              151 Preference studies were available in four       Table D–9 in the 2022 PA (U.S. EPA, 2022b,
                                                 sites and with equipment specifically designed to       urban areas in the last review: Denver, Colorado      Appendix D).
                                                 support the IMPROVE program and was evaluated           (Ely et al., 1991), Vancouver, British Columbia,         154 In the Grand Canyon study, the level of

                                                 using IMPROVE optical measurements at the subset        Canada (Pryor, 1996), Phoenix, Arizona (BBC           impairment that was determined to be ‘‘acceptable’’
                                                 of monitoring sites that make those measurements        Research & Consulting, 2003), and Washington, DC      by at least 50 percent of study participants was 7
                                                 (Malm et al., 1994).                                    (Abt Associates, 2001; Smith and Howell, 2009).       dv (Malm et al., 2019).



                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00116   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024                 Page 128 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                                     16317

                                                 as atmospheric extinction, used in                       discussed in more detail in the 2022 PA              PM deposition and materials effects.
                                                 previously available preference studies,                 (U.S. EPA, 2022b, section 5.3.2.1.1), the            Effects of deposited PM, particularly
                                                 other indices for visual air quality                     general conclusions are similar between              sulfates and nitrates, to materials
                                                 include color and achromatic contrast of                 the IPCC AR4 and AR5 reports with                    include both physical damage and
                                                 single landscape figures, average and                    regard to effects of PM on global                    impaired aesthetic qualities, generally
                                                 equivalent contrast of an entire scene,                  climate. Consistent with the evidence                involving soiling and/or corrosion (U.S.
                                                 edge detection algorithms such as the                    available in the 2012 review, the key                EPA, 2019a, section 13.4.2). Because of
                                                 Sobel index, and just-noticeable                         components, including sulfate, nitrate,              their electrolytic, hygroscopic, and
                                                 difference or change indexes. The                        organic carbon (OC), black carbon (BC),              acidic properties and their ability to
                                                 results reported by Malm et al. (2019)                   and dust, that contribute to climate                 sorb corrosive gases, particles contribute
                                                 suggest that scene-dependent metrics,                    processes vary in their reflectivity,                to materials damage by adding to the
                                                 such as contrast, may be useful alternate                forcing efficiencies, and direction of               effects of natural weathering processes,
                                                 predictors of preference levels                          forcing. Since the completion of the                 by potentially promoting or accelerating
                                                 compared to universal metrics like light                 2009 ISA, the evidence base has                      the corrosion of metals, degradation of
                                                 extinction (U.S. EPA, 2022a, section                     expanded with respect to the                         painted surfaces, deterioration of
                                                 4.2.1). This is because extinction alone                 mechanisms of climate responses and                  building materials, and weakening of
                                                 is not a measure of ‘‘haze,’’ but of light               feedbacks to PM radiative forcing;                   material components.156 There is a
                                                 attenuation per unit distance, and                       however, the recently published                      limited amount of recently available
                                                 visible ‘‘haze’’ is dependent on both                    literature assessed in the 2019 ISA does             data for consideration in this review
                                                 light extinction and distance to a                       not reduce the considerable                          from studies primarily conducted
                                                 landscape feature (U.S. EPA, 2022a,                      uncertainties that continue to exist                 outside of the U.S. on buildings and
                                                 section 4.2.1). However, there are very                  related these mechanisms.                            other items of cultural heritage.
                                                 few studies available that use scene-                       As described in the proposal (88 FR               However, these studies involved
                                                 dependent metrics (i.e., contrast) to                    5650, January 27, 2023), PM has a very               concentrations of PM in ambient air
                                                 evaluate public preference information,                  heterogeneous distribution globally and              greater than those typically observed in
                                                 which makes it difficult to evaluate                     patterns of forcing tend to correlate with           the U.S. (U.S. EPA, 2019a, section 13.4).
                                                 them as an alternative to the light                      PM loading, with the greatest forcings                  Building on the evidence available in
                                                 extinction approach.                                     centralized over continental regions.                the 2009 ISA, and as described in detail
                                                                                                          The climate response to this PM forcing,             in the proposal (88 FR 5650, January 27,
                                                 ii. Climate                                              however, is more complicated since the               2023) and in the 2019 ISA (U.S. EPA,
                                                    The available evidence continues to                   perturbation to one climate variable                 2019a, section 13.4), research has
                                                 support the conclusion of a causal                       (e.g., temperature, cloud cover,                     progressed on (1) the theoretical
                                                 relationship between PM and climate                      precipitation) can lead to a cascade of              understanding of soiling of items of
                                                 effects (U.S. EPA, 2019a, section 13.3.9).               effects on other variables. While the                cultural heritage; (2) the quantification
                                                 Since the 2012 review, climate impacts                   initial PM radiative forcing may be                  of degradation rates and further
                                                 have been extensively studied and                        concentrated regionally, the eventual                characterization of factors that influence
                                                 recent research reinforces and                           climate response can be much broader                 damage of stone materials; (3) materials
                                                 strengthens the evidence evaluated in                    spatially or be concentrated in remote               damage from PM components besides
                                                 the 2009 ISA. Recent evidence provides                   regions, and may be quite complex,                   sulfate and black carbon and
                                                 greater specificity about the details of                 affecting multiple climate variables with            atmospheric gases besides SO2; (4)
                                                 radiative forcing effects 155 and                        possible differences in the direction of             methods for evaluating soiling of
                                                 increases the understanding of                           the forcing in different regions or for              materials by PM mixtures; (5) PM-
                                                 additional climate impacts driven by                     different variables (U.S. EPA, 2019a,                attributable damage to other materials,
                                                 PM radiative effects. The                                section 13.3.6). The complex climate                 including glass and photovoltaic panels;
                                                 Intergovernmental Panel on Climate                       system interactions lead to variation                (6) development of dose-response
                                                 Change (IPCC) assesses the role of                       among climate models, which have                     relationships for soiling of building
                                                 anthropogenic activity in past and                       suggested a range of factors that can                materials; and (7) damage functions to
                                                 future climate change, and since the                     influence large-scale meteorological                 quantify material decay as a function of
                                                                                                          processes and may affect temperature,                pollutant type and load. While the
                                                 completion of the 2009 ISA, has issued
                                                                                                          including local feedback effects                     evidence of PM-related materials effects
                                                 the Fifth IPCC Assessment Report (AR5;
                                                                                                          involving soil moisture and cloud cover,             has expanded somewhat since the
                                                 IPCC, 2013), which summarizes any key
                                                                                                          changes in the hygroscopicity of the PM,             completion of the 2009 ISA, there
                                                 scientific advances in understanding the
                                                                                                          and interactions with clouds (U.S. EPA,              remains insufficient evidence to relate
                                                 climate effects of PM since the previous
                                                                                                          2019a, section 13.3.7). As a result, there
                                                 report. As in the 2009 ISA, the 2019 ISA                                                                      soiling or damage to specific PM levels
                                                                                                          remains insufficient evidence to related
                                                 draws substantially on the IPCC report                                                                        in ambient air or to establish a
                                                                                                          climate effects to specific PM levels in
                                                 to summarize climate effects. As                                                                              quantitative relationship between PM
                                                                                                          ambient air or to establish a quantitative
                                                                                                                                                               and materials degradation. The recent
                                                                                                          relationship between PM and climate
                                                   155 Radiative forcing (RF) for a given atmospheric
                                                                                                                                                               evidence assessed in the 2019 ISA is
                                                 constituent is defined as the perturbation in net        effects, particularly at a regional scale.
                                                                                                                                                               generally similar to the evidence
                                                 radiative flux, at the tropopause (or the top of the     Further research is needed to better
                                                 atmosphere) caused by that constituent, in watts per                                                          available in the 2009 ISA, including
                                                                                                          characterize the effects of PM on
                                                 square meter (Wm 2), after allowing for
ddrumheller on DSK120RN23PROD with RULES3




                                                 temperatures in the stratosphere to adjust to the
                                                                                                          regional climate in the U.S. before PM                 156 As discussed in the 2019 ISA (U.S. EPA,

                                                 perturbation but holding all other climate responses     climate effects can be quantified.                   2019a, section 13.4.1), corrosion typically involves
                                                 constant, including surface and tropospheric                                                                  reactions of acidic PM (i.e., acidic sulfate or nitrate)
                                                 temperatures (Fiore et al., 2015; Myhre et al., 2013).   iii. Materials                                       with material surfaces, but gases like SO2 and nitric
                                                 A positive forcing indicates net energy trapped in          Consistent with the evidence assessed             acid (HNO3) also contribute. Because ‘‘the impacts
                                                 the Earth system and suggests warming of the                                                                  of gaseous and particulate N and S wet deposition
                                                 Earth’s surface, whereas a negative forcing indicates
                                                                                                          in the 2009 ISA, the available evidence              cannot be clearly distinguished’’ (U.S. EPA, 2019a,
                                                 net loss of energy and suggests cooling (U.S. EPA,       continues to support the conclusion that             p. 13–1), the assessment of the evidence in the 2019
                                                 2019a, section 13.3.2.2).                                there is a causal relationship between               ISA considers the combined impacts.



                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00117   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024              Page 129 of 217
                                                 16318             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 associated limitations and uncertainties                percentile form, averaged over three                  FR 82741, December 18, 2020; 78 FR
                                                 and a lack of evidence to inform                        years.                                                3198, January 15, 2013; U.S. EPA, 2011,
                                                 quantitative relationships between PM                      With regard to an indicator for the                p. 4–58). In so doing, the 2022 PA
                                                 and materials effects, therefore leading                visibility index, the 2022 PA recognizes              considers the evaluation in the 2010
                                                 to similar conclusions about the PM-                    the lack of availability of methods and               Urban-Focused Visibility Assessment
                                                 related effects on materials.                           an established network for directly                   (UFVA) of three different statistical
                                                                                                         measuring light extinction (U.S. EPA,                 forms: 90th, 95th, and 98th percentiles
                                                 3. Summary of Air Quality and                           2022b, section 5.3.1.1). Therefore,
                                                 Quantitative Information                                                                                      (U.S. EPA, 2010b, Chapter 4).). In
                                                                                                         consistent with previous reviews, the
                                                    Beyond the consideration of the                                                                            considering this evaluation of statistical
                                                                                                         2022 PA concludes that a visibility
                                                 scientific evidence, as discussed in                                                                          forms from the 2010 UFVA, consistent
                                                                                                         index based on estimates of light
                                                 section V.A.2 above, quantitative                       extinction by PM2.5 components derived                with the 2011 PA, the 2022 PA notes
                                                 analyses of PM air quality, when                        from an adjusted version of the original              that the Regional Haze Program targets
                                                 available, can also inform conclusions                  IMPROVE algorithm to be the most                      the 20 percent most impaired days for
                                                 on the adequacy of the public welfare                   appropriate indicator for the visibility              visibility improvements in visual air
                                                 protection provided by the current                      index in this reconsideration. As                     quality in Federal Class I areas and that
                                                 secondary PM standards.                                 described in section 5.3.1.1 of the 2022              the median of the distribution of these
                                                                                                         PA, the IMPROVE algorithm estimates                   20 percent most impaired days would
                                                 a. Visibility Effects
                                                                                                         light extinction using routinely                      be the 90th percentile. The 2011 PA also
                                                    In the 2012 and 2020 reviews,                        monitored components of PM2.5 and                     noted that strategies that are
                                                 quantitative analyses for PM-related                    PM10–2.5, along with estimates of relative            implemented so that 90 percent of days
                                                 visibility effects focused on daily                     humidity (U.S. EPA, 2022b, section                    would have visual air quality that is at
                                                 visibility impairment, given the short-                 5.3.1.1).                                             or below the level of the visibility index
                                                 term nature of PM-related visibility                       With regard to averaging time, the                 would reasonably be expected to lead to
                                                 effects. The evidence and information                   2022 PA notes that the evidence                       improvements in visual air quality for
                                                 available in this reconsideration                       continues to provide support for the
                                                 continues to provide support for the                                                                          the 20 percent most impaired days.
                                                                                                         short-term nature of PM-related                       Additionally, as in the 2011 PA, the
                                                 short-term (i.e., hourly or daily) nature               visibility effects. Given that there is no
                                                 of PM-related visibility impairment. As                                                                       2022 PA recognizes that the available
                                                                                                         new information available regarding the
                                                 such, the quantitative analyses                                                                               public preference studies do not address
                                                                                                         time periods during which visibility
                                                 presented in the 2022 PA continue to                    impairment occurs or public preferences               frequency of occurrence of different
                                                 focus on daily visibility impairment and                related to specific time periods for                  levels of visibility (U.S. EPA, 2022b,
                                                 utilize a two-phase assessment approach                 visibility impairment, the 2022 PA                    section 5.3.1.2). Therefore, the analyses
                                                 for visibility impairment, consistent                   concludes that it is appropriate to                   and consideration for the form of a
                                                 with the approaches taken in past                       continue to focus on daily visibility                 visibility index from the 2011 PA
                                                 reviews. First, the 2022 PA considers                   impairment. In so doing, the 2022 PA                  continue to provide support for a 90th
                                                 the appropriateness of the elements                     relies on analyses that were conducted                percentile form, averaged across three
                                                 (indicator, averaging time, form, and                   in the 2012 review that showed                        years, in defining the characteristics of
                                                 level) of the visibility index for                      relatively strong correlations between                a visibility index in this
                                                 providing protection against PM-related                 24-hour and subdaily (i.e., 4-hour                    reconsideration.
                                                 visibility effects. Second, recent air                  average) PM2.5 light extinction that                     With regard to the level for the
                                                 quality was used to evaluate the                        indicated that a 24-hour averaging time               visibility index, the 2022 PA recognizes
                                                 relationship between the current                        is an appropriate surrogate for the
                                                                                                                                                               that there is an additional public
                                                 secondary 24-hour PM2.5 standard and                    subdaily time periods relevant for visual
                                                 the visibility index. The information                                                                         preference study (Malm et al., 2019)
                                                                                                         perception (U.S. EPA, 2011, Figures G–
                                                 available since the 2012 review includes                4 and G–5; Frank, 2012). These analyses               available in this reconsideration. As
                                                 an updated equation for estimating light                continue to provide support for a 24-                 noted above, however, this study differs
                                                 extinction, summarized in the 2022 PA                   hour averaging time for the visibility                from the previously available public
                                                 (U.S. EPA, 2022b, section 5.3.1.1) and                  index in this reconsideration. Consistent             preference studies in several ways,
                                                 described in the 2019 ISA (U.S. EPA,                    with previous reviews, the 2022 PA also               which makes it difficult to integrate this
                                                 2019a, section 13.2.3.3), as well as more               notes that the 24-hour averaging time                 newly available study with the
                                                 recent air monitoring data, that together               may be less influenced by atypical                    previously available studies. Most
                                                 allow for development of an updated                     conditions and/or atypical instrument                 significantly, this study was evaluated
                                                 assessment of PM-related visibility                     performance than a subdaily averaging                 public preferences for visibility in the
                                                 impairment in study locations in the                    time (85 FR 82740, December 18, 2020;                 Grand Canyon, perhaps the most
                                                 U.S.                                                    78 FR 3226, January 15, 2013).                        notable Class I area in the country for
                                                    i. Target Level of Protection in Terms                  With regard to the form for the                    visibility purposes. Therefore, the 2022
                                                 of a PM2.5 Visibility Index                             visibility index, the available                       PA concludes that the Grand Canyon
                                                    In evaluating the adequacy of the                    information continues to provide                      study is not directly comparable to the
                                                 current secondary PM standards, the                     support for a 3-year average of annual                other available preferences studies and
                                                 2022 PA first evaluates the                             90th percentile values. Given that there              public preferences of visibility
                                                 appropriateness of the elements
ddrumheller on DSK120RN23PROD with RULES3




                                                                                                         is no new information to inform                       impairment in the Malm et al. (2019)
                                                 (indicator, averaging time, form, and                   selection of an alternate form, as in
                                                                                                                                                               study are not appropriate to consider in
                                                 level) identified for a visibility index to             previous reviews, the 2022 PA notes
                                                                                                                                                               identifying a range of levels for the
                                                 protect against visibility effects. In                  that the 3-year average form provides
                                                                                                                                                               target level of protection against
                                                 previous reviews, the visibility index as               stability from the occasional effect of
                                                 set at a level of 30 dv, with estimated                 inter-annual meteorological variability               visibility impairment for this
                                                 light extinction as the indicator, a 24-                that can result in unusually high                     reconsideration of the secondary PM
                                                 hour averaging time, and a 90th                         pollution levels for a particular year (85            NAAQS.



                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00118   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024              Page 130 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                           16319

                                                    Therefore, the 2022 PA continues to                  as possibly some areas in the western                  extinction measurement not being
                                                 rely on the same studies 157 and the                    U.S.                                                   representative of the sight-path-averaged
                                                 range of 20 to 30 dv identified from                       A target level of protection in the                 light extinction. Computer-generated
                                                 those studies in previous reviews. With                 middle of the range would be most                      images, such as those generated with
                                                 regard to selecting the appropriate target              closely associated with the level of                   WinHaze, do not introduce such
                                                 level of protection for visibility                      impairment that was determined to be                   uncertainties, as the same base
                                                 impairment within this range, the 2022                  ‘‘acceptable’’ by at least 50 percent of               photograph is used (i.e., there is no
                                                 PA notes that in previous reviews, a                    study participants in the Phoenix, AZ,                 intrinsic change in scene appearance)
                                                 level at the upper end of the range (i.e.,              study (BBC Research & Consulting,                      and the modeled haze that is
                                                 30 dv) was selected given the                           2003), which was 24 dv. This study,                    superimposed on the photograph is
                                                 uncertainties and limitations associated                while methodologically similar to the                  determined based on uniform light
                                                 with the public preference studies (U.S.                other public preference studies,                       extinction throughout the scene.
                                                 EPA, 2022b, section 5.3.1.1). However,                  included participants that were selected                  In addition to differences in
                                                 the 2022 PA also recognizes that (1) the                as a representative sample of the                      preferences that may arise from
                                                 degree of protection provided by a                      Phoenix area population 158 and used                   photographs versus computer-generated
                                                 secondary PM NAAQS is not                               computer-generated images to depict                    images, urban visibility preference may
                                                 determined solely by any one element of                 specific uniform visibility impairment                 differ by location, and such differences
                                                 the standard but by all elements (i.e.,                 conditions. This study yielded the best                may arise from differences in the
                                                 indicator, averaging time, form, and                    results of the four public preference                  cityscape scene that is depicted in the
                                                 level) being considered together, and (2)               studies in terms of the least noisy
                                                                                                                                                                images. These differences are related to
                                                 decisions regarding the adequacy of the                 preference results and the most
                                                                                                                                                                the perceived value of objects and
                                                 current secondary standards is a public                 representative selection of participants.
                                                                                                                                                                scenes that are included in the image, as
                                                 welfare policy judgment to be made by                   Therefore, based on this study, the use
                                                                                                                                                                objects at a greater distance have a
                                                 the Administrator. As such, the                         of 25 dv to represent a midpoint within
                                                                                                                                                                greater sensitivity to perceived visibility
                                                 Administrator may judge that a target                   the range of target levels protection is
                                                                                                                                                                changes as light extinction is changed
                                                 level of protection below the upper end                 well supported.
                                                                                                                                                                compared to similar scenes with objects
                                                 of the range (i.e., less than 30 dv) is                    A target level of protection at or just
                                                                                                                                                                at shorter distances. For example, a
                                                 appropriate, depending on his public                    above the lower end of the range would
                                                                                                                                                                person (regardless of their location)
                                                 welfare policy judgments, which draw                    focus on the Denver, CO, study, but may
                                                                                                                                                                evaluating visibility in an image with
                                                 upon the available scientific evidence                  not be as strongly supported as higher
                                                                                                                                                                more scenic elements such as
                                                 for PM-related visibility effects and on                levels within the range (Ely et al., 1991).
                                                                                                                                                                mountains or natural views may value
                                                 analyses of visibility impairment, as                   Older studies, such as those conducted
                                                                                                                                                                better visibility conditions in these
                                                 well as judgments about the appropriate                 in Denver, CO (Ely et al., 1991), and
                                                                                                                                                                images compared to the same level of
                                                 weight to place on the range of                         British Columbia, Canada (Pryor, 1996),
                                                                                                                                                                visibility impairment in an image that
                                                 uncertainties inherent in the evidence                  used photographs that were taken at
                                                                                                                                                                only depicts urban features such as
                                                 and analyses.                                           different times of the day and on
                                                                                                                                                                buildings and roads. That is, if a person
                                                                                                         different days to capture a range of light
                                                    In considering the available public                                                                         was shown the same level of visibility
                                                                                                         extinction levels needed for the
                                                 preference studies, consistent with past                                                                       impairment in two images depicting
                                                                                                         preference studies. Compared to studies
                                                 reviews, the 2022 PA concludes that it                                                                         different scenes—one with mountains in
                                                                                                         that used computer-generated images
                                                 is reasonable to consider a range of 20                                                                        the background and urban features in
                                                                                                         (i.e., those in Phoenix, AZ, and
                                                 to 30 dv for selecting a target level of                                                                       the foreground and one with no
                                                                                                         Washington, DC) there was more
                                                 protection, including a high value of 30                                                                       mountains in the background and
                                                                                                         variability in scene appearance in these
                                                 dv, a midpoint value of 25 dv, and a low                                                                       nearby buildings in the image without
                                                                                                         older studies that could affect
                                                 value of 20 dv. A target level of                                                                              mountains in the distance—may find
                                                                                                         preference rating and includes
                                                 protection at or in the upper end of the                                                                       the amount of haze to be unacceptable
                                                                                                         uncertainties associated with using
                                                 range would focus on the Washington,                                                                           in the image with the mountains in the
                                                                                                         ambient measurements to represent
                                                 DC, preference study results (Abt                                                                              distance because of a greater perceived
                                                                                                         sight path-averaged light extinction
                                                 Associates, 2001; Smith and Howell,                                                                            value of viewing the mountains, while
                                                                                                         values rather than superimposing a
                                                 2009), which identified 30 dv as the                                                                           finding the amount of haze to be
                                                                                                         computer-generated amount of haze
                                                 level of impairment that was                                                                                   acceptable in the image with the
                                                                                                         onto the images. When using
                                                 determined to be ‘‘acceptable’’ by at                                                                          buildings because of a lesser value of
                                                                                                         photographs, the intrinsic appearance of
                                                 least 50 percent of study participants.                                                                        viewing the cityscape or an expectation
                                                                                                         the scene can change due to
                                                 The public preferences of visibility                                                                           that such urban areas may generally
                                                                                                         meteorological conditions (i.e., shadow
                                                 impairment in the Washington, DC,                                                                              have higher levels of haze in general.
                                                                                                         patterns and cloud conditions) and
                                                 study are likely to be generally                                                                               This is consistent when comparing the
                                                                                                         spatial variations in ambient air quality
                                                 representative of urban areas that do not                                                                      differences between the Denver, CO,
                                                                                                         that can result in ambient light
                                                 have valued scenic elements (e.g.,                                                                             study results (which found the 50%
                                                 mountains) in the distant background.                      158 The other preference studies did not include    acceptance criteria occurred at the best
                                                 This would be more representative of                    populations that were necessarily representative of    visual air quality levels among the four
                                                 areas in the middle of the country and                  the population in the area for which the images        cities) and the Washington, DC, results
                                                                                                         being judged. For example, in the Denver, CO,          (which found the 50% acceptability
ddrumheller on DSK120RN23PROD with RULES3




                                                 many areas in the eastern U.S., as well
                                                                                                         study, participants were from intact groups (i.e.,
                                                                                                         those who were meeting for other reasons) and were
                                                                                                                                                                criteria occurred at the worst visual air
                                                   157 As noted above, the available public              asked to provide a period of time during a regularly   quality levels among the four cities).
                                                 preference studies include those conducted in           scheduled meeting to participate in the study (Ely     These results may occur because the
                                                 Denver, Colorado (Ely et al., 1991), Vancouver,         et al., 1991). As another example, in the British      most prominent and picturesque feature
                                                 British Columbia, Canada (Pryor, 1996), Phoenix,        Columbia, Canada, study, participants were
                                                 Arizona (BBC Research & Consulting, 2003), and          recruited from undergraduate and graduate students
                                                                                                                                                                of the cityscape of Denver is the visible
                                                 Washington, DC (Abt Associates, 2001; Smith and         enrolled in classes at the University of British       snow-covered mountains in the
                                                 Howell, 2009).                                          Columbia’s Department of Geography (Pryor, 1996).      distance, while the prominent and


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00119   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024                   Page 131 of 217
                                                 16320             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 picturesque features of the Washington,                 review, updated analyses incorporate                     secondary PM standards, and at most
                                                 DC, cityscape are buildings relatively                  several refinements, including (1) the                   such sites the 3-year visibility index
                                                 nearby without prominent and/or                         evaluation of three versions of the                      values are much lower (e.g., an average
                                                 valued scenic features that are more                    IMPROVE equation to calculate light                      of 20 dv across the 60 sites).162
                                                 distant. Given these variabilities in                   extinction (U.S. EPA, 2022b, Appendix                       When light extinction was calculated
                                                 preferences it is unclear to what extent,               D, Equations D–1 through D–3) in order                   using the revised IMPROVE equation,163
                                                 the available evidence provides strong                  to better understand the influence of                    the resulting 3-year visibility metrics are
                                                 support for a target level of protection                variability in equation inputs; 160 (2) the              nearly identical to light extinction
                                                 at the lower end of the range. Future                   use of 24-hour relative humidity data,                   estimates calculated using the original
                                                 studies that reduce sources of noisiness                rather than monthly average relative                     IMPROVE equation (U.S. EPA, 2022b,
                                                 and uncertainty in the results could                    humidity as was used in the 2012                         Figure 5–4), but some sites are just
                                                 provide more information that would                     review (U.S. EPA, 2022b, section                         slightly higher. Using the revised
                                                 support selection of a target level of                  5.3.1.2, Appendix D); and (3) the                        IMPROVE equation, for those sites that
                                                 protection at or just above the lower end               inclusion of the coarse fraction in the                  meet the current 24-hour PM2.5
                                                 of the range.                                           estimation of light extinction (U.S. EPA,                standard, the 3-year visibility metric is
                                                    Taken together, the 2022 PA                          2022b, section 5.3.1.2, Appendix D).                     at or below 26 dv. For the four locations
                                                 concludes that available information                    The analyses in the reconsideration are                  that exceed the current 24-hour PM2.5
                                                 continues to support a visibility index                 updated from the 2012 and 2020                           standard, light extinction estimates
                                                 with estimated light extinction as the                  reviews and include 60 monitoring sites                  range from 22 dv to 29 dv (U.S. EPA,
                                                 indicator, a 24-hour averaging time, and                that measure PM2.5 and PM10 and are                      2022b, Figure 5–4). These results are
                                                 a 90th percentile form, averaged over                   geographically distributed across the                    similar to those for light extinction
                                                 three years, with a level within the                    U.S. in both urban and rural areas (U.S.                 calculated using the original IMPROVE
                                                 range of 20 to 30 dv.                                   EPA, 2022b, Appendix D, Figure D–1).                     equation,164 and those from previous
                                                                                                            When light extinction was calculated                  reviews.
                                                 ii. Relationship Between the PM2.5                                                                                  When light extinction was calculated
                                                                                                         using the revised IMPROVE equation, in
                                                 Visibility Index and the Current                                                                                 using the refined equation from
                                                                                                         areas that meet the current 24-hour
                                                 Secondary 24-Hour PM2.5 Standard                                                                                 Lowenthal and Kumar (2016), the
                                                                                                         PM2.5 standard for the 2017–2019 time
                                                    The 2022 PA presents quantitative                    period, all sites have light extinction                  resulting 3-year visibility metrics are
                                                 analyses based on recent air quality that               estimates at or below 26 dv (U.S. EPA,                   slightly higher at all sites compared to
                                                 evaluate the relationship between recent                2022b, Figure 5–3). For the four                         light extinction estimates calculated
                                                 air quality and calculated light                        locations that exceed the current 24-                    using the original IMPROVE equation
                                                 extinction. As in previous reviews,                     hour PM2.5 standard, light extinction                    (U.S. EPA, 2022b, Figure 5–5).165 These
                                                 these analyses explored this                            estimates range from 22 dv to 27 dv                      higher estimates are to be expected,
                                                 relationship as an estimate of visibility               (U.S. EPA, 2022b, Figure 5–3). These                     given the higher OC multiplier included
                                                 impairment in terms of the 24-hour                      findings are consistent with the findings                in the IMPROVE equation from
                                                 PM2.5 standard and the visibility index.                of the analyses using the same                           Lowenthal and Kumar (2016), which
                                                 Generally, the results of the updated                   IMPROVE equation in the 2012 review                      reflects the use of data from remote
                                                 analyses are similar to those based on                  with data from 102 sites with data from                  areas with higher concentrations of
                                                 the data available at the time of the 2012              2008–2010 and in the 2020 review with                    organic PM when validating the
                                                 and 2020 reviews (U.S. EPA, 2022b,                      data from 67 sites with data from 2015–                  equation. As such, it is important to
                                                 section 5.3.1.2). As discussed in section               2017. The analyses presented in the                      note that the Lowenthal and Kumar
                                                 V.C.1.a above, the 2022 PA concludes                    2022 PA indicate similar findings to                     (2016) version of the equation may
                                                 that the available evidence continues to                those from the analyses in the 2012 and                  overestimate light extinction in non-
                                                 support a visibility index with                         2020 reviews, i.e., the updated                          remote areas, including the urban areas
                                                 estimated light extinction as the                       quantitative analysis shows that the 3-                  in the updated analyses in this
                                                 indicator, a 24-hour averaging time, and                year visibility metric was no higher than                reconsideration.
                                                 a 90th percentile form, averaged over                   30 dv 161 at sites meeting the current                      Nevertheless, when light extinction is
                                                 three years, with a level within the                                                                             calculated using the Lowenthal and
                                                 range of 20 to 30 dv. These analyses                    that all 60 areas included in the analyses meet the
                                                                                                         current secondary annual PM standard (U.S. EPA,             162 When light extinction is calculated using the
                                                 evaluate visibility impairment in the
                                                                                                         2022b, Table D–7).                                       original IMPROVE equation, all 60 sites have 3-year
                                                 U.S. under recent air quality conditions,                 160 While the PM
                                                                                                                              2.5 monitoring network has an       visibility metrics below 30 dv, 58 sites are at or
                                                 particularly those conditions that meet                 increasing number of continuous FEM monitors             below 25 dv, and 26 sites are at or below 20 dv (see
                                                 the current standards, and the relative                 reporting hourly PM2.5 mass concentrations, there        U.S. EPA, 2022b, Appendix D, Table D–3).
                                                                                                         continue to be data quality uncertainties associated        163 As described in more detail in the 2022 PA,
                                                 influence of various factors on light
                                                                                                         with providing hourly PM2.5 mass and component           the revised IMPROVE equation divides PM
                                                 extinction. Given the relationship of                   measurements that could be input into IMPROVE            components into smaller and larger sizes of
                                                 visibility with short-term PM, we focus                 equation calculations for subdaily visibility            particles in PM2.5, with separate mass scattering
                                                 particularly on the short-term PM                       impairment estimates. As detailed in the 2022 PA,        efficiencies and hygroscopic growth functions for
                                                                                                         there are uncertainties associated with the precision    each size category (U.S. EPA, 2022b, section
                                                 standards.159 Compared to the 2012                      and bias of 24-hour PM2.5 measurements (U.S. EPA,        5.3.1.1).
                                                                                                         2022b, p. 2–18), as well as to the fractional               164 When light extinction is calculated using the
                                                   159 The analyses presented in the 2022 PA focus       uncertainty associated with 24-hour PM component         revised IMPROVE equation, all 60 sites have 3-year
                                                 on the visibility index and the current secondary       measurements (U.S. EPA, 2022b, p. 2–21). Given           visibility metrics below 30 dv, 56 sites are at or
                                                 24-hour PM2.5 standard with a level of 35 mg/m3.        the uncertainties present when evaluating data
ddrumheller on DSK120RN23PROD with RULES3




                                                                                                                                                                  below 25 dv, and 26 sites are at or below 20 dv (see
                                                 However, we recognize that all three secondary PM       quality on a 24-hour basis, the uncertainty              U.S. EPA, 2022b, Appendix D, Table D–3).
                                                 standards influence the PM concentrations               associated with subdaily measurements may be                165 When light extinction is calculated using the
                                                 associated with the air quality distribution. As        even greater. Therefore, the inputs to these light       Lowenthal and Kumar IMPROVE equation, 59 sites
                                                 noted in section V.A.1 above, the current secondary     extinction calculations are based on 24-hour             have 3-year visibility metrics below 30 dv, 45 sites
                                                 PM standards include the 24-hour PM2.5 standard,        average measurements of PM2.5 mass and                   are at or below 25 dv, and 15 sites are at or below
                                                 with its level of 35 mg/m3, the annual PM2.5            components, rather than subdaily information.            20 dv. The one site with a 3-year visibility metric
                                                 standard, with its level of 15.0 mg/m3, and the 24-       161 A 3-year visibility metric with a level of 30 dv   of 32 dv exceeds the secondary 24-hour PM2.5
                                                 hour PM10 standard, with its level of 150 mg/m3.        would be at the upper end of the range of levels         standard, with a design value of 56 mg/m3 (see U.S.
                                                 With regard to the annual PM2.5 standard, we note       identified from the public preference studies.           EPA, 2022b, Appendix D, Table D–3).



                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00120   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM     06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024              Page 132 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                         16321

                                                 Kumar (2016) equation for those sites                   applying a multiplier to estimate light               particle size and composition to more
                                                 that meet the current 24-hour PM2.5                     extinction, contributing uncertainty to               accurately estimate light extinction.
                                                 standard, the 3-year visibility metric is               estimates of light extinction for such
                                                                                                                                                               b. Non-Visibility Effects
                                                 generally at or below 28 dv. For those                  conditions.
                                                 sites that exceed the current 24-hour                      At the time of the 2012 review, the                   Consistent with the evidence
                                                 PM2.5 standard, three of these sites have               EPA noted that PM2.5 is the size fraction             available at the time of the 2012 and
                                                 a 3-year visibility metric ranging                      of PM responsible for most of the                     2020 reviews, and as described in detail
                                                 between 26 dv and 30 dv, while one site                 visibility impairment in urban areas (77              in the 2022 PA (U.S. EPA, 2022b,
                                                 in Fresno, California that exceeds the                  FR 38980, June 29, 2012). Data available              section 5.3.2.2), the data remain
                                                 current 24-hour PM2.5 standard and has                  at the time of the 2012 review suggested              insufficient to conduct quantitative
                                                 a 3-year visibility index value of 32 dv                that, generally, PM10–2.5 was a minor                 analyses for PM effects on climate and
                                                 (compared to 29 dv when light                           contributor to visibility impairment                  materials. For PM-related climate
                                                 extinction is calculated with the original              most of the time (U.S. EPA, 2010b)                    effects, as explained in more detail in
                                                 IMPROVE equation) (see U.S. EPA,                        although the coarse fraction may be a                 the proposal (88 FR 5654, January 27,
                                                 2022b, Appendix D, Table D–3). At this                  major contributor in some areas in the                2023), our understanding of PM-related
                                                 site, it is likely that the 3-year visibility           desert southwestern region of the U.S.                climate effects is still limited by
                                                 metric using the Lowenthal and Kumar                    Moreover, at the time of the 2012                     significant key uncertainties. The
                                                 (2016) equation would be below 30 dv                    review, there were few data available                 recently available evidence does not
                                                 if PM2.5 concentrations were reduced                    from PM10–2.5 monitors to quantify the                appreciably improve our understanding
                                                 such that the 24-hour PM2.5 level of 35                 contribution of coarse PM to calculated               of the spatial and temporal
                                                 mg/m3 was attained.                                     light extinction. Since that time, an                 heterogeneity of PM components that
                                                    In considering visibility impairment                 expansion in PM10–2.5 monitoring efforts              contribute to climate forcing (U.S. EPA,
                                                 under recent air quality conditions, the                has increased the availability of data for            2022b, sections 5.3.2.1.1 and 5.5).
                                                 2022 PA recognizes that the differences                 use in estimating light extinction with               Significant uncertainties also persist
                                                 in the inputs to equations estimating                   both PM2.5 and PM10–2.5 concentrations                related to quantifying the contributions
                                                 light extinction can influence the                      included as inputs in the equations. The              of PM and PM components to the direct
                                                 resulting values. For example, given the                analysis in the 2020 PA addressed light               and indirect effects on climate forcing,
                                                 varying chemical composition of                         extinction at 20 of the 67 PM2.5 sites                such as changes to the pattern of
                                                 emissions from different sources, the 2.1               where collocated PM10–2.5 monitoring                  rainfall, changes to wind patterns, and
                                                 multiplier for converting OC to organic                 data were available. Since that time,                 effects on vertical mixing in the
                                                 matter (OM) in the Lowenthal and                        PM10–2.5 monitoring data are available at             atmosphere (U.S. EPA, 2022b, sections
                                                 Kumar (2016) equation may not be                        more locations and the analyses                       5.3.2.1.1 and 5.5). Additionally, while
                                                 appropriate for all source types. At the                presented in the 2022 PA include those                improvements have been made to
                                                 time of the 2012 review, the EPA judged                 for light extinction estimated with                   climate models since the completion of
                                                 that a 1.6 multiplier was more                          coarse and fine PM at all 60 sites.                   the 2009 ISA, the models continue to
                                                 appropriate, for the purposes of                        Generally, the contribution of the coarse             exhibit variability in estimates of the
                                                 estimating visibility index at sites across             fraction to light extinction at these sites           PM-related climate effects on regional
                                                 the U.S., than the 1.4 or 1.8 multipliers               is minimal, contributing less than 1 dv               scales (e.g., ∼100 km) compared to
                                                 used in the original and revised                        to the 3-year visibility metric (U.S. EPA,            simulations at the global scale (U.S.
                                                 IMPROVE equations, respectively. A                      2020b, section 5.2.1.2). However, the                 EPA, 2022b, sections 5.3.2.1.1 and 5.5).
                                                 multiplier of 1.8 or 2.1 would account                  2022 PA notes that in the updated                     While our understanding of climate
                                                 for the more aged and oxygenated                        quantitative analyses, only a few sites               forcing on a global scale is somewhat
                                                 organic PM that tends to be found in                    were in locations that would be                       expanded since the 2012 review,
                                                 more remote regions than in urban                       expected to have high concentrations of               significant limitations remain to
                                                 regions, whereas a multiplier of 1.4 may                coarse PM, such as the Southwest.                     quantifying potential adverse PM-
                                                 underestimate the contribution of                       These results are consistent with those               related climate effects in the U.S. and
                                                 organic PM found in remote regions                      in the analyses in the 2019 ISA, which                how they would vary in response to
                                                 when estimating light extinction (78 FR                 found that mass scattering from                       incremental changes in PM
                                                 3206, January 15, 2013; U.S. EPA, 2012,                 PM10¥2.5 was relatively small (less than              concentrations across the U.S. As such,
                                                 p. IV–5). The available scientific                      10%) in the eastern and northwestern                  while recent research is available on
                                                 information and results of the air quality              U.S., whereas mass scattering was much                climate forcing on a global scale, the
                                                 analyses indicate that it may be                        larger in the Southwest (more than 20%)               remaining limitations and uncertainties
                                                 appropriate to select inputs to the                     particularly in southern Arizona and                  are significant, and the recent global
                                                 IMPROVE equation (e.g., the multiplier                  New Mexico (U.S. EPA, 2019a, section                  scale research does not translate directly
                                                 for OC to OM) on a regional basis rather                13.2.4.1, p. 13–36).                                  for use at regional spatial scales.
                                                 than a national basis when calculating                     Overall, the findings of these updated             Therefore, the evidence does not
                                                 light extinction. This is especially true               quantitative analyses are generally                   provide a clear understanding at the
                                                 when comparing sites with localized                     consistent with those in the 2012 and                 necessary spatial scales for quantifying
                                                 PM sources (such as sites in urban or                   2020 reviews. The 3-year visibility                   the relationship between PM mass in
                                                 industrial areas) to sites with PM                      metric was generally below 26 dv in                   ambient air and the associated climate-
                                                 derived largely from biogenic precursor                 most areas that meet the current 24-hour              related effects in the U.S. that would be
ddrumheller on DSK120RN23PROD with RULES3




                                                 emissions (that contribute to                           PM2.5 standard. Small differences in the              necessary to evaluate or consider a level
                                                 widespread secondary organic aerosol                    3-year visibility metric were observed                of air quality to protect against such
                                                 formation), such as those in the                        between the variations of the IMPROVE                 effects and for informing consideration
                                                 southeastern U.S. The 2022 PA notes,                    equation, which may suggest that it may               of a national PM standard on climate in
                                                 however, that conditions involving PM                   be more appropriate to use one version                this reconsideration (U.S. EPA, 2022b,
                                                 from such different sources have not                    over another in different regions of the              section 5.3.2.2.1; U.S. EPA, 2019a,
                                                 been well studied in the context of                     U.S. based on PM characteristics such as              section 13.3).


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00121   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024              Page 133 of 217
                                                 16322             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                    For PM-related materials effects, as                 climate, and materials associated with                information for PM-related effects on
                                                 explained in more detail in the 2022 PA                 PM in ambient air as discussed in the                 visibility, climate, and materials, the
                                                 (U.S. EPA, 2022b, section 5.3.2.2), the                 2022 PA (summarized in sections V.B                   CASAC agreed with the EPA’s
                                                 available evidence has been somewhat                    and V.D.2 of the proposal, section V.A.2              preliminary conclusions in the 2019
                                                 expanded to include additional                          above). The quantitative information-                 draft PA, stating that ‘‘the available
                                                 information about the soiling process                   based considerations draw from the                    evidence does not call into question the
                                                 and the types of materials impacted by                  results of the quantitative analyses of               protection afforded by the current
                                                 PM. This evidence provides some                         visibility impairment presented in the                secondary PM standards and concurs
                                                 limited information to inform dose-                     2022 PA (as summarized in section V.C                 that they should be retained’’ (Cox,
                                                 response relationships and damage                       of the proposal and V.A.3 above) and                  2019b, p. 3 of letter).
                                                 functions associated with PM, although                  consideration of these results in the                    In this reconsideration, the CASAC
                                                 most of these studies were conducted                    2022 PA.                                              provided its advice regarding the
                                                 outside of the U.S. where PM                               Consideration of the scientific                    current secondary PM standards in the
                                                 concentrations in ambient air are                       evidence and quantitative information                 context of its review of the 2021 draft
                                                 typically above those observed in the                   in the 2022 PA and by the                             PA (Sheppard, 2022a). In its comments
                                                 U.S. (U.S. EPA, 2022b, section 5.3.2.1.2;               Administrator is framed by                            on the 2021 draft PA, the CASAC first
                                                 U.S. EPA, 2019a, section 13.4). The                     consideration of a series of policy-                  recognized that the scientific evidence
                                                 evidence on materials effects                           relevant questions. Section V.B.2 below               is sufficient to support a causal
                                                 characterized in the 2019 ISA also                      summarizes the rationale for the                      relationship between PM and visibility
                                                 includes studies examining effects of                   Administrators proposed decision,                     effects, climate effects and materials
                                                 PM on the energy efficiency of solar                    drawing from section V.D.3 of the                     effects.
                                                 panels and passive cooling building                     proposal. The advice and                                 With regard to visibility effects, the
                                                 materials, although the evidence                        recommendations of the CASAC and                      CASAC recognized that the
                                                 remains insufficient to establish                       public comments on the proposed                       identification of a target level of
                                                 quantitative relationships between PM                   decision are addressed below in                       protection for the visibility index is
                                                 in ambient air and these or other                       sections V.B.1 and V.B.3, respectively.
                                                                                                                                                               based on a limited number of studies
                                                 materials effects (U.S. EPA, 2022b,                     The Administrator’s conclusions in this
                                                                                                                                                               and suggested that ‘‘additional region-
                                                 section 5.3.2.1.2). While the available                 reconsideration regarding the adequacy
                                                                                                                                                               and view-specific visibility preference
                                                 evidence assessed in the 2019 ISA is                    of the secondary PM standards and
                                                                                                                                                               studies and data analyses are needed to
                                                 somewhat expanded since the time of                     whether any revisions are appropriate
                                                                                                                                                               support a more refined visibility target’’
                                                 the 2012 review, quantitative                           are described in section V.D.4.
                                                                                                                                                               (Sheppard, 2022a, p. 21 of consensus
                                                 relationships have not been established                 1. CASAC Advice                                       responses). While the CASAC did not
                                                 for PM-related soiling and corrosion and
                                                                                                            In comments on the 2019 draft PA,                  recommend revising either the target
                                                 frequency of cleaning or repair that
                                                                                                         the CASAC concurred with the staff’s                  level of protection for the visibility
                                                 further the understanding of the public
                                                                                                         overall preliminary conclusions that it               index or the level of the current 24-hour
                                                 welfare implications of materials effects
                                                                                                         is appropriate to consider retaining the              PM2.5 standard, they did state that a
                                                 (U.S. EPA, 2022b, section 5.3.2.2.2; U.S.
                                                                                                         current secondary standards without                   visibility index of 30 deciviews ‘‘needs
                                                 EPA, 2019a, section 13.4). Therefore,
                                                                                                         revision (Cox, 2019b). The CASAC                      to be justified’’ and ‘‘[i]f a value of 20–
                                                 there is insufficient information to
                                                                                                         ‘‘finds much of the information . . . on              25 deciviews is deemed to be an
                                                 inform quantitative analyses assessing
                                                                                                         visibility and materials effects of PM2.5             appropriate visibility target level of
                                                 materials effects to inform consideration
                                                                                                         to be useful, while recognizing that                  protection, then a secondary 24-hour
                                                 of a national PM standard on materials
                                                 in this reconsideration (U.S. EPA,                      uncertainties and controversies remain                PM2.5 standard in the range of 25–35
                                                 2022b, section 5.3.2.2.2; U.S. EPA,                     about the best ways to evaluate these                 mg/m3 should be considered’’
                                                 2019a, section 13.4).                                   effects’’ (Cox, 2019b, p. 13 of consensus             (Sheppard, 2022a, p. 21 of consensus
                                                                                                         responses). Regarding climate, while the              responses).
                                                 B. Conclusions on the Secondary PM                      CASAC agreed that research on PM-                        The CASAC also recognized the
                                                 Standards                                               related effects has expanded since the                limited availability of monitoring
                                                   In drawing conclusions on the                         2012 review, it also concluded that                   methods and networks for directly
                                                 adequacy of the current secondary PM                    ‘‘there are still significant uncertainties           measuring light extinction. As such,
                                                 standards, in view of the advances in                   associated with the accurate                          they suggest that ‘‘[a] more extensive
                                                 scientific knowledge and additional                     measurement of PM to the direct and                   technical evaluation of the alternatives
                                                 information now available, the                          indirect effects of PM on climate’’ (Cox,             for visibility indicators and practical
                                                 Administrator has considered the                        2019b, pp. 13–14 of consensus                         measurement methods (including the
                                                 evidence base, information, and policy                  responses). The committee                             necessity for a visibility FRM) is need
                                                 judgments that were the foundation of                   recommended that the EPA summarize                    for future reviews’’ (Sheppard, 2022a, p.
                                                 the 2020 decision and reflects upon the                 the ‘‘current scientific knowledge and                22 of consensus letter). The majority of
                                                 body of information and evidence                        quantitative modeling results for effects             the CASAC ‘‘recommend[ed] that an
                                                 available in this reconsideration. In so                of reducing PM2.5’’ on several climate-               FRM for a directly measured PM2.5 light
                                                 doing, the Administrator has taken into                 related outcomes (Cox, 2019b, p. 14 of                extinction indicator be developed’’ to
                                                 account both evidence-based and                         consensus responses), while also                      inform the consideration of the
ddrumheller on DSK120RN23PROD with RULES3




                                                 quantitative information-based                          recognizing that ‘‘it is appropriate to               protection afforded by the secondary
                                                 considerations, as well as advice from                  acknowledge uncertainties in climate                  PM standards against visibility
                                                 the CASAC and public comments.                          change impacts and resulting welfare                  impairment, the minority of the CASAC
                                                 Evidence-based considerations draw                      impacts in the United States of                       ‘‘believe that a light extinction FRM is
                                                 upon the EPA’s assessment and                           reductions in PM2.5 levels’’ (Cox, 2019b,             not necessary to set a secondary
                                                 integrated synthesis of the scientific                  p. 14 of consensus responses). When                   standard protective of visibility’’
                                                 evidence from studies evaluating                        considering the overall body of                       (Sheppard, 2022a, p. 22 of consensus
                                                 welfare effects related to visibility,                  scientific evidence and technical                     responses).


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00122   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024                  Page 134 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                                    16323

                                                    With regard to climate, the CASAC                    visibility in Class I areas,167 which                    IMPROVE algorithms, continues to be
                                                 noted that ‘‘there is a causal relationship             together would be expected to achieve                    the most appropriate indicator for the
                                                 between PM and climate change, but                      appropriate visual air quality across all                visibility index in this reconsideration
                                                 large uncertainties remain’’ and                        areas (88 FR 5658, January 27, 2023).                    (88 FR 5659, January 27, 2023).
                                                 recommended additional research                         The Administrator proposed to                               In further defining the characteristics
                                                 (Sheppard, 2022a, p. 22 of consensus                    conclude that addressing visibility                      of a visibility index based on estimates
                                                 responses). With respect to materials                   impairment in Class I areas is beyond                    of light extinction, the Administrator
                                                 damage, the CASAC noted that                            the scope of the secondary PM NAAQS                      considered the appropriate averaging
                                                 ‘‘[q]uantitative information on the                     and that setting the secondary PM                        time, form, and level of the index. With
                                                 relationship between PM and material                    NAAQS at a level that would remedy                       regard to the averaging time and form,
                                                 damage is lacking’’ and suggested some                  visibility impairment in Class I areas                   the Administrator noted that in previous
                                                 additional studies and research                         would result in standards that are more                  reviews, a 24-hour averaging time was
                                                 approaches that could provide                           stringent than is requisite.                             selected and the form was defined as the
                                                 additional information on the effects of                   In further considering what standards                 3-year average of annual 90th percentile
                                                 PM on materials and the quantitative                    are requisite to protect against adverse                 values. The Administrator recognized
                                                 assessment of the relationship between                  public welfare effects from visibility                   that the evidence available in this
                                                 materials effects and PM in ambient air                 impairment, the Administrator adopted                    reconsideration and described in the
                                                 (Sheppard, 2022a, p. 23 of consensus                    an approach consistent with the                          2022 PA continue to provide support for
                                                 responses).                                             approach used in previous reviews (88                    the short-term nature of PM-related
                                                                                                         FR 5645, January 27, 2023). That is, he                  visibility effects. Considering the
                                                 2. Basis for the Proposed Decision                                                                               available analyses of 24-hour and
                                                                                                         first identified an appropriate target
                                                    In reaching his proposed conclusions,                level of protection in terms of a PM                     subdaily PM2.5 light extinction, and
                                                 the Administrator first recognized that,                visibility index that accounts for the                   noting that the CASAC did not provide
                                                 consistent with the scope of this                       factors that influence the relationship                  advice or recommendations with regard
                                                 reconsideration, his decision in this                   between particles in the ambient air and                 to the averaging time of the visibility
                                                 reconsideration will be focused only                    visibility (i.e., size fraction, species                 index, the Administrator preliminarily
                                                 and specifically on the adequacy of                     composition, and relative humidity). He                  judged that the 24-hour averaging time
                                                 public welfare protection provided by                   then considered air quality analyses                     continues to be appropriate for the
                                                 the secondary PM standards from effects                 examining the relationship between this                  visibility index (88 FR 5659, January 27,
                                                 related to visibility, climate, and                                                                              2023).
                                                                                                         PM visibility index and the current
                                                 materials. He then considered the                                                                                   With regard to the form of the
                                                                                                         secondary 24-hour PM2.5 standard in
                                                 assessment of the current evidence and                                                                           visibility index, the Administrator noted
                                                                                                         locations meeting the current 24-hour
                                                 conclusions reached in the 2019 ISA                                                                              that, consistent with the approach taken
                                                                                                         PM2.5 and PM10 standards (U.S. EPA,
                                                 and ISA Supplement; the currently                                                                                in other NAAQS, including the current
                                                                                                         2022b, section 5.3.1.2; 88 FR 5650,
                                                 available quantitative information,                                                                              secondary 24-hour PM2.5 NAAQS, a
                                                                                                         January 27, 2023).
                                                 including associated limitations and                                                                             multi-year percentile form offers greater
                                                                                                            To identify a target level of protection,
                                                 uncertainties, described in detail and                                                                           stability to the air quality management
                                                                                                         the Administrator first considered the
                                                 characterized in the 2022 PA;                                                                                    process by reducing the possibility that
                                                                                                         characteristics of the visibility index
                                                 considerations and staff conclusions                                                                             statistically unusual indicator values
                                                 and associated rationales presented in                  and defines its elements (indicator,
                                                                                                                                                                  will lead to transient violations of the
                                                 the 2022 PA; and the advice and                         averaging time, form, and level). With
                                                                                                                                                                  standard. Using a 3-year average
                                                 recommendations from the CASAC (88                      regard to the indicator for the visibility
                                                                                                                                                                  provides stability from the occasional
                                                 FR 5655, January 27, 2023).                             index, the Administrator recognized                      effects of inter-annual meteorological
                                                    With respect to visibility, the                      that there is a lack of availability of                  variability that can result in unusually
                                                 Administrator noted the longstanding                    methods and an established network for                   high pollution levels for a particular
                                                 body of evidence that demonstrates a                    directly measuring light extinction,                     year (88 FR 5659, January 27, 2023). In
                                                 causal relationship between ambient PM                  consistent with the conclusions reached                  considering the percentile that would be
                                                 and effects on visibility (U.S. EPA,                    in the 2022 PA (U.S. EPA, 2022b,                         appropriate with the 3-year average, the
                                                 2019a, section 13.2). and that visibility               section 5.3.1.1) and with the CASAC’s                    Administrator first noted that the
                                                 impairment can have implications for                    recommendation for additional research                   Regional Haze Program targets the 20%
                                                 people’s enjoyment of daily activities                  on direct measurement methods for                        most impaired days for improvements
                                                 and for their overall sense of well-being.              light extinction in their review of the                  in visual air quality in Class I areas.168
                                                 Therefore, as in previous reviews, he                   2021 draft PA (Sheppard, 2022a, p. 22                    Based on analyses examining 90th, 95th,
                                                 considered the degree to which the                      of consensus responses). Consistent                      and 98th percentile forms, the
                                                 current secondary standards protect                     with the approaches used in reaching                     Administrator preliminarily judged that
                                                 against PM-related visibility                           decisions in 2012 and 2020, given the                    a focus similar to the Regional Haze
                                                 impairment. In so doing, and consistent                 lack of such monitoring data, the                        Program focused on improving the 20%
                                                 with previous reviews, the                              Administrator preliminarily judged that                  most impaired days suggest that the
                                                 Administrator considered the protection                 estimated light extinction, as calculated                90th percentile, which represents the
                                                 provided by the current secondary                       using one or more versions of the                        median of the 20% most impaired days,
                                                 standards against PM-related visibility                                                                          such that 90% of days have visual air
                                                                                                         term program to achieve that goal (CAA section
ddrumheller on DSK120RN23PROD with RULES3




                                                 impairment in conjunction with the                      169A).
                                                                                                                                                                  quality that is at or below the target
                                                 Regional Haze Program 166 for protecting                   167 In adopting section 169A, Congress set a goal     level of protection of the visibility
                                                                                                         of eliminating anthropogenic visibility impairment
                                                   166 The Regional Haze Program was established         at Class I areas, as well as a framework for achieving     168 As noted above, the Administrator viewed the

                                                 by Congress specifically to achieve ‘‘the prevention    that goal which extends well beyond the planning         Regional Haze Program as a complement to the
                                                 of any future, and the remedying of existing,           process and timeframe for attaining secondary            secondary PM NAAQS, and thus took into
                                                 impairment of visibility in mandatory Class I areas,    NAAQS. Thus, the Regional Haze Program will              consideration its approach to improving visibility
                                                 which impairment results from man-made air              continue to contribute to reductions in visibility       in considering how to address visibility outside of
                                                 pollution,’’ and that Congress established a long-      impairment in Class I areas.                             Class I areas.



                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00123   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM     06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024              Page 135 of 217
                                                 16324             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 index, would be reasonably expected to                  national ambient air quality standards                and the 2020 PA, all of the sites
                                                 lead to improvements in visual air                      cannot be revised to adequately protect               included in the analyses had PM10–2.5
                                                 quality for the 20% most impaired days                  visibility in all areas of the country.’’             data available, which allows for better
                                                 (88 FR 5659, January 27, 2023). In the                  H.R. Rep. 95–294 at 205. Thus, in                     characterization of the influence of the
                                                 analyses of percentiles, the results                    reaching his proposed conclusion, the                 coarse fraction on light extinction (U.S.
                                                 suggest that a higher percentile value                  Administrator recognized that there are               EPA, 2022b, section 5.3.1.2).
                                                 could have the effect of limiting the                   substantial uncertainties and limitations                The Administrator noted that the
                                                 occurrence of days with peak PM-                        in the public preference studies that                 results of these updated analyses are
                                                 related light extinction in areas outside               should be considered when selecting a                 consistent with the results from the
                                                 of Federal Class I areas to a greater                   target level of protection for the                    2012 and 2020 reviews (88 FR 5660,
                                                 degree. However, the Administrator                      visibility index and took the                         January 27, 2023). Regardless of the
                                                 preliminarily concluded that it is                      uncertainties and variability inherent in             IMPROVE equation used, these analyses
                                                 appropriate to balance concerns about                   the public preference studies into                    demonstrate that the 3-year visibility
                                                 focusing on the group of most impaired                  account. In so doing, the Administrator               metric is at or below 28 dv in all areas
                                                 days with concerns about focusing on                    first preliminarily judged that,                      meeting the current 24-hour PM2.5
                                                 the days with peak visibility                           consistent with similar judgments in                  standard (section V.C.1.b). Given the
                                                 impairment. Additionally, the                           past reviews, it is appropriate to                    results of these analyses, the
                                                 Administrator noted that the CASAC                      recognize that the secondary 24-hour                  Administrator preliminarily concluded
                                                 did not provide advice or                               PM2.5 standard is intended to address                 that the updated scientific evidence and
                                                 recommendations related to the form of                  visibility impairment across a wide                   technical information support the
                                                 the visibility index. Therefore, the                    range of regions and circumstances, and               adequacy of the current secondary PM2.5
                                                 Administrator preliminarily judged that                 that the current standard works in                    and PM10 standards to protect against
                                                 it remains appropriate to define a                      conjunction with the Regional Haze                    PM-related visibility impairment. While
                                                 visibility index in terms of a 24-hour                  Program to improve visibility, and                    the inclusion of the coarse fraction had
                                                 averaging time and a form based on the                  therefore, it is appropriate to establish a           a relatively modest impact on calculated
                                                 3-year average of annual 90th percentile                target level of protection based on the               light extinction in the analyses
                                                 values (88 FR 5659, January 27, 2023).                  upper end of the range of levels. In                  presented in the 2022 PA, he
                                                                                                         considering the information available in              nevertheless recognized the continued
                                                    With regard to the level of the
                                                                                                         this reconsideration and the CASAC’s                  importance of the PM10 standard given
                                                 visibility index, the Administrator first                                                                     the potential for larger impacts in
                                                 noted that the scientific evidence that is              advice, the Administrator proposed to
                                                                                                         conclude that the protection provided                 locations with higher coarse particle
                                                 available to inform the level of the                                                                          concentrations, such as in the
                                                 visibility index is largely the same as in              by a visibility index based on estimated
                                                                                                         light extinction, a 24-hour averaging                 southwestern U.S., for which only a few
                                                 previous reviews, and continues to                                                                            sites met the criteria for inclusion in the
                                                 provide support for a level within the                  time, and a 90th percentile form,
                                                                                                         averaged over 3 years, set at a level of              analyses in the 2022 PA (U.S. EPA,
                                                 range of 20 to 30 dv (88 FR 5659–5660,                                                                        2019a, section 13.2.4.1; U.S. EPA,
                                                 January 27, 2023). The Administrator                    30 dv (the upper end of the range of
                                                                                                         levels) would be requisite to protect                 2022b, section 5.3.1.2).
                                                 recognized that significant uncertainties                                                                        With regard to the adequacy of the
                                                 and limitations remained, in particular                 public welfare with regard to visibility
                                                                                                                                                               secondary 24-hour PM2.5 standard, the
                                                 those related to the public preference                  impairment (88 FR 5660, January 27,
                                                                                                                                                               Administrator noted that the CASAC
                                                 studies, including methodological                       2023).
                                                                                                                                                               stated that ‘‘[i]f a value of 20–25
                                                 differences between the studies, and                       In preliminarily concluding that it                deciviews is deemed to be an
                                                 that the available studies may not                      remains appropriate in this                           appropriate visibility target level of
                                                 capture the full range of visibility                    reconsideration to define the target level            protection, then a secondary 24-hour
                                                 preferences in the U.S. population (88                  of protection in terms of a visibility                PM2.5 standard in the range of 25–35 mg/
                                                 FR 5659–5660, January 27, 2023). The                    index based on estimated light                        m3 should be considered’’ (Sheppard,
                                                 Administrator also noted that, in their                 extinction as described above (i.e., with             2022a, p. 21 of consensus responses).
                                                 review of the 2021 draft PA, the CASAC                  a 24-hour averaging time; a 3-year, 90th              The Administrator recognized that the
                                                 recognized that a judgment regarding                    percentile form; and a level of 30 dv),               CASAC recommended that the
                                                 the appropriate target level of protection              the Administrator next considered the                 Administrator provide additional
                                                 for the visibility index is based on a                  degree of protection from visibility                  justification for a visibility index target
                                                 limited number of visibility preference                 impairment afforded by the existing                   of 30 dv but did not specifically
                                                 studies, with studies conducted in the                  secondary standards. He considered the                recommend that he choose an
                                                 western U.S. reporting public                           updated analyses of PM-related                        alternative level for the visibility index.
                                                 preferences for visibility impairment                   visibility impairment presented in the                The Administrator considered the
                                                 associated with the lower end of the                    2022 PA (U.S. EPA, 2022b, section                     CASAC’s advice, together with the
                                                 range of levels, while studies conducted                5.3.1.2), which reflect several                       available scientific evidence and
                                                 in the eastern U.S. reporting public                    improvements over the analyses                        quantitative information, in reaching his
                                                 preferences associated with the upper                   conducted in the 2012 review.                         proposed conclusions. He recognized
                                                 end of the range (Sheppard, 2022a, p. 21                Specifically, the updated analyses                    conclusions regarding the appropriate
                                                 of consensus responses). The                            examine multiple versions of the                      weight to place on the scientific and
                                                 Administrator noted that there have                     IMPROVE algorithm, including the
ddrumheller on DSK120RN23PROD with RULES3




                                                                                                                                                               technical information examining PM-
                                                 long been significant questions about                   version incorporating revisions since                 related visibility impairment including
                                                 how to set a national standard for                      the 2012 review (section V.B.1.a), which              how to consider the range and
                                                 visibility that is not overprotective for               provides an improved understanding of                 magnitude of uncertainties inherent in
                                                 some areas of the U.S. In establishing                  how variation in equation inputs                      that information is a public welfare
                                                 the Regional Haze Program to improve                    impacts calculated light extinction (U.S.             policy judgment left to the
                                                 visibility in Class I areas, Congress                   EPA, 2022b, Appendix D). In addition,                 Administrator. As such, the
                                                 noted that ‘‘as a matter of equity, the                 unlike the analyses in the 2012 review                Administrator noted his conclusion on


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00124   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024                Page 136 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                                  16325

                                                 the appropriate visibility index (i.e.,                 contributions of the direct and indirect              materials and that there is insufficient
                                                 with a 24-hour averaging time; a 3-year,                effects of PM and PM components on                    information at this time to revise the
                                                 90th percentile form; and a level of 30                 climate forcing (U.S. EPA, 2022b,                     current secondary PM standards or to
                                                 dv) and his conclusions regarding the                   sections 5.3.2.1.1 and 5.5). He also                  promulgate a distinct secondary
                                                 quantitative analyses of the relationship               recognized that models continue to                    standard to address PM-related
                                                 between the visibility index and the                    exhibit considerable variability in                   materials effects (88 FR 5661, January
                                                 current secondary 24-hour PM2.5                         estimates of PM-related climate impacts               27, 2023).
                                                 standard. In so doing, he proposed to                   at regional scales (e.g., ∼100 km),                      Taken together, the Administrator
                                                 conclude that the current secondary                     compared to simulations at the global                 proposed to conclude that the scientific
                                                 standards provide requisite protection                  scale (U.S. EPA, 2022b, sections                      and technical information for PM-
                                                 against PM-related visibility effects (88               5.3.2.1.1 and 5.5). As noted above, the               related visibility impairment, climate
                                                 FR 5661, January 27, 2023).                             CASAC recognized a causal relationship                impacts, and materials effects, with its
                                                    In reaching his proposed conclusions,                between PM and climate effects but also               attendant uncertainties and limitations,
                                                 the Administrator also recognized that                  the large uncertainties associated with               supports the current level of protection
                                                 the available evidence on visibility                    quantitatively assessing such effects,                provided by the secondary PM
                                                 impairment generally reflects a                         particularly on a national level in the               standards as being requisite to protect
                                                 continuum and that the public                           context of a U.S.-based standard. These               against known and anticipated adverse
                                                 preference studies did not identify a                   uncertainties led the Administrator to                effects on public welfare. For visibility
                                                 specific level of visibility impairment                 preliminarily conclude that the                       impairment, this proposed conclusion
                                                 that would be perceived as ‘‘acceptable’’               scientific information available in this              reflected his consideration of the
                                                 or ‘‘unacceptable’’ across the whole U.S.               reconsideration remains insufficient to               evidence for PM-related light extinction,
                                                 population. However, he noted that a                    quantify, with confidence, the impacts                together with his consideration of
                                                 judgment regarding the appropriate                      of ambient PM on climate in the U.S.                  updated analyses of the protection
                                                 target level of protection would take                   (U.S. EPA, 2022b, section 5.3.2.2.1) and              provided by the current secondary PM2.5
                                                 into consideration the appropriate                      that there is insufficient information at             and PM10 standards. For climate and
                                                 weight to place on the individual public                this time to revise the current secondary             materials effects, this conclusion
                                                 preference studies. In so doing, he noted               PM standards or to promulgate a                       reflected his preliminary judgment that,
                                                 that placing more weight on the public                  distinct secondary standard to address                although it remains important to
                                                 preference study from Washington, DC,                   PM-related climate effects (88 FR 5661,               maintain secondary PM2.5 and PM10
                                                 could provide support for a target level                January 27, 2023).                                    standards to provide some degree of
                                                 of protection at or near 30 dv, whereas                                                                       control over long- and short-term
                                                 placing more weight on the public                          With respect to materials effects, the
                                                                                                         Administrator noted that the available                concentrations of both fine and coarse
                                                 preference study performed in the                                                                             particles, it is generally appropriate not
                                                 Phoenix, AZ, study could provide                        evidence continues to support the
                                                                                                         conclusion that there is a causal                     to change the existing secondary
                                                 support for a target level of protection                                                                      standards at this time and that it is not
                                                 below 30 dv and down to 25 dv. While                    relationship with PM deposition (U.S.
                                                                                                         EPA, 2019a, section 13.4). He                         appropriate to establish any distinct
                                                 the Administrator noted that, in their                                                                        secondary PM standards to address PM-
                                                 review of the 2021 draft PA, the CASAC                  recognized that deposition of particles
                                                                                                         in the fine or coarse fractions can result            related climate and materials effects at
                                                 did not recommend revising the level of                                                                       this time. As such, the Administrator
                                                 the current 24-hour PM2.5 standard, the                 in physical damage and/or impaired
                                                                                                         aesthetic qualities. Particles can                    recognized that current suite of
                                                 Administrator recognized that they did
                                                                                                         contribute to materials damage by                     secondary standards (i.e., the 24-hour
                                                 recommend greater justification for a
                                                                                                         adding to the effects of natural                      PM2.5, 24-hour PM10, and annual PM2.5
                                                 target level of protection of 30 dv, and
                                                                                                         weathering processes and by promoting                 standards) together provide such control
                                                 noted that if a target level of protection
                                                                                                         the corrosion of metals, the degradation              for both fine and coarse particles and
                                                 of 20–25 dv was identified, then a
                                                                                                         of painted surfaces, the deterioration of             long- and short-term visibility and non-
                                                 secondary 24-hour PM2.5 standard in the
                                                                                                         building materials, and the weakening                 visibility (e.g., climate and materials) 169
                                                 range of 25–35 mg/m3 should be
                                                                                                         of material components. While some                    effects related to PM in ambient air. His
                                                 considered (Sheppard, 2022a, p. 21 of
                                                                                                         recent evidence on materials effects of               proposed conclusions on the secondary
                                                 consensus responses). For these reasons,
                                                 the Administrator solicited comment on                  PM is available in the 2019 ISA, the                  standards were consistent with advice
                                                 his proposed decision to retain the                     Administrator noted that this evidence                from the CASAC, which noted
                                                 current secondary 24-hour PM2.5                         is primarily from studies conducted                   substantial uncertainties remain in the
                                                 standard, as well as the appropriateness                outside of the U.S. in areas where PM                 scientific evidence for climate and
                                                 of a target level of protection for                     concentrations in ambient air are higher              materials effects. Thus, based on his
                                                 visibility below 30 dv and as low as 25                 than those observed in the U.S. (U.S.                 consideration of the evidence and
                                                 dv, and on revising the level of the                    EPA, 2019a, section 13.4). The CASAC                  analyses for PM-related welfare effects,
                                                 current secondary 24-hour PM2.5                         also noted the lack of quantitative                   as described above, and his
                                                 standard to a level as low as 25 mg/m3.                 information relating PM and material                  consideration of CASAC advice on the
                                                    With respect to climate effects, the                 effects. Given the limited amount of                  secondary standards, the Administrator
                                                 Administrator recognized that a number                  information on the quantitative                       proposed not to change those standards
                                                 of improvements and refinements have                    relationships between PM and materials                (i.e., the current 24-hour and annual
                                                                                                         effects in the U.S., and uncertainties in             PM2.5 standards, 24-hour PM10 standard)
ddrumheller on DSK120RN23PROD with RULES3




                                                 been made to climate models since the
                                                 time of the 2012 review. However,                       the degree to which those effects could               at this time (88 FR 5662, January 27,
                                                 despite continuing research and the                     be adverse to the public welfare, the                 2023).
                                                 strong evidence supporting a causal                     Administrator preliminarily judged that
                                                                                                                                                                 169 As noted earlier, other welfare effects of PM,
                                                 relationship with climate effects (U.S.                 the scientific information available in
                                                                                                                                                               such as ecological effects, are being considered in
                                                 EPA, 2019a, section 13.3.9), the                        this reconsideration remains insufficient             the separate, on-going review of the secondary
                                                 Administrator noted that there are still                to quantify, with confidence, the public              NAAQS for oxides of nitrogen, oxides of sulfur and
                                                 significant limitations in quantifying the              welfare impacts of ambient PM on                      PM.



                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00125   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024               Page 137 of 217
                                                 16326             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 3. Comments on the Proposed Decision                    exercise of the Administrator’s public                   As an initial matter, we note that the
                                                    Of the public comments received on                   welfare policy judgment under the CAA.                commenters submitted the same
                                                 the proposal, very few were specific to                 The EPA agrees with these comments                    comments related to materials effects
                                                 the secondary PM standards. Of those                    regarding the adequacy of the current                 during the 2020 review. Consistent with
                                                 commenters who did provide comments                     secondary PM standards and the lack of                our response in the 2020 notice of final
                                                 on the secondary PM standards, the                      support for revision of these standards               rulemaking (85 FR 82737, December 18,
                                                 majority support the Administrator’s                    at this time.                                         2020), we disagree with the commenters
                                                                                                            The EPA received relatively few                    that the EPA failed to consider the
                                                 proposed decision to retain the current
                                                                                                         comments on the proposed decision that                relevant scientific information about
                                                 standards. Some commenters disagree
                                                                                                         it is not appropriate to establish any                materials effects available in this
                                                 with the Administrator’s proposed
                                                                                                         distinct secondary PM standards to                    reconsideration. The 2019 ISA
                                                 conclusion to retain the current
                                                                                                         address PM-related climate effects.                   considered and included studies related
                                                 secondary standards, primarily focusing
                                                                                                         Several commenters agree that the                     to materials effects of PM, including
                                                 their comments on the need for a
                                                                                                         available scientific evidence provides                studies conducted in and outside of the
                                                 revised standard to protect against
                                                                                                         support for the 2019 conclusion that                  U.S., on newly studied materials
                                                 visibility impairment. In addition to the               there is a causal relationship between                including photovoltaic modules that
                                                 comments addressed in this notice, the                  PM and climate effects, and the                       were published prior to the cutoff date
                                                 EPA has prepared a Response to                          commenters also agree with the EPA                    for the literature search.170 These
                                                 Comments document that addresses                        that the currently available information              include the Besson et al. (2017) study
                                                 other specific comments related to                      is not sufficient for supporting                      referenced by the commenters (U.S.
                                                 setting the secondary PM standards.                     quantitative analyses for the climate                 EPA, 2019a, section 13.4.2). The
                                                 This document is available for review in                effects of PM in ambient air. These                   Gr<ntoft et al. (2019) study referenced
                                                 the docket for this rulemaking and                      commenters support the Administrator’s                by the same commenters was published
                                                 through the EPA’s NAAQS website                         proposed decision not to set a distinct               after the cutoff date for the literature
                                                 (https://www.epa.gov/naaqs/particulate-                 standard for climate.                                 search for the 2019 ISA. However, the
                                                 matter-pm-air-quality-standards).                          There were also very few commenters                EPA provisionally considered new
                                                    We first note that some commenters                   who commented on the proposed                         studies in responding to comments in
                                                 raise questions about the protection                    decision that it is not appropriate to                the 2020 review, including the new
                                                 provided by the secondary PM                            establish any distinct secondary PM                   studies highlighted by the commenters
                                                 standards for ecological effects (e.g.,                 standards to address PM-related                       in their comments on the 2020 notice of
                                                 effects on ecosystems, ecosystem                        materials effects. As with comments on                proposed rulemaking, in the context of
                                                 services, or species). However,                         climate effects, commenters generally                 the findings of the 2019 ISA (see
                                                 consistent with the 2016 IRP and as                     agree with the EPA that the evidence is               Appendix in U.S. EPA, 2020a).171 Based
                                                 described in the proposal (88 FR 5643,                  not sufficient to support quantitative                on the provisional consideration, the
                                                 January 27, 2023), other welfare effects                analyses for PM-related materials                     EPA concluded in the 2020 review that
                                                 of PM, such as the ecological effects                   effects. However, some commenters                     the new studies are not sufficient to
                                                 identified by commenters, are being                     contend that EPA failed to explain in                 alter the conclusions reached in the
                                                 considered as part of the separate,                     the proposal how the current standard                 2019 ISA regarding PM and materials
                                                 ongoing review of the secondary                         is appropriate to protect materials from              effects. For example, the Gr<ntoft et al.
                                                 standards for oxides of sulfur, oxides of               the effects of PM. These commenters                   (2019) study was based on European air
                                                 nitrogen and PM, and thus, those                        disagree with the EPA’s conclusion that               pollution which as the EPA has noted
                                                 comments are beyond the scope of this                   quantitative relationships have not been              has higher concentrations (as well as
                                                 action.                                                 established for PM-related soiling and                diversity in sources, such as light duty
                                                    Of the comments addressing the                       corrosion and frequency of cleaning or                diesel engines) compared to the U.S..
                                                 proposed decision for the secondary PM                  repair of materials, and cite to several              Thus, the EPA did not find it necessary
                                                 standards, many of the commenters                       studies conducted outside the U.S. that               or appropriate to reopen the air quality
                                                 support the Administrator’s proposed                    they contend that the EPA should                      criteria to consider this study because it
                                                 decision to retain the current secondary                consider since the same materials are                 would not have been an adequate basis
                                                 PM standards, without revision. This                    present in the U.S. They further contend              on which to set a NAAQS. As discussed
                                                 group includes industries and industry                  that, in discussing the available                     in section I, when the EPA decided to
                                                 groups and State and local governments                  scientific evidence in the 2019 ISA for               reconsider the standards, it also decided
                                                 and organizations. All of these                         studies conducted outside of the U.S.,                to reopen the air quality criteria to a
                                                 commenters generally note their                         the EPA did not provide references to                 limited degree, based on its judgment
                                                 agreement with the rationale provided                   these studies and, therefore, the public              that certain new studies were likely to
                                                 in the proposal, with a focus on the                    is unable to comment on these studies.                be useful in reconsidering the standards.
                                                 strength of the available scientific                    They further State that EPA failed to
                                                 evidence for PM-related welfare effects.                consider the following information: (1)                  170 As noted earlier in section V, the 2019 ISA

                                                 Most also recognize that the scientific                 Recent work related to soiling of                     ‘‘identified and evaluated studies and reports that
                                                 evidence and quantitative information                   photovoltaic modules and other                        that have undergone scientific peer review and
                                                                                                                                                               were published or accepted for publication between
                                                 available in this reconsideration have                  surfaces, and; (2) damage and                         January 1, 2009, and March 31, 2017. A limited
                                                 not substantially altered our previous                  degradation resulting from oxidant                    literature update identified some additional studies
                                                 understanding of PM-related effects on
ddrumheller on DSK120RN23PROD with RULES3




                                                                                                         concentrations and solar radiation for a              that were published before December 31, 2017’’
                                                 non-ecological welfare effects (i.e.,                                                                         (U.S. EPA, 2019a, Appendix, p. A–3).
                                                                                                         number of materials, including                           171 As discussed in section I.D, the EPA has
                                                 visibility, climate, and materials) and do              polymeric materials, plastic, paint, and              provisionally considered studies that were
                                                 not call into question the adequacy of                  rubber. These commenters further assert               highlighted by commenters and that were published
                                                 the current secondary standards. They                   that the EPA failed to propose a                      after the 2019 ISA. These studies are generally
                                                 find the proposed decision not to                       standard that provides requisite                      consistent with the evidence assessed in the 2019
                                                                                                                                                               ISA, and they do not materially alter our
                                                 change the standards at this time to be                 protection against materials effects                  understanding of the scientific evidence or the
                                                 well supported and a reasonable                         attributable to PM.                                   Agency’s conclusions based on that evidence.



                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00126   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024              Page 138 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                          16327

                                                 Based on the provisional consideration                  components, and specific measures of                  establishing quantitative relationships
                                                 in the 2020 review and the significant                  materials damage, such as frequency of                between particle size, concentration,
                                                 data gaps that existed at that time, the                painting or repair of materials, the EPA              chemical components, and frequency of
                                                 EPA did not include these studies                       finds the evidence is insufficient to                 painting or repair of materials. While
                                                 within the scope of the 2022 ISA                        support a secondary NAAQS to protect                  some new evidence is available in the
                                                 Supplement because, although these                      against materials effects.                            2019 ISA, overall, the data are
                                                 studies provide additional support for                     With regard to studies conducted                   insufficient to conduct quantitative
                                                 PM-related materials, the studies would                 outside of the U.S., including those                  analyses for PM-related materials
                                                 not support quantitative analyses or                    referenced by the commenters, as                      effects. Quantitative relationships have
                                                 alternative conclusions regarding these                 described in the proposal, in reaching                not been established between
                                                 effects. As described in section I.C.5.b                his proposed conclusion, the                          characteristics of PM and frequency of
                                                 above, the ISA Supplement focuses on                    Administrator recognized that while                   repainting or cleaning of materials,
                                                 a thorough evaluation of some studies                   there was some newly available                        including photovoltaic panels and other
                                                 that became available after the literature              information related to materials effects              energy-efficient materials, that would
                                                 cutoff date of the 2019 ISA that could                  of PM included in the 2019 ISA, ‘‘this                help inform our understanding of the
                                                 either further inform the adequacy of                   evidence is primarily from studies                    public welfare implications of soiling in
                                                 the current PM NAAQS or address key                     conducted outside of the U.S. in areas                the U.S. (U.S. EPA, 2022b, section
                                                 scientific topics that have evolved since               where PM concentrations in ambient air                5.3.2.2.2; U.S. EPA, 2019a, section 13.4).
                                                 the literature cutoff date for the 2019                 are higher than those observed in the                 Similarly, the information does not
                                                                                                         U.S. (U.S. EPA, 2019a, section 13.4)’’                support quantitative analyses between
                                                 ISA. In developing the ISA Supplement,
                                                                                                         (88 FR 5661, January 27, 2023). We                    microbial deterioration of surfaces and
                                                 the EPA focused on the non-ecological
                                                                                                         disagree with the commenters that EPA                 the contribution of carbonaceous PM to
                                                 welfare effects for which the evidence
                                                                                                         did not provide references for these                  the formation of black crusts that
                                                 supported a ‘‘causal relationship’’ and
                                                                                                         studies, nor that the lack of references              contribute to soiling (U.S. EPA, 2022b,
                                                 for which quantitative analyses could be
                                                                                                         inhibited the public’s ability to provide             section 5.3.2.2.2; U.S. EPA, 2019a,
                                                 supported by the evidence because
                                                                                                         comment on this proposed conclusion.                  section 13.4). We also note that
                                                 those were the welfare effects that were
                                                                                                         First, the reference to section 13.4 in the           quantitative relationships are difficult to
                                                 most useful in informing conclusions in
                                                                                                         2019 ISA is a direct citation to the                  assess, in particular those characterized
                                                 the 2020 PA. While the 2020 PA                          evaluation of newly available studies on
                                                 considered the broader set of evidence                                                                        using damage functions as these
                                                                                                         PM-related materials effects, which                   approaches depend on human
                                                 for materials effects, it concluded that                includes citations for all materials
                                                 there remained ‘substantial                                                                                   perception of the level of soiling
                                                                                                         effects evidence considered in the 2020               deemed to be acceptable and evidence
                                                 uncertainties with regard to the                        review and in this reconsideration.
                                                 quantitative relationships with PM                                                                            in this area remains limited in this
                                                                                                         Second, section 5.3.2.1.2 of the 2022 PA              reconsideration (U.S. EPA, 2022b,
                                                 concentrations and concentration                        considers the available scientific
                                                 patterns that limit[ed] [the] ability to                                                                      section 5.3.2.1.2). Additionally, we note
                                                                                                         evidence for PM-related materials                     the CASAC’s concurrence with
                                                 quantitatively assess the public welfare                effects—including citations to the
                                                 protection provided by the standards                                                                          conclusions in the 2020 PA (Cox, 2019b,
                                                                                                         studies newly available in the 2019                   p. 13 of consensus responses) and the
                                                 from these effects’ (U.S. EPA, 2020b).’’                ISA—and how that evidence informs
                                                 Therefore, the ISA Supplement did not                                                                         2022 PA (Sheppard, 2022a, p. 23 of
                                                                                                         conclusions regarding the adequacy of
                                                 include an evaluation of scientific                                                                           consensus responses) that uncertainties
                                                                                                         the standard (U.S. EPA, 2022b, section
                                                 evidence for PM-related materials                                                                             remain about the best way to evaluate
                                                                                                         5.3.2.1.2). Therefore, the EPA disagrees
                                                 effects. However, the EPA has once                                                                            materials effects of PM in ambient air.
                                                                                                         that the proposal failed to provide the
                                                 again provisionally considered new                                                                            Further, no new studies are available in
                                                                                                         proper references to the studies
                                                 studies in this reconsideration,                                                                              this reconsideration to link human
                                                                                                         conducted outside of the U.S., and that
                                                 including the studies highlighted by the                                                                      perception of reduced aesthetic appeal
                                                                                                         the public was not provided the
                                                 commenters, in the context of the 2019                                                                        of buildings and other objects to
                                                                                                         opportunity to provide comment on
                                                 ISA and concludes that, as in the 2020                                                                        materials effects and PM in ambient air.
                                                                                                         these studies.
                                                 review, these studies are not sufficient                   Moreover, we disagree with the                     Finally, uncertainties remain about
                                                 to alter the conclusions reached in the                 commenters that the EPA failed to                     deposition rates of PM in ambient air to
                                                 2019 ISA regarding PM and materials                     consider quantitative information from                surfaces and the interaction of PM with
                                                 effects or to provide sufficient                        studies available in this reconsideration.            copollutants on these surfaces (U.S.
                                                 information on which to base a                          As detailed in sections 5.3.2.1.2 and                 EPA, 2022b, section 5.6).
                                                 secondary NAAQS. The EPA agrees                         5.3.2.2 of the 2022 PA, and consistent                   With respect to the commenters’
                                                 there is a causal relationship between                  with the information available in the                 assertion that the EPA failed to consider
                                                 the presence of PM in the ambient air                   2020 review, a number of new studies                  information related to materials damage
                                                 and materials effects, but to set a                     are available that apply new methods to               and degradation from oxidant
                                                 standard, the EPA needs not only to                     characterize PM-related effects on                    concentrations and solar radiation for a
                                                 understand at what point materials                      previously studied materials; however,                variety of materials, we first note that,
                                                 effects become adverse to public welfare                the evidence remains insufficient to                  even assuming these sources of
                                                 but to be able to relate specific                       relate soiling or damage to specific                  materials damage are within the scope
                                                 concentrations of ambient PM to those                                                                         of this review of the PM NAAQS, the
ddrumheller on DSK120RN23PROD with RULES3




                                                                                                         levels of PM in ambient air or to
                                                 levels of materials effects. Given the                  establish quantitative relationships                  commenter did not provide any
                                                 significant gaps in the evidence,                       between PM and materials degradation.                 references to the scientific studies that
                                                 particularly given that the majority of                 The uncertainties in the evidence                     they suggest that the EPA did not
                                                 the recent evidence has been conducted                  identified in the 2012 review persist in              consider. Despite the lack of a list of
                                                 outside of the U.S., establishing any                   the evidence in the 2020 review and in                specific references from the commenter,
                                                 quantitative relationships between                      this reconsideration, with significant                we note that the 2019 ISA considered a
                                                 particle size, concentration, chemical                  uncertainties and limitations to                      number of studies that examined the


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00127   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024              Page 139 of 217
                                                 16328             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 relationships between PM and several of                 available scientific evidence is                      information for purposes of
                                                 the materials listed by the commenters                  insufficient to allow the Administrator               characterizing visibility impairment. As
                                                 (e.g., paint, plastic, rubber). However, as             to make a reasoned judgment about                     described in more detail in the 2020 PA
                                                 described in the 2022 PA, these studies                 what specific standard(s) would be                    (U.S. EPA, 2020b, p. 5–41) and the 2022
                                                 did not provide additional information                  requisite to protect against known or                 PA (U.S. EPA, 2022b, p. 5–53), briefly,
                                                 regarding quantitative relationships                    anticipated adverse effects to public                 these areas include: (1) Expanding the
                                                 between PM and materials that could                     welfare from PM-related materials                     number and geographic coverage of
                                                 inform quantitative analyses (U.S. EPA,                 damage or climate effects.                            preference studies in urban, rural, and
                                                 2022b, sections 5.3.2.1.2 and 5.3.2.2.2),                  Some commenters agree with the                     Class I areas; (2) evaluating visibility
                                                 nor did they alter conclusions regarding                Administrator’s proposed conclusion                   preferences of the U.S. population
                                                 the adequacy of the current standard                    that a target level of protection for                 today, given that the preference studies
                                                 (U.S. EPA, 2022b, section 5.5).                         visibility of 30 dv and the level of the              were conducted more than 15 years ago,
                                                    As summarized above and in the                       secondary 24-hour PM2.5 standard of 35                during which time air quality in the
                                                 proposal, the evidence in the 2020                      mg/m3 continues to be adequate to                     U.S. has improved; (3) accounting for
                                                 review and in this reconsideration for                  protect visibility, highlighting                      the influence of varying study methods
                                                 PM-related effects on materials is not                  improvements in visibility in the U.S.                may have on an individual’s response as
                                                 substantively changed from that in the                  Other commenters who disagree with                    to what level of visibility impairment is
                                                 2012 review. There continues to be a                    the proposed decision indicated support               acceptable, and; (4) information on
                                                 lack of evidence related to materials                   for a more stringent standard for                     people’s judgments on acceptable
                                                                                                         visibility impairment, although some of               visibility based on factors that can
                                                 effects that establishes quantitative
                                                                                                         these commenters did not necessarily                  influence their perception of visibility
                                                 relationships and supports quantitative
                                                                                                         specify the alternative standard that                 (e.g., duration of impairment
                                                 analyses of PM-related materials soiling
                                                                                                         would, in their judgment, address their               experiences, time of day, frequency of
                                                 or damage. While the information
                                                                                                         concerns related to various aspects of                impairment).
                                                 available in the 2020 review and in this
                                                                                                         the EPA’s proposal, including the                        However, the EPA disagrees with the
                                                 reconsideration continues to support a
                                                                                                         available public preference studies,                  commenters that the current secondary
                                                 causal relationship between PM in
                                                                                                         specific aspects of the visibility index,             PM standards are inadequate and
                                                 ambient air and materials effects (U.S.
                                                                                                         and the target level of protection                    should be made more stringent because
                                                 EPA, 2019a, section 13.4), the EPA is
                                                                                                         identified by the Administrator. Rather,              of the limitations and uncertainties
                                                 unable to relate soiling or damage to                   most commenters focused on particular                 associated with the available public
                                                 specific levels of PM in ambient air and                aspects of the visibility metric                      preference studies. The EPA does not
                                                 is unable to evaluate or consider a level               underlying the current secondary 24-                  view the limitations of the preference
                                                 of air quality to protect against such                  hour PM2.5 standard, including the form,              studies and other available evidence as
                                                 materials effects. Although the EPA did                 averaging time, and target level of                   so significant as to render the EPA
                                                 not propose a distinct level of air quality             protection necessary to protect against               unable to identify a secondary standard
                                                 or a national standard based on air                     visibility impairment.                                to protect against the adverse effects of
                                                 quality impacts (88 FR 5662, January 27,                   With regard to the commenters’                     PM on visibility, but the EPA also does
                                                 2023), we did identify data gaps that                   assertion that the current secondary                  not believe that the limitations
                                                 prevented us from doing so. The EPA                     standards are inadequate to protect the               themselves mean that the standards are
                                                 identified a number of key uncertainties                public welfare from PM-related                        inadequate. In fact, there is a limited
                                                 and areas of future research (U.S. EPA,                 visibility impairment, the EPA disagrees              amount of recently available scientific
                                                 2022b, section 5.6) that may inform                     that the currently available information              evidence to further inform our
                                                 consideration of the materials effects of               is sufficient to suggest that a more                  understanding of public preferences and
                                                 PM in ambient air in future reviews of                  stringent standard is warranted. The                  visibility impairment is recognized by
                                                 the PM NAAQS. The EPA notes that one                    EPA identified and addressed in great                 the Administrator in reaching his
                                                 commenter objected to the                               detail the limitations and uncertainties              proposed decision not to change the
                                                 Administrator’s proposed conclusion in                  associated with the public preference                 current secondary PM standards at this
                                                 the proposal (88 FR 5661, January 27,                   studies as a part of the 2012 review (78              time, given that the evidence base is
                                                 2023) that in light of the available                    FR 3210, January 15, 2013). Given that                largely the same as at the time of the
                                                 evidence for PM-related impacts on                      the evidence related to public                        2012 and 2020 reviews.
                                                 climate and on materials that it is                     preferences has not substantially                        These same commenters further
                                                 appropriate not to change the existing                  changed since the 2012 review, the EPA                contend that the EPA failed to use the
                                                 secondary standards at this time. The                   reiterated the limitations and                        latest science to develop a visibility
                                                 EPA has explained, in both the proposal                 uncertainties inherent in the evidence                index, stating that the EPA failed to
                                                 and this final action, the basis for its                as a part of the 2020 PA (U.S. EPA,                   consider the contrast of distance
                                                 conclusion that there is insufficient                   2020b, section 5.5), as well as in the                methodology employed in a recent
                                                 evidence to identify any particular                     2022 PA for this reconsideration (U.S.                meta-analysis of available preference
                                                 secondary standard or standards that                    EPA, 2022b, section 5.6). The 2022 PA                 studies (Malm et al., 2019). Commenters
                                                 would provide requisite protection                      highlights key uncertainties associated               claim that the EPA draws conclusions
                                                 against climate effects or materials                    with public perception of visibility                  from the Malm et al. (2019) study about
                                                 damage. The EPA acknowledges that, as                   impairment and identifies areas for                   how to relate contrast to acceptable
                                                 a result, the adoption of any distinct
ddrumheller on DSK120RN23PROD with RULES3




                                                                                                         future research to inform future PM                   visibility preferences in the 2022 ISA
                                                 secondary PM standards for those                        NAAQS reviews, including those raised                 Supplement, yet ignores the findings of
                                                 effects would be inconsistent with the                  by the commenters (U.S. EPA, 2022b,                   the study and fails to consider the
                                                 requirements of the CAA. The EPA is                     section 5.6). Specifically, the EPA agrees            ‘‘contrast of distance’’ methodology in
                                                 clarifying that it is not basing its                    with commenters that there are several                the 2022 PA and the proposal, thereby,
                                                 decisions on secondary standards in this                areas where additional information                    in their view, departing from the
                                                 reconsideration to address these welfare                would reduce uncertainty in our                       CASAC’s advice to consider this
                                                 effects because it has concluded that the               interpretation of the available                       evidence in setting the secondary


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00128   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024              Page 140 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                         16329

                                                 standard. Finally, the commenters assert                data to further evaluate the contrast of              allegation that the EPA ignored the
                                                 that the EPA did not explain why the                    distance methodology, the EPA is                      findings of the Malm et al. (2019) study
                                                 available public preference studies are                 unable to consider contrast of distance               and failed to consider the contrast of
                                                 adequate for analysis using a light                     as an alternative to estimated light                  distance methodology in the 2022 PA
                                                 extinction approach but not using the                   extinction in this reconsideration,                   and the proposal, and ignored the
                                                 contrast of distance approach, and that                 although we note that it may be                       CASAC’s advice to consider this study.
                                                 such differential treatment is arbitrary.               appropriate to evaluate it more closely               The ISA Supplement and the 2022 PA
                                                    We disagree with the commenters that                 in future reviews.                                    considered the Malm et al. (2019) study,
                                                 the EPA did not use the latest science                     In reaching conclusions regarding the              along with the full body of available
                                                 in evaluating the visibility index, and                 appropriate indicator for the visibility              scientific evidence, and took into
                                                 that the EPA failed to consider the                     index, the 2022 PA specifically notes                 account the uncertainties and
                                                 contrast of distance methodology used                   ‘‘that limited new research is available              limitations associated with the evidence
                                                 in Malm et al. (2019). As the                           on methods of characterizing visibility               for visibility preferences, in reaching
                                                 commenters state, the Malm et al. (2019)                or on how visibility is valued by the                 conclusions regarding the adequacy of
                                                 study was included in the ISA                           public, such as visibility preference                 the secondary 24-hour PM2.5 standard
                                                 Supplement (U.S. EPA, 2022a, section                    studies. Thus, while limited new                      (U.S. EPA, 2022b, pp. 5–24–5.25, 5–50).
                                                 4.2.1). However, the EPA disagrees with                 research has further informed our                        Several comments in support of
                                                 the assertion that the ISA Supplement                   understanding of the influence of                     revising the secondary 24-hour PM2.5
                                                                                                         atmospheric components of PM2.5 on                    standard to protect against visibility
                                                 reached conclusions about how to relate
                                                                                                         light extinction, the available evidence              generally recommend revisions to the
                                                 contrast to acceptable visibility
                                                                                                         to inform consideration of the public                 elements of the standard and visibility
                                                 preferences. The ISA Supplement
                                                                                                         welfare implications of PM-related                    index (indicator, averaging time, form,
                                                 provided an overview of the Malm et al.
                                                                                                         visibility impairment remains relatively              and level) consistent with those
                                                 (2019) study, stating that ‘‘[t]he main
                                                                                                         unchanged’’ (U.S. EPA, 2022b, p. 5–50).               supported by the CASAC and public
                                                 conclusion of this study was that the
                                                                                                         The EPA again notes in the proposal                   comments in previous PM NAAQS
                                                 level of acceptable visual air quality is
                                                                                                         that ‘‘there are very few studies                     reviews. Some commenters assert that
                                                 more consistent across studies using
                                                                                                         available that use scene-dependent                    the EPA’s approach in the 2022 PA and
                                                 metrics that evaluate the distinction of
                                                                                                         metrics (i.e., contrast) to evaluate public           in the proposal for this reconsideration
                                                 an object from a background than using
                                                                                                         preference information, which makes it                did not evaluate options for alternative
                                                 metrics that evaluate the greatest                      difficult to evaluate them as an                      secondary PM standards and thereby is
                                                 distance at which an object can be                      alternative to the light extinction                   flawed. We address comments on the
                                                 observed.’’ Furthermore, the statements                 approach’’ (88 FR 5649–5650, January                  elements of a visibility index and a
                                                 that the commenters are referencing in                  27, 2023). To further expand on this                  revised standard for visibility effects
                                                 support of this statement (i.e., U.S. EPA,              statement, the Malm et al. (2019) study               below.
                                                 2022b, pp. 4–5–4–6) are in fact the                     does not provide enough information to                   As an initial matter, the EPA disagrees
                                                 conclusions of the study itself, rather                 replicate the results of their contrast of            to the extent commenters are suggesting
                                                 than conclusions of the EPA. For                        distance approach to allow for a                      that the PA is legally required to analyze
                                                 example, the ISA Supplement notes that                  comprehensive evaluation of the                       options for alternative standards. The
                                                 ‘‘Malm et al. (2019) suggested that                     potential use of this methodology in                  PA is a document developed by the EPA
                                                 scene-dependent metrics like contrast,                  considering the results of the public                 in order to assist the Administrator and
                                                 which integrate the effects of bext along               preference studies for determining the                the CASAC in reaching conclusions
                                                 the sight paths between observers and                   target level of protection for visibility.            regarding the adequacy of the current
                                                 landscape features, are better predictors                  Some commenters suggests that the                  standards, and its scope is determined
                                                 of preference levels than universal                     methodology could be approximated by                  by the EPA. Moreover, the 2022 PA did
                                                 metrics like light extinction.’’ The                    simply ensuring that people could                     assess a wide range of information
                                                 suggestion that the contrast of distance                always see distant scenic elements, and               relevant to the Administrator’s decision
                                                 methodology is a better predictor than                  that characterizing typical average and/              and considered a range of potential
                                                 light extinction is one of the study                    or maximal viewing distances cross                    standards.
                                                 authors, not the EPA. The EPA has not                   different geographical areas and regions                 First, in developing the 2022 PA and
                                                 reached a conclusion on whether                         would be a straightforward                            in responding to CASAC’s advice and
                                                 contrast of distance methodology would                  Geographical Information Systems (GIS)                recommendations during its review of
                                                 be a more appropriate indicator for a                   exercise. The EPA disagrees that this                 the 2021 draft PA, the EPA expanded
                                                 visibility index than estimated light                   assessment would be straightforward,                  upon its discussion of determining the
                                                 extinction because the EPA finds that                   given the lack of data establishing                   target level of protection for the
                                                 there is insufficient information in the                viewing distances in the available                    visibility index and considered the
                                                 record at this time to support that it is               scientific record and the diversity of                extent to which the available scientific
                                                 practical to evaluate, much less adopt,                 distance to scenic elements across                    information would alter regarding the
                                                 the contrast of distance methodology on                 different areas and regions of the U.S.,              visibility index and the appropriate
                                                 a national basis. Specifically, the Malm                and finds that this approach is also not              target level of protection against PM-
                                                 et al. (2019) study does not provide as                 practical to adopt in this                            related visibility effects (U.S. EPA,
                                                 a part of their publication the specific                reconsideration. Finally, while the                   2022b, pp. 5–27–5–29). This detailed
                                                 input values to the equation to calculate                                                                     discussion expands the consideration of
ddrumheller on DSK120RN23PROD with RULES3




                                                                                                         Malm et al. (2019) study is using an
                                                 the contrast of distance associated with                alternative approach for evaluating                   the target level of protection for the
                                                 the available public preference studies                 public preferences and acceptability, we              visibility index presented in the 2020
                                                 (e.g., sight paths from the images), nor                note that this study is evaluating the                PA (U.S. EPA, 2020b) and the 2021 draft
                                                 do the preference studies present or                    same public preference studies that                   PA (U.S. EPA, 2021c), neither of which
                                                 make publicly available these data in                   have been available for the past several              specifically considered the elements of
                                                 their publications. In the absence of                   decades. For these reasons, the EPA                   the visibility index in determining the
                                                 additional studies or publicly available                disagrees with the commenters’                        appropriate target level of protection. In


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00129   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024              Page 141 of 217
                                                 16330             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 considering the available information in                IMPROVE algorithm and inclusion of                    if more weight was put on the public
                                                 the 2022 PA, the EPA concluded that                     PM10-2.5 data at all sites to allow for               preference study performed in the
                                                 the available information continued to                  better characterization of the influence              Phoenix, AZ, study (BBC Research &
                                                 provide support for a visibility index                  of the coarse fraction of PM on light                 Consulting, 2003). As described above,
                                                 with a level of 30 dv, with estimated                   extinction. The Administrator noted                   while the Administrator noted that the
                                                 light extinction as the indicator, a 24-                that the results of the analyses in the               CASAC did not recommend revising the
                                                 hour averaging time, and a 90th                         2022 PA were consistent with those                    level of the current 24-hour PM2.5
                                                 percentile form, averaged over three                    from the 2012 and 2020 reviews. He also               standard in their review of the 2021
                                                 years.                                                  recognized that, regardless of the                    draft PA, they did state that, should an
                                                    Additionally, in summarizing the air                 IMPROVE equation that was used, the                   alternative level be considered for the
                                                 quality and quantitative information in                 analyses demonstrated that the 3-year                 visibility index, revisions to the
                                                 the proposal for this reconsideration,                  visibility metric is at or below 28 dv in             secondary 24-hour PM2.5 standard
                                                 the EPA further expands upon the                        all areas meting the current 24-hour                  should also be considered (Sheppard,
                                                 discussion added to the 2022 PA related                 PM2.5 standard (88 FR 5657, January 27,               2022a, p. 21 of consensus responses).
                                                 to the target level of protection in terms              2023). The Administrator also noted                   Thus, the Administrator solicited
                                                 of a PM2.5 visibility index. In so doing,               that, in their review of the 2021 draft               comment on the appropriateness of a
                                                 the EPA considers even more                             PA, the CASAC stated that ‘‘[i]f a value              target level of protection for visibility
                                                 extensively the available public                        of 20–25 deciviews is deemed to be an                 below 30 dv and down as low as 25 dv,
                                                 preference studies and quantitative                     appropriate visibility target level of                and of revising the level of the current
                                                 analyses (88 FR 5651–5652, January 27,                  protection, then a secondary 24-hour                  secondary 24-hour PM2.5 standard to a
                                                 2023). In particular, there is a more                   standard in the range of 25–35 mg/m3                  level as low as 25 mg/m3 (88 FR 5662,
                                                 detailed discussion of the public                       should be considered (Sheppard, 2022a,                January 27, 2023), and the
                                                 preference studies, including the levels                p. 21 of consensus responses). The                    Administrator considered these public
                                                 of impairment determined to be                          Administrator recognized that while the               comments in reaching his final decision
                                                 ‘‘acceptable’’ by at least 50 percent of                CASAC recommended that additional                     on the secondary standards. Thus, the
                                                 study participants and the                              justification be provided for a visibility            EPA disagrees that the 2022 PA and the
                                                 methodologies used in the studies,                      index target level of protection of 30 dv,            proposal did not adequately consider
                                                 including uncertainties and limitations                 they did not specifically recommend                   options for revising the secondary PM
                                                 associated with the methodologies (88                   that he choose an alternative level for               NAAQS.
                                                 FR 5652, January 27, 2023). In reaching                 the visibility index. Therefore, the                     With regard to the elements of the
                                                 a proposed decision regarding the                       Administrator considered the available                visibility index, in considering the
                                                 adequacy of the secondary PM                            scientific evidence, quantitative                     adequacy of the current secondary 24-
                                                 standards, as well as the appropriate                   information, and the CASAC’s advice in                hour PM2.5 standard to protect against
                                                 target level of protection for the                      reaching his proposed conclusions. The                visibility impairment, as described in
                                                 visibility index, the Administrator                     Administrator recognized conclusions                  the proposal (88 FR 5658–5660, January
                                                 considered the available scientific                     regarding the appropriate weight to                   27, 2023), the Administrator first
                                                 evidence and quantitative analyses, as                  place on the scientific and technical                 defined an appropriate target level of
                                                 well as judgments about how to                          information, including how to consider                protection in terms of a PM visibility
                                                 consider the range and magnitude of                     the range and magnitude of                            index. In considering the information
                                                 uncertainties that are inherent in the                                                                        available in this reconsideration and the
                                                                                                         uncertainties inherent in that
                                                 scientific evidence and analyses. In so                                                                       CASAC’s advice, the Administrator
                                                                                                         information, is a public welfare policy
                                                 doing, the Administrator proposed to                                                                          proposed to conclude that the
                                                                                                         judgment left to the Administrator. As
                                                 conclude that the protection provided                                                                         protection provided by a visibility index
                                                                                                         such, the Administrator noted his
                                                 by a visibility index based on estimated                                                                      based on estimated light extinction, a
                                                                                                         preliminary conclusion on the
                                                 light extinction, a 24-hour averaging                                                                         24-hour averaging time, and 90th
                                                                                                         appropriate visibility index (i.e., with a
                                                 time, and a 90th percentile form,                                                                             percentile form, averaged over 3 years,
                                                                                                         24-hour averaging time; a 3-year, 90th
                                                 averaged over 3 years, set at a level of                                                                      set at a level of 30 dv, would be
                                                                                                         percentile form; and a level of 30 dv)
                                                 30 dv would be requisite to protect                                                                           requisite to protect public welfare with
                                                                                                         and his preliminary conclusions
                                                 public welfare with regard to visibility                                                                      regard to visibility impairment (88 FR
                                                 impairment (88 FR 5660, January 27,                     regarding the quantitative analyses of                5660, January 27, 2023).
                                                 2023).                                                  the relationship between the visibility                  In defining this target level of
                                                    Having provisionally concluded that                  index and the current secondary 24-                   protection, the Administrator first
                                                 it was appropriate to define the target                 hour PM2.5 standard. In so doing, he                  considered the indicator of such an
                                                 level of protection in terms of a                       proposed to conclude that the current                 index. He noted that, given the lack of
                                                 visibility index based on estimated light               secondary standards provide requisite                 availability of methods and an
                                                 extinction as described above (i.e., with               protection against PM-related visibility              established network for directly
                                                 a 24-hour averaging time; a 3-year, 90th                effects (88 FR 5661, January 27, 2023).               measuring light extinctions, a visibility
                                                 percentile form; and a level of 30 dv),                    However, the Administrator                         index based on estimates of light
                                                 the Administrator next considered the                   additionally recognized that the                      extinction by PM2.5 components derived
                                                 degree of protection from visibility                    available evidence on visibility                      from an adjusted version of the original
                                                 afforded by the current secondary PM                    impairment generally reflects a                       IMPROVE algorithm would be most
                                                                                                         continuum and that the public
ddrumheller on DSK120RN23PROD with RULES3




                                                 standards. In so doing, he considered                                                                         appropriate, consistent with the 2012
                                                 the updated analyses of PM-related                      preference studies did not identify a                 and 2020 reviews. As described in the
                                                 visibility impairment presented in the                  specific level of visibility impairment               proposal (88 FR 5649, January 27, 2023)
                                                 2022 PA (U.S. EPA, 2022b, section                       that would be perceived as ‘‘acceptable’’             and above (section V.A.2), the
                                                 5.3.1.2) and described in more detail in                or ‘‘unacceptable’’ across the whole U.S.             IMPROVE algorithm estimates light
                                                 the proposal (88 FR 5656, January 27,                   population. He noted a judgment of a                  extinction using routinely monitored
                                                 2023), which included estimating light                  target level of protection, below 30 dv               components of PM2.5 and PM10–2.5, along
                                                 extinction using multiple versions of the               and down to 25 dv, could be supported                 with estimates of relative humidity. The


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00130   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024              Page 142 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                          16331

                                                 Administrator, while recognizing that                   in terms of a contrast of distance                    uncertainties, as described in the 2012
                                                 some revisions to the IMRPOVE                           indicator at this time.                               review, included short-term variability
                                                 algorithm were newly available in the                      With regard to averaging time, some                in hourly data from available
                                                 2020 review, noted that the fundamental                 commenters suggested to the EPA that a                continuous monitoring methods, which
                                                 relationship between ambient PM and                     secondary standard with a different                   would prohibit establishing a subdaily
                                                 light extinction has changed very little                form than the primary standard may be                 averaging time (78 FR 3209, January 15,
                                                 and the different versions of the                       a more relevant for welfare effects.                  2013). For all of these reasons, and
                                                 IMPROVE algorithms can appropriately                    While they do not recommend a specific                consistent with the 2020 review, the
                                                 reflect this relationship across the U.S.               alternative form, the commenters point                EPA continues to believe that a subdaily
                                                 (88 FR 5658–5659, January 27, 2023). As                 to CASAC advice in past reviews where                 averaging time is not supported by the
                                                 such, he judged that defining a target                  the CASAC stated that a subdaily                      information available in this
                                                 level of protection in terms of estimated               standard based on daylight hours better               reconsideration.
                                                 light extinction continues to be a                      reflects visibility impairment.                          With regard to the form of the
                                                 reasonable approach in this                                In defining the characteristics of a               visibility index, some commenters
                                                 reconsideration.                                        visibility index, the EPA continues to                contend that the form used in evaluating
                                                                                                         believe that a 24-hour averaging time is              visibility impairment is not appropriate.
                                                    Some commenters who criticized the
                                                                                                         reasonable. This is in part based on                  First, commenters contend that the EPA
                                                 EPA’s interpretation and application of
                                                                                                         analyses conducted in the 2012 review                 incorrectly stated that the CASAC did
                                                 the Malm et al. (2019) study also
                                                                                                         that showed relatively strong                         not provide advice on the 3-year, 90th
                                                 contend that an indicator based on the
                                                                                                         correlations between 24-hour and                      percentile form of the visibility index
                                                 contrast of distance would be a
                                                                                                         subdaily (i.e., 4-hour average) PM2.5                 and that the CASAC specifically
                                                 significant improvement over the
                                                                                                         light extinction (88 FR 5659, January 27,             recommended that the EPA further
                                                 current indicator for the visibility index              2023; 85 FR 82740, December 18, 2020;                 justify the metric and form, and by not
                                                 and would more accurately evaluate                      78 FR 3226, January 15, 2013),                        doing so, the proposal arbitrarily
                                                 public preferences. However, as                         indicating that a 24-hour averaging time              departs from the CASAC’s
                                                 described in the 2022 PA (U.S. EPA,                     is an appropriate surrogate for the                   recommendations. The commenters also
                                                 2022b, section 5.3.1.1), while scene-                   subdaily time periods relevant for visual             contend that the EPA fails to explain
                                                 dependent metrics, such as contrast,                    perception. The EPA believes that these               how averaging the form over three years
                                                 may be useful alternative predictors of                 analyses continue to provide support for              is protective given that the public does
                                                 preferences compared to universal                       a 24-hour averaging time for the                      not perceive visibility in three-year
                                                 metrics like light extinction, there are a              visibility index in this reconsideration.             averages.
                                                 very limited number of studies that use                 The EPA also recognizes that the longer                  We disagree with the commenters that
                                                 such metrics to evaluate public                         averaging time may be less influenced                 the EPA departed from the CASAC’s
                                                 preferences of visibility impairment and                by atypical conditions and/or atypical                recommendations that ‘‘[t]he final PA
                                                 there is a lack of scientific evidence that             instrument performance (88 FR 5659,                   should provide a robust justification for
                                                 supports one metric over another.                       January 27, 2023; 85 FR 82740,                        the daily light extinction percentile
                                                 Moreover, the EPA finds that even if the                December 18, 2020; 78 FR 3226, January                used in the analysis’’ (Sheppard, 2022a,
                                                 Administrator agreed that the contrast of               15, 2013). When taken together, the                   p. 22 of consensus responses). In this
                                                 distance methodology was an                             available scientific information and                  statement, the CASAC did not make
                                                 improvement over light extinction, there                updated analyses of calculated light                  explicit recommendations for revisions
                                                 is insufficient information available to                extinction available in this                          to the form of the visibility index, as the
                                                 evaluate and adopt contrast of distance                 reconsideration continue to support that              commenters assert, but rather requested
                                                 as an indicator for a national visibility               a 24-hour averaging time is appropriate               additional justification for the percentile
                                                 target at this time. While, in its review               when defining a target level of                       selected for the visibility index in the
                                                 of the 2021 draft PA the CASAC                          protection against visibility impairment              2022 PA. In response to the CASAC’s
                                                 suggested that the EPA consider this                    in terms of a visibility index.                       recommendation after reviewing the
                                                 method in developing the secondary PM                      Moreover, the EPA disagrees with                   2021 draft PA, the EPA included a new
                                                 standards, the CASAC also noted that                    commenters that a secondary PM2.5                     section in the 2022 PA that explicitly
                                                 ‘‘more extensive technical evaluation of                standard with a 24-hour averaging time                discusses the elements (i.e., indicator,
                                                 the alternatives for visibility indicators              does not provide requisite protection                 averaging time, form, and level) of the
                                                 and practical measurement methods’’ is                  against the public welfare impacts of                 visibility index, including additional
                                                 needed to inform future reviews of the                  visibility impairment. At the time of the             justification for the conclusions
                                                 secondary PM standards (Sheppard,                       2012 review, the EPA recognized that                  regarding the appropriate elements for
                                                 2022a, p. 22 of consensus responses).                   hourly or subdaily (i.e., 4- to 6-hour)               the index (U.S. EPA, 2022b, pp. 5–27–
                                                 The CASAC did not recommend using                       averaging times, within daylight hours                5–29). In so doing, the 2022 PA
                                                 a different indicator for this                          and excluding hours with high relative                recognizes that there is no new
                                                 reconsideration, with the majority of                   humidity, are more directly related to                information available in this
                                                 CASAC members reiterated past advice                    the short-term nature of visibility                   reconsideration to inform selection of an
                                                 recommending development of a                           impairment and the relevant viewing                   alternative form of the visibility index,
                                                 visibility FRM for a directly measured                  periods for segments of the viewing                   and therefore, relied on the analyses
                                                 PM2.5 light extinction indicator                        public than a 24-hour averaging time. At              presented in the 2010 UFVA that
ddrumheller on DSK120RN23PROD with RULES3




                                                 (Sheppard, 2022a, p. 22 of consensus                    the time of the 2012 review, the EPA                  evaluated the different statistical forms
                                                 responses), a recommendation that was                   agreed that a subdaily averaging time                 of the visibility index. The 2022 PA also
                                                 supported by other public commenters                    would generally be preferable. However,               discusses the approach to improving
                                                 as well, and the minority of the CASAC                  the Agency noted significant data                     visual air quality in Federal Class I areas
                                                 suggested that such an FRM is not                       quality uncertainties associated with the             as a part of the Regional Haze Program
                                                 necessary. For these reasons, the EPA                   instruments that would provide hourly                 (U.S. EPA, 2022b, p. 5–28).
                                                 does not consider it feasible or                        PM2.5 mass concentrations necessary to                Furthermore, as reflected in responding
                                                 appropriate to define the visibility index              inform a subdaily averaging time. These               to public comments below, and in


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00131   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024              Page 143 of 217
                                                 16332             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 reaching his final conclusions in section               recommendation (U.S. EPA, 2022b,                      days, and meeting a visibility index
                                                 V.B.4 below, the Administrator further                  section 5.3.1.2).                                     with a 90th percentile form would mean
                                                 considers the available scientific and                    Some commenters suggest that the                    that 90% of the days have visual air
                                                 quantitative information, the CASAC’s                   90th percentile form is too low and                   quality that is at or below the level of
                                                 advice, and public comments in                          would result in 36 days being excluded                the visibility index and would
                                                 informing his final conclusions                         annually, presuming that the public                   reasonably expected to lead to
                                                 regarding the appropriate target level of               only finds it objectionable when                      improvements in visual air quality for
                                                 protection for the visibility index. With               visibility is worse than the standard on              the 20% most impaired days (U.S. EPA,
                                                 regard to the commenters’ assertion that                37 or more days per year. The                         2011, p. 4–59). The 2022 PA noted that
                                                 the EPA did not justify why averaging                   commenters also contend that the EPA’s                there is no new information from public
                                                 the form over three years is protective,                approach of using a 90th percentile form              preference studies that would inform
                                                 we agree with the commenters that                       for the visibility index is inconsistent              the Administrator’s consideration of the
                                                 people do not perceive visibility                       with the goals of the Regional Haze                   appropriate form for the visibility target
                                                 impairment in three year averages. As                   Program. In so doing, the commenters                  index, and reached conclusions
                                                 described in the 2022 PA, visibility-                   note that the Regional Haze Rule focuses              consistent with those of 2011 PA.
                                                 related effects and perceived                           on improving conditions on the worst                  However, as discussed below, the EPA
                                                 impairment are often associated with                    days, while they argue that a 90th                    disagrees that a focus on the 90th
                                                                                                         percentile form for the visibility index              percentile ‘‘ignores’’ any days with
                                                 short-term PM concentrations, and
                                                                                                         would ignore the 36 worst visibility                  worse visibility. It is possible to
                                                 therefore, the focus of the visibility
                                                                                                         days, rather than identifying them and                examine past patterns of air quality to
                                                 analyses is centered on the adequacy of
                                                                                                         reducing pollution on those days.                     judge the relationship between the 90th
                                                 the 24-hour PM2.5 standard (U.S. EPA,
                                                                                                           In reaching conclusions regarding the               percentile and higher percentiles, and to
                                                 2022b, p. 5–29). However, as described                                                                        assess whether achieving a 90th
                                                                                                         appropriate form of the visibility index,
                                                 in the 2022 PA, the 3-year average form                                                                       percentile visibility target will also
                                                                                                         the EPA is following the same approach
                                                 provides stability from the occasional                                                                        result in air quality improvements,
                                                                                                         employed in past reviews of the
                                                 effect of inter-annual meteorological                   secondary PM NAAQS, including those                   where necessary, at higher percentiles.
                                                 variability that can result in unusually                in the 2012 and 2020 rulemakings. In                  Based on its assessment of past air
                                                 high pollution levels for a particular                  reaching conclusions regarding the                    quality and potential alternative
                                                 year (U.S. EPA, 2022b, p. 5–28).                        appropriate form of the visibility index              percentiles for the form, the EPA judged
                                                 Occasional meteorological variability is                in the 2011 PA, the EPA considered the                that a 90th percentile would
                                                 of particular concern for the visibility                percentile forms of the visibility index              appropriately achieve improved air
                                                 index, which can be impacted by not                     assessed in the 2010 PA (i.e., 90th, 95th,            quality both above and below that
                                                 only PM concentrations in ambient air                   98th) along with the approach for                     percentile.
                                                 but also relative humidity. The D.C.                    improving visual air quality under the                  Some commenters suggest that the
                                                 Circuit has previously recognized that it               Regional Haze Program. In so doing, the               analyses conducted in the 2010 UFVA
                                                 is legitimate for the EPA to consider                   2011 PA notes that the Regional Haze                  are based on a different metric than the
                                                 overall stability of the standard and its               Program targets the 20% most impaired                 24-hour average being considered in the
                                                 resulting promotion of overall                          days for improvements in visual air                   reconsideration, that the analyses are
                                                 effectiveness of NAAQS control                          quality in Federal Class I areas (i.e., the           outdated and irrelevant. Therefore, the
                                                 programs in setting a standard. See                     days more impaired than the 80th                      commenters assert that relying on the
                                                 American Trucking Ass’ns v. Whitman,                    percentile). The 2011 PA recognized                   analyses in the 2010 UFVA is not a
                                                 283 F.3d 355, 375–76 (D.C. Cir. 2002).                  that to increase the likelihood of                    rational justification for the use of a
                                                 The 2022 PA concluded that the                          improving visual air quality on the                   90th percentile for the visibility index
                                                 available information continues to                      worst days, the form of the visibility                in this reconsideration. Moreover, these
                                                 provide support for a 90th percentile                   index should be set well above the 80th               commenters state that, in past reviews,
                                                 form, averaged over three years, and the                percentile. The 2011 PA further                       both the EPA and the CASAC have
                                                 inclusion of additional justification for               concluded that a 90th percentile form                 considered and recommended a 98th
                                                 the elements of the visibility index                    would represent the median of the                     percentile form, but the proposal does
                                                 responds to the CASAC’s                                 distribution of the 20% most impaired                 not consider the 98th percentile.
ddrumheller on DSK120RN23PROD with RULES3




                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00132   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024              Page 144 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                        16333

                                                    These commenters assert that the                     form and a 95th or 98th percentile form               Regional Haze Program to protect
                                                 2010 UFVA was not considering the                       remain small, and for any of these forms              visibility in Class I areas and to give
                                                 same metric under consideration here.                   of the visibility index, the estimated                visibility in these areas no weight in
                                                 However, the EPA was citing to the                      light extinction based on the original                considering the secondary PM standard
                                                 2010 UFVA for the conclusion that there                 IMPROVE equation in areas meeting the                 and that it is not rational to entirely
                                                 are correlations between different                      current secondary 24-hour PM2.5                       ignore visibility in Class I areas when
                                                 statistical forms of the visibility index.              standard is below the upper end of the                setting the secondary standard. These
                                                 To confirm whether these correlations                   range of the levels considered for the                commenters assert that the Regional
                                                 occur under recent air quality, we                      visibility index (i.e., below 30 dv).                 Haze Program provides no rational basis
                                                 conducted additional air quality                           Some commenters disagree with the                  for a target level of protection at the
                                                 analyses evaluating the visibility index                EPA’s proposed conclusion that a level                upper end of the range, nor does the
                                                 using the current percentile form (i.e.,                of 30 dv is appropriate for the visibility            EPA identify one.
                                                 90th) and two alternative forms (i.e.,                  index and support a lower level in order                 Some commenters contend that the
                                                 95th and 98th).172 While a higher                       to provide increased protection against               EPA failed to justify the adequacy of the
                                                 percentile form would further limit the                 visibility impairment. Commenters who                 current secondary annual PM2.5
                                                 number of days with peak PM-related                     support a revised level for the visibility            standard, noting that the secondary 24-
                                                 light extinction, the analyses confirm                  index state that a target level of                    hour and annual PM2.5 standards work
                                                 that a 90th percentile form is effective                protection of 30 dv would mean that                   together to provide protection against
                                                 in limiting visibility impairment at                    less than 10% of participants in the                  short- and long-term effects of PM2.5.
                                                 higher percentiles. Based on these                      public preference studies, other than the             These commenters point to CASAC
                                                 analyses, depending on which version                    Washington, DC, study, would accept                   comments on the 2021 draft PA and the
                                                 of the IMPROVE equation is used to                      visibility conditions above 29 dv. These              comments of an individual CASAC
                                                 estimate light extinction, the differences              commenters further suggest that a 75%                 member’s support for strengthening the
                                                 in the 3-year averages of estimated light               acceptability, rather than 50%                        secondary annual PM2.5 standard to
                                                 extinction for the 90th, 95th, and 98th                 acceptability, is requisite to protect                provide increased protection against
                                                 percentile forms are small. For example,                visibility sources, which would be on                 climate and materials effects over time.
                                                 in areas that meet the current 24-hour                  average a level of 21 dv when using the               They contend that EPA arbitrarily failed
                                                 PM2.5 standard, for light extinction                    light extinction method or 18 dv when                 to discuss the secondary annual PM2.5
                                                 estimated using the original IMPROVE                    using the contrast of distance method.
                                                                                                                                                               standard not only in the proposal, but
                                                 equation, all sites have light extinction               These commenters argue that, based on
                                                                                                                                                               also in the 2022 PA and in the 2020
                                                 estimates for a 90th percentile form at                 the available information, a target level
                                                                                                                                                               final decision.
                                                 or below 26 dv, for a 95th or 98th                      of protection for the visibility index of
                                                                                                         approximately 20 dv would be more                        The EPA recognizes that the selection
                                                 percentile form at or below 29 dv.173 In
                                                                                                         appropriate, and therefore, the level of              of the target level of protection for the
                                                 most locations, when estimating light
                                                                                                         the secondary 24-hour PM2.5 standard                  visibility index is fundamentally a
                                                 extinction based on the original
                                                                                                         should be strengthened to 25 mg/m3.                   public welfare policy judgment for the
                                                 IMPROVE equation, the difference
                                                                                                         Other commenters who support a                        Administrator. The Administrator is
                                                 between a 95th or 98th percentile form
                                                                                                         revised level for the visibility index                tasked by the CAA to judge when
                                                 and a 90th percentile form is generally
                                                                                                         suggest that public preference studies                visibility impairment becomes an
                                                 less than 3 dv.174 As noted in previous
                                                                                                         with longer sight paths to distant                    adverse effect on public welfare. It is
                                                 reviews, a change of 1 to 2 dv in light
                                                                                                         landscape features or with lower target               clear that visibility impairment can
                                                 extinction under many viewing
                                                                                                         levels than those in the Washington, DC               become adverse to public welfare, but
                                                 conditions will be perceived as a small,
                                                                                                         study, such as the Phoenix study, would               the Administrator does not consider that
                                                 but noticeable, change in the
                                                                                                         support a lower level. These                          every deciview of impairment is adverse
                                                 appearance of a scene, regardless of the
                                                                                                         commenters support revising the target                to public welfare. In considering the
                                                 initial amount of visibility impairment
                                                                                                         level of protection for the visibility                point at which visibility impairment
                                                 (88 FR 5657, January 27, 2023; U.S.
                                                                                                         index to a 25 dv, and revising the level              becomes adverse to public welfare, such
                                                 EPA, 2004b; U.S. EPA, 2010b). Thus,
                                                                                                         of the secondary 24-hour PM2.5 standard               that the attainment of the secondary PM
                                                 differences between a 90th percentile
                                                                                                         to a level as low as 25 mg/m3, suggesting             NAAQS would prevent the adverse
                                                   172 Gantt, B., and Hagan, N. (2023). Analysis of      that in low relative humidity                         effect, the Administrator gives weight to
                                                 Percentile Forms of the Visibility Index.               environments, 25 dv is consistent with                the public preference studies as to when
                                                 Memorandum to the Rulemaking Docket for the             PM2.5 concentrations of less than 25 mg/              visibility impairment is unacceptable.
                                                 Review of the National Ambient Air Quality                                                                    At the same time, the Administrator
                                                 Standards for Particulate Matter (EPA–HQ–OAR–
                                                                                                         m3.
                                                 2015–0072). Available at: https://                         Some commenters state that EPA’s                   recognizes the limitations of these
                                                 www.regulations.gov/docket/EPA-HQ-OAR-2015-             justification for setting a target level of           studies, which have been detailed in the
                                                 0072.                                                   protection at the upper end of the 20 to              proposal and the 2022 PA. Similarly,
                                                   173 Gantt, B., and Hagan, N. (2023). Analysis of
                                                                                                         30 dv range is arbitrary. These                       the EPA discussed the Regional Haze
                                                 Percentile Forms of the Visibility Index.                                                                     program in the proposal to highlight
                                                 Memorandum to the Rulemaking Docket for the
                                                                                                         commenters state that the EPA’s
                                                 Review of the National Ambient Air Quality              reliance on the standard operating in                 that there is a distinct program to
                                                 Standards for Particulate Matter (EPA–HQ–OAR–           many regions and circumstances as                     protect against visibility impairment in
                                                 2015–0072). Available at: https://                      support for the upper end of the range                Class I areas, and the existence of that
                                                 www.regulations.gov/docket/EPA-HQ-OAR-2015-                                                                   program is relevant to the
ddrumheller on DSK120RN23PROD with RULES3




                                                 0072.
                                                                                                         is irrational and illegal. Moreover, these
                                                   174 Gantt, B., and Hagan, N. (2023). Analysis of      commenters contend that EPA provided                  Administrator’s judgment about the
                                                 Percentile Forms of the Visibility Index.               no rational connection between the                    level of visibility impairment that is
                                                 Memorandum to the Rulemaking Docket for the             Regional Haze Program and the                         adverse to public welfare under CAA
                                                 Review of the National Ambient Air Quality              proposed decision to set the target level             109(d), because in determining what is
                                                 Standards for Particulate Matter (EPA–HQ–OAR–
                                                 2015–0072). Available at: https://
                                                                                                         of protection at the upper end of the                 requisite the Administrator is primarily
                                                 www.regulations.gov/docket/EPA-HQ-OAR-2015-             range. They suggest that the EPA                      considering visibility impairment
                                                 0072.                                                   proposed to rely exclusively on the                   outside of Class I areas.


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00133   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024              Page 145 of 217
                                                 16334             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                    In considering how to use the results                and spatial variations in ambient air                 preference results, perhaps because a
                                                 of the public preference studies, the                   quality that can result in ambient light              larger, more representative group of
                                                 Administrator concludes that a 50th                     extinction measurement not being                      participants combined with the use of
                                                 acceptability criterion is an appropriate               representative of the sight-path-averaged             computer-generated images resulted in
                                                 tool. The Administrator’s task is to set                light extinction. Computer-generated                  the smoother distribution of responses
                                                 standards that are neither more stringent               images, such as those generated with                  of ‘‘acceptable’’ visual air quality. Based
                                                 nor less stringent than necessary, and a                WinHaze, do not introduce such                        on the EPA’s evaluation of the public
                                                 50% acceptability criterion seems most                  uncertainties, as the same base                       preference studies in the 2012 review,
                                                 appropriate to use in judging when                      photograph is used (i.e., there is no                 the 50% ‘‘acceptable’’ criteria was met
                                                 visibility impairments become adverse,                  intrinsic change in scene appearance)                 at approximately 24 dv (U.S. EPA, 2010,
                                                 because it should more closely represent                and the modeled haze that is                          Table 2–3).
                                                 when the median person would find the                   superimposed on the photograph is                        We also consider the public
                                                 impairment to be adverse. The                           determined based on uniform light                     preferences for the Washington, DC,
                                                 Administrator notes this conclusion is                  extinction throughout the scene.                      studies (Abt Associates, 2001; Smith
                                                 consistent with the approach adopted in                 Because of the uncertainties and                      and Howell, 2009). The 2001
                                                 the Denver study by Ely et al. (1991)                   limitations associated with the Denver,               Washington, DC study included nine
                                                 where the 50% acceptability criterion                   CO, and British Columbia, Canada, the                 participants, and the 2009 Washington,
                                                 for urban visibility was first presented.               EPA concludes that it is appropriate to               DC, study replicated the 2001 study
                                                 This study discussed the use of the 50%                 place less weight on these studies, and               with 26 additional participants. Similar
                                                 acceptability criteria as a reasonable                  to instead focus on the public                        to the Phoenix study, the Washington,
                                                 basis for setting a standard to protect                 preference studies that were designed to              DC, studies also had the strength of
                                                 visibility in urban areas. In doing so, Ely             reduce these uncertainties and                        having the 20 images included in the
                                                 et al. (1991) noted that the 50%                        limitations.                                          study generated using WinHaze with
                                                 acceptability criterion divided the slides                 In so doing, we focus on the public                visual air quality ranging from 9 to 45
                                                 into two groups—those judged                            preference studies that use computer-                 dv. The study depicted a scene of a
                                                 acceptable and those judged                             generated images (i.e., those in the                  panoramic view of the Potomac River,
                                                 unacceptable by a majority of people in                 Phoenix, AZ, and Washington, DC)                      the National Mall, and downtown
                                                 the study—and therefore, was                            studies. As described in the proposal,                Washington, DC. All of the distinct
                                                 reasonable since it defines the point                   the use of computer-generated images                  buildings in the scene were within four
                                                 where the majority of the study                         have less variability in scene appears                miles and the higher elevations in the
                                                 participants began to judge levels of                   than in those studies that use                        background were less than 10 miles
                                                 visibility impairment as unacceptable                   photographs taken on different days and               from where the image was taken from
                                                 (Ely et al., 1991).                                     at different times of the days (i.e., those           the Arlington National Cemetary in
                                                                                                         in the Denver, CO, study) that would be               Virginia. The 50% ‘‘acceptable’’ criteria
                                                    In considering the appropriate target                likely to influence preference rating and             was met at approximately 29 dv (U.S.
                                                 level of protection, we next look to the                introduces uncertainties associated with              EPA, 2010, Table 2–3).
                                                 available public preference studies,                    using ambient measurements to present                    As described in more detail in the
                                                 noting that the selecting of the range of               sight path-averaged light extinction                  proposal, visibility preferences can vary
                                                 20 to 30 dv for the target level of                     values rather than superimposing a                    by location, and such differences may
                                                 protection for the visibility index is                  computer-generated amount of haze                     arise based on the differences in the
                                                 informed by the 50% acceptability                       onto the images (88 FR 5652, January                  cityscape scene that is depicted in the
                                                 values from these studies. The Denver,                  27, 2023).                                            images (88 FR 5652, January 27, 2023).
                                                 CO, (Ely et al., 1991) and British                         The Phoenix, AZ, public preference                 In considering the geographical
                                                 Columbia, Canada, (Pryor, 1996) studies                 study (BBC Research & Consulting,                     differences between the public
                                                 met the 50% acceptability criteria at 20                2003) had several strengths compared to               preference studies, we recognize that
                                                 dv and 19–23 dv, respectively (U.S.                     some of the other public preference                   the methodological differences between
                                                 EPA, 2022b, Table D–8). As described in                 studies. The Phoenix, AZ, study had the               the studies may influence the resulting
                                                 the proposal, these studies used                        largest number of participants (385 in 27             ‘‘acceptable’’ level of visibility
                                                 photographs that were taken at different                separate focus group sessions) of all of              impairment. In the Phoenix, AZ, study,
                                                 times of the day and on different days                  the public preference studies, with a                 the image depicted mountains in the
                                                 to capture a range of light extinction                  sample group designed to be                           background and urban features in the
                                                 levels needed for the preference studies                demographically representative of the                 foreground, whereas the Washington,
                                                 (88 FR 5652, January 27, 2023).                         Phoenix population at that time. The                  DC, study depicted nearby buildings in
                                                 Compared to studies that used                           age range in the Phoenix study was also               the image without mountains in the
                                                 computer-generated images (i.e., those                  more inclusive (18–65+), with the                     distance. As an initial matter, we note
                                                 in Phoenix, AZ, and Washington, DC)                     distribution of the study participants                that the object of interest to the study
                                                 there was more variability in scene                     corresponding reasonably well to the                  participant could differ across the
                                                 appearance in these older studies that                  overall age distribution in the 2000 U.S.             studies based on the scenes included in
                                                 could affect preference rating and                      Census for the Phoenix area (BBC                      the images being evaluated—with the
                                                 includes uncertainties associated with                  Research & Consulting, 2003).                         mountains being of greater interest in
                                                 using ambient measurements to                           Furthermore, the 21 images used in the                the images in the Phoenix, AZ, study,
                                                 represent sight path-averaged light
ddrumheller on DSK120RN23PROD with RULES3




                                                                                                         Phoenix, AZ, study were developed                     despite also depicting buildings that are
                                                 extinction values rather than                           using the WinHaze software with visual                similar to those shown and presumed to
                                                 superimposing a computer-generated                      air quality ranging from 15 to 35 dv, and             be of interest in the images in the
                                                 amount of haze onto the images. When                    the view was toward the southwest,                    Washington, DC, study (88 FR 5652,
                                                 using photographs, the intrinsic                        including downtown Phoenix, with the                  January 27, 2023). We also agree with
                                                 appearance of the scene can change due                  Sierra Estrella Mountains in the                      the commenters that the distance
                                                 to meteorological conditions (i.e.,                     background at a distance of 25 miles.                 between the object of interest and the
                                                 shadow patterns and cloud conditions)                   This study had the least noisy                        camera is an important consideration in


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00134   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024              Page 146 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                         16335

                                                 evaluating the public preference studies.               combination, they provide a greater                   impairment, judges that it is important
                                                 Objects at greater distances from the                   diversity of scenes, which is more likely             to balance the weight placed on
                                                 camera location (such as those in the                   to be representative of scenes people                 uncertainties with the strength of the
                                                 Phoenix, AZ, study which had a                          typically experience around the country               scientific evidence. As such, the
                                                 maximum distance of 42 km (U.S. EPA,                    (e.g., not only in eastern metropolitan               Administrator concludes that it is
                                                 2022b, Table D–8)) have a greater                       statistical areas, but also in western                appropriate to consider a target level of
                                                 sensitivity to light extinction, which                  areas with different vistas). In                      protection within the range of 20 to 30
                                                 alone could explain differences in                      considering these two studies together,               dv. He further concludes that in
                                                 preferences but coupled with an object                  the EPA recognizes that, first, the                   selecting a target level within that range
                                                 of greater interest results in lower                    ‘‘object of interest’’ is a subjective                it is appropriate to place weight on both
                                                 acceptable levels of visibility                         judgment left to the participants of the              the mid-point of the range, as supported
                                                 impairment. Conversely, objects at                      public preference studies, and second,                by the study in Phoenix, AZ, as well as
                                                 closer distances from the camera                        the images in these two studies may                   the upper end, as supported by the
                                                 location (such as those in the                          differ in terms of sensitivity to changes             Washington, DC, study. The
                                                 Washington, DC, study which had a                       in light extinction because of the                    Administrator notes that these two
                                                 maximum distance of 8 km (U.S. EPA,                     distance between the object of interest               studies both employ similar
                                                 2022b, Table D–8)) have less sensitivity                in the scene and the camera. As noted                 methodologies that are subject to fewer
                                                 to light extinction, which coupled with                 by the public commenters, the sight                   uncertainties than older public
                                                 objects of interest (compared to the                    path for the images in the public                     preference studies (including their use
                                                 mountainous views in the Phoenix, AZ,                   preference studies is an important                    of WinHaze to reduce uncertainties in
                                                 study) result in higher acceptable levels               consideration in reaching conclusions                 the preference solicitations) although he
                                                 of visibility impairment. These studies                 regarding the appropriate target level of             notes that the Phoenix, AZ, study
                                                 clearly demonstrate that there are                      protection for the visibility index. In               yielded the best results of the four
                                                 differences in the public preferences                   addition, the Administrator judges that               public preference studies in terms of the
                                                 across the studies depending on the                     giving weight to multiple studies is a                least noisy preference results and the
                                                 images that are used, in particular the                 more appropriate approach than                        most representative selection of
                                                 object of interest to the study participant             focusing on a single study, particularly              participants. Furthermore, he notes the
                                                 depicted in the image and the distance                  where the study design (including the                 differences between the scenes used for
                                                 of the sight path to the object, and that               representativeness of the participants                each study and finds that consideration
                                                 such differences can influence                          and the scenes depicted in the images)                of these studies together is more
                                                 preference results.                                     may be important for interpreting the                 appropriate in selecting a national target
                                                   However, we note that these                           results of the public preference studies              for visibility protection than considering
                                                 uncertainties and limitations have                      for informing conclusions regarding the               either study alone. Thus, in considering
                                                 persisted from past reviews, and there is               visibility index. Given these                         this information, along with the
                                                 very little new information to inform                   considerations and taking into                        uncertainties and limitations of the
                                                 conclusions regarding the interpretation                consideration public comments on the                  public preference studies, the
                                                 of these results with regard to the target              target level of protection for the                    Administrator judges that it would be
                                                 level of protection. In selecting a target              visibility index, the Administrator                   appropriate to select a target level of
                                                 level of protection, and in considering                 recognizes that it is more appropriate to             protection based on placing equal
                                                 the CASAC’s advice in their review of                   consider a broader range of public                    weight on the upper end of the range
                                                 the 2021 draft PA and public comments,                  preferences, reflecting a broader range of            (i.e., 30 dv) and the middle of the range
                                                 we conclude that it is appropriate to                   scenes, by putting significant weight on              (i.e., 24 dv based on the Phoenix, AZ,
                                                 consider the information from the                       both the Washington, DC, and Phoenix,                 study) in order to identify a nationwide
                                                 public preference studies in                            AZ, studies. In so doing, he reaches the              target for protection against visibility
                                                 Washington, DC, and Phoenix, AZ, and                    conclusion that it would be appropriate               impairment. In so doing, the
                                                 in so doing, that it is appropriate to                  to identify secondary PM standards that               Administrator concludes that a visibility
                                                 place weight on both of these studies in                generally limit visibility impairment to              index with a target level of protection of
                                                 reaching conclusions on the appropriate                 a level between the two studies.                      27, defined in terms of estimated light
                                                 target level of protection. The EPA                        The Administrator next considers                   extinction, with a 24-hour averaging
                                                 recognizes that the scenes depicted in                  what target level of protection would be              time and a 3-year, 90th percentile form,
                                                 these two studies are different and may                 appropriate based on the available                    would provide adequate protection
                                                 influence public preferences of visibility              information from these public                         against PM-related visibility effects on
                                                 impairment, but notes these studies can                 preference studies. He first recognizes               public welfare. Such a target level of
                                                 be considered together as providing                     that, in the 2012 and 2020 final                      protection balances the information
                                                 information about different areas across                decisions, the then-Administrators                    from two key studies reflecting different
                                                 the U.S. with variations in the scenes                  selected a target level of protection of 30           participant preferences for different
                                                 that people are likely to most commonly                 dv, based on the upper end of the range.              vistas in different parts of the country,
                                                 encounter. The scene depicted in the                    In so doing, the then-Administrators                  appropriately weighting both near-field
                                                 images used in the Washington, DC,                      judged that it was appropriate to place               and more distant landscape features that
                                                 study have a mix of buildings,                          more weight on the uncertainties                      may be of importance to public
                                                 landmarks, and open space. On the                       associated with the public preference                 perceptions of visibility.
ddrumheller on DSK120RN23PROD with RULES3




                                                 other hand, the scene depicted in the                   studies in reaching their conclusions.                   The Administrator notes that the
                                                 Phoenix, AZ, study included a mix of                    However, in this reconsideration, the                 available evidence indicates that the
                                                 buildings in the foreground and with                    current Administrator, while continuing               relationship between PM and light
                                                 more distant mountains in the                           to recognize that substantial                         extinction is complex, depending on
                                                 background. The Administrator                           uncertainties remain and that there is                factors such as PM composition, size
                                                 considers it appropriate to consider                    relatively limited new information                    fraction, and age of the particles in
                                                 these studies together because in                       regarding public preferences of visibility            ambient air, as well as relative


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00135   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024              Page 147 of 217
                                                 16336             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 humidity. These factors can vary across                 in section V.A.1.3, we recognize that                 secondary 24-hour PM2.5 standard in the
                                                 the country based on differences in                     there are differences in the inputs for               range of 25–35 mg/m3 should be
                                                 regional influences, as well as                         the three IMPROVE equations that can                  considered’’ (Sheppard, 2022a, p. 21 of
                                                 meteorological conditions that can vary                 influence the resulting estimated light               consensus responses).
                                                 spatially and temporally in different                   extinction values. The higher multiplier                 Thus, the Administrator concludes
                                                 areas. The Administrator also recognizes                for converting OC to OM in the                        that weight on both the upper end of the
                                                 that this variability, coupled with the                 Lowenthal & Kumar IMPROVE equation                    range of target levels of protection for
                                                 age of the PM depending on the distance                 (i.e., a multiplier of 2.1) may be more               the visibility index identified in
                                                 from the source to the monitor location,                appropriate in more remote locations                  previous reviews and the mid-point of
                                                 also complicates the selection of which                 where there is more aged and                          the range, as presented by the Phoenix,
                                                 IMPROVE equation is most appropriate                    oxygenated organic PM than in urban                   AZ, public preference study, and
                                                 in different areas, although he notes that              locations. The three locations with air               focusing on a target level of protection
                                                 different IMPROVE equations will yield                  quality at 28 dv are all in urban areas               of 27 dv, he still judges the current
                                                 similar, but not identical, results. In so              (downtown Los Angeles, CA; Rubidoux,                  secondary 24-hour PM2.5 standard
                                                 doing, the Administrator takes note of                  CA; Salt Lake City, UT) and tend to have              requisite to achieve that target because
                                                 the figures presented in the 2022 PA,                   higher levels of nitrate and OC,                      the standard generally maintains the
                                                 which depict the comparisons using the                  especially during the wintertime when                 visibility index at or below 27 dv such
                                                 original IMPROVE equation (Figure 5–                    peak PM2.5 concentrations typically                   that more stringent standards are not
                                                 3), the revised IMPROVE equation                        occur. In these locations, it may be more             warranted.
                                                 (Figure 5–4), and the Lowenthal &                       appropriate to use either the original or                The EPA agrees with the commenters
                                                 Kumar equation (Figure 5–6), as well as                 revised IMPROVE equation, which have                  that the secondary PM standards work
                                                 the estimated light extinction values for               multipliers of 1.4 and 1.8, respectively,             together to provide protection against
                                                 the three different equations presented                 in order to refine the inputs such that               short- and long-term effects of both fine
                                                 in Table D–7.                                           estimated light extinction in these                   and coarse particles (U.S. EPA, 2022b,
                                                    The Administrator notes that when                    locations is more accurately                          section 5.5; 88 FR 5661, January 27,
                                                 light extinction is calculated using the                characterized based on site-specific                  2023). However, the EPA disagrees with
                                                 original IMPROVE equation, all 60 sites                 characteristics.                                      commenters that we failed to discuss
                                                 have 3-year visibility metrics below 28                    We also note that the four areas that              the secondary annual PM2.5 standard in
                                                 dv, 58 sites are at or below 25 dv, 26                  exceed the secondary 24-hour PM2.5                    the proposal, 2022 PA, and the 2020
                                                 sites are at or below 20 dv, and of the                 standard also generally had air quality               final notice and that we failed to justify
                                                 two sites above 25 dv one is at 26 dv                   that was below 27 dv in terms of the                  the adequacy of the secondary annual
                                                 and the other has a 24-hour PM2.5 design                visibility index, with only two locations             PM2.5 standard. As described in the
                                                 value of 56 mg/m3 (i.e., well above the                 experiencing a visibility index above 27              2022 PA and the proposal, we recognize
                                                 current 24-hour standard). Results are                  dv. One location that exceeds the                     that PM2.5 is the size fraction of PM
                                                 similar for other IMPROVE equations.175                 secondary 24-hour PM2.5 standard had a                responsible for most of the visibility
                                                 Based on these analyses, and consistent                 visibility index of 29 dv using the                   impairment in urban areas (U.S. EPA,
                                                 with the results of similar analyses in                 original IMPROVE equation, while two                  2022b, section 5.3.1.2; 88 FR 5654,
                                                 the 2012 review and the 2020 PA, the                    locations were 30 and 32 dv using the                 January 27, 2023). Analyses in the 2019
                                                 Administrator concludes that the                        Lowenthal & Kumar IMPROVE                             ISA found that mass scattering from
                                                 current secondary 24-hour PM2.5                         equation. We believe attainment and                   PM10–2.5 was relatively small (less than
                                                 standard, with its level of 35 mg/m3,                   maintenance of the secondary 24-hour                  10%) in the eastern and northwestern
                                                 maintains the visibility index below 27                 PM2.5 standard will result in improved                U.S., whereas mass scattering was much
                                                 dv, and in fact, the current standard                   air quality in these areas, such that the             larger in the Southwest (more than
                                                 maintains air quality such that many                    visibility index values for these areas               20%), particularly in southern Arizona
                                                 areas have visibility index values that                 will decrease even further.                           and New Mexico (U.S. EPA, 2019,
                                                 range between 15 and 25 dv for all three                   The Administrator recognizes that in               section 13.2.4.1, p. 13–36). Given the
                                                 IMPROVE equations. In the areas that                    concluding that it is appropriate to                  relationship between visibility and
                                                 meet the secondary 24-hour PM2.5                        identify secondary PM standards that                  PM2.5 along with the short-term nature
                                                 standard, all locations were below 27 dv                generally limit visibility impairment to              of visibility effects, we focus more on
                                                 when using the original and revised                     as low as 27 dv in terms of the visibility            the adequacy of the secondary 24-hour
                                                 IMPROVE equation and all but three                      index, the current secondary PM                       PM2.5 standard for providing protection
                                                 locations were at or below 27 dv when                   standards continue to provide                         against visibility impairment (U.S. EPA,
                                                 using the Lowenthal & Kumar IMPROVE                     protection against visibility impairment              2022b, section 5.3.1.2; 88 FR 5653,
                                                 equation. Three locations (two in                       associated with a visibility index as low             January 27, 2023). In reaching his
                                                 California and one in Utah) had air                     as, or even lower than, 27 dv. In so                  proposed conclusions, the
                                                 quality that was at 28 dv when the                      doing, he notes that when meeting the                 Administrator clearly states that he
                                                 Lowenthal & Kumar IMPROVE equation                      current 24-hour PM2.5 standard, all sites             ‘‘recognizes that the current suite of
                                                 was used. As described in more detail                   have a visibility index at or below 27 dv             secondary standards (i.e., the 24-hour
                                                                                                         with the original and revised IMPROVE                 PM2.5, 24-hour PM10, and annual PM2.5
                                                   175 When light extinction is calculated using the     equations, and all but three sites at or              standards) together provide . . . control
                                                 revised IMPROVE equation, all 60 sites have 3-year      below 27 dv with the Lowenthal and                    for both fine and coarse particulates and
                                                 visibility metrics below 28 dv, 56 sites are at or
ddrumheller on DSK120RN23PROD with RULES3




                                                                                                         Kumar IMPROVE equation.                               long- and short-term visibility and non-
                                                 below 25 dv, and 26 sites are at or below 20 dv.
                                                 When light extinction is calculated using the
                                                                                                         Furthermore, the Administrator notes                  visibility (e.g., climate and materials)
                                                 Lowenthal and Kumar IMPROVE equation, 59 sites          that this conclusion is consistent with               effects related to PM in ambient air’’ (88
                                                 have 3-year visibility metrics below 28 dv, 45 sites    the CASAC’s advice who, in their                      FR 5661, January 27, 2023). Thus, by
                                                 are at or below 25 dv, and 15 sites are at or below     review the 2021 draft PA, stated that                 explaining how the secondary standards
                                                 20 dv. The one site with a 3-year visibility metric
                                                 of 32 dv exceeds the secondary 24-hour PM2.5
                                                                                                         ‘‘[i]f a value of 20–25 deciviews is                  work together to provide protection
                                                 standard, with a design value of 56 mg/m3 (see U.S.     deemed to be an appropriate visibility                from adverse effects, why we focus on
                                                 EPA, 2022b, Appendix D, Table D–3).                     target level of protection, then a                    the secondary 24-hour PM2.5 standard as


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00136   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024              Page 148 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                          16337

                                                 most relevant to visibility impairment,                 and decisions on the primary and                      recognizes that his final decision is
                                                 and how the Administrator selected the                  secondary standards are independent                   based on an interpretation of the
                                                 target level of protection for the                      and consider different aspects of the                 scientific evidence and technical
                                                 visibility index, we have addressed the                 available scientific evidence and                     analyses that neither overstates nor
                                                 CASAC’s request to support the                          information in reaching conclusions                   understates their strengths and
                                                 proposed decision to revise the                         regarding the adequacy of the standards               limitations, or the appropriate
                                                 secondary 24-hour PM2.5 standard while                  in protecting against PM-related health               inferences to be drawn. In particular,
                                                 retaining the secondary annual PM2.5                    and welfare effects.                                  the Administrator notes that the
                                                 standard. The commenters also cite to                                                                         assessment of when visibility
                                                                                                         4. Administrator’s Conclusions
                                                 an individual CASAC member’s                                                                                  impairment is adverse to public welfare
                                                 comments for the review of the 2021                        This section summarizes the                        requires a public welfare policy
                                                 draft PA who stated ‘‘[f]or the limited                 Administrator’s considerations and                    judgment informed by available
                                                 scope of this reconsideration review, I                 conclusions related to the current                    scientific and quantitative information.
                                                 see no reason to not simply set the                     secondary PM2.5 and PM10 standards                       In considering the adequacy of the
                                                 Secondary equal to the Primary PM                       and presents the rationale for his                    current secondary PM standards in this
                                                                                                         decision that no change is required for               reconsideration, the Administrator has
                                                 Standards, whatever they may be’’
                                                                                                         those standards at this time. The CAA                 carefully considered the: (1) Policy-
                                                 (Sheppard, 2022a, p. A–3). This CASAC
                                                                                                         provisions require the Administrator to               relevant evidence and conclusions
                                                 member did not provide a supporting
                                                                                                         establish secondary standards that, in                contained in the 2019 ISA and 2022 ISA
                                                 rationale for revising the secondary
                                                                                                         the judgment of the Administrator, are                Supplement; (2) the quantitative
                                                 standards to levels equal to the primary                requisite to protect public welfare from              information presented and assessed in
                                                 standards. Although areas across the                    known or anticipated adverse effects                  the 2022 PA; (3) the evaluation of this
                                                 country are required to attain both the                 associated with the presence of the                   evidence, the quantitative information,
                                                 primary and secondary PM2.5 standards                   pollutant in the ambient air. In so doing,            and the rationale and conclusions
                                                 so air quality is unaffected by the                     the Administrator seeks to establish                  presented in the 2022 PA; (4) the advice
                                                 Administrator’s decision not to revise                  standards that are neither more nor less              and recommendations from the CASAC;
                                                 the secondary standards to be equal to                  stringent than necessary for this                     and (5) public comments. In the
                                                 the primary standards, as described in                  purpose. The Act does not require that                discussion below, the Administrator
                                                 responding to comments above, the                       standards be set at a zero-risk level, but            gives weight to the 2022 PA
                                                 CAA provisions require the                              rather at a level that reduces risk                   conclusions, with which the CASAC
                                                 Administrator to establish secondary                    sufficiently so as to protect the public              generally concurred during their review
                                                 standards that, in the judgment of the                  welfare from known or anticipated                     of the 2019 draft PA and 2021 draft PA,
                                                 Administrator, are requisite to protect                 adverse effects. The final decision on                as summarized in section IV.B.1 of the
                                                 public welfare from known or                            the adequacy of the current secondary                 2020 final notice and section V.D.1 of
                                                 anticipated adverse effects associated                  standards is a public welfare policy                  the 2022 proposal, and takes note of key
                                                 with the presence of the pollutant in                   judgment to be made by the                            aspects of the rationale for those
                                                 ambient air. In so doing, the                           Administrator. The decision should                    conclusions that contribute to his
                                                 Administrator seeks to establish                        draw on the scientific information and                decision in this reconsideration. After
                                                 standards that are neither more nor less                analyses about welfare effects, and                   giving careful consideration to all of this
                                                 stringent than necessary for this                       associated public welfare significance,               information, the Administrator judges
                                                 purpose. The Act does not require that                  as well as judgments about how to                     that no change is required for the
                                                 standards be set at a zero-risk level, but              consider the range and magnitude of                   secondary PM standards at this time.
                                                 rather at a level that reduces risk                     uncertainties that are inherent in the                   In considering the 2022 PA
                                                 sufficiently so as to protect the public                scientific evidence and analyses. This                evaluations and conclusions, the
                                                 welfare from known or anticipated                       approach is based on the recognition                  Administrator takes note of the overall
                                                 adverse effects. The final decision on                  that the available evidence generally                 conclusions that the non-ecological
                                                 the adequacy of the current secondary                   reflects a continuum that includes                    welfare effects evidence and
                                                 standards is a public welfare policy                    ambient air exposures at which                        quantitative information are generally
                                                 judgment to be made by the                              scientists agree that effects are likely to           consistent with what was considered in
                                                 Administrator. In reaching his proposed                 occur through lower levels at which the               the 2020 final decision and in the 2012
                                                 and final decisions regarding the                       likelihood and magnitude of responses                 review (U.S. EPA, 2022b, section 5.5).
                                                 adequacy of the current secondary PM                    become increasingly uncertain. This                   The scientific evidence for non-
                                                 standards, the Administrator considered                 approach is consistent with the                       ecological welfare effects in this
                                                 the available scientific information and                requirements of the provisions of the                 reconsideration is largely the same as
                                                 analyses about welfare effects, and                     Clean Air Act related to the review of                that available in the 2019 ISA and 2020
                                                 associated public welfare significance,                 NAAQS and with how the EPA and the                    PA. As described in section I.C.5.b
                                                 as well as judgments about how to                       courts have historically interpreted the              above, the 2022 ISA Supplement
                                                 consider the range and magnitude of                     Act.                                                  included a limited number of newly
                                                 uncertainties that are inherent in the                     Given these requirements, the                      available studies on PM-related
                                                 scientific evidence and analyses. In so                 Administrator’s final decision in this                visibility effects. This newly available
                                                 doing, the Administrator concluded that                 reconsideration is a public welfare                   evidence on visibility effects, along with
                                                 the currently available scientific                      policy judgment that draws upon the
ddrumheller on DSK120RN23PROD with RULES3




                                                                                                                                                               the full body of non-ecological welfare
                                                 evidence and quantitative analyses,                     scientific and technical information                  effects evidence assessed in the 2019
                                                 including uncertainties and limitations,                examining PM-related visibility                       ISA, reaffirms conclusions on the
                                                 do not call into question the adequacy                  impairment, climate effects and                       visibility, climate, and materials effects
                                                 of the current secondary PM standards                   materials effects, including how to                   recognized in the 2020 final decision
                                                 and that the current secondary PM                       consider the range and magnitude of                   and in the 2012 review, including key
                                                 standards should be retained, without                   uncertainties inherent in that                        conclusions on which the standards are
                                                 revision. The Administrator’s judgments                 information. The Administrator                        based. Further, as discussed in more


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00137   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024              Page 149 of 217
                                                 16338             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 detail above, the updated quantitative                  established a long-term program to                    light extinction has generally changed
                                                 analyses of visibility impairment for                   achieve that goal (CAA section 169A). In              very little over time; however, several
                                                 areas meeting the current standards in                  adopting section 169, Congress set a                  versions of the IMPROVE equation have
                                                 the 2022 PA support the adequacy of the                 goal of eliminating anthropogenic                     been developed and evaluated that
                                                 current secondary PM standards to                       visibility impairment at Class I areas, as            could be used to estimate light
                                                 protect against PM-related visibility                   well as a framework for achieving that                extinction. As at the time of the
                                                 impairment. The Administrator also                      goal which extends well beyond the                    proposal, the Administrator recognizes
                                                 recognizes that uncertainties and                       planning process and timeframe for                    that the results of the quantitative
                                                 limitations continue to be associated                   attaining the secondary PM NAAQS.                     analyses in the 2022 PA that examined
                                                 with the available scientific evidence                  Recognizing that the Regional Haze                    three versions of the IMPROVE equation
                                                 and quantitative information.                           Program will continue to contribute to                indicate that there are very small
                                                    With regard to the current evidence                  reductions in visibility impairment in                differences in estimates of light
                                                 on visibility effects, as summarized in                 Class I areas, consistent with his                    extinction between the equations, and
                                                 the 2022 PA and discussed in detail in                  proposed conclusions, the                             that it is not always clear that one
                                                 the 2019 ISA and ISA Supplement, the                    Administrator concludes that                          version of the IMPROVE equation is
                                                 Administrator notes the long-standing                   addressing visibility impairment in                   more appropriate for estimating light
                                                 body of evidence for PM-related                         Class I areas is largely beyond the scope             extinction across the U.S. than other
                                                 visibility impairment. As in previous                   of the secondary PM standards and that                versions of the IMPROVE algorithm (88
                                                 reviews, this evidence continues to                     setting the secondary 24-hour PM2.5                   FR 5659, January 27, 2023). He also
                                                 demonstrate a causal relationship                       standard at a level that would remedy                 recognizes that the selection of inputs to
                                                 between PM in ambient air and effects                   visibility impairment in Class I areas                the IMPROVE equation (e.g., the
                                                 on visibility (U.S. EPA, 2019a, section                 would result in standards that are more               multiplier for OC to OM) may be more
                                                 13.2). The Administrator recognizes that                stringent than is requisite.                          appropriate on a regional basis rather
                                                 visibility impairment can have                             In further considering what standards              than a national basis when calculating
                                                 implications for people’s enjoyment of                  are requisite to protect against adverse              light extinction, and notes the CASAC’s
                                                 daily activities and for their overall                  public welfare effects from visibility                advice that PM-visibility relationships
                                                 sense of well-being. Therefore, as in                   impairment, the Administrator                         are region specific (Sheppard, 2022a, p.
                                                 previous reviews, he considers the                      concludes that it is appropriate to use               21 of consensus responses). The
                                                 degree to which the current secondary                   an approach consistent with the                       Administrator further notes that neither
                                                 standards protect against PM-related                    approach used past reviews (88 FR                     the CASAC nor public commenters
                                                 visibility impairment and the degree to                 5650, January 27, 2023). He first                     recommended a specific IMPROVE
                                                 which PM-related visibility impairment                  identifies an appropriate target level of             equation or an approach for using
                                                 is adverse to public welfare. In                        protection in terms of a PM visibility                different IMPROVE equations across the
                                                 particular, in recognizing the short-term               index that takes into account the factors             U.S. Therefore, given the absence of a
                                                 nature of visibility impairment along                   that influence the relationship between               robust monitoring network to directly
                                                 with the fact that PM2.5 is the size                    PM in ambient air and visibility (i.e.,               measure light extinction, the
                                                 fraction that contributes most to light                 size fraction, species composition, and               Administrator concludes that light
                                                 extinction, the Administrator especially                relative humidity). He then considers                 estimated light extinction, as calculated
                                                 focuses on the adequacy of the current                  the air quality analyses conducted in the             using one or more versions of the
                                                 secondary 24-hour PM2.5 standard in                     2022 PA that examine the relationship
                                                                                                                                                               IMPROVE algorithms, continues to be
                                                 providing protection against PM-related                 between the PM visibility index and the
                                                                                                                                                               the most appropriate indicator for the
                                                 visibility effects judged to be adverse.                current secondary 24-hour PM2.5
                                                                                                                                                               visibility index.
                                                 The Administrator also considers the                    standard in locations that meet the
                                                 protection provided by the current                      current 24-hour PM2.5 and PM10                           Having reached the conclusion that
                                                 secondary 24-hour PM2.5 standard                        standards (U.S. EPA, 2022b, section                   estimated light extinction is the
                                                 against PM-related visibility impairment                5.3.1.2).                                             appropriate indicator for the visibility
                                                 in conjunction with the Regional Haze                      In reaching conclusions regarding the              index, the Administrator next considers
                                                 Program as a means of achieving                         target level of protection, the                       the appropriate averaging time and form
                                                 appropriate levels of protection against                Administrator first considers the                     of the index. With regard to the
                                                 PM-related visibility impairment in                     characteristics of the visibility index               averaging time and form, the
                                                 urban, suburban, rural, and Federal                     and defines its elements (indicator,                  Administrator notes that in previous
                                                 Class I areas across the U.S. Programs                  averaging time, form, and level). With                reviews, a 24-hour averaging time was
                                                 implemented to meet the secondary PM                    regard to the indicator for the visibility            selected and the form was defined as the
                                                 standards, along with the requirements                  index, the Administrator continues to                 3-year average of annual 90th percentile
                                                 of the Regional Haze Program                            recognize that, consistent with the                   values. As at the time of proposal, the
                                                 established for protecting against                      conclusions of the 2022 PA and the                    Administrator recognizes that the
                                                 visibility impairment in Class I areas,                 CASAC’s advice in their review of the                 available information continues to
                                                 would be expected to improve visual air                 2021 draft PA, there is a lack of                     provide support for the short-term
                                                 quality across all areas of the country.                availability of methods and an                        nature of visibility effects. He further
                                                    As described in the proposal (88 FR                  established network for directly                      recognizes that no new information is
                                                 5658, January 27, 2023), the                            measuring light extinction. Therefore,                available in this reconsideration to
                                                                                                                                                               inform his conclusions regarding
ddrumheller on DSK120RN23PROD with RULES3




                                                 Administrator recognizes that the                       the Administrator concludes that it
                                                 Regional Haze Program was established                   continues to be appropriate to using an               averaging time, and therefore, he
                                                 by Congress specifically to achieve ‘‘the               index based on estimates of light                     considers past analyses of 24-hour and
                                                 prevention of any future, and the                       extinction by PM2.5 components based                  subdaily PM2.5 light extinction to inform
                                                 remedying of existing, impairment of                    on the IMPROVE algorithm. In so doing,                his conclusions on averaging time. As
                                                 visibility in mandatory Class I areas,                  the Administrator recognizes that the                 described in the proposal (88 FR 5659,
                                                 which impairment results from man-                      fundamental understanding of the                      January 27, 2023) and in responding to
                                                 made air pollution,’’ and that Congress                 relationship between ambient PM and                   comments in section V.B.3 above, prior


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00138   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024                 Page 150 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                                    16339

                                                 analyses demonstrated that there are                    the degree of visibility impairment (in               dv.176 He further notes that, in most
                                                 strong correlations between 24-hour and                 dv) and the frequency of such                         locations when estimating light
                                                 subdaily (i.e., 4-hour average) PM2.5                   impairment (through the form). As with                extinction based on the original
                                                 light extinction, indicating that a 24-                 the mass-based PM air quality standard,               IMPROVE equation, the difference
                                                 hour averaging time is an appropriate                   the target level of protection for the                between a 95th or 98th percentile form
                                                 surrogate for the subdaily time periods                 visibility index must be selected in                  and a 90th percentile form is generally
                                                 associated with when individuals                        conjunction with the form to determine                less than 3 dv.177 Moreover, the
                                                 experience visibility impairment and                    the appropriate stringency. In so doing,              Administrator concludes that a 90th
                                                 that a longer averaging time may also be                consistent with approaches in past                    percentile form achieves a very high
                                                 less influenced by atypical conditions                  reviews, the Administrator first notes                degree of control but appropriately
                                                 and/or atypical instrument performance.                 that the Regional Haze Program targets                targets the group of worst days, rather
                                                 The Administrator also notes that the                   the 20% most impaired days for                        than the few very worst days. Based on
                                                 CASAC did not provide advice or                         improvements in visual air quality in                 the available information and these
                                                 recommendations with regard to the                      Class I areas, which are the days above               analyses, the Administrator concludes
                                                 averaging time of the visibility index,                 the 80th percentile form of the visibility            that the information does not indicate
                                                 although some public commenters                         index. The Administrator concludes                    that it would be appropriate to consider
                                                 referenced CASAC advice in past                         that a percentile form set at the 80th                limiting the occurrence of days with
                                                 reviews that a subdaily standard based                  percentile would not be likely to                     peak PM-related light extinction to a
                                                 on daylight hours would better reflect                  sufficiently improve visual air quality               greater degree, nor did the CASAC
                                                 the public welfare effects of public                    on the worst days based on the visibility             provide advice or recommendations
                                                 perceptions of visibility impairment                    index. In considering the information                 related to the form of the visibility
                                                 than a 24-hour standard. However, in                    available in past reviews regarding the               index. Therefore, the Administrator
                                                 considering the available scientific and                form of the visibility index, as well as              judges that it remains appropriate to
                                                 quantitative information, as well as the                the analysis of alternative forms based               define a visibility index in terms of a 24-
                                                 CASAC’s advice in their reviews of the                  on recent air quality discussed above,                hour averaging time and form based on
                                                 2019 draft PA and 2021 draft PA, the                    the Administrator notes that a 90th                   the 3-year average of annual 90th
                                                 Administrator concludes that the 24-                    percentile form would represent the                   percentile values.
                                                 hour averaging time continues to be                     median of the distribution of the 20%                    With regard to the level of the
                                                 appropriate for the visibility index                    most impaired days, and meeting a                     visibility index, as at the time of
                                                 because it is an appropriate surrogate for              visibility index with a 90th percentile               proposal, the Administrator continues
                                                 subdaily time periods and results in a                  form would reasonably be expected to                  to recognize that there is very little new
                                                 more stable target.                                     lead to improvements in visual air                    information available to inform his
                                                    With regard to the form of the                       quality for days both above and below                 judgment regarding the range of levels
                                                 visibility index, the Administrator notes               the 90th percentile (88 FR 5660, January              of visibility impairment judged to be
                                                 the approach in other NAAQS that a                      27, 2023). In reaching his conclusion                 acceptable by at least 50% of study
                                                 multi-year percentile form offers greater               that a 90th percentile would                          participants in the visibility preference
                                                 stability to the air quality management                 appropriately achieve improved air                    studies,178 and therefore, the range of 20
                                                 process by reducing the possibility that                quality both above and below that                     to 30 dv identified in the 2022 PA
                                                 statistically unusual indicator values                  percentile, the Administrator took into               remains appropriate for considering the
                                                 will lead to transient violations of the                                                                      level of the visibility index. The
                                                                                                         consideration assessments of air quality
                                                 standard. He recognizes that using a 3-                                                                       Administrator also recognizes that the
                                                                                                         data and potential alternative
                                                 year average provides stability from the                                                                      uncertainties and limitations associated
                                                                                                         percentiles for the form. The
                                                 occasional effects of inter-annual                                                                            with the public preferences identified in
                                                                                                         Administrator further notes that,
                                                 meteorological variability (including                                                                         the 2012 and 2020 reviews continue to
                                                                                                         consistent with the conclusions in the
                                                 relative humidity) that can result in                                                                         persist, and that these limitations and
                                                                                                         2011 PA and 2020 PA, the 2022 PA
                                                 unusually high pollution levels for a                                                                         uncertainties contributed to the
                                                                                                         concluded that there is no new
                                                 particular year (88 FR 5659, January 27,                                                                      decisions in 2012 and 2020 that a level
                                                                                                         information from public preference
                                                 2023) and recognizes that a stable                                                                            at the upper end of the range (i.e., 30 dv)
                                                                                                         studies that would suggest that a 90th
                                                 standard contributes to the benefits of                                                                       was selected. The Administrator
                                                 the NAAQS by ensuring that attainment                   percentile form is not appropriate. The               specifically notes that, while the studies
                                                 strategies are designed to address non-                 Administrator also considers air quality
                                                 transient problems and achieve durable                  analyses described above in responding                   176 Gantt, B., and Hagan, N. (2023). Analysis of

                                                 air quality improvements. For these                     to public comments regarding the                      Percentile Forms of the Visibility Index.
                                                 reasons, he concludes that a 3-year                     percentile form of the visibility index.              Memorandum to the Rulemaking Docket for the
                                                                                                         In particular, the Administrator notes                Review of the National Ambient Air Quality
                                                 average continues to be appropriate.                                                                          Standards for Particulate Matter (EPA–HQ–OAR–
                                                    In considering the percentile that                   that while a higher percentile form (i.e.,            2015–0072). Available at: https://
                                                 would be appropriate with the 3-year                    95th or 98th) would somewhat further                  www.regulations.gov/docket/EPA-HQ-OAR-2015-
                                                 average, the Administrator recognizes                   limit the number of days with peak PM-                0072.
                                                                                                                                                                  177 Gantt, B., and Hagan, N. (2023). Analysis of
                                                 that there is very little new information               related light extinction, the differences
                                                                                                                                                               Percentile Forms of the Visibility Index.
                                                 available in this reconsideration to                    in the 3-year averages of estimated light             Memorandum to the Rulemaking Docket for the
                                                 inform selection of an alternative form                 extinction for the 90th, 95th, and 98th               Review of the National Ambient Air Quality
                                                                                                         percentile forms are small. For example,              Standards for Particulate Matter (EPA–HQ–OAR–
ddrumheller on DSK120RN23PROD with RULES3




                                                 of the visibility index and that the
                                                                                                         he notes that for the original IMPROVE                2015–0072). Available at: https://
                                                 appropriate form requires the exercise of                                                                     www.regulations.gov/docket/EPA-HQ-OAR-2015-
                                                 public welfare policy judgment. In                      equation, in areas that meet the current              0072.
                                                 selecting the appropriate target level of               24-hour PM2.5 standard, all sites have                   178 For reasons stated above and described in the

                                                 protection for the visibility index, the                light extinction estimates for a 90th                 2022 PA and proposal, the Administrator does not
                                                                                                         percentile form at or below 26 dv, and                find it appropriate to use the most recent preference
                                                 Administrator is required to assess                                                                           study based on the Grand Canyon study area (Malm
                                                 when visibility impairment becomes                      for a 95th or 98th percentile form light              et al., 2019) for purposes of identifying a target level
                                                 adverse to public welfare, weighing both                extinction estimates are at or below 29               of protection for the visibility index.



                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00139   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024              Page 151 of 217
                                                 16340             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 are methodologically similar, there are a               is neither overprotective nor                         considering how to interpret the public
                                                 number of factors that can influence                    underprotective for some areas of the                 preference studies.
                                                 comparability across the studies and                    U.S. As described in the proposal (88 FR                 In this reconsideration, the
                                                 that the available studies may not                      5660, January 27, 2023), in establishing              Administrator judges that in
                                                 capture the full range of visibility                    the Regional Haze Program to improve                  determining when visibility impairment
                                                 preferences in the U.S. population, as                  visibility in Class I areas, Congress                 becomes adverse to public welfare for
                                                 described in more detail in section                     noted that ‘‘as a matter of equity, the               purposes of the secondary NAAQS,
                                                 V.D.3 of the 2022 proposal (88 FR 5659–                 national ambient air quality standards                while continuing to recognize that
                                                 5660, January 27, 2023). The                            cannot be revised to adequately protect               substantial uncertainties remain and
                                                 Administrator also notes the CASAC’s                    visibility in all areas of the country.’’             that there is relatively limited new
                                                 advice in their review of the 2021 draft                H.R. Rep. 95–294 at 205. For the reasons              information regarding public
                                                 PA that there are a limited number of                   noted above, in reaching his proposed                 preferences of visibility impairment, it
                                                 visibility preference studies available to              decision regarding visibility                         is important to balance the weight
                                                 inform the Administrator’s judgment                     impairment, the Administrator                         placed on uncertainties with the
                                                 regarding the appropriate target level of               recognized that he is not seeking to set              strength of the scientific evidence. In so
                                                 protection for the visibility index                     a standard that would eliminate                       doing, the Administrator first concludes
                                                 (Sheppard, 2022a, p. 21 of consensus                    visibility impairment in Class I areas,               that, consistent with previous reviews
                                                 responses). In considering the available                but significant uncertainties remain                  and his proposed decision, it remains
                                                 information, including uncertainties                    regarding how to judge when visibility                appropriate to consider a target level of
                                                 and limitation, and the CASAC’s advice,                 impairment becomes adverse to public                  protection within the range of 20 to 30
                                                 the Administrator proposed to conclude                  welfare across the range of daily outdoor             dv. However, in further considering the
                                                 that it is appropriate to consider a target             activities for Americans across the                   available scientific and quantitative
                                                 level of protection for the visibility                  country.                                              information, CASAC advice, and public
                                                 index within the range of 20 to 30 dv,                     In reaching final conclusions                      comments, he further concludes that in
                                                 and that establishing a target level of                 regarding the available information,                  selecting a target level within that range
                                                 protection at the upper end of the range                along with the CASAC’s advice and                     it is appropriate to place weight on both
                                                 was appropriate. In so doing, the                                                                             the middle of the range, as supported by
                                                                                                         public comments, the Administrator
                                                 Administrator proposed to conclude
                                                                                                         again considers what constitutes an                   the study in Phoenix, AZ, as well as the
                                                 that the protection provided by a
                                                                                                         appropriate target level of protection,               upper end, as supported by the
                                                 visibility index based on estimated light
                                                                                                         and in particular considers whether a                 Washington, DC, study. In so doing, he
                                                 extinction, a 24-hour averaging time,
                                                                                                         target level of protection below 30 dv is             notes that the Washington, DC, and
                                                 and a 90th percentile form, averaged
                                                                                                         warranted. In so doing, he first notes the            Phoenix, AZ, studies employ similar
                                                 over 3 years, set to a level of 30 dv
                                                                                                         variability in public preferences of                  methodologies that are subject to fewer
                                                 would be requisite to protect public
                                                                                                         visibility impairment as demonstrated                 uncertainties than older public
                                                 welfare with regard to visibility
                                                                                                         by the available public preferences,                  preference studies (including their use
                                                 impairment.
                                                    However, at the time of proposal, the                which support a range of potential target             of WinHaze to reduce uncertainties in
                                                 Administrator recognized that the                       levels of protection for the visibility               the preference solicitations) although he
                                                 available evidence on visibility                        index from 20 to 30 dv. He also notes                 does note that the Phoenix, AZ, study
                                                 impairment generally reflects a                         that this range informed the 2012 and                 yielded the best results of the four
                                                 continuum and that the public                           2020 then-Administrators final                        public preference studies in terms of the
                                                 preference studies do not provide                       decisions that a target level of protection           least noisy preference results and the
                                                 information about the specific level for                at the upper end of the range (i.e., 30 dv)           most representative selection of
                                                 which visibility impairment would be                    would be most appropriate, given the                  participants. Further, the Administrator
                                                 ‘‘acceptable’’ or ‘‘unacceptable’’ across               uncertainties and limitations associated              judges that this approach would take
                                                 the country, and that alternative target                with the public preference studies. As                into account scenes that are similar to
                                                 levels of protection could be supported.                described in in section V.B.3 above in                both the Washington, DC, study and
                                                 At that time, in soliciting public                      responding to public comments, the                    Phoenix, AZ, study, which would be
                                                 comments, the Administrator                             Administrator recognizes that a number                more representative of the ‘‘typical’’
                                                 recognized that other interpretations,                  of factors can influence public                       scenes encountered across more areas of
                                                 assessments, and judgments based on                     preferences across studies, in particular             the U.S. than an approach that places
                                                 the available welfare effects evidence for              due to the types of scenes depicted in                weight on just one study or on studies
                                                 this reconsideration could be possible                  the images as well as the distances at                conducted in certain geographical areas
                                                 (88 FR 5662, January 27, 2023).                         which the objects of interest are located             of the country. In considering this
                                                    With regard to the appropriate target                from the camera. Furthermore, the                     information, along with the
                                                 level of protection for the visibility                  Administrator recognizes the small                    uncertainties and limitations of the
                                                 index, the Administrator first notes that               number of public preference studies                   public preference studies, the
                                                 while the public preference studies                     currently available makes precise                     Administrator judges that it would be
                                                 were conducted in several geographical                  interpretations of their results                      appropriate to select a target level of
                                                 areas across the U.S., and they provide                 challenging for determining a nationally              protection based on placing equal
                                                 insight into regional preferences for                   appropriate target level of visibility                weight on the upper end of the range
                                                                                                         protection. The Administrator also                    (i.e., 30 dv) and the middle of the range
ddrumheller on DSK120RN23PROD with RULES3




                                                 visibility impairment, none of the
                                                 studies identify a specific level of                    recognizes that the CASAC, in their                   (i.e., 24 dv based on the Phoenix, AZ,
                                                 visibility impairment that would be                     review of 2021 draft PA, reiterated that              study) in order to provide protection
                                                 perceived as ‘‘acceptable’’ or                          PM-visibility relationships are region-               against visibility impairment in
                                                 ‘‘unacceptable’’ across the whole U.S.                  specific based on aerosol composition,                different geographical areas of the U.S.
                                                 population. He also noted that there                    and that several public commenters                    For these reasons, the Administrator
                                                 have been significant questions about                   emphasized the importance of the sight                concludes that a visibility index with a
                                                 how to set a standard for visibility that               path distance in the images when                      target level of protection of 27 dv,


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00140   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024              Page 152 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                          16341

                                                 defined in terms of estimated light                     Washington, DC, and Phoenix, AZ,                      target level of protection somewhere
                                                 extinction, with a 24-hour averaging                    studies are considered. However, he                   between the upper end and middle of
                                                 time and a 3-year, 90th percentile form,                also notes that when considering the                  the range is appropriate because he
                                                 would provide adequate protection                       50% acceptability values from studies                 judges that this approach, in
                                                 against PM-related visibility effects. In               conducted in different areas of the U.S.              conjunction with the Regional Haze
                                                 reaching this conclusion, the                           and with different scenes and images                  program, is sufficient, but not more
                                                 Administrator judges that such a target                 depicted, the available public                        stringent than necessary, to protect
                                                 level of protection balances the                        preference studies do not provide a                   against adverse effects on public
                                                 information from these two key public                   ‘‘bright line’’ at and above which                    welfare. Thus, he concludes a secondary
                                                 preference studies in such a way                        visibility impairment is considered                   24-hour PM2.5 NAAQS should be
                                                 appropriately weighs both near-field                    adverse to public welfare. He further                 evaluated based on its ability to provide
                                                 and more distant landscape features that                recognizes that, as discussed just above,             protection against visibility impairment
                                                 may be of importance to public                          there are a number of region-specific                 associated with estimated light
                                                 perceptions of visibility.                              factors that can influence light                      extinction of 27 dv based on estimated
                                                    In further considering the appropriate               extinction, and thereby influence                     light extinction, a 24-hour averaging
                                                 target level of protection for the                      visibility impairment, as well as                     time, and a 90th percentile form,
                                                 visibility index, the Administrator again               variations in public preferences of                   averaged over 3 years.
                                                 recognizes the complexity of the                        visibility impairment based on the                       Having concluded that it is
                                                 relationship between PM and light                       available studies, that complicate                    appropriate to identify a target level of
                                                 extinction which is dependent on a                      selection of a single target level of                 protection in terms of a visibility index
                                                 number of factors, including PM                         protection that would be appropriate for              based on estimated light extinction as
                                                 composition, size fraction, and age of                  a national visibility index. While the                described above, the Administrator next
                                                 the particles in ambient air, as well as                Administrator recognizes that the                     considers the degree of protection from
                                                 relative humidity. As noted in                          uncertainties and limitations associated              visibility impairment afforded by the
                                                 responding to comments above, these                     with public preferences of visibility and             current secondary PM standards. He
                                                 factors can vary geographically across                  estimating light extinction have                      considers the updated analyses of PM-
                                                 the U.S. and local or regional                          persisted over the last several PM                    related visibility impairment presented
                                                 meteorological conditions can also vary                 NAAQS reviews, he also recognizes that                in the 2022 PA (U.S. EPA, 2022b,
                                                 spatially and temporally. These factors                 in reaching conclusions regarding the                 section 5.3.1.2) and described in section
                                                 are critical inputs to the IMPROVE                      appropriate target level of protection for            V.B.1.a of the proposal, and notes that
                                                 equation and can influence the resulting                the visibility index also involves public             the results of the analyses are consistent
                                                 estimated light extinction such that it is              welfare policy judgments regarding how                with the results from the 2012 and 2020
                                                 not a straightforward comparison                        to appropriately consider the particular              reviews.
                                                 between estimated light extinction in                                                                            Taking into consideration the full
                                                                                                         uncertainties around identifying when
                                                 one area of the country versus another.                                                                       body of scientific evidence and
                                                                                                         visibility impairment becomes adverse
                                                 Moreover, the Administrator recognizes                                                                        technical information concerning the
                                                                                                         to public welfare, and the limitations on
                                                 that there is variability in estimated                                                                        known and anticipated effects of PM on
                                                                                                         relying on the public preference studies.
                                                 light extinction depending on the                                                                             visibility impairment, the Administrator
                                                 version of the IMPROVE equation that is                    The Administrator also places weight               concludes that the current secondary
                                                 used. As described in more detail in the                on the high degree of spatial and                     PM2.5 and PM10 standards are requisite
                                                 2022 PA and the proposal, and in                        temporal variability in PM composition                to protect against PM-related visibility
                                                 reaching his decisions on the indicator                 and relative humidity across the U.S. in              impairment. While the inclusion of the
                                                 of the visibility index above, the                      considering a target level of protection.             coarse fraction had a relatively modest
                                                 Administrator notes that the 2022 PA                    This approach of establishing a target                impact on calculated light extinction in
                                                 concluded that one version of the                       level of protection that takes into                   the analyses presented in the 2022 PA,
                                                 IMPROVE equation is not more accurate                   account 50% acceptability values from                 he recognizes the continued importance
                                                 or precise in estimating light extinction,              both eastern and western sites is a more              of the PM10 standard given the potential
                                                 and that difference in locations may                    appropriate basis for determining the                 for larger impacts in locations with
                                                 support the selection of inputs into the                requisite level of protection against                 higher coarse particle concentrations,
                                                 IMPROVE equation or of the appropriate                  known or anticipated adverse effects on               such as in the southwestern U.S., for
                                                 IMPROVE equation to estimate light                      public welfare across diverse locations,              which only a few sites met the criteria
                                                 extinction on a regional basis rather                   i.e., a standard that is neither more nor             for inclusion in the analyses in the 2022
                                                 than on a national basis.                               less stringent than necessary                         PA (U.S. EPA, 2019a, section 13.2.4.1;
                                                    In considering the available                         nationwide. Specifically, the                         U.S. EPA, 2022b, section 5.3.1.2).
                                                 information, including variations in                    Administrator judges that a target level                 With regard to the adequacy of the
                                                 both public preferences of visibility                   of protection for the visibility index                secondary 24-hour PM2.5 standard, the
                                                 impairment and estimates of light                       focused on maintaining estimated light                Administrator notes that, in their review
                                                 extinction using one or more IMPROVE                    extinction between the upper end of the               of the 2021 draft PA, the CASAC stated
                                                 equation, as well as the CASAC’s advice                 range of the target levels of protection              that ‘‘[i]f a value of 20–25 deciviews is
                                                 in their review of the 2019 draft PA and                (i.e., 30 dv based on the Washington,                 deemed to be an appropriate visibility
                                                 2021 draft PA and public comments, the                  DC, study) and the middle of the range                target level of protection, then a
                                                                                                         (i.e., 24 dv based on the Phoenix, AZ,
ddrumheller on DSK120RN23PROD with RULES3




                                                 Administrator judges that a target level                                                                      secondary 24-hour PM2.5 standard in the
                                                 of protection of 27 dv would be                         study) to be more appropriate for a                   range of 25–35 mg/m3 should be
                                                 appropriate. In so doing, he concludes                  nationwide standard to protect against                considered’’ (Sheppard, 2022a, p. 21 of
                                                 that a target level of protection above 27              visibility impairment compared to a                   consensus responses). The
                                                 dv would not provide adequate                           value derived from one location or one                Administrator recognizes that the
                                                 protection against PM-related visibility                type of scene alone. For these reasons,               CASAC recommended that the
                                                 impairment based on the 50%                             in selecting a target level of protection,            Administrator provide additional
                                                 acceptability values when both the                      the Administrator concludes that a                    justification for a visibility index target


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00141   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024              Page 153 of 217
                                                 16342             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 of 30 dv but did not specifically                       secondary 24-hour PM2.5 standard, and                 contributions of the direct and indirect
                                                 recommend that he choose an                             was below 25 dv in most of those areas                effects of PM and PM components on
                                                 alternative level for the visibility index.             (85 FR 82743, December 18, 2020).                     climate forcing (U.S. EPA, 2022b,
                                                 The Administrator carefully considered                  Therefore, the Administrator judged that              sections 5.3.2.1.1 and 5.5). He also
                                                 the advice of CASAC and the public                      the secondary 24-hour PM2.5 standard                  recognizes that models continue to
                                                 comments and concluded that a lower                     provided sufficient protection for visual             exhibit considerable variability in
                                                 target level of visibility was appropriate              air quality of 30 dv, which he judged                 estimates of PM-related climate impacts
                                                 in order to properly reflect both a                     appropriate (88 FR 82744, December 18,                at regional scales (e.g., ∼100 km),
                                                 broader set of studies and a broader                    2020). In this reconsideration, the ISA               compared to simulations at the global
                                                 range of vistas that were the subject of                Supplement evaluated newly available                  scale (U.S. EPA, 2022b, sections
                                                 those studies. However, in their review                 studies on public preferences for                     5.3.2.1.1 and 5.5). Moreover, the effects
                                                 of the 2021 draft PA, the CASAC                         visibility impairment and/or                          of PM on climate are diverse as well as
                                                 recognized that even a visibility index                 development methodologies or                          uncertain. Depending on the
                                                 target in the range of 20–25 dv could                   conducted quantitative analyses of light              circumstances, the radiative forcing
                                                 still warrant retention of the current                  extinction. In considering the available              effects of PM in the atmosphere can
                                                 secondary 24-hour PM2.5 standard. The                   scientific and quantitative information,              vary, such that positive forcing could
                                                 Administrator also considers the advice                 including that newly available in this                result in warming of the Earth’s surface,
                                                 from the CASAC in their review of the                   reconsideration, the current                          whereas a negative forcing could result
                                                 2019 draft PA, who ‘‘recogniz[ed] that                  Administrator reached the same                        in cooling (U.S. EPA, 2019a, section
                                                 uncertainties. . .remain about the best                 preliminary conclusions in the notice of              13.3.2.2). The resulting uncertainty
                                                 way to evaluate’’ PM-related visibility                 proposed rulemaking regarding the 3-                  leads the Administrator to conclude that
                                                 effects (Cox, 2019b, p. 13 consensus                    year visibility index and the current                 the scientific information available in
                                                 responses). The Administrator                           secondary PM standards as the then-                   this reconsideration remains insufficient
                                                 considered the CASAC’s advice,                          Administrator in the 2020 final                       to quantify, with confidence, the
                                                 together with the available scientific                  decision. However, in light of public                 impacts of ambient PM on climate in the
                                                 evidence and quantitative information,                  comments on the proposal, the                         U.S. (U.S. EPA, 2022b, section 5.3.2.2.1)
                                                 in reaching his conclusions.                            Administrator has further considered                  and that there is not an adequate
                                                    The Administrator recognizes that                    the available scientific evidence and                 scientific basis to link attainment of any
                                                 conclusions regarding the appropriate                   information, as well as the CASAC’s                   particular PM concentration in ambient
                                                 weight to place on the scientific and                   advice regarding visibility effects in                air in the U.S. to specific climate effects.
                                                 technical information examining PM-                     their review of the 2021 draft PA. In so              Consequently, the Administrator judges
                                                 related visibility impairment, including                doing, the Administrator judges that it               that there is insufficient information at
                                                 how to consider the range and                           is appropriate to place more weight on                this time to revise the current secondary
                                                 magnitude of uncertainties inherent in                  certain aspects of the evidence that he               PM standards or to promulgate a
                                                 that information, is a public welfare                   had placed less weight on in reaching                 distinct secondary standard to address
                                                 policy judgment left to the                             his proposed conclusions (i.e., he                    PM-related climate effects.
                                                 Administrator. In reaching his final                    focused on the both the middle and the                   With respect to materials effects, the
                                                 decision in 2020, the then-                             upper end of the range of the 50%                     Administrator notes that the available
                                                 Administrator noted that the available                  acceptability values from the available               evidence continues to support the
                                                 evidence regarding visibility effects had               public preference studies). As such, the              conclusion that there is a causal
                                                 changed very little since the 2012                      Administrator notes his conclusion on                 relationship with PM deposition (U.S.
                                                 review, specifically recognizing that, as               the appropriate visibility index (i.e.,               EPA, 2019a, section 13.4). He recognizes
                                                 evaluated in the 2019 ISA, there were                   with a 24-hour averaging time; a 3-year,              that deposition of particles in the fine or
                                                 no new visibility studies that were                     90th percentile form; and a level of 27               coarse fractions can result in physical
                                                 conducted in the U.S. and there was                     dv), which takes into account the                     damage and/or impaired aesthetic
                                                 little new information available with                   regional variations in public preferences             qualities. Particles can contribute to
                                                 regard to acceptable levels of visibility               and equations for estimating light                    materials damage by adding to the
                                                 impairment in the U.S. (85 FR 82742,                    extinction, and his conclusions                       effects of natural weathering processes
                                                 December 18, 2020). As such, the then-                  regarding the quantitative analyses of                and by promoting the corrosion of
                                                 Administrator concluded that the                        the relationship between the visibility               metals, the degradation of painted
                                                 protection provided by a standard                       index and the current secondary 24-                   surfaces, the deterioration of building
                                                 defined in terms of a PM2.5 visibility                  hour PM2.5 standard. In so doing, the                 materials, and the weakening of material
                                                 index, with a 24-hour averaging time, a                 Administrator concludes that the                      components. While some recent
                                                 90th percentiles form averaged over                     current secondary standards provide                   evidence on materials effects of PM is
                                                 three years, set at a level of 30 dv, was               requisite protection against PM-related               available in the 2019 ISA, the
                                                 requisite to protect public welfare                     visibility effects.                                   Administrator notes that this evidence
                                                 against visibility impairment (85 FR                       With respect to climate effects, as at             is primarily from studies conducted
                                                 82743, December 18, 2020). He also                      the time of proposal, the Administrator               outside of the U.S. in areas where PM
                                                 recognized that there was some new                      recognizes that a number of                           concentrations in ambient air are higher
                                                 information to inform quantitative                      improvements and refinements have                     than those observed in the U.S. (U.S.
                                                 analyses of light extinction, but that the              been made to climate models since the                 EPA, 2019a, section 13.4). Given the
ddrumheller on DSK120RN23PROD with RULES3




                                                 results of the analyses conducted in the                time of the 2012 review. However,                     limited amount of information on the
                                                 2020 PA were consistent with those                      despite continuing research and the                   quantitative relationships between PM
                                                 from the 2012 review. The then-                         strong evidence supporting a causal                   and materials effects in the U.S., and
                                                 Administrator recognized that the                       relationship with climate effects (U.S.               uncertainties in the degree to which
                                                 analyses demonstrated that the 3-year                   EPA, 2019a, section 13.3.9), the                      those effects could be adverse to the
                                                 visibility metric was at or below about                 Administrator notes that there are still              public welfare, the Administrator judges
                                                 30 dv in all areas that met the current                 significant limitations in quantifying the            that the available scientific information


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00142   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024              Page 154 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                         16343

                                                 remains insufficient to quantify, with                  that it is appropriate not to change those            with other monitors at the site rather
                                                 confidence, the public welfare impacts                  standards (i.e., the current 24-hour and              than calculate a monitor-level design
                                                 of ambient PM on materials and that                     annual PM2.5 standards, 24-hour PM10                  value with data solely from that high-
                                                 there is insufficient information at this               standard) at this time.                               biased FEM. The EPA tested the impact
                                                 time to revise the current secondary PM                                                                       of calculating site-level PM10 design
                                                                                                         C. Decision on the Secondary PM
                                                 standards or to promulgate a distinct                                                                         values for the 2019–2021 period by
                                                                                                         Standards
                                                 secondary standard to address PM-                                                                             assigning the lowest parameter
                                                 related materials effects.                                 For the reasons discussed above and                occurrence code as the primary monitor
                                                    Taken together, the Administrator                    taking into account information and                   and calculating site-level design values.
                                                 concludes that the scientific and                       assessments presented in the 2019 ISA,                Most resulting site-level design values
                                                 quantitative information for PM-related                 ISA Supplement, and 2022 PA, advice                   were either identical to or in-between
                                                 non-ecological welfare effects (i.e.,                   from the CASAC, and consideration of                  the multiple monitor-level design values
                                                 visibility, climate, and materials),179                 public comments, the Administrator                    at the site. Combining data from two or
                                                 along with the uncertainties and                        concludes that the current secondary                  more monitors also has the benefit of
                                                 limitations, supports the current level of              PM standards are requisite to protect                 increasing the number of valid sample
                                                 protection provided by the secondary                    public welfare from known or                          days at many sites. For the 2019–2021
                                                 PM standards as being requisite to                      anticipated adverse effects and is not                test period, approximately 10% of the
                                                 protect against known and anticipated                   changing the standards at this time.                  sites with more than one monitor went
                                                 adverse effects on public welfare. For                  VI. Interpretation of the NAAQS for PM                from having multiple invalid design
                                                 visibility impairment, this conclusion                                                                        values to a single valid design value.
                                                 reflects his consideration of the                          The EPA is finalizing revisions on                    One commenter was not supportive of
                                                 evidence for PM-related light extinction,               data calculations in appendix K for                   a footnote in the preamble of the NPRM
                                                 together with his consideration of                      PM10 and appendix N for PM2.5.                        stating that in the absence of a
                                                 updated air quality analyses of the                     Revisions to appendix K make the PM10                 designated primary monitor at a given
                                                 relationship between the visibility index               data handling procedures for the 24-                  site, the default primary monitor would
                                                 and the current secondary 24-hour PM2.5                 hour PM10 standards more consistent                   be one with the most complete data
                                                 standard and the protection provided by                 with those of other NAAQS pollutants                  record (88 FR 5662, January 27, 2023).
                                                 the current secondary PM2.5 and PM10                    and codify existing practices. Revisions              Because the procedure for calculating
                                                 standards. For climate and materials                    to appendix N update references to the                PM10 design values on a site-level basis
                                                 effects, this conclusion reflects his                   revision(s) of the standards and change               being finalized here will require
                                                 judgment that, although it remains                      data handling provisions related to                   monitoring agencies to designate a
                                                 important to maintain secondary PM2.5                   combining data from nearby monitoring                 primary monitor for each site in their
                                                 and PM10 standards to provide some                      sites to codify existing practices that are           annual network plans (88 FR 5694,
                                                 degree of control over long- and short-                 currently being implemented as the EPA                January 27, 2023; App. K, 1.0(b)), the
                                                 term concentrations of both fine and                    standard operating procedures.                        EPA agrees with the commenter that
                                                 coarse particles, it is appropriate not to              A. Amendments to Appendix K:                          this footnote was unnecessary.
                                                 change the existing secondary standards                                                                          Therefore, the EPA is finalizing these
                                                                                                         Interpretation of the NAAQS for
                                                 at this time and that it is not appropriate                                                                   appendix K revisions as proposed.
                                                                                                         Particulate Matter
                                                 to establish any distinct secondary PM                     The EPA proposed to modify its data                B. Amendments to Appendix N:
                                                 standards to address PM-related climate                 handling procedures for the 24-hour                   Interpretation of the NAAQS for PM2.5
                                                 and materials effects at this time. As                  PM10 standard in appendix K to part 50                  The EPA proposed to modify its data
                                                 such, the Administrator recognizes that                 (88 FR 5662, January 27, 2023). The                   handling procedures for the annual and
                                                 current suite of secondary standards                    proposed modifications include: (1)                   24-hour PM2.5 standards in appendix N
                                                 (i.e., the 24-hour PM2.5, 24-hour PM10,                 Revising design value calculations to be              to part 50 (88 FR 5663, January 27,
                                                 and annual PM2.5 standards) together                    on a site-level basis, (2) codifying site             2023). These proposed revisions
                                                 provide such control for both fine and                  combinations to maintain a continuous                 include: (1) Updating references to the
                                                 coarse particles and long- and short-                   data record, and (3) clarifying daily                 revisions of the standards rather than
                                                 term visibility and non-visibility (e.g.,               validity requirements for continuous                  stating the specific level, and (2)
                                                 climate and materials) effects related to               monitors. The purpose of these                        codifying site combinations to maintain
                                                 PM in ambient air. His conclusions on                   modifications is to make the data                     a continuous data record. The purpose
                                                 the secondary standards are consistent                  handling procedures for the 24-hour                   of both modifications is to codify
                                                 with advice from the CASAC, which                       PM10 standard more consistent with                    existing practices that are currently
                                                 noted substantial uncertainties remain                  those of other NAAQS pollutants and                   being implemented as the EPA standard
                                                 in the scientific evidence for climate                  codify existing practices that are                    operating procedures.
                                                 and materials effects, as well as the                   currently being implemented as EPA                      The EPA received few comments on
                                                 majority of public comments on the                      standard operating procedures.                        these revisions in the proposed rule,
                                                 secondary PM standards. Thus, based                        The EPA received few comments on                   with most supportive of the appendix N
                                                 on his consideration of the evidence and                these proposed appendix K revisions,                  revisions.
                                                 analyses for PM-related welfare effects,                the majority of which were supportive.                  Although the EPA did not propose or
                                                 as described above, and his                                One commenter was not supportive of                request comment on this issue, one
                                                 consideration of CASAC advice and                       the proposed appendix K revision to                   commenter suggested that appendix N
ddrumheller on DSK120RN23PROD with RULES3




                                                 public comments on the secondary                        site-level PM10 design values, asserting              be revised to only allow data from the
                                                 standards, the Administrator concludes                  that it would amount to an imposition                 primary monitor to be used in PM2.5
                                                                                                         of a more stringent PM10 standard due                 NAAQS designations asserting that it
                                                   179 As noted earlier, other welfare effects of PM,
                                                                                                         to the potential high bias of FEMs. The               would add flexibility. The EPA
                                                 such as ecological effects, are being considered in
                                                 the separate, on-going review of the secondary
                                                                                                         EPA disagrees with this assertion                     disagrees with the commenter’s
                                                 NAAQS for oxides of nitrogen, oxides of sulfur and      because site-level design values would                assertion that this would add flexibility
                                                 PM.                                                     combine data from any high biased FEM                 because it could force agencies to run


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00143   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024              Page 155 of 217
                                                 16344             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 their FRMs on a daily schedule or                       PM2.5C is also physically                             2. Requests for Delivery of a Candidate
                                                 potentially lead to invalid design values               interchangeable with the WINS and                     FRM or FEM Instrument
                                                 if manual sampling interruptions or                     VSCC where both are manufactured for                     The EPA proposed a change to 40 CFR
                                                 laboratory issues impact FRM data                       the same sampler. The proposed change                 53.4(d), which currently allows the EPA
                                                 completeness. This change would also                    would allow either the WINS, VSCC, or                 to request only candidate PM2.5 FRMs
                                                 be undesirable because it could reduce                  TE–PM2.5C to be used in a PM2.5 FRM                   and Class II or Class III equivalent
                                                 by two-thirds the number of days used                   sampler. As is the case for the WINS                  methods for testing purposes as part of
                                                 in calculations for the annual and 24-                  and VSCC, the TE–2.5C is now also an                  the applicant review process (88 FR
                                                 hour PM2.5 design values at many sites.                 approved size separator for candidate                 5664, January 27, 2023). The EPA
                                                    Therefore, the EPA is finalizing these               PM2.5 FEMs. Currently, the EPA has                    proposed to revise this section to enable
                                                 appendix N revisions as proposed.                       designated one PM2.5 sampler                          requesting any candidate FRM, FEM, or
                                                 VII. Amendments to Ambient                              configured with TE–PM2.5C separator as                a designated FRM or FEM associated
                                                 Monitoring and Quality Assurance                        a Class II PM2.5 equivalent method and                with a Modification Request, regardless
                                                 Requirements                                            one as a PM10-2.5 equivalent method.                  of NAAQS pollutant type or metric. The
                                                                                                         Upon promulgation of this change to                   EPA received no comments on these
                                                    The EPA is finalizing revisions to                   appendix L, these instruments would be                revisions; therefore, the EPA is
                                                 ambient air monitoring requirements for                 redesignated as PM2.5 and PM10-2.5                    finalizing this revision as proposed.
                                                 PM to improve the usefulness of and                     FRMs, respectively. Owners of such
                                                 appropriateness of data used in                         samplers should contact the sampler                   3. Amendments to Requirements for
                                                 regulatory decision making. These                       manufacturer to receive a new reference               Submission of Materials in 40 CFR
                                                 changes focus on ambient monitoring                     method label for the samplers.                        53.4(b)(7) for Language and Format
                                                 requirements found in 40 CFR parts 50                                                                            The EPA proposed a change to 40 CFR
                                                                                                            The EPA received only one comment
                                                 (appendix L), 53, and 58 with associated                                                                      53.4(b)(7) to specify that all written
                                                                                                         regarding this proposed change, which
                                                 appendices (A, B, C, D, and E). These                                                                         FRM and FEM application materials
                                                                                                         was supportive. Therefore, the EPA is
                                                 changes include addressing updates in                                                                         must be submitted to the EPA in English
                                                                                                         finalizing this change to Appendix L as
                                                 the approval of reference and equivalent                                                                      in MS Word format and that submitted
                                                                                                         proposed.
                                                 methods, updates in quality assurance                                                                         data must be submitted in MS Excel
                                                 statistical calculations to account for                 B. Issues Related to 40 CFR Part 53                   format (88 FR 5664, January 27, 2023).
                                                 lower concentration measurements,                       (Reference and Equivalent Methods)                    The EPA received no comments on
                                                 updates to support improvements in PM                                                                         these revisions; therefore, the EPA is
                                                                                                            The EPA proposed to clarify the
                                                 methods, a revision to the PM2.5                                                                              finalizing this section as proposed.
                                                                                                         regulations associated with FRM and
                                                 network design to account for at-risk
                                                                                                         FEM applications for review by the EPA                4. Amendment to Designation of
                                                 populations, and updates to the Probe
                                                                                                         (88 FR 5664, January 27, 2023).                       Reference and Equivalent Methods
                                                 and Monitoring Path Siting Criteria for
                                                                                                         Revisions were also proposed in
                                                 NAAQS pollutants. The EPA also took                                                                              The EPA proposed a change to 40 CFR
                                                                                                         instances where current regulatory
                                                 comment on how to incorporate data                                                                            53.8(a) to clarify the terms of new FRM
                                                                                                         specifications are no longer pertinent
                                                 from next generation technologies into                                                                        and FEM methods to ensure that
                                                                                                         and require updating. In addition, the
                                                 Agency efforts. A summary of the                                                                              candidate samplers and analyzers are
                                                                                                         EPA proposed to correct a compiled a                  not publicly announced, marketed, or
                                                 comments received is included in this
                                                                                                         list of noted minor errors in the                     sold until the EPA’s approval has been
                                                 section.
                                                                                                         regulations associated with the testing               formally announced in the Federal
                                                 A. Amendment to 40 CFR Part 50                          requirements and acceptance criteria for              Register (88 FR 5664, January 27, 2023).
                                                 (Appendix L): Reference Method for the                  FRMs and FEMs in part 53. These errors                The EPA received no comments on
                                                 Determination of Fine Particulate Matter                are typically not associated with the                 these revisions; therefore, the EPA is
                                                 as PM2.5 in the Atmosphere—Addition                     content of Federal Register documents                 finalizing this section as proposed.
                                                 of the Tisch Cyclone as an Approved                     but often relate to transcription errors
                                                 Second Stage Separator                                  and typographical errors in the                       5. Amendment to One Test Field
                                                    The EPA proposed a change to the                     electronic CFR (eCFR) and printed                     Campaign Requirement for Class III
                                                 FRM for PM2.5 (40 CFR part 50,                          versions of the CFR.                                  PM2.5 FEMs
                                                 appendix L), the addition of an                         1. Update to Program Title and Delivery                  The EPA proposed a change to 40 CFR
                                                 alternative PM2.5 particle size separator               Address for FRM and FEM Applications                  53.35(b)(1)(ii)(D) that involves field
                                                 to that of the Well Impactor Ninety-Six                                                                       comparability tests for candidate Class
                                                 (WINS) and the Very Shape Cut Cyclone                     The EPA proposed a change to 40 CFR                 III PM2.5 FEMs, including the
                                                 (VSCC) size separators (88 FR 5663,                     53.4(a) to update the delivery address                requirement that a total of five field
                                                 January 27, 2023). The new separator is                 for FRM and FEM Applications and                      campaigns must be conducted at four
                                                 the TE–PM2.5C cyclone manufactured by                   Modification Requests, as well as                     separate sites, A, B, C, and D (88 FR
                                                 Tisch Environmental Inc.,180 Cleves                     update the name of the program                        5664, January 27, 2023). The existing
                                                 Ohio, which has been shown to have                      responsible for their review (88 FR                   Site D specifications require that the site
                                                 performance equivalent to that of the                   5664, January 27, 2023). These revisions              ‘‘shall be in a large city east of the
                                                 originally specified WINS impactor with                 are due solely to organizational changes              Mississippi River, having
                                                 regards to aerodynamic cutpoint and                     and do not affect the structure or role of            characteristically high sulfate
                                                                                                         the Reference and Equivalent Methods
ddrumheller on DSK120RN23PROD with RULES3




                                                 PM2.5 concentration measurement. In                                                                           concentrations and high humidity
                                                 addition, the new TE–PM2.5C has a                       Designation Program in reviewing new                  levels.’’ However, dramatic decreases in
                                                 significantly longer service interval than              FRM and FEM application requests and                  ambient sulfate concentration make it
                                                 the WINS and is comparable to that of                   requests to modify existing designated                difficult for applicants to routinely meet
                                                 the VSCC separator. Generally, the TE–                  instruments. The EPA received no                      the high sulfate concentration
                                                                                                         comments on this revision and,                        requirement. Therefore, the EPA
                                                   180 Mention of commercial names does not              therefore, the EPA is finalizing this                 proposed to revise the Site D
                                                 constitute EPA endorsement.                             revision as proposed.                                 specifications to read ‘‘shall be in a large


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00144   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024              Page 156 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                              16345

                                                 city east of the Mississippi River, having              standard-range and lower-range limits,                  The EPA received no comments on
                                                 characteristically high humidity levels.’’              with the exception of nitric oxide (NO)               these proposed revisions; therefore, the
                                                 Only one comment was received on this                   for the lower-range limit per note 4.                 EPA is finalizing the changes as
                                                 proposed revision, which was                            When testing the lower range of SO2, the              proposed.
                                                 supportive. Therefore, the EPA is                       limit for NO is ±0.003 ppm, therefore,
                                                                                                                                                               C. Changes to 40 CFR Part 58 (Ambient
                                                 finalizing the revision to 40 CFR                       an incorrect lower limit (±0.0003) is
                                                 53.35(b)(1)(ii)(D), as proposed.                        currently stated in note 4 for this                   Air Quality Surveillance)
                                                                                                         exception to the SO2 lower range limit.               1. Quality Assurance Requirements for
                                                 6. Amendment to Use of Monodisperse
                                                                                                         Thus, the EPA proposed a correction to                Monitors Used in Evaluations for
                                                 Aerosol Generator
                                                                                                         Table B–1 to specify the correct limit in             National Ambient Air Quality Standards
                                                    The EPA proposed a change to 40 CFR                  note 4 (88 FR 5664, January 27, 2023).
                                                 53.61(g), 53.62(e), and Table F–1 that                     After the EPA received an inquiry                     In the proposal, the EPA described
                                                 involves the wind tunnel evaluation of                  regarding the interaction of NO and O3,               how we evaluated the quality system as
                                                 candidate PM10 inlets and candidate                     the EPA investigated the interferent                  part of the PM NAAQS reconsideration
                                                 PM2.5 fractionators under static                        testing requirements stated by 40 CFR                 (88 FR 5665, January 27, 2023). In this
                                                 conditions, which requires the                          part 53, subpart B. The EPA has                       section, the EPA identified several areas
                                                 generation and use of monodisperse                      determined that during the 2011 SO2                   for improvement in steadily declining
                                                 calibration aerosols of specified                       amendment and subsequent 2015 O3                      average ambient PM2.5 concentrations
                                                 aerodynamic sizes (88 FR 5664, January                  amendment, several typographical                      across the country and the final decision
                                                 27, 2023). In the current regulations, the              errors were introduced into Table B–3,                to revise primary annual PM2.5 NAAQS
                                                 TSI Incorporated Vibrating Orifice                      the most significant of which is the                  described in section II above. We
                                                 Aerosol Generator (VOAG) is the only                    omission of note 3, which instructs the               assessed PM2.5 concentration data across
                                                 monodisperse generator that is                          applicant to not mix the pollutant with               a range of values to determine if any
                                                 approved for this purpose. However,                     the interferent. Thus, the EPA proposed               changes to the statistical calculations
                                                 TSI Incorporated no longer                              revisions to Table B–3 to correct these               used to evaluate the data quality in the
                                                 manufacturers nor supports the VOAG.                    errors (88 FR 5664, January 27, 2023).                PM2.5 network were warranted. This
                                                 Therefore, a commercially available                        Additionally, appendix A to subpart B              section describes the EPA’s assessment,
                                                 monodisperse aerosol generator (Model                   of part 53 provides figures depicting                 comments received, and the EPA’s final
                                                 1520 Fluidized Monodisperse Aerosol                     optional forms for reporting test results.            decisions on the proposed changes.
                                                 Generator, MSP Corporation,                             Figure B–3 lists an incorrect formula:                Other changes in this section include
                                                 Shoreview, MN) has been added to list                   the lower detectible limit section is                 clarifications and other improvements
                                                 of approved generators for this purpose.                missing the proper operator in the LDL                that will facilitate consistency and the
                                                 No comments were received on this                       calculation formula and Figure B–5 lists              operation of quality assurance programs
                                                 revision; therefore, the EPA is finalizing              an incorrect calculation metric, and                  by State, local, and Tribal (SLT)
                                                 this revision as proposed.                              there is a typesetting error in the                   agencies nationwide.
                                                                                                         calculation of the standard deviation.                a. Quality System Requirements
                                                 7. Corrections to 40 CFR Part 53
                                                                                                         The EPA proposed to correct the
                                                 (Reference and Equivalent Methods)                                                                              The EPA reconsidered the appendix
                                                                                                         typesetting errors and noted other errors
                                                    Certain provisions of 40 CFR 53.14,                  to be corrected in several formulas                   A, section 2.3.1.1 goal for acceptable
                                                 Modification of a reference or                          provided throughout § 53.43 (88 FR                    measurement uncertainty (88 FR 5665,
                                                 equivalent method, incorrectly state an                 5664, January 27, 2023).                              January 27, 2023) for automated and
                                                 EPA response deadline of 30 days for                       The EPA proposed a revision to 40                  manual PM2.5 methods for total bias.
                                                 receipt of modification materials in                    CFR 53.43(a)(2)(xvi), 53.43(b)(2)(iv), and            The existing total bias goal is an upper
                                                 response to an EPA notice. Per a 2015                   53.43(b)(2)(iv) to correct typographical              90 percent confidence limit for the
                                                 amendment (80 FR 65460, 65416, Oct.                     errors in equations.                                  coefficient of variation (CV) of 10
                                                 26, 2015), all EPA response deadlines                      The EPA proposed a revision to Table               percent and ±10 percent for total bias.
                                                 for modifications of reference or                       C–4 of part 53 Subpart C (88 FR 5700).                The intent of the proposal was to
                                                 equivalent methods are 90 days from                     This change is related to field                       investigate if this bias goal is still
                                                 day of receipt. Thus, the EPA proposed                  comparability tests of candidate PM2.5,               realistic given updated precision and
                                                 a correction to specify the correct 90-                 PM10–2.5, and PM10 FEMs, which                        bias statistic. The EPA received one
                                                 day deadline (88 FR 5664, January 27,                   requires testing at wide range of ambient             comment that bias reevaluation may be
                                                 2023).                                                  concentrations. For this reason, Table                premature, since the final NAAQS
                                                    Requirements for Reference and                       C–4 specifies a minimum number of                     standard had not yet been determined at
                                                 Equivalent Methods for Air Monitoring                   valid sample sets to be conducted at                  the time of the proposal. The EPA
                                                 of Criteria Pollutants identifies the                   specified high concentrations. However,               acknowledges this comment but
                                                 applicable 40 CFR part 50 appendices                    due to the dramatic decrease in ambient               clarifies that the proposed new bias
                                                 and 40 CFR part 53 subparts for each                    PM concentrations in the past two                     statistic was evaluated at a range of
                                                 criteria pollutant. The four rows in the                decades, these number of valid test days              levels including the range of proposed
                                                 section for PM10–2.5 erroneously do not                 at high concentrations has been difficult             PM2.5 standards in the technical
                                                 include the footnote instruction that the               to achieve. Accordingly, the EPA                      memorandum, ‘‘Task 16 on PEP/NPAP
                                                 aforementioned pollutant alternative                    proposed to revise the testing                        Task Order: Bias and Precision DQOs
                                                                                                         specifications for high concentration
ddrumheller on DSK120RN23PROD with RULES3




                                                 Class III requirements may be                                                                                 for the PM2.5 Ambient Air Monitoring
                                                 substituted in regard to Appendix O to                  events in Table C–4 to reflect current                Network.’’ 181 Considering the
                                                 Part 50—Reference Method for the                        levels of ambient PM for all three PM
                                                 Determination of Coarse Particulate                     metrics. In addition to the revision of                 181 Noah, G. (2023). Task 16 on PEP/NPAP Task

                                                 Matter as PM10–2.5 in the Atmosphere.                   the ambient PM concentration                          Order: Bias and Precision DQOs for the PM2.5
                                                                                                                                                               Ambient Air Monitoring Network. Memorandum to
                                                    Table B–1 specifies that the                         specifications to Table C–4, there are                the Rulemaking Docket for the Review of the
                                                 interference equivalent for each                        also several entry errors that required               National Ambient Air Quality Standards for
                                                 interferent is ±0.005 ppm for both the                  correction.                                                                                  Continued




                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00145   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024                Page 157 of 217
                                                 16346             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 justification in the technical                          received one comment supporting this                  the comments, and in consideration of
                                                 memorandum and the lack of adverse                      change. As a result of the comment                    the recently calculated detection limit
                                                 comments regarding this part of the                     received and other general supportive                 for the PM2.5 FRM that is substantially
                                                 proposal, the EPA is retaining the                      comments regarding quality assurance,                 lower than our original estimate,182 the
                                                 appendix A, section 2.3.1.1, goal for                   the EPA is finalizing the removal of                  EPA is finalizing the revised minimum
                                                 acceptable measurement uncertainty for                  section 3.1.2.2 from appendix A as                    value for valid sample pairs for the
                                                 automated and manual PM2.5 methods                      proposed.                                             PM2.5 Performance Evaluation Program
                                                 for total bias.                                            The EPA proposed to revise the                     (PEP) from 3 mg/m3 to 2 mg/m3 in
                                                   The EPA also proposed to update and                   requirement in Appendix A, section                    appendix A, section 3.2.4 as proposed.
                                                 clarify ambient air monitoring                          3.1.3.3 changing the National
                                                 requirements found in 40 CFR part 58,                   Performance Audit Program (NPAP)                      c. Calculations for Data Quality
                                                 appendix A, section 2.6.1 pertaining to                 requirement for annual verification of                Assessments
                                                 EPA Protocol Gas standards used for                     gaseous standards to the ORD-
                                                 ambient air monitoring and the Ambient                                                                           The EPA proposed to change
                                                                                                         recommended certification periods                     Equations 6 and 7 of appendix A,
                                                 Air Protocol Gas Verification Program                   identified in Table 2–3 of the EPA
                                                 (PGVP) (88 FR 5665, January 27, 2023).                                                                        section 4.2.1 that are used to calculate
                                                                                                         Traceability Protocol for Assay and                   the Collocated Quality Control Sampler
                                                 The EPA proposed to revise appendix A                   Certification of Gaseous Calibration
                                                 to clarify that in order to participate in                                                                    Precision Estimate for PM10, PM2.5 and
                                                                                                         Standards (appendix A, section 6.0(4))                Pb (88 FR 5666, January 27, 2023). The
                                                 the Ambient Air PGVP, producers of                      (88 FR 5665). The EPA received one
                                                 Protocol Gases must adhere to the                                                                             proposed new statistics are designed to
                                                                                                         comment supporting this change. As a                  address the high imprecision values that
                                                 requirements of 40 CFR 75.21(g), and                    result of the comment received and
                                                 only regulatory ambient air monitoring                                                                        result from using these calculations to
                                                                                                         other general supportive comments                     compare low concentrations that are
                                                 programs may submit cylinders for                       regarding quality assurance, the EPA is
                                                 assay verification to the EPA Ambient                                                                         now more routinely observed in the
                                                                                                         finalizing the updated NPAP gaseous
                                                 Air PGVP. The EPA received mixed                                                                              networks. The EPA received several
                                                                                                         certification requirement in section
                                                 comments in support of and in                                                                                 comments in support of this change in
                                                                                                         3.1.3.3 as proposed.
                                                 opposition to this proposed revision.                                                                         general, but some commenters indicated
                                                                                                            The EPA proposed to adjust the                     that they believed there was an error in
                                                 The sole commenter opposing the                         minimum value required by appendix
                                                 proposed revision indicated that the                                                                          the new calculation that may result in
                                                                                                         A, section 3.2.4, to be considered valid              high imprecision from the calculation of
                                                 proposed PGVP requirements would be                     sample pairs for the PM2.5 Performance
                                                 additional and is concerned with an                                                                           the equation. The EPA reviewed the
                                                                                                         Evaluation Program (PEP) from 3 mg/m3
                                                 increased resource burden. But the EPA                                                                        technical memorandum and confirmed
                                                                                                         to 2 mg/m3 (88 FR 5665, January 27,
                                                 responds that the PGVP requirements                                                                           that a multiplier of 100 was
                                                                                                         2023). The EPA received comments in
                                                 that were proposed to be added are                                                                            unintentionally left in the proposed
                                                                                                         support and against the change. In the
                                                 consistent with the existing PGVP                                                                             relative difference equation, Equation 6.
                                                                                                         only opposing comment, the commenter
                                                 requirements in 40 CFR 75.21(g), and                                                                          Also, equation 6 was corrected from a
                                                                                                         expressed concern that the method
                                                 PGVP has been defined as a regulatory                                                                         normalized percent difference to a
                                                                                                         detection limit (MDL) for PM2.5 is 2 mg/
                                                 requirement since 2016 (81 FR 17263,                                                                          normalized relative percent difference
                                                                                                         m3. The commenter also indicated that
                                                 March 28, 2016), so the proposed part                                                                         that is appropriate for comparing
                                                                                                         the MDL ‘‘typically has minimal value
                                                 58 changes are not ‘‘additional’’ to                                                                          collocated pairs at low concentrations.
                                                                                                         per the definition of the MDL.’’ 40 CFR
                                                 existing regulations. After consideration                                                                     The technical memorandum titled
                                                                                                         part 50, appendix L states, ‘‘The lower
                                                 of the comments, the EPA is finalizing                                                                        ‘‘Task 16 on PEP/NPAP Task Order:
                                                                                                         detection limit of the mass
                                                 the update and clarification of ambient                                                                       Bias and Precision DQOs for the PM2.5
                                                                                                         concentration measurement range is
                                                 air monitoring requirements found in                                                                          Ambient Air Monitoring Network’’ has
                                                                                                         estimated to be approximately 2 mg/m3,
                                                 appendix A, section 2.6.1 pertaining to                                                                       been amended to correct the error and
                                                                                                         based on noted mass changes in field
                                                 EPA Protocol Gas standards used for                                                                           is included in the docket for this
                                                                                                         blanks in conjunction with the 24 m3
                                                 ambient air monitoring and the Ambient                                                                        action.183
                                                                                                         nominal total air sample volume
                                                 Air PGVP as proposed.                                   specified for the 24-hour sample.’’ The                  Equation 6 as proposed at 88 FR 5666
                                                 b. Measurement Quality Check                            EPA notes that field blanks currently                 (January 27, 2023) was:
                                                 Requirements                                            average less than 10 mg nationally, and
                                                    The EPA proposed to remove section                   when divided by the 24 m3 nominal                       182 See the EPA’s PM
                                                                                                                                                                                         2.5 Data Quality Dashboard

                                                                                                         total air sample volume specified for a               available at https://sti-r-shiny.shinyapps.io/QVA_
                                                 3.1.2.2 from appendix A, which allows                                                                         Dashboard/.
                                                 NO2 compressed gas standards to be                      24-hour sample, the result is 0.4 mg/m3.                183 Noah, G. (2023). Task 16 on PEP/NPAP Task
                                                                                                         The appendix L MDL referenced by the                  Order: Bias and Precision DQOs for the PM2.5
                                                 used to generate audit standards (88 FR
                                                                                                         commenter was part of the 1997 PM                     Ambient Air Monitoring Network. Memorandum to
                                                 5665, January 27, 2023). The EPA                                                                              the Rulemaking Docket for the Review of the
                                                                                                         NAAQS rulemaking (62 FR 38652, July
                                                                                                                                                               National Ambient Air Quality Standards for
                                                 Particulate Matter (EPA–HQ–OAR–2015–0072).
                                                                                                         18, 1997); current data shows that the                Particulate Matter (EPA–HQ–OAR–2015–0072).
                                                 Available at: https://www.regulations.gov/docket/       MDL is substantially lower than the                   Available at: https://www.regulations.gov/docket/
                                                 EPA-HQ-OAR-2015-0072.                                   EPA’s original estimate. After review of              EPA-HQ-OAR-2015-0072.
ddrumheller on DSK120RN23PROD with RULES3




                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00146   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                                 Filed: 03/06/2024               Page 158 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                                     16347

                                                                                                                              meas- audit
                                                                                                                      Si   = - - - - - ; : = = - X 100
                                                                                                                                          .Jaudit

                                                                  And the corrected Equation 6 is:

                                                                                                                                              X--Y.
                                                                                                                             t-   =             l       l

                                                                                                                              '           J(Xi - Yi)/2

                                                                  Equation 7 is below and is unchanged.


                                                                                                                      tf-O:f:.1 tJ2 X           k-1
                                                                                CV90NAAQS             = 100 * kx_Ef=12k(k-1)          NAAQS Concentration*x:. ,k_                               1    1



                                                    As a result of the positive comments                 PM2.5 (88 FR 5666–67, January 27,                         do not support. The EPA reviewed the
                                                 received and the correction to the                      2023). Because average ambient PM                         technical memorandum and discovered
                                                 equation made in response to some                       concentrations across the nation have                     that a multiplier of 100 was left in the
                                                 comments, the EPA is finalizing the                     steadily declined since the                               new relative difference equation used in
                                                 updated Equation 6 as described and is                  promulgation of the PM2.5 standard, the                   the bias equation. The technical
                                                 finalizing Equation 7 as proposed for the               EPA proposed to replace the current                       memorandum, ‘‘Task 16 on PEP/NPAP
                                                 calculation of the Collocated Quality                   percent difference equation with a                        Task Order: Bias and Precision DQOs
                                                 Control Sampler Precision Estimate for                  relative difference equation. The EPA                     for the PM2.5 Ambient Air Monitoring
                                                 PM10, PM2.5, and Pb in section 4.2.1.                   received several comments in support of                   Network’’ has been amended to correct
                                                    The EPA proposed to update the                       this change in general, but some                          the error and is included in the
                                                 appendix A, section 4.2.5, Equation 8,                  commenters identified a potential error                   docket.184 The proposed Equation 8
                                                 calculation for the Performance                         in the new calculation that resulted in                   proposed at 88 FR 5667 (January 27,
                                                 Evaluation Program Bias Estimate for                    an artificially high estimate, which they                 2023) was:

                                                                                                                             ~!1      s-                               meas- audit
                                                                                                        100 *                "'i=l        I                  h
                                                                                                                                                            were St= - -
                                                                                                                                                                       --~- - x 100
                                                                                                                n.JNAAQS concentration                                      vaudit


                                                                     and the corrected Equation 8 is:

                                                                                                                           Ln 1 s                meas - audit
                                                                                                     100 x                   i=       where St = - - - - -
                                                                                                                                      t
                                                                                                               n.JNAAQS concentration              '1audit

                                                    As a result of the supportive                        documentation and delete references to                    once a month, once a quarter, once
                                                 comments received and the correction                    historical documents that do not                          every six months, or distributed over all
                                                 to the equation in response to some                     represent current practices. The EPA                      four quarters depending on the check)
                                                 comments, the EPA is updating and                       received only favorable comments, and                     between checks and encourages
                                                 finalizing Equation 8 as described for                  as a result, the EPA is finalizing the                    monitoring organizations to perform
                                                 the calculation for the Performance                     updated the references and hyperlinks                     data assessments at regular intervals.
                                                 Evaluation Program Bias Estimate for                    in appendix A, section 6, as proposed.                    The EPA received two comments
                                                 PM2.5, in section 4.2.5.                                   The EPA also proposed to add a                         regarding this proposed footnote. One
                                                 d. References                                           footnote to Table A–1 of part 58,                         commenter indicated that this change is
                                                                                                         appendix A—Minimum Data                                   inconsistent with the QA Handbook for
                                                   The EPA proposed to update the                        Assessment Requirements for NAAQS                         Air Pollution Measurement Systems:
ddrumheller on DSK120RN23PROD with RULES3




                                                 references and hyperlinks in appendix                   Related Criteria Pollutant Monitors (88                   ‘‘Volume II: Ambient Air Quality
                                                 A, section 6 (88 FR 5667, January 27,                   FR 5669, January 27, 2023). The                           Monitoring Program QA Handbook.’’
                                                                                                                                                                                                                       ER06MR24.032</GPH>




                                                 2023) to provide accuracy in identifying                proposed footnote clarifies the                           The EPA agrees with the commenter;
                                                 and locating essential supporting                       allowable time (i.e., every two weeks,                    because the QA Handbook is guidance,
                                                   184 Noah, G. (2023). Task 16 on PEP/NPAP Task         the Rulemaking Docket for the Review of the               Available at: https://www.regulations.gov/docket/
                                                 Order: Bias and Precision DQOs for the PM2.5            National Ambient Air Quality Standards for                EPA-HQ-OAR-2015-0072.
                                                                                                                                                                                                                       ER06MR24.031</GPH>




                                                 Ambient Air Monitoring Network. Memorandum to           Particulate Matter (EPA–HQ–OAR–2015–0072).



                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00147   Fmt 4701       Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024              Page 159 of 217
                                                 16348             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 the EPA will revise it after this action                been determined at the time of the                    b. Measurement Quality Check
                                                 is finalized to be consistent with the                  proposal. The EPA acknowledges this                   Requirements
                                                 updated CFR provision. Another                          comment but clarifies that the proposed                  The EPA proposed to remove section
                                                 commenter does not support the                          new bias statistic was evaluated at a                 3.1.2.2 from appendix B, which allows
                                                 addition of the footnote due to concerns                range of levels including the proposed                NO2 compressed gas standards to be
                                                 about limiting flexibility. In response,                range of PM2.5 standards in the technical             used to generate audit standards (88 FR
                                                 the EPA reiterates that the proposed                    memorandum, ‘‘Task 16 on PEP/NPAP                     5668, January 27, 2023). The EPA
                                                 revision is intended to clarify intent and              Task Order: Bias and Precision DQOs                   received one comment supporting this
                                                 does not make any changes to the                        for the PM2.5 Ambient Air Monitoring                  change. As a result of the comment
                                                 required frequencies or acceptance                                                                            received and other general supportive
                                                                                                         Network.’’ 186 Considering the
                                                 criteria for data assessment. A ‘‘weight                                                                      comments regarding quality assurance,
                                                                                                         justification in the technical
                                                 of evidence’’ narrative is still found in                                                                     the EPA is finalizing the removal of
                                                 40 CFR part 58, appendix A, section                     memorandum and the lack of adverse
                                                                                                         comments regarding the substantive                    section 3.1.2.2 from appendix B as
                                                 1.2.3. As a result of the comments
                                                                                                         proposal, the EPA is retaining the                    proposed.
                                                 received and the rationale discussed                                                                             The EPA proposed to revise the
                                                 above, the EPA is finalizing the addition               appendix B, section 2.3.1.1, goal for
                                                                                                         acceptable measurement uncertainty for                requirement in Appendix B, section
                                                 of the new footnote to Table A–1 of part                                                                      3.1.3.3 changing the National
                                                 58, appendix A—Minimum Data                             automated and manual PM2.5 methods
                                                                                                         for total bias.                                       Performance Audit Program (NPAP)
                                                 Assessment Requirements for NAAQS                                                                             requirement for annual verification of
                                                 Related Criteria Pollutant Monitors as                    The EPA also proposed to update and                 gaseous standards to the ORD-
                                                 proposed.                                               clarify ambient air monitoring                        recommended certification periods
                                                 2. Quality Assurance Requirements for                   requirements found in 40 CFR part 58,                 identified in Table 2–3 of the EPA
                                                 Prevention of Significant Deterioration                 appendix B, section 2.6.1 pertaining to               Traceability Protocol for Assay and
                                                 (PSD) Air Monitoring                                    EPA Protocol Gas standards used for                   Certification of Gaseous Calibration
                                                    The EPA proposed to revise appendix                  ambient air monitoring and the Ambient                Standards (appendix B, section 6.0(4))
                                                 B, Quality Assurance Requirements for                   Air PGVP (88 FR 5668, January 27,                     (88 FR 5668, January 27, 2023). The EPA
                                                 Prevention of Significant Deterioration                 2023). The EPA proposed to revise                     received one comment supporting this
                                                 (PSD) Air Monitoring (88 FR 5667,                       appendix B to clarify that in order to                change. As a result of the comment
                                                 January 27, 2023), in parallel to the                   participate in the Ambient Air PGVP,                  received and other general supportive
                                                 proposal to revise appendix A. Thus,                    producers of Protocol Gases must                      comments regarding quality assurance,
                                                 this section of the proposal included                   adhere to the requirements of 40 CFR                  the EPA is finalizing the updated NPAP
                                                 similar detail and proposed revisions                   75.21(g), and only regulatory ambient                 gaseous certification requirement in
                                                 related to evaluating quality system                    air monitoring programs may submit                    section 3.1.3.3 as proposed.
                                                 statistical calculations for PM2.5,                     cylinders for assay verification to the                  The EPA proposed to adjust the
                                                 clarifications and other improvements                   EPA Ambient Air PGVP. The EPA                         minimum value required by appendix
                                                 that would facilitate consistency and the                                                                     B, section 3.2.4, to be considered valid
                                                                                                         received comments in support of and in
                                                 operation of quality assurance programs                                                                       sample pairs for the PM2.5 Performance
                                                                                                         opposition to this proposed revision.
                                                 for PSD by SLT agencies nationwide.                                                                           Evaluation Program (PEP) from 3 mg/m3
                                                                                                         The commenter opposing the revision
                                                                                                                                                               to 2 mg/m3 (88 FR 5668, January 27,
                                                 a. Quality System Requirements                          indicated that the proposed PGVP                      2023). The EPA received comments in
                                                    The EPA reconsidered the goal in                     requirements would be additional and is               support and against the change. In the
                                                 appendix B, section 2.3.1.1 for                         concerned with an increased resource                  only opposing comment, the commenter
                                                 acceptable measurement uncertainty for                  burden. However, the EPA disagrees                    expressed concern that the method
                                                 automated and manual PM2.5 methods                      with the commenter because that the                   detection limit (MDL) for PM2.5 is 2 mg/
                                                 for total bias (88 FR 5668, January 27,                 proposed PGVP requirements are                        m3. The commenter also indicated that
                                                 2023).185 The current total bias goal is                consistent with the existing PGVP                     the MDL ‘‘typically has minimal value
                                                 an upper 90 percent confidence limit for                requirements in 40 CFR 75.21(g). PGVP                 per the definition of the MDL.’’ 40 CFR
                                                 the coefficient of variation (CV) of 10                 has been defined as a regulatory                      part 50, appendix L states, ‘‘The lower
                                                 percent and ±10 percent for total bias.                 requirement since 2016 (81 FR 17263,                  detection limit of the mass
                                                 The EPA’s intent was to investigate if                  March 28, 2016), so the proposed part                 concentration measurement range is
                                                 this goal is still realistic given updated              58 changes are not ‘‘additional’’ to                  estimated to be approximately 2 mg/m3,
                                                 precision and bias statistics. The EPA                  existing regulations. After consideration             based on noted mass changes in field
                                                 received one comment that bias                          of the comments, the EPA is finalizing                blanks in conjunction with the 24 m3
                                                 reevaluation may be premature, since                    the update and clarification of ambient               nominal total air sample volume
                                                 the final NAAQS standard had not yet                    air monitoring requirements found in                  specified for the 24-hour sample’’. The
                                                                                                         appendix B, section 2.6.1 pertaining to               EPA notes that field blanks currently
                                                    185 In the proposal, in section VII.C.2 Quality
                                                                                                         EPA Protocol Gas standards used for                   average less than 10 mg nationally, and
                                                 Assurance Requirements for Prevention of
                                                 Significant Deterioration (PSD) Air Monitoring (88      ambient air monitoring and the Ambient                when divided by the 24 m3 nominal
                                                 FR 5667–69), the EPA inadvertently referred to          Air PGVP as proposed.                                 total air sample volume specified for a
                                                 ‘‘appendix A’’ in the section rather than the correct                                                         24-hour sample, the result is 0.4 mg/m3.
                                                 ‘‘appendix B.’’ The EPA’s intent to have proposed
ddrumheller on DSK120RN23PROD with RULES3




                                                                                                                                                               The appendix L MDL referenced by the
                                                 changes to appendix B on these pages is made clear        186 Noah, G. (2023). Task 16 on PEP/NPAP Task
                                                 by the section header, the Table of Contents on page
                                                                                                                                                               commenter was part of the 1997 PM
                                                                                                         Order: Bias and Precision DQOs for the PM2.5          NAAQS rulemaking more than 20 years
                                                 5559, and the proposed regulatory text for appendix
                                                                                                         Ambient Air Monitoring Network. Memorandum to
                                                 B on pages 5707–08. See, e.g., id. at p.5668                                                                  ago (62 FR 38652, July 18, 1997); current
                                                 (preamble erroneously states that the EPA proposed      the Rulemaking Docket for the Review of the
                                                                                                         National Ambient Air Quality Standards for
                                                                                                                                                               data shows that the MDL is substantially
                                                 to change appendix A, section 2.6.1); id. at p.5668
                                                 (preamble erroneously states that the EPA proposed      Particulate Matter (EPA–HQ–OAR–2015–0072).            lower than EPA’s original estimate.
                                                 to adjust the minimum value required by appendix        Available at: https://www.regulations.gov/docket/     After review of the comments, and in
                                                 A, section 3.2.4).                                      EPA-HQ-OAR-2015-0072.                                 consideration of the recently calculated


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00148   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024               Page 160 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                                 16349

                                                 detection limit for the PM2.5 FRM that                  Precision Estimate for PM10, PM2.5 and                that a multiplier of 100 was
                                                 is substantially lower than our original                Pb (88 FR 5707, January 27, 2023).                    unintentionally left in the proposed
                                                 estimate, the EPA is revising the                       These new statistics are designed to                  relative difference equation, Equation 6.
                                                 minimum value for valid sample pairs                    address the high imprecision values that              Also, equation 6 was corrected from a
                                                 for the PM2.5 Performance Evaluation                    result from using these calculations to               normalized percent difference to a
                                                 Program (PEP) from 3 mg/m3 to 2 mg/m3                   compare low concentrations that are                   normalized relative percent difference
                                                 in appendix B, section 3.2.4 as                         now more routinely observed in the                    that is appropriate for comparing
                                                 proposed.                                               networks. The EPA received several                    collocated pairs at low concentrations.
                                                                                                         comments in support of this change in                 The technical memorandum titled
                                                 c. Calculations for Data Quality                        general, but a couple commenters
                                                 Assessments                                                                                                   ‘‘Task 16 on PEP/NPAP Task Order:
                                                                                                         indicated that there could be an error in
                                                                                                                                                               Bias and Precision DQOs for the PM2.5
                                                   The EPA proposed to change                            the new calculation that resulted in high
                                                                                                                                                               Ambient Air Monitoring Network’’ was
                                                 Equations 6 and 7 of appendix B,                        imprecision from the calculation of the
                                                 section 4.2.1 used for calculating the                  equation. The EPA reviewed the                        amended to correct the error and is
                                                 Collocated Quality Control Sampler                      technical memorandum and discovered                   included in the docket.187


                                                                  Equation 6 in the proposal (88 FR 5668, January 27, 2023) was:

                                                                                                                              meas-audit
                                                                                                                      Si = -----;::::==-- X 100
                                                                                                                                      ✓audit

                                                                  And the corrected Equation 6 is:




                                                                  Equation 7 is below and is unchanged.


                                                                                                                       kxl;f=1 tr-O:f=1 ti)2 X                             k-1
                                                                                CV90NAAQS = 100                  *             2k(k-1)                    NAAQS Concentration•xi.1 ,1c_ 1


                                                   As a result of the positive comments                  PM2.5 (88 FR 5668–59, January 27,                     do not support. The EPA reviewed the
                                                 received and the correction to the                      2023). Because average ambient PM                     technical memorandum and discovered
                                                 equation made in response to those                      concentrations across the nation have                 that a multiplier of 100 was left in the
                                                 comments, the EPA is finalizing the                     steadily declined since the                           new relative difference equation used in
                                                 update to Equation 6 and retaining                      promulgation of the PM2.5 standard, the               the bias equation. The technical
                                                 Equation 7 as proposed for the                          EPA proposed to replace the current                   memorandum, ‘‘Task 16 on PEP/NPAP
                                                 calculation of the Collocated Quality                   percent difference equation with a                    Task Order: Bias and Precision DQOs
                                                 Control Sampler Precision Estimate for                  relative difference equation. The EPA                 for the PM2.5 Ambient Air Monitoring
                                                 PM10, PM2.5 and Pb in section 4.2.1.                    received several comments in support of               Network’’ has been amended to correct
                                                   The EPA proposed to update the                        this change in general, but some
                                                                                                                                                               the error and is included in the docket.
                                                 appendix B, section 4.2.5, Equation 8,                  commenters identified a potential error
                                                                                                                                                               The proposed Equation 8 (88 FR 5669,
                                                 calculation for the Performance                         in the new calculation that resulted in
                                                                                                                                                               January 27, 2023) was:
                                                 Evaluation Program Bias Estimate for                    an artificially high estimate, which they
ddrumheller on DSK120RN23PROD with RULES3




                                                   187 Noah, G. (2023). Task 16 on PEP/NPAP Task         the Rulemaking Docket for the Review of the           Available at: https://www.regulations.gov/docket/
                                                 Order: Bias and Precision DQOs for the PM2.5            National Ambient Air Quality Standards for            EPA-HQ-OAR-2015-0072.
                                                                                                                                                                                                                   ER06MR24.033</GPH>




                                                 Ambient Air Monitoring Network. Memorandum to           Particulate Matter (EPA–HQ–OAR–2015–0072).



                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00149   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                              Filed: 03/06/2024              Page 161 of 217
                                                 16350             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                                                                                       :I;!t 1 S·                meas - audit
                                                                                                        100 *             ,= '         where St = ..Jaiiiilf  x 100
                                                                                                                n.jNAAQS concentration              audit

                                                                     and the corrected Equation 8 is:


                                                                                                     100 x
                                                                                                                           Lni=l s t             meas - audit
                                                                                                                                      where s, = - - - - -
                                                                                                               n,JNAAQS concentration              ,/audit

                                                    As a result of the supportive                        received and the rationale discussed                   the future may limit useful alternative
                                                 comments received and the correction                    above, the EPA is adding the new                       options to monitoring agencies. Another
                                                 to the equation in response to some                     footnote to Table B–1 of part 58,                      commenter suggested that the removal
                                                 comments, the EPA is updating and                       appendix B—Minimum Data                                of the ARM would take away the ability
                                                 finalizing Equation 8 as described for                  Assessment Requirements for NAAQS                      and right to use locally derived
                                                 the calculation for the Performance                     Related Criteria Pollutant PSD Monitors                correction factors.
                                                 Evaluation Program Bias Estimate for                    as proposed.                                              After considering the comments for
                                                 PM2.5, in section 4.2.5.                                3. Amendments to PM Ambient Air                        and against removing the provisions for
                                                                                                         Quality Methodology                                    ARMs, the EPA believes it is most
                                                 d. References
                                                                                                                                                                appropriate to remove the ARM
                                                    The EPA proposed to update the                       a. Revoking Approved Regional                          provisions. As described in the
                                                 references and hyperlinks in appendix                   Methods (ARMs)                                         proposal, when the EPA first proposed
                                                 B, section 6 (88 FR 5669, January 27,                      The EPA proposed to remove                          the process for approving and using
                                                 2023) to provide accuracy in identifying                provisions for approval and use of                     ARMs, there were no continuous FEMs
                                                 and locating essential supporting                       Approved Regional Methods (ARMs)                       approved. There are now over a dozen
                                                 documentation and delete references to                  throughout parts 50 and 58 of the CFR                  approved PM2.5 continuous FEMs and
                                                 historical documents that do not                        (88 FR 5669, January 27, 2023). ARMs                   no approved ARMs. Therefore, the EPA
                                                 represent current practices. The EPA                    are continuous PM2.5 methods that have                 is finalizing the removal of ARMs
                                                 received only favorable comments, and                   been approved specifically within a                    throughout 40 CFR parts 50 and 58 as
                                                 as a result, the EPA is finalizing the                  State or local air agency monitoring                   proposed.
                                                 updated the references and hyperlinks                   network for purposes of comparison to
                                                 in appendix B, section 6, as proposed.                                                                         b. Calibration of PM Federal Equivalent
                                                                                                         the NAAQS and to meet other
                                                                                                                                                                Methods (FEMs)
                                                    The EPA also proposed to add a                       monitoring objectives. Currently, there
                                                 footnote to Table B–1 of part 58,                       are no approved ARMs. There are,                          The EPA proposed to modify its
                                                 appendix B—Minimum Data                                 however, more than a dozen approved                    specifications for PM FEMs in appendix
                                                 Assessment Requirements for NAAQS                       Federal Equivalent Methods (FEMs) for                  C to Part 58 (88 FR 5670–73, January 27,
                                                 Related Criteria Pollutant PSD Monitors                 PM2.5. These approved FEMs are eligible                2023). Specifically, the EPA proposed
                                                 (88 FR 5669, January 27, 2023). The                     for comparison to the NAAQS and to                     that valid State, local, and Tribal (SLT)
                                                 proposed footnote clarifies the                         meet other monitoring objectives.                      air monitoring data from Federal
                                                 allowable time (i.e., every two weeks,                     The EPA received comments from                      Reference Methods (FRMs) generated in
                                                 once a month, once a quarter, once                      multiple State air programs in support                 routine networks and submitted to the
                                                 every six months, or distributed over all               of the proposal to remove provisions for               EPA may be used to improve the PM
                                                 four quarters depending on the check)                   approval and use of ARMs. One                          concentration measurement
                                                 between checks and encourages                           commenter cites that there are multiple                performance of approved FEMs. This
                                                 monitoring organizations to perform                     FEMs available for monitoring agencies                 approach, initiated by instrument
                                                 data assessments at regular intervals.                  to work with and that the agency was                   manufacturers, would be implemented
                                                 The EPA received two comments                           never able to get a candidate ARM to                   as a national solution in factory
                                                 regarding this proposal. One commenter                  meet the requirements for approval.                    calibrations of approved FEMs through
                                                 indicated that this change is                           With the availability of multiple FEMs                 a firmware update. This could apply to
                                                 inconsistent with the QA Handbook.                      that now work in the monitoring                        any PM FEM methods (i.e., PM10, PM2.5,
                                                 The EPA agrees with the commenter;                      agency’s network, the commenting                       and PM10–2.5).
                                                 because the QA Handbook is guidance,                    agency does not anticipate the need to                    The EPA proposed this modification
                                                 the EPA will revise it after this action                ever pursue an ARM in the future and,                  because there are some approved PM
                                                 is finalized to be consistent with the                  therefore, suggests that the ARM                       FEMs that are not currently meeting bias
                                                 updated CFR provision. Another                          provision is no longer needed. Another                 measurement quality objectives (MQOs)
                                                 commenter does not support the                          commenter strongly supported the                       when evaluating data nationally as
                                                 addition of the footnote due to concerns                proposed changes to remove the ARM                     described in the 2022 PA (U.S. EPA,
                                                 about limiting flexibility. In response,                provisions. The EPA also received                      2022b, section 2.2.3.1), meaning that an
                                                 the EPA reiterates that the proposed                    comments from a few agencies that                      update to factory calibrations may be
ddrumheller on DSK120RN23PROD with RULES3




                                                 revision is intended to clarify intent and              supported retaining the ARM provisions                 appropriate; however, there is no clearly
                                                 does not make any changes to the                        instead. One commenter cited the need                  defined process to update the
                                                 required frequencies or acceptance                      to consider the rapid advancement of                   calibration of FEMs. While there are
                                                 criteria for data assessment. A ‘‘weight                various new technologies and that, in                  several types of data available to use as
                                                 of evidence’’ narrative is still found in               some cases, approved continuous FEMs                   the reference for such updates (e.g.,
                                                 40 CFR part 58, appendix B, section                     may have shortcomings, meaning that                    routinely operated FRMs, audit program
                                                                                                                                                                                                            ER06MR24.034</GPH>




                                                 1.2.3. As a result of the comments                      losing the ability to propose an ARM in                FRMs, and chemical speciation sampler


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00150   Fmt 4701    Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024              Page 162 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                         16351

                                                 data), we proposed to use routinely                     separate year or years; that updates to               data, having an approach that
                                                 operated SLT FRMs as the basis of                       factory calibrations can occur as often as            minimizes bias is extremely important.
                                                 comparison upon which to calibrate                      needed; that calibrations should be                   Finally, some stated their belief that a
                                                 FEMs. The goal of updating factory                      evaluated by monitoring agencies as                   correction factor is necessary to preserve
                                                 calibrations would be to increase the                   part of routine data assessments, e.g.,               data integrity with the FRM.
                                                 number of routinely operating FEMs                      during certification of data and 5-year                  The EPA also received comments
                                                 meeting bias MQOs across the networks                   assessments; the EPA’s recognition that               suggesting ways that the PM FEM
                                                 in which they are operated. While there                 only data from existing operating sites is            correction could be performed,
                                                 are other approaches that could improve                 available; and finally, that an updated               including through detailed analysis of
                                                 data comparability between PM FEMs                      factory calibration does not have to                  data; by having PM FEM instrument
                                                 and collocated FRMs, the EPA believes                   work with the original field study data               manufacturers evaluate nationally
                                                 that the proposed modification to                       submitted that led to the original FEM                available valid FRM data to update
                                                 calibrate PM FEMs represents the most                   designation.                                          factory calibrations; and, by having the
                                                 reliable approach to update FEM factory                    With the proposed modification, the                instrument manufacturers implement
                                                 calibrations, since the existing FRM                    EPA solicited input on these technical                calibration adjustments at the factory.
                                                 network data that meet MQOs would be                    issues as well as the overall approach                   The EPA also received supportive
                                                 used to set updated factory calibrations.               and any alternatives that could lead to               comments on the PM FEMs calibration
                                                   While the Agency proposed to add                      more sites meeting the bias MQO with                  relating to comparability to the NAAQS.
                                                 this language to more expressly define                  automated FEMs, especially for those                  For example, a commenter stated that it
                                                 a process to update factory calibrations                sites that are near the level of the                  is important to ensure bias MQOs are
                                                 of approved PM FEMs, the EPA believes                   primary annual PM2.5 NAAQS, as                        met for FEMs run at sites potentially
                                                 that the existing rules for updating                    proposed to be revised in section II                  affected by revised standards as well as
                                                 approved FRMs and FEMs found at 40                      above. In response, the EPA received                  the need to accurately designate areas as
                                                 CFR 53.14 may also continue to be                       comments from about two dozen                         attaining or not attaining the NAAQS.
                                                 utilized for this purpose, as appropriate.              entities, most of which were SLT air                  There were comments supporting the
                                                 40 CFR 53.14 allows instrument                          programs or Multi-Jurisdictional                      correction of PM FEM data as helping
                                                 manufactures to submit to the EPA a                     Organizations (MJOs) comprised of                     the EPA and SLT monitoring programs
                                                 ‘‘Modification of a reference or                        these entities.                                       continue to evolve toward more
                                                 equivalent method.’’ Submitting a                          Overall, there was broad and strong                automated methods. For example, one
                                                 modification request may be appropriate                 support from a majority of commenters                 commenter appreciates the EPA’s
                                                 to ensure an approved FEM continues to                  for the proposed requirement to use                   support for the ongoing move from
                                                 meet 40 CFR 53.9, ‘‘Conditions of                       FRM data generated in routine networks                filter-based PM2.5 FRMs to use of
                                                 designation.’’ Specifically, 40 CFR                     and submitted to the EPA to update                    continuous FEMs, stating that they
                                                 53.9(c) requires that, ‘‘Any analyzer,                  factory calibrations included as part of              concur with the EPA’s assessment that
                                                 PM10 sampler, PM2.5 sampler, or                         approved FEMs. There were a smaller                   there is monitoring bias between FRMs
                                                 PM10–2.5 sampler offered for sale as part               number of critical comments on the                    and FEMs, and commending EPA for
                                                 of an FRM or FEM shall function within                  proposed process as well as some                      recognizing ongoing data quality issues
                                                 the limits of the performance                           commentors that supported the                         for FEMs and for taking action to
                                                 specifications referred to in § 53.20(a),               proposed requirement but also provided                improve these issues in collaboration
                                                 § 53.30(a), § 53.35, § 53.50, or § 53.60, as            additional suggestions for the EPA’s                  with instrument manufacturers and SLT
                                                 applicable, for at least 1 year after                   consideration. Below, we address each                 agencies.
                                                 delivery and acceptance when                            of the areas on which the EPA requested                  A small number of commenters were
                                                 maintained and operated in accordance                   comment regarding the calibration of                  critical of the proposed FEM calibration
                                                 with the manual referred to in                          PM FEMs, as well as a few additional                  approach. One commenter noted that
                                                 § 53.4(b)(3).’’ Thus, instrument                        areas where multiple commenters                       EPA should further examine the
                                                 manufacturers are encouraged to seek                    offered input on other areas related to               handling of FEM PM2.5 data when used
                                                 improvements to their approved FEM                      our proposal.                                         for comparison to the NAAQS. In
                                                 methods as needed to continue to meet                      A majority of the commenters on the                response, we note that monitoring
                                                 data quality needs as operated across                   proposed PM FEM calibration process                   agencies and the EPA will continue to
                                                 the network.                                            support the process to use valid State,               examine the comparability and use of
                                                   There are several technical                           local, and Tribal FRM data generated in               FEM data used in comparison to the
                                                 components to EPA’s proposed                            routine networks and submitted to the                 NAAQS. Another commenter suggested
                                                 modification, including: the reference                  EPA to improve the PM concentration                   that the calibration process for a
                                                 data to be used in the calibrations;                    measurement performance of approved                   designated PM monitor should not be
                                                 implementing as a national solution in                  FEMs. Some commenters suggested that                  altered following Class III designation
                                                 factory calibrations of approved FEMs                   this action is needed to ensure that data             approval. The EPA disagrees as we
                                                 through firmware updates; application                   reported from FRMs and FEMs are                       believe it is appropriate for FEMs to be
                                                 to any PM FEM methods (i.e., PM10,                      comparable and correction methods                     calibrated with routinely operated
                                                 PM2.5, and PM10–2.5); the appropriate                   applied to data from FEM monitors are                 FRMs, because doing so is an efficient
                                                 range of data to be used to develop and                 defensible across the national PM                     way to work towards FEM data meeting
                                                 test new factory calibrations, from just                monitoring network. Others stated that                the bias MQO across the networks in
                                                                                                         they agree with the EPA that this is a
ddrumheller on DSK120RN23PROD with RULES3




                                                 the most representative concentrations                                                                        which the FEMs are currently being
                                                 up to all available concentrations; the                 critical step in the right direction to               operated. Also, having continuous PM
                                                 representative set of geographic                        account for the discrepancies between                 FEMs meeting bias MQOs allows the
                                                 locations that can be used; whether                     PM2.5 FRM data and PM2.5 FEM data.                    use of the data in a variety of other ways
                                                 outliers may be included or not                         Some commented that applying                          that manually operated FRMs samplers
                                                 included; that new factory calibrations                 corrections includes a recognition that,              cannot support. Another commenter
                                                 should be developed using data from at                  while different measurement principles                stated that, if a particular FEM
                                                 least 2 years and tested on data from a                 may produce differences in the resulting              designated make or model of


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00151   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024              Page 163 of 217
                                                 16352             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 instruments fails to meet MQOs, then                    calibration updates, including data from              were supportive of the proposed
                                                 that make or model should be removed                    routinely operated FRMs, audit program                approach that recalibration of FEM PM
                                                 from the designations altogether. The                   FRMs, and PM2.5 chemical speciation                   instruments be initiated by instrument
                                                 EPA agrees and clarifies that the                       samplers, the EPA proposed to use                     manufacturers. For example, one
                                                 modification would not prevent removal                  routinely operated State, local, and                  commenter stated they support allowing
                                                 of FEM designation from a make or                       Tribal FRMs as the basis of comparison                instrument companies submit
                                                 model of instrument under the existing                  upon which to calibrate FEMs (88 FR                   improvements to their existing FEMs, as
                                                 40 CFR 53.11—Cancellation of reference                  5670–71, January 27, 2023).                           vendors should be encouraged to
                                                 or equivalent method designation. This                  Importantly, routine SLT agency FRM                   improve their methods. Another
                                                 may be appropriate if there are no other                data form the largest portion of the                  commenter noted that having a
                                                 solutions to improve the method such                    monitored air quality data used in                    methodology initiated by the
                                                 that it achieves bias MQOs.                             epidemiologic studies that are being                  manufacturer will have nationwide
                                                    A few commenters provided specific                   used to inform proposed decisions                     consistency. A few of commenters
                                                 recommendations for how the                             regarding the adequacy of the public                  recommended that SLT air agencies
                                                 regulatory language could be improved.                  health protection afforded by the                     should have the additional ability to
                                                 These included comments that the new                    primary PM2.5 NAAQS, as discussed in                  petition the EPA Administrator to
                                                 regulatory language proposed for 40                     section II above.                                     initiate factory calibrations of FEMs to
                                                 CFR part 58, appendix C, section 2.2                      Overall, there was broad and strong                 better meet MQOs when data collected
                                                 must ensure consistency and                             support for utilizing collocated FRM                  by their agencies indicate disparities,
                                                 transparency when requesting changes                    data from routine SLT networks to                     because the monitoring agencies are
                                                 to the factory calibration; that the EPA                provide calibrations of the continuous                responsible for the quality of the data
                                                 should incorporate binding regulatory                   FEMs. For example, several commenters                 from the specific makes and models of
                                                 language in 40 CFR part 58, appendix C,                 agree that valid SLT air monitoring data              instrumentation used in their networks.
                                                 section 2.2 (i.e., it currently lacks                   generated in routine networks and                     While the EPA believes that, in most
                                                 ‘‘shall’’ or ‘‘must’’) to ensure the                    submitted to the EPA will improve the                 cases, the instrument companies should
                                                 language is not open to inconsistency                   PM concentration measurement                          be the ones to initiate the process for
                                                 and does not provide unique deference                   performance of approved FEMs.                         calibration of FEMs to routinely
                                                 to instrument manufacturers without a                   Another commenter provided support                    operated FRMs, we agree with the
                                                 mechanism for transparent                               for PM FEM instrument manufacturers                   commenters who suggested that other
                                                 communication of the changes being                      to evaluate nationally available valid                options should be available, including
                                                 made and the supporting technical                       FRM data as well as other data sets such              allowing monitoring agencies or MJOs
                                                 analysis. A commenter also requested                    as the performance evaluation audit                   to work independently or together to
                                                 that the EPA define the core                            program to update factory calibrations.               pursue improvements to designated
                                                 requirements needed to ensure all                       The EPA believes that the routinely                   FEMs. However, the EPA believes that
                                                 requests for updating factory                           operated PM FRMs represent the best                   any such improvements initiated by
                                                 calibrations are required to follow the                 and largest source of data to calibrate               monitoring agencies or MJOs should
                                                 same process, using data of the same                    continuous PM FEMs, and that                          still be facilitated through the
                                                 known quality, and evaluating the                       performance evaluation audit program                  responsible instrument company. Also,
                                                 effectiveness of the resulting correction               data should be kept independent of the                any such effort to improve data quality
                                                 factors consistently.                                   calibration process. This will mean that
                                                                                                                                                               should be employed across all the
                                                    In response to these comments, while                 assessments of the routine monitoring
                                                                                                                                                               networks in which the methods are
                                                 the EPA agrees that the proposed                        operations, including both the FRM and
                                                 regulatory language for 40 CFR part 58,                                                                       operated and not limited to the
                                                                                                         any future updated PM FEMs, will
                                                 appendix C, section 2.2 must ensure                                                                           networks operated by the agency(s)
                                                                                                         appropriately remain independent in
                                                 consistency and transparency when                                                                             pursuing such improvements.
                                                                                                         evaluating whether updated methods
                                                 entities request changes to factory                     are meeting bias MQOs. The EPA is,                       Regarding how frequently factory
                                                 calibrations, the EPA disagrees that the                therefore, finalizing its approach to use             calibrations should be updated, our
                                                 regulations cannot also provide some                    routinely operated SLT FRMs as the                    proposal identified that it would be
                                                 flexibility. For example, we believe that               basis of comparison upon which to                     most appropriate to not define a specific
                                                 a degree of flexibility is appropriate                  calibrate continuous PM FEMs as                       time period for updates; rather, updates
                                                 regarding whether outliers in the data to               proposed.                                             should be based on whether or not
                                                 be used for factory calibration should or                 Regarding the EPA’s proposed                        quality data is being produced across a
                                                 should not be included, the range of                    requirement to utilize factory                        given network (88 FR 5672, January 27,
                                                 data to be included, and in utilizing                   calibrations (88 FR 5670–71, January 27,              2023). Regarding this issue, one
                                                 collocated FRM and FEM data for                         2023), several commenters agreed that                 commenter recommended that
                                                 updated calibrations from a                             factory calibrations provide the best                 instrument manufacturers be required to
                                                 representative set of geographic areas in               option to improve PM FEMs. For                        evaluate and, if necessary, adjust PM
                                                 which it is produced. The EPA believes                  example, one commenter stated that the                FEMs factory calibrations on an ongoing
                                                 that the proposal defined the core                      correction factors are necessary to                   basis at regular intervals. The EPA notes
                                                 requirements needed to ensure all                       preserve data integrity with the FRM,                 that while it does not have the authority
                                                 requests for updating FEM factory                       and they support the proposal that the                to require instrument companies to
                                                                                                                                                               evaluate the quality of data from
ddrumheller on DSK120RN23PROD with RULES3




                                                 calibrations will follow the same                       approach be initiated by instrument
                                                 process, using data of the same known                   manufacturers and implemented as a                    operating FEMs under 40 CFR part 58,
                                                 quality and evaluating the effectiveness                national solution through firmware                    the EPA does routinely participate in
                                                 of the resulting correction factors                     updates.                                              conferences and workshops and makes
                                                 consistently.                                             Regarding the proposed requirement                  assessments of data quality specific to
                                                    In its proposal, the EPA identified                  that calibrations be initiated by                     instrument makes and models publicly
                                                 that while there are several types of data              instrument manufacturers (88 FR 5671,                 available. The EPA also regularly
                                                 available to use as the reference for FEM               January 27, 2023), most commenters                    summarizes relevant FRM and FEM data


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00152   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024              Page 164 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                        16353

                                                 quality in documents such as the 2022                   FR 5671, January 27, 2023). Most                      required to be tested (40 CFR
                                                 PA (U.S. EPA, 2022b). Therefore,                        commenters were supportive of the                     53.35(b)(1)). Moreover, the EPA
                                                 consistent with the proposal, we are not                approach of using representative sites in             proposed to require instrument
                                                 finalizing any specifics regarding how                  SLT networks from across the country.                 manufacturers to demonstrate that they
                                                 frequently factory calibrations should be               For example, several commenters                       can improve the number of sites
                                                 updated but commit to continue to                       provided their support for PM FEM                     meeting bias MQOs by initiating a
                                                 routinely provide information to SLT                    instrument manufacturers to evaluate                  recalibration of an FEM. Thus, the use
                                                 agencies regarding FEM data quality.                    nationally available valid FRM data to                of a national set of sites where the
                                                    The EPA proposed that the calibration                update factory calibrations. Commenters               methods are operated is essentially a
                                                 of FEMs could apply to any of the PM                    disagreeing with a national geographic                fine-tuning of the PM FEMs
                                                 FEM method indicators (i.e., PM10,                      approach preferred to allow local                     performance across all sites where it is
                                                 PM2.5, and PM10–2.5) (88 FR 5670,                       solutions to correct data. For example,               used.
                                                 January 27, 2023). The EPA received                     one commenter suggested having a local                   After considering all the comments
                                                 only supportive comments. All                           or regional option because PM                         received, the EPA believes it is
                                                 comments that included a discussion of                  instruments are impacted by, and                      appropriate to finalize as proposed with
                                                 three PM metrics support their                          respond differently to, a variety of local            a representative set geographic locations
                                                 inclusion for calibration of PM FEMs.                   factors, including relative humidity,                 at SLT sites to calibrate PM FEMs.
                                                 Therefore, the EPA is finalizing the                    temperature, concentration levels, and                Identification of such sites would be
                                                 inclusion of all three PM indicators (i.e.,             particle composition. The EPA agrees                  made by the applicant of the planned
                                                 PM10, PM2.5, and PM10–2.5) as proposed.                 that there are challenges in the response             updated calibration, subject to EPA
                                                    The EPA proposed that either all data                of PM FEMs to a variety of local factors;             approval, and submitted to the EPA in
                                                 available or a range of data up to 125%                 however, this can be true of many                     accordance with the requirements and
                                                 of the 24-hour NAAQS for the PM                         methods and are not specific to PM                    application instructions in 40 CFR part
                                                 indicator of interest may be used to                    FEMs and, therefore, does not provide a               58, appendix C, sections 2.2 and 2.7.
                                                 establish new factory calibrations, (88                 reason to reject this approach in this                The EPA encourages early
                                                 FR 5671–73, January 27, 2023). The EPA                  instance. Another commenter stated that               communication between an applicant
                                                 received many comments supportive of                    the proposed national correction factor               seeking a method update and the EPA
                                                 the proposal and one comment offering                   is a ‘‘flawed concept,’’ suggesting that it           to facilitate the most appropriate sites
                                                 a different approach on the range of data               is ‘‘widely understood throughout the                 are included in any updated application
                                                 to use. One commenter recommends                        monitoring community that monitors                    of the methods calibration.
                                                 that the EPA should consider using all                  perform best with a local correction                     The EPA proposed that instrument
                                                 ‘‘validated’’ data because how these                                                                          companies may, but are not required to,
                                                                                                         factor.’’ This commentor offered no
                                                 instruments behave under normal                                                                               check for and exclude any potential
                                                                                                         record or citation supporting this point.
                                                 operating ranges may be just as                                                                               outliers that may exist in the validated
                                                                                                         The EPA counters that while monitoring
                                                 important as how they behave when                                                                             State, local, and Tribal agency network
                                                                                                         agencies may statistically correct data
                                                 monitoring conditions are low or                                                                              data available from AQS that would be
                                                                                                         from a PM continuous monitor for AQI
                                                 elevated, and that the full range of data                                                                     used to establish new factory
                                                                                                         purposes (40 CFR part 58, appendix G),
                                                 should be used when determining the                                                                           calibrations. The EPA received two
                                                                                                         there are both examples of well
                                                 appropriate level of the standard, just as                                                                    comments regarding potential outlier
                                                                                                         performing statistically corrected PM
                                                 the full range of data is used in                                                                             approaches. One commenter disagreed
                                                                                                         continuous monitors being used for AQI
                                                 determining if an area is attaining the                                                                       with the proposed approach and instead
                                                                                                         purposes; however, without proper                     recommended the use of all ‘‘validated’’
                                                 standard. In response to this comment,
                                                 the EPA believes that making                            attention and updates, there are also                 data, because how these instruments
                                                 allowances for some flexibilities will                  examples of poorly performing ones.                   behave under normal operating ranges
                                                 increase the likelihood of instrument                   Finally, another commenter believes                   may be just as important as how they
                                                 companies pursuing such                                 that a national correction factor cannot              behave when monitoring conditions are
                                                 improvements. Also, even though there                   possibly incorporate data to represent                low or elevated. The EPA acknowledges
                                                 is flexibility, the EPA will still be able              all the scenarios across the nation that              this point; however, the proposal on
                                                 to evaluate the appropriateness of a                    have an impact on monitor performance                 outliers allows flexibility in using
                                                 range of concentration data included as                 and data quality. Although the EPA                    standard outlier tests if needed to
                                                 part of each application submitted.                     agrees that there are a variety of local              include or exclude such data as part of
                                                 Also, the EPA notes that in certain                     scenarios that could affect monitor                   the calibration process. Ultimately, the
                                                 circumstances, States do petition the                   performance, the overall benefits of                  true test of success for an updated
                                                 EPA to set aside data under the                         having nationally consistent                          method calibration will be that a higher
                                                 Exceptional Events Rule (§ 50.14,                       measurement of PM concentrations and                  number of sites are meeting bias MQOs
                                                 ‘‘Treatment of air quality monitoring                   national calibration of data outweigh the             in the areas in which the method is
                                                 data influenced by exceptional events’’).               potential advantages of locally specific              used, which will include all routine
                                                 Where approved, exceptional event data                  calibrations.                                         valid data including any potential
                                                 are set aside from use in regulatory                       Several commenters also disagreed                  outliers. Another commenter asserted
                                                 decisions. Thus, there is a process to set              with using local and regional                         concerns with the ability of instrument
                                                 aside certain high concentration data for               calibrations of data, including some                  manufacturers to analyze data within
                                                                                                         monitoring agencies that asserted being
ddrumheller on DSK120RN23PROD with RULES3




                                                 certain purposes. Therefore, the EPA is                                                                       individual monitoring agencies. The
                                                 finalizing the provision that factory                   unable to reinvest in the operation of                EPA disagrees with the commenter
                                                 calibrations may be based on a range of                 FRMs that would be required to locally                because decisions whether to include or
                                                 valid data as proposed.                                 calibrate their own PM FEMs. Further,                 exclude outliers should be flexible and
                                                    The EPA solicited comment on the                     every approved PM FEM method                          made on a case-by-case basis. Moreover,
                                                 representative set of geographic                        designated today is effectively                       the expected substantially larger dataset
                                                 locations to use in the calibration of                  calibrated through demonstration of                   from routinely operated collocated
                                                 FEMs compared to collocated FEMs (88                    field testing in the areas in which it was            FRMs and FEMs compared to what was


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00153   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024              Page 165 of 217
                                                 16354             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 used in the original FEM designation                    commenter asked that manufacturers of                 referred to in § 53.4(b)(3).’’ The EPA
                                                 testing (§ 53.35 Test procedure for Class               FEM instruments be held accountable                   does not have the authority to require
                                                 II and Class III methods for PM2.5 and                  for ensuring that they continue to meet               instrument manufacturers to further
                                                 PM10–2.5) will minimize the effect of any               FEM criteria, whether through                         evaluate the FEM monitoring data at
                                                 potential outliers.                                     calibration updates and/or follow-up                  defined intervals, including but not
                                                    In contrast to these two comments,                   evaluations. Another commenter                        limited to the 2-year and 5-year
                                                 the EPA received many comments                          suggested that instrument                             approval anniversaries, as one
                                                 supportive of the proposed outlier                      manufacturers should be required to                   commenter suggested.
                                                 approach overall. Therefore, the EPA is                 further evaluate the FEM monitoring                      In addition to these few
                                                 finalizing this part of the proposal that               data at defined intervals including, but              recommendations, the EPA received
                                                 instrument companies may, but are not                   not limited to, the 2-year and 5-year                 many comments supportive of the
                                                 required to, check for and exclude any                  approval anniversaries.                               proposal that valid State, local, and
                                                 potential outliers that may exist in the                   The EPA did not propose to make                    Tribal air monitoring data from FRMs
                                                 validated State, local, and Tribal agency               modifications to the statistical criteria or          generated in routine networks and
                                                 network data available from AQS that                    testing requirements; however, we did                 submitted to the EPA may be used to
                                                 would be used to establish new factory                  solicit comment on any alternatives that              improve the PM concentration
                                                 calibrations.                                           would lead to more sites meeting the                  measurement performance of approved
                                                    Several commenters offered input on                  bias MQO with automated FEMs,                         FEMs; therefore, consistent with the
                                                 statistical criteria and initial testing                especially for those sites that are near              proposal we are not finalizing any
                                                 requirements for approval of candidate                  the level of the primary annual PM2.5                 updates to the statistical criteria, testing
                                                 PM FEMs and the role of instrument                      NAAQS as proposed (88 FR 5672–73,                     requirements, or requirements on
                                                 manufacturers in this process. The EPA                  January 27, 2023). While the comments                 instrument manufactures as proposed.
                                                 did not propose any changes related to                  requesting that the statistical criteria be              The EPA proposed that any new
                                                 these issues; however, these comments                   strengthened may have merit, doing so                 factory calibration should be developed
                                                 have been considered below.                             would not address the large inventory of              using data from at least 2 years and
                                                    One commenter suggested that data                    already deployed PM FEMs used                         tested on a separate year(s) of data (88
                                                 quality objectives, bias, and precision                 throughout the country. Also, without                 FR 5672, January 27, 2023). Comments
                                                 estimators for different monitoring                     performing a detailed Data Quality                    on this part of the proposal were
                                                 methods should be based on averages at                  Objective (DQO) design process, it is                 generally supportive. One commenter
                                                 both national and regional levels for                   unclear how changing one or more                      requested that at least a 3-year dataset,
                                                 purposes of comparison. Another                         statistical criteria would help improve               rather than the proposed 2 years, be
                                                 commenter asked to strengthen the                       the number of sites meeting the bias                  used for a representative design value
                                                 criteria for Class 3 Equivalency                        MQO now or in the future. Similarly,                  comparison of the FEM and FRM
                                                 standards for candidate PM                              while the comments asking for changes                 datasets to be evaluated. Another
                                                 instrumentation. On testing                             to the locations of testing may also have             commenter pointed out that as large a
                                                 requirements, one commenter                             merit, the EPA believes this could be a               data set as possible should be used, but
                                                 recommended that the EPA consider                       deterrent for instrument manufactures                 EPA should not limit it to only data
                                                 updating the 40 CFR part 53 process for                 to seek additional improvements since                 collected by instruments that have
                                                 approving FEMs so that the testing                      more testing would be required, at least              operated for more than 2 years.
                                                 process more closely reflects the                       for candidate methods. Regarding the                     In response to these comments, the
                                                 regulatory deployment and data                          comment on the different measurement                  EPA notes the broad support for the
                                                 handling that generates NAAQS-                          principles, the EPA concurs that                      proposal as written. Also, the EPA notes
                                                 comparable data. Another commenter                      different measurement principles may                  that the 2-year period for using data to
                                                 asked that the results from ‘‘summer’’                  never align perfectly. Also, the EPA                  develop a factory calibration is a
                                                 and ‘‘winter’’ field evaluations not be                 notes that the Agency has longstanding                minimum, and that more years may be
                                                 averaged together because it allows                     goals for acceptable measurement                      used as appropriate. Therefore, the EPA
                                                 agencies to minimize the error of biased                uncertainty of automated and manual                   is finalizing its approach that any new
                                                 instruments by averaging poor results                   PM2.5 methods in 40 CFR part 58,                      factory calibration should be developed
                                                 with data often biased in the other                     appendix A, section 2.3.1.1. Therefore,               using data from at least 2 years and
                                                 direction. The same commenter also                      while having different measurement                    tested on a separate year(s) of data as
                                                 recommended that candidate                              principles align is useful, meeting the               proposed.
                                                 instruments data sets should not be                     goal for acceptable measurement                          The EPA proposed several aspects of
                                                 averaged together as is done currently                  uncertainty is the objective.                         the FEM calibration on which we did
                                                 where data from triplicate instruments                     Regarding the comments related to the              not receive specific comments,
                                                 are averaged for each day. Another                      instrument companies’ role in PM                      including a provision that FEM methods
                                                 commenter asked that the EPA require                    FEMs, the EPA notes that FEMs are                     should be evaluated by monitoring
                                                 FEM field comparability tests in the                    already required to meet 40 CFR 53.9,                 agencies as part of routine data
                                                 northwest (e.g., in EPA Region 10) in                   ‘‘Conditions of designation.’’                        assessments, such as during certification
                                                 areas where particulate derived from                    Specifically, 40 CFR 53.9(c) requires                 of data and 5-year assessments; the fact
                                                 biomass predominates to ensure that                     that, ‘‘Any analyzer, PM10 sampler,                   that the EPA recognizes only data from
                                                 certified instruments will perform                      PM2.5 sampler, or PM10–2.5 sampler                    existing operating sites are available for
                                                 reliably in regions influenced by these                                                                       use in factory calibrations; and
ddrumheller on DSK120RN23PROD with RULES3




                                                                                                         offered for sale as part of an FRM or
                                                 sources. Related to the different                       FEM shall function within the limits of               recognition that an updated factory
                                                 measurement principles and the                          the performance specifications referred               calibration does not have to work with
                                                 instrument companies’ role in PM                        to in § 53.20(a), § 53.30(a), § 53.35,                the original field study data submitted
                                                 FEMs, one commenter noted that FEMs                     § 53.50, or § 53.60, as applicable, for at            that led to the designation as an FEM.
                                                 may never align perfectly with the                      least 1 year after delivery and                       With the broad general support from
                                                 FRMs due to the use of different                        acceptance when maintained and                        commenters summarized above, the
                                                 measurement principles. Another                         operated in accordance with the manual                EPA is finalizing each of these


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00154   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024              Page 166 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                         16355

                                                 individual aspects of the FEM                           to EPA Regional office approval. In                   a large component of PM in many
                                                 calibration as proposed.                                some circumstances, it is possible the                communities.
                                                    In the proposal, the EPA identified                  original PM FEM may be revised in a                      Among the alternative approaches
                                                 that we should expect a lag between the                 manner where only the updated method                  suggested, having settings that would
                                                 date when an already designated                         has an active approved designation. In                allow for adjustments to make FEM data
                                                 method is approved with a new factory                   these cases, monitoring agencies would                more ‘‘FRM-like’’ has merit, but
                                                 calibration as an updated method by the                 need to address updating their PM FEM                 assuming this was within a PM FEM
                                                 EPA and when it can be implemented                      in a timely manner.                                   itself, it would need to be separately
                                                 in the field. The EPA solicited comment                    The EPA solicited input on any                     incorporated into each make and model
                                                 on how to approach the data produced                    alternative approaches that could lead                of FEM. If EPA were to pursue this
                                                 during this lag. Commenters provided                    to more sites meeting the bias MQO                    alternative approach, the suggestion
                                                 input not only on how to address data                   with automated PM FEMs, especially for                could be incorporated into a future
                                                 during the lag, but also regarding how                  those sites that are near the level of the            regulatory action as a potential
                                                 to address data already collected prior                 primary annual PM2.5 NAAQS as                         condition of designation because,
                                                 to a method update that has the                         proposed to be revised in section II                  without having the opportunity to
                                                 potential to be used in regulatory                      above. A few commentors provided                      thoughtfully consider how every step of
                                                 decision making, particularly where                     input on potential options for                        such an approach would need to work,
                                                 such collected data do not meet the bias                alternative approaches and several                    including what such requirements
                                                 MQO. In response to this solicitation of                others offered input on how a local or                would look like and how potential
                                                 comment, there was a consistent                         regional calibration of an FEM could                  settings adjustments would be made, it
                                                 recommendation that calibrations of                     work. Among alternative approaches,                   is not appropriate for the EPA to require
                                                 data associated with method updates                     one commenter suggested that                          the availability of such settings now, nor
                                                 should be applied to all relevant PM                    manufacturers of FEMs could provide                   would it address the inventory of
                                                 data prior to the EPA using it for                      settings that would allow for                         currently available PM FEMs already
                                                 designations under a final NAAQS.                       adjustments to make FEM data more                     operating.
                                                    While the EPA appreciates these                                                                               Regarding the suggestion that the EPA
                                                                                                         ‘‘FRM-like.’’ Another commenter
                                                 comments and recognizes their support                                                                         and SLTs should work with the
                                                                                                         suggested working with the
                                                 for retroactive data correction, at this                                                                      manufacturers of FEM equipment to
                                                                                                         manufacturers of FEM equipment to
                                                 time and following this final rule,                                                                           diagnose the cause of any biases and
                                                                                                         diagnose the cause of the bias and then
                                                 monitoring agencies should continue to                                                                        then to address them appropriately, the
                                                                                                         to address it appropriately.
                                                 report PM FEM data as measured. This                                                                          EPA supports this recommendation, but
                                                 component of this final rule is focused                    The EPA received several comments                  does not believe a regulatory change is
                                                 only on revising 40 CFR part 53,                        on how to implement a local or regional               required to allow the monitoring
                                                 appendix C to implement an updated                      calibration of FEMs. One commenter                    community (EPA and SLTs) to work
                                                 calibration for approved PM FEMs. The                   suggested that EPA could allow for SLT                with instrument manufacturers in this
                                                 issue of how prior and future                           agencies to adjust FEM data to be more                way.
                                                 monitoring data will be used in the                     ‘‘FRM-like’’ prior to submitting data to                 Regarding the several comments on
                                                 implementation of this NAAQS, such as                   AQS. Another commenter suggested                      how to implement a local or regional
                                                 for designations, and for air quality                   using a rolling 3-month linear regression             calibration of FEMs, the EPA
                                                 regulatory programs is outside the scope                based on a comparison of FEM data to                  acknowledges the desire for this
                                                 of this rulemaking and will therefore be                PM2.5 levels measured by a 1-in-6-day                 flexibility but believes that any such
                                                 addressed by the EPA in a subsequent                    FRM. Another commenter                                provisions for local or regional
                                                 relevant action or actions.                             recommended that the EPA allow the                    calibration of FEMs would need to be
                                                    The EPA received comments on                         application of a correction factor that is            thoroughly thought out and proposed
                                                 whether updates to PM FEM methods                       from an area with a similar climate and               for consideration across the monitoring
                                                 should be required to be implemented                    other conditions. Another commenter                   community. While several commenters
                                                 or there would flexibility in when and                  suggested that, for metropolitan                      support such an approach, the EPA also
                                                 if a monitoring agency implemented                      statistical areas (MSAs) where the re-                received adverse comments on the
                                                 them. The commenters asked that EPA                     calibrated FEMs still do not meet                     potential for local and regional
                                                 be flexible in allowing the use of                      equivalency criteria, monitoring                      calibration of PM FEMs instead of
                                                 updated method correction factors                       agencies should be able to use the                    national. Most of the criticism of local
                                                 intended to improve the data                            rolling linear regression technique to                and regional calibration of PM FEMs
                                                 comparability between the FRMs and                      further calibrate the FEMs within an                  centered on both the lack of existing
                                                 FEMs.                                                   MSA. Another commenter suggested                      operating PM FRMs in commenters’
                                                    In most cases, the EPA expects that                  that developing a simple linear                       networks and monitoring agencies’
                                                 updating the FEMs will result in                        regression could establish the                        inability to staff the higher number of
                                                 improved data quality and more sites                    relationship between FEM data and                     operating FRMs that would have to be
                                                 meeting bias MQOs; however, the EPA                     FRM data and be used to adjust the FEM                collocated with PM FEMs to calibrate.
                                                 is not finalizing an update requirement                 data at each site where they are                      Thus, the commenters that oppose local
                                                 in this action. Monitoring agencies can                 collocated. Another commenter                         and regional calibrations of data prefer
                                                 assess their data and make decisions on                 suggested that averaging the results                  to utilize the national calibration of
                                                 an update based on whether they are                     within a MSA and applying it on an                    FEM data as proposed. Acknowledging
ddrumheller on DSK120RN23PROD with RULES3




                                                 meeting the bias MQOs. Such decisions                   MSA basis with the previous 2 years of                all of these viewpoints, the EPA believes
                                                 on whether or not to update a method                    data could provide an adjustment                      that it would not be appropriate to
                                                 may efficiently be included in those                    method for sites without a collocated                 institute such an approach at this time.
                                                 agencies’ annual monitoring network                     FRM. Another commenter identified                     As discussed throughout this section,
                                                 plans under 40 CFR 58.10, ‘‘Annual                      that a regional correction factor                     this final rule, the EPA is embarking on
                                                 monitoring network plan and periodic                    potentially could improve instrument                  a new national approach to calibration
                                                 assessment,’’ which are already subject                 accuracy to biomass sources, which are                of FEMs where valid State, local, and


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00155   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                                Filed: 03/06/2024                Page 167 of 217
                                                 16356             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 Tribal air monitoring data from FRMs                    justice (EJ) factor that accounts for                        characterizing localized air quality
                                                 generated in routine networks and                       proximity of at-risk populations (i.e.,                      issues around local emission sources
                                                 submitted to the EPA may be used to                     those identified in the 2019 ISA and ISA                     may become even more important. The
                                                 improve the PM concentration                            Supplement as being at increased risk of                     EPA believes that adding a network
                                                 measurement performance of approved                     adverse health effects from PM2.5                            design requirement to locate monitors in
                                                 FEMs. The EPA and the community of                      exposures to sources of concern),                            at-risk communities will improve our
                                                 SLT monitoring agencies can further                     consistent with the statutory                                characterization of exposures for at-risk
                                                 consider other solutions to improving                   requirement that the NAAQS protect the                       communities where localized air quality
                                                 PM FEM methods, including local and                     health of at-risk populations (88 FR                         issues may contribute to air pollution
                                                 regional scale calibration of FEMs, in a                5673, January 27, 2023). Specifically,                       exposures. Requiring that PM2.5
                                                 future review of the PM NAAQS.                          the EPA proposed to modify the existing                      monitoring stations be sited in at-risk
                                                    In summary, the EPA is finalizing its                requirement at 40 CFR part 58,                               communities will allow other methods
                                                 proposal to allow valid State, local, and               appendix D, section 4.7.1(b)(3)): ‘‘For                      to be operated alongside PM2.5
                                                 Tribal air monitoring data from PM                      areas with additional required SLAMS,                        measurements to support multiple
                                                 FRMs and FEMs generated in routine                      a monitoring station is to be sited in an                    monitoring objectives per 40 CFR part
                                                 networks and submitted to the EPA to                    area of poor air quality,’’ to additionally                  58, appendix D, section 1.1. The EPA
                                                 update factory calibrations included as                 address at-risk communities with a                           believes that it is appropriate to
                                                 part of approved FEMs (40 CFR part 58,                  focus on anticipated exposures from                          formalize the monitoring network’s
                                                 appendix C, sections 2.2 and 2.7). This                 local sources of emissions. The                              characterization of PM2.5 concentrations
                                                 approach, which will typically be                       scientific evidence evaluated in the                         in communities at increased risk to
                                                 initiated by instrument manufacturers                   2019 ISA and ISA Supplement indicates                        provide such areas with the level of
                                                 but can also be spurred by monitoring                   that sub-populations at potentially                          protection intended with the PM2.5
                                                 agencies, MJOs of monitoring agencies,                  greater risk from PM2.5 exposures                            NAAQS. The addition of this
                                                 and the EPA itself, is to be implemented                include children, lower socioeconomic                        requirement will also lead to enhanced
                                                 as a national solution in factory                       status (SES) 188 populations, minority                       local data that will allow air quality
                                                 calibrations of approved FEMs through                   populations (particularly Black                              regulators help communities reduce
                                                 a firmware update, subject to EPA                       populations), and people with certain                        exposures and inform future
                                                 approval. FEM calibrations can apply to                 preexisting diseases (particularly                           implementation and reviews of the
                                                 any PM FEM methods (i.e., PM10, PM2.5,                  cardiovascular disease and asthma). The                      NAAQS.
                                                 and PM10–2.5). As part of this process,                 EPA proposed that communities with                              The EPA received comments
                                                 the EPA is finalizing that a range of data              relatively higher proportions of sub-                        concerning the proposed requirement to
                                                 based on the most representative                        populations at greater risk from PM2.5                       modify the PM2.5 monitoring network
                                                 concentrations up to all available                      exposure within the jurisdiction of a                        design criteria to include an EJ factor
                                                 concentrations may be used in                           State or local monitoring agency should                      that accounts for the proximity of
                                                 developing and testing a new factory                    be considered ‘‘at-risk communities’’ for                    populations at increased risk of adverse
                                                 calibration; that a representative set of               these purposes.                                              health effects from PM2.5 exposures to
                                                 geographic locations can be used; that                     The PM2.5 network design criteria                         sources of concern. Commenters
                                                 outliers may be included or not                         have led to a robust national network of                     included State, local, and Tribal air
                                                 included; that a new factory calibration                PM2.5 monitoring stations. These                             agencies and multijurisdictional
                                                 should be developed using data from at                  monitoring stations are largely in Core-                     organizations (MJOs) comprised of those
                                                 least 2 years and tested on a separate                  Based Statistical Areas (CBSAs) 189                          agencies; industry and industry groups;
                                                 year(s) of data; that updates to factory                across the country that include many                         other Federal, State, and local
                                                 calibrations can occur as often as                      PM2.5 monitoring sites in at-risk                            government entities; public health,
                                                 needed and should be evaluated by                       communities. Many of the                                     medical, and environmental
                                                 monitoring agencies as part of routine                  epidemiologic studies evaluated in the                       nongovernmental organizations (NGOs);
                                                 data assessments such as during                         2019 ISA and ISA Supplement,                                 and private citizens. The EPA proposed
                                                 certification of data and 5-year                        including those that provide evidence of                     to require that sites located in at-risk
                                                 assessments; that the EPA recognizes                    disparities in PM2.5 exposure and health                     communities (particularly those whose
                                                 only data from existing operating sites is              risk in minority populations and low-                        air quality is potentially affected by
                                                 available; and that an updated factory                  SES populations, often use data from                         local sources of concern) should
                                                 calibration does not have to work with                  these existing PM2.5 monitoring sites.                       nonetheless meet the requirements to be
                                                 the original field study data submitted                 However, we anticipate that with the                         considered representative of ‘‘areawide’’
                                                 that led to the designation as an FEM.                  more protective annual NAAQS                                 air quality as this is consistent with all
                                                 The EPA is finalizing this approach as                  finalized in section II above,                               other minimally required sites. There
                                                 proposed with the intention of having                                                                                were several other technical
                                                 more sites meet the bias MQOs with                         188 SES is a composite measure that includes              components of the proposed
                                                 automated PM FEMs.                                      metrics such as income, occupation, and education,           requirement for which we asked for
                                                                                                         and can play a role in populations’ access to
                                                                                                         healthy environments and healthcare.
                                                                                                                                                                      comment, including: how to identify at-
                                                 4. Revisions to the PM2.5 Monitoring
                                                                                                            189 Metropolitan and Micropolitan Statistical             risk communities; the PM sources of
                                                 Network Design Criteria To Address At-
                                                                                                         Areas are collectively referred to as ‘‘Core-Based           concern important to consider; the
                                                 Risk Communities                                        Statistical Areas.’’ Metropolitan statistical areas          datasets that can be used to identify
                                                                                                         have at least one urbanized area of 50,000 or more
ddrumheller on DSK120RN23PROD with RULES3




                                                    To enhance protection of air quality                                                                              communities with high exposures; the
                                                                                                         population, plus adjacent territory that has a high
                                                 in communities subject to                               degree of social and economic integration with the           most useful measurement methods to
                                                 disproportionate air pollution risk,                    core as measured by commuting ties. Micropolitan             collocate with PM2.5 in at-risk
                                                 particularly in light of the proposed                   statistical areas are a set of statistical areas that have   communities; and the timeline to
                                                 range for a revised primary annual PM2.5                at least one urban cluster of at least 10,000 but less       implement any new or moved sites.
                                                                                                         than 50,000 population, plus adjacent territory that
                                                 standard, the EPA proposed to modify                    has a high degree of social and economic
                                                                                                                                                                         Overall, most commenters were very
                                                 the PM2.5 monitoring network design                     integration with the core as measured by                     supportive of the EPA’s proposed
                                                 criteria to include an environmental                    commuting ties.                                              modification to the PM2.5 monitoring


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00156    Fmt 4701    Sfmt 4700   E:\FR\FM\06MRR3.SGM      06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024              Page 168 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                          16357

                                                 network design criteria to include an EJ                related to a variety of at-risk populations           least one site in the area of expected
                                                 factor that accounts for proximity of                   (88 FR 5591–92, January 27, 2023) as                  maximum concentration for each CBSA
                                                 populations at increased risk of adverse                well as section 12.5 of the 2019 ISA                  where monitoring is required. As a
                                                 health effects from PM2.5 exposures to                  (U.S. EPA, 2019a) and section 3.3.3 of                result of the revisions to the annual
                                                 sources of concern. A few commenters                    the ISA Supplement (U.S. EPA, 2022a).                 PM2.5 NAAQS being finalized in this
                                                 offered detailed supporting comments.                   Other commenters oppose the addition                  action, a small number of new
                                                 For example, one commenter                              of the proposed monitoring because                    monitoring sites will also be required
                                                 recommended targeting investment in                     they feel it would reduce flexibility for             under EPA’s current minimum
                                                 regulatory monitors in EJ communities,                  agencies in deciding where they should                monitoring requirements. With the
                                                 opining that there is presently a lack of               site monitors, advocating that                        monitoring network design changes
                                                 equitable distribution of these monitors                monitoring agencies should be afforded                finalized in this rule, many of these
                                                 in low-income and minority                              maximum flexibility to identify where                 existing and new sites will form an
                                                 communities. Another commenter                          to site monitors for at-risk areas.                   important sub-component of the PM2.5
                                                 supports the inclusion of an EJ factor in               Because the EPA recognizes the                        network by better characterizing air
                                                 PM2.5 monitoring network design                         challenges cited by these commenters                  quality in at-risk communities,
                                                 criteria as a means to assess whether                   related to establishing new ambient air               particularly with respect to sources of
                                                 disparities in exposure are reduced in                  monitoring stations, the EPA is                       concern.
                                                 the future. The EPA appreciates the                     finalizing the modified requirement on                   The EPA concludes that the
                                                 support for the proposed requirement                    PM2.5 monitoring network design                       requirements in this final rule for siting
                                                 and acknowledges the desirability of a                  criteria intended to address at-risk                  of monitoring in at-risk communities
                                                 goal to assess if disparities in exposure               communities that allows flexibility                   will meaningfully improve the PM2.5
                                                 are reduced in the future as a result of                regarding which EJ communities should                 monitoring network and its
                                                 these monitoring efforts.                               be monitored. Finally, one commenter                  characterization of air quality in at-risk
                                                    Some commenters were generally                       asked that the EPA clarify a specific                 communities, without placing
                                                 supportive of the proposed requirement                  metric to judge how to site monitors in               substantial new resource burdens on
                                                 but suggested that the EPA should recast                at-risk communities. Instead, the EPA                 States and their monitoring agencies
                                                 the approach in a more specific way or                  believes it is appropriate for agencies to            that would be associated with
                                                 offered additional examples of sources                  recommend what they believe to be the                 requirements for additional monitoring
                                                 of concern. For example, one                            most important things to consider for                 sites. Therefore, the EPA is finalizing
                                                 commenter stated that PM2.5 emissions                   their sites to meet the PM2.5 network                 this part of the proposed action without
                                                 from residential and commercial wood                    design requirements and, thus, applying               requiring additional monitoring sites
                                                 burning result in localized hotspots that               a new metric could take away from local               beyond what would be associated with
                                                 are often not revealed by community air                 priorities for at-risk communities.                   the revised annual PM2.5 NAAQS
                                                 monitoring. Another commenter asked                        A few commenters asked that the EPA                described in section II as they pertain to
                                                 that the EPA adopt a strategy to monitor                require more monitoring than proposed.                the minimum requirements associated
                                                 EJ communities near both larger well-                   One commenter stated that it would be                 with Table D–5 of Appendix D to Part
                                                 known point sources of PM2.5 and along                  more beneficial to overburdened                       58—PM2.5 Minimum Monitoring
                                                 traffic corridors as well as smaller                    communities if air monitoring were                    Requirements.
                                                 sources that, when taken together, may                  required in all at-risk communities. A                   A few commenters asked that the EPA
                                                 create a large amount of emissions and                  few commenters asked that EPA require                 enhance monitoring in smaller cities
                                                 health harms in the area. Another                       additional monitoring for attainment of               and rural areas. One commenter asked
                                                 commenter stated that the national                      PM2.5 NAAQS in EJ communities. In                     for the EPA to extend the proposed
                                                 network of monitors operated by the                     response to these comments, the EPA                   monitoring network to Micropolitan
                                                 EPA captures data used for generalized                  supports the SLT agencies’ initiatives to             Statistical Areas with populations of
                                                 modeling, but overall monitoring is not                 conduct additional monitoring beyond                  10,000–50,000 and to rural areas.
                                                 as granular as one would expect,                        the minimum monitoring requirements                   Another commenter pointed out that
                                                 especially in urban areas. For instance,                and network design criteria. In addition,             current air quality monitoring networks
                                                 the commenter suggested that EPA                        the EPA supports agencies’ use of                     focus on urban and densely populated
                                                 could monitor suspected ‘‘hot spots’’                   alternative datasets such as sensors and              areas; therefore, rural areas are often not
                                                 (e.g., residential development adjacent                 sensors networks, satellites, and other               captured in this existing monitoring
                                                 to highways and active construction                     non-regulatory monitoring where                       infrastructure, despite well-documented
                                                 sites) to better manage and mitigate                    appropriate for non-regulatory data                   examples of high PM concentration in
                                                 PM2.5 pollution at their sites of origin,               uses. The EPA notes that many                         rural communities. The commenter
                                                 and that more extensive and granular                    monitoring agencies already operate                   believes this results in inadequate
                                                 monitoring data would also facilitate                   more monitoring sites than are                        assessment of air pollution exposures
                                                 essential research and inform future                    minimally required, and we expect this                for a substantial segment of the U.S.
                                                 evaluations and adjustments of the                      to continue as agencies consider siting               population. The EPA disagrees that
                                                 NAAQS. The EPA acknowledges these                       monitors in at-risk communities.                      there needs to be additional
                                                 comments identifying other sources of                      However, the EPA also received                     requirements for small CBSA’s and rural
                                                 concern, and we address these and other                 substantial concerns from monitoring                  areas. Regarding these comments, the
                                                 potential sources of concern below.                     agencies about their resource                         EPA points out that we have a long-
ddrumheller on DSK120RN23PROD with RULES3




                                                    Among adverse comments, a few                        constraints, including staffing to                    standing requirement for each State to
                                                 commenters stated that ‘‘at-risk                        support any potential new monitoring.                 monitor at background and transport
                                                 communities’’ is not well defined. The                  The EPA also notes that the existing and              sites (40 CFR part 58, appendix D,
                                                 EPA disagrees and directs those                         robust network of almost 1,000 PM2.5                  section 4.7.3—Requirement for PM2.5
                                                 commenters to the numerous places                       sites nationally is designed to continue              Background and Transport Sites). Also,
                                                 where this definition is covered,                       to protect all populations at the level of            if an agency deems it appropriate to do
                                                 including in Section II.B.2 of the                      the NAAQS discussed in section II of                  so, monitoring coverage of rural areas
                                                 proposal where we explained the term                    this final action by always having at                 can be accomplished with other tools


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00157   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024                Page 169 of 217
                                                 16358             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 such as sensors and sensors networks,                   characterize exposures for communities                type of source category over another;
                                                 satellites, and other non-regulatory                    in proximity to local sources of concern              rather, we intend to further illustrate the
                                                 monitoring. Although there may be                       (88 FR 5673–76, January 27, 2023).                    types of localized sources of pollution
                                                 short-term high exposures in rural areas,               Thus, the EPA proposed that enhanced                  that might impact at-risk communities
                                                 there is no evidence that long-term                     networks should include representation                such that the siting of monitors nearby
                                                 averages are higher in rural areas                      of at-risk communities living near                    may be appropriate.
                                                 compared to urban areas with                            emission sources of concern (e.g., major                 One commenter noted that the
                                                 significantly higher density of                         ports, rail yards, airports, industrial               proposal may have unintentionally
                                                 populations and emissions. For smaller                  areas, or major transportation corridors).            taken out the requirement related to
                                                 cities or rural areas that may have                     The EPA requested comment on the                      specific design criteria for PM2.5 in 40
                                                 concentrations near the level of the                    types of sources of concern most                      CFR part 58, appendix D, 4.7.1(b)(3)
                                                 PM2.5 NAAQS finalized in section II                     important to consider. In addition to                 that, for an area with a requirement for
                                                 above, monitoring agencies are                          supporting the types of sources the EPA               an additional SLAMS monitor, it should
                                                 encouraged to monitor and address                       identified in the proposal, commenters                ‘‘be sited in an area of poor air quality.’’
                                                 emissions as appropriate.                               also identified several additional                    Thus, the language as proposed neither
                                                    Some commenters disagree that the                    localized sources such as railroads,                  requires that such monitors be sited in
                                                 proposed revision to the PM2.5                          stationary sources, transportation                    areas of poor air quality, nor does it
                                                 monitoring network design criteria to                   facilities, and communities with high                 require that the monitor be sited in an
                                                 address at-risk communities is needed.                  numbers of wood stoves.                               area that is anticipated to experience
                                                 One commenter stated that including an                                                                        poor air quality from unspecified (and
                                                                                                            A few commenters suggested the
                                                 EJ factor is not necessary because the                                                                        thus potentially relatively insignificant)
                                                                                                         inclusion of sources that are often
                                                 current network is designed to protect                                                                        sources in the area. The EPA agrees that
                                                                                                         considered line and/or area sources,
                                                 all citizens. Another commenter stated                                                                        this was not our intention; the EPA
                                                                                                         e.g., traffic corridors and emissions from
                                                 that EJ factors could be cumbersome to                                                                        wants to protect populations in at-risk
                                                                                                         federally regulated facilities, military
                                                 implement. Another commenter                                                                                  communities by ensuring they are
                                                                                                         installations, and national forests.
                                                 asserted the proposal to add SLAMS in                                                                         protected by the NAAQS when there are
                                                                                                         Commenters also identified other
                                                 at-risk communities with higher PM2.5                                                                         sources of concern that may be
                                                                                                         sources usually associated with long-
                                                 concentrations might create more                                                                              impacting them (i.e., not insignificant
                                                                                                         range transport such as smoke from
                                                 granular data and provide for a greater                                                                       sources). Thus, the EPA is reinstating
                                                 margin of safety for those communities                  wildfire and prescribed fires and long-
                                                                                                         distance transport of PM, for example                 this requirement in the network design
                                                 and monitors in such a way that data                                                                          language and combining it with the
                                                 from those areas could misrepresent the                 from Saharan dust and other
                                                                                                         international transport. As explained in              examples of the types of localized
                                                 larger area represented by the network.                                                                       sources of concern: ‘‘For areas with
                                                 In response to the comment on the                       the proposal, the site with the highest
                                                                                                         expected PM2.5 is already required to                 additional required SLAMS, a
                                                 current network protecting all citizens,                                                                      monitoring station is to be sited in an at-
                                                 the EPA agrees that by measuring in the                 have a monitor by our long-standing
                                                                                                         requirement that monitors be placed                   risk community with poor air quality,
                                                 community with the highest                                                                                    particularly where there are anticipated
                                                 concentration of PM2.5 we protect other                 ‘‘. . . in the area of expected maximum
                                                                                                         concentration’’ (§ 58.1 and appendix D,               effects from sources in the area (e.g., a
                                                 citizens; however, as stated in the                                                                           major industrial area, point source(s),
                                                 proposal, the EPA believes that adding                  section 4.7.1(b)(1)). The EPA expects
                                                                                                         that both sites with the expected                     port, rail yard, airport, or other
                                                 a requirement for sites with an EJ factor                                                                     transportation facility or corridor).’’
                                                 near sources of concern will enhance                    maximum concentration and sites
                                                                                                         specifically placed in at-risk                           To ensure minimally required
                                                 the overall network to the benefit of all                                                                     monitoring sites appropriately represent
                                                 citizens. Also, we anticipate that with                 communities would be impacted by any
                                                                                                         long-range transport in the area.                     exposures in at-risk communities, the
                                                 the more protective annual NAAQS                                                                              EPA proposed that sites represent ‘‘area-
                                                 finalized in section II above,                          Therefore, the EPA believes any
                                                                                                         emphasis on the sources of concern                    wide’’ air quality near local sources of
                                                 characterizing localized air quality                                                                          concern (88 FR 5674, January 27, 2023).
                                                 issues will become even more important                  should prioritize localized sources,
                                                                                                         including point, area, and line sources               Sites representing ‘‘area-wide’’ air
                                                 around local emission sources. As for EJ                                                                      quality are those monitors sited at
                                                 factors being cumbersome to implement,                  of concern impacting the at-risk
                                                                                                         community of interest. Therefore, based               neighborhood, urban, and regional
                                                 the EPA disagrees because there are                                                                           scales, as well as those monitors sited at
                                                 many such locations already operating                   upon the comments, the EPA is
                                                                                                         finalizing a broader example list of                  either micro- or middle-scale that are
                                                 successfully in the current network.                                                                          identified as being representative of
                                                 Regarding the comment that sites in at-                 sources of concern to include localized
                                                                                                         sources such as point sources and                     many such locations in the same
                                                 risk communities may misrepresent the
                                                                                                         transportation facilities, since these are            Metropolitan Statistical Area (MSA).190
                                                 larger area represented by a particular
                                                                                                         the most commonly expected additional                 Most existing—as well as new or moved
                                                 network, the EPA notes that pursuant to
                                                                                                         sources of concern. In response to the                sites—are expected to be neighborhood-
                                                 40 CFR part 58, minimally required sites
                                                                                                         other sources of concern suggested by                 scale, which means that the monitoring
                                                 in a given network are to represent area-
                                                                                                         commenters, the EPA notes that while it               stations would typically represent
                                                 wide air quality; therefore, sites in at-
                                                                                                         has provided examples, the siting of                  conditions throughout some reasonably
                                                 risk communities, by definition, would
                                                                                                         monitors in EJ communities would not                  homogeneous urban sub-region with
ddrumheller on DSK120RN23PROD with RULES3




                                                 be representative of the communities
                                                                                                         be limited to these examples. Thus, the               dimensions of a few kilometers per part
                                                 within the network in which they are
                                                                                                         revised set of examples would include                 58, appendix D, section 4.7.1(c)(3).
                                                 sited for the level of protection intended
                                                 under the annual PM2.5 NAAQS.                           ‘‘a major industrial area, point source(s),           Additionally, as described in § 58.30,
                                                    In the proposal, the EPA identified                  port, rail yard, airport, or other                      190 MSA means a CBSA associated with at least
                                                 that, in light of the evidence of                       transportation facility or corridor.’’ In             one urbanized area of 50,000 population or greater.
                                                 increased risk to at-risk communities, it               finalizing this modified list of examples,            The central-county, plus adjacent counties with a
                                                 would be appropriate to better                          the EPA is not looking to prioritize one              high degree of integration, comprise the area.



                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00158   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024                Page 170 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                                  16359

                                                 sites representing ‘‘area-wide’’ air                    of the modification to the network                    accomplished through several
                                                 quality have a long-standing                            design criteria to maintain, consistent               approaches (88 FR 5675). The most
                                                 applicability to both the annual and 24-                with our long-standing network design                 critical aspect of prioritizing which
                                                 hour PM2.5 NAAQS. Our proposed                          criteria, that all minimally required sites           communities to monitor is their
                                                 requirement for siting monitors in                      are to represent area-wide air quality.               representation of the at-risk populations
                                                 communities representing ‘‘area-wide’’                     In addition to using data from the                 described earlier in this section. The
                                                 air quality is consistent with other                    robust network of almost 1,000 PM2.5                  other major consideration is whether the
                                                 network design objectives pursuant to                   sites for NAAQS and AQI purposes,                     community is near a source or sources
                                                 which we seek to have monitors located                  having a stable network of long-term                  of concern. While many CBSAs have
                                                 where people live, work, and play.                      sites is especially valuable to examine               one or more sources of concern
                                                    The EPA received a few comments on                   trends and to inform long-term health                 described above, some CBSAs will not
                                                 its proposed requirement that minimally                 and epidemiology studies that support                 have a quantity of emissions from
                                                 required sites represent ‘‘area-wide’’ air              reviews of the PM NAAQS. Therefore,                   sources of concern that result in an
                                                 quality. One commenter stated that the                  while we proposed to add a PM2.5                      elevated level of measured PM2.5
                                                 inclusion of a provision for EJ would                   network design criterion to address at-               concentrations in surrounding
                                                 narrow the location of monitors to                      risk communities, many sites are likely               communities. The siting criteria to be
                                                 certain communities that may not best                   already in valuable locations meeting                 ‘‘in the area of expected maximum
                                                 represent ‘‘areawide’’ air quality.                     one of the existing network design                    concentration,’’ § 58.1 & appendix D,
                                                 Another commenter asked the EPA to                      criteria (i.e., being in an area-wide area            section 4.7.1(b)(1) ensures there is a
                                                 consider removing requirements that                     of expected maximum concentration or                  monitoring site in the community with
                                                 sites be area-wide, since 24-hour and                   collocated with near-road sites) and                  the highest exposure in each CBSA with
                                                 annual averaging times would miss                       supporting multiple monitoring                        a monitoring requirement. Some CBSAs
                                                 short, elevated pollution events. A                     objectives. Also, in many communities,                may also have a requirement to
                                                 couple commenters had concerns with                     there may already be sites meeting the                collocate a PM2.5 monitor at a near-road
                                                 the difference in the scale of                          network design criterion we proposed                  NO2 station. Therefore, the EPA believes
                                                 representation between EJ monitors                      for at-risk communities. Thus,                        that for cases where an additional PM2.5
                                                 using small scale and other NAAQS                       acknowledging the value of having long-               site is required, we should include a
                                                 monitors using area-wide scale, in that                 term data from a consistent set of                    criterion that the site be in an at-risk
                                                 area-wide scale would not protect those                 network sites, the EPA believes that                  community when there are no sources
                                                 most at risk. However, another                          moving sites should be minimized,                     of concern identified in that CBSA, or
                                                 commenter agreed with the EPA that                      especially in MSAs with a small number                such sources do exist but are not
                                                 sites representing at-risk communities                  of sites. However, because a small                    expected to lead to elevated levels of
                                                 should represent area-wide air quality.                 number of new sites are expected to be                measured PM2.5 concentrations.
                                                 In addition to these comments, the EPA                  required due to the existing minimum                     In its proposal, the EPA highlighted
                                                 received many comments with support                     monitoring requirements (40 CFR part                  that tools such as the EPA’s
                                                 for its proposed modifications to the                   58, appendix D, Table D–5) 191 and the                EJSCREEN 192 are available to identify
                                                 network design criteria as whole.                       revised primary annual PM2.5 NAAQS                    the at-risk communities intended for
                                                    Regarding whether narrowing the                      detailed in section II, and because sites             monitoring as part of the proposed
                                                 location to certain communities may not                 occasionally have to be moved—due to,                 revision to the PM2.5 network design
                                                 best represent ‘‘area-wide’’ air quality,               for example, loss of access to a site or              criteria (88 FR 5675–76, January 27,
                                                 the EPA notes that sites are either                     a site no longer meeting siting criteria—             2023). The EPA solicited comment on
                                                 identified as being area-wide or not; the               the EPA believes it is appropriate to                 other tools and/or datasets that can be
                                                 EPA did not suggest it was seeking a                    prioritize establishing sites in at-risk              utilized to identify at-risk communities.
                                                 best ‘‘area-wide’’ location. In response                communities near sources of concern,                  In addition to support for using
                                                 to the comment that area-wide site may                  whenever new sites are established,                   EJSCREEN, commenters identified
                                                 miss short, elevated pollution events,                  whether because it is a new site or a                 several other options to identify at-risk
                                                 the EPA is aware that there can be local,               replacement for a prior site that must be             communities intended for monitoring as
                                                 short-term spikes in PM2.5                              moved. The EPA accordingly proposed                   part of the proposed revision to the
                                                 concentrations. However, the network                    that annual monitoring network plans                  PM2.5 network design criteria. Among
                                                 design criteria associated with                         (40 CFR 58.10(a)(1)) and 5-year                       similar tools, one commentor suggesting
                                                 minimally required sites is applicable to               assessments (40 CFR 58.10(d)) that                    using CalEnviroScreen.193 Commenters
                                                 both the annual and 24-hour PM2.5                       include any of the few new sites that                 also identified different options for
                                                 NAAQS, and the EPA believes it is                       will be required include a commitment                 models including InMAP,194 satellite-
                                                 appropriate to continue to ensure all                   to examine the ability of existing and                derived models that can be employed to
                                                 minimally required sites have the most                  proposed sites to support air quality                 help identify EJ communities, and
                                                 utility and remain applicable to both                   characterization for areas with at-risk               hybrid models. A few commenters also
                                                 forms of the PM2.5 NAAQS. The                           populations in the community and the                  suggested using sensors and sensor
                                                 identification of unique micro- and                     objective discussed herein.                           networks such as the BlueSky 195 and
                                                 middle-scale sites was directed at                         In the proposal, the EPA identified                PurpleAir 196 sensors.
                                                 discretionary efforts of any monitoring                 that assessing and prioritizing at-risk                  The EPA supports the use of other
                                                 agency, with the recognition that such                  communities for monitoring can be                     State and local tools designed to help
ddrumheller on DSK120RN23PROD with RULES3




                                                 sites, (i.e., relatively unique micro-scale,                                                                  identify the at-risk communities that
                                                 or localized hot spot, or unique middle-                  191 Gantt, B. (2022). Analyses of Minimally
                                                                                                                                                                 192 See: https://www.epa.gov/ejscreen.
                                                 scale impact sites), are not applicable to              Required PM2.5 Sites Under Alternative NAAQS.
                                                                                                                                                                 193 See: https://oehha.ca.gov/calenviroscreen.
                                                 the annual NAAQS as described in                        Memorandum to the Rulemaking Docket for the
                                                                                                                                                                 194 See: https://inmap.run/#home.
                                                 § 58.30—Special consideration for data                  Review of the National Ambient Air Quality
                                                                                                         Standards for Particulate Matter (EPA–HQ–OAR–           195 Mention of commercial names does not
                                                 comparison to the NAAQS.                                2015–0072). Available at: https://                    constitute EPA endorsement.
                                                    After considering all the comments on                www.regulations.gov/docket/EPA-HQ-OAR-2015-             196 Mention of commercial names does not

                                                 this topic, the EPA is finalizing this part             0072.                                                 constitute EPA endorsement.



                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00159   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                             Document #2043704                             Filed: 03/06/2024              Page 171 of 217
                                                 16360              Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 should be monitored to meet the revised                  on one dataset versus another for all                 continuous FEMs at sites in at-risk
                                                 network design criteria. The EPA                         purposes. Fortunately, many of the                    communities.
                                                 additionally agrees with commenters                      available datasets are becoming easier to                The EPA requested comment on the
                                                 that the use of models as well as sensors                work with and more accessible, which                  measurement methods most useful to
                                                 and sensor networks may be appropriate                   will allow interested parties and                     collocate with PM2.5 in at-risk
                                                 and helpful in identifying the most                      monitoring agencies the opportunity to                communities (88 FR 5675–76, January
                                                 appropriate at-risk communities in                       efficiently review the datasets and                   27, 2023), and a few commenters
                                                 which to locate monitors.                                determine best applicability. For all of              provided input. One commenter
                                                    For at-risk communities, monitoring                   these reasons, the EPA is not finalizing              recommended that the EPA should
                                                 agencies need data that can best inform                  a requirement to use a specific dataset               employ supplemental technologies and
                                                 where there may be elevated levels of                    or tool to identify at risk communities;              systems to increase coverage of the
                                                 exposures from sources of concern.                       however, whatever datasets a                          regulatory monitoring network and
                                                 While we use FRMs and FEMs to                            monitoring agency elects to use, its plan             obtain more complete data to further
                                                 determine compliance with the NAAQS,                     to use such data for purposes of meeting              protect public health and address
                                                 data from these methods will only be                     the network design requirements will be               environmental injustice in air pollution
                                                 available at existing sites. However,                    subject to EPA approval as part of the                exposure. Another commenter
                                                 there are several additional datasets                    40 CFR 58.10 annual monitoring                        recommended that the EPA invest in
                                                 available that may be useful in                          network plan. Regarding the comment                   community-led monitoring and mobile
                                                 evaluating the potential for elevated                    recommending shorter measurement                      air quality monitoring with a goal of
                                                 levels of exposure to communities near                   intervals in measuring and reporting                  recording block-level variabilities in
                                                 sources of concern. In the proposal, EPA                 data to better understand exposure                    data. And another commenter cited the
                                                 identified potential non-regulatory                      differences in disadvantaged                          value of community-deployed PM2.5
                                                 monitoring datasets such as CSN,                         communities, the EPA agrees and                       monitoring.
                                                 IMPROVE, and AQI non-regulatory                          generally supports use of continuous                     The EPA appreciates the comments
                                                 PM2.5 continuous monitors; modeling                      methods. While we generally support                   provided on the measurement methods
                                                 data that utilizes emission inventory                    use of continuous methods, approved                   most useful to collocate with PM2.5
                                                 and meteorological data; emerging                        filter-based technologies and methods                 monitoring sites in at-risk communities.
                                                 sensor networks such as those that                       also provide valuable air quality                     Because the use of methods beyond the
                                                 comprise EPA and the USFS’s Fire and                     information. Therefore, the EPA is not                required PM2.5 FRMs or FEMs or other
                                                 Smoke Map; 197 and satellites that                       requiring the use of automated                        criteria pollutant measurements meeting
                                                 measure radiance and, with                               continuous methods beyond what is                     a NAAQS monitoring requirement is
                                                 computational algorithms, can be used                    already required in 40 CFR part 58,                   voluntary, the establishment of PM2.5
                                                 to estimate PM2.5 from aerosol optical                   appendix D, section 4.7.2—Requirement                 NAAQS comparable sites in at-risk
                                                 depth (AOD) (88 FR 5675–76, January                      for Continuous PM2.5 Monitoring.                      communities will allow for
                                                 27, 2023). The EPA solicited comment                                                                           collaboration at multiple levels. The
                                                 on datasets most useful to identify                         The monitoring methods appropriate
                                                                                                                                                                EPA strongly encourages such
                                                 communities with high exposures for                      for use at required PM2.5 sites in at-risk
                                                                                                                                                                collaboration with impacted
                                                 PM2.5 NAAQS (i.e., annual or 24-hour).                   communities are FRMs and automated
                                                                                                                                                                communities, and the measurement
                                                 In addition to providing information                     continuous FEMs (88 FR 5675–76,
                                                                                                                                                                methods discussed here should be
                                                 about datasets that can inform the                       January 27, 2023). These are the
                                                                                                                                                                considered for use as appropriate.
                                                 NAAQS comparison, commenters                             methods eligible to compare to the PM2.5                 In the proposal, the EPA identified
                                                 additionally identified several types of                 NAAQS, which is the primary objective                 that, to meet the revised network design
                                                 datasets that may be useful to identify                  for collecting this data. There are several           criteria, there will be only a few new
                                                 where there may be elevated levels of                    other monitoring objectives that would                sites required,198 plus any potentially
                                                 exposures from sources of concern.                       benefit from the use of automated
                                                                                                                                                                moved sites in cases where an existing
                                                 These datasets include satellite                         continuous FEMs. For example, having
                                                                                                                                                                site lease is lost or otherwise requires
                                                 measurements, sensors, and sensor                        hourly data available from automated
                                                                                                                                                                relocation (88 FR 5675–76, January 27,
                                                 network data, which may all be useful                    continuous FEMs would allow sites to
                                                                                                                                                                2023). To handle these new or relocated
                                                 to find hot spots in communities.                        provide data in near-real time to support
                                                                                                                                                                sites, the EPA proposed to build upon
                                                 Commenters also identified EJScreen                      forecasting and near real-time reporting
                                                                                                                                                                our existing regulatory process for
                                                 and CalEnviroScreen, which are                           of the AQI. Automated continuous
                                                                                                                                                                selecting and approving these sites
                                                 screening and mapping tools that utilize                 methods are also useful to support
                                                                                                                                                                under 40 CFR 58.10 (88 FR 5676,
                                                 several datasets. Another commenter                      evaluation of other methods such as
                                                                                                                                                                January 27, 2023). In the proposal, we
                                                 stated that to better understand                         low-cost sensors. When used in
                                                                                                                                                                stated it would be appropriate to
                                                 exposure differences in disadvantaged                    combination with on-site wind speed
                                                                                                                                                                provide at least 12 months from the
                                                 communities, shorter measurement                         and wind direction measurements,
                                                                                                                                                                effective date of the final rule to allow
                                                 intervals should be measured and                         automated FEMs can provide useful
                                                                                                                                                                monitoring agencies to initiate planning
                                                 reported.                                                pollution roses, which help in
                                                                                                                                                                to implement these measures by seeking
                                                    In considering the datasets identified                identifying the origin of emissions that
                                                                                                                                                                input from communities and other
                                                 in the proposal as well as the ones                      affect a community. Additionally, when
                                                                                                                                                                interested parties and considering
                                                 commenters provided, the EPA believes                    collocated with continuous carbon
                                                                                                                                                                whether to revise their PM2.5 networks
                                                                                                          methods such as an aethalometer,
ddrumheller on DSK120RN23PROD with RULES3




                                                 all the datasets have value to help
                                                 inform where there may be elevated                       automated FEMs can help identify                        198 Gantt, B. (2022). Analyses of Minimally
                                                 levels of exposures from sources of                      potential local carbon sources                        Required PM2.5 Sites Under Alternative NAAQS.
                                                 concern. However, each of them may                       contributing to increased exposure in                 Memorandum to the Rulemaking Docket for the
                                                 also have limitations and, therefore,                    the community. While either FRMs or                   Review of the National Ambient Air Quality
                                                                                                                                                                Standards for Particulate Matter (EPA–HQ–OAR–
                                                 users should be careful not to rely solely               automated FEMs may be used at a site                  2015–0072). Available at: https://
                                                                                                          for comparison to the PM2.5 NAAQS, the                www.regulations.gov/docket/EPA-HQ-OAR-2015-
                                                   197 See: https://fire.airnow.gov/.                     EPA supports use of automated                         0072.



                                            VerDate Sep<11>2014    19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00160   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024              Page 172 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                         16361

                                                 or explain how their existing networks                  NAAQS. Another commenter stated that                  guidance required for agencies to begin
                                                 meet the objectives of the proposed                     the July 1, 2024, timeline for a network              this process. As we explained above, the
                                                 modification to the network design                      evaluation this complex is insufficient,              EPA does not anticipate that many new
                                                 criteria. Thus, the EPA proposed that                   noting that they submit their draft                   or moved sites will be required based on
                                                 monitoring agencies should address                      annual monitoring network plan for                    the final rule because we think most
                                                 their approach to the question of                       public review and comment in mid-                     sites are already in suitable locations
                                                 whether any new or moved sites are                      April for 30 days. Because the final plan             and long-term sites are highly valued.
                                                 needed and identify the potential                       is due July 1 and must include all                    Also, monitoring agencies have
                                                 communities in which the agencies are                   comments and responses and describe                   discretion to provide to the EPA their
                                                 considering adding monitoring, if                       any changes based on those comments,                  recommendations regarding how they
                                                 applicable, as well as identifying how                  the timeline does not take these                      intend to meet the modifications to the
                                                 they intend to meet the revised criteria                requirements into consideration by                    PM2.5 monitoring network design
                                                 for PM2.5 network design to address at-                 allowing for the more extensive                       criteria to include an EJ factor that
                                                 risk communities in the agencies’                       assessment of changes that may be                     accounts for proximity of populations at
                                                 annual monitoring network plans due to                  needed to meet the proposed new                       increased risk of adverse health effects
                                                 each applicable EPA Regional office no                  monitoring requirements. The                          from PM2.5 exposures to sources of
                                                 later than July 1, 2024 (see 40 CFR                     commenter stated that it would be                     concern. Overall, the EPA believes that
                                                 58.10). Specifics on the resulting new or               appropriate to provide at least 12                    having sites in the areas of expected
                                                 moved sites for PM2.5 network design to                 months from the effective date of this                maximum concentrations will best
                                                 address at-risk communities were                        final rule for monitoring agencies to                 ensure that all communities are
                                                 proposed to be detailed in the annual                   initiate planning to implement these                  protected. Since there may be multiple
                                                 monitoring network plans due to each                    measures, seek input, consider revisions              choices for sites in EJ areas near sources
                                                 applicable EPA Regional office no later                 to their PM2.5 networks, and explain                  of concern, the EPA acknowledges that
                                                 than July 1, 2025 (40 CFR 58.10). The                   how their existing networks meets the                 there may be many locations that can
                                                 EPA proposed that any new or moved                      objectives of the final rule. The                     meet the revised PM2.5 network design
                                                 sites would be required to be                           commenter notes that that SLT agencies                criteria. While, as we explained earlier,
                                                 implemented and fully operational no                    should be provided a minimum of 18                    we want such sites to also be in areas
                                                 later than 24 months from the date of                   months after the final recommendation                 of poor air quality, the sites in the area
                                                 approval of a plan or January 1, 2027,                  is published to add this information to               of maximum concentration will ensure
                                                 whichever comes first, but the EPA                      their § 58.10 annual monitoring network               that all communities are protected, there
                                                 solicited comment on whether less time                  plans. Another commenter encourages                   can be more flexibility afforded in the
                                                 is needed (e.g., 12 months from plan                    the EPA to retain the proposed deadline               selection amongst at-risk communities
                                                 approval and/or January 1, 2026).                       for any newly required monitoring                     to meet the revised requirements, since
                                                                                                         stations in at-risk communities to be                 any alternative at-risk communities
                                                    The EPA received a few comments on
                                                                                                         operational (i.e., 24 months after the                would already be protected.
                                                 its proposed timeline for monitoring
                                                                                                         July 2025 network plan approval or
                                                 agencies to identify, propose, and                      January 1, 2027, whichever is earlier).                  The EPA considered both the
                                                 ultimately bring any new or moved sites                 While the need for this data is urgent,               concerns and support for the timeline
                                                 online. One commenter asked that the                    the commenter stated that the process                 proposed and clarifies that the
                                                 timeline give states more time to start or              for procuring instrumentation, securing               component of the proposed requirement
                                                 move sites. A few commenters asked                      leases, and building permits, and other               regarding the need to identify potential
                                                 that the EPA only require meeting a                     logistics in constructing new monitoring              new sites or an intention to move sites
                                                 timeline for identifying whether any                    sites can take a significant amount of                to be included in the annual monitoring
                                                 new or moved sites are needed after the                 time, some of which are outside of                    network plan due to EPA on July 1,
                                                 EPA has provided the monitoring                         agencies’ control.                                    2024, would be satisfied with a
                                                 agencies with guidance on the priority                     As stated earlier, the EPA received                statement of intent to pursue a new site
                                                 of the potential at-risk communities.                   strong support for our proposal to                    per the revised network design criteria
                                                 One of those commenters further                         modify the PM2.5 monitoring network                   and in consideration of the minimum
                                                 requests that the EPA allow at least 24                 design criteria to include an EJ factor               monitoring requirements. While
                                                 months from the date of approval of a                   that accounts for proximity of                        monitoring agencies may provide as
                                                 § 58.10 monitoring plan identifying any                 populations at increased risk of adverse              much detail as they deem appropriate
                                                 relocation of monitoring sites or                       health effects from PM2.5 exposures to                regarding the revised PM2.5 network
                                                 establishment of new monitoring sites to                sources of concern from a wide range of               design criteria in their annual
                                                 implement any changes to the network,                   commenters. A few commenters support                  monitoring network plans due on July 1,
                                                 citing the need for more time to work                   the timeline proposed, a few others                   2024, there is no expectation that any
                                                 with local officials, procure monitoring                support starting any new or moved sites               details on site-specific information
                                                 equipment, and contract for services, all               sooner than proposed, while other                     would be included at that stage. We
                                                 of which can cause significant delays in                commenters asked for more time or                     encourage agencies to provide their
                                                 establishing a monitoring site. Another                 offered conditions regarding how to                   initial thinking on the communities they
                                                 commenter asked that the EPA remain                     establish an appropriate timeline.                    are most interested in monitoring
                                                 attentive to the challenges that States,                   The EPA disagrees with the                         pursuant to the revised network design
                                                 and air agencies face regarding                                                                               criteria. Therefore, the EPA is finalizing
ddrumheller on DSK120RN23PROD with RULES3




                                                                                                         commenter that suggested the EPA
                                                 recruiting and retaining the specialized                should only require agencies to meet a                the timeline as proposed, including the
                                                 staff needed to support their existing                  timeline to identify whether any new or               provision that monitoring agencies
                                                 regulatory monitoring networks and the                  moved sites are needed after the EPA                  report their intention to add or move
                                                 capital resources needed to implement                   has provided the monitoring agencies                  sites, where required, in their annual
                                                 and sustain new monitoring stations in                  with guidance on the priority of the                  monitoring network plans due to each
                                                 areas that are clearly meeting the                      potential at-risk communities, because                applicable EPA Regional office no later
                                                 existing PM NAAQS or any revised PM                     the regulatory text provides all the                  than July 1, 2024 (40 CFR 58.10). The


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00161   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024              Page 173 of 217
                                                 16362             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 monitoring agencies will then provide                   some requirements were inadvertently                  proposed appendix continue to be a
                                                 specifics on any new or moved sites for                 omitted, and, over time, the clarity of               ‘‘jumbled mess of regulatory
                                                 PM2.5 network design to address at-risk                 this appendix was reduced through                     requirements.’’ The EPA agrees that the
                                                 communities in the annual monitoring                    those omissions that, in a few instances,             summary tables E–3 and E–6 in the
                                                 network plans due to each applicable                    led to unintended and conflicting                     proposal could be improved further.
                                                 EPA Regional office no later than July 1,               regulatory requirements. The EPA                      Also, the EPA found that footnote 3 of
                                                 2025 (40 CFR 58.10). And any new or                     proposed to reinstate portions of                     Table E–6 in the proposed rule was
                                                 moved sites shall be implemented and                    previous Probe and Monitoring Path                    incomplete and corrected this editorial
                                                 fully operational no later than 24                      Siting Criteria Requirements from                     error.
                                                 months from the date of approval of a                   previous rulemakings, where                              Therefore, the EPA is making editorial
                                                 § 58.10 plan, or January 1, 2027,                       appropriate, to restore the original                  changes to both summary tables E–3 and
                                                 whichever comes first.                                  intent.                                               E–6 and finalizing the remainder of the
                                                    In summary, the EPA is finalizing                       The EPA only received a few                        language as proposed with the open
                                                 modifications to the PM2.5 network                      comments on the proposed rulemaking                   path monitor siting criteria
                                                 design criteria to include an EJ factor to              pertaining to the proposed changes                    requirements placed into a separate
                                                 address at-risk communities with a                      regarding probe and monitoring path                   section of the appendix.
                                                 focus on exposures from sources of                      siting criteria for ambient air quality
                                                                                                                                                               b. Distance Precision for Spacing Offsets
                                                 concern in areas of poor air quality.                   monitoring, most of which were
                                                 While this modification to the PM2.5                    supportive of the proposed revisions.                    The EPA proposed to require that
                                                 network design requires sites to be                     One commenter noted that the image for                when rounding is performed to assess
                                                 located in at-risk communities,                         Figure E–1 in Appendix E to part 58 was               compliance with these siting
                                                 particularly those whose air quality is                 distorted and of extremely poor quality,              requirements, the distance
                                                 potentially affected by local sources of                rendering the text in places almost                   measurements will be rounded such as
                                                 concern, such sites must still meet the                 unreadable (88 FR 5712, January 27,                   to retain at least two significant figures
                                                 requirement for being considered ‘‘area-                2023). The EPA makes several                          (88 FR 5676, January 27, 2023). The EPA
                                                 wide’’ air quality. In finalizing this                  references to Figure E–1, which                       proposed to communicate this rounding
                                                 modification to the PM2.5 network                       provides detailed information needed                  requirement in the regulatory text using
                                                 design requirement, the EPA is making                   for assessing a range of acceptable probe             footnotes in the tables of this appendix.
                                                 two changes in the final rule response                  distances from roadways based on a                       The EPA received two supportive
                                                 to the comments received. First, the                    monitor’s spatial scale. The commenter                comments and no adverse comments
                                                 EPA is broadening our examples of                       also stated that a higher quality image               regarding this proposed change. While
                                                 ‘‘sources of concern’’ to include                       is needed for the figure so that agencies             supportive of the proposal, one of the
                                                 localized sources such as point sources                 can fully interpret the figure to the                 two supporting comments suggested it
                                                 and major transportation facilities or                  extent that EPA requires. The EPA                     would be clearer if EPA explicitly
                                                 corridors. Second, the EPA is reinstating               agrees with the commenter that a higher               defined a decimal in the distance values
                                                 ‘‘poor air quality’’ in our requirement                 quality image for Figure E–1 is                       and round to the nearest tenths place for
                                                 for the modified network design criteria,               important and needed. Based on this                   these assessments. The EPA disagrees
                                                 meaning the revised PM2.5 network                       comment, the EPA is finalizing the                    with this recommendation because in
                                                 design requirement now states: ‘‘For                    revision to Figure E–1 to clearly                     some cases it would be more restrictive
                                                 areas with additional required SLAMS,                   communicate the requirements of                       and burdensome than the proposed
                                                 a monitoring station is to be sited in an               appendix E.                                           requirement that was intended to
                                                 at-risk community with poor air quality,                   The EPA is revising appendix E in its              provide both clarity and flexibility.
                                                 particularly where there are anticipated                entirety as proposed (88 FR 5709–5717,                Therefore, the EPA is finalizing the
                                                 effects from sources in the area (e.g., a               January 27, 2023) for clarity and as                  language as proposed.
                                                 major industrial area, point source(s),                 described in detail below.
                                                                                                                                                               c. Summary Table of Probe Siting
                                                 port, rail yard, airport, or other
                                                                                                         a. Separate Section for Open Path                     Criteria
                                                 transportation facility or corridor).’’ All
                                                                                                         Monitoring Requirements                                  The EPA proposed to provide
                                                 other aspects of the PM2.5 network
                                                 design requirements are being finalized                    The EPA proposed to relocate all open              additional specificity and flexibility to
                                                 as proposed.                                            path monitor siting criteria                          the summary table for probe siting
                                                                                                         requirements to a separate section in                 criteria by changing the ‘‘>’’ (greater
                                                 5. Revisions to Probe and Monitoring                    appendix E from those requirements for                than) symbols to ‘‘≥’’ (greater than or
                                                 Path Siting Criteria                                    siting samplers and monitors that utilize             equal to) symbols in the summary table
                                                    The EPA proposed changes to                          probe inlets (88 FR 5676, January 27,                 E–4 (88 FR 5676, January 27, 2023).
                                                 monitoring requirements in the                          2023). Separate sections for these                    Because one commenter pointed out to
                                                 Appendix E—Probe and Monitoring                         distinct monitoring method types allows               the EPA that in the prior version of the
                                                 Path Siting Criteria for Ambient Air                    the EPA to more clearly articulate                    rule there was no table E–4, as a clerical
                                                 Quality Monitoring (88 FR 5676–78,                      minimum technical siting requirements                 matter, we have renumbered this
                                                 January 27, 2023). Since 2006, the EPA                  for each.                                             summary table to table E–3 in the final
                                                 finalized multiple rule revisions to                       The EPA received one supportive                    rule. This proposed minor revision to
                                                 establish siting requirements for                       comment to adopt this change and                      the summary table more clearly
                                                 PM10–2.5 and O3 monitoring sites (71 FR                 received no adverse comments. Another
ddrumheller on DSK120RN23PROD with RULES3




                                                                                                                                                               expresses the EPA’s intent that the
                                                 2748, January 17, 2006), Near-Road NO2                  commenter stated the regulatory text of               distance offsets provided in the
                                                 monitoring sites (75 FR 6535, February                  the proposal improves the clarity of the              summary tables in appendix E are
                                                 9, 2010), Near-Road CO monitoring sites                 appendix but encouraged the EPA to                    acceptable for NAAQS compliance
                                                 (76 FR 54342, August 31, 2011), and                     break the summary tables down further                 monitoring.
                                                 Near-Road PM2.5 monitoring sites (78 FR                 into more manageable components                          The EPA received one comment
                                                 3285, January 15, 2013). Through these                  (perhaps by pollutant). The commenter                 supporting the proposal. The EPA
                                                 previous revisions to the regulatory text,              stated that summary tables for the                    received no adverse comments. Because


                                            VerDate Sep<11>2014   20:35 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00162   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024              Page 174 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                          16363

                                                 one commenter pointed out to the EPA                    degree minimum arc proposal also                      the design value for their area cannot
                                                 that in the prior version of the rule there             requested that the EPA acknowledge                    reasonably meet these regulatory siting
                                                 was no table E–4, as a clerical matter,                 that some cases exist where monitoring                requirements, the EPA encourages
                                                 we have renumbered this summary table                   is desired or necessary to protect the                monitoring organizations to work with
                                                 to table E–3 in the final rule. Therefore,              public health, but siting criteria cannot             their respective EPA Regional Offices to
                                                 the EPA is updating the table numbering                 be met.                                               determine if a waiver from this siting
                                                 and otherwise finalizing the tables as                     Based on the only two negative                     criteria is appropriate through the
                                                 proposed.                                               comments received from monitoring                     provisions found in Section 10 of this
                                                                                                         agencies or organizations, one of which               appendix.
                                                 d. Spacing From Minor Sources                           was not substantive, the EPA believes                    Based on the EPA only receiving a
                                                   The EPA proposed to clarify and                       most sites already meet these proposed                single negative comment regard the 270-
                                                 provide flexibility regarding siting                    requirements related to the arc and                   degree and 180-degree provisions the
                                                 monitors near minor sources by                          distance from dripline. However, the                  EPA thinks most sites already meet
                                                 changing a requirement to a goal (88 FR                 EPA also acknowledges that there may                  these proposed requirements.
                                                 5676–77, January 27, 2023). To                          be limited cases where this proposed                  Additionally, as stated above, the EPA
                                                 accomplish this, the EPA proposed to                    revision may require site modifications,              is also retaining waiver provisions from
                                                 replace the ‘‘must’’ in the regulation                  and some sites may not be able to be                  these siting requirements for the
                                                 with a ‘‘should.’’ While the EPA                        achieve the proposed siting                           remaining cases that can be exercised
                                                 proposed to change this requirement to                  requirements, even with modifications                 when appropriate. Therefore, the EPA is
                                                 a goal, the EPA reiterated in the                       to the site. For cases where long-term                finalizing the language as proposed.
                                                 proposal that it recommends that sites                  trend sites or monitors that determine
                                                 with minor sources be avoided                                                                                 g. Obstacles That Act as Obstructions
                                                                                                         the design value for their area cannot
                                                 whenever practicable and probe inlets                   reasonably meet these regulatory siting                  The EPA proposed to clarify the
                                                 should be spaced as far from minor                      requirements, the EPA encourages                      definitions of ‘‘obstructions’’ and
                                                 sources as possible when alternative                    monitoring organizations to work with                 ‘‘obstacles’’ in the regulatory text (88 FR
                                                 monitoring stations are not suitable.                   their respective EPA Regional offices to              5677, January 27, 2023). Stating that,
                                                   The EPA received one comment                          determine if a waiver from this siting                ‘‘[o]bstructions to the air flow of the
                                                 supporting the proposed revision and                    criteria would be appropriate under                   probe inlet are those obstacles that are
                                                 received no adverse comments.                           appendix E, section 10.                               horizontally closer than twice the
                                                 Therefore, the EPA is finalizing the                       These siting requirements are                      vertical distance the obstacle protrudes
                                                 language as proposed.                                   discussed in more detail below in                     above the probe inlet and can be
                                                 e. Spacing From Obstructions and Trees                  sections VII.B.5.f and VII.B.5.h.                     reasonably thought to scavenge reactive
                                                                                                                                                               gases or to restrict the airflow for any
                                                    The EPA proposed to clarify and                      f. Reinstating Minimum 270-Degree Arc
                                                                                                                                                               pollutant,’’ the EPA proposed to
                                                 redefine that the minimum arc required                  and Clarified 180-Degree Arc
                                                                                                                                                               reiterate that the EPA does not generally
                                                 to be free of obstructions for a probe                     The EPA proposed to correct                        consider objects or obstacles such as flag
                                                 inlet or monitoring path is 270-degrees                 identified inconsistencies in the 270-                poles or site towers used for NOy
                                                 and that probe inlets must be no closer                 degree requirement for unrestricted                   convertors and meteorological sensors,
                                                 than 10-meters to the driplines of any                  airflow to the probe inlet by reinstating             etc., to be deemed obstructions.
                                                 trees (88 FR 5677, January 27, 2023).                   the requirement stated in appendix E,                    The EPA received one comment
                                                 These changes were proposed because                     paragraph 4(b), and to clarify that the               supporting the proposal and received no
                                                 of inconsistencies introduced into the                  continuous 180-degree minimum arc of                  adverse comments. Therefore, the EPA
                                                 rule with the 2006 rulemaking. Both are                 unrestricted airflow provision is                     is finalizing the definitions as proposed.
                                                 discussed in more detail in the                         reserved for monitors sited on the side
                                                 following sections.                                     of a building or wall to comply with                  h. 10-Meter Tree Dripline Requirement
                                                    The majority of comments received                    network design criteria requirements                    The EPA proposed to reconcile the
                                                 were supportive of these proposed siting                specified in appendix D of part 58 (88                conflicting requirements in 5(a) and the
                                                 amendments and clarifications. Two                      FR 5677, January 27, 2023).                           prior table E–4 footnote 3 by clarifying
                                                 commenters were not supportive of this                     The EPA received two comments                      that the probe inlet must always be no
                                                 proposal. One adverse comment focused                   regarding this proposal, with one being               closer than 10 meters to the tree dripline
                                                 on the potential that site modifications                supportive and one being negative. The                (88 FR 5677, January 27, 2023). The EPA
                                                 would be required if the minimum arc                    adverse comment focused on the                        also proposed to reinstate the goal ‘‘that
                                                 required to be free of obstructions for a               potential that site modifications would               monitor probe inlets should be at least
                                                 probe inlet is 270-degrees. The second                  be required if this revision was made.                20-meters from the driplines of trees,’’ a
                                                 adverse comment pertained to the                        The commenter supporting the proposal                 goal that was inadvertently omitted
                                                 proposal to clarify distance                            also requested that the EPA                           during previous rule revisions. In
                                                 requirements from tree driplines. The                   acknowledge that some cases exist                     addition, the EPA proposed to clarify
                                                 commenter stated they would expect                      where monitoring is desired or                        that if a tree or group of trees is
                                                 significant challenges in meeting the                   necessary to protect the public health,               considered an ‘‘obstruction,’’ section
                                                 proposed 20-meter tree dripline                         but siting criteria cannot be met. The                4(a) will apply.
                                                 distance. This comment is not a                         EPA agrees with both commenters and                     As described above, the majority of
                                                 substantive negative comment because                    acknowledges that there does exist                    comments received were supportive of
ddrumheller on DSK120RN23PROD with RULES3




                                                 the 20-meter distance provided in the                   limited cases where this proposal would               the EPA proposed amendments and
                                                 proposal is a goal and not a                            require site modifications and some                   clarification, with two commenters
                                                 requirement. As such, monitoring                        sites may not be able to be achieve the               focused on the possibility that
                                                 organizations should not expect                         proposed siting requirement even with                 monitoring agencies may not be able to
                                                 additional challenges in meeting the                    modifications to the site. For these                  meet the revised siting requirements.
                                                 probe siting requirements. One                          cases, and especially when long-term                  Specific to the proposed dripline
                                                 supportive commenter on the 270-                        trend sites or monitors that determine                requirement, the EPA reiterates that the


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00163   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024                Page 175 of 217
                                                 16364             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 20-meter tree dripline offset is not a                     The EPA disagrees that the proposed                commercial products does not
                                                 requirement, but rather a goal.                         requirement is impractical or unlawful.               constitute endorsement.
                                                 Monitoring programs should as much as                   The proposed requirement would not                       The EPA received two comments
                                                 practicable attempt to meet this 20-                    require, mandate, or otherwise empower                supporting the proposal and received no
                                                 meter tree dripline offset goal but are                 monitoring agencies to force the                      adverse comments. Therefore, the EPA
                                                 only required to be at least 10 meters                  removal of trees on private property.                 is finalizing the language as proposed.
                                                 removed from tree driplines. If these                   The EPA agrees with the commenter
                                                 requirements cannot be met, the EPA                     that trees may at times be planted as                 D. Incorporating Data From Next
                                                 encourages monitoring organizations to                  part of control strategies to reduce                  Generation Technologies
                                                 contact their respective EPA Regional                   offsite emissions and thus protect the                   In the proposal, the EPA requested
                                                 offices to determine if a waiver from this              public, but the EPA disagrees with the                comment on how to incorporate data
                                                 siting criteria would be appropriate                    commenter that the trees must be                      from next generation technologies into
                                                 under appendix E, section 10.                           removed to perform ambient air                        Agency efforts (88 FR 5678–80, January
                                                    Another commenter recommended                        monitoring in these locations. Rather, if             27, 2023). The near real-time integration
                                                 that the proposal should also include an                trees or shrubs block the line-of-sight               of data from PM2.5 continuous monitors,
                                                 elevation specification. For instance, if               fetch between the monitor’s probe inlet               sensors, and satellites has allowed the
                                                 a monitor is on the roof of a shelter, a                and the source under investigation, it is             EPA to use data in certain informational
                                                 tree below that roof should not be                      the EPA’s position that, for most cases,              applications such as EPA and USFS’s
                                                 considered an obstruction no matter the                 a microscale designation does not                     Fire and Smoke Map.199 This mapping
                                                 distance to the dripline. The EPA                       accurately reflect the monitoring scale               product uses Application Program
                                                 considers this scenario to occur in                     for this location, and instead the EPA                Interfaces (APIs) where data sets are
                                                 practice only rarely. The EPA agrees                    would recommend that the monitoring                   automatically shared on prespecified
                                                 that when the overall tree height is less               scale be designated to a more                         computer servers. Given the success of
                                                 than the height of the probe inlet, the                 representative monitoring scale such as               the Fire and Smoke Map, the EPA
                                                 tree is not obstructing the airflow to the              middle scale or neighborhood scale.                   indicated interest in exploring the use of
                                                 probe inlet. However, a tree in such                       Moreover, for cases where long-term                next-generation technologies to develop
                                                 proximity to the probe inlet in many                    trend sites or monitors that determine                additional approaches, products, and
                                                 cases is not likely to remain at a height               the design value for an area cannot                   applications to help address important
                                                 lower than the probe inlet. The EPA                     reasonably meet this regulatory siting                non-regulatory air quality data needs.
                                                 considers a scenario such as this to be                 requirement, the EPA encourages                       Therefore, the EPA solicited comment
                                                 best addressed in the waiver provisions                 monitoring organizations to work with                 on the most important data uses and
                                                 of this appendix due both to the rarity                 their respective EPA Regional offices to              data sets to consider in such future
                                                 of this occurring as well as the need for               determine if a waiver from this siting                initiatives. Such approaches and/or
                                                 the EPA to periodically reassess                        criteria may be appropriate under                     products could utilize historical or near
                                                 whether tree growth has adversely                       appendix E, section 10.                               real-time data. The EPA sought this
                                                 impacted the site conditions.                              For these reasons, the EPA is                      input and prioritization on use of next
                                                    For these reasons, the EPA is                        finalizing the language as proposed.                  generation technologies to help improve
                                                 finalizing the language as proposed.                                                                          the utility of data to better support air
                                                                                                         j. Waiver Provisions                                  quality management to improve public
                                                 i. Spacing Requirement for Microscale                                                                         health and the environment.
                                                                                                            The EPA proposed to maintain the
                                                 Monitoring                                                                                                      The EPA received comments from
                                                                                                         appendix E, section 10 waiver
                                                    The EPA proposed to require that                     provisions in the current regulation for              about two dozen entities on its request
                                                 microscale sites for any pollutant shall                siting criteria, but to modify section 10.3           for comments on how to incorporate
                                                 have no trees or shrubs blocking the                    to require that waivers from the probe-               data from next generation technologies.
                                                 line-of-sight fetch between the monitor’s               siting criteria must be reevaluated and               The entities that provided comment
                                                 probe inlet and the source under                        renewed minimally every 5 years (88 FR                included federal agencies;
                                                 investigation (88 FR 5677, January 27,                  5677–78, January 27, 2023).                           representatives of industry and industry
                                                 2023). This proposed revision would                        The EPA received one comment                       groups; public health, medical, and
                                                 bring consistency between near-road                     supporting the proposal and no adverse                environmental organizations; State,
                                                 monitoring stations and other                           comments. Therefore, the EPA is                       local and related multi-state
                                                 microscale monitoring.                                  finalizing the language as proposed.                  organizations involved in air program
                                                    The EPA received one comment on                                                                            management; Tribes and Tribal
                                                                                                         k. Acceptable Probe Materials                         organizations involved in air program
                                                 this proposed requirement expressing
                                                 concerns regarding its practicality and                    The EPA proposed to expand the list                management; and other State and local
                                                 legality. The commenter stated agencies                 of acceptable probe materials for                     governments.
                                                 may at times want to site a monitor                     sampling reactive gases in appendix E,                  While there were some differences
                                                 close to a source, but the closest                      section 9, from just borosilicate glass               across commenters, a majority of the
                                                 location will have trees in the line of                 and fluorinated ethylene propylene                    commenters support use of next
                                                 sight on private property. Additionally,                (FEP) Teflon®, or their equivalents. The              generation data for non-regulatory
                                                 in some cases, the trees may have been                  EPA proposed to add polyvinylidene                    purposes, but not for regulatory decision
                                                 planted for the purpose of reducing off-                fluoride (PVDF), also known as Kynar®,                making due to their inherent
ddrumheller on DSK120RN23PROD with RULES3




                                                 property emissions from a source such                   polytetrafluoroethylene (PTFE), and                   uncertainties and limitations. The EPA
                                                 as a Concentrated Animal Feeding                        perfluoroalkoxy (PFA) to the list of                  also received comments from some
                                                 Operation (CAFO). The commenter                         approved materials for efficiently                    environmental organizations support
                                                 further stated that the proposal                        transporting gaseous criteria pollutants,             using alternative data for regulatory
                                                 mandates that State agencies order the                  and the use of NafionTM upstream of                   decision making.
                                                 removal of trees from private property to               ozone analyzers (88 FR 5678, January
                                                 collect valid data.                                     27, 2023). Mention of trade names or                    199 Available at https://fire.airnow.gov/.




                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00164   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024              Page 176 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                          16365

                                                    Many commenters pointed out that                     the need to consider all the costs of                 implications are discussed below in
                                                 they are already successfully using                     implementing and maintaining sensor                   section VIII.E. With regard to initial area
                                                 sensor data and networks in                             data.                                                 designations, the EPA is separately
                                                 supplemental and informational                             Another commenter stated that having               issuing a memorandum regarding the
                                                 applications and support further                        a dense sensor network collocated with                Initial Area Designations for the Revised
                                                 expansion of these capabilities. Across                 FRMs and FEMs could help ensure                       Primary Annual Fine Particle National
                                                 many commenters, there was support                      timely maintenance of the regulatory                  Ambient Air Quality Standard
                                                 for using next generation data as ‘‘fit for             measurements in the event there                       Memorandum (the ‘‘Annual PM2.5
                                                 purpose,’’ filling in gaps, finding hot                 appears to be a divergence of data. The               NAAQS Designations Memorandum’’)
                                                 spots, identifying and addressing EJ                    EPA appreciates the comment that                      that will provide information about the
                                                 concerns, and evaluating and informing                  emphasizes how sensors could be used                  statutory schedule for the designations
                                                 network siting. The EPA acknowledges                    to complement the FRM and FEM data                    process. For other implementation
                                                 the successful examples of sensor data                  with regard to ensuring timely                        related implications, please refer back to
                                                 and networks for non-regulatory                         maintenance.                                          the NPRM section VIII.
                                                 purposes. A few commenters support                         Another commentor strongly opposes                    The NPRM also referred to the PM2.5
                                                 expanding the use of sensor data to                     incorporating sensor data into any EPA                State Implementation Plan (SIP)
                                                 provide real-time AQI; the EPA is                       systems unless robust quality assurance               Requirements Rule (81 FR 58010,
                                                 interested in this use of next generation               (QA) practices are widely established                 August 24, 2016), which specifies
                                                 data as well. A few commenters pointed                  and managed by qualified personnel.                   planning requirements for areas
                                                 the need for the EPA to work closely                    The EPA agrees that QA is necessary,                  designated as nonattainment for
                                                 with them and their communities to                      and notes that the ‘‘fit for purpose’’                purposes of the PM2.5 NAAQS and
                                                 understand and use next generation                      aspect of using sensor data will inform               includes a number of key
                                                 data, while others expressed a desire for               the appropriate QA associated with the                recommendations for areas to consider
                                                 help developing best practices around                   intended use of such data.                            implications of environmental justice
                                                 collecting and using next generation                       In summary, the EPA invited                        through the attainment planning
                                                 data, developing products with data                     comment on how we should consider                     process, consistent with the
                                                 analysis/visualization, and developing                  incorporating data from next generation               identification of at-risk groups in the
                                                 appropriate QA/QC for sensor data. The                  technologies into our air monitoring                  2019 ISA and ISA Supplement and the
                                                 EPA acknowledges each of these                          efforts. In seeking comment on this                   statutory requirement to protect the
                                                 requests and expects to continue to                     topic, the EPA did not propose to add,                health of at-risk groups. As stated in the
                                                 work closely with SLTs and other                        edit, or delete any regulatory language               NPRM, State and local air agencies are
                                                 stakeholders to understand and develop                  associated with the PM NAAQS. The                     encouraged to consider how they might
                                                 information on the collection and use of                EPA received comments from a variety                  develop implementation plans that
                                                 next generation data.                                   of entities that largely support using                encourage early emission reductions.
                                                    A few commenters offered more                        next generation data for a variety of
                                                                                                         purposes that supplement, but cannot                  A. Designation of Areas
                                                 detailed comments. Some recommended
                                                 that the EPA repropose implementation                   replace, the measurement data from                       As discussed in section II, with
                                                 provisions related to next generation                   monitoring methods required (i.e.,                    respect to the PM2.5 NAAQS, the EPA is
                                                 technologies with greater clarity to                    FRMs and FEMs) for regulatory decision                finalizing: (1) Revisions to the level of
                                                 provide for meaningful comment. For                     making. Across many commenters, there                 the primary annual PM2.5 NAAQS and
                                                 example, the use of low-cost sensor and                 was support for using next generation                 retaining the current primary 24-hour
                                                 satellite data could be used in drawing                 technologies and data as ‘‘fit for                    PM2.5 NAAQS (section II.B.4); and (2) no
                                                 nonattainment area boundaries or                        purpose,’’ filling in gaps, finding hot               change to the current secondary annual
                                                 identifying sources for emissions                       spots, identifying, and addressing EJ                 and 24-hour PM2.5 NAAQS at this time
                                                 control, but doing so would be such a                   concerns, and evaluating and informing                (section V.B.4). Upon promulgation of a
                                                 significant change from prior EPA                       network siting. Quality assurance of the              new or revised NAAQS, States and the
                                                 policy that it warrants a more specific                 data will be an important component in                EPA must initiate the process for initial
                                                 proposal, beyond the scope of this                      the use of next generation technology                 designations.
                                                 request for comment. In response to this                data. The EPA will consider these                        The timeline for initial area
                                                 comment, the EPA notes it did not                       comments as it continues its work with                designations begins with promulgation
                                                 propose or change the use of non-                       the co-regulated community comprised                  of the revised primary annual PM2.5
                                                 regulatory measurement data as part of                  of SLT agencies and other stakeholders                NAAQS, as stated in the CAA section
                                                 this proposal, but instead opened an                    to understand and use next generation                 107(d)(1)(B)(i). Through this process,
                                                 opportunity to comment about the use                    data and joint efforts to manage the                  which provides for input from States
                                                 of next generation technologies.                        nation’s ambient air.                                 and others at various stages, the EPA
                                                    Another commenter stated that while                                                                        identifies areas of the country that either
                                                 low-cost sensor data can be invaluable                  VIII. Clean Air Act Implementation                    meet or do not meet the revised primary
                                                 for some purposes, the potentially                      Requirements for the Revised Primary                  annual PM2.5 NAAQS, along with the
                                                 overwhelming amount of data produced                    Annual PM2.5 NAAQS                                    nearby areas contributing to NAAQS
                                                 by sensors may present additional                         The EPA’s revision to the primary                   violations. The following includes
                                                 challenges to communities without the                   annual PM2.5 NAAQS discussed in                       additional information regarding the
ddrumheller on DSK120RN23PROD with RULES3




                                                 resources or expertise to analyze it. Cost              section II above triggers a number of                 designations process described in the
                                                 is another concern associated with some                 implementation related activities that                CAA.
                                                 next generation technologies of which                   were described in the NPRM. The two                      Section 107(d)(1) of the CAA states
                                                 some communities may not be aware, as                   most immediate implementation                         that, ‘‘By such date as the Administrator
                                                 the initial cost of the sensor alone is not             impacts following a final new or revised              may reasonably require, but not later
                                                 indicative of the total cost of operation,              NAAQS are related to stationary source                than 1 year after promulgation of a new
                                                 which can include costs of internet                     permitting and the initial area                       or revised national ambient air quality
                                                 access and servers. The EPA appreciates                 designations process. Permitting                      standard for any pollutant under section


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00165   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024               Page 177 of 217
                                                 16366             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 109, the Governor of each State shall                      While section 107(d) of the CAA                    the recommendations. The EPA will
                                                 . . . submit to the Administrator a list                specifically addresses the designations               then base the final designations on the
                                                 of all areas (or portions thereof) in the               process for States, the EPA intends to                most recent three consecutive years of
                                                 State’’ and make recommendations for                    follow the same process for Tribes to the             complete, certified air quality
                                                 whether the EPA should designate those                  extent practicable, pursuant to section               monitoring data available at the time of
                                                 areas as nonattainment, attainment, or                  301(d) of the CAA regarding Tribal                    final designations.204
                                                 unclassifiable.200 The CAA provides the                 authority, and the Tribal Authority Rule                 Monitoring data are currently
                                                 EPA with discretion to require States to                (63 FR 7254, February 12, 1998). To                   available from numerous existing PM2.5
                                                 submit their designations                               provide clarity and consistency in doing              Federal Equivalent Methods (FEM) and
                                                 recommendations within a reasonable                     so, the EPA issued a guidance                         Federal Reference Methods (FRM) sites
                                                 amount of time not exceeding one                        memorandum to our Regional Offices on                 to determine violations of the revised
                                                 additional year.201 Section 107(d)(1)(A)                working with Tribes during the                        primary annual PM2.5 NAAQS. As
                                                 of the CAA also states that ‘‘the                       designations process.203                              described in section VII.C.3.b, the EPA
                                                 Administrator may not require the                          Consistent with the process used in                took comment on how to deal with
                                                 Governor to submit the required list                    previous area designations efforts, the               cases where an FEM is approved by the
                                                 sooner than 120 days after promulgating                 EPA will evaluate each area on a case-                EPA with an update and when it can be
                                                 a new or revised national ambient air                   by-case basis considering the specific                implemented in the field. The EPA took
                                                 quality standard.’’ Section                             facts and circumstances unique to the                 comment on how to approach the data
                                                 107(d)(1)(B)(i) further provides, ‘‘Upon                area to support area boundary decisions               produced during this lag and received
                                                 promulgation or revision of a NAAQS,                    for the revised standard. The EPA                     input from over a dozen commenters.
                                                 the Administrator shall promulgate the                  intends to issue a designations                       The commenters asked that the EPA be
                                                 designations of all areas (or portions                  memorandum which will provide                         flexible in allowing the use of updated
                                                 thereof) . . . as expeditiously as                      information regarding the designations                method correction factors intended to
                                                 practicable, but in no case later than 2                process. In broad overview, the EPA has               improve the data comparability between
                                                 years from the date of promulgation.                    historically used area-specific analyses              the FRMs and FEMs. The EPA will
                                                 Such period may be extended for up to                   to support nonattainment area boundary                address any data correction issues
                                                 one year in the event the Administrator                 recommendations and final boundary                    between the FRMs and FEMs through a
                                                 has insufficient information to                         determinations by evaluating factors                  future Notice of Data Availability
                                                 promulgate the designations.’’ With                     such as air quality data, emissions and               (NOA).
                                                 respect to the NAAQS setting process,                   emissions-related data (e.g., population                 Consistent with past practice and as
                                                 courts have interpreted the term                        density and degree of urbanization,                   noted in the NPRM, the EPA intends to
                                                 ‘‘promulgation’’ to be signature and                    traffic and commuting patterns),                      provide additional information
                                                 widespread dissemination of a final                     meteorology, geography/topography,                    concerning the designations process,
                                                 rule.202                                                and jurisdictional boundaries. We                     including information about the
                                                    If the EPA agrees with the                           expect to follow a similar process when               schedule and recommendations for
                                                 designations recommendation of the                      establishing area designations for this               determining area boundaries in the
                                                 State, then it may proceed to promulgate                revised PM2.5 NAAQS. CAA section                      forthcoming Annual PM2.5 NAAQS
                                                 the designations for such areas. If,                    107(d) explicitly requires that the EPA               Designations Memorandum. Other
                                                 however, the EPA disagrees with the                     designate as nonattainment not only the               topics addressed in this memorandum
                                                 State’s recommendation, then the EPA                    area that is violating the pertinent                  include the schedule for preparing and
                                                 may elect to make modifications to the                  standard, but also those nearby areas                 submitting exceptional events initial
                                                 recommended designations. By no later                   that contribute to the violation in the               notification and exceptional events
                                                 than 120 days prior to promulgating the                 violating area. In the PM2.5 NAAQS                    demonstrations relevant to the
                                                 final designations, the EPA is required                 Designations Memorandum, the EPA                      designations process, and information
                                                 to notify States of any intended                        intends to include information                        related to wildfire and prescribed fire on
                                                 modifications to the State designation                  regarding consideration of federal land               wildlands as it pertains to initial area
                                                 recommendations for any areas or                        boundaries that may be fully or partially             designations, as well as addressing
                                                 portions thereof, including the                         included within the bounds of a county                back-correction of PM FEM data when
                                                 boundaries of areas, as the EPA may                     otherwise identified as nonattainment.                a method has an approved factory
                                                 deem necessary. States then have an                        As with past revisions of the PM2.5                calibration as part of a method update.
                                                 opportunity to comment on the EPA’s                     NAAQS, the EPA intends to make the                    The Annual PM2.5 NAAQS Designations
                                                 intended modification and tentative                     designations decisions for the revised                Memorandum is intended to assist
                                                 designation decision. If a State elects                 primary annual PM2.5 NAAQS based on                   States and Tribes in formulating their
                                                 not to provide designation                              the most recent three years of quality-               area recommendations.205
                                                 recommendations for any area, then the                  assured, certified air quality data in the               As discussed in the proposal, the
                                                 EPA must itself promulgate the                          EPA’s Air Quality System (AQS).                       ‘‘Treatment of Data Influenced by
                                                 designation that it deems appropriate.                  Accordingly, the EPA recommends that                  Exceptional Events; Final Rule,’’ (81 FR
                                                                                                         States base their initial area designation            68216, October 3, 2016) and codified at
                                                   200 While the CAA says ‘‘designating’’ with
                                                                                                         recommendations on the most current                   40 CFR 50.1, 40 CFR 50.14, and 40 CFR
                                                 respect to the Governor’s letter, in the full context
                                                 of the CAA section it is clear that the Governor        available three years of complete and                 51.930, contains instructions and
                                                 actually makes a recommendation to which the EPA        certified air quality data at the time of             requirements for air agencies that may
ddrumheller on DSK120RN23PROD with RULES3




                                                 must respond via a specified process if the EPA
                                                 does not accept it.                                       203 ‘‘Guidance to Regions for Working with Tribes     204 In certain circumstances in which the
                                                   201 In certain circumstances in which the                                                                   Administrator has insufficient information to
                                                                                                         during the National Ambient Air Quality Standards
                                                 Administrator has insufficient information to           (NAAQS) Designations Process,’’ December 20,          promulgate area designations within two years from
                                                 promulgate area designations within two years from      2011, Memorandum from Stephen D. Page to              the promulgation of a new or revised NAAQS, CAA
                                                 the promulgation of the NAAQS, CAA section              Regional Air Directors, Regions 1–X available at      section 107(d)(1)(B)(i) provides the EPA may extend
                                                 107(d)(1)(B)(i) provides that the EPA may extend        https://www.epa.gov/sites/default/files/2017-02/      the designations schedule by up to one year.
                                                 the designations schedule by up to one year.            documents/12-20-11_guidance_to_regions_for_             205 See: https://www.epa.gov/particle-pollution-
                                                   202 API v. Costle, 609 F.2d 20 (D.C. Cir. 1979).      working_with_tribes_naaqs_designations.pdf.           designations.



                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00166   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024                Page 178 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                               16367

                                                 flag air quality data for certain days in               assist air agencies in preparing                       PM2.5 NAAQS on the same schedule as
                                                 the Air Quality System due to potential                 exceptional events demonstrations for                  infrastructure SIP requirements. The
                                                 impacts from exceptional events (i.e.,                  wildfires and prescribed fires on                      EPA interprets the CAA such that two
                                                 such as prescribed fires on wildland,                   wildland. In addition, EPA intends to                  elements identified in section 110(a)(2)
                                                 wildfires, or high wind dust storms).                   continue engaging with the U.S.                        are not subject to the 3-year submission
                                                 Accordingly, for purposes of initial area               Department of Agriculture, U.S.                        deadline of section 110(a)(1) and thus
                                                 designations for a new or revised                       Department of the Interior, air agencies,              States are not required to address them
                                                 NAAQS, an air agency may submit to                      and other stakeholders on these issues.                in the context of an infrastructure SIP
                                                 the EPA an exceptional events                           For more information regarding the                     submission. The elements pertain to
                                                 demonstration with supporting                           exceptional events demonstration                       part D, in title I of the CAA, which
                                                 information and analyses for each                       submission deadlines for the area                      addresses additional SIP requirements
                                                 monitoring site and day the air agency                  designations process, please see Table 2               for nonattainment areas. Therefore, for
                                                 claims the EPA should exclude from                      to 40 CFR 50.14(c)(2)(vi)—‘‘Schedule for               the reasons explained below, the
                                                 design value calculations for                           Initial Notification and Demonstration                 following section 110(a)(2) elements are
                                                 designations purposes.                                  Submission for Data Influenced by                      considered by the EPA to be outside the
                                                    The EPA has provided tools to assist                 Exceptional Events for Use in Initial                  scope of infrastructure SIP actions: (1)
                                                 air agencies in preparing adequate                      Area Designations.’’                                   The portion of section 110(a)(2)(C),
                                                 exceptional events demonstrations.206                                                                          programs for enforcement of control
                                                 Further, the EPA will continue to work                  B. Section 110(a)(1) and (2)
                                                                                                         Infrastructure SIP Requirements                        measures and for construction or
                                                 with air agencies as they identify                                                                             modification of stationary sources that
                                                 exceptional events that may influence                      As discussed in the NPRM, the CAA                   applies to permit programs applicable in
                                                 decisions related to the initial area                   directs States to address basic SIP                    designated nonattainment areas (known
                                                 designations process, and to prepare                    requirements to implement, maintain,                   as ‘‘nonattainment new source review’’)
                                                 and submit exceptional events                           and enforce the NAAQS. Under CAA                       under part D; and (2) section
                                                 demonstrations if appropriate.                          sections 110(a)(1) and (2), states are                 110(a)(2)(I), which requires a SIP
                                                 Importantly, air quality monitoring data                required to have State implementation                  submission pursuant to part D, in its
                                                 may be influenced by emissions from                     plans that provide the necessary air                   entirety.
                                                 prescribed fires on wildland and                        quality management infrastructure that
                                                                                                                                                                  Accordingly, the EPA does not expect
                                                 wildfires. The EPA’s Exceptional Events                 provides for the implementation,
                                                                                                                                                                States to address the requirement for a
                                                 Rule provides for both of these types of                maintenance, and enforcement of the
                                                                                                                                                                new or revised NAAQS in the
                                                 events to be considered as exceptional                  NAAQS. After the EPA promulgates a
                                                                                                                                                                infrastructure SIP submissions to
                                                 events, provided the affected air                       new or revised NAAQS, States are
                                                                                                                                                                include regulations or emissions limits
                                                 agencies submit exceptional events                      required to make a new SIP submission
                                                                                                                                                                developed specifically for attaining the
                                                 demonstrations that meet the procedural                 to establish that they meet the necessary
                                                                                                         structural requirements for such new or                relevant standard in areas designated
                                                 and technical requirements of the EPA’s                                                                        nonattainment for the revised primary
                                                 Exceptional Events Rule. To that end,                   revised NAAQS or make changes to do
                                                                                                         so. The EPA refers to this type of SIP                 annual PM2.5 NAAQS. States are
                                                 the EPA has issued guidance addressing                                                                         required to submit infrastructure SIP
                                                 development of exceptional events                       submission as an ‘‘infrastructure SIP
                                                                                                         submission.’’ Under CAA section                        submissions for the revised primary
                                                 demonstrations for both wildfire and                                                                           annual PM2.5 NAAQS before they will
                                                 prescribed fires on wildland.207 In light               110(a)(1), all States are required to make
                                                                                                         these infrastructure SIP submissions                   be required to submit nonattainment
                                                 of the growing frequency and severity of                                                                       plan SIP submissions to demonstrate
                                                 wildfire events, and expected increases                 within three years after the effective
                                                                                                         date of a new or revised primary                       attainment with the same NAAQS.
                                                 in the application of prescribed fire as                                                                       States are required to submit
                                                 a means to achieve long-term reductions                 standard. While the CAA authorizes the
                                                                                                         EPA to set a shorter time for States to                nonattainment plan SIP submissions to
                                                 in high severity wildfire risk and                                                                             provide for attainment and maintenance
                                                 associated smoke impacts, the EPA                       make these SIP submissions, the EPA is
                                                                                                         requiring submission of infrastructure                 of a revised primary annual PM2.5
                                                 seeks to ensure that the Agency’s                                                                              NAAQS within 18 months from the
                                                 exceptional events process provides an                  SIPs within three years of the effective
                                                                                                         date of this revised primary annual                    effective date of nonattainment area
                                                 efficient and clear pathway for                                                                                designations as required under CAA
                                                 excluding data that may be affected by                  PM2.5 NAAQS.
                                                                                                            The EPA has provided general                        section 189(a)(2)(B). The EPA reviews
                                                 such events in a manner that is                                                                                and acts upon these later SIP
                                                                                                         guidance to States concerning its
                                                 consistent with the Clean Air Act and                                                                          submissions through a separate process.
                                                                                                         interpretation of these requirements of
                                                 the public health objectives of the                                                                            For this reason, the EPA does not expect
                                                                                                         CAA section 110(a)(1) and (2) in the
                                                 NAAQS. Accordingly, the EPA is                                                                                 States to address new nonattainment
                                                                                                         context of infrastructure SIP
                                                 continuing to explore opportunities to                                                                         area emissions controls per section
                                                                                                         submissions for a new or revised
                                                 develop additional tools that could                                                                            110(a)(2)(I) in their infrastructure SIP
                                                                                                         NAAQS.208 The EPA encourages States
                                                                                                         to use this guidance when developing                   submissions.
                                                   206 See the EPA’s Exceptional Events homepage at

                                                 https://www.epa.gov/air-quality-analysis/treatment-     their infrastructure SIPs for this revised                One of the required infrastructure SIP
                                                 air-quality-data-influenced-exceptional-events-         primary annual PM2.5 NAAQS.                            elements is that each State SIP must
                                                 homepage-exceptional.                                      As a reminder, the EPA notes that                   contain adequate provisions to prohibit,
                                                   207 See EPA’s ‘‘Final Guidance on the Preparation
                                                                                                         States are not required to address                     consistent with the provisions of title I
ddrumheller on DSK120RN23PROD with RULES3




                                                 of Exceptional Events Demonstrations for Wildfire       nonattainment plan requirements for                    of the CAA, emissions from within the
                                                 Events that May Influence Ozone Concentrations
                                                 and EPA’s Exceptional Events Guidance: Prescribed       purposes of the revised primary annual                 State that will significantly contribute to
                                                 Fire on Wildland that May Influence Ozone and                                                                  nonattainment in, or interfere with
                                                 Particulate Matter Concentrations,’’ found on EPA’s       208 See ‘‘Guidance on Infrastructure State
                                                                                                                                                                maintenance by, any other State of the
                                                 Exceptional Events homepage at https://                 Implementation Plan (SIP) Elements under Clean         primary or secondary NAAQS.209 This
                                                 www.epa.gov/air-quality-analysis/treatment-air-         Air Act Sections 110(a)(1) and 110(a)(2)’’ September
                                                 quality-data-influenced-exceptional-events-             2013, Memorandum from Stephen D. Page to
                                                 homepage-exceptional.                                   Regional Air Directors, Regions 1–10.                   209 CAA section 110(a)(2)(D)(i)(I).




                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00167   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024                Page 179 of 217
                                                 16368             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 element is often referred to as the ‘‘good              element), then the State may make an                  Infrastructure State Implementation
                                                 neighbor’’ or ‘‘interstate transport’’                  infrastructure SIP submission                         Plan (SIP) Elements under Clean Air Act
                                                 provision.210 The provision has two                     ‘‘certifying’’ that the existing State’s              Sections 110(a)(1) and 110(a)(2).’’ The
                                                 prongs: significant contribution to                     existing EPA approved SIP already                     EPA recommends that States
                                                 nonattainment (prong 1), and                            contains provisions that address one or               electronically submit their
                                                 interference with maintenance (prong                    more specific section 110(a)(2)                       infrastructure SIPs to the EPA through
                                                 2). The EPA and States must give                        infrastructure elements.213 In the case of            the State Plan Electronic Collaboration
                                                 independent significance to prong 1 and                 such a submission, the State does not                 System (SPeCS),214 an online system
                                                 prong 2 when evaluating downwind air                    have to include a copy of the relevant                available through the EPA’s Central Data
                                                 quality problems under CAA section                      provision (e.g., rule or statute) itself.             Exchange.
                                                 110(a)(2)(D)(i)(I).211 Further, case law                Rather, this certification submission
                                                                                                                                                               C. Implementing Revised Primary
                                                 has established that the EPA and States                 should provide citations to the SIP-
                                                                                                                                                               Annual PM2.5 NAAQS in Nonattainment
                                                 must implement requirements to meet                     approved State statutes, regulations, or
                                                                                                                                                               Areas
                                                 interstate transport obligations in                     non-regulatory measures, as
                                                 alignment with the applicable statutory                 appropriate, in or referenced by the                     As discussed in the NPRM, the EPA
                                                 attainment schedule of the downwind                     already EPA-approved SIP that meet                    issued a SIP Requirements Rule for
                                                 areas impacted by upwind-state                          particular infrastructure SIP element                 implementing the PM2.5 NAAQS (81 FR
                                                 emissions.212 Thus, the EPA anticipates                 requirements. The State’s infrastructure              58010, August 24, 2016) (PM2.5 SIP
                                                 that States will need to address                        SIP submission should also include an                 Requirements Rule). It provides
                                                 interstate transport obligations                        explanation as to how the State has                   guidance and establishes additional
                                                 associated with this revised PM                         determined that those existing                        regulatory requirements for States
                                                 NAAQS, in alignment with the                            provisions meet the relevant                          regarding development of attainment
                                                 provisions of subpart 4 of part D of the                requirements.                                         plans for nonattainment areas for the
                                                 CAA, as discussed in more detail in                        Like any other SIP submission, that                1997, 2006, and 2012 revisions of the
                                                 section VIII.C below. Specifically, States              State can make such an infrastructure                 PM2.5 NAAQS. The guidance and
                                                 must implement any measures required                    SIP submission certifying that it has                 regulations in the SIP Requirements
                                                 to address interstate transport                         already met some or all of the applicable             Rule also apply to any States for which
                                                 obligations as expeditiously as                         requirements only after it has provided               the EPA promulgates nonattainment
                                                 practicable and no later than the next                  reasonable notice and opportunity for                 area designations for the new revised
                                                 statutory attainment date, i.e., for this               public hearing. This ‘‘reasonable notice              primary annual PM2.5 NAAQS.
                                                 NAAQS revision as expeditiously as                      and opportunity for public hearing’’                     The PM2.5 SIP Requirements Rule
                                                 practicable, but no later than the end of               requirement for infrastructure SIP                    provides comprehensive information
                                                 the sixth calendar year following                       submissions is to meet the requirements               regarding nonattainment plan
                                                 nonattainment area designations. See                    of CAA sections 110(a) and 110(l).                    requirements including, among other
                                                 CAA section 188(c). States may find it                  Under the EPA’s regulations at 40 CFR                 things: nonattainment area emissions
                                                 efficient to make SIP submissions to                    part 51, if a public hearing is held, an              inventories; policies regarding PM2.5
                                                 address the interstate transport                        infrastructure SIP submission must                    precursor pollutants (i.e., SO2, NOX,
                                                 provisions separately from other                        include a certification by the State that             VOC, and ammonia); control strategies
                                                 infrastructure SIP elements.                            the public hearing was held in                        (such as reasonably available control
                                                    Each State has the authority and                     accordance with the EPA’s procedural                  measures and reasonably available
                                                 responsibility to review its air quality                requirements for public hearings. See 40              control technology for direct PM2.5 and
                                                 management program’s existing SIP                       CFR part 51, appendix V, section 2.1(g),              relevant precursors); air quality
                                                 provisions in light of a new or revised                 and see 40 CFR 51.102.                                modeling; attainment demonstrations;
                                                 NAAQS to determine if any revisions                        In consultation with the EPA’s                     reasonable further progress
                                                 are necessary to implement the new or                   Regional office, a State should follow all            requirements; quantitative milestones;
                                                 revised NAAQS. Most States have                         applicable EPA regulations governing                  and contingency measures. Information
                                                 revised and updated their SIPs in recent                infrastructure SIP submissions in 40                  provided in the PM2.5 SIP Requirements
                                                 years to address requirements associated                CFR part 51—e.g., subpart I (Review of                Rule is supplemented by other EPA
                                                 with other revised NAAQS. For certain                   New Sources and Modifications),                       documents, including guidance on
                                                 infrastructure elements, some States                    subpart J (Ambient Air Quality                        emissions inventory development (80
                                                 may believe they already have adequate                  Surveillance), subpart K (Source                      FR 8787, February 19, 2015; U.S. EPA,
                                                 State regulations adopted and approved                  Surveillance), subpart L (Legal                       2017), optional PM2.5 precursor
                                                 into the SIP to address a particular                    Authority), subpart M                                 demonstrations (U.S. EPA, 2019b),215
                                                 requirement with respect to the revised                 (Intergovernmental Consultation),                     and guidance on air quality modeling
                                                 primary annual PM2.5 NAAQS.                             subpart O (Miscellaneous Plan Content                 for meeting air quality goals for the
                                                    If a State determines that existing SIP-             Requirements), subpart P (Protection of               ozone and PM2.5 NAAQS and regional
                                                 approved provisions are adequate in                     Visibility), and subpart Q (Reports). For             haze program (U.S. EPA, 2018b).
                                                 light of this revised primary annual                    the EPA’s general criteria for                           As stated in the NPRM, the PM2.5 SIP
                                                 PM2.5 NAAQS with respect to a given                     infrastructure SIP submissions, refer to              Requirements Rule provides
                                                 infrastructure SIP element (or sub-                     40 CFR part 51, appendix V, Criteria for              recommendations to States regarding
                                                                                                         Determining the Completeness of Plan                  consideration of environmental justice
ddrumheller on DSK120RN23PROD with RULES3




                                                   210 CAA section 110(a)(2)(D)(i)(II) also addresses
                                                                                                         Submissions. For additional information               in the context of PM2.5 attainment
                                                 certain interstate effects that states must address     on infrastructure SIP submission
                                                 and thus is also sometimes referred to as relating                                                              214 https://cdx.epa.gov/.
                                                 to ‘‘interstate transport.’’                            requirements, refer to the EPA’s 2013                   215 Provides guidance on developing
                                                   211 See North Carolina v. EPA, 531 F.3d 896, 909–     guidance entitled ‘‘Guidance on                       demonstrations under section 189(e) intended to
                                                 11 (D.C. Cir. 2008).                                                                                          show that a certain PM2.5 precursor in a particular
                                                   212 See id. 911–13. See also Wisconsin v. EPA,          213 A ‘‘certification’’ approach would not be       nonattainment area does not significantly
                                                 938 F.3d 303, 313–20 (D.C. Cir. 2019); Maryland v.      appropriate for the interstate pollution control      contribute to PM2.5 concentrations that exceed the
                                                 EPA, 958 F.3d 1185, 1203–04 (D.C. Cir. 2020).           requirements of CAA section 110(a)(2)(D)(i).          standard.



                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00168   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024                Page 180 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                                    16369

                                                 planning. Some of the considerations for                D. Implementing the Primary and                       attainment/unclassifiable for the 1997,
                                                 States include: (1) Identifying areas with              Secondary PM10 NAAQS                                  2006, and 2012 PM2.5 NAAQS, PSD will
                                                 overburdened communities where more                       As summarized in sections III.B.4 and               apply to new major stationary sources
                                                 ambient monitoring may be warranted;                    V.B.4 above, the EPA is retaining the                 and major modifications that trigger
                                                 (2) targeting emissions reductions that                 current primary and secondary 24-hour                 major source permitting requirements
                                                 may be needed to attain the PM2.5                       PM10 NAAQS to protect against the                     for PM2.5. For areas designated
                                                 NAAQS; and (3) increasing                               health effects associated with short-term             nonattainment for the 1997, 2006, or
                                                 opportunities for meaningful                            exposures to thoracic coarse particles                2012 PM2.5 NAAQS, NNSR
                                                 involvement for overburdened                            and against the welfare effects                       requirements will apply for new major
                                                 populations (see 88 FR 5558, 5684,                      considered in this reconsideration (i.e.,             stationary sources and major
                                                 January 27, 2023; 80 FR 58010, 58136,                   visibility, climate, and materials effects).          modifications that trigger major source
                                                 August 25, 2016). In light of the                       The EPA is retaining the existing                     permitting requirements for PM2.5.
                                                 identification of at-risk populations for               implementation strategy for meeting the               When the initial area designations for
                                                 this reconsideration, the EPA                           CAA requirements for the PM10                         this revised primary annual PM2.5
                                                 encourages States to consider these and                 NAAQS. States and emissions sources                   NAAQS become effective, those
                                                 other factors as part of their attainment               should continue to follow the existing                designations will further determine
                                                 plan SIP development process.                           regulations and guidance for                          whether PSD or NNSR applies to PM2.5
                                                    The PM2.5 SIP Requirements Rule                      implementing the current standards.217                in a particular area, depending on the
                                                 outlines some examples of how States                                                                          designation status. New major sources
                                                 can elect to implement these                            E. Prevention of Significant                          and major modifications will be subject
                                                 recommendations.216 For instance,                       Deterioration and Nonattainment New                   to the PSD program requirements for
                                                 States can use modeling and screening                   Source Review Programs for the Revised                PM2.5 if they are located in an area that
                                                 tools to better understand where sources                Primary Annual PM2.5 NAAQS                            does not have a current nonattainment
                                                 of PM2.5 or PM2.5 precursor emissions                      The CAA, at parts C and D of title I,              designation under CAA section 107 for
                                                 are located and identify areas that may                 contains preconstruction review and                   PM2.5.218
                                                 be candidates for additional ambient                    permitting programs applicable to new                    Under the PSD program, the permit
                                                 monitoring. Furthermore, once these                     major stationary sources and major                    applicant must demonstrate that the
                                                 target areas are identified, States can                 modifications of existing major sources.              new or modified source emissions
                                                 prioritize direct PM2.5 or PM2.5                        The preconstruction review of each new                increase does not cause or contribute to
                                                 precursor control measures and                          major stationary source and major                     a NAAQS violation. In 2017, the EPA
                                                 enforcement strategies in these areas to                modification applies on a pollutant-                  revised the Guideline on Air Quality
                                                 reduce ambient PM2.5 and achieve the                    specific basis, and the requirements that             Models (published as appendix W to 40
                                                 NAAQS. As articulated in the NPRM                       apply for each pollutant depend on                    CFR part 51) to address primary and
                                                 and the PM2.5 SIP Requirements Rule,                    whether the area in which the source is               secondary PM2.5 impacts in making this
                                                 the EPA recognizes that States have                     situated is designated as attainment (or              demonstration. The EPA has since
                                                 flexibility under the CAA to concentrate                unclassifiable) or nonattainment for that             provided associated technical guidance,
                                                 State resources on controlling sources of               pollutant. In areas designated                        models and tools, such as the recent
                                                 PM2.5 emissions in light of                             attainment or unclassifiable for a                    ‘‘Final Guidance for Ozone and Fine
                                                 environmental justice considerations                    pollutant, the Prevention of Significant              Particulate Matter Permit Modeling’’
                                                 (see 88 FR 5558, 5684, January 27, 2023;                Deterioration (PSD) requirements under                (July 29, 2022).219 Additionally, in light
                                                 81 FR 58010, 58137, August 24, 2016).                   part C apply to construction at major                 of this NAAQS revision, the EPA is
                                                 Moreover, States can establish                          sources. In areas designated                          updating its guidance that provides
                                                 opportunities to bolster meaningful                     nonattainment for a pollutant, the                    recommended significant impact levels
                                                 involvement in a number of ways, such                   Nonattainment New Source Review                       (SILs) for PM2.5 and expects that an
                                                 as communicating in appropriate                         (NNSR) requirements under part D                      updated SIL for the revised primary
                                                 languages, ensuring access to draft SIPs                apply to construction at major sources.               annual PM2.5 NAAQS will be available
                                                 and other information, and developing                   Collectively, those two sets of permit
                                                                                                                                                                 218 40 CFR 51.166(i)(2) and 52.21(i)(2).
                                                 enhanced notice-and-comment                             requirements are commonly referred to
                                                                                                                                                                 219 On July 29, 2022, the EPA issued ‘‘Final
                                                 opportunities, as appropriate (see 88 FR                as the ‘‘major New Source Review’’ or
                                                                                                                                                               Guidance for Ozone and Fine Particulate Matter
                                                 5558, 5684, January 27, 2023; 80 FR                     ‘‘major NSR’’ programs.                               Permit Modeling,’’ available at https://
                                                 58010, 58136, August 25, 2016).                            Until the EPA designates an area with              www.epa.gov/system/files/documents/2022-07/
                                                    As previously mentioned, the PM2.5                   respect to the revised primary annual                 Guidance_for_O3_PM25_Permit_Modeling.pdf. This
                                                                                                         PM2.5 NAAQS, the NSR provisions                       guidance provides the EPA’s recommendations for
                                                 SIP Requirements Rule provides                                                                                how a stationary source seeking a PSD permit may
                                                 guidance and regulatory requirements                    applicable under an area’s current                    demonstrate that it will not cause or contribute to
                                                 for remaining nonattainment areas for                   designation for the 1997, 2006, and 2012              a violation of the National Ambient Air Quality
                                                 the 1997, 2006, and 2012 revisions of                   PM2.5 NAAQS would continue to apply.                  Standards for Ozone and PM2.5 and PSD increments
                                                                                                         See 40 CFR 51.166(i)(2) and 52.21(i)(2).              for PM2.5, as required under section 165(a)(3) of the
                                                 the PM2.5 NAAQS, as well as for                                                                               Clean Air Act and 40 CFR 51.166(k) and 52.21(k).
                                                 nonattainment areas designated                          That is, for areas designated as                      The EPA has also previously issued two technical
                                                 pursuant to any future revisions of the                                                                       guidance documents for use in conducting these
                                                                                                            217 CAA Sections 110(a) and 172 contain general    demonstrations: ‘‘Guidance on the Development of
                                                 PM2.5 NAAQS, including the revised
                                                                                                         nonattainment planning provisions, regarding the      Modeled Emission Rates for Precursors (MERPs) as
ddrumheller on DSK120RN23PROD with RULES3




                                                 annual PM2.5 NAAQS being finalized in                   public review, adoption, submittal, and content of    a Tier 1 Demonstration Tool for Ozone and PM2.5
                                                 this action. The EPA is not making any                  implementation plans. CAA Section 189 specifies       under the PSD Permitting Program,’’ available at
                                                 changes to the current PM2.5 SIP                        additional plan provisions for particulate matter     https://www.epa.gov/sites/default/files/2020-09/
                                                 Requirements Rule.                                      nonattainment areas. General Preamble for the         documents/epa-454_r-19-003.pdf, and ‘‘Guidance
                                                                                                         Implementation of Title I of the Clean Air Act        on the Use of Models for Assessing the Impacts of
                                                                                                         Amendments of 1990 provides a detailed                Emissions from Single Sources on the Secondarily
                                                   216 For more information on the EPA’s                 discussion of the EPA’s interpretation of the Title   Formed Pollutants: Ozone and PM2.5,’’ available at
                                                 recommendations and examples, see 81 FR 58010,          I requirements (57 FR 13498, April 16, 1992; 59 FR    https://www.epa.gov/sites/default/files/2020-09/
                                                 58137, August 24, 2016.                                 41998, August 16, 1994).                              documents/epa-454_r-16-005.pdf.



                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00169   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                             Document #2043704                                Filed: 03/06/2024                   Page 181 of 217
                                                 16370              Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 on or before the effective date of the                     PSD program requires a new major                          revised NAAQS.224 In August 2019, the
                                                 final NAAQS.                                               stationary source or a major                              U.S. Court of Appeals for the D.C.
                                                    The statutory requirements for a PSD                    modification to apply the ‘‘best                          Circuit vacated the exemption provision
                                                 permit program set forth under part C of                   available control technology’’ (BACT) to                  in the PSD rules for the 2015 Ozone
                                                 title I of the CAA (sections 160 through                   limit emissions and to conduct an air                     NAAQS, finding that the provision
                                                 169) are addressed by the EPA’s PSD                        quality impact analysis to demonstrate                    contradicted ‘‘Congress’s ‘express policy
                                                 regulations found at 40 CFR 51.166                         that the proposed major stationary                        choice’ not to allow construction which
                                                 (minimum requirements for an                               source or major modification will not                     will ‘cause or contribute to’
                                                 approvable PSD SIP) and 40 CFR 52.21                       cause or contribute to a violation of any                 nonattainment of ‘any’ effective
                                                 (PSD permitting program for permits                        NAAQS or PSD increment.221 See CAA                        NAAQS, regardless of when they are
                                                 issued under the EPA’s Federal                             section 165(a)(3) and (4), 40 CFR                         adopted or when a permit was
                                                 permitting authority). These regulations                   51.166(j) and (k), 40 CFR 52.21(j) and                    completed.’’ Murray Energy Corp. v.
                                                 already apply to PM2.5 in areas that are                   (k). The PSD requirements may also                        EPA, 936 F.3d 597, 627 (D.C. Cir.
                                                 designated attainment or unclassifiable                    include, in appropriate cases, an                         2019).225 Based on that court decision,
                                                 for PM2.5 whenever a proposed new                          analysis of potential adverse impacts on                  the EPA is not establishing any PSD
                                                 major source or major modification                         Class I areas. See CAA sections 162(a)                    permitting exemption provision in this
                                                 triggers PSD requirements for PM2.5.                       and 165(d), 40 CFR 51.166(p); 40 CFR                      action. Some commenters requested that
                                                    For PSD, a ‘‘major stationary source’’                  52.21(p)).222 The EPA developed the                       the EPA provide the same kind of relief
                                                 is one with the potential to emit 250                      Guideline on Air Quality Models and                       for pending PSD permit applications by
                                                 tons per year (tpy) or more of any                         other documents to, among other things,                   extending the effective date of this new
                                                 regulated NSR pollutant, unless the new                    provide methods and guidance for                          revised NAAQS beyond the 60 days that
                                                 or modified source is classified under a                   demonstrating that increased emissions                    the EPA has traditionally used for such
                                                 list of 28 source categories contained in                  from construction will not cause or                       rules. Such comments are addressed in
                                                 the statutory definition of ‘‘major                        contribute to exceedances of the PM2.5                    the Response to Comments portion of
                                                 emitting facility’’ in section 169(1) of                   NAAQS and PSD increments for                              this action. The EPA is making this
                                                 the CAA. For those 28 source categories,                   PM2.5.223                                                 revised primary annual PM2.5 NAAQS
                                                 a ‘‘major stationary source’’ is one with                     Upon the effective date of the revised                 effective in 60 days.
                                                 the potential to emit 100 tpy or more of                   primary annual PM2.5 NAAQS, the                              The EPA anticipates that the existing
                                                 any regulated NSR pollutant. A ‘‘major                     demonstration required under CAA                          PM2.5 air quality in some areas will not
                                                 modification’’ is a physical change or a                   Section 165(a)(3), and the associated                     be in attainment with the revised
                                                 change in the method of operation of an                    regulations, must include the revised                     primary annual PM2.5 NAAQS, and the
                                                 existing major stationary source that                      primary annual PM2.5 NAAQS. In past                       EPA will designate these areas as
                                                 results, first, in a significant emissions                 NAAQS revision rules, including the                       nonattainment at a later date, consistent
                                                 increase of a regulated NSR pollutant                      2012 PM2.5 NAAQS (78 FR 3086,                             with the designation process described
                                                 and, second, in a significant net                          January 15, 2013) and 2015 Ozone                          in the preceding sections. However,
                                                 emissions increase of that pollutant. See                  NAAQS (80 FR 65292, October 26,                           until such nonattainment designation
                                                 40 CFR 51.166(b)(2)(i), 40 CFR                             2015), the EPA included limited                           occurs, proposed new major sources and
                                                 52.21(b)(2)(i). The EPA PSD regulations                    provision that exempted certain sources                   major modifications located in any area
                                                 define the term ‘‘regulated NSR                            with pending PSD permit applications                      currently designated attainment or
                                                 pollutant’’ to include any pollutant for                   (those that had reached a particular                      unclassifiable for all preexisting PM2.5
                                                 which a NAAQS has been promulgated                         stage in the permitting process at the                    NAAQS will continue to be subject to
                                                 and any pollutant identified by the EPA                    time the revised NAAQS was                                the PSD program requirements for
                                                 as a constituent or precursor to such                      promulgated or became effective) from                     PM2.5. Any proposed major stationary
                                                 pollutant. See 40 CFR 51.166(b)(49), 40                    the requirement to demonstrate that the                   source or major modification triggering
                                                 CFR 52.21(b)(50). These regulations                        proposed emissions increases would not                    PSD requirements for PM2.5 that does
                                                 identify SO2 and NOX as precursors to                      cause or contribute to a violation of the                 not receive its PSD permit by the
                                                 PM2.5 in attainment and unclassifiable                                                                               effective date of a new nonattainment
                                                                                                               221 By establishing the maximum allowable level
                                                 areas. See 40 CFR 51.166(b)(49)(i)(b), 40                                                                            designation for the area where the
                                                                                                            of ambient pollutant concentration increase in a
                                                 CFR 52.21(b)(50)(i)(b).220 Thus, for                       particular area, an increment defines ‘‘significant
                                                                                                                                                                      source would locate would then be
                                                 PM2.5, the PSD program currently                           deterioration’’ of air quality in that area. Increments   required to satisfy applicable NNSR
                                                 requires the review and control of                         are defined by the CAA as maximum allowable               preconstruction permit requirements for
                                                 emissions of direct PM2.5 emissions and                    increases in ambient air concentrations above a           PM2.5.
                                                                                                            baseline concentration and are specified in the PSD
                                                 SO2 and NOX (as precursors to PM2.5),                      regulations by pollutant and area classification
                                                                                                                                                                         In areas where air pollution exceeds
                                                 absent a demonstration otherwise for                       (Class I, II and III). 40 CFR 51.166(c), 40 CFR           the level of the revised primary annual
                                                 NOX. Among other things, for each                          52.21(c); 75 FR 64864 (October 20, 2010).                 PM2.5 NAAQS, a PSD permit applicant
                                                 regulated NSR pollutant emitted or                            222 Congress established certain Class I areas in
                                                                                                                                                                      must demonstrate that the source or
                                                                                                            section 162(a) of the CAA, including international        modification will not cause or
                                                 increased in a significant amount, the                     parks, national wilderness areas, and national parks
                                                                                                            that meet certain criteria. Such Class I areas, known
                                                                                                                                                                         224 This exemption was referred to as
                                                    220 Sulfur dioxide is a precursor to PM
                                                                                             2.5 in all     as mandatory Federal Class I areas, are afforded
                                                 attainment and unclassifiable areas. NOX is                special protection under the CAA. In addition,            ‘‘grandfathering’’ in the 2015 Ozone NAAQS and
                                                 presumed to be a precursor to PM2.5 in all                 States and Tribal governments may establish Class         the D.C. Circuit’s Murray Energy Corp. decision on
                                                 attainment and unclassifiable areas, unless a state        I areas within their own political jurisdictions to       that exemption. See 80 FR 65292, 65431 (October
ddrumheller on DSK120RN23PROD with RULES3




                                                 or the EPA demonstrates that emissions of NOX              provide similar special air quality protection.           26, 2015); Murray Energy Corp. v. EPA, 936 F.3d
                                                 from sources in a specific area are not a significant         223 See 40 CFR part 51, appendix W; 82 FR 5182         597, 627 (D.C. Cir. 2019). The EPA refers to this
                                                 contributor to that area’s ambient PM2.5                   (January 17, 2017); See also U.S. EPA, 2021d. The         ‘‘grandfathering’’ provision in this action as an
                                                 concentrations. VOC is presumed not to be a                EPA provided an initial version of the 2021               exemption provision.
                                                 precursor to PM2.5 in any attainment or                    guidance for public comment on February 10, 2020.            225 While the specifics of this case involved the

                                                 unclassifiable area, unless a state or the EPA             Upon consideration of the comments received, and          2015 ozone NAAQS, the case was based upon an
                                                 demonstrates that emissions of VOC from sources            consistent with Executive Order 13990, the EPA            interpretation of CAA section 165(a) and therefore
                                                 in a specific area are a significant contributor to that   revised the initial draft guidance and posted the         applies equally to any PSD permitting exemption
                                                 area’s ambient PM2.5 concentrations.                       revised version for additional public comment.            provision for a new or revised NAAQS.



                                            VerDate Sep<11>2014    19:03 Mar 05, 2024   Jkt 262001   PO 00000    Frm 00170    Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM      06MRR3
                                                      USCA Case #24-1051                             Document #2043704                              Filed: 03/06/2024               Page 182 of 217
                                                                    Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                             16371

                                                 contribute to a violation of the NAAQS.                   the nonattainment NSR (NNSR)                             PM2.5 precursor in an amount equal to
                                                 Section 165(a)(3)(B) of the CAA states                    program. The EPA’s regulations for the                   or greater than the applicable threshold.
                                                 that a proposed source may not                            NNSR program are contained in 40 CFR                        For modifications, NNSR applies to
                                                 construct unless it demonstrates that it                  51.165 and 52.24 and part 51, appendix                   proposed physical changes or changes
                                                 will not cause or contribute to a                         S. Specifically, the EPA has developed                   in the method of operation of an
                                                 violation of any NAAQS. This statutory                    minimum program requirements for a                       existing stationary source where (1) the
                                                 requirement is implemented through a                      NNSR program that is approvable in a                     source is major for the nonattainment
                                                 provision contained in the PSD                            SIP, and those requirements, which                       pollutant (or a precursor for that
                                                 regulations at 40 CFR 51.166(k) and                       include requirements for PM2.5, are                      pollutant) and (2) the physical change or
                                                 52.21(k).226 If a source cannot make this                 contained in 40 CFR 51.165. In addition,                 change in the method of operation of a
                                                 demonstration, or if its initial air quality              40 CFR part 51, appendix S, contains                     major stationary source results, first, in
                                                 impact analysis shows that the source’s                   requirements constituting an interim                     a significant emissions increase of a
                                                 impact would cause or contribute to a                     NNSR program. This interim program                       regulated NSR pollutant and, second, in
                                                 violation, the reviewing authority may                    enables NNSR permitting in                               a significant net emissions increase of
                                                 not issue a PSD permit to that source.                    nonattainment areas by States that lack                  that same nonattainment pollutant (or
                                                 However, a PSD permit applicant may                       a SIP-approved NNSR permitting                           same precursor for that pollutant). See
                                                 be able to make this demonstration if it                  program during the time between the                      40 CFR 51.165(a)(1)(v)(A); 40 CFR part
                                                 compensates for the adverse impact that                   date of the relevant designation and the                 51, appendix S, II.A.5.(i). For example,
                                                 would otherwise cause or contribute to                    date that the EPA approves into the SIP                  to qualify as a major modification for
                                                 a violation of the NAAQS. In contrast to                  a NNSR program. See 40 CFR part 51,                      SO2 (as a PM2.5 precursor) in a Moderate
                                                 the NSR requirements for nonattainment                                                                             PM2.5 nonattainment area, the existing
                                                                                                           appendix S, section I; 40 CFR 52.24(k).
                                                 areas, the PSD regulations do not                                                                                  source would have to have the potential
                                                 explicitly specify remedial actions that                     For NNSR, ‘‘major stationary source’’                 to emit 100 tpy or more of SO2, and the
                                                 a prospective source must take to                         is generally defined as a source with the                project would have to result in an
                                                 address such a situation, but the EPA                     potential to emit at least 100 tpy of the                increase in SO2 emissions of 40 tpy or
                                                 has historically recognized that sources                  regulated NSR pollutant for which the                    more. See 40 CFR 51.165(a)(1)(x)(A).
                                                 applying for PSD permits may utilize                      area is designated nonattainment. In                        New major stationary sources and
                                                 offsetting reductions in emissions as                     some cases, however, the CAA and the                     major modifications for PM2.5 subject to
                                                 part of the required PSD demonstration                    NNSR regulations define ‘‘major                          NNSR must comply with the ‘‘lowest
                                                 under CAA section 165(a)(3)(B).227                        stationary source’’ for NNSR in terms of                 achievable emission rate’’ (LAER), as
                                                   Part D of title I of the CAA includes                   a lower rate dependent on the pollutant                  defined in the CAA and NNSR rules.
                                                 preconstruction review and permitting                     and degree of nonattainment in the area.                 Such sources must also perform other
                                                 requirements applicable to new major                      For purposes of the PM2.5NAAQS, in                       analyses and obtain emission offsets, as
                                                 stationary sources and major                              addition to the general threshold level                  required under section 173 of the CAA
                                                 modifications located in areas                            of 100 tpy in Moderate PM2.5                             and applicable regulations.
                                                 designated nonattainment for a                            nonattainment areas, a lower major                          Following the promulgation of this
                                                 pollutant for which the EPA has                           source threshold of 70 tpy applies in                    revised primary annual PM2.5 NAAQS,
                                                 established a NAAQS (i.e., a criteria                     Serious PM2.5 nonattainment areas                        some new areas may be designated
                                                 pollutant). The relevant part D                           pursuant to subpart 4 of part D, title I                 nonattainment for PM2.5. Where a State
                                                 requirements are typically referred to as                 of the CAA. See 40 CFR                                   does not have an existing NNSR
                                                                                                           51.165(a)(1)(iv)(A)(1)(vii) and (viii); 40               program or where the current NNSR
                                                    226 40 CFR 51.166(k) states that SIPs must require     CFR part 51, appendix S, II.A.4(i)(a)(7)                 program does not apply to PM2.5, that
                                                 that the owner or operator of the proposed source         and (8).                                                 State will be required to submit the
                                                 or modification demonstrate that allowable                                                                         necessary SIP revisions to ensure that
                                                 emission increases from the proposed source or               Under the NNSR program, direct
                                                                                                                                                                    new major stationary sources and major
                                                 modification, in conjunction with all other               PM2.5 emissions and emissions of each                    modifications for PM2.5 or a PM2.5
                                                 applicable emissions increases or reductions              PM2.5 precursor are considered
                                                 (including secondary emissions), would not cause                                                                   precursor undergo preconstruction
                                                 or contribute to air pollution in violation of: (i) Any
                                                                                                           separately in accordance with the                        review pursuant to the NNSR program.
                                                 national ambient air quality standard in any air          applicable major source threshold. For                   States with designated nonattainment
                                                 quality control region; or (ii) any applicable            example, the threshold for Serious PM2.5                 areas for the revised primary annual
                                                 maximum allowable increase over the baseline              nonattainment areas is 70 tpy of direct
                                                 concentration in any area.                                                                                         PM2.5 NAAQS are required to make SIP
                                                    227 See, e.g., Memorandum from Stephen D. Page,
                                                                                                           PM2.5, as well as for the PM2.5                          submissions to meet nonattainment plan
                                                 Director, Office of Air Quality Planning and              precursors SO2, NOX, VOC, and                            requirements within 18 months from the
                                                 Standards to Regional Air Division Directors,             ammonia.228 See 40 CFR                                   effective date of designations, as
                                                 Guidance Concerning Implementation of the 1-hour          51.165(a)(1)(iv)(A)(1)(vii) and (viii); 40               required under CAA section
                                                 SO2 NAAQS for the Prevention of Significant               CFR part 51, appendix S, II.A.4.(i)(a)(7)
                                                 Deterioration Program. August 23, 2010. Office of                                                                  189(a)(2)(B). States that have existing
                                                 Air Quality Planning and Standards U.S. EPA,              and (8). A source qualifies as major for                 NNSR program requirements that
                                                 Research Triangle Park. Available at: https://            nonattainment NSR in a PM2.5                             cannot be interpreted to apply at the
                                                 www.epa.gov/sites/default/files/2015-07/                  nonattainment area if it emits or has the                time of designation to the revised
                                                 documents/appwso2.pdf; 44 FR 3274, 3278, January          potential to emit direct PM2.5 or any
                                                 16, 1979; See also In re Interpower of New York,                                                                   primary annual PM2.5 NAAQS may, in
                                                 Inc., 5 E.A.D. 130, 141 (EAB 1994) (describing an                                                                  the interim, issue permits in accordance
                                                 EPA Region 2 PSD permit that relied in part on               228 All of these pollutants are identified as
ddrumheller on DSK120RN23PROD with RULES3




                                                                                                                                                                    with the applicable nonattainment
                                                 offsets to demonstrate the source would not cause         precursors to PM2.5 in NNSR regulations. See 40
                                                 or contribute to a violation of the NAAQS). 52 FR         CFR 51.165(a)(1)(xxxvii)(C)(2). No significant           permitting requirements contained in 40
                                                 24634, 24684, July 1, 1987; 78 FR 3085, 3261–62,          emission rate is established by the EPA for              CFR part 51, appendix S, which would
                                                 January 15, 2013. The EPA has recognized the              ammonia, and states are required to define               apply to the revised primary annual
                                                 ability of sources to obtain offsets in the context of    ‘‘significant’’ for ammonia for their respective areas   PM2.5 NAAQS upon its effective date.
                                                 PSD though the PSD provisions of the Act do not           unless the state pursues the optional precursor
                                                 expressly reference offsets as the NNSR provisions        demonstration to exclude ammonia from planning           See 73 FR 28321, 28340, May 16, 2008.
                                                 of the Act do. See 80 FR 65292, 65441, October 26,        requirements. See 40 CFR 51.165(a)(1)(x)(F); 40 CFR         Finally, the EPA has released several
                                                 2015.                                                     51.165(a)(13).                                           documents that discuss air permitting


                                            VerDate Sep<11>2014    19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00171   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM     06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024                Page 183 of 217
                                                 16372             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 and environmental justice, including,                   for the revised primary annual PM2.5                  includes the prescribed burn at issue,
                                                 for example, a memorandum 229 and                       NAAQS, as needed.                                     where the overall plan that includes the
                                                 attached permitting principles.230 The                                                                        burn was previously evaluated under 40
                                                                                                         G. General Conformity Program
                                                 EPA recommends that PSD and NNSR                                                                              CFR part 93 subpart B by the
                                                 permitting authorities review this                         The conformity requirement under                   responsible federal agency, and the
                                                 memorandum and the principles and                       CAA section 176(c) ensures that federal               agency found the plan conforms under
                                                 consider applying them in their air                     activities implemented by federal                     CAA paragraphs 176(c)(1)(A) and (1)(B).
                                                 permitting actions as appropriate to                    agencies will not interfere with a State’s            This assumes the burn at issue will be
                                                 help identify, analyze, and address                     ability to attain and maintain the                    conducted by meeting any conditions
                                                 environmental justice concerns in those                 NAAQS. Under CAA 176(c)(1), the                       specified as necessary for meeting
                                                 air permitting actions to help ensure                   requirement prohibits Federal agencies                conformity in the agency’s decision to
                                                 that the NAAQS achieve their intended                   from approving, permitting, licensing,                approve the plan. Alternatively, a
                                                 health benefits for at-risk populations.                or funding activities that do not conform             presumption of conformity applies also
                                                                                                         to the purpose of the applicable SIP for              under 40 CFR 93.153(i)(2) for prescribed
                                                 F. Transportation Conformity Program                    the control and prevention of air                     fires conducted in accordance with a
                                                    Transportation conformity is required                pollution. See CAA 176(c)(1)(A). Under                Smoke Management Program that meets
                                                 under CAA section 176(c) to ensure that                 CAA 176(c)(1)(B), conformity to an                    the requirements of the EPA’s 1998
                                                 transportation plans, transportation                    implementation plan means that federal                Interim Air Quality Policy on Wildland
                                                 improvement programs (TIPs) and                         activities will not cause or contribute to            and Prescribed Fires or an equivalent
                                                 federally supported highway and transit                 any new violations of the NAAQS,                      replacement EPA policy. The preamble
                                                 projects will not cause or contribute to                increase the frequency or severity of any             to the Exceptional Events Rule explains
                                                 any new air quality violation, increase                 existing NAAQS violation, or delay                    that the EPA adapted language
                                                 the frequency or severity of any existing               timely attainment or any required                     associated with the six basic
                                                 violation, or delay timely attainment or                interim emissions reductions or other                 components of a certifiable Smoke
                                                 any required interim emissions                          milestones contained in the applicable                Management Program for exceptional
                                                 reductions or other milestones.                         SIP.                                                  events purposes from the 1998 Interim
                                                 Transportation conformity applies to                       The general conformity program 232
                                                                                                                                                               Air Quality Policy on Wildland and
                                                 areas that are designated as                            implements CAA section 176(c)(4)(A),
                                                                                                                                                               Prescribed Fires (see, e.g., 81 FR 68216,
                                                 nonattainment or nonattainment areas                    and the criteria and procedures for
                                                                                                                                                               68252 (including footnote 75), 68256,
                                                 that have been redesignated to                          determining conformity of federal
                                                                                                                                                               October 2, 2016). The Exceptional
                                                 attainment with an approved CAA                         activities to the applicable SIP are
                                                                                                                                                               Events Rule at 40 CFR 50.14(a)(3)(ii)(A)
                                                 section 175A maintenance plan (i.e.,                    established under 40 CFR part 93
                                                                                                         subpart B, sections 93.150 through                    also indicates that certain requirements
                                                 maintenance areas) for transportation-                                                                        within the Exceptional Events Rule can
                                                                                                         93.165. General Conformity applies to
                                                 related criteria pollutants: carbon                                                                           be satisfied if a prescribed fire is
                                                                                                         federal activities that (1) would cause
                                                 monoxide, ozone, NO2, PM2.5, and PM10.                                                                        conducted under a certified Smoke
                                                                                                         emissions of relevant criteria or
                                                 Transportation conformity for the                                                                             Management Program or using
                                                                                                         precursor pollutants to originate within
                                                 revised primary annual PM2.5 NAAQS                                                                            appropriate basic smoke management
                                                                                                         nonattainment areas or areas that have
                                                 does not apply until one year after the                                                                       practices such as those identified in
                                                                                                         been redesignated to attainment with an
                                                 effective date of nonattainment                                                                               Table 1 to 40 CFR 50.14 (see e.g., 81 FR
                                                                                                         approved CAA section 175A
                                                 designations for that NAAQS. See CAA                                                                          68216, 68250–68257, 68277–68278,
                                                                                                         maintenance plan (i.e., maintenance
                                                 section 176(c)(6) and 40 CFR 93.102(d)).                                                                      October 3, 2016).
                                                                                                         areas), as set forth under 40 CFR 93.153,
                                                 The EPA’s Transportation Conformity                     and (2) are not Federal Highway                          No changes are being made to the
                                                 Rule 231 establishes the criteria and                   Administration (FHWA) or Federal                      general conformity regulations in this
                                                 procedures for determining whether                      Transit Administration (FTA)                          final rulemaking and the EPA notes that
                                                 transportation activities conform to the                transportation projects as defined in 40              the courts recognize the regulations
                                                 SIP. No changes are being made to the                   CFR 93.101 under the transportation                   constitute control for the established
                                                 transportation conformity rule in this                  conformity requirements. See 40 CFR                   PM2.5 and PM10 NAAQS. However, in
                                                 final rulemaking. The EPA notes that                    93.153. General conformity for the                    the future, the EPA intends to review
                                                 the transportation conformity rule                      revised primary annual PM2.5 NAAQS                    the need to issue or revise guidance
                                                 already addresses the PM2.5 and PM10                    does not apply until one year after the               describing how the current General
                                                 NAAQS. However, in the future, the                      effective date of the nonattainment                   Conformity regulations apply within
                                                 EPA intends to review the need to issue                 designation for that NAAQS. See 40                    nonattainment and maintenance areas
                                                 or revise guidance describing how the                   CFR 93.153(k).                                        for the revised primary annual PM2.5
                                                 current conformity rule applies in                         With regard to issues regarding                    NAAQS, as needed.233
                                                 nonattainment and maintenance areas                     prescribed fires, which were addressed                IX. Statutory and Executive Order
                                                   229 Memorandum from Joseph Goffman, Principal
                                                                                                         earlier in this action, here is some                  Reviews
                                                 Deputy Assistant Administrator, Office of Air and       additional information regarding
                                                                                                         prescribed fires and General Conformity                 Additional information about these
                                                 Radiation, to Air and Radiation Division Directors,
                                                 ‘‘Principles for Addressing Environmental Justice in    regulations. Under the General                        statutes and Executive orders can be
                                                 Air Permitting’’ (December 22, 2022), available at      Conformity regulations at 40 CFR
                                                 https://www.epa.gov/caa-permitting/ej-air-                                                                      233 Further, the EPA’s current Unified Agenda
ddrumheller on DSK120RN23PROD with RULES3




                                                 permitting-principles-addressing-environmental-         93.153(c)(4), a conformity evaluation is
                                                                                                                                                               and Regulatory Plan includes its intention to issue
                                                 justice-concerns-air.                                   not required to support a decision by a               a proposed rule to amend the General Conformity
                                                    230 Id., Attachment, ‘‘EJ in Air Permitting:         federal agency to conduct or carry out                Regulations. The EPA intends to address in that
                                                 Principles for Addressing Environmental Justice         prescribed burning when the burn is                   regulatory action topics regarding prescribed fire,
                                                 Concerns in Air Permitting’’ (December 2022),                                                                 including consideration of smoke management
                                                 available at https://www.epa.gov/caa-permitting/ej-
                                                                                                         consistent with the terms of a land
                                                                                                                                                               approaches such as those discussed in the
                                                 air-permitting-principles-addressing-                   management plan or other plan that                    Exceptional Events Rule, among other topics. See,
                                                 environmental-justice-concerns-air.                                                                           e.g., https://www.reginfo.gov/public/do/eAgenda
                                                    231 40 CFR part 93, subpart A.                         232 40 CFR part 93 subpart B.                       ViewRule?pubId=202310&RIN=2060-AV28.



                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00172   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                       USCA Case #24-1051                                    Document #2043704                                            Filed: 03/06/2024                              Page 184 of 217
                                                                        Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                                                              16373

                                                 found at https://www.epa.gov/laws-                                   Particulate Matter,’’ is available in the                              m3), associated with applying national
                                                 regulations/laws-and-executive-orders.                               Regulatory Impact Analysis (RIA)                                       control strategies for the revised annual
                                                 A. Executive Order 12866: Regulatory                                 docket (EPA–HQ–OAR–2019–0587) and                                      and 24-hour standard levels of 9/35 mg/
                                                 Planning and Review and Executive                                    briefly summarized below. However, the                                 m3, as well as the following less and
                                                 Order 14094: Modernizing Regulatory                                  CAA and judicial decisions make clear                                  more stringent alternative standard
                                                 Review                                                               that the economic and technical                                        levels: (1) A less stringent alternative
                                                                                                                      feasibility of attaining ambient                                       annual standard level of 10 mg/m3 in
                                                    This action is ‘‘significant regulatory                           standards are not to be considered in                                  combination with the current 24-hour
                                                 action’’ as defined under section 3(f)(1)                            setting or revising NAAQS, although                                    standard (i.e., 10/35 mg/m3), (2) a more
                                                 of Executive Order 12866, as amended                                 such factors may be considered in the
                                                 by Executive Order 14094. Accordingly,                                                                                                      stringent alternative annual standard
                                                                                                                      development of State plans to                                          level of 8 mg/m3 in combination with the
                                                 the EPA submitted this action to the
                                                                                                                      implement the standards. Accordingly,                                  current 24-hour standard (i.e., 8/35 mg/
                                                 Office of Management and Budget
                                                                                                                      although an RIA has been prepared, the                                 m3), and (3) a more stringent alternative
                                                 (OMB) for review. Documentation of
                                                 any changes made in response to the                                  results of the RIA have not been                                       24-hour standard level of 30 mg/m3 in
                                                 Executive Order 12866 review is                                      considered in issuing this final rule.                                 combination with an annual standard
                                                 available in the docket. The EPA                                        The RIA estimates the costs and                                     level of 10 mg/m3 (i.e., 10/30 mg/m3).
                                                 prepared an illustrative analysis of the                             monetized human health benefits in                                     Table 3 provides a summary of the
                                                 potential costs and benefits associated                              2032, after implementing existing and                                  estimated monetized benefits, costs, and
                                                 with this action. This analysis,                                     expected regulations and assessing                                     net benefits associated with applying
                                                 ‘‘Regulatory Impact Analysis for the                                 emissions reductions to meet the                                       national control strategies toward
                                                 Reconsideration of the National                                      current primary annual and 24-hour                                     reaching the revised and alternative
                                                 Ambient Air Quality Standards for                                    particulate matter NAAQS (12/35 mg/                                    standard levels.

                                                   TABLE 3—ESTIMATED MONETIZED BENEFITS, COSTS, AND NET BENEFITS OF THE ILLUSTRATIVE CONTROL STRATEGIES
                                                      APPLIED TOWARD THE PRIMARY REVISED AND ALTERNATIVE ANNUAL AND DAILY STANDARD LEVELS OF 10/35 μg/m3,
                                                      10/30 μg/m3, 9/35 μg/m3, AND 8/35 μg/m3 IN 2032 FOR THE U.S.
                                                                                                                                           [Millions of 2017$]

                                                                                                          10/35                                     10/30                                      9/35                                 8/35

                                                 Benefits a ...........................    $8,500 and $17,000 ..........             $10,000 and $21,000 ........              $22,000 and $46,000 ........               $48,000 and $99,000.
                                                 Costs b ...............................   $200 ..................................   $340 ..................................   $590 ..................................    $1,500.

                                                       Net Benefits ................       $8,300 and $17,000 ..........             $9,900 and $21,000 ..........             $22,000 and $46,000 ........               $46,000 and $97,000.
                                                    Notes: Rows may not appear to add correctly due to rounding. We provide a snapshot of costs and benefits in 2032, using the best available
                                                 information to approximate social costs and social benefits recognizing uncertainties and limitations in those estimates. The estimated costs and
                                                 monetized human health benefits associated with applying national control strategies do not fully account for all the emissions reductions needed
                                                 to reach the final and more stringent alternative standard levels for some standard levels analyzed.
                                                    a We assume that there is a cessation lag between the change in PM exposures and the total realization of changes in mortality effects. Spe-
                                                 cifically, we assume that some of the incidences of premature mortality related to PM2.5 exposures occur in a distributed fashion over the 20
                                                 years following exposure, which affects the valuation of mortality benefits at different discount rates. Similarly, we assume there is a cessation
                                                 lag between the change in PM exposures and both the development and diagnosis of lung cancer. The benefits are associated with two point
                                                 estimates from two different epidemiologic studies, and we present the benefits calculated at a real discount rate of 3 percent. The monetized
                                                 benefits exclude additional health and welfare benefits that could not be quantified.
                                                    b The costs are annualized using a 7 percent interest rate.




                                                 B. Paperwork Reduction Act (PRA)                                     The EPA and others (e.g., State and local                              trends, and conducting air pollution
                                                                                                                      air quality management agencies, tribal                                research.
                                                   This action does not impose any new                                entities, environmental organizations,
                                                 information collection burden under the                              academic institutions, industrial groups)                              C. Regulatory Flexibility Act (RFA)
                                                 PRA. OMB has previously approved the                                 use the ambient air quality data for
                                                 information collection activities                                                                                                              I certify that this action will not have
                                                                                                                      many purposes including informing the                                  a significant economic impact on a
                                                 contained in the existing regulations                                public and other interested parties of an
                                                 and has assigned OMB control number                                                                                                         substantial number of small entities
                                                                                                                      area’s air quality, judging an area’s air
                                                 2060–0084. The data collected through                                                                                                       under the RFA. This action will not
                                                                                                                      quality in comparison with the
                                                 this information collection consist of                               established health or welfare standards,                               impose any requirements on small
                                                 ambient air concentration                                            evaluating an air quality management                                   entities. Rather, this final rule
                                                 measurements for the seven air                                       agency’s progress in achieving or                                      establishes national standards for
                                                 pollutants with national ambient air                                 maintaining air pollutant levels below                                 allowable concentrations of PM in
                                                 quality standards (i.e., ozone, sulfur                               the national and local standards,                                      ambient air as required by section 109
                                                 dioxide, nitrogen dioxide, lead, carbon                              developing and revising State                                          of the CAA. See also American Trucking
                                                 monoxide, PM2.5 and PM10), ozone                                     Implementation Plans (SIPs), evaluating                                Associations v. EPA, 175 F.3d 1027,
ddrumheller on DSK120RN23PROD with RULES3




                                                 precursors, air toxics, meteorological                               air pollutant control strategies,                                      1044–45 (D.C. Cir. 1999) (NAAQS do
                                                 variables at a select number of sites, and                           developing or revising national control                                not have significant impacts upon small
                                                 other supporting measurements.                                       policies, providing data for air quality                               entities because NAAQS themselves
                                                 Accompanying the pollutant                                           model development and validation,                                      impose no regulations upon small
                                                 concentration data are quality                                       supporting enforcement actions,                                        entities), rev’d in part on other grounds,
                                                 assurance/quality control data and air                               documenting episodes and initiating                                    Whitman v. American Trucking
                                                 monitoring network design information.                               episode controls, assessing air quality                                Associations, 531 U.S. 457 (2001).


                                            VerDate Sep<11>2014       19:03 Mar 05, 2024       Jkt 262001      PO 00000      Frm 00173      Fmt 4701      Sfmt 4700      E:\FR\FM\06MRR3.SGM            06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024              Page 185 of 217
                                                 16374             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 D. Unfunded Mandates Reform Act                         G. Executive Order 13045: Protection of               retaining the primary 24-hour PM2.5
                                                 (UMRA)                                                  Children From Environmental Health                    standard provides requisite public
                                                                                                         Risks and Safety Risks                                health protection with an adequate
                                                   This action does not contain an                                                                             margin of safety, including for children.
                                                                                                            Executive Order 13045 directs federal
                                                 unfunded mandate of $100 million or                                                                           Furthermore, the Policy on Children’s
                                                                                                         agencies to include an evaluation of the
                                                 more as described in the Unfunded                       health and safety effects of the planned              Health also applies to this action.
                                                 Mandates Reform Act (UMRA), 2 U.S.C.                    regulation on children in federal health              Information on how the Policy was
                                                 1531–1538, and does not significantly or                and safety standards and explain why                  applied is described in section II.A.2
                                                 uniquely affect small governments.                      the regulation is preferable to                       ‘‘Overview of the Health Effects
                                                 Furthermore, as indicated previously, in                potentially effective and reasonably                  Evidence’’, section II.A.2.b ‘‘Public
                                                 setting a NAAQS the EPA cannot                          feasible alternatives. This action is                 Health Implications and At-Risk
                                                 consider the economic or technological                  subject to Executive Order 13045                      Populations’’ and II.B ‘‘Conclusions on
                                                 feasibility of attaining ambient air                    because it is a significant regulatory                the Primary PM2.5 Standards’’ of this
                                                 quality standards, although such factors                action under section 3(f)(1) of Executive             preamble.
                                                 may be considered to a degree in the                    Order 12866, and the EPA believes that                H. Executive Order 13211: Actions
                                                 development of State plans to                           the environmental health or safety risk               Concerning Regulations That
                                                 implement the standards. See also                       addressed by this action may have a                   Significantly Affect Energy Supply,
                                                 American Trucking Associations v.                       disproportionate effect on children.                  Distribution or Use
                                                 EPA, 175 F. 3d at 1043 (noting that                     Accordingly, we have evaluated the                       This action is not a ‘‘significant
                                                 because the EPA is precluded from                       environmental health or safety effects of             energy action’’ because it is not likely to
                                                 considering costs of implementation in                  PM exposures on children. The                         have a significant adverse effect on the
                                                 establishing NAAQS, preparation of the                  protection offered by these standards                 supply, distribution, or use of energy.
                                                 RIA pursuant to the Unfunded                            may be especially important for                       The purpose of this action is to revise
                                                 Mandates Reform Act would not furnish                   children because childhood represents a               level of the primary annual PM2.5
                                                 any information that the court could                    lifestage associated with increased                   NAAQS. The action does not prescribe
                                                 consider in reviewing the NAAQS).                       susceptibility to PM-related health                   specific pollution control strategies by
                                                                                                         effects. Because children have been                   which these ambient standards and
                                                 E. Executive Order 13132: Federalism                    identified as a susceptible population,               monitoring revisions will be met. Such
                                                                                                         we have carefully evaluated the                       strategies will be developed by States on
                                                   This action will not have substantial                 environmental health effects of
                                                 direct effects on the States, on the                                                                          a case-by-case basis, and the EPA cannot
                                                                                                         exposure to PM pollution among                        predict whether the control options
                                                 relationship between the National                       children. Children make up a                          selected by States will include
                                                 Government and the States, or on the                    substantial fraction of the U.S.                      regulations on energy suppliers,
                                                 distribution of power and                               population, and often have unique                     distributors, or users. Thus, the EPA
                                                 responsibilities among the various                      factors that contribute to their increased            concludes that this action does not
                                                 levels of government. However, the EPA                  risk of experiencing a health effect due              constitute a significant energy action as
                                                 recognizes that States will have a                      to exposures to ambient air pollutants                defined in Executive Order 13211.
                                                 substantial interest in this action and                 because of their continuous growth and
                                                 any future revisions to associated                      development. As described in the 2019                 I. National Technology Transfer and
                                                 requirements.                                           Integrated Science Assessment, children               Advancement Act (NTTAA)
                                                                                                         may be particularly at risk for health                   This rulemaking involved
                                                 F. Executive Order 13175: Consultation                  effects related to ambient air PM2.5                  environmental monitoring or
                                                 and Coordination With Indian Tribal                     exposures compared with adults                        measurement. The EPA has decided it
                                                 Governments                                             because they have (1) a developing                    will continue to use the existing
                                                   This action does not have Tribal                      respiratory system, (2) increased                     indicators for fine (PM2.5) and coarse
                                                 implications, as specified in Executive                 ventilation rates relative to body mass               (PM10) particles. The indicator for fine
                                                 Order 13175. It does not have a                         compared with adults, and (3) an                      particles is measured using the
                                                 substantial direct effect on one or more                increased proportion of oral breathing,               Reference Method for the Determination
                                                                                                         particularly in boys, relative to adults.             of Fine Particulate Matter as PM2.5 in the
                                                 Indian Tribes as Tribes are not obligated
                                                                                                         More detailed information on the                      Atmosphere (appendix L to 40 CFR part
                                                 to adopt or implement any NAAQS. In
                                                                                                         evaluation of the scientific evidence and             50), which is known as the PM2.5 FRM,
                                                 addition, Tribes are not obligated to
                                                                                                         policy considerations pertaining to                   and the indicator for coarse particles is
                                                 conduct ambient monitoring for PM or
                                                                                                         children, including an explanation for                measured using the Reference Method
                                                 to adopt the ambient monitoring                         why the Administrator judges the                      for the Determination of Particulate
                                                 requirements of 40 CFR part 58. Thus,                   revised standards to be requisite to                  Matter as PM10 in the Atmosphere
                                                 Executive Order 13175 does not apply                    protect public health, including the                  (appendix J to 40 CFR part 50), which
                                                 to this action. However, consistent with                health of children, with an adequate                  is known as the PM10 FRM.
                                                 the EPA Policy on Consultation and                      margin of safety, are contained in                       To the extent feasible, the EPA
                                                 Coordination with Indian Tribes, the                    section II.A.2. ‘‘Overview of the Health              employs a Performance-Based
                                                 EPA offered consultation to all 574                     Effects Evidence’’, section II.A.2.b                  Measurement System (PBMS), which
                                                 Federally Recognized Tribes during the                  ‘‘Public Health Implications and At-Risk              does not require the use of specific,
ddrumheller on DSK120RN23PROD with RULES3




                                                 development of this action. Although no                 Populations’’ and II.B ‘‘Conclusions on               prescribed analytic methods. The PBMS
                                                 Tribes requested consultation, the EPA                  the Primary PM2.5 Standards’’ of this                 is defined as a set of processes wherein
                                                 provided informational meetings                         preamble. Copies of all documents have                the data quality needs, mandates or
                                                 including an informational meeting                      been placed in the public docket for this             limitations of a program or project are
                                                 with the Pueblo de San Ildefonso and                    action. The Administrator judges that                 specified and serve as criteria for
                                                 provided information on the monthly                     revising the primary annual PM2.5                     selecting appropriate methods to meet
                                                 National Tribal Air Association calls.                  standard to a level of 9.0 mg/m3 and                  those needs in a cost-effective manner.


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00174   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024              Page 186 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                             16375

                                                 It is intended to be more flexible and                  populations or individuals that live in               analysis found that compared to a
                                                 cost effective for the regulated                        predominantly Black neighborhoods                     primary annual PM2.5 standard with a
                                                 community; it is also intended to                       experience higher PM2.5 exposures, in                 level of 12.0 mg/m3, meeting a revised
                                                 encourage innovation in analytical                      comparison to non-Hispanic White                      annual standard with a level of 9.0 mg/
                                                 technology and improved data quality.                   populations. There is also consistent                 m3 is estimated to reduce PM2.5-
                                                 Though the FRM defines the particular                   evidence across multiple studies that                 associated health risks in the 30 study
                                                 specifications for ambient monitors,                    demonstrate increased risk of PM2.5-                  areas controlled by the annual standard
                                                 there is some variability with regard to                related health effects, with the strongest            by about 22–28% and is expected to
                                                 how monitors measure PM, depending                      evidence for health risk disparities for              reduce disparities in exposure and risk
                                                 on the type and size of PM and                          mortality. There is also evidence of                  among these populations.
                                                 environmental conditions. Therefore, it                 health risk disparities for both Hispanic                The information supporting this
                                                 is not practically possible to fully define             and non-Hispanic Black populations                    Executive Order review is is contained
                                                 the FRM in performance terms to                         compared to non-Hispanic White                        in sections II.A.2, II.B.3.a, II.B.3.c, II.B.2,
                                                 account for this variability.                           populations for cause-specific mortality              and II.B.4. of this preamble and also in
                                                 Nevertheless, our approach in the past                  and incident hypertension.                            the 2019 Integrated Science Assessment,
                                                 has resulted in multiple brands of                         Socioeconomic status (SES) is a                    Supplement to the 2019 Integrated
                                                 monitors being approved as FRM for                      composite measure that includes                       Science Assessment, and 2022 Policy
                                                 PM, and we expect this to continue.                     metrics such as income, occupation, or                Assessment. The EPA has carefully
                                                 Also, the FRMs described in 40 CFR                      education, and can play a role in access              evaluated the potential impacts on
                                                 part 50 and the equivalency criteria                    to healthy environments as well as                    minority populations and low SES
                                                 described in 40 CFR part 53, constitute                 access to healthcare. SES may be a                    populations as discussed in sections
                                                 a performance-based measurement                         factor that contributes to differential risk          II.A.2, II.A.3, II.B.2, and II.B.4 of this
                                                 system for PM, since methods that meet                  from PM2.5-related health effects.                    preamble. The 2019 Integrated Science
                                                 the field testing and performance                       Studies assessed in the 2019 Integrated               Assessment, Supplement to the
                                                 criteria can be approved as FEMs. Since                 Science Assessment and Supplement to                  Integrated Science Assessment, and
                                                 finalized in 2006 (71 FR 61236, October                 the 2019 Integrated Science Assessment                2022 Policy Assessment contain the
                                                 17, 2006) the new field and performance                 provide evidence that lower SES                       evaluation of the scientific evidence,
                                                 criteria for approval of PM2.5 continuous               communities are exposed to higher                     quantitative risk analyses and policy
                                                 FEMs has resulted in the approval of 13                 concentrations of PM2.5 compared to                   considerations that pertain to these
                                                 approved FEMs. In summary, for                          higher SES communities. Studies using                 populations. These documents are
                                                 measurement of PM2.5 and PM10, the                      composite measures of neighborhood                    available in the public docket for this
                                                 EPA relies on both FRMs and FEMs,                       SES consistently demonstrated a                       action.
                                                 with FEMs relying on a PBMS approach                    disparity in both PM2.5 exposure and the
                                                 for their approval. The EPA is not                      risk of PM2.5-related health outcomes.                K. Congressional Review Act (CRA)
                                                 precluding the use of any other method,                 There is some evidence that supports                    This action is subject to the CRA, and
                                                 whether it constitutes a voluntary                      associations larger in magnitude                      the EPA will submit a rule report to
                                                 consensus standard or not, as long as it                between mortality and long-term PM2.5                 each House of the Congress and to the
                                                 meets the specified performance                         exposures for those with low income or                Comptroller General of the United
                                                 criteria.                                               living in lower income areas compared                 States. This action meets the criteria set
                                                                                                         to those with higher income or living in              forth in 5 U.S.C. 804(2).
                                                 J. Executive Order 12898: Federal                       higher income neighborhoods.
                                                 Actions To Address Environmental                        Additionally, evidence supports                       References
                                                 Justice in Minority Populations and                     conclusions that lower SES is associated              Abt Associates, Inc. (2001). Assessing public
                                                 Low-Income Populations and Executive                    with cause-specific mortality and                         opinions on visibility impairment due to
                                                 Order 14096: Revitalizing Our Nation’s                  certain health endpoints (i.e., HI and                    air pollution: Summary report. U.S.
                                                 Commitment to Environmental Justice                     CHF), but less so for all-cause or total                  Environmental Protection Agency.
                                                 for All                                                 (non-accidental) mortality.                               Research Triangle Park, NC. Available at:
                                                    The EPA believes that the human                                                                                https://www3.epa.gov/ttn/naaqs/
                                                                                                            The EPA believes that this action is
                                                                                                                                                                   standards/pm/data/vis_rpt_final.pdf.
                                                 health or environmental conditions                      likely to reduce existing                             Abt Associates, Inc. (2005). Particulate matter
                                                 associated with the primary PM2.5                       disproportionate and adverse effects on                   health risk assessment for selected urban
                                                 NAAQS that exist prior to this action                   communities with environmental justice                    areas: Draft report. EPA Contract No. 68–
                                                 result in or have the potential to result               concerns.                                                 D–03–002. U.S. Environmental
                                                 in disproportionate and adverse human                      The EPA additionally identified and                    Protection Agency. Research Triangle
                                                 health or environmental effects on                      addressed environmental justice                           Park, NC. Available at: http://
                                                 communities with environmental justice                  concerns by providing opportunities for                   www3.epa.gov/ttn/naaqs/standards/pm/
                                                 concerns. There is strong evidence for                  public input on the proposed decisions.                   data/PMrisk20051220.pdf.
                                                                                                                                                               ATS (2000). What Constitutes an Adverse
                                                 racial and ethnic disparities in PM2.5                  The EPA held a multi-day virtual public                   Health Effect of Air Pollution? American
                                                 exposures and PM2.5-related health risk,                hearing for the public to provide oral                    Journal of Respiratory and Critical Care
                                                 as assessed in the 2019 Integrated                      testimony and there was a 60-day public                   Medicine 161(2): 665–673.
                                                 Science Assessment and with even more                   comment period for the proposed                       BBC Research & Consulting (2003). Phoenix
                                                 evidence available since the literature                 action. As described in section II.A.3                    area visibility survey. Denver, CO.
                                                                                                         above, the EPA conducted a risk                           Available at: https://
ddrumheller on DSK120RN23PROD with RULES3




                                                 cutoff date for the 2019 Integrated
                                                 Science Assessment and evaluated in                     assessment to support this action that                    www.regulations.gov/document/EPA-
                                                 the Supplement to the 2019 Integrated                   included an at-risk analysis that                         HQ-OAR-2015-0072-0089.
                                                                                                                                                               Behbod, B, Urch, B, Speck, M, Scott, JA, Liu,
                                                 Science Assessment. There is strong                     evaluates exposure and PM2.5 mortality                    L, Poon, R, Coull, B, Schwartz, J,
                                                 evidence demonstrating that Black and                   risk for older adults (e.g., 65 years and                 Koutrakis, P, Silverman, F and Gold, DR
                                                 Hispanic populations, in particular,                    older), stratified for White, Black, Asian,               (2013). Endotoxin in concentrated coarse
                                                 have higher PM2.5 exposures than non-                   Native American, Non-Hispanic, and                        and fine ambient particles induces acute
                                                 Hispanic White populations. Black                       Hispanic individuals. This at-risk                        systemic inflammation in controlled



                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00175   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024              Page 187 of 217
                                                 16376             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                      human exposures. Occupational and                       United States. Atmospheric Environment           Di, Q, Dai, L, Wang, Y, Zanobetti, A, Choirat,
                                                      Environmental Medicine 70(11): 761–                     175: 25–32.                                           C, Schwartz, JD and Dominici, F (2017a).
                                                      767.                                               Chen, H, Burnett, RT, Copes, R, Kwong, JC,                 Association of short-term exposure to air
                                                 Bell, ML, Ebisu, K, Peng, RD, Walker, J,                     Villeneuve, PJ, Goldberg, MS, Brook, RD,              pollution with mortality in older adults.
                                                      Samet, JM, Zeger, SL and Dominic, F                     van Donkelaar, A, Jerrett, M, Martin, RV,             JAMA: Journal of the American Medical
                                                      (2008). Seasonal and regional short-term                Brook, JR, Kopp, A and Tu, JV (2016).                 Association 318(24): 2446–2456.
                                                      effects of fine particles on hospital                   Ambient fine particulate matter and              Di, Q, Kloog, I, Koutrakis, P, Lyapustin, A,
                                                      admissions in 202 U.S. counties, 1999–                  mortality among survivors of myocardial               Wang, Y and Schwartz, J (2016).
                                                      2005. American Journal of Epidemiology                  infarction: population-based cohort                   Assessing PM2.5 exposures with high
                                                      168(11): 1301–1310.                                     study. Environmental Health                           spatiotemporal resolution across the
                                                 Bellavia, A, Urch, B, Speck, M, Brook, RD,                   Perspectives 124(9): 1421–1428.                       Continental United States.
                                                      Scott, JA, Albetti, B, Behbod, B, North,           Correia, AW, Pope, CA, III, Dockery, DW,                   Environmental Science and Technology
                                                      M, Valeri, L, Bertazzi, PA, Silverman, F,               Wang, Y, un, Ezzati, M and Dominici, F                50(9): 4712–4721.
                                                      Gold, D and Baccarelli, AA (2013). DNA                  (2013). Effect of air pollution control on       Di, Q, Wang, Y, Zanobetti, A, Wang, Y,
                                                      hypomethylation, ambient particulate                    life expectancy in the United States: an              Koutrakis, P, Choirat, C, Dominici, F and
                                                      matter, and increased blood pressure:                   analysis of 545 U.S. counties for the                 Schwartz, JD (2017b). Air pollution and
                                                      Findings from controlled human                          period from 2000 to 2007. Epidemiology                mortality in the Medicare population.
                                                      exposure experiments. Journal of the                    24(1): 23–31.                                         New England Journal of Medicine
                                                      American Heart Association 2(3):                   Corrigan, AE, Becker, MM, Neas, LM, Cascio,                376(26): 2513–2522.
                                                      e000212.                                                WE and Rappold, AG (2018). Fine                  Dominici, F, Schwartz, J, Di, Q, Braun, D,
                                                 Bennett, JE, Tamura-Wicks, H, Parks, RM,                     particulate matters: The impact of air                Choirat, C and Zanobetti, A (2019).
                                                      Burnett, RT, Pope, CA, Bechle, MJ,                      quality standards on cardiovascular                   Assessing adverse health effects of long-
                                                      Marshall, JD, Danaei, G and Ezzati, M                   mortality. Environmental research 161:                term exposure to low levels of ambient
                                                      (2019). Particulate matter air pollution                364–369.                                              air pollution: Phase 1. Health Effects
                                                      and national and county life expectancy            Cox, LA. (2019a). Letter from Louis Anthony                Institute. Boston, MA. Available at:
                                                      loss in the USA: A spatiotemporal                       Cox, Jr., Chair, Clean Air Scientific                 https://www.healtheffects.org/system/
                                                      analysis. PLoS Medicine 16(7):                          Advisory Committee, to Administrator                  files/dominici-rr-200-report.pdf.
                                                      e1002856.                                               Andrew R. Wheeler. Re: CASAC Review              Ely, DW, Leary, JT, Stewart, TR and Ross, DM
                                                 Besson, P, Muñoz, C, Ramı́rez-Sagner, G,                    of the EPA’s Integrated Science                       (1991). The establishment of the Denver
                                                      Salgado, M, Escobar, R and Platzer, W                   Assessment for Particulate Matter                     Visibility Standard. Colorado
                                                      (2017). Long-Term Soiling Analysis for                  (External Review Draft—October 2018).                 Department of Health. Denver, Colorado.
                                                                                                              April 11, 2019. EPA–CASAC–19–002.
                                                      Three Photovoltaic Technologies in                                                                       Erickson, AC, Christidis, T, Pappin, A, Brook,
                                                                                                              Office of the Administrator, Science
                                                      Santiago Region. IEEE Journal of                                                                              JR, Crouse, DL, Hystad, P, Li, C, Martin,
                                                                                                              Advisory Board U.S. EPA HQ,
                                                      Photovoltaics 7(6): 1755–1760.                                                                                RV, Meng, J, Pinault, L, von Donkelaar,
                                                                                                              Washington DC. Available at: https://
                                                 Bourdrel, T, Annesi-Maesano, I, Alahmad, B,                                                                        A, Weichenthal, S, Tjepkema, M,
                                                                                                              casac.epa.gov/ords/sab/r/sab_apex/
                                                      Maesano, CN and Bind, MA (2021). The                                                                          Burnett, RT and Brauer, M (2020).
                                                                                                              casac/0?report_
                                                      impact of outdoor air pollution on                      id=1069&request=APPLICATION_                          Disease assimilation: The mortality
                                                      COVID–19: a review of evidence from in                  PROCESS%3DREPORT_                                     impacts of fine particulate matter on
                                                      vitro, animal, and human studies.                       DOC&session=7184955370570.                            immigrants to Canada. Health Reports
                                                      30(159).                                           Cox, LA. (2019b). Letter from Louis Anthony                31(3): 14–26.
                                                 Bräuner, EV, M<ller, P, Barregard, L,                       Cox, Jr., Chair, Clean Air Scientific            Eum, K, Suh, HH, Pun, V and Manjourides,
                                                      Dragsted, LO, Glasius, M, Wåhlin, P,                   Advisory Committee, to Administrator                  J (2018). Impact of long-term temporal
                                                      Vinzents, P, Raaschou-Nielsen, O and                    Andrew R. Wheeler. Re: CASAC Review                   trends in fine particulate matter (PM2.5)
                                                      Loft, S (2008). Exposure to ambient                     of the EPA’s Policy Assessment for the                on association of annual PM2.5 exposure
                                                      concentrations of particulate air                       Review of the National Ambient Air                    and mortality: an analysis of over 20
                                                      pollution does not influence vascular                   Quality Standards for Particulate Matter              million Medicare beneficiaries.
                                                      function or inflammatory pathways in                    (External Review Draft—September                      Environmental Epidemiology 2(2): e009.
                                                      young healthy individuals. Particle and                 2019). December 16, 2019. EPA–CASAC–             Fiore, AM, Naik, V and Leibensperger, EM
                                                      Fibre Toxicology 5: 13.                                 20–001. Office of the Administrator,                  (2015). Air quality and climate
                                                 Brook, RD, Urch, B, Dvonch, JT, Bard, RL,                    Science Advisory Board U.S. EPA HQ,                   connections. Journal of the Air and
                                                      Speck, M, Keeler, G, Morishita, M,                      Washington DC. Available at: https://                 Waste Management Association 65(6):
                                                      Marsik, FJ, Kamal, AS, Kaciroti, N,                     casac.epa.gov/ords/sab/r/sab_apex/                    645–685.
                                                      Harkema, J, Corey, P, Silverman, F, Gold,               casac/0?report_                                  Frank, N. (2012). Memorandum to PM
                                                      DR, Wellenius, G, Mittleman, MA,                        id=1073&request=APPLICATION_                          NAAQS Review Docket (EPA–HQ–OAR–
                                                      Rajagopalan, S and Brook, JR (2009).                    PROCESS%3DREPORT_                                     2007–0492) regarding the Differences
                                                      Insights into the mechanisms and                        DOC&session=6224161457429.                            between maximum and composite
                                                      mediators of the effects of air pollution          DeFlorio-Barker, S, Crooks, J, Reyes, J and                monitor annual PM2.5 design values by
                                                      exposure on blood pressure and vascular                 Rappold, AG (2019). Cardiopulmonary                   CBSA. Dec 14, 2012. Docket ID No. EPA–
                                                      function in healthy humans.                             effects of fine particulate matter                    HQ–OAR–2007–0492. Office of Air
                                                      Hypertension 54(3): 659–667.                            exposure among older adults, during                   Quality Planning and Standards
                                                 Burns, J, Boogaard, H, Polus, S, Pfadenhauer,                wildfire and non-wildfire periods, in the             Research Triangle Park, NC. Available at:
                                                      LM, Rohwer, AC, van Erp, AM, Turley,                    United States 2008–2010. Environmental                https://www.regulations.gov/document/
                                                      R and Rehfuess, E (2019). Interventions                 health perspectives 127(3): 037006.                   EPA-HQ-OAR-2007-0492-10099.
                                                      to reduce ambient particulate matter air           DHEW (1969). Air Quality Criteria for                 Franklin, M, Zeka, A and Schwartz, J (2007).
                                                      pollution and their effect on health.                   Particulate Matter. National Air                      Association between PM2.5 and all-cause
                                                      Cochrane Database of Systematic                         Pollution Control Administration.                     and specific-cause mortality in 27 US
                                                      Reviews (5).                                            Washington, DC U.S. Department of                     communities. Journal of Exposure
                                                 Cangerana Pereira, FA, Lemos, M, Mauad, T,                   Health. January 1969.                                 Science and Environmental
ddrumheller on DSK120RN23PROD with RULES3




                                                      de Assuncao, JV and Nascimento                     Di, Q, Amini, H, Shi, L, Kloog, I, Silvern, R,             Epidemiology 17(3): 279–287.
                                                      Saldiva, PH (2011). Urban, traffic-related              Kelly, J, Sabath, MB, Choirat, C,                Gantt, B, Owen, RC and Watkins, N (2021).
                                                      particles and lung tumors in urethane                   Koutrakis, P and Lyapustin, A (2019). An              Characterizing Nitrogen Oxides and Fine
                                                      treated mice. Clinics 66(6): 1051–1054.                 ensemble-based model of PM2.5                         Particulate Matter near Major Highways
                                                 Chan, EAW, Gantt, B and McDow, S (2018).                     concentration across the contiguous                   in the United States Using the National
                                                      The reduction of summer sulfate and                     United States with high spatiotemporal                Near-Road Monitoring Network.
                                                      switch from summertime to wintertime                    resolution. Environment International                 Environmental science & technology
                                                      PM2.5 concentration maxima in the                       130: 104909.                                          55(5): 2831–2838.



                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00176   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024              Page 188 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                            16377

                                                 Ghio, AJ, Hall, A, Bassett, MA, Cascio, WE                   States associated with reduced coal                  Stafoggia, M, Scortichini, M, Hashizume,
                                                     and Devlin, RB (2003). Exposure to                       emissions between 2005 and 2012.                     M, Honda, Y, Hurtado-Dı́az, M, Cruz, J,
                                                     concentrated ambient air particles alters                Epidemiology 30(4): 477–485.                         Nunes, B, Teixeira, JP, Kim, H, Tobias,
                                                     hematologic indices in humans.                      Hutchinson, JA, Vargo, J, Milet, M, French,               A, Íñiguez, C, Forsberg, B, Åström, C,
                                                     Inhalation Toxicology 15(14): 1465–                      NH, Billmire, M, Johnson, J and Hoshiko,             Ragettli, MS, Guo, YL, Chen, BY, Bell,
                                                     1478.                                                    S (2018). The San Diego 2007 wildfires               ML, Wright, CY, Scovronick, N, Garland,
                                                 Ghio, AJ, Kim, C and Devlin, RB (2000).                      and Medi-Cal emergency department                    RM, Milojevic, A, Kyselý, J, Urban, A,
                                                     Concentrated ambient air particles                       presentations, inpatient hospitalizations,           Orru, H, Indermitte, E, Jaakkola, JJK,
                                                     induce mild pulmonary inflammation in                    and outpatient visits: An observational              Ryti, NRI, Katsouyanni, K, Analitis, A,
                                                     healthy human volunteers. American                       study of smoke exposure periods and a                Zanobetti, A, Schwartz, J, Chen, J, Wu,
                                                     Journal of Respiratory and Critical Care                 bidirectional case-crossover analysis.               T, Cohen, A, Gasparrini, A and Kan, H
                                                     Medicine 162(3): 981–988.                                PLoS medicine 15(7): e1002601.                       (2019). Ambient Particulate Air Pollution
                                                 Greven, S, Dominici, F and Zeger, S (2011).             IPCC (2013). Climate change 2013: The                     and Daily Mortality in 652 Cities. New
                                                     An Approach to the Estimation of                         physical science basis. Contribution of              England Journal of Medicine 381(8):
                                                     Chronic Air Pollution Effects Using                      working group I to the fifth assessment              705–715.
                                                     Spatio-Temporal Information. Journal of                  report of the Intergovernmental Panel on         Lowenthal, DH and Kumar, N (2004).
                                                     the American Statistical Association                     Climate Change. T. F. Stocker, D. Qin, G.            Variation of mass scattering efficiencies
                                                     106(494): 396–406.                                       K. Plattner et al. Cambridge University              in IMPROVE. Journal of the Air and
                                                 Gr<ntoft, T, Verney-Carron, A and Tidblad, J                 Press. Cambridge, UK.                                Waste Management Association (1990–
                                                     (2019). Cleaning Costs for European                 Kloog, I, Ridgway, B, Koutrakis, P, Coull, BA             1992) 54(8): 926–934.
                                                     Sheltered White Painted Steel and                        and Schwartz, JD (2013). Long- and               Lowenthal, DH and Kumar, N (2016).
                                                     Modern Glass Surfaces Due to Air                         short-term exposure to PM2.5 and                     Evaluation of the IMPROVE Equation for
                                                     Pollution Since the Year 2000.                           mortality: Using novel exposure models.              estimating aerosol light extinction.
                                                     Atmosphere 10(4): 167.                                   Epidemiology 24(4): 555–561.                         Journal of the Air and Waste
                                                 Hammer, MS, van Donkelaar, A, Li, C,                    Krewski, D, Jerrett, M, Burnett, RT, Ma, R,               Management Association 66(7): 726–737.
                                                     Lyapustin, A, Sayer, AM, Hsu, NC, Levy,                  Hughes, E, Shi, Y, Turner, MC, Pope, CA,         Lucking, AJ, Lundbäck, M, Barath, SL, Mills,
                                                     RC, Garay, MJ, Kalashnikova, OV and                      III, Thurston, G, Calle, EE, Thun, MJ,               NL, Sidhu, MK, Langrish, JP, Boon, NA,
                                                     Kahn, RA (2020). Global estimates and                    Beckerman, B, Deluca, P, Finkelstein, N,             Pourazar, J, Badimon, JJ, Gerlofs-Nijland,
                                                     long-term trends of fine particulate                     Ito, K, Moore, DK, Newbold, KB,                      ME, Cassee, FR, Boman, C, Donaldson,
                                                     matter concentrations (1998–2018).                       Ramsay, T, Ross, Z, Shin, H and                      K, Sandstrom, T, Newby, DE and
                                                     Environmental Science & Technology                       Tempalski, B (2009). Extended follow-up              Blomberg, A (2011). Particle traps
                                                     54(13): 7879–7890.                                       and spatial analysis of the American                 prevent adverse vascular and
                                                 Hart, JE, Liao, X, Hong, B, Puett, RC,                       Cancer Society study linking particulate             prothrombotic effects of diesel engine
                                                     Yanosky, JD, Suh, H, Kioumourtzoglou,                    air pollution and mortality. ISSN 1041–              exhaust inhalation in men. Circulation
                                                     MA, Spiegelman, D and Laden, F (2015).                   5505, HEI Research Report 140. Health                123(16): 1721–1728.
                                                     The association of long-term exposure to                 Effects Institute. Boston, MA. Available         Malm, WC and Hand, JL (2007). An
                                                     PM2.5 on all-cause mortality in the                      at: https://www.healtheffects.org/system/            examination of the physical and optical
                                                     Nurses’ Health Study and the impact of                   files/Krewski140Statement.pdf.                       properties of aerosols collected in the
                                                     measurement-error correction.                       Laden, F, Schwartz, J, Speizer, FE and                    IMPROVE program. Atmospheric
                                                     Environmental Health: A Global Access                    Dockery, DW (2006). Reduction in fine                Environment 41(16): 3407–3427.
                                                     Science Source 14: 38.                                   particulate air pollution and mortality:         Malm, WC, Schichtel, B, Molenar, J, Prenni,
                                                 Hassett-Sipple, B, Schmidt, M and Rajan, P.                  extended follow-up of the Harvard Six                A and Peters, M (2019). Which visibility
                                                     (2010). Memorandum to PM NAAQS                           Cities study. American Journal of                    indicators best represent a population’s
                                                     Review Docket (EPA–HQ–OAR–2007–                          Respiratory and Critical Care Medicine               preference for a level of visual air
                                                     0492). Analysis of PM2.5 (Particulate                    173(6): 667–672.                                     quality? Journal of the Air & Waste
                                                     Matter Smaller than 2.5 Micrometers in              Lavigne, E, Burnett, RT and Weichenthal, S                Management Association 69(2): 145–161.
                                                     Diameter). Mar 30, 2010. Docket ID No.                   (2018). Association of short-term                Malm, WC, Sisler, JF, Huffman, D, Eldred,
                                                     EPA–HQ–OAR–2007–0492. Office of Air                      exposure to fine particulate air pollution           RA and Cahill, TA (1994). Spatial and
                                                     Quality Planning and Standards                           and mortality: effect modification by                seasonal trends in particle concentration
                                                     Research Triangle Park, NC. Available at:                oxidant gases. Scientific Reports 8(1):              and optical extinction in the United
                                                     https://www.regulations.gov/document/                    16097.                                               States. Journal of Geophysical Research
                                                     EPA-HQ-OAR-2007-0492-0077.                          Lee, M, Koutrakis, P, Coull, B, Kloog, I and              99(D1): 1347–1370.
                                                 Hemmingsen, JG, Jantzen, K, M<ller, P and                    Schwartz, J (2015). Acute effect of fine         Mauad, T, Rivero, DH, de Oliveira, RC,
                                                     Loft, S (2015a). No oxidative stress or                  particulate matter on mortality in three             Lichtenfels, AJ, Guimaraes, ET, de
                                                     DNA damage in peripheral blood                           Southeastern states from 2007–2011.                  Andre, PA, Kasahara, DI, Bueno, HM and
                                                     mononuclear cells after exposure to                      Journal of Exposure Science and                      Saldiva, PH (2008). Chronic exposure to
                                                     particles from urban street air in                       Environmental Epidemiology 26(2): 173–               ambient levels of urban particles affects
                                                     overweight elderly. Mutagenesis 30(5):                   179.                                                 mouse lung development. American
                                                     635–642.Hemmingsen, JG, Rissler, J,                 Lepeule, J, Laden, F, Dockery, D and                      Journal of Respiratory and Critical Care
                                                     Lykkesfeldt, J, Sallsten, G, Kristiansen, J,             Schwartz, J (2012). Chronic exposure to              Medicine 178(7): 721–728.
                                                     M<ller, P and Loft, S (2015). Controlled                 fine particles and mortality: an extended        Mie, G (1908). Beitrage zur Optik truber
                                                     exposure to particulate matter from                      follow-up of the Harvard Six Cities study            Medien, speziell kolloidaler
                                                     urban street air is associated with                      from 1974 to 2009. Environmental                     Metallosungen [Optics of cloudy media,
                                                     decreased vasodilation and heart rate                    Health Perspectives 120(7): 965–970.                 especially colloidal metal solutions].
                                                     variability in overweight and older                 Lippmann, M, Chen, LC, Gordon, T, Ito, K                  Annalen der Physik 25(3): 377–445.
                                                     adults. Particle and Fibre Toxicology                    and Thurston, GD (2013). National                Miller, KA, Siscovick, DS, Sheppard, L,
                                                     12(1): 6.                                                Particle Component Toxicity (NPACT)                  Shepherd, K, Sullivan, JH, Anderson, GL
                                                 Henneman, LR, Liu, C, Mulholland, JA and                     Initiative: Integrated epidemiologic and             and Kaufman, JD (2007). Long-term
ddrumheller on DSK120RN23PROD with RULES3




                                                     Russell, AG (2017). Evaluating the                       toxicologic studies of the health effects            exposure to air pollution and incidence
                                                     effectiveness of air quality regulations: A              of particulate matter components:                    of cardiovascular events in women. New
                                                     review of accountability studies and                     Investigators’ Report. 177. Health Effects           England Journal of Medicine 356(5):
                                                     frameworks. Journal of the Air Waste                     Institute. Boston, MA.                               447–458.
                                                     Management Association 67(2): 144–172.              Liu, C, Chen, R, Sera, F, Vicedo-Cabrera, AM,         Myhre, G, Shindell, D, Bréon, FM, Collins,
                                                 Henneman, LRF, Choirat, C and Zigler, ACM                    Guo, Y, Tong, S, Coelho, M, Saldiva,                 W, Fuglestvedt, J, Huang, J, Koch, D,
                                                     (2019). Accountability assessment of                     PHN, Lavigne, E, Matus, P, Valdes                    Lamarque, JF, Lee, D, Mendoza, B,
                                                     health improvements in the United                        Ortega, N, Osorio Garcia, S, Pascal, M,              Nakajima, T, Robock, A, Stephens, G,



                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00177   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024              Page 189 of 217
                                                 16378             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                      Takemura, T and Zhang, H, Eds. (2013).                 Bueno-De-mesquita, B, Key, TJ, De                      at: https://casac.epa.gov/ords/sab/r/sab_
                                                      Anthropogenic and natural radiative                    Hoogh, K, Concin, H, Nagel, G, Vilier, A,              apex/casac/0?report_
                                                      forcing. Cambridge University Press                    Grioni, S, Krogh, V, Tsai, MY, Ricceri, F,             id=1094&request=APPLICATION_
                                                      Cambridge, UK.                                         Sacerdote, C, Galassi, C, Migliore, E,                 PROCESS%3DREPORT_
                                                 NHLBI (2017). ‘‘NHLBI fact book, fiscal year                Ranzi, A, Cesaroni, G, Badaloni, C,                    DOC&session=7184955370570.
                                                      2012: Disease statistics.’’ Retrieved                  Forastiere, F, Tamayo, I, Amiano, P,              Sheppard, EA. (2022b). Letter from Elizabeth
                                                      August 23, 2017, from https://                         Dorronsoro, M, Trichopoulou, A, Bamia,                 A. (Lianne) Sheppard, Chair, Clean Air
                                                      web.archive.org/web/20170711012213/                    C, Vineis, P and Hoek, G (2013). Air                   Scientific Advisory Committee, to
                                                      http://www.nhlbi.nih.gov/about/                        pollution and lung cancer incidence in                 Administrator Michael S. Regan. Re:
                                                      documents/factbook/2012/chapter4.                      17 European cohorts: Prospective                       CASAC Review of the EPA’s Supplement
                                                 Orr, A, AL Migliaccio, C, Buford, M, Ballou,                analyses from the European Study of                    to the 2019 Integrated Science
                                                      S and Migliaccio, CT (2020). Sustained                 Cohorts for Air Pollution Effects                      Assessment for Particulate Matter
                                                      effects on lung function in community                  (ESCAPE). The Lancet Oncology 14(9):                   (External Review Draft—October 2021).
                                                      members following exposure to                          813–822.                                               EPA–CASAC–22–001. Office of the
                                                      hazardous pm2. 5 levels from wildfire              Ramanathan, G, Yin, F, Speck, M, Tseng, CH,                Administrator, Science Advisory Board
                                                      smoke. Toxics 8(3): 53.                                Brook, JR, Silverman, F, Urch, B, Brook,               U.S. EPA HQ, Washington DC. Available
                                                 Pitchford, M, Maim, W, Schichtel, B, Kumar,                 RD and Araujo, JA (2016). Effects of                   at: https://casac.epa.gov/ords/sab/r/sab_
                                                      N, Lowenthal, D and Hand, J (2007).                    urban fine particulate matter and ozone                apex/casac/0?report_
                                                      Revised algorithm for estimating light                 on HDL functionality. Particle and Fibre               id=1093&request=APPLICATION_
                                                      extinction from IMPROVE particle                       Toxicology 13(1): 26.                                  PROCESS%3DREPORT_
                                                      speciation data. Journal of the Air and            Ryan, PA, Lowenthal, D and Kumar, N                        DOC&session=10813926997922.
                                                      Waste Management Association 57(11):                   (2005). Improved light extinction                 Shi, L, Zanobetti, A, Kloog, I, Coull, BA,
                                                      1326–1336.                                             reconstruction in interagency monitoring               Koutrakis, P, Melly, SJ and Schwartz, JD
                                                 Pope, CA, III, Burnett, RT, Thurston, GD,                   of protected visual environments.                      (2016). Low-concentration PM2.5 and
                                                      Thun, MJ, Calle, EE, Krewski, D and                    Journal of the Air and Waste                           mortality: estimating acute and chronic
                                                      Godleski, JJ (2004). Cardiovascular                    Management Association 55(11): 1751–                   effects in a population-based study.
                                                      mortality and long-term exposure to                    1759.                                                  Environmental Health Perspectives
                                                      particulate air pollution: epidemiological         Sacks, JD, Ito, K, Wilson, WE and Neas, LM                 124(1): 46–52.
                                                      evidence of general pathophysiological                 (2012). Impact of covariate models on the         Shin, HH, Gogna, P, Maquiling, A, Parajuli,
                                                      pathways of disease. Circulation 109(1):               assessment of the air pollution-mortality              RP, Haque, L and Burr, B (2021).
                                                      71–77.                                                 association in a single- and                           Comparison of hospitalization and
                                                 Pope, CA, III, Ezzati, M and Dockery, DW                    multipollutant context. American                       mortality associated with short-term
                                                      (2009). Fine-particulate air pollution and             Journal of Epidemiology 176(7): 622–                   exposure to ambient ozone and PM2.5 in
                                                      life expectancy in the United States. New              634.                                                   Canada. Chemosphere 265: 128683.
                                                      England Journal of Medicine 360(4):                Sanders, NJ, Barreca, AI and Neidell, MJ              Sivagangabalan, G, Spears, D, Masse, S, Urch,
                                                      376–386.                                               (2020a). Estimating causal effects of                  B, Brook, RD, Silverman, F, Gold, DR,
                                                 Pruitt, E. (2018). Memorandum from E. Scott                 particulate matter regulation on                       Lukic, KZ, Speck, M, Kusha, M, Farid, T,
                                                      Pruitt, Administrator, U.S. EPA to                     mortality. Epidemiology (Cambridge,                    Poku, K, Shi, E, Floras, J and
                                                      Assistant Administrators. Back-to-Basics               Mass.) 31(2): 160.                                     Nanthakumar, K (2011). The effect of air
                                                      Process for Reviewing National Ambient             Sanders, NJ, Barreca, AI and Neidell, MJ                   pollution on spatial dispersion of
                                                      Air Quality Standards. May 9, 2018.                    (2020b). Estimating Causal Effects of                  myocardial repolarization in healthy
                                                      Office of the Administrator U.S. EPA                   Particulate Matter Regulation on                       human volunteers. Journal of the
                                                      HQ, Washington DC. Available at:                       Mortality. Epidemiology 31(2): 160–167.                American College of Cardiology 57(2):
                                                      https://www.epa.gov/criteria-air-                  Schwartz, J, Austin, E, Bind, MA, Zanobetti,               198–206.
                                                      pollutants/back-basics-process-                        A and Koutrakis, P (2015). Estimating             Smith, AE and Howell, S (2009). An
                                                      reviewing-national-ambient-air-quality-                causal associations of fine particles with             assessment of the robustness of visual air
                                                      standards.                                             daily deaths in Boston. American Journal               quality preference study results. CRA
                                                 Pryor, SC (1996). Assessing public perception               of Epidemiology 182(7): 644–650.                       International. Washington, DC. Available
                                                      of visibility for standard setting                 Schwartz, J, Bind, MA and Koutrakis, P                     at: https://www.regulations.gov/
                                                      exercises. Atmospheric Environment                     (2017). Estimating causal effects of local             document/EPA-HQ-ORD-2007-0517-
                                                      30(15): 2705–2716.                                     air pollution on daily deaths: Effect of               0085.
                                                 Puett, RC, Hart, JE, Yanosky, JD, Spiegelman,               low levels. Environmental Health                  Statistics Canada (2023). Census Profile. 2021
                                                      D, Wang, M, Fisher, JA, Hong, B and                    Perspectives 125(1): 23–29.                            Census of Population. Statistics Canada
                                                      Laden, F (2014). Particulate matter air            Schwartz, J, Wei, Y, Di, Q, Dominici, F and                Catalogue no. 98–316–X2021001.
                                                      pollution exposure, distance to road, and              Zanobetti, A (2021). A national                        Ottawa. Released March 29, 2023.
                                                      incident lung cancer in the Nurses’                    difference in differences analysis of the              Available at: https://www12.statcan.
                                                      Health Study cohort. Environmental                     effect of PM2. 5 on annual death rates.                gc.ca/census-recensement/2021/dp-pd/
                                                      Health Perspectives 122(9): 926–932.                   Environmental Research 194: 110649.                    prof/index.cfm?Lang=E.
                                                 Pun, VC, Kazemiparkouhi, F, Manjourides, J              Schwartz, JD, Wang, Y, Kloog, I, Yitshak-             Thurston, GD, Kipen, H, Annesi-Maesano, I,
                                                      and Suh, HH (2017). Long-term PM2.5                    Sade, M, Dominici, F and Zanobetti, A                  Balmes, J, Brook, RD, Cromar, K, De
                                                      exposures and respiratory, cancer and                  (2018). Estimating the Effects of PM2.5 on             Matteis, S, Forastiere, F, Forsberg, B,
                                                      cardiovascular mortality in American                   Life Expectancy Using Causal Modeling                  Frampton, MW, Grigg, J, Heederik, D,
                                                      older adults. American Journal of                      Methods. Environmental Health                          Kelly, FJ, Kuenzli, N, Laumbach, R,
                                                      Epidemiology 186(8): 961–969.                          Perspectives 126(12): 127002.                          Peters, A, Rajagopalan, ST, Rich, D, Ritz,
                                                 Raaschou-Nielsen, O, Andersen, ZJ, Beelen,              Sheppard, EA. (2022a). Letter from Elizabeth               B, Samet, JM, Sandstrom, T, Sigsgaard,
                                                      R, Samoli, E, Stafoggia, M, Weinmayr, G,               A. (Lianne) Sheppard, Chair, Clean Air                 T, Sunyer, J and Brunekreef, B (2017). A
                                                      Hoffmann, B, Fischer, P,                               Scientific Advisory Committee, to                      joint ERS/ATS policy statement: what
                                                      Nieuwenhuijsen, MJ, Brunekreef, B, Xun,                Administrator Michael S. Regan. Re:                    constitutes an adverse health effect of air
ddrumheller on DSK120RN23PROD with RULES3




                                                      WW, Katsouyanni, K, Dimakopoulou, K,                   CASAC Review of the EPA’s Policy                       pollution? An analytical framework.
                                                      Sommar, J, Forsberg, B, Modig, L, Oudin,               Assessment for the Review of the                       European Respiratory Journal 49(1):
                                                      A, Oftedal, B, Schwarze, PE, Nafstad, P,               National Ambient Air Quality Standards                 1600419.
                                                      De Faire, U, Pedersen, NL, Östenson, CG,              for Particulate Matter (External Review           Tong, H, Rappold, AG, Caughey, M,
                                                      Fratiglioni, L, Penell, J, Korek, M,                   Draft—October 2021). March 18, 2022.                   Hinderliter, AL, Bassett, M, Montilla, T,
                                                      Pershagen, G, Eriksen, KT, S<rensen, M,                EPA–CASAC–22–002. Office of the                        Case, MW, Berntsen, J, Bromberg, PA,
                                                      Tj<nneland, A, Ellermann, T, Eeftens, M,               Administrator, Science Advisory Board                  Cascio, WE, Diaz-Sanchez, D, Devlin, RB
                                                      Peeters, PH, Meliefste, K, Wang, M,                    U.S. EPA HQ, Washington DC. Available                  and Samet, JM (2015). Dietary



                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00178   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024              Page 190 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                           16379

                                                     supplementation with olive oil or fish oil              EPA–452/R–10–005. June 2010.                          of Air Quality Planning and Standards,
                                                     and vascular effects of concentrated                    Available at: https://nepis.epa.gov/Exe/              Air Quality Policy Division. Research
                                                     ambient particulate matter exposure in                  ZyPURL.cgi?Dockey=P1007RFC.txt.                       Triangle Park, NC. U.S. EPA. EPA 454/
                                                     human volunteers. Environmental                     U.S. EPA (2010b). Particulate Matter Urban-               R–18–009. November 2018. Available at:
                                                     Health Perspectives 123(11): 1173–1179.                 Focused Visibility Assessment (Final                  https://www.epa.gov/sites/default/files/
                                                 U.S. EPA (2004a). Air Quality Criteria for                  Document). Office of Air Quality                      2020-10/documents/o3-pm-rh-modeling_
                                                     Particulate Matter. (Vol I of II). Office of            Planning and Standards, Health and                    guidance-2018.pdf.
                                                     Research and Development. Research                      Environmental Impacts Division.                   U.S. EPA (2019a). Integrated Science
                                                     Triangle Park, NC. U.S. EPA. EPA–600/                   Research Triangle Park, NC. U.S. EPA.                 Assessment (ISA) for Particulate Matter
                                                     P–99–002aF. October 2004. Available at:                 EPA–452/R–10–004. July 2010. Available                (Final Report). U.S. Environmental
                                                     https://nepis.epa.gov/Exe/ZyPURL.                       at: https://nepis.epa.gov/Exe/                        Protection Agency, Office of Research
                                                     cgi?Dockey=P100LFIQ.txt.                                ZyPURL.cgi?Dockey=P100FO5D.txt.                       and Development, National Center for
                                                 U.S. EPA (2004b). Air Quality Criteria for              U.S. EPA (2011). Policy Assessment for the                Environmental Assessment. Washington,
                                                     Particulate Matter. (Vol II of II). Office of           Review of the Particulate Matter National             DC. U.S. EPA. EPA/600/R–19/188.
                                                     Research and Development. Research                      Ambient Air Quality Standards. Office of              December 2019. Available at: https://
                                                     Triangle Park, NC. U.S. EPA. EPA–600/                   Air Quality Planning and Standards,                   www.epa.gov/naaqs/particulate-matter-
                                                     P–99–002bF. October 2004. Available at:                 Health and Environmental Impacts                      pm-standards-integrated-science-
                                                     https://nepis.epa.gov/Exe/ZyPURL.                       Division. Research Triangle Park, NC.                 assessments-current-review.
                                                     cgi?Dockey=P100LG7Q.txt.                                U.S. EPA. EPA–452/R–11–003. April                 U.S. EPA (2019b). PM2.5 Precursor
                                                 U.S. EPA (2005). Review of the National                     2011. Available at: https://nepis.epa.gov/            Demonstration Guidance. Office of Air
                                                     Ambient Air Quality Standards for                       Exe/ZyPURL.cgi?                                       Quality Planning and Standards, Air
                                                     Particulate Matter: Policy Assessment of                Dockey=P100AUMY.txt.                                  Quality Policy Division. Research
                                                     Scientific and Technical Information,               U.S. EPA (2012). Responses to Significant                 Triangle Park, NC. U.S. EPA. EPA–454/
                                                     OAQPS Staff Paper. Office of Air Quality                Comments on the 2012 Proposed Rule on                 R–19–004. May 2019. Available at:
                                                     Planning and Standards. Research                        the National Ambient Air Quality                      https://nepis.epa.gov/Exe/ZyPDF.cgi/
                                                     Triangle Park, NC. U.S. EPA. EPA–452/                   Standards for Particulate Matter (June 29,            P100YD1Q.PDF?
                                                     R–05–005a. December 2005. Available at:                 2012; 77 FR 38890). Research Triangle                 Dockey=P100YD1Q.PDF.
                                                     https://nepis.epa.gov/Exe/ZyPURL.                       Park, NC. U.S. EPA. Docket ID No. EPA–            U.S. EPA (2020a). Responses to significant
                                                     cgi?Dockey=P1009MZM.txt.                                HQ–OAR–2007–0492. Available at:                       comments on the 2020 proposed rule on
                                                 U.S. EPA (2008). Integrated Review Plan for                 https://www3.epa.gov/ttn/naaqs/                       the National Ambient Air Quality
                                                     the National Ambient Air Quality                        standards/pm/data/20121214rtc.pdf.                    Standards for particulate matter (April
                                                     Standards for Particulate Matter. Office            U.S. EPA (2015). Preamble to the integrated               30, 2020; 85 FR 24094). EPA–HQ–OAR–
                                                     of Research and Development, National                   science assessments. U.S. Environmental               2015–0072. Available at: https://
                                                     Center for Environmental Assessment;                    Protection Agency, Office of Research                 www.epa.gov/sites/production/files/
                                                     Office of Air Quality Planning and                      and Development, National Center for                  2020-12/documents/pm_naaqs_
                                                     Standards, Health and Environmental                     Environmental Assessment, RTP                         response_to_comments_final.pdf.
                                                     Impacts Division. Research Triangle                     Division. Research Triangle Park, NC.             U.S. EPA (2020b). Policy Assessment for the
                                                     Park, NC. U.S. EPA. EPA 452/R–08–004.                   U.S. EPA. EPA/600/R–15/067. November                  Review of the National Ambient Air
                                                     March 2008. Available at: https://nepis.                2015. Available at: https://cfpub.epa.                Quality Standards for Particulate Matter.
                                                     epa.gov/Exe/ZyPURL.cgi?Dockey                           gov/ncea/isa/recordisplay.cfm                         Office of Air Quality Planning and
                                                     =P1001FB9.txt.                                          ?deid=310244.                                         Standards, Health and Environmental
                                                 U.S. EPA (2009a). Particulate Matter National           U.S. EPA (2016). Integrated review plan for               Impacts Division. Research Triangle
                                                     Ambient Air Quality Standards: Scope                    the national ambient air quality                      Park, NC. U.S. EPA. EPA–452/R–20–002.
                                                     and Methods Plan for Health Risk and                    standards for particulate matter. Office of           January 2020. Available at: https://
                                                     Exposure Assessment. Office of Air                      Air Quality Planning and Standards.                   www.epa.gov/system/files/documents/
                                                     Quality Planning and Standards, Health                  Research Triangle Park, NC. U.S. EPA.                 2021-10/final-policy-assessment-for-the-
                                                     and Environmental Impacts Division.                     EPA–452/R–16–005. December 2016.                      review-of-the-pm-naaqs-01-2020.pdf.
                                                     Research Triangle Park, NC. U.S. EPA.                   Available at: https://www3.epa.gov/ttn/           U.S. EPA (2021a). Supplement to the 2019
                                                     EPA–452/P–09–002. February 2009.                        naaqs/standards/pm/data/201612-final-                 Integrated Science Assessment for
                                                     Available at: https://nepis.epa.gov/Exe/                integrated-review-plan.pdf.                           Particulate Matter (External Review
                                                     ZyPURL.cgi?Dockey=P100FLWP.txt.                     U.S. EPA (2017). Emissions Inventory                      Draft). U.S. Environmental Protection
                                                 U.S. EPA (2009b). Particulate Matter National               Guidance for Implementation of Ozone                  Agency, Office of Research and
                                                     Ambient Air Quality Standards: Scope                    and Particulate Matter National Ambient               Development, Center for Public Health
                                                     and Methods Plan for Urban Visibility                   Air Quality Standards (NAAQS) and                     and Environmental Assessment.
                                                     Impact Assessment. Office of Air Quality                Regional Haze Regulations. Office of Air              Research Triangle Park, NC. U.S. EPA.
                                                     Planning and Standards, Health and                      Quality Planning and Standards, Office                EPA/600/R–21/198. December 2019.
                                                     Environmental Impacts Division.                         of Air and Radiation. Research Triangle               Available at: https://www.epa.gov/
                                                     Research Triangle Park, NC. U.S. EPA.                   Park, NC. U.S. EPA. U.S. EPA–454/B–                   naaqs/particulate-matter-pm-standards-
                                                     EPA–452/P–09–001. February 2009.                        17–002. Available at: https://                        integrated-science-assessments-current-
                                                     Available at: https://nepis.epa.gov/Exe/                www.epa.gov/sites/default/files/2017-07/              review.
                                                     ZyPURL.cgi?Dockey=P100FLUX.txt.                         documents/ei_guidance_may_2017_                   U.S. EPA (2021b). Comparative Assessment
                                                 U.S. EPA (2009c). Integrated Science                        final_rev.pdf.                                        of the Impacts of Prescribed Fire Versus
                                                     Assessment for Particulate Matter (Final            U.S. EPA (2018a). Technical Assistance                    Wildfire (CAIF): A Case Study in the
                                                     Report). Office of Research and                         Document (TAD) for the Reporting of                   Western U.S. U.S. Environmental
                                                     Development, National Center for                        Daily Air Quality—the Air Quality Index               Protection Agency. Washington, DC. U.S.
                                                     Environmental Assessment. Research                      (AQI). U.S. Environmental Protection                  EPA. EPA/600/R–21/197.
                                                     Triangle Park, NC. U.S. EPA. EPA–600/                   Agency, Office of Air Quality Planning            U.S. EPA (2021c). Policy Assessment for the
                                                     R–08–139F. December 2009. Available                     and Standards. Research Triangle Park,                Review of the National Ambient Air
ddrumheller on DSK120RN23PROD with RULES3




                                                     at: https://cfpub.epa.gov/ncea/risk/                    NC. U.S. EPA. EPA 454/B–18–007.                       Quality Standards for Particulate Matter
                                                     recordisplay.cfm?deid=216546.                           September 2018. Available at: https://                (External Review Draft). Office of Air
                                                 U.S. EPA (2010a). Quantitative Health Risk                  www.airnow.gov/sites/default/files/2020-              Quality Planning and Standards, Health
                                                     Assessment for Particulate Matter (Final                05/aqi-technical-assistance-document-                 and Environmental Impacts Division.
                                                     Report). Office of Air Quality Planning                 sept2018.pdf.                                         Research Triangle Park, NC. U.S. EPA.
                                                     and Standards, Health and                           U.S. EPA (2018b). Modeling Guidance for                   EPA–452/P–21–001. October 2021.
                                                     Environmental Impacts Division.                         Demonstrating Air Quality Goals for                   Available at: https://www.epa.gov/
                                                     Research Triangle Park, NC. U.S. EPA.                   Ozone, PM2.5, and Regional Haze. Office               system/files/documents/2022-05/



                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00179   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024                  Page 191 of 217
                                                 16380             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                     Final%20Policy%20Assessment                             Long-term exposure to PM2.5 and                   Code of Federal Regulations is amended
                                                     %20for%20the%20Reconsideration                          mortality among older adults in the               as follows:
                                                     %20of%20the%20PM%20NAAQS_                               Southeastern US. Epidemiology 28(2):
                                                     May2022_0.pdf.                                          207–214.                                          PART 50—NATIONAL PRIMARY AND
                                                 U.S. EPA (2021d). Guidance for Ozone and                Ward-Caviness, CK, Weaver, AM, Buranosky,             SECONDARY AMBIENT AIR QUALITY
                                                     Fine Particulate Matter Permit Modeling.                M, Pfaff, ER, Neas, LM, Devlin, RB,
                                                     U.S. Environmental Protection Agency,                                                                     STANDARDS
                                                                                                             Schwartz, J, Di, Q, Cascio, WE and Diaz-
                                                     Office of Air Quality Planning and                      Sanchez, D (2020). Associations between           ■ 1. The authority citation for part 50
                                                     Standards, Air Quality Assessment                       long-term fine particulate matter
                                                     Division. Research Triangle Park, NC.                                                                     continues to read as follows:
                                                                                                             exposure and mortality in heart failure
                                                     U.S. EPA. EPA–454/P–21–001.                             patients. Journal of the American Heart               Authority: 42 U.S.C. 7401, et seq.
                                                     September 2021.                                         Association 9(6): e012517.                        ■ 2. Add § 50.20 to read as follows:
                                                 U.S. EPA (2022a). Policy Assessment for the             Wei, Y, Yazdi, MD, Di, Q, Requia, WJ,
                                                     Reconsideration of the National Ambient                 Dominici, F, Zanobetti, A and Schwartz,           § 50.20 National primary ambient air
                                                     Air Quality Standards for Particulate                   J (2021). Emulating causal dose-response          quality standards for PM2.5.
                                                     Matter. Office of Air Quality Planning                  relations between air pollutants and
                                                     and Standards, Health and                                                                                   (a) The national primary ambient air
                                                                                                             mortality in the Medicare population.             quality standards for PM2.5 are 9.0
                                                     Environmental Impacts Division.                         Environmental Health: A Global Access
                                                     Research Triangle Park, NC. U.S. EPA.                                                                     micrograms per cubic meter (mg/m3)
                                                                                                             Science Source 20(1): 53.
                                                     EPA–452/R–22–004. May 2022.                         Wu, X, Braun, D, Schwartz, J,                         annual arithmetic mean concentration
                                                     Available at: https://www.epa.gov/                                                                        and 35 mg/m3 24-hour average
                                                                                                             Kioumourtzoglou, MA and Dominici, F
                                                     system/files/documents/2022-05/                                                                           concentration measured in the ambient
                                                                                                             (2020). Evaluating the impact of long-
                                                     Final%20Policy%20Assessment%20for                                                                         air as PM2.5 (particles with an
                                                                                                             term exposure to fine particulate matter
                                                     %20the%20Reconsideration
                                                     %20of%20the%20PM%20NAAQS_
                                                                                                             on mortality among the elderly. Science           aerodynamic diameter less than or equal
                                                                                                             Advances 6(29): eaba5692.                         to a nominal 2.5 micrometers) by either:
                                                     May2022_0.pdf.
                                                 U.S. EPA (2022b). Supplement to the 2019                Wyatt, LH, Devlin, RB, Rappold, AG, Case,               (1) A reference method based on
                                                     Integrated Science Assessment for                       MW and Diaz-Sanchez, D (2020). Low                appendix L to this part and designated
                                                     Particulate Matter (Final Report). U.S.                 levels of fine particulate matter increase        in accordance with part 53 of this
                                                     Environmental Protection Agency, Office                 vascular damage and reduce pulmonary
                                                                                                             function in young healthy adults.
                                                                                                                                                               chapter; or
                                                     of Research and Development, Center for                                                                     (2) An equivalent method designated
                                                     Public Health and Environmental                         Particle and fibre toxicology 17(1): 1–12.
                                                                                                         Yorifuji, T, Kashima, S and Doi, H (2016).            in accordance with part 53 of this
                                                     Assessment. Research Triangle Park, NC.
                                                     U.S. EPA. EPA/600/R 22/028. May 2022.                   Fine-particulate air pollution from diesel        chapter.
                                                     Available at: https://www.epa.gov/                      emission control and mortality rates in             (b) The primary annual PM2.5
                                                     naaqs/particulate-matter-pm-standards-                  Tokyo: a quasi-experimental study.                standard is met when the annual
                                                     integrated-science-assessments-current-                 Epidemiology 27(6): 769–778.                      arithmetic mean concentration, as
                                                     review.                                             Zanobetti, A and Schwartz, J (2009). The              determined in accordance with
                                                 Urch, B, Speck, M, Corey, P, Wasserstein, D,                effect of fine and coarse particulate air         appendix N to this part, is less than or
                                                     Manno, M, Lukic, KZ, Brook, JR, Liu, L,                 pollution on mortality: A national                equal to 9.0 mg/m3.
                                                     Coull, B, Schwartz, J, Gold, DR and                     analysis. Environmental Health
                                                                                                             Perspectives 117(6): 1–40.
                                                                                                                                                                 (c) The primary 24-hour PM2.5
                                                     Silverman, F (2010). Concentrated
                                                                                                         Zhang, Z, Wang, J, Kwong, JC, Burnett, RT,            standard is met when the 98th
                                                     ambient fine particles and not ozone
                                                     induce a systemic interleukin-6 response                van Donkelaar, A, Hystad, P, Martin, RV,          percentile 24-hour concentration, as
                                                     in humans. Inhalation Toxicology 22(3):                 Bai, L, McLaughlin, J and Chen, H                 determined in accordance with
                                                     210–218.                                                (2021). Long-term exposure to air                 appendix N to this part, is less than or
                                                 Van de Hulst, H (1981). Light scattering by                 pollution and mortality in a prospective          equal to 35 mg/m3.
                                                     small particles. Dover Publications, Inc.               cohort: The Ontario Health Study.                 ■ 3. Amend appendix K to part 50 by:
                                                     New York.                                               Environment International 154: 106570.            ■ a. In section 1.0 revising paragraph
                                                 van Donkelaar, A, Martin, RV, Li, C and                                                                       (b);
                                                     Burnett, RT (2019). Regional estimates of           List of Subjects
                                                                                                                                                               ■ b. In section 2.3 adding paragraph (d);
                                                     chemical composition of fine particulate            40 CFR Part 50
                                                     matter using a combined geoscience-                                                                       and
                                                     statistical method with information from              Environmental protection, Air                       ■ c. In section 3.0 adding paragraphs (a)
                                                     satellites, models, and monitors.                   pollution control, Carbon monoxide,                   and (b).
                                                     Environmental Science & Technology                  Lead, Nitrogen dioxide, Ozone,                          The revision and additions read as
                                                     53(5).                                              Particulate matter, Sulfur oxides.                    follows:
                                                 Vieira, JL, Guimaraes, GV, de Andre, PA,
                                                     Cruz, FD, Nascimento Saldiva, PH and                40 CFR Part 53                                        Appendix K to Part 50—Interpretation
                                                     Bocchi, EA (2016a). Respiratory filter                                                                    of the National Ambient Air Quality
                                                                                                           Environmental protection,
                                                     reduces the cardiovascular effects                                                                        Standards for Particulate Matter
                                                     associated with diesel exhaust exposure
                                                                                                         Administrative practice and procedure,
                                                                                                         Air pollution control, Reporting and                  1.0    General
                                                     a randomized, prospective, double-blind,
                                                     controlled study of heart failure: the              recordkeeping requirements.                           *        *       *    *    *
                                                     FILTER–HF trial. JACC: Heart Failure                                                                        (b) The terms used in this appendix are
                                                                                                         40 CFR Part 58                                        defined as follows:
                                                     4(1): 55–64.
                                                 Vieira, JL, Guimaraes, GV, de Andre, PA,                  Environmental protection,                             Average refers to the arithmetic mean of
                                                     Nascimento Saldiva, PH and Bocchi, EA               Administrative practice and procedure,                the estimated number of exceedances per
                                                     (2016b). Effects of reducing exposure to                                                                  year, as per section 3.1 of this appendix.
ddrumheller on DSK120RN23PROD with RULES3




                                                                                                         Air pollution control, Intergovernmental
                                                     air pollution on submaximal                         relations, Reporting and recordkeeping                  Collocated monitors refer to two or more
                                                     cardiopulmonary test in patients with                                                                     air measurement instruments for the same
                                                                                                         requirements.
                                                     heart failure: Analysis of the                                                                            parameter (e.g., PM10 mass) operated at the
                                                     randomized, double-blind and controlled             Michael S. Regan,                                     same site location, and whose placement is
                                                     FILTER–HF trial. International Journal of           Administrator.                                        consistent with part 53 of this chapter. For
                                                     Cardiology 215: 92–97.                                                                                    purposes of considering a combined site
                                                 Wang, Y, Shi, L, Lee, M, Liu, P, Di, Q,                   For the reasons set forth in the                    record in this appendix, when two or more
                                                     Zanobetti, A and Schwartz, JD (2017).               preamble, chapter I of title 40 of the                monitors are operated at the same site, one



                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00180   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM       06MRR3
                                                       USCA Case #24-1051                           Document #2043704                             Filed: 03/06/2024                  Page 192 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                              16381

                                                 monitor is designated as the ‘‘primary’’                  (1) The default dataset for PM10 mass                 The addition and revisions read as
                                                 monitor with any additional monitors                    concentrations for a site shall consist of the        follows.
                                                 designated as ‘‘collocated.’’ It is implicit in         measured concentrations recorded from the
                                                 these appendix procedures that the primary              designated primary monitor(s). All daily              Appendix N to Part 50—Interpretation
                                                 monitor and collocated monitor(s) are all               values produced by the primary monitor are            of the National Ambient Air Quality
                                                 reference or equivalent methods; however, it            considered part of the site record.                   Standards for PM2.5
                                                 is not a requirement that the primary and                  (2) If a daily value is not produced by the
                                                 collocated monitors utilize the same specific           primary monitor for a particular day, but a           1.0   General
                                                 sampling and analysis method.                           value is available from a single collocated             (a) This appendix explains the data
                                                    Combined site data record is the data set            monitor, then that collocated monitor value           handling conventions and computations
                                                 used for performing computations in this                shall be considered part of the combined site         necessary for determining when the national
                                                 appendix and represents data for the primary            data record. If daily value data is available         ambient air quality standards (NAAQS) for
                                                 monitors augmented with data from                       from two or more collocated monitors, the             PM2.5 are met, specifically the primary and
                                                 collocated monitors according to the                    average of those collocated values shall be           secondary annual and 24-hour PM2.5 NAAQS
                                                 procedure specified in section 3.0(a) of this           used as the daily value. The data record              specified in §§ 50.7, 50.13, 50.18, and 50.20.
                                                 appendix.                                               resulting from this procedure is referred to as       PM2.5 is defined, in general terms, as particles
                                                    Daily value for PM10 refers to the 24-hour           the ‘‘combined site data record.’’                    with an aerodynamic diameter less than or
                                                 average concentration of PM10 calculated or                (b) In certain circumstances, including but        equal to a nominal 2.5 micrometers. PM2.5
                                                 measured from midnight to midnight (local               not limited to site closures or relocations,          mass concentrations are measured in the
                                                 time).                                                  data from two nearby sites may be combined            ambient air by a Federal Reference Method
                                                    Exceedance means a daily value that is               into a single site data record for the purpose        (FRM) based on appendix L to this part, as
                                                 above the level of the 24-hour standard after           of calculating a valid design value. The              applicable, and designated in accordance
                                                 rounding to the nearest 10 mg/m3 (i.e., values          appropriate Regional Administrator may                with part 53 of this chapter or by a Federal
                                                 ending in 5 or greater are to be rounded up).           approve such combinations if the Regional             Equivalent Method (FEM) designated in
                                                    Expected annual value is the number                  Administrator determines that the measured
                                                 approached when the annual values from an                                                                     accordance with part 53 of this chapter. Only
                                                                                                         concentrations do not differ substantially            those FRM and FEM measurements that are
                                                 increasing number of years are averaged, in             between the two sites, taking into
                                                 the absence of long-term trends in emissions                                                                  derived in accordance with part 58 of this
                                                                                                         consideration factors such as distance                chapter (i.e., that are deemed ‘‘suitable’’)
                                                 or meteorological conditions.                           between sites, spatial and temporal patterns
                                                    Primary monitors are suitable monitors                                                                     shall be used in comparisons with the PM2.5
                                                                                                         in air quality, local emissions and
                                                 designated by a State or local agency in their                                                                NAAQS. The data handling and computation
                                                                                                         meteorology, jurisdictional boundaries, and
                                                 annual network plan as the default data                                                                       procedures to be used to construct annual
                                                                                                         terrain features.
                                                 source for creating a combined site data                                                                      and 24-hour NAAQS metrics from reported
                                                 record. If there is only one suitable monitor
                                                                                                         *      *      *      *       *                        PM2.5 mass concentrations, and the
                                                 at a particular site location, then it is               ■ 4. Amend appendix L to part 50 by                   associated instructions for comparing these
                                                 presumed to be a primary monitor.                       revising section 7.3.4 and adding                     calculated metrics to the levels of the PM2.5
                                                    Year refers to a calendar year.                      section 7.3.4.5 to read as follows:                   NAAQS, are specified in sections 2.0, 3.0,
                                                                                                                                                               and 4.0 of this appendix.
                                                 *      *     *       *      *                           Appendix L to Part 50—Reference                       *        *       *    *   *
                                                 2.3   Data Requirements                                 Method for the Determination of Fine
                                                                                                         Particulate Matter as PM2.5 in the                    3.0 Requirements for Data Use and Data
                                                 *      *     *       *      *
                                                                                                         Atmosphere                                            Reporting for Comparisons With the NAAQS
                                                    (d) 24-hour average concentrations will be
                                                                                                                                                               for PM2.5
                                                 computed from submitted hourly PM10                     *      *      *      *       *
                                                 concentration data for each corresponding                                                                     *        *       *    *   *
                                                                                                            7.3.4 Particle size separator. The sampler
                                                 day of the year and the result will be stored                                                                   (d) * * *
                                                                                                         shall be configured with one of the three
                                                 in the first, or start, hour (i.e., midnight, hour                                                              (3) In certain circumstances, including but
                                                                                                         alternative particle size separators described
                                                 ‘0’) of the 24-hour period. A 24-hour average           in this section. One separator is an impactor-        not limited to site closures or relocations,
                                                 concentration shall be considered valid if at           type separator (WINS impactor) described in           data from two nearby sites may be combined
                                                 least 75 percent of the hourly averages (i.e.,          sections 7.3.4.1, 7.3.4.2, and 7.3.4.3 of this        into a single site data record for the purpose
                                                 18 hourly values) for the 24-hour period are            appendix. One alternative separator is a              of calculating a valid design value. The
                                                 available. In the event that fewer than all 24          cyclone-type separator (VSCCTM) described             appropriate Regional Administrator may
                                                 hourly average concentrations are available             in section 7.3.4.4 of this appendix. The other        approve such site combinations if the
                                                 (i.e., fewer than 24 but at least 18), the 24-          alternative separator is also a cyclone-type          Regional Administrator determines that the
                                                 hour average concentration shall be                     separator (TE–PM2.5C) described in section            measured concentrations do not differ
                                                 computed on the basis of the hours available            7.3.4.5 of this appendix.                             substantially between the two sites, taking
                                                 using the number of available hours within                                                                    into consideration factors such as distance
                                                 the 24-hour period as the divisor (e.g., the            *      *      *      *       *                        between sites, spatial and temporal patterns
                                                 divisor is 19 if 19 hourly values are                     7.3.4.5 A second cyclone-type separator is
                                                                                                                                                               in air quality, local emissions and
                                                 available). 24-hour periods with 7 or more              identified as a Tisch TE–PM2.5C Cyclone
                                                                                                                                                               meteorology, jurisdictional boundaries, and
                                                 missing hours shall also be considered for              particle size separator specified as part of
                                                                                                                                                               terrain features.
                                                 computations in this appendix if, after                 EPA-designated reference method RFPS–
                                                 substituting zero for all missing hourly                1014–219 and as manufactured by Tisch                 *        *       *    *   *
                                                 concentrations, the resulting 24-hour average           Environmental Incorporated, 145 S. Miami
                                                                                                                                                               4.1   Annual PM2.5 NAAQS
                                                 daily value exceeds the level of the 24-hour            Avenue, Village of Cleves, Ohio 45002.
                                                                                                                                                                 (a) Levels of the primary and secondary
                                                 standard specified in § 50.6 after rounding to          *      *      *      *       *                        annual PM2.5 NAAQS are specified in
                                                 the nearest 10 mg/m3.                                   ■ 5. Amend appendix N to part 50 by:
ddrumheller on DSK120RN23PROD with RULES3




                                                                                                                                                               §§ 50.7, 50.13, 50.18, and 50.20 as applicable.
                                                 *      *     *       *      *                           ■ a. In section 1.0 revising paragraph (a);
                                                                                                                                                               *        *       *    *   *
                                                 3.0 Computational Equations for the 24-                 ■ b. In section 3.0 adding paragraph
                                                 Hour Standards                                          (d)(3);                                               4.2   Twenty-Four-Hour PM2.5 NAAQS
                                                   (a) All computations shown in this                    ■ c. In section 4.1 revising paragraph (a);             (a) Levels of the primary and secondary 24-
                                                 appendix shall be implemented on a site-                and                                                   hour PM2.5 NAAQS are specified in §§ 50.7,
                                                 level basis. Site level concentration data shall        ■ d. In section 4.2 revising paragraph                50.13, 50.18, and 50.20 as applicable.
                                                 be processed as follows:                                (a).                                                  *        *       *    *   *


                                            VerDate Sep<11>2014   20:48 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00181   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM       06MRR3
                                                       USCA Case #24-1051                                         Document #2043704                                           Filed: 03/06/2024                      Page 193 of 217
                                                 16382                    Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 PART 53—AMBIENT AIR MONITORING                                             All worksheets in MS Excel must be                                  § 53.8 Designation of reference and
                                                 REFERENCE AND EQUIVALENT                                                   unprotected to enable full inspection as                            equivalent methods.
                                                 METHODS                                                                    part of the application review process.                               (a) A candidate method determined
                                                                                                                            *      *    *      *    *                                           by the Administrator to satisfy the
                                                 ■ 6. The authority citation for part 53                                       (d) For candidate reference or                                   applicable requirements of this part
                                                 continues to read as follows:                                              equivalent methods or for designated                                shall be designated as an FRM or FEM
                                                   Authority: Sec. 301(a) of the Clean Air Act                              instruments that are the subject of a                               (as applicable) by and upon publication
                                                 (42 U.S.C. 1857g(a)), as amended by sec.                                   modification request, the applicant, if                             of the designation in the Federal
                                                 15(c)(2) of Pub. L. 91–604, 84 Stat. 1713,                                 requested by EPA, shall provide to EPA                              Register. Applicants shall not publicly
                                                 unless otherwise noted.                                                    a representative sampler or analyzer for                            announce, market, or sell the candidate
                                                                                                                            test purposes. The sampler or analyzer                              sampler and analyzer as an approved
                                                 Subpart A—General Provisions                                                                                                                   FRM or FEM (as applicable) until the
                                                                                                                            shall be shipped free on board (FOB)
                                                 ■ 7. Amend § 53.4 by:                                                      destination to Director, Center for                                 designation is published in the Federal
                                                 ■ a. Revising paragraph (a);                                               Environmental Measurements and                                      Register.
                                                 ■ b. Adding paragraph (b)(7); and                                          Modeling, Reference and Equivalent                                  *     *     *    *     *
                                                 ■ c. Revising paragraph (d).                                               Methods Designation Program (MD
                                                                                                                                                                                                ■ 9. Amend § 53.14 by revising
                                                   The revisions and addition read as                                       D205–03), U.S. Environmental
                                                                                                                            Protection Agency, 4930 Old Page Road,                              paragraphs (c)(4), (5), and (6) to read as
                                                 follows:                                                                                                                                       follows:
                                                                                                                            Durham, North Carolina 27703,
                                                 § 53.4 Applications for reference or                                       scheduled to arrive concurrently with or                            § 53.14 Modification of a reference or
                                                 equivalent method determinations.                                          within 30 days of the arrival of the other                          equivalent method.
                                                   (a) Applications for FRM or FEM                                          application materials. This sampler or                              *     *     *     *     *
                                                 determinations and modification                                            analyzer may be subjected to various                                  (c) * * *
                                                 requests of existing designated                                            tests that EPA determines to be
                                                                                                                                                                                                  (4) Send notice to the applicant that
                                                 instruments shall be submitted to: U.S.                                    necessary or appropriate under § 53.5(f),
                                                                                                                                                                                                additional information must be
                                                 Environmental Protection Agency,                                           and such tests may include special tests
                                                                                                                                                                                                submitted before a determination can be
                                                 Director, Center for Environmental                                         not described in this part. If the
                                                                                                                                                                                                made and specify the additional
                                                 Measurement and Modeling, Reference                                        instrument submitted under this
                                                                                                                                                                                                information that is needed (in such
                                                 and Equivalent Methods Designation                                         paragraph (d) malfunctions, becomes
                                                                                                                                                                                                cases, the 90-day period shall
                                                 Program (MD–D205–03), 109 T.W.                                             inoperative, or fails to perform as
                                                                                                                                                                                                commence upon receipt of the
                                                 Alexander Drive, P.O. Box 12055,                                           represented in the application before the
                                                                                                                                                                                                additional information).
                                                 Research Triangle Park, North Carolina                                     necessary EPA testing is completed, the
                                                 27711 (commercial delivery address:                                        applicant shall be afforded the                                       (5) Send notice to the applicant that
                                                 4930 Old Page Road, Durham, North                                          opportunity to repair or replace the                                additional tests are necessary and
                                                 Carolina 27703).                                                           device at no cost to the EPA. Upon                                  specify which tests are necessary and
                                                                                                                            completion of EPA testing, the sampler                              how they shall be interpreted (in such
                                                 *     *     *     *     *                                                                                                                      cases, the 90-day period shall
                                                   (b) * * *                                                                or analyzer submitted under this
                                                                                                                            paragraph (d) shall be repacked by EPA                              commence upon receipt of the
                                                   (7) All written materials for new FRM                                                                                                        additional test data).
                                                 and FEM applications and modification                                      for return shipment to the applicant,
                                                                                                                            using the same packing materials used                                 (6) Send notice to the applicant that
                                                 requests must be submitted in English
                                                                                                                            for shipping the instrument to EPA                                  additional tests will be conducted by
                                                 in MS Word format. For any calibration
                                                                                                                            unless alternative packing is provided                              the Administrator and specify the
                                                 certificates originally written in a non-
                                                                                                                            by the applicant. Arrangements for, and                             reasons for and the nature of the
                                                 English language, the original non-
                                                                                                                            the cost of, return shipment shall be the                           additional tests (in such cases, the 90-
                                                 English version of the certificate must
                                                                                                                            responsibility of the applicant. The EPA                            day period shall commence 1 calendar
                                                 be submitted to EPA along with a
                                                                                                                            does not warrant or assume any liability                            day after the additional tests are
                                                 version of the certificate translated to
                                                                                                                            for the condition of the sampler or                                 completed).
                                                 English. All laboratory and field data
                                                 associated with new FRM and FEM                                            analyzer upon return to the applicant.                              *     *     *     *     *
                                                 applications and modification requests                                     ■ 8. Amend § 53.8 by revising paragraph                             ■ 10. Revise table A–1 to subpart A of
                                                 must be submitted in MS Excel format.                                      (a) to read as follows:                                             part 53 to read as follows:
                                                   TABLE A–1 TO SUBPART A OF PART 53—SUMMARY OF APPLICABLE REQUIREMENTS FOR REFERENCE AND EQUIVALENT
                                                                            METHODS FOR AIR MONITORING OF CRITERIA POLLUTANTS
                                                                                                                                                           Applicable                             Applicable subparts of this part
                                                                                                                                                          appendix of
                                                   Pollutant            Reference or equivalent                   Manual or automated                    part 50 of this       A            B              C            D            E   F
                                                                                                                                                            chapter

                                                 SO2 ............     Reference ...........................   Manual ...............................    A–2
                                                                                                              Automated ..........................      A–1                    ✓             ✓
                                                                      Equivalent ..........................   Manual ...............................    A–1                    ✓      ................     ✓
                                                                                                              Automated ..........................      A–1                    ✓             ✓             ✓
ddrumheller on DSK120RN23PROD with RULES3




                                                 CO ..............    Reference ...........................   Automated ..........................      C                      ✓             ✓
                                                                      Equivalent ..........................   Manual ...............................    C                      ✓      ................     ✓
                                                                                                              Automated ..........................      C                      ✓             ✓             ✓
                                                 O3 ...............   Reference ...........................   Automated ..........................      D                      ✓             ✓
                                                                      Equivalent ..........................   Manual ...............................    D                      ✓      ................     ✓
                                                                                                              Automated ..........................      D                      ✓             ✓             ✓
                                                 NO2 ............     Reference ...........................   Automated ..........................      F                      ✓             ✓
                                                                      Equivalent ..........................   Manual ...............................    F                      ✓      ................     ✓
                                                                                                              Automated ..........................      F                      ✓             ✓             ✓



                                            VerDate Sep<11>2014         19:03 Mar 05, 2024         Jkt 262001       PO 00000       Frm 00182           Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM        06MRR3
                                                       USCA Case #24-1051                                         Document #2043704                                              Filed: 03/06/2024                               Page 194 of 217
                                                                          Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                                                                           16383

                                                   TABLE A–1 TO SUBPART A OF PART 53—SUMMARY OF APPLICABLE REQUIREMENTS FOR REFERENCE AND EQUIVALENT
                                                                      METHODS FOR AIR MONITORING OF CRITERIA POLLUTANTS—Continued
                                                                                                                                                           Applicable                                Applicable subparts of this part
                                                                                                                                                          appendix of
                                                   Pollutant            Reference or equivalent                   Manual or automated                    part 50 of this          A            B                  C                  D                E     F
                                                                                                                                                            chapter

                                                 Pb ...............   Reference ...........................   Manual ...............................    G
                                                                      Equivalent ..........................   Manual ...............................    G                         ✓      ................         ✓
                                                                                                              Automated ..........................      G                         ✓      ................         ✓
                                                 PM10-Pb .....        Reference ...........................   Manual ...............................    Q
                                                                      Equivalent ..........................   Manual ...............................    Q                         ✓      ................          ✓
                                                                                                              Automated ..........................      Q                         ✓      ................          ✓
                                                 PM10 ...........     Reference ...........................   Manual ...............................    J                         ✓      ................   ................          ✓
                                                                      Equivalent ..........................   Manual ...............................    J                         ✓      ................          ✓                  ✓
                                                                                                              Automated ..........................      J                         ✓      ................          ✓                  ✓
                                                 PM2.5 ..........     Reference ...........................   Manual ...............................    L                         ✓      ................   ................   ................       ✓
                                                                      Equivalent Class I ..............       Manual ...............................    L                         ✓      ................          ✓           ................       ✓
                                                                      Equivalent Class II .............       Manual ...............................    L1                        ✓      ................        2✓            ................       ✓    12✓

                                                                      Equivalent Class III ............       Automated ..........................      L1                        ✓      ................          ✓           ................       ✓    1✓

                                                 PM10–2.5 .....       Reference ...........................   Manual ...............................    L,2 O                     ✓      ................   ................   ................       ✓
                                                                      Equivalent Class I ..............       Manual ...............................    L,2 O                     ✓      ................          ✓           ................       ✓
                                                                      Equivalent Class II .............       Manual ...............................    L,2 O                     ✓      ................        2✓            ................       ✓    1,2 ✓

                                                                      Equivalent Class III ............       Automated ..........................      1 L, 1 2 O                ✓      ................          ✓           ................       ✓    1✓

                                                   1 Some requirements may apply, based on the nature of each particular candidate method, as determined by the Administrator.
                                                   2 Alternative Class III requirements may be substituted.




                                                 Subpart B—Procedures for Testing                                           Table B–1 to Subpart B of Part 53—                                     interference equivalent is ±0.003 ppm for the
                                                 Performance Characteristics of                                               Performance Limit Specifications for                                 lower range.
                                                 Automated Methods for SO2, CO, O3,                                           Automated Methods                                                    *         *           *         *              *
                                                 and NO2                                                                    *    *     *    *    *                                                 ■ 12. Revise table B–3 to subpart B of
                                                                                                                                4 For nitric oxide interference for the SO
                                                                                                                                                                          2                        part 53 to read as follows:
                                                 ■ 11. Amend table B–1 to subpart B of
                                                                                                                            ultraviolet fluorescence (UVF) method,
                                                 part 53 by revising footnote 4 to read as
                                                 follows:
ddrumheller on DSK120RN23PROD with RULES3




                                            VerDate Sep<11>2014         19:03 Mar 05, 2024         Jkt 262001       PO 00000       Frm 00183           Fmt 4701      Sfmt 4700   E:\FR\FM\06MRR3.SGM             06MRR3
ddrumheller on DSK120RN23PROD with RULES3




                                                                                                                 TABLE B–3 TO SUBPART B OF PART 53—INTERFERENT TEST CONCENTRATION 1
                                                                                                                                                                                                  [Parts per million]
                                                                                                                                                                                                                                                                                                                                                                                                                            16384


                                                                                                                                                    Hydro-           Ammo-           Hydrogen            Sulfur           Nitrogen            Nitric          Carbon                                                                   Water         Carbon
                         Pollutant                                                Analyzer type 2                                                   chloric                                                                                                                     Ethylene            Ozone           M-xylene                                                          Ethane         Naphthalene
                                                                                                                                                                      nia             sulfide            dioxide          dioxide             oxide           dioxide                                                                  vapor        monoxide Methane




VerDate Sep<11>2014
                                                                                                                                                     acid

                      SO2 ..............    Ultraviolet fluorescence .....................................................................         ..............   ..............           5 0.1       4 0.14               0.5            0.5 ................ ................       0.5              0.2      20,000 ................ .............. ..............                   6 0.05

                      SO2 ..............    Flame photometric .............................................................................        ..............   ..............            0.01       4 0.14 ................ ..............            750 ................ .............. ................ 3 20,000                   50 .............. .............. ......................
                      SO2 ..............    Gas chromatography .........................................................................           ..............   ..............              0.1      4 0.14 ................ ..............            750 ................ .............. ................ 3 20,000                   50 .............. .............. ......................
                      SO2 ..............    Spectrophotometric-wet chemical (pararosanaline) ..........................                                     0.2              0.1                0.1      4 0.14               0.5 ..............           750 ................          0.5 ................ .............. ................ .............. .............. ......................
                      SO2 ..............    Electrochemical .................................................................................               0.2              0.1                0.1      4 0.14               0.5            0.5 ................            0.2         0.5 ................    3 20,000 ................ .............. .............. ......................
                      SO2 ..............    Conductivity .......................................................................................            0.2              0.1     ................    4 0.14               0.5 ..............           750 ................ .............. ................ .............. ................ .............. .............. ......................
                      SO2 ..............    Spectrophotometric-gas phase, including DOAS ..............................                            ..............   ..............   ................    4 0.14               0.5            0.5 ................ ................       0.5              0.2 .............. ................ .............. .............. ......................




19:03 Mar 05, 2024
                      O3 ................   Ethylene Chemiluminescence ...........................................................                 ..............   ..............            3 0.1 .............. ................ ..............         750 ................      4 0.08 ................     3 20,000 ................ .............. .............. ......................

                      O3 ................   NO-chemiluminescence ....................................................................              ..............   ..............            3 0.1 ..............            0.5 ..............           750 ................      4 0.08 ................     3 20,000 ................ .............. .............. ......................

                      O3 ................   Electrochemical .................................................................................      ..............          3 0.1     ................        0.5              0.5 .............. ................ ................   4 0.08 ................     3 20,000 ................ .............. .............. ......................
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       USCA Case #24-1051




                      O3 ................   Spectrophotometric-wet chemical (potassium iodide) ......................                              ..............          3 0.1     ................        0.5              0.5          3 0.5 ................ ................   4 0.08 ................ .............. ................ .............. .............. ......................

                      O3 ................   Spectrophotometric-gas phase, including ultraviolet absorption and                                     ..............   ..............   ................        0.5              0.5          3 0.5 ................ ................   4 0.08             0.02       20,000 ................ .............. .............. ......................




Jkt 262001
                                              DOAS.
                      CO ...............    Non-dispersive Infrared .....................................................................          ..............   ..............   ................   ..............   ................   ..............             750      ................   ..............   ................    20,000                4 10 .............. .............. ......................

                      CO ...............    Gas chromatography with flame ionization detector .........................                            ..............   ..............   ................   ..............   ................   ..............   ................   ................   ..............   ................    20,000                4 10 ..............            0.5 ......................
                      CO ...............    Electrochemical .................................................................................      ..............   ..............   ................   ..............   ................            0.5     ................              0.2     ..............   ................    20,000                4 10 .............. .............. ......................

                      CO ...............    Catalytic combustion-thermal detection ............................................                    ..............            0.1     ................   ..............   ................   ..............             750                 0.2     ..............   ................    20,000                4 10            5.0            0.5 ......................




PO 00000
                      CO ...............    IR fluorescence .................................................................................      ..............   ..............   ................   ..............   ................   ..............             750      ................   ..............   ................    20,000                4 10 ..............            0.5 ......................
                      CO ...............    Mercury replacement-UV photometric ..............................................                      ..............   ..............   ................   ..............   ................   ..............   ................              0.2     ..............   ................ ..............           4 10 ..............            0.5 ......................
                      NO2 ..............    Chemiluminescent .............................................................................         ..............          3 0.1     ................            0.5              4 0.1              0.5     ................   ................   ..............   ................    20,000 ................ .............. .............. ......................
                      NO2 ..............    Spectrophotometric-wet chemical (azo-dye reaction) .......................                             ..............   ..............   ................            0.5              4 0.1              0.5               750      ................            0.5     ................ .............. ................ .............. .............. ......................
                      NO2 ..............    Electrochemical .................................................................................               0.2            3 0.1     ................            0.5              4 0.1              0.5               750      ................            0.5     ................    20,000                  50 .............. .............. ......................




Frm 00184
                      NO2 ..............    Spectrophotometric-gas phase .........................................................                 ..............          3 0.1     ................            0.5              4 0.1              0.5     ................   ................            0.5     ................    20,000                  50 .............. .............. ......................
                        1 Concentrations of interferent listed must be prepared and controlled to ±10 percent of the stated value.
                        2 Analyzer types not listed will be considered by the Administrator as special cases.
                        3 Do not mix interferent with the pollutant.




Fmt 4701
                        4 Concentration of pollutant used for test. These pollutant concentrations must be prepared to ±10 percent of the stated value.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Document #2043704




                        5 If candidate method utilizes an elevated-temperature scrubber for removal of aromatic hydrocarbons, perform this interference test.
                        6 If naphthalene test concentration cannot be accurately quantified, remove the scrubber, use a test concentration that causes a full-scale response, reattach the scrubber, and evaluate response for interference.




Sfmt 4700
E:\FR\FM\06MRR3.SGM
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Filed: 03/06/2024




06MRR3
                                                                                                                                                                                                                                                                                                                                                                                                                            Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Page 195 of 217
                                                      USCA Case #24-1051                                       Document #2043704                                        Filed: 03/06/2024                                 Page 196 of 217
                                                                     Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                                                                           16385

                                                 ■ 13. Amend appendix A to subpart B                                Figure B–3 to Appendix A to Subpart B of                                 Analyzer llllllllllllllll
                                                 of part 53 by revising figures B–3 and                             Part 53—Form for Test Data and                                           Date llllllllllllllllll
                                                 B–5 to read as follows:                                            Calculations for Lower Detectable Limit                                  Pollutant llllllllllllllll
                                                                                                                    (LDL) and Interference Equivalent (IE) (see
                                                 Appendix A to Subpart B of Part 53—                                § 53.23(c) and (d))
                                                 Optional Forms for Reporting Test
                                                 Results                                                            LDL Interference Test Data
                                                                                                                    Applicant llllllllllllllll
                                                 *      *      *           *          *


                                                                       TEST                 READING or                                                                TEST NUMBER
                                                                   PARAMETER               CALCUIATION         1        2        3       4         5         6       7      8    9           10        11        12        13        14        15
                                                                                                 Bz
                                                                      LOWER                      Bi.
                                                             DmCTABLE UMIT
                                                                                             LDL= Bi.-Bz
                                                                                                Rs
                                                                                  1             Ra.
                                                                                             IE=Ra.-R,
                                                                                                Rz
                                                                                  2             Ra
                                                                                             IE=Ra-R,
                                                                                                R.
                                                              INTER-             3*             Rs
                                                             FERENCE                         IE=Re-R.
                                                              EQUIV-                            R.
                                                              ALENT              4*             R,.
                                                                                             IE=Ra-R.
                                                                                                     Rs
                                                                                 5*             Re
                                                                                             IE=R.,-R.
                                                                                                ..
                                                                               TOTAL*          z'.11e,1
                                                                                               1=1
                                                                  *If required.


                                                 *      *      *           *          *                             Figure B–5 to Appendix A to Subpart B of                                 Analyzer llllllllllllllll
                                                                                                                    Part 53—Form for Calculating Zero Drift,                                 Date llllllllllllllllll
                                                                                                                    Span Drift and Precision (see § 53.23(e))                                Pollutant llllllllllllllll
                                                                                                                    Calculation of Zero Drift, Span Drift, and
                                                                                                                    Precision
                                                                                                                    Applicant llllllllllllllll


                                                                    TEST                                                                                                    TESTDAY(n)
                                                                                             CALCUIATION
                                                             PARAMmR                                                1        2       3         4        5        6      7       8        9        10        11        U         13        14    15
                                                                      12
                                                                      HOUR
                                                                                      12ZD   =c....-c....
                                                            ZERO                      Z =(Lt+ LJ/2
                                                            DRIFT     24
                                                                                      24ZD•Z.-Z...,
                                                                      HOUR
                                                                                      24ZD=Z'.-Z',..,




                                                            SPAN      24              SD,. = S,. -S..-i
                                                            DRIFT     HOUR                       S..-1
                                                                                                          X100%
                                                                                      SD,.= S,.-S',._i
                                                                                                 S',._1
                                                                                                          X100%
ddrumheller on DSK120RN23PROD with RULES3




                                                                      20%
                                                                                      P20 =%STANDARD
                                                                  URL
                                                                                                                                                                                                                                                             ER06MR24.036</GPH>




                                                                                      DEVIATION of (P,...P,)
                                                            PREC- (P20)
                                                                 1------------+---+----+---t---+---+---t---,t---+--+----+---t---+---t,---+---t
                                                            ISION 80%
                                                                        P20 =%STANDARD
                                                                  URL
                                                                        DEVIATION of (P.,."P12)
                                                                  (Pao)
                                                                                                                                                                                                                                                             ER06MR24.035</GPH>




                                            VerDate Sep<11>2014     19:03 Mar 05, 2024           Jkt 262001    PO 00000     Frm 00185        Fmt 4701       Sfmt 4725   E:\FR\FM\06MRR3.SGM            06MRR3
                                                       USCA Case #24-1051                                               Document #2043704                                                         Filed: 03/06/2024                                       Page 197 of 217
                                                 16386                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 *        *         *        *          *                                         § 53.35 Test procedure for Class II and                                                   (D) Site D shall be in a large city east
                                                                                                                                  Class III methods for PM2.5 and PM10¥2.5.                                               of the Mississippi River, having
                                                 Subpart C—Procedures for                                                         *         *   *                   *          *                                          characteristically high humidity levels.
                                                 Determining Comparability Between
                                                 Candidate Methods and Reference                                                       (b) * * *                                                                          *     *    *     *     *
                                                 Methods                                                                               (1) * * *                                                                          ■ 15. Revise table C–4 to subpart C of
                                                                                                                                       (ii) * * *                                                                         part 53 to read as follows:
                                                 ■ 14. Amend § 53.35 by revising
                                                 paragraph (b)(1)(ii)(D) to read as follows:
                                                            TABLE C–4 TO SUBPART C OF PART 53—TEST SPECIFICATIONS FOR PM10, PM2.5, AND PM10–2.5 CANDIDATE
                                                                                               EQUIVALENT METHODS
                                                                                                                                                                         PM2.5                                                                                     PM10–2.5
                                                        Specification                          PM10
                                                                                                                                   Class I                              Class II                            Class III                            Class II                           Class III

                                                 Acceptable concentra-             5–300 .......................        3–200 .......................        3–200 .......................        3–200 .......................        3–200 .......................        3–200.
                                                    tion range (Rj), μg/
                                                    m 3.
                                                 Minimum number of                 2 ...............................    1 ...............................    2 ...............................    4 ...............................    2 ...............................    4.
                                                    test sites.
                                                 Minimum number of                 3 ...............................    3 ...............................    31 .............................     31 .............................     31 .............................     3.1
                                                    candidate method
                                                    samplers or ana-
                                                    lyzers per site.
                                                 Number of reference               3 ...............................    3 ...............................    31 .............................     31 .............................     31 .............................     3.1
                                                    method samplers
                                                    per site.
                                                 Minimum number of
                                                    acceptable sample
                                                    sets per site for
                                                    PM10 methods:
                                                       Rj < 20 μg/m3 ......        3 ...............................    ..................................   ..................................   ..................................   ..................................
                                                       Rj > 20 μg/m3 ......        3 ...............................    ..................................   ..................................   ..................................   ..................................
                                                             Total .............   10 .............................     ..................................   ..................................   ..................................   ..................................
                                                 Minimum number of
                                                    acceptable sample
                                                    sets per site for
                                                    PM2.5 and PM10–2.5
                                                    candidate equivalent
                                                    methods:
                                                       Rj < 15 μg/m3 for           ..................................   3 ...............................    3 ...............................    3 ...............................    3 ...............................    3.
                                                          24-hr or Rj < 8
                                                          μg/m3 for 48-hr
                                                          samples..
                                                       Rj > 15 μg/m3 for           ..................................   3 ...............................    3 ...............................    3 ...............................    3 ...............................    3.
                                                          24-hr or Rj > 8
                                                          μg/m3 for 48-hr
                                                          samples.
                                                       Each season ........        ..................................   10 .............................     23 .............................     23 .............................     23 .............................     23.
                                                             Total, each           ..................................   10 .............................     23 .............................     23 (46 for two-sea-                  23 .............................     23 (46 for two-sea-
                                                               site.                                                                                                                                son sites).                                                               son sites).
                                                 Precision of replicate            5 μg/m3 or 7%. ........              2 μg/m3 or 5%. ........              10%2 ........................        10%2 ........................        10%2 ........................        10%.2
                                                    reference method
                                                    measurements, PRj
                                                    or RPRj, respec-
                                                    tively; RP for Class
                                                    II or III PM2.5 or
                                                    PM10–2.5, maximum.
                                                 Precision of PM2.5 or             ..................................   ..................................   10%2 ........................        15%2 ........................        15%2 ........................        15%.2
                                                    PM10–2.5 candidate
                                                    method, CP, each
                                                    site.
                                                 Slope of regression re-           1 ±0.10 .....................        1 ±0.05 .....................        1 ±0.10 .....................        1 ±0.10 .....................        1 ±0.10 .....................        1 ±0.12.
                                                    lationship.
                                                 Intercept of regression           0 ±5 ..........................      0 ±1 ..........................      Between: 13.55—                      Between: 15.05—                      Between: 62.05—                      Between: 70.50—
                                                    relationship, μg/m3.                                                                                       (15.05 × slope),                     (17.32 × slope),                     (70.5 × slope), but                  (82.93 × slope),
                                                                                                                                                               but not less than—                   but not less than—                   not less than—3.5;                   but not less than—
                                                                                                                                                               1.5; and 16.56—                      2.0; and 15.05—                      and 78.95—(70.5                      7.0; and 70.50—
                                                                                                                                                               (15.05 × slope),                     (13.20 × slope),                     × slope), but not                    (61.16 × slope),
                                                                                                                                                               but not more than                    but not more than                    more than +3.5.                      but not more than
                                                                                                                                                               +1.5.                                +2.0.                                                                     +7.0.
ddrumheller on DSK120RN23PROD with RULES3




                                                 Correlation of ref-               ≥ 0.97 .......................       ≥ 0.97 .......................       ≥ 0.93—for CCV ≤ 0.4;
                                                   erence method and                                                                                         ≥ 0.85 + 0.2 × CCV—for 0.4 ≤ CCV ≤ 0.5;
                                                   candidate method                                                                                          ≥ 0.95—for CCV ≥ 0.5
                                                   measurements.
                                                     1 Some missing daily measurement values may be permitted; see test procedure.
                                                     2 Calculated as the root mean square over all measurement sets.




                                            VerDate Sep<11>2014         19:03 Mar 05, 2024           Jkt 262001          PO 00000          Frm 00186          Fmt 4701         Sfmt 4700          E:\FR\FM\06MRR3.SGM                   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024              Page 198 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                        16387

                                                 Subpart D—Procedures for Testing                        formula in paragraph (c)(2)(iv) to read as              (xvi) * * *
                                                 Performance Characteristics of                          follows:
                                                 Methods for PM10
                                                                                                         § 53.43   Test procedures.
                                                 ■ 16. Amend § 53.43 by revising the                         (a) * * *
                                                 formula in paragraph (a)(2)(xvi) and the                    (2) * * *




                                                 *       *    *       *      *                               (iv) * * *
                                                     (c) * * *
                                                     (2) * * *




                                                     if C̄j is below 80 mg/m3, or




                                                     if C̄j is above 80 mg/m3.                           test results and submit evidence that                    (1) Particle aerodynamic diameter.
                                                                                                         this procedure is incorporated into the               The VOAG and FMAG produce near-
                                                 Subpart E—Procedures for Testing                        manufacturing procedure, that the test is             monodisperse droplets through the
                                                 Physical (Design) and Performance                       or will be routinely implemented, and                 controlled breakup of a liquid jet. * * *
                                                 Characteristics of Reference Methods                    that an appropriate procedure is in                      (i) The physical diameter of a
                                                 and Class I and Class II Equivalent                     place for the disposition of units that               generated spherical particle can be
                                                 Methods for PM2.5 or PM10–2.5                           fail this tolerance tests.                            calculated from the operational
                                                 ■ 17. Amend § 53.51 by revising                         *      *     *    *      *                            parameters of the VOAG and FMAG as:
                                                 paragraph (d)(2) to read as follows:                                                                          *       *    *     *     *
                                                                                                         Subpart F—Procedures for Testing                         (2) * * *
                                                 § 53.51 Demonstration of compliance with                Performance Characteristics of Class II                  (i) Solid particle tests performed in
                                                 design specifications and manufacturing                 Equivalent Methods for PM2.5
                                                 and test requirements.                                                                                        this subpart shall be conducted using
                                                                                                                                                               particles composed of ammonium
                                                 *     *     *    *      *                               ■ 18. Amend § 53.61 by revising                       fluorescein. For use in the VOAG or
                                                   (d) * * *
                                                                                                         paragraph (g) introductory text, the first            FMAG, liquid solutions of known
                                                   (2) VSCC and TE–PM2.5C separators.
                                                 For samplers and monitors utilizing the                 sentence of paragraph (g)(1), the first               volumetric concentration can be
                                                 BGI VSCC or Tisch TE–PM2.5C particle                    sentence of (g)(1)(i), (g)(2)(i) and adding           prepared by diluting fluorescein powder
                                                 size separators specified in sections                   paragraph (g)(2)(iii) to read as follows:             (C2OH12O5, FW = 332.31, CAS 2321–07–
                                                 7.3.4.4 and 7.3.4.5 of appendix L to part                                                                     5) with aqueous ammonia. Guidelines
                                                                                                         § 53.61   Test conditions.                            for preparation of fluorescein solutions
                                                 50 of this chapter, respectively, the
                                                 respective manufacturers shall identify                 *     *     *     *     *                             of the desired volume concentration
                                                 the critical dimensions and                               (g) Vibrating Orifice Aerosol                       (Cvol) are presented in Vanderpool and
                                                                                                                                                                                                           ER06MR24.039</GPH>




                                                 manufacturing tolerances for the                        Generator (VOAG) and Flow-Focusing                    Rubow (1988) (Reference 2 in appendix
                                                 separator, devise appropriate test                      Monodisperse Aerosol Generator                        A to this subpart). For purposes of
                                                                                                                                                               converting particle physical diameter to
ddrumheller on DSK120RN23PROD with RULES3




                                                 procedures to verify that the critical                  (FMAG) conventions. This section
                                                 dimensions and tolerances are                           prescribes conventions regarding the                  aerodynamic diameter, an ammonium
                                                 maintained during the manufacturing                     use of the vibrating orifice aerosol                  fluorescein particle density of 1.35 g/
                                                                                                                                                                                                           ER06MR24.038</GPH>




                                                 process, and carry out those procedures                 generator (VOAG) and the flow-focusing                cm3 shall be used.
                                                 on each separator manufactured to                       monodisperse aerosol generator (FMAG)                 *       *    *     *     *
                                                 verify conformance of the manufactured                  for the size-selective performance tests                 (iii) Calculation of the physical
                                                 products. The manufacturer shall also                   outlined in §§ 53.62, 53.63, 53.64, and               diameter of the particles produced by
                                                                                                                                                                                                           ER06MR24.037</GPH>




                                                 maintain records of these tests and their               53.65.                                                the VOAG and FMAG requires


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00187   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                                Document #2043704                             Filed: 03/06/2024              Page 199 of 217
                                                 16388                 Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 knowledge of the liquid solution’s                           acid, the total particle volume is the               concentration of the liquid solution
                                                 volume concentration (Cvol). Because                         sum of the oleic acid volume and the                 shall be calculated as:
                                                 uranine is essentially insoluble in oleic                    uranine volume. The volume


                                                                                                              Equation 5 to Paragraph (g)(2)(iii)

                                                                                                              Vu+ Voleic           (Mu/ Pu)+ (Moleic/ PoleiJ
                                                                                                  Cvol    =     V.
                                                                                                                 sol                                  Vsol

                                                 Where:                                                       ■ a. Revising paragraphs (a)(1) and                  the monitoring agency must ensure that
                                                 Vu = uranine volume, ml;                                     (b)(10) and (13);                                    an operating FRM or filter-based FEM
                                                 Voleic = oleic acid volume, ml;                              ■ b. Adding paragraph (b)(14); and                   meeting the sample frequency
                                                 Vsol = total solution volume, ml;                            ■ c. Revising paragraph (d).                         requirements described in § 58.12 or
                                                 Mu = uranine mass, g;
                                                 Pu = uranine density, g/cm3;
                                                                                                                The revisions and addition read as                 other Class III PM2.5 FEM with data of
                                                 Moleic = oleic acid mass, g; and                             follows:                                             sufficient quality is operating and
                                                 Poleic = oleic acid density, g/cm3.                                                                               reporting data to meet the network
                                                                                                              § 58.10 Annual monitoring network plan               design criteria described in appendix D
                                                 *        *       *       *      *                            and periodic network assessment.
                                                                                                                                                                   to this part.
                                                                                                                (a)(1) Beginning July 1, 2007, the                    (14) The identification of any site(s)
                                                 PART 58—AMBIENT AIR QUALITY
                                                                                                              State, or where applicable local, agency             intended to address being sited in an at-
                                                 SURVEILLANCE
                                                                                                              shall submit to the Regional                         risk community where there are
                                                 ■ 19. The authority citation for part 58
                                                                                                              Administrator an annual monitoring                   anticipated effects from sources in the
                                                 continues to read as follows:                                network plan which shall provide for                 area as required in section 4.7.1(b)(3) of
                                                                                                              the documentation of the establishment               appendix D to this part. An initial
                                                   Authority: 42 U.S.C. 7403, 7405, 7410,                     and maintenance of an air quality
                                                 7414, 7601, 7611, 7614, and 7619.                                                                                 approach to the question of whether any
                                                                                                              surveillance system that consists of a               new or moved sites are needed and to
                                                 Subpart A—General Provisions                                 network of SLAMS monitoring stations                 identify the communities in which they
                                                                                                              that can include FRM and FEM                         intend to add monitoring for meeting
                                                 ■ 20. Amend § 58.1 by:                                       monitors that are part of SLAMS, NCore,              the requirement in this paragraph
                                                 ■ a. Removing the definition for
                                                                                                              CSN, PAMS, and SPM stations. The                     (b)(14), if applicable, shall be submitted
                                                 ‘‘Approved regional method (ARM)’’;                          plan shall include a statement of                    in accordance with the requirements of
                                                 and                                                          whether the operation of each monitor                section 4.7.1(b)(3) of appendix D to this
                                                                                                              meets the requirements of appendices                 part, which includes submission to the
                                                 ■ b. Revising the definition for
                                                                                                              A, B, C, D, and E to this part, where                EPA Regional Administrator no later
                                                 ‘‘Traceable.’’
                                                                                                              applicable. The Regional Administrator               than July 1, 2024. Specifics on the
                                                    The revision reads as follows:                            may require additional information in                resulting proposed new or moved sites
                                                 § 58.1       Definitions.                                    support of this statement. The annual                for PM2.5 network design to address at-
                                                 *     *     *     *     *                                    monitoring network plan must be made                 risk communities, if applicable, would
                                                                                                              available for public inspection and                  need to be detailed in annual
                                                   Traceable means a measurement
                                                                                                              comment for at least 30 days prior to                monitoring network plans due to each
                                                 result from a local standard whereby the
                                                                                                              submission to the EPA and the                        applicable EPA Regional office no later
                                                 result can be related to the International
                                                                                                              submitted plan shall include and                     than July 1, 2025. The plan shall
                                                 System of Units (SI) through a
                                                                                                              address, as appropriate, any received                provide for any required sites to be
                                                 documented unbroken chain of
                                                                                                              comments.                                            operational no later than 24 months
                                                 calibrations, each contributing to the
                                                 measurement uncertainty. Traceable                           *     *     *     *    *                             from date of approval of a plan or
                                                 measurement results must be compared                           (b) * * *                                          January 1, 2027, whichever comes first.
                                                 and certified, either directly or via not                      (10) Any monitors for which a waiver               *      *     *    *      *
                                                 more than one intermediate standard, to                      has been requested or granted by the                    (d) The State, or where applicable
                                                 a National Institute of Standards and                        EPA Regional Administrator as allowed                local, agency shall perform and submit
                                                 Technology (NIST)-certified reference                        for under appendix D or appendix E to                to the EPA Regional Administrator an
                                                 standard. Examples include but are not                       this part. For those monitors where a                assessment of the air quality
                                                 limited to NIST Standard Reference                           waiver has been approved, the annual                 surveillance system every 5 years to
                                                 Material (SRM), NIST-traceable                               monitoring network plan shall include                determine, at a minimum, if the network
                                                 Reference Material (NTRM), or a NIST-                        the date the waiver was approved.                    meets the monitoring objectives defined
                                                 certified Research Gas Mixture (RGM).                        *     *     *     *    *                             in appendix D to this part, whether new
                                                 Traceability to the SI through other                           (13) The identification of any PM2.5               sites are needed, whether existing sites
                                                 National Metrology Institutes (NMIs) in                      FEMs used in the monitoring agency’s                 are no longer needed and can be
                                                                                                                                                                   terminated, and whether new
ddrumheller on DSK120RN23PROD with RULES3




                                                 addition to NIST is allowed if a                             network where the data are not of
                                                 Declaration of Equivalence (DoE) exists                      sufficient quality such that data are not            technologies are appropriate for
                                                 between NIST and that NMI.                                   to be compared to the national ambient               incorporation into the ambient air
                                                 *     *     *     *     *                                    air quality standards (NAAQS). For                   monitoring network. The network
                                                                                                              required SLAMS where the agency                      assessment must consider the ability of
                                                 Subpart B—Monitoring Network                                 identifies that the PM2.5 Class III FEM              existing and proposed sites to support
                                                                                                              does not produce data of sufficient                  air quality characterization for areas
                                                                                                                                                                                                                ER06MR24.040</GPH>




                                                 ■ 21. Amend § 58.10 by:                                      quality for comparison to the NAAQS,                 with relatively high populations of


                                            VerDate Sep<11>2014       19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00188   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024              Page 200 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                            16389

                                                 susceptible individuals (e.g., children                 number of test sites will generally                   design value no longer meets the criteria
                                                 with asthma) and other at-risk                          include all locations within an agency’s              in this paragraph (d)(1)(ii) for 3
                                                 populations, and, for any sites that are                network with collocated FRMs and                      consecutive years. A continuously
                                                 being proposed for discontinuance, the                  FEMs.                                                 operating FEM PM2.5 monitor satisfies
                                                 effect on data users other than the                       (3) The minimum number of methods                   the requirement in this paragraph
                                                 agency itself, such as nearby States and                shall include at least one FRM and at                 (d)(1)(ii) unless it is identified in the
                                                 Tribes or health effects studies. The                   least one FEM.                                        monitoring agency’s annual monitoring
                                                 State, or where applicable local, agency                  (4) Since multiple FRMs and FEMs                    network plan as not appropriate for
                                                 must submit a copy of this 5-year                       may not be present at each site, the                  comparison to the NAAQS and the EPA
                                                 assessment, along with a revised annual                 precision statistic requirement does not              Regional Administrator has approved
                                                 network plan, to the Regional                           apply, even if precision data are                     that the data from that monitor may be
                                                 Administrator. The assessments are due                  available.                                            excluded from comparison to the
                                                 every 5 years beginning July 1, 2010.                     (5) All seasons must be covered with                NAAQS.
                                                                                                         no more than 36 consecutive months of                    (iii) Required SLAMS stations whose
                                                 *     *    *      *    *
                                                                                                         data in total aggregated together.                    measurements determine the 24-hour
                                                 ■ 22. Amend § 58.11 by revising                           (6) The key statistical metric to                   design value for their area and whose
                                                 paragraphs (a)(2) and (e) to read as                    include in an assessment is the bias                  data are within plus or minus 5 percent
                                                 follows:                                                (both additive and multiplicative) of the             of the level of the 24-hour PM2.5 NAAQS
                                                 § 58.11   Network technical requirements.
                                                                                                         PM2.5 continuous FEM(s) compared to a                 must have an FRM or FEM operate on
                                                                                                         collocated FRM(s). Correlation is                     a daily schedule if that area’s design
                                                    (a) * * *                                            required to be reported in the
                                                    (2) Beginning January 1, 2009, State                                                                       value for the annual NAAQS is less than
                                                                                                         assessment, but failure to meet the                   the level of the annual PM2.5 standard.
                                                 and local governments shall follow the
                                                                                                         correlation criteria, by itself, is not               A continuously operating FEM or PM2.5
                                                 quality assurance criteria contained in
                                                                                                         cause to exclude data from a continuous               monitor satisfies the requirement in this
                                                 appendix A to this part that apply to
                                                                                                         FEM monitor.                                          paragraph (d)(1)(iii) unless it is
                                                 SPM sites when operating any SPM site
                                                                                                         ■ 23. Amend § 58.12 by revising                       identified in the monitoring agency’s
                                                 which uses an FRM or an FEM and
                                                 meets the requirements of appendix E to                 paragraph (d)(1):                                     annual monitoring network plan as not
                                                 this part, unless the Regional                                                                                appropriate for comparison to the
                                                                                                         § 58.12   Operating schedules.                        NAAQS and the EPA Regional
                                                 Administrator approves an alternative to                *       *    *    *    *
                                                 the requirements of appendix A with                                                                           Administrator has approved that the
                                                                                                            (d) * * *                                          data from that monitor may be excluded
                                                 respect to such SPM sites because                          (1)(i) Manual PM2.5 samplers at                    from comparison to the NAAQS. The
                                                 meeting those requirements would be                     required SLAMS stations without a                     daily schedule must be maintained until
                                                 physically and/or financially                           collocated continuously operating PM2.5               the referenced design values no longer
                                                 impractical due to physical conditions                  monitor must operate on at least a 1-in-              meets the criteria in this paragraph
                                                 at the monitoring site and the                          3 day schedule unless a waiver for an                 (d)(1)(iii) for 3 consecutive years.
                                                 requirements are not essential to                       alternative schedule has been approved                   (iv) Changes in sampling frequency
                                                 achieving the intended data objectives                  per paragraph (d)(1)(ii) of this section.             attributable to changes in design values
                                                 of the SPM site. Alternatives to the                       (ii) For SLAMS PM2.5 sites with both               shall be implemented no later than
                                                 requirements of appendix A may be                       manual and continuous PM2.5 monitors                  January 1 of the calendar year following
                                                 approved for an SPM site as part of the                 operating, the monitoring agency may                  the certification of such data as
                                                 approval of the annual monitoring plan,                 request approval for a reduction to 1-in-             described in § 58.15.
                                                 or separately.                                          6 day PM2.5 sampling or for seasonal                  *       *     *     *     *
                                                 *      *     *     *    *                               sampling from the EPA Regional
                                                                                                                                                               ■ 24. Revise § 58.15 to read as follows:
                                                    (e) State and local governments must                 Administrator. Other requests for a
                                                 assess data from Class III PM2.5 FEM                    reduction to 1-in-6 day PM2.5 sampling                § 58.15 Annual air monitoring data
                                                 monitors operated within their network                  or for seasonal sampling may be                       certification.
                                                 using the performance criteria described                approved on a case-by-case basis. The                    (a) The State, or where appropriate
                                                 in table C–4 to subpart C of part 53 of                 EPA Regional Administrator may grant                  local, agency shall submit to the EPA
                                                 this chapter, for cases where the data are              sampling frequency reductions after                   Regional Administrator an annual air
                                                 identified as not of sufficient                         consideration of factors (including but               monitoring data certification letter to
                                                 comparability to a collocated FRM, and                  not limited to the historical PM2.5 data              certify data collected by FRM and FEM
                                                 the monitoring agency requests that the                 quality assessments, the location of                  monitors at SLAMS and SPM sites that
                                                 FEM data should not be used in                          current PM2.5 design value sites, and                 meet criteria in appendix A to this part
                                                 comparison to the NAAQS. These                          their regulatory data needs) if the                   from January 1 to December 31 of the
                                                 assessments are required in the                         Regional Administrator determines that                previous year. The head official in each
                                                 monitoring agency’s annual monitoring                   the reduction in sampling frequency                   monitoring agency, or his or her
                                                 network plan described in § 58.10(b) for                will not compromise data needed for                   designee, shall certify that the previous
                                                 cases where the FEM is identified as not                implementation of the NAAQS.                          year of ambient concentration and
                                                 of sufficient comparability to a                        Required SLAMS stations whose                         quality assurance data are completely
                                                 collocated FRM. For these collocated                    measurements determine the design                     submitted to AQS and that the ambient
                                                                                                         value for their area and that are within
ddrumheller on DSK120RN23PROD with RULES3




                                                 PM2.5 monitors, the performance criteria                                                                      concentration data are accurate to the
                                                 apply with the following additional                     plus or minus 10 percent of the annual                best of her or his knowledge, taking into
                                                 provisions:                                             NAAQS, and all required sites where                   consideration the quality assurance
                                                    (1) The acceptable concentration                     one or more 24-hour values have                       findings. The annual data certification
                                                 range (Rj), mg/m3 may include values                    exceeded the 24-hour NAAQS each year                  letter is due by May 1 of each year.
                                                 down to 0 mg/m3.                                        for a consecutive period of at least 3                   (b) Along with each certification
                                                    (2) The minimum number of test sites                 years are required to maintain at least a             letter, the State shall submit to the
                                                 shall be at least one; however, the                     1-in-3 day sampling frequency until the               Regional Administrator an annual


                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00189   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024                  Page 201 of 217
                                                 16390             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 summary report of all the ambient air                   annual monitoring network plan                        CFR 75.21(g) or not use ‘‘EPA’’ in any form
                                                 quality data collected by FRM and FEM                   described in § 58.10.                                 of advertising. Monitoring organizations must
                                                 monitors at SLAMS and SPM sites. The                       (d) If an SPM using an FRM or FEM                  provide information to the EPA on the
                                                 annual report(s) shall be submitted for                 is discontinued within 24 months of                   specialty gas producers they use on an
                                                                                                                                                               annual basis. PQAOs, when requested by the
                                                 data collected from January 1 to                        start-up, the Administrator will not base
                                                                                                                                                               EPA, must participate in the EPA Ambient
                                                 December 31 of the previous year. The                   a NAAQS violation determination for                   Air Protocol Gas Verification Program at least
                                                 annual summary serves as the record of                  the PM2.5 or ozone NAAQS solely on                    once every 5 years by sending a new unused
                                                 the specific data that is the object of the             data from the SPM.                                    standard to a designated verification
                                                 certification letter.                                      (e) If an SPM using an FRM or FEM                  laboratory.
                                                    (c) Along with each certification                    is discontinued within 24 months of                   *        *       *    *   *
                                                 letter, the State shall submit to the                   start-up, the Administrator will not                    3.1.3.3 Using audit gases that are verified
                                                 Regional Administrator a summary of                     designate an area as nonattainment for                against the NIST standard reference methods
                                                 the precision and accuracy data for all                 the CO, SO2, NO2, or 24-hour PM10                     or special review procedures and validated
                                                 ambient air quality data collected by                   NAAQS solely on the basis of data from                per the certification periods specified in
                                                 FRM and FEM monitors at SLAMS and                       the SPM. Such data are eligible for use               Reference 4 of this appendix (EPA
                                                 SPM sites. The summary of precision                     in determinations of whether a                        Traceability Protocol for Assay and
                                                 and accuracy shall be submitted for data                nonattainment area has attained one of                Certification of Gaseous Calibration
                                                 collected from January 1 to December 31                                                                       Standards) for CO, SO2, and NO2 and using
                                                                                                         these NAAQS.
                                                 of the previous year.                                                                                         O3 analyzers that are verified quarterly
                                                                                                         *      *      *      *     *                          against a standard reference photometer.
                                                 Subpart C—Special Purpose Monitors                      ■ 26. Amend appendix A to part 58 by:                 *        *       *    *   *
                                                                                                         ■ a. Revising section 2.6.1 and adding                  3.2.4 PM2.5 Performance Evaluation
                                                 ■ 25. Amend § 58.20 by revising                         sections 2.6.1.1 and 2.6.1.2;                         Program (PEP) Procedures. The PEP is an
                                                 paragraphs (b) through (e) to read as                   ■ b. Removing section 3.1.2.2 and                     independent assessment used to estimate
                                                 follows:                                                redesignating sections 3.1.2.3, 3.1.2.4,              total measurement system bias. These
                                                                                                         3.1.2.5, and 3.1.2.6 as sections 3.1.2.2,             evaluations will be performed under the
                                                 § 58.20   Special purpose monitors (SPM).                                                                     national performance evaluation program
                                                                                                         3.1.2.3, 3.1.2.4, and 3.1.2.5, respectively;
                                                 *      *     *     *    *                               ■ c. Revising sections 3.1.3.3, 3.2.4,
                                                                                                                                                               (NPEP) as described in section 2.4 of this
                                                    (b) Any SPM data collected by an air                                                                       appendix or a comparable program. A
                                                                                                         4.2.1, and 4.2.5; and
                                                 monitoring agency using a Federal                                                                             prescribed number of Performance evaluation
                                                                                                         ■ d. In section 6 revising References (1),
                                                 reference method (FRM) or Federal                                                                             sampling events will be performed annually
                                                                                                         (4), (6), (7), (9), (10), and (11) and table          within each PQAO. For PQAOs with less
                                                 equivalent method (FEM) must meet the                   A–1.                                                  than or equal to five monitoring sites, five
                                                 requirements of §§ 58.11 and 58.12 and                     The revisions and additions read as                valid performance evaluation audits must be
                                                 appendix A to this part or an approved                  follows:                                              collected and reported each year. For PQAOs
                                                 alternative to appendix A. Compliance                                                                         with greater than five monitoring sites, eight
                                                 with appendix E to this part is optional                Appendix A to Part 58—Quality                         valid performance evaluation audits must be
                                                 but encouraged except when the                          Assurance Requirements for Monitors                   collected and reported each year. A valid
                                                 monitoring agency’s data objectives are                 used in Evaluations of National                       performance evaluation audit means that
                                                 inconsistent with the requirements in                   Ambient Air Quality Standards                         both the primary monitor and PEP audit
                                                 appendix E. Data collected at an SPM                                                                          concentrations are valid and equal to or
                                                                                                         *      *      *      *       *
                                                 using a FRM or FEM meeting the                                                                                greater than 2 mg/m3. Siting of the PEP
                                                                                                           2.6.1 Gaseous pollutant concentration
                                                 requirements of appendix A must be                                                                            monitor must be consistent with section
                                                                                                         standards (permeation devices or cylinders of
                                                                                                         compressed gas) used to obtain test                   3.2.3.4(c) of this appendix. However, any
                                                 submitted to AQS according to the                                                                             horizontal distance greater than 4 meters and
                                                 requirements of § 58.16. Data collected                 concentrations for CO, SO2, NO, and NO2
                                                                                                         must be EPA Protocol Gases certified in               any vertical distance greater than one meter
                                                 by other SPMs may be submitted. The                                                                           must be reported to the EPA regional PEP
                                                 monitoring agency must also submit to                   accordance with one of the procedures given
                                                                                                         in Reference 4 of this appendix.                      coordinator. Additionally for every monitor
                                                 AQS an indication of whether each SPM                     2.6.1.1 The concentrations of EPA                   designated as a primary monitor, a primary
                                                 reporting data to AQS monitor meets the                 Protocol Gas standards used for ambient air           quality assurance organization must:
                                                 requirements of appendices A and E.                     monitoring must be certified with a 95-               *        *       *    *   *
                                                    (c) All data from an SPM using an                    percent confidence interval to have an                  4.2.1 Collocated Quality Control Sampler
                                                 FRM or FEM which has operated for                       analytical uncertainty of no more than ±2.0           Precision Estimate for PM10, PM2.5, and Pb.
                                                 more than 24 months are eligible for                    percent (inclusive) of the certified                  Precision is estimated via duplicate
                                                 comparison to the relevant NAAQS,                       concentration (tag value) of the gas mixture.         measurements from collocated samplers. It is
                                                 subject to the conditions of §§ 58.11(e)                The uncertainty must be calculated in                 recommended that the precision be
                                                 and 58.30, unless the air monitoring                    accordance with the statistical procedures            aggregated at the PQAO level quarterly,
                                                 agency demonstrates that the data came                  defined in Reference 4 of this appendix.              annually, and at the 3-year level. The data
                                                                                                           2.6.1.2 Specialty gas producers                     pair would only be considered valid if both
                                                 from a particular period during which                   advertising certification with the procedures         concentrations are greater than or equal to
                                                 the requirements of appendix A,                         provided in Reference 4 of this appendix and          the minimum values specified in section 4(c)
                                                 appendix C, or appendix E to this part                  distributing gases as ‘‘EPA Protocol Gas’’ for        of this appendix. For each collocated data
                                                 were not met, subject to review and EPA                 ambient air monitoring purposes must adhere           pair, calculate ti, using equation 6 to this
                                                 Regional Office approval as part of the                 to the regulatory requirements specified in 40        appendix:
ddrumheller on DSK120RN23PROD with RULES3




                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00190   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM       06MRR3
                                                      USCA Case #24-1051                               Document #2043704                                Filed: 03/06/2024              Page 202 of 217
                                                                      Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                               16391

                                                                                                       Equation 6 to Section 4.2.1 of Appendix A




                                                   Where Xi is the concentration from the                   of variation upper bound is calculated using
                                                 primary sampler and Yi is the concentration                equation 7 to this appendix:
                                                 value from the audit sampler. The coefficient


                                                                                                       Equation 7 to Section 4.2.1 of Appendix A


                                                                                                          k x 1:r=l tf - c1:r=1 ti) 2                             k- 1
                                                                        ICV90NAAQS = 100 *
                                                                                                                 2k(k - 1)            x                 NAAQS Concentration* Xli,k-l


                                                   Where k is the number of valid data pairs                denominator adjusts for the fact that each ti            calculated using the PEP audits described in
                                                 being aggregated, and X20.1,k-1 is the 10th                is calculated from two values with error.                section 3.2.4. of this appendix. The bias
                                                 percentile of a chi-squared distribution with              *      *         *      *       *                        estimator is based on, si, the absolute
                                                 k-1 degrees of freedom. The factor of 2 in the               4.2.5 Performance Evaluation Programs                  difference in concentrations divided by the
                                                                                                            Bias Estimate for PM2.5. The bias estimate is            square root of the PEP concentration.


                                                                                                       Equation 8 to Section 4.2.5 of Appendix A

                                                                                                                  In s                                           meas - audit
                                                                                      100 x                        t=l   t                      where St = - - - - -
                                                                                                 n,JNAAQS concentration                                            .../audit

                                                 *      *      *         *      *                           (6) List of Designated Reference and                          April 1994. Available from U.S.
                                                                                                                 Equivalent Methods. Available from U.S.                  Environmental Protection Agency, ORD
                                                 6. References                                                   Environmental Protection Agency,                         Publications Office, Center for
                                                 (1) American National Standard Institute—                       Center for Environmental Measurements                    Environmental Research Information
                                                      Quality Management Systems For                             and Modeling, Air Methods and                            (CERI), 26 W. Martin Luther King Drive,
                                                      Environmental Information And                              Characterization Division, MD–D205–03,                   Cincinnati, OH 45268. https://
                                                      Technology Programs—Requirements                           Research Triangle Park, NC 27711.                        www.epa.gov/amtic/ambient-air-
                                                      With Guidance For Use. ASQ/ANSI E4–                        https://www.epa.gov/amtic/air-
                                                                                                                                                                          monitoring-quality-
                                                      2014. February 2014. Available from                        monitoring-methods-criteria-pollutants.
                                                                                                            (7) Transfer Standards for the Calibration of                 assurance#documents.
                                                      ANSI Webstore https://webstore.ansi.                                                                           (10) Quality Assurance Handbook for Air
                                                      org/.                                                      Ambient Air Monitoring Analyzers for
                                                                                                                 Ozone. EPA–454/B–13–004 U.S.                             Pollution Measurement Systems, Volume
                                                 *      *      *         *      *                                Environmental Protection Agency,                         II: Ambient Air Quality Monitoring
                                                 (4) EPA Traceability Protocol for Assay and                     Research Triangle Park, NC 27711,                        Program Quality System Development.
                                                      Certification of Gaseous Calibration                       October, 2013. https://www.epa.gov/                      EPA–454/B–13–003. https://
                                                      Standards. EPA–600/R–12/531. May,                          sites/default/files/2020-09/documents/                   www.epa.gov/amtic/ambient-air-
                                                      2012. Available from U.S. Environmental                    ozonetransferstandardguidance.pdf.                       monitoring-quality-
                                                      Protection Agency, National Risk                      *      *         *      *       *                             assurance#documents.
                                                      Management Research Laboratory,                       (9) Quality Assurance Handbook for Air                   (11) National Performance Evaluation
                                                      Research Triangle Park NC 27711.                           Pollution Measurement Systems, Volume                    Program Standard Operating Procedures.
                                                      https://www.epa.gov/nscep.                                 1—A Field Guide to Environmental                         https://www.epa.gov/amtic/ambient-air-
                                                 *      *      *         *      *                                Quality Assurance. EPA–600/R–94/038a.                    monitoring-quality-assurance#npep.

                                                       TABLE A–1 TO SECTION 6 OF APPENDIX A—MINIMUM DATA ASSESSMENT REQUIREMENTS FOR NAAQS RELATED
                                                                                                                                                                                                                    ER06MR24.043</GPH>




                                                                                         CRITERIA POLLUTANT MONITORS
ddrumheller on DSK120RN23PROD with RULES3




                                                                                                                                                   Minimum                Parameters           AQS assessment
                                                            Method               Assessment method                  Coverage                      frequency                reported                 type
                                                                                                                                                                                                                    ER06MR24.042</GPH>




                                                 Gaseous Methods
                                                  (CO, NO2, SO2, O3):
                                                                                                                                                                                                                    ER06MR24.041</GPH>




                                            VerDate Sep<11>2014      19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00191      Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                         USCA Case #24-1051                              Document #2043704                                   Filed: 03/06/2024                  Page 203 of 217
                                                 16392                  Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                         TABLE A–1 TO SECTION 6 OF APPENDIX A—MINIMUM DATA ASSESSMENT REQUIREMENTS FOR NAAQS RELATED
                                                                                      CRITERIA POLLUTANT MONITORS—Continued
                                                                                                                                                        Minimum                    Parameters           AQS assessment
                                                              Method               Assessment method                  Coverage                         frequency                    reported                 type

                                                         One-Point QC for         Response check at           Each analyzer ...........         Once per 2 weeks 5 ..         Audit concentration 1   One-Point QC.
                                                          SO2, NO2, O3,             concentration                                                                               and measured con-
                                                          CO.                       0.005–0.08 ppm                                                                              centration.2.
                                                                                    SO2, NO2, O3, and.
                                                                                  0.5 and 5 ppm CO ....
                                                 Annual performance               See section 3.1.2 of        Each analyzer ...........         Once per year ...........     Audit concentration 1   Annual PE.
                                                   evaluation for SO2,              this appendix.                                                                              and measured con-
                                                   NO2, O3, CO.                                                                                                                 centration 2 for
                                                                                                                                                                                each level.
                                                 NPAP for SO2, NO2,               Independent Audit .....     20% of sites each                 Once per year ...........     Audit concentration1    NPAP.
                                                  O3, CO.                                                       year.                                                           and measured con-
                                                                                                                                                                                centration 2 for
                                                                                                                                                                                each level.
                                                 Particulate Methods:
                                                      Continuous 4                Collocated samplers         15% ...........................   1-in-12 days ..............   Primary sampler con-    No Transaction re-
                                                        method—collo-                                                                                                           centration and du-      ported as raw data.
                                                        cated quality                                                                                                           plicate sampler
                                                        control sampling                                                                                                        concentration.3.
                                                        PM2.5.
                                                      Manual method—              Collocated samplers         15% ...........................   1-in-12 days ..............   Primary sampler con-    No Transaction re-
                                                        collocated qual-                                                                                                        centration and du-      ported as raw data.
                                                        ity control sam-                                                                                                        plicate sampler
                                                        pling PM10,                                                                                                             concentration.3.
                                                        PM2.5, Pb-TSP,
                                                        Pb-PM10.
                                                      Flow rate                   Check of sampler            Each sampler ............         Once every month 5 ..         Audit flow rate and     Flow Rate
                                                        verification                flow rate.                                                                                  measured flow rate      Verification.
                                                        PM10 (low Vol)                                                                                                          indicated by the
                                                        PM2.5, Pb-PM10.                                                                                                         sampler.
                                                      Flow rate                   Check of sampler            Each sampler ............         Once every quarter 5          Audit flow rate and     Flow Rate
                                                        verification                flow rate.                                                                                  measured flow rate      Verification.
                                                        PM10 (High-                                                                                                             indicated by the
                                                        Vol), Pb-TSP.                                                                                                           sampler.
                                                      Semi-annual flow            Check of sampler            Each sampler ............         Once every 6                  Audit flow rate and     Semi Annual Flow
                                                        rate audit PM10,           flow rate using                                               months 5.                      measured flow rate      Rate Audit.
                                                        TSP, PM10–2.5,             independent stand-                                                                           indicated by the
                                                        PM2.5, Pb-TSP,             ard.                                                                                         sampler.
                                                        Pb-PM10.
                                                      Pb analysis audits          Check of analytical         Analytical ...................    Once each quarter 5 ..        Measured value and      Pb Analysis Audits.
                                                        Pb-TSP, Pb-                 system with Pb                                                                              audit value (ug Pb/
                                                        PM10.                       audit strips/filters.                                                                       filter) using AQS
                                                                                                                                                                                unit code 077.
                                                         Performance Eval-        Collocated samplers         (1) 5 valid audits for            Distributed over all 4        Primary sampler con-    PEP.
                                                           uation Program                                       primary QA orgs,                  quarters 5.                   centration and per-
                                                           PM2.5.                                               with ≤5 sites.                                                  formance evalua-
                                                                                                              (2) 8 valid audits for                                            tion sampler con-
                                                                                                                primary QA orgs,                                                centration.
                                                                                                                with >5 sites.
                                                                                                              (3) All samplers in 6
                                                                                                                years.
                                                         Performance Eval-        Collocated samplers         (1) 1 valid audit and 4           Distributed over all 4        Primary sampler con-    PEP.
                                                           uation Program                                       collocated samples                quarters 5.                   centration and per-
                                                           Pb-TSP, Pb-                                          for primary QA                                                  formance evalua-
                                                           PM10.                                                orgs, with ≤5 sites.                                            tion sampler con-
                                                                                                              (2) 2 valid audits and                                            centration. Primary
                                                                                                                6 collocated sam-                                               sampler concentra-
                                                                                                                ples for primary QA                                             tion and duplicate
                                                                                                                orgs with >5 sites.                                             sampler concentra-
                                                                                                                                                                                tion.
                                                     1Effective concentration for open path analyzers.
                                                     2Corrected concentration, if applicable for open path analyzers.
ddrumheller on DSK120RN23PROD with RULES3




                                                     3Both primary and collocated sampler values are reported as raw data.
                                                    4 PM2.5 is the only particulate criteria pollutant requiring collocation of continuous and manual primary monitors.
                                                    5 EPA’s recommended maximum number of days that should exist between checks to ensure that the checks are routinely conducted over
                                                 time and to limit data impacts resulting from a failed check.


                                                 *        *      *         *      *                           ■ a. Revising section 2.6.1 and adding                          ■ b. Removing and reserving section
                                                 ■ 27. Amend appendix B to part 58 by:                        sections 2.6.1.1 and 2.6.1.2;                                   3.1.2.2;


                                            VerDate Sep<11>2014        20:35 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00192     Fmt 4701      Sfmt 4700   E:\FR\FM\06MRR3.SGM      06MRR3
                                                       USCA Case #24-1051                           Document #2043704                             Filed: 03/06/2024              Page 204 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                         16393

                                                 ■ c. Revising sections 3.1.3.3 and 3.2.4;               form of advertising. The PSD PQAOs                    and PEP audit concentrations are valid
                                                 ■ d. Adding sections 3.2.4.1 through                    must provide information to the PSD                   and equal to or greater than 2 mg/m3.
                                                 3.2.4.3;                                                reviewing authority on the specialty gas              Siting of the PEP monitor must be
                                                 ■ e. Revising sections 4.2.1, and 4.2.5;                producers they use (or will use) for the              consistent with section 3.2.3.4(c) of this
                                                 and                                                     duration of the PSD monitoring project.               appendix. However, any horizontal
                                                 ■ f. In section 6 revising References (1),              This information can be provided in the               distance greater than 4 meters and any
                                                 (4), (6), (7), (9), (10), and (11) and table            QAPP or monitoring plan but must be                   vertical distance greater than one meter
                                                 B–1.                                                    updated if there is a change in the                   must be reported to the EPA regional
                                                   The revisions and additions read as                   specialty gas producers used.                         PEP coordinator. Additionally for every
                                                 follows:                                                *     *      *    *    *                              monitor designated as a primary
                                                 Appendix B to Part 58—Quality                             3.1.3.3 Using audit gases that are                  monitor, a primary quality assurance
                                                 Assurance Requirements for Prevention                   verified against the NIST standard                    organization must:
                                                 of Significant Deterioration (PSD) Air                  reference methods or special review                     3.2.4.1 Have each method
                                                 Monitoring                                              procedures and validated per the                      designation evaluated each year; and,
                                                                                                         certification periods specified in                      3.2.4.2 Have all FRM and FEM
                                                 *      *     *    *     *
                                                                                                         Reference 4 of this appendix (EPA                     samplers subject to a PEP audit at least
                                                    2.6.1 Gaseous pollutant
                                                                                                         Traceability Protocol for Assay and                   once every 6 years, which equates to
                                                 concentration standards (permeation
                                                                                                         Certification of Gaseous Calibration                  approximately 15 percent of the
                                                 devices or cylinders of compressed gas)
                                                                                                         Standards) for CO, SO2, and NO2 and                   monitoring sites audited each year.
                                                 used to obtain test concentrations for
                                                 CO, SO2, NO, and NO2 must be EPA                        using O3 analyzers that are verified                    3.2.4.3 Additional information
                                                 Protocol Gases certified in accordance                  quarterly against a standard reference                concerning the PEP is contained in
                                                 with one of the procedures given in                     photometer.                                           Reference 10 of this appendix. The
                                                 Reference 4 of this appendix.                           *     *      *    *    *                              calculations for evaluating bias between
                                                    2.6.1.1 The concentrations of EPA                      3.2.4 PM2.5 Performance Evaluation                  the primary monitor and the
                                                 Protocol Gas standards used for ambient                 Program (PEP) Procedures. The PEP is                  performance evaluation monitor for
                                                 air monitoring must be certified with a                 an independent assessment used to                     PM2.5 are described in section 4.2.5 of
                                                 95-percent confidence interval to have                  estimate total measurement system bias.               this appendix.
                                                 an analytical uncertainty of no more                    These evaluations will be performed                   *     *      *    *    *
                                                 than ±2.0 percent (inclusive) of the                    under the NPEP as described in section                  4.2.1 Collocated Quality Control
                                                 certified concentration (tag value) of the              2.4 of this appendix or a comparable                  Sampler Precision Estimate for PM10,
                                                 gas mixture. The uncertainty must be                    program. Performance evaluations will                 PM2.5, and Pb. Precision is estimated via
                                                 calculated in accordance with the                       be performed annually within each                     duplicate measurements from collocated
                                                 statistical procedures defined in                       PQAO. For PQAOs with less than or                     samplers. It is recommended that the
                                                 Reference 4 of this appendix.                           equal to five monitoring sites, five valid            precision be aggregated at the PQAO
                                                    2.6.1.2 Specialty gas producers                      performance evaluation audits must be                 level quarterly, annually, and at the 3-
                                                 advertising certification with the                      collected and reported each year. For                 year level. The data pair would only be
                                                 procedures provided in Reference 4 of                   PQAOs with greater than five                          considered valid if both concentrations
                                                 this appendix and distributing gases as                 monitoring sites, eight valid                         are greater than or equal to the
                                                 ‘‘EPA Protocol Gas’’ for ambient air                    performance evaluation audits must be                 minimum values specified in section
                                                 monitoring purposes must adhere to the                  collected and reported each year. A                   4(c) of this appendix. For each
                                                 regulatory requirements specified in 40                 valid performance evaluation audit                    collocated data pair, calculate ti, using
                                                 CFR 75.21(g) or not use ‘‘EPA’’ in any                  means that both the primary monitor                   equation 6 to this appendix:

                                                                                                    Equation 6 to Section 4.2.1 of Appendix B




                                                   Where Xi is the concentration from                    concentration value from the audit                    upper bound is calculated using
                                                 the primary sampler and Yi is the                       sampler. The coefficient of variation                 equation 7 to this appendix:


                                                                                                    Equation 7 to Section 4.2.1 of Appendix B
ddrumheller on DSK120RN23PROD with RULES3




                                                                     I                                  k X If=t ff - (If=t ti) 2                                 k- 1
                                                                     CV90NAAQS = 100                *         2k(k -1)            X                                               2
                                                                                                                                                                                                            ER06MR24.045</GPH>




                                                                                                                                                  NAAQS Concentration* Xo.t,k-t


                                                   Where k is the number of valid data                   the 10th percentile of a chi-squared                  freedom. The factor of 2 in the
                                                 pairs being aggregated, and X20.1,k-1 is                distribution with k-1 degrees of                      denominator adjusts for the fact that
                                                                                                                                                                                                            ER06MR24.044</GPH>




                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00193   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                                Document #2043704                              Filed: 03/06/2024                 Page 205 of 217
                                                 16394                Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 each ti is calculated from two values                         4.2.5 Performance Evaluation                            appendix. The bias estimator is based
                                                 with error.                                                 Programs Bias Estimate for PM2.5. The                     on, si, the absolute difference in
                                                 *    *       *    *     *                                   bias estimate is calculated using the PEP                 concentrations divided by the square
                                                                                                             audits described in section 3.2.4. of this                root of the PEP concentration.


                                                                                                        Equation 8 to Section 4.2.5 of Appendix B

                                                                                                                   ,1:n s                                meas - audit
                                                                                          100 x                     1=1 '                      where s - - - - - -
                                                                                                  n,/NAAQS concentration                                    ' -        -../audit

                                                 *      *      *         *      *                            (6) List of Designated Reference and                           April 1994. Available from U.S.
                                                                                                                  Equivalent Methods. Available from U.S.                   Environmental Protection Agency, ORD
                                                 6. References                                                    Environmental Protection Agency,                          Publications Office, Center for
                                                 (1) American National Standard Institute—                        Center for Environmental Measurements                     Environmental Research Information
                                                      Quality Management Systems For                              and Modeling, Air Methods and                             (CERI), 26 W. Martin Luther King Drive,
                                                      Environmental Information And                               Characterization Division, MD–D205–03,                    Cincinnati, OH 45268. https://
                                                      Technology Programs—Requirements                            Research Triangle Park, NC 27711.                         www.epa.gov/amtic/ambient-air-
                                                      With Guidance For Use. ASQ/ANSI E4–                         https://www.epa.gov/amtic/air-
                                                                                                                                                                            monitoring-quality-
                                                      2014. February 2014. Available from                         monitoring-methods-criteria-pollutants.
                                                                                                             (7) Transfer Standards for the Calibration of                  assurance#documents.
                                                      ANSI Webstore https://webstore.ansi.                                                                             (10) Quality Assurance Handbook for Air
                                                      org/.                                                       Ambient Air Monitoring Analyzers for
                                                                                                                  Ozone. EPA–454/B–13–004 U.S.                              Pollution Measurement Systems, Volume
                                                 *      *      *         *      *                                 Environmental Protection Agency,                          II: Ambient Air Quality Monitoring
                                                 (4) EPA Traceability Protocol for Assay and                      Research Triangle Park, NC 27711,                         Program Quality System Development.
                                                      Certification of Gaseous Calibration                        October, 2013. https://www.epa.gov/                       EPA–454/B–13–003. https://
                                                      Standards. EPA–600/R–12/531. May,                           sites/default/files/2020-09/documents/                    www.epa.gov/amtic/ambient-air-
                                                      2012. Available from U.S. Environmental                     ozonetransferstandardguidance.pdf.                        monitoring-quality-
                                                      Protection Agency, National Risk                       *       *      *      *       *                                assurance#documents.
                                                      Management Research Laboratory,                        (9) Quality Assurance Handbook for Air                    (11) National Performance Evaluation
                                                      Research Triangle Park NC 27711.                            Pollution Measurement Systems, Volume                     Program Standard Operating Procedures.
                                                      https://www.epa.gov/nscep.                                  1—A Field Guide to Environmental                          https://www.epa.gov/amtic/ambient-air-
                                                 *      *      *         *      *                                 Quality Assurance. EPA–600/R–94/038a.                     monitoring-quality-assurance#npep.

                                                 TABLE B–1 TO SECTION 6 OF APPENDIX B- MINIMUM DATA ASSESSMENT REQUIREMENTS FOR NAAQS RELATED CRITERIA
                                                                                         POLLUTANT PSD MONITORS
                                                                                      Assessment                                                  Minimum                   Parameters                 AQS
                                                            Method                                                   Coverage
                                                                                        method                                                   frequency                   reported             Assessment type

                                                 Gaseous Methods
                                                  (CO, NO2, SO2, O3):
                                                    One-Point QC for            Response check at            Each analyzer ...........     Once per 2 weeks5 ...       Audit concentration1     One-Point QC.
                                                      SO2, NO2, O3,               concentration                                                                          and measured con-
                                                      CO.                         0.005–0.08 ppm                                                                         centration2.
                                                                                  SO2, NO2, O3, &
                                                                                  0.5 and 5 ppm CO.
                                                      Quarterly perform-        See section 3.1.2 of         Each analyzer ...........     Once per quarter5 .....     Audit concentration1     Annual PE.
                                                       ance evaluation            this appendix.                                                                         and measured con-
                                                       for SO2, NO2,                                                                                                     centration2 for each
                                                       O3, CO.                                                                                                           level.
                                                      NPAP for SO2,             Independent Audit .....      Each primary monitor          Once per year ...........   Audit concentration1     NPAP.
                                                       NO2, O3, CO3.                                                                                                     and measured con-
                                                                                                                                                                         centration2 for each
                                                                                                                                                                         level.
                                                 Particulate Methods:
                                                      Collocated sam-           Collocated samplers          1 per PSD Network             Every 6 days or every       Primary sampler con-     No Transaction re-
                                                        pling PM10,                                            per pollutant.                3 days if daily mon-        centration and du-       ported as raw data.
                                                        PM2.5, Pb.                                                                           itoring required.           plicate sampler
                                                                                                                                                                         concentration4.
                                                      Flow rate                 Check of sampler             Each sampler ............     Once every month5 ...       Audit flow rate and      Flow Rate
                                                        verification              flow rate.                                                                             measured flow rate       Verification.
ddrumheller on DSK120RN23PROD with RULES3




                                                        PM10, PM2.5,                                                                                                     indicated by the
                                                        Pb.                                                                                                              sampler.
                                                      Semi-annual flow          Check of sampler             Each sampler ............     Once every 6 months         Audit flow rate and      Semi Annual Flow
                                                        rate audit PM10,         flow rate using                                            or beginning, mid-           measured flow rate       Rate Audit.
                                                        PM2.5, Pb.               independent stand-                                         dle and end of               indicated by the
                                                                                 ard.                                                       monitoring5.                 sampler.
                                                                                                                                                                                                                        ER06MR24.046</GPH>




                                            VerDate Sep<11>2014      19:03 Mar 05, 2024    Jkt 262001   PO 00000   Frm 00194    Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM    06MRR3
                                                         USCA Case #24-1051                              Document #2043704                                 Filed: 03/06/2024                  Page 206 of 217
                                                                        Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                                     16395

                                                 TABLE B–1 TO SECTION 6 OF APPENDIX B- MINIMUM DATA ASSESSMENT REQUIREMENTS FOR NAAQS RELATED CRITERIA
                                                                                    POLLUTANT PSD MONITORS—Continued
                                                                                        Assessment                                                     Minimum                   Parameters                 AQS
                                                              Method                                                  Coverage
                                                                                          method                                                      frequency                   reported             Assessment type

                                                         Pb analysis audits       Check of analytical         Analytical ...................   Each quarter5 ............   Measured value and      Pb Analysis Audits.
                                                           Pb-TSP, Pb-              system with Pb                                                                            audit value (ug Pb/
                                                           PM10.                    audit strips/filters.                                                                     filter) using AQS
                                                                                                                                                                              unit code 077 for
                                                                                                                                                                              parameters:.
                                                                                                                                                                            14129—Pb (TSP) LC
                                                                                                                                                                              FRM/FEM.
                                                                                                                                                                            85129—Pb (TSP) LC
                                                                                                                                                                              Non-FRM/FEM..
                                                         Performance Eval-        Collocated samplers         (1) 5 valid audits for           Over all 4 quarters5 ..      Primary sampler con-    PEP.
                                                           uation Program                                       PQAOs with <= 5                                               centration and per-
                                                           PM2.53.                                              sites..                                                       formance evalua-
                                                                                                              (2) 8 valid audits for                                          tion sampler con-
                                                                                                                PQAOs with > 5                                                centration.
                                                                                                                sites..
                                                                                                              (3) All samplers in 6
                                                                                                                years.
                                                         Performance Eval-        Collocated samplers         (1) 1 valid audit and 4          Over all 4 quarters5 ..      Primary sampler con-    PEP.
                                                           uation Program                                       collocated samples                                            centration and per-
                                                           Pb 3.                                                for PQAOs, with                                               formance evalua-
                                                                                                                <=5 sites..                                                   tion sampler con-
                                                                                                              (2) 2 valid audits and                                          centration. Primary
                                                                                                                6 collocated sam-                                             sampler concentra-
                                                                                                                ples for PQAOs                                                tion and duplicate
                                                                                                                with >5 sites..                                               sampler concentra-
                                                                                                                                                                              tion.
                                                     1Effective concentration for open path analyzers.
                                                     2Corrected concentration, if applicable for open path analyzers.
                                                   3  NPAP, PM2.5, PEP, and Pb-PEP must be implemented if data is used for NAAQS decisions otherwise implementation is at PSD reviewing
                                                 authority discretion.
                                                   4  Both primary and collocated sampler values are reported as raw data
                                                   5 A maximum number of days should be between these checks to ensure the checks are routinely conducted over time and to limit data im-
                                                 pacts resulting from a failed check.


                                                 ■ 28. Amend appendix C to part 58 by:                           2.2.3 Requests for approval of an updated                  appendix, no further work is necessary with
                                                 ■ a. Adding sections 2.2 and 2.2.1                           PM10, PM2.5, or PM10–2.5 continuous FEM                       precision.
                                                 through 2.2.19;                                              calibration must meet the general submittal                      2.2.10 Data available to use may include
                                                 ■ b. Removing and reserving sections
                                                                                                              requirements of section 2.7 of this appendix.                 routine primary and collocated data.
                                                                                                                 2.2.4 Data included in the request should                     2.2.11 Audit data may be useful to
                                                 2.4, 2.4.1;
                                                                                                              represent a subset of representative locations                confirm the performance of a candidate
                                                 ■ c. Removing sections 2.4.1.1 through
                                                                                                              where the method is operational. For cases                    updated calibration but should not be used
                                                 2.4.1.7; and                                                 with a small number of collocated FRMs and                    as the basis of the calibration to keep the
                                                 ■ d. Revising section 2.7.1.                                 continuous FEMs sites, an updated candidate                   independence of the audit data.
                                                   The additions and revision reads as                        calibration may be limited to the sites where                    2.2.12 Data utilized as the basis of the
                                                 follows:                                                     both methods are in use.                                      updated calibration may be obtained by
                                                                                                                 2.2.5 Data included in a candidate                         accessing EPA’s AQS database or future
                                                 Appendix C to Part 58—Ambient Air                            method updated calibration may include a                      analogous EPA database.
                                                 Quality Monitoring Methodology                               subset of sites where there is a large grouping                  2.2.13 Years of data to use in a candidate
                                                 *        *      *         *      *                           of sites in one part of the country such that                 method calibration should include two
                                                   2.2 PM10, PM2.5, or PM10–2.5 continuous                    the updated calibration would be                              recent years where we are past the
                                                 FEMs with existing valid designations may                    representative of the country as a whole.                     certification period for the previous year’s
                                                 be calibrated using network data from                           2.2.6 Improvements should be national in                   data, which is May 1 of each year.
                                                 collocated FRM and continuous FEM data                       scope and ideally implemented through a                          2.2.14 Data from additional years is to be
                                                 under the following provisions:                              firmware change.                                              used to test an updated calibration such that
                                                   2.2.1 Data to demonstrate a calibration                       2.2.7 The goal of a change to a methods                    the calibration is independent of the test
                                                 may include valid data from State, local, or                 calibration is to increase the number of sites                years of interest. Data from these additional
                                                 Tribal air agencies or data collected by                     meeting measurements quality objectives of                    years need to minimally demonstrate that a
                                                 instrument manufacturers in accordance with                  the method as identified in section 2.3.1.1 of                larger number of sites are expected to meet
                                                 40 CFR 53.35 or other data approved by the                   appendix A to this part.                                      bias MQO especially at sites near the level of
                                                 Administrator.                                                  2.2.8 For meeting measurement quality                      the NAAQS for the PM indicator of interest.
ddrumheller on DSK120RN23PROD with RULES3




                                                   2.2.2 A request to update a designated                     objectives (MQOs), the primary objective is to                   2.2.15 Outliers may be excluded using
                                                 methods calibration may be initiated by the                  meet the bias goal as this statistic will likely              routine outlier tests.
                                                 instrument manufacturer of record or the                     have the most influence on improving the                         2.2.16 The range of data used in a
                                                 EPA Administrator. State, local, Tribal, and                 resultant data collected.                                     calibration may include all data available or
                                                 multijusistincional organizations of these                      2.2.9 Precision data are to be included,                   alternatively use data in the range from the
                                                 entities may work with an instrument                         but so long as precision data are at least as                 lowest measured data available up to 125%
                                                 manufacture to update a designated method                    good as existing network data or meet the                     of the 24-hour NAAQS for the PM indicator
                                                 calibration.                                                 MQO referenced in section 2.2.8 of this                       of interest.



                                            VerDate Sep<11>2014        19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00195     Fmt 4701     Sfmt 4700   E:\FR\FM\06MRR3.SGM     06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024              Page 207 of 217
                                                 16396             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                    2.2.17 Other improvements to a PM                    will be used to evaluate the regional air             1. Introduction
                                                 continuous method may be included as part               quality models used in developing emission
                                                 of a recommended update so long as                                                                            1.1 Applicability
                                                                                                         strategies, and to track trends in air pollution
                                                 appropriate testing is conducted with input             abatement control measures’ impact on                    (a) This appendix contains specific
                                                 from EPA’s Office of Research and                       improving air quality. In monitoring                  location criteria applicable to ambient air
                                                 Development (ORD) Reference and                         locations near major air pollution sources,           quality monitoring probes, inlets, and optical
                                                 Equivalent (R&E) Methods Designation                    source-oriented monitoring data can provide           paths of SLAMS, NCore, PAMS, and other
                                                 program.                                                insight into how well industrial sources are          monitor types whose data are intended to be
                                                    2.2.18 EPA encourages early                          controlling their pollutant emissions.                used to determine compliance with the
                                                 communication by instrument manufacturers                                                                     NAAQS. These specific location criteria are
                                                 considering an update to a PM method.
                                                                                                         *      *      *      *       *                        relevant after the general location has been
                                                 Instrument companies should initiate such                  4.7.1 * * *                                        selected based on the monitoring objectives
                                                 dialogue by contacting EPA’s ORD R&E                       (a) State and where applicable, local,             and spatial scale of representation discussed
                                                 Methods Designation program. The contact                agencies must operate the minimum number              in appendix D to this part. Monitor probe
                                                 information for this can be found at 40 CFR             of required PM2.5 SLAMS sites listed in table         material and sample residence time
                                                 53.4.                                                   D–5 to this appendix. The NCore sites are             requirements are also included in this
                                                    2.2.19 Manufacturers interested in                   expected to complement the PM2.5 data                 appendix. Adherence to these siting criteria
                                                 improving instrument’s performance through              collection that takes place at non-NCore              is necessary to ensure the uniform collection
                                                 an updated factory calibration must submit a            SLAMS sites, and both types of sites can be           of compatible and comparable air quality
                                                 written modification request to EPA with                used to meet the minimum PM2.5 network                data.
                                                 supporting rationale. Because the testing               requirements. For many State and local                   (b) The probe and monitoring path siting
                                                 requirements and acceptance criteria of any             networks, the total number of PM2.5 sites             criteria discussed in this appendix must be
                                                 field and/or lab tests can depend upon the              needed to support the basic monitoring                followed to the maximum extent possible. It
                                                 nature and extent of the intended                       objectives of providing air pollution data to         is recognized that there may be situations
                                                 modification, applicants should contact                 the general public in a timely manner,                where some deviation from the siting criteria
                                                 EPA’s R&E Methods Designation program for               support compliance with ambient air quality           may be necessary. In any such case, the
                                                 guidance prior to development of the                    standards and emission strategy                       reasons must be thoroughly documented in a
                                                 modification request.                                   development, and support for air pollution            written request for a waiver that describes
                                                                                                         research studies will include more sites than         whether the resulting monitoring data will be
                                                 *      *     *       *      *                                                                                 representative of the monitoring area and
                                                                                                         the minimum numbers required in table D–
                                                   2.7.1 Requests for approval under                                                                           how and why the proposed or existing siting
                                                                                                         5 to this appendix. Deviations from these
                                                 sections 2.2, 2.4, 2.6.2, or 2.8 of this                                                                      must deviate from the criteria. This
                                                                                                         PM2.5 monitoring requirements must be
                                                 appendix must be submitted to: Director,                                                                      documentation should help to avoid later
                                                 Center for Environmental Measurement and                approved by the EPA Regional
                                                                                                         Administrator.                                        questions about the validity of the resulting
                                                 Modeling, Reference and Equivalent Methods                                                                    monitoring data. Conditions under which the
                                                 Designation Program (MD–D205–03), U.S.                  *      *      *      *       *                        EPA would consider an application for
                                                 Environmental Protection Agency, P.O. Box                  (b) * * *                                          waiver from these siting criteria are
                                                 12055, Research Triangle Park, North                       (3) For areas with additional required             discussed in section 4 of this appendix.
                                                 Carolina 27711.                                         SLAMS, a monitoring station is to be sited in            (c) The pollutant-specific probe and
                                                 ■ 29. Amend appendix D to part 58 by                    an at-risk community with poor air quality,           monitoring path siting criteria generally
                                                 revising sections 1 and 1.1(b), the                     particularly where there are anticipated              apply to all spatial scales except where noted
                                                                                                         effects from sources in the area (e.g., a major       otherwise. Specific siting criteria that are
                                                 introductory text before the table in                   industrial area, point source(s), port, rail          phrased with ‘‘shall’’ or ‘‘must’’ are defined
                                                 section 4.7.1(a), and sections 4.7.1(b)(3)              yard, airport, or other transportation facility       as requirements and exceptions must be
                                                 and 4.7.2 to read as follows:                           or corridor).                                         granted through the waiver provisions.
                                                 Appendix D to Part 58—Network                           *      *      *      *       *                        However, siting criteria that are phrased with
                                                                                                           4.7.2 Requirement for Continuous PM2.5              ‘‘should’’ are defined as goals to meet for
                                                 Design Criteria for Ambient Air Quality                                                                       consistency but are not requirements.
                                                 Monitoring                                              Monitoring. The State, or where appropriate,
                                                                                                         local agencies must operate continuous PM2.5          2. Monitors and Samplers with Probe Inlets
                                                 *      *     *       *      *                           analyzers equal to at least one-half (round
                                                                                                         up) the minimum required sites listed in              2.1 Horizontal and Vertical Placement
                                                 1. Monitoring Objectives and Spatial Scales
                                                                                                         table D–5 to this appendix. At least one                 (a) For O3 and SO2 monitoring, and for
                                                    The purpose of this appendix is to describe          required continuous analyzer in each MSA              neighborhood or larger spatial scale Pb, PM10,
                                                 monitoring objectives and general criteria to           must be collocated with one of the required           PM10–2.5, PM2.5, NO2, and CO sites, the probe
                                                 be applied in establishing the required                 FRM/FEM monitors, unless at least one of the          must be located greater than or equal to 2.0
                                                 SLAMS ambient air quality monitoring                    required FRM/FEM monitors is itself a                 meters and less than or equal to 15 meters
                                                 stations and for choosing general locations             continuous FEM monitor in which case no               above ground level.
                                                 for additional monitoring sites. This                   collocation requirement applies. State and               (b) Middle scale CO and NO2 monitors
                                                 appendix also describes specific                        local air monitoring agencies must use                must have sampler inlets greater than or
                                                 requirements for the number and location of             methodologies and quality assurance/quality           equal to 2.0 meters and less than or equal to
                                                 FRM and FEM sites for specific pollutants,              control (QA/QC) procedures approved by the            15 meters above ground level.
                                                 NCore multipollutant sites, PM10 mass sites,            EPA Regional Administrator for these                     (c) Middle scale PM10–2.5 sites are required
                                                 PM2.5 mass sites, chemically-speciated PM2.5            required continuous analyzers.                        to have sampler inlets greater than or equal
                                                 sites, and O3 precursor measurements sites                                                                    to 2.0 meters and less than or equal to 7.0
                                                 (PAMS). These criteria will be used by EPA              *      *      *      *       *                        meters above ground level.
                                                 in evaluating the adequacy of the air                                                                            (d) Microscale Pb, PM10, PM10–2.5, and
                                                                                                         ■ 30. Revise appendix E to part 58 to
                                                 pollutant monitoring networks.                                                                                PM2.5 sites are required to have sampler
                                                    1.1 * * *
                                                                                                         read as follows:
                                                                                                                                                               inlets greater than or equal to 2.0 meters and
                                                    (b) Support compliance with ambient air                                                                    less than or equal to 7.0 meters above ground
ddrumheller on DSK120RN23PROD with RULES3




                                                                                                         Appendix E to Part 58—Probe and
                                                 quality standards and emissions strategy                Monitoring Path Siting Criteria for                   level.
                                                 development. Data from FRM and FEM                                                                               (e) Microscale near-road NO2 monitoring
                                                                                                         Ambient Air Quality Monitoring
                                                 monitors for NAAQS pollutants will be used                                                                    sites are required to have sampler inlets
                                                 for comparing an area’s air pollution levels            1. Introduction                                       greater than or equal to 2.0 meters and less
                                                 against the NAAQS. Data from monitors of                2. Monitors and Samplers with Probe Inlets            than or equal to 7.0 meters above ground
                                                 various types can be used in the development            3. Open Path Analyzers                                level.
                                                 of attainment and maintenance plans.                    4. Waiver Provisions                                     (f) The probe inlets for microscale carbon
                                                 SLAMS, and especially NCore station data,               5. References                                         monoxide monitors that are being used to



                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00196   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024                     Page 208 of 217
                                                                   Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                                   16397

                                                 measure concentrations near roadways must               convertors and meteorological sensors, etc. to        2.5   Spacing From Roadways
                                                 be greater than or equal to 2.0 meters and less         be deemed obstructions.
                                                 than or equal to 7.0 meters above ground                   (b) A probe inlet located near or along a            TABLE E–1 TO SECTION 2.5 OF AP-
                                                 level. Those probe inlets for microscale                vertical wall is undesirable because air                 PENDIX E—MINIMUM SEPARATION
                                                 carbon monoxide monitors measuring                      moving along the wall may be subject to
                                                 concentrations near roadways in downtown                                                                         DISTANCE BETWEEN ROADWAYS AND
                                                                                                         removal mechanisms. A probe inlet must                   PROBES FOR MONITORING NEIGH-
                                                 areas or urban street canyons must be greater
                                                                                                         have unrestricted airflow with no
                                                 than or equal to 2.5 meters and less than or
                                                                                                         obstructions (as defined in paragraph (a) of
                                                                                                                                                                  BORHOOD    AND   URBAN SCALE
                                                 equal to 3.5 meters above ground level. The                                                                      OZONE (O3) AND OXIDES OF NITRO-
                                                 probe must be at least 1.0 meter vertically or          this section) in a continuous arc of at least
                                                                                                         270 degrees. An unobstructed continuous arc              GEN (NO, NO2, NOX, NOy)
                                                 horizontally away from any supporting
                                                 structure, walls, parapets, penthouses, etc.,           of 180 degrees is allowable when the
                                                 and away from dusty or dirty areas. If the              applicable network design criteria specified             Roadway                 Minimum        Minimum
                                                                                                                                                                average daily
                                                 probe is located near the side of a building            in appendix D of this part require monitoring                                   distance1 3   distance1 2 3
                                                                                                                                                                    traffic,              (meters)       (meters)
                                                 or wall, then it should be located on the               in street canyons and the probe is located on         vehicles per day
                                                 windward side of the building relative to the           the side of a building. This arc must include
                                                 prevailing wind direction during the season             the predominant wind direction for the                ≤1,000 ...............             10             10
                                                 of highest concentration potential for the              season of greatest pollutant concentration            10,000 ...............             10             20
                                                 pollutant being measured.                                                                                     15,000 ...............             20             30
                                                                                                         potential. For particle sampling, there must
                                                 2.2 Spacing From Minor Sources                          be a minimum of 2.0 meters of horizontal              20,000 ...............             30             40
                                                                                                                                                               40,000 ...............             50             60
                                                    (a) It is important to understand the                separation from walls, parapets, and
                                                                                                                                                               70,000 ...............            100            100
                                                 monitoring objective for a particular site in           structures for rooftop site placement.                ≥110,000 ...........              250            250
                                                 order to interpret this requirement. Local                 (c) A sampling station with a probe inlet
                                                                                                                                                                  1 Distance from the edge of the nearest traf-
                                                 minor sources of a primary pollutant, such as           located closer to an obstacle than required by
                                                 SO2, lead, or particles, can cause high                 the criteria in this section should be                fic lane. The distance for intermediate traffic
                                                 concentrations of that particular pollutant at                                                                counts should be interpolated from the table
                                                                                                         classified as middle scale or microscale,             values based on the actual traffic count./
                                                 a monitoring site. If the objective for that            rather than neighborhood or urban scale,              TNOTE≤
                                                 monitoring site is to investigate these local           since the measurements from such a station               2 Applicable   for ozone monitors whose
                                                 primary pollutant emissions, then the site                                                                    placement was not approved as of December
                                                                                                         would more closely represent these smaller
                                                 will likely be properly located nearby. This                                                                  18, 2006.
                                                 type of monitoring site would, in all                   scales.                                                  3 All distances listed are expressed as hav-

                                                 likelihood, be a microscale-type of                        (d) For near-road monitoring stations, the         ing 2 significant figures. When rounding is per-
                                                 monitoring site. If a monitoring site is to be          monitor probe shall have an unobstructed air          formed to assess compliance with these siting
                                                 used to determine air quality over a much               flow, where no obstacles exist at or above the        requirements, the distance measurements will
                                                                                                         height of the monitor probe, between the              be rounded such as to retain at least two sig-
                                                 larger area, such as a neighborhood or city,                                                                  nificant figures.
                                                 a monitoring agency should avoid placing a              monitor probe and the outside nearest edge
                                                 monitor probe inlet near local, minor                   of the traffic lanes of the target road segment.      2.5.1 Spacing for Ozone Probes
                                                 sources, because a plume from a local minor                                                                     In siting an O3 monitor, it is important to
                                                 source should not be allowed to                         2.4   Spacing From Trees
                                                                                                                                                               minimize destructive interferences from
                                                 inappropriately impact the air quality data                (a) Trees can provide surfaces for SO2, O3,        sources of NO, since NO readily reacts with
                                                 collected at a site. Particulate matter sites           or NO2 adsorption or reactions and surfaces           O3. Table E–1 of this appendix provides the
                                                 should not be located in an unpaved area                for particle deposition. Trees can also act as        required minimum separation distances
                                                 unless there is vegetative ground cover year-                                                                 between a roadway and a probe inlet for
                                                                                                         obstructions in locations where the trees are
                                                 round, so that the impact of windblown dusts                                                                  various ranges of daily roadway traffic. A
                                                                                                         between the air pollutant sources or source
                                                 will be kept to a minimum.                                                                                    sampling site with a monitor probe located
                                                    (b) Similarly, local sources of nitric oxide         areas and the monitoring site and where the
                                                                                                                                                               closer to a roadway than allowed by the
                                                 (NO) and ozone-reactive hydrocarbons can                trees are of a sufficient height and leaf
                                                                                                                                                               Table E–1 requirements should be classified
                                                 have a scavenging effect causing                        canopy density to interfere with the normal           as middle scale or microscale, rather than
                                                 unrepresentatively low concentrations of O3             airflow around the probe inlet. To reduce this        neighborhood or urban scale, since the
                                                 in the vicinity of probes for O3. To minimize           possible interference/obstruction, the probe          measurements from such a site would more
                                                 these potential interferences from nearby               inlet should be 20 meters or more from the            closely represent these smaller scales.
                                                 minor sources, the probe inlet should be                drip line of trees and must be at least 10
                                                 placed at a distance from furnace or                                                                          2.5.2 Spacing for Carbon Monoxide Probes
                                                                                                         meters from the drip line of trees. If a tree
                                                 incineration flues or other minor sources of            or group of trees is an obstacle, the probe              (a) Near-road microscale CO monitoring
                                                 SO2 or NO. The separation distance should                                                                     sites, including those located in downtown
                                                                                                         inlet must meet the distance requirements of
                                                 take into account the heights of the flues,                                                                   areas, urban street canyons, and other near-
                                                                                                         section 2.3 of this appendix.                         road locations such as those adjacent to
                                                 type of waste or fuel burned, and the sulfur
                                                 content of the fuel.                                       (b) The scavenging effect of trees is greater      highly trafficked roads, are intended to
                                                                                                         for O3 than for other criteria pollutants.            provide a measurement of the influence of
                                                 2.3 Spacing From Obstructions                           Monitoring agencies must take steps to                the immediate source on the pollution
                                                    (a) Obstacles may scavenge SO2, O3, or               consider the impact of trees on ozone                 exposure on the adjacent area.
                                                 NO2, and can act to restrict airflow for any            monitoring sites and take steps to avoid this            (b) Microscale CO monitor probe inlets in
                                                 pollutant. To avoid this interference, the              problem.                                              downtown areas or urban street canyon
                                                 probe inlet must have unrestricted airflow                 (c) Beginning January 1, 2024, microscale          locations shall be located a minimum
                                                 pursuant to paragraph (b) of this section and           sites of any air pollutant shall have no trees        distance of 2.0 meters and a maximum
                                                 should be located at a distance from                                                                          distance of 10 meters from the edge of the
                                                                                                         or shrubs located at or above the line-of-sight
                                                 obstacles. The horizontal distance from the                                                                   nearest traffic lane.
ddrumheller on DSK120RN23PROD with RULES3




                                                                                                         fetch between the probe and the source under             (c) Microscale CO monitor probe inlets in
                                                 obstacle to the probe inlet must be at least
                                                 twice the height that the obstacle protrudes            investigation, e.g., a roadway or a stationary        downtown areas or urban street canyon
                                                 above the probe inlet. An obstacle that does            source.                                               locations shall be located at least 10 meters
                                                 not meet the minimum distance requirement                                                                     from an intersection, preferably at a midblock
                                                 is considered an obstruction that restricts                                                                   location. Midblock locations are preferable to
                                                 airflow to the probe inlet. The EPA does not                                                                  intersection locations because intersections
                                                 generally consider objects or obstacles such                                                                  represent a much smaller portion of
                                                 as flag poles or site towers used for NOy                                                                     downtown space than do the streets between



                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00197   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM    06MRR3
                                                      USCA Case #24-1051                                          Document #2043704                             Filed: 03/06/2024              Page 209 of 217
                                                 16398                  Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 them. Pedestrian exposure is probably also                                2 All distances listed are expressed as hav-      scale site, a range of acceptable distances
                                                 greater in street canyon/corridors than at                             ing 2 significant figures. When rounding is per-     from the roadway is shown in Figure E–1 of
                                                 intersections.                                                         formed to assess compliance with these siting        this appendix. This figure also includes
                                                   (d) Neighborhood scale CO monitor probe                              requirements, the distance measurements will
                                                                                                                        be rounded such as to retain at least two sig-       separation distances between a roadway and
                                                 inlets in downtown areas or urban street                                                                                    neighborhood or larger scale sites by default.
                                                                                                                        nificant figures.
                                                 canyon locations shall be located according
                                                 to the requirements in Table E–2 of this                                                                                    Any PM probe inlet at a site, 2.0 to 15 meters
                                                                                                                        2.5.3 Spacing for Particulate Matter (PM2.5,
                                                 appendix.                                                                                                                   high, and further back than the middle scale
                                                                                                                        PM2.5–10, PM10, Pb) Inlets
                                                                                                                                                                             requirements will generally be neighborhood,
                                                                                                                           (a) Since emissions associated with the           urban or regional scale. For example,
                                                  TABLE E–2 TO SECTION 2.5.2 OF AP-                                     operation of motor vehicles contribute to
                                                                                                                                                                             according to Figure E–1 of this appendix, if
                                                   PENDIX E—MINIMUM SEPARATION                                          urban area particulate matter ambient levels,
                                                                                                                        spacing from roadway criteria are necessary          a PM sampler is primarily influenced by
                                                   DISTANCE BETWEEN ROADWAYS AND                                                                                             roadway emissions and that sampler is set
                                                                                                                        for ensuring national consistency in PM
                                                   PROBES FOR MONITORING NEIGH-                                         sampler siting.                                      back 10 meters from a 30,000 ADT (average
                                                   BORHOOD SCALE CARBON MON-                                               (b) The intent is to locate localized hot-spot    daily traffic) road, the site should be
                                                    OXIDE                                                               sites in areas of highest concentrations,            classified as microscale, if the sampler’s inlet
                                                                                                                        whether it be caused by mobile or multiple           height is between 2.0 and 7.0 meters. If the
                                                  Roadway average                                                       stationary sources. If the area is primarily         sampler’s inlet height is between 7.0 and 15
                                                                                   Minimum distance 1 2
                                                     daily traffic,                     (meters)                        affected by mobile sources and the maximum           meters, the site should be classified as
                                                   vehicles per day                                                     concentration area(s) is judged to be a traffic      middle scale. If the sampler is 20 meters from
                                                                                                                        corridor or street canyon location, then the
                                                 ≤10,000 .................                                         10   monitors should be located near roadways
                                                                                                                                                                             the same road, it will be classified as middle
                                                 15,000 ...................                                        25   with the highest traffic volume and at               scale; if 40 meters, neighborhood scale; and
                                                 20,000 ...................                                        45   separation distances most likely to produce          if 110 meters, an urban scale.
                                                 30,000 ...................                                        80   the highest concentrations. For microscale
                                                 40,000 ...................                                       115   traffic corridor sites, the location must be
                                                 50,000 ...................                                       135   greater than or equal 5.0 meters and less than
                                                 ≥60,000 .................                                        150   or equal to 15 meters from the major
                                                    1 Distance from the edge of the nearest traf-                       roadway. For the microscale street canyon
                                                 fic lane. The distance for intermediate traffic                        site, the location must be greater than or
                                                 counts should be interpolated from the table                           equal 2.0 meters and less than or equal to 10
                                                 values based on the actual traffic count.                              meters from the roadway. For the middle


                                                                          100


                                                                   0

                                                                   ...
                                                                   0
                                                                   0
                                                                    )(
                                                                          80            .c:
                                                                                        1
                                                                                        f      Cl)
                                                                                                             Middle Scale
                                                                    II)           JI!   s     .!/!
                                                                   '0              J    Cl)~
                                                                    cu            .5    E CD
                                                                          60
                                                                    0
                                                                   0::
                                                                    C>
                                                                                  I   r--. £
                                                                                       oO
                                                                                  ;'t .... Cl)
                                                                    C             ;; N -
                                                                                               ~
                                                                                                                                          Neighborhood Scale

                                                                                  t i~
                                                                                        C
                                                                   ti                   Cl)   (f)

                                                                   :! 40                      "O
                                                                   <
                                                                                        Cl)
                                                                                   C    -     "O
                                                                                  ::,
                                                                   0
                                                                   I-
                                                                   C                                                                                                            Urban Scale
                                                                   < 15

                                                                              0
                                                                                  0 5           15                 35                        70                        105                     140

                                                                                  Figure E-1. Distance of PM Samplers to nearest traffic lane (meters)
                                                                                              Notes: Microscale street canyon sites must reside between 2 and 10 meters from the roadway.
                                                                                                     Near-Road sites must be within 50 meters of the roadway.
                                                                                                     The slopes of the lines between monitoring scales are one to one.
ddrumheller on DSK120RN23PROD with RULES3




                                                 2.5.4 Spacing for Nitrogen Dioxide (NO2)                               50 meters, in the horizontal, from the outside       influences. Table E–1 of this appendix
                                                 Probes                                                                 nearest edge of the traffic lanes of the target      provides the required minimum separation
                                                   (a) In siting near-road NO2 monitors as                              road segment. Where possible, the near-road          distances between a roadway and a probe
                                                 required in section 4.3.2 of appendix D of                             NO2 monitor probe should be within 20                inlet for various ranges of daily roadway
                                                 this part, the monitor probe shall be as near                          meters of the target road segment.                   traffic. A site with a monitor probe located
                                                 as practicable to the outside nearest edge of                             (b) In siting NO2 monitors for                    closer to a roadway than allowed by the
                                                 the traffic lanes of the target road segment but                       neighborhood and larger scale monitoring, it         Table E–1 requirements should be classified
                                                                                                                                                                                                                                ER06MR24.047</GPH>




                                                 shall not be located at a distance greater than                        is important to minimize near-road



                                            VerDate Sep<11>2014        19:03 Mar 05, 2024            Jkt 262001   PO 00000   Frm 00198   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                        USCA Case #24-1051                                                Document #2043704                                              Filed: 03/06/2024                        Page 210 of 217
                                                                             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                                                                     16399

                                                 as microscale or middle scale rather than                                           in the sampling train (from probe inlet to the                      studies 27 28indicate that a 10-second or less
                                                 neighborhood or urban scale.                                                        back of the monitor) that can be in contact                         residence time is easily achievable.
                                                                                                                                     with the ambient air sample for reactive gas                        Therefore, sampling probes for all reactive
                                                 2.6 Probe Material and Pollutant Sampler                                            monitors. NafionTM, which is composed
                                                 Residence Time                                                                                                                                          gas monitors for SO2, NO2, and O3 must have
                                                                                                                                     primarily of PTFE, can be considered                                a sample residence time less than 20 seconds.
                                                   (a) For the reactive gases (SO2, NO2, and                                         equivalent to PTFE; it has been shown in
                                                 O3), approved probe materials must be used                                          tests to exhibit virtually no loss of ozone at                      2.7     Summary
                                                 for monitors. Studies25 34 have been                                                20-second residence times.35
                                                                                                                                                                                                           Table E–3 of this appendix presents a
                                                 conducted to determine the suitability of                                             (b) For volatile organic compound (VOC)
                                                 materials such as polypropylene,                                                    monitoring at PAMS, FEP Teflon® is                                  summary of the general requirements for
                                                 polyethylene, polyvinyl chloride, Tygon®,                                           unacceptable as the probe material because of                       probe siting criteria with respect to distances
                                                 aluminum, brass, stainless steel, copper,                                           VOC adsorption and desorption reactions on                          and heights. Table E–3 requires different
                                                 borosilicate glass, polyvinylidene fluoride                                         the FEP Teflon®. Borosilicate glass, stainless                      elevation distances above the ground for the
                                                 (PVDF), polytetrafluoroethylene (PTFE),                                             steel, or their equivalents are the acceptable                      various pollutants. The discussion in this
                                                 perfluoroalkoxy (PFA), and fluorinated                                              probe materials for VOC and carbonyl                                appendix for each of the pollutants describes
                                                 ethylene propylene (FEP) for use as intake                                          sampling. Care must be taken to ensure that                         reasons for elevating the monitor or probe
                                                 sampling lines. Of the above materials, only                                        the sample residence time is kept to 20                             inlet. The differences in the specified range
                                                 borosilicate glass, PVDF, PTFE, PFA, and                                            seconds or less.                                                    of heights are based on the vertical
                                                 FEP have been found to be acceptable for use                                          (c) No matter how nonreactive the                                 concentration gradients. For source oriented
                                                 as intake sampling lines for all the reactive                                       sampling probe material is initially, after a                       and near-road monitors, the gradients in the
                                                 gaseous pollutants. Furthermore, the EPA 25                                         period of use, reactive particulate matter is
                                                 has specified borosilicate glass, FEP Teflon®,                                                                                                          vertical direction are very large for the
                                                                                                                                     deposited on the probe walls. Therefore, the
                                                 or their equivalents as the only acceptable                                         time it takes the gas to transfer from the                          microscale, so a small range of heights are
                                                 probe materials for delivering test                                                 probe inlet to the sampling device is critical.                     used. The upper limit of 15 meters is
                                                 atmospheres in the determination of                                                 Ozone in the presence of nitrogen oxide (NO)                        specified for the consistency between
                                                 reference or equivalent methods. Therefore,                                         will show significant losses, even in the most                      pollutants and to allow the use of a single
                                                 borosilicate glass, PVDF, PTFE, PFA, FEP, or                                        inert probe material, when the residence time                       manifold for monitoring more than one
                                                 their equivalents must be the only material                                         exceeds 20 seconds.26 Other                                         pollutant.

                                                                                       TABLE E–3 TO SECTION 2.7 OF APPENDIX E—SUMMARY OF PROBE SITING CRITERIA
                                                                                                                                                                                                               Distance
                                                                                                                                                                           Height         Horizontal or        from drip
                                                                                                                                                                            from        vertical distance        line of     Distance from roadways to probe 8
                                                                       Pollutant                                                     Scale 9                              ground to     from supporting         trees to                  (meters)
                                                                                                                                                                           probe 8      structures 1 8 to       probe 8
                                                                                                                                                                          (meters)    probe inlet (meters)     (meters)

                                                 SO22 3 4 5 .............................................     Middle, Neighborhood, Urban, and                              2.0–15                   ≥1.0           ≥10    N/A.
                                                                                                                Regional.
                                                  CO3 4 6 ................................................    Micro [downtown or street canyon                              2.5–3.5                                        2.0–10 for downtown areas or street
                                                                                                                sites].                                                                                                      canyon microscale.
                                                                                                              Micro [Near-Road sites] ......................                2.0–7.0                  ≥1.0           ≥10    ≤50 for near-road microscale.
                                                                                                              Middle and Neighborhood ..................                     2.0–15                                        See Table E–2 of this appendix for
                                                                                                                                                                                                                             middle and neighborhood scales.
                                                 O32 3 4 ..................................................   Middle, Neighborhood, Urban, and                              2.0–15                   ≥1.0           ≥10    See Table E–1.
                                                                                                                Regional.
                                                                                                              Micro ...................................................     2.0–7.0                                        ≤50 for near-road micro-scale.
                                                 NO22 3 4 ...............................................     Middle, Neighborhood, Urban, and                              2.0–15                   ≥1.0           ≥10    See Table E–1.
                                                                                                                Regional.
                                                 PAMS2 3 4 Ozone precursors ..............                    Neighborhood and Urban ...................                    2.0–15                   ≥1.0           ≥10    See Table E–1.
                                                 PM, Pb 2 3 4 7 .......................................       Micro ...................................................     2.0–7.0
                                                                                                              Middle, Neighborhood, Urban and                               2.0–15        ≥2.0 (horizontal          ≥10    See Figure E–1.
                                                                                                                Regional.                                                                  distance only)
                                                    N/A—Not applicable.
                                                    1 When a probe is located on a rooftop, this separation distance is in reference to walls, parapets, or penthouses located on the roof.
                                                    2 Should be greater than 20 meters from the dripline of tree(s) and must be 10 meters from the dripline.
                                                    3 Distance from sampler or probe inlet to obstacle, such as a building, must be at least twice the height the obstacle protrudes above the sampler or probe inlet.
                                                 Sites not meeting this criterion may be classified as microscale or middle scale (see paragraphs 2.3(a) and 2.3(c)).
                                                    4 Must have unrestricted airflow in a continuous arc of at least 270 degrees around the probe or sampler; 180 degrees if the probe is on the side of a building or a
                                                 wall for street canyon monitoring.
                                                    5 The probe or sampler should be away from minor sources, such as furnace or incineration flues. The separation distance is dependent on the height of the minor
                                                 source emission point(s), the type of fuel or waste burned, and the quality of the fuel (sulfur, ash, or lead content). This criterion is designed to avoid undue influences
                                                 from minor sources.
                                                    6 For microscale CO monitoring sites, the probe must be ≥10 meters from a street intersection and preferably at a midblock location.
                                                    7 Collocated monitor inlets must be within 4.0 meters of each other and at least 2.0 meters apart for flow rates greater than 200 liters/min or at least 1.0 meter apart
                                                 for samplers having flow rates less than 200 liters/min to preclude airflow interference, unless a waiver has been granted by the Regional Administrator pursuant to
                                                 paragraph 3.3.4.2(c) of appendix A of part 58. For PM2.5, collocated monitor inlet heights should be within 1.0 meter of each other vertically.
                                                    8 All distances listed are expressed as having 2 significant figures. When rounding is performed to assess compliance with these siting requirements, the distance
                                                 measurements will be rounded such as to retain at least two significant figures.
                                                    9 See section 1.2 of appendix D for definitions of monitoring scales.




                                                 3.     Open Path Analyzers                                                            (b) Middle scale CO and NO2 sites must                            concentrations near roadways, the
                                                                                                                                     have monitoring paths greater than or equal                         monitoring path must be greater than or
ddrumheller on DSK120RN23PROD with RULES3




                                                 3.1      Horizontal and Vertical Placement                                          2.0 meters and less than or equal to 15 meters                      equal 2.0 meters and less than or equal to 7.0
                                                   (a) For all O3 and SO2 monitoring sites and                                       above ground level.                                                 meters above ground level. If the microscale
                                                 for neighborhood or larger spatial scale NO2,                                         (c) Microscale near-road monitoring sites                         carbon monoxide monitors measuring
                                                 and CO sites, at least 80 percent of the                                            are required to have monitoring paths greater                       concentrations near roadways are in
                                                 monitoring path must be located greater than                                        than or equal 2.0 meters and less than or                           downtown areas or urban street canyons, the
                                                                                                                                     equal to 7.0 meters above ground level.                             monitoring path must be greater than or
                                                 or equal 2.0 meters and less than or equal to
                                                                                                                                       (d) For microscale carbon monoxide                                equal 2.5 meters and less than or equal to 3.5
                                                 15 meters above ground level.                                                       monitors that are being used to measure                             meters above ground level and at least 90



                                            VerDate Sep<11>2014            19:03 Mar 05, 2024             Jkt 262001        PO 00000         Frm 00199         Fmt 4701      Sfmt 4700   E:\FR\FM\06MRR3.SGM        06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024                    Page 211 of 217
                                                 16400             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                 percent of the monitoring path must be at               in appendix D of this part require monitoring         considered an obstacle, the monitoring path
                                                 least 1.0 meter vertically or horizontally              in street canyons and the monitoring path is          must meet the distance requirements of
                                                 away from any supporting structure, walls,              located on the side of a building. This arc           section 3.3 of this appendix.
                                                 parapets, penthouses, etc., and away from               must include the predominant wind                        (b) The scavenging effect of trees is greater
                                                 dusty or dirty areas. If a significant portion          direction for the season of greatest pollutant        for O3 than for other criteria pollutants.
                                                 of the monitoring path is located near the              concentration potential.                              Monitoring agencies must take steps to
                                                 side of a building or wall, then it should be              (c) Special consideration must be given to         consider the impact of trees on ozone
                                                 located on the windward side of the building            the use of open path analyzers given their            monitoring sites and take steps to avoid this
                                                 relative to the prevailing wind direction               inherent potential sensitivity to certain types       problem.
                                                 during the season of highest concentration              of interferences and optical obstructions. A             (c) Beginning January 1, 2024, microscale
                                                 potential for the pollutant being measured.             monitoring path must be clear of all trees,           sites of any air pollutant shall have no trees
                                                                                                         brush, buildings, plumes, dust, or other              or shrubs located at or above the line-of-sight
                                                 3.2 Spacing From Minor Sources                          optical obstructions, including potential             fetch between the monitoring path and the
                                                    (a) It is important to understand the                obstructions that may move due to wind,               source under investigation, e.g., a roadway or
                                                 monitoring objective for a particular site in           human activity, growth of vegetation, etc.            a stationary source.
                                                 order to interpret this requirement. Local              Temporary optical obstructions, such as rain,            3.5 Spacing from Roadways
                                                 minor sources of a primary pollutant, such as           particles, fog, or snow, should be considered
                                                 SO2 can cause high concentrations of that               when siting an open path analyzer. Any of               TABLE E–4 OF SECTION 3.5 OF AP-
                                                 particular pollutant at a monitoring site. If           these temporary obstructions that are of                 PENDIX E—MINIMUM SEPARATION
                                                 the objective for that monitoring site is to            sufficient density to obscure the light beam
                                                 investigate these local primary pollutant               will negatively affect the ability of the open
                                                                                                                                                                  DISTANCE BETWEEN ROADWAYS AND
                                                 emissions, then the site will likely be                 path analyzer to continuously measure                    MONITORING PATHS FOR MONI-
                                                 properly located nearby. This type of                   pollutant concentrations. Transient, but                 TORING NEIGHBORHOOD AND URBAN
                                                 monitoring site would, in all likelihood, be            significant obscuration of especially longer             SCALE OZONE (O3) AND OXIDES OF
                                                 a microscale type of monitoring site. If a              measurement paths, could occur as a result               NITROGEN (NO, NO2, NOX, NOy)
                                                 monitoring site is to be used to determine air          of certain meteorological conditions (e.g.,
                                                 quality over a much larger area, such as a              heavy fog, rain, snow) and/or aerosol levels                                           Minimum      Minimum
                                                 neighborhood or city, a monitoring agency               that are of a sufficient density to prevent the             Roadway                      dis-         dis-
                                                 should avoid placing a monitoring path near             open path analyzer’s light transmission. If            average daily traffic,          tance 1 3   tance 1 2 3
                                                 local, minor sources, because a plume from              certain compensating measures are not                    vehicles per day              (meters)     (meters)
                                                 a local minor source should not be allowed              otherwise implemented at the onset of
                                                 to inappropriately impact the air quality data          monitoring (e.g., shorter path lengths, higher        ≤1,000 .......................         10           10
                                                 collected at a site.                                    light source intensity), data recovery during         10,000 .......................         10           20
                                                    (b) Similarly, local sources of nitric oxide         periods of greatest primary pollutant                 15,000 .......................         20           30
                                                 (NO) and ozone-reactive hydrocarbons can                potential could be compromised. For                   20,000 .......................         30           40
                                                 have a scavenging effect causing                        instance, if heavy fog or high particulate            40,000 .......................         50           60
                                                 unrepresentatively low concentrations of O3             levels are coincident with periods of                 70,000 .......................        100          100
                                                 in the vicinity of monitoring paths for O3. To          projected NAAQS-threatening pollutant                 ≥110,000 ...................          250          250
                                                 minimize these potential interferences from             potential, the representativeness of the                 1 Distance from the edge of the nearest traf-
                                                 nearby minor sources, at least 90 percent of            resulting data record in reflecting maximum
                                                                                                                                                               fic lane. The distance for intermediate traffic
                                                 the monitoring path should be at a distance             pollution concentrations may be                       counts should be interpolated from the table
                                                 from furnace or incineration flues or other             substantially impaired despite the fact that          values based on the actual traffic count.
                                                 minor sources of SO2 or NO. The separation              the site may otherwise exhibit an acceptable,            2 Applicable for ozone open path monitors
                                                 distance should take into account the heights           even exceedingly high, overall valid data             whose placement was not approved as of De-
                                                 of the flues, type of waste or fuel burned, and         capture rate.                                         cember 18, 2006.
                                                                                                                                                                  3 All distances listed are expressed as hav-
                                                 the sulfur content of the fuel.                            (d) A sampling station with a monitoring
                                                                                                         path located closer to an obstacle than               ing 2 significant figures. When rounding is per-
                                                 3.3 Spacing From Obstructions                           required by the criteria in this section should       formed to assess compliance with these siting
                                                   (a) Obstacles may scavenge SO2, O3, or                                                                      requirements, the distance measurements will
                                                                                                         be classified as middle scale or microscale,          be rounded such as to retain at least two sig-
                                                 NO2, and can act to restrict airflow for any            rather than neighborhood or urban scale,              nificant figures.
                                                 pollutant. To avoid this interference, at least         since the measurements from such a station
                                                 90 percent of the monitoring path must have             would more closely represent these smaller            3.5.1 Spacing for Ozone Monitoring Paths
                                                 unrestricted airflow and should be located at           scales.                                                  In siting an O3 open path analyzer, it is
                                                 a distance from obstacles. The horizontal                  (e) For near-road monitoring stations, the         important to minimize destructive
                                                 distance from the obstacle to the monitoring            monitoring path shall have an unobstructed            interferences form sources of NO, since NO
                                                 path must be at least twice the height that the         air flow, where no obstacles exist at or above        readily reacts with O3. Table E–4 of this
                                                 obstacle protrudes above the monitoring                 the height of the monitoring path, between            appendix provides the required minimum
                                                 path. An obstacle that does not meet the                the monitoring path and the outside nearest           separation distances between a roadway and
                                                 minimum distance requirement is considered              edge of the traffic lanes of the target road          at least 90 percent of a monitoring path for
                                                 an obstruction that restricts airflow to the            segment.                                              various ranges of daily roadway traffic. A
                                                 monitoring path. The EPA does not generally                                                                   monitoring site with a monitoring path
                                                 consider objects or obstacles such as flag              3.4 Spacing From Trees
                                                                                                                                                               located closer to a roadway than allowed by
                                                 poles or site towers used for NOy convertors               (a) Trees can provide surfaces for SO2, O3,        the Table E–4 requirements should be
                                                 and meteorological sensors, etc. to be deemed           or NO2 adsorption or reactions. Trees can             classified as microscale or middle scale,
                                                 obstructions.                                           also act as obstructions in locations where           rather than neighborhood or urban scale,
                                                   (b) A monitoring path located near or along           the trees are located between the air pollutant       since the measurements from such a site
                                                 a vertical wall is undesirable because air              sources or source areas and the monitoring            would more closely represent these smaller
                                                 moving along the wall may be subject to                 site, and where the trees are of a sufficient         scales. The monitoring path(s) must not cross
ddrumheller on DSK120RN23PROD with RULES3




                                                 removal mechanisms. At least 90 percent of              height and leaf canopy density to interfere           over a roadway with an average daily traffic
                                                 the monitoring path for open path analyzers             with the normal airflow around the                    count of 10,000 vehicles per day or more. For
                                                 must have unrestricted airflow with no                  monitoring path. To reduce this possible              locations where a monitoring path crosses a
                                                 obstructions (as defined in paragraph (a) of            interference/obstruction, at least 90 percent         roadway with fewer than 10,000 vehicles per
                                                 this section) in a continuous arc of at least           of the monitoring path should be 20 meters            day, monitoring agencies must consider the
                                                 270 degrees. An unobstructed continuous arc             or more from the drip line of trees and must          entire segment of the monitoring path in the
                                                 of 180 degrees is allowable when the                    be at least 10 meters from the drip line of           area of potential atmospheric interference
                                                 applicable network design criteria specified            trees. If a tree or group of trees could be           from automobile emissions. Therefore, this



                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00200   Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM    06MRR3
                                                        USCA Case #24-1051                                             Document #2043704                                         Filed: 03/06/2024                  Page 212 of 217
                                                                            Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                                                         16401

                                                 calculation must include the length of the                                      TABLE E–5 SECTION 3.5.2 OF APPEN-                               segments of the monitoring path that lie in
                                                 monitoring path over the roadway plus any                                                                                                       the area between the roadway and minimum
                                                                                                                                  DIX E—MINIMUM SEPARATION DIS-
                                                 segments of the monitoring path that lie in                                                                                                     separation distance, as determined from
                                                 the area between the roadway and minimum                                         TANCE BETWEEN ROADWAYS AND                                     Table E–5 of this appendix. The sum of these
                                                 separation distance, as determined from                                          MONITORING PATHS FOR MONI-                                     distances must not be greater than 10 percent
                                                 Table E–4 of this appendix. The sum of these                                     TORING   NEIGHBORHOOD      SCALE                               of the total monitoring path length.
                                                 distances must not be greater than 10 percent                                    CARBON MONOXIDE—Continued
                                                 of the total monitoring path length.                                                                                                            3.6 Cumulative Interferences on a
                                                                                                                                                                                                 Monitoring Path
                                                 3.5.2 Spacing for Carbon Monoxide                                                      Roadway average                         Minimum
                                                                                                                                           daily traffic,                      distance 1 2        The cumulative length or portion of a
                                                 Monitoring Paths
                                                                                                                                         vehicles per day                       (meters)         monitoring path that is affected by minor
                                                    (a) Near-road microscale CO monitoring                                                                                                       sources, trees, or roadways must not exceed
                                                 sites, including those located in downtown                                     50,000 ...................................               135     10 percent of the total monitoring path
                                                 areas, urban street canyons, and other near-                                   ≥60,000 .................................                150     length.
                                                 road locations such as those adjacent to
                                                 highly trafficked roads, are intended to                                          1 Distance from the edge of the nearest traf-                 3.7 Maximum Monitoring Path Length
                                                 provide a measurement of the influence of                                      fic lane. The distance for intermediate traffic                     The monitoring path length must not
                                                 the immediate source on the pollution                                          counts should be interpolated from the table                     exceed 1.0 kilometer for open path analyzers
                                                 exposure on the adjacent area.                                                 values based on the actual traffic count.                        in neighborhood, urban, or regional scale. For
                                                                                                                                   2 All distances listed are expressed as hav-
                                                    (b) Microscale CO monitoring paths in                                                                                                        middle scale monitoring sites, the monitoring
                                                                                                                                ing 2 significant figures. When rounding is per-
                                                 downtown areas or urban street canyon                                          formed to assess compliance with these siting                    path length must not exceed 300 meters. In
                                                 locations shall be located a minimum                                           requirements, the distance measurements will                     areas subject to frequent periods of dust, fog,
                                                 distance of 2.0 meters and a maximum                                           be rounded such as to retain at least two sig-                   rain, or snow, consideration should be given
                                                 distance of 10 meters from the edge of the                                     nificant figures.                                                to a shortened monitoring path length to
                                                 nearest traffic lane.                                                                                                                           minimize loss of monitoring data due to
                                                    (c) Microscale CO monitoring paths in                                       3.5.3 Spacing for Nitrogen Dioxide (NO2)
                                                                                                                                                                                                 these temporary optical obstructions. For
                                                 downtown areas or urban street canyon                                          Monitoring Paths
                                                                                                                                                                                                 certain ambient air monitoring scenarios
                                                 locations shall be located at least 10 meters                                     (a) In siting near-road NO2 monitors as                       using open path analyzers, shorter path
                                                 from an intersection, preferably at a midblock                                 required in section 4.3.2 of appendix D of                       lengths may be needed in order to ensure that
                                                 location. Midblock locations are preferable to                                 this part, the monitoring path shall be as near                  the monitoring site meets the objectives and
                                                 intersection locations because intersections                                   as practicable to the outside nearest edge of                    spatial scales defined in appendix D to this
                                                 represent a much smaller portion of                                            the traffic lanes of the target road segment but                 part. The Regional Administrator may require
                                                 downtown space than do the streets between                                     shall not be located at a distance greater than                  shorter path lengths, as needed on an
                                                 them. Pedestrian exposure is probably also                                     50 meters, in the horizontal, from the outside                   individual basis, to ensure that the SLAMS
                                                 greater in street canyon/corridors than at                                     nearest edge of the traffic lanes of the target                  sites meet the appendix D requirements.
                                                 intersections.                                                                 road segment.                                                    Likewise, the Administrator may specify the
                                                    (d) Neighborhood scale CO monitoring                                           (b) In siting NO2 open path monitors for                      maximum path length used at NCore
                                                 paths in downtown areas or urban street                                        neighborhood and larger scale monitoring, it                     monitoring sites.
                                                 canyon locations shall be located according                                    is important to minimize near-road
                                                 to the requirements in Table E–5 of this                                       influences. Table E–5 of this appendix                           3.8 Summary
                                                 appendix.                                                                      provides the required minimum separation                           Table E–6 of this appendix presents a
                                                                                                                                distances between a roadway and at least 90                      summary of the general requirements for
                                                  TABLE E–5 SECTION 3.5.2 OF APPEN-                                             percent of a monitoring path for various                         monitoring path siting criteria with respect to
                                                   DIX E—MINIMUM SEPARATION DIS-                                                ranges of daily roadway traffic. A site with                     distances and heights. Table E–6 requires
                                                                                                                                a monitoring path located closer to a roadway                    different elevation distances above the
                                                   TANCE BETWEEN ROADWAYS AND
                                                                                                                                than allowed by the Table E–4 requirements                       ground for the various pollutants. The
                                                   MONITORING PATHS FOR MONI-                                                   should be classified as microscale or middle                     discussion in this appendix for each of the
                                                   TORING   NEIGHBORHOOD      SCALE                                             scale rather than neighborhood or urban                          pollutants describes reasons for elevating the
                                                   CARBON MONOXIDE                                                              scale. The monitoring path(s) must not cross                     monitoring path. The differences in the
                                                                                                                                over a roadway with an average daily traffic                     specified range of heights are based on the
                                                          Roadway average                                  Minimum              count of 10,000 vehicles per day or more. For                    vertical concentration gradients. For source
                                                             daily traffic,                               distance 1 2          locations where a monitoring path crosses a                      oriented and near-road monitors, the
                                                           vehicles per day                                (meters)             roadway with fewer than 10,000 vehicles per                      gradients in the vertical direction are very
                                                                                                                                day, monitoring agencies must consider the                       large for the microscale, so a small range of
                                                 ≤10,000 .................................                              10      entire segment of the monitoring path in the                     heights are used. The upper limit of 15
                                                 15,000 ...................................                             25      area of potential atmospheric interference                       meters is specified for the consistency
                                                 20,000 ...................................                             45      form automobile emissions. Therefore, this                       between pollutants and to allow the use of
                                                 30,000 ...................................                             80      calculation must include the length of the                       a monitoring path for monitoring more than
                                                 40,000 ...................................                            115      monitoring path over the roadway plus any                        one pollutant.

                                                                              TABLE E–6 SECTION 3.8 OF APPENDIX E—SUMMARY OF MONITORING PATH SITING CRITERIA
                                                                                                                                                                               Horizontal or
                                                                                                                                                                                vertical dis-
                                                                                                                                                            Height from                          Distance from
                                                                                                                                                                                 tance from
                                                                                                                                                          ground to 80%                          trees to 90%     Distance from roadways to moni-
                                                                                                                                                                                 supporting
                                                                     Pollutant                             Maximum monitoring path length 9 10             of monitoring                         of monitoring              toring path 1 8
                                                                                                                                                                               structures 2 to
                                                                                                                                                               path 1 8                              path 1 8                  (meters)
                                                                                                                                                                               90% of moni-
                                                                                                                                                              (meters)                              (meters)
                                                                                                                                                                               toring path 1 8
ddrumheller on DSK120RN23PROD with RULES3




                                                                                                                                                                                  (meters)

                                                 SO2 3 4 5 6 ..........................................    <= 300 m for Middle ........................             2.0–15               ≥1.0              ≥10   N/A.
                                                                                                           <= 1.0 km for Neighborhood, Urban,
                                                                                                             and Regional
                                                 CO4 5 7 ..............................................    <= 300 m for Micro [downtown or                          2.5–3.5               ≥1.0             ≥10   2.0–10 for downtown areas or street
                                                                                                             street canyon sites].                                                                                 canyon microscale.
                                                                                                           <= 300 m for Micro [Near-Road                            2.0–7.0                                      ≤50 for near-road microscale.
                                                                                                             sites].




                                            VerDate Sep<11>2014           19:03 Mar 05, 2024              Jkt 262001    PO 00000      Frm 00201      Fmt 4701      Sfmt 4700    E:\FR\FM\06MRR3.SGM      06MRR3
                                                        USCA Case #24-1051                                                Document #2043704                                     Filed: 03/06/2024                   Page 213 of 217
                                                 16402                       Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                                 TABLE E–6 SECTION 3.8 OF APPENDIX E—SUMMARY OF MONITORING PATH SITING CRITERIA—Continued
                                                                                                                                                                               Horizontal or
                                                                                                                                                                                vertical dis-
                                                                                                                                                               Height from       tance from
                                                                                                                                                                                                 Distance from
                                                                                                                                                             ground to 80%       supporting
                                                                                                                                                                                                 trees to 90%     Distance from roadways to moni-
                                                                     Pollutant                                Maximum monitoring path length 9 10             of monitoring    structures 2 to
                                                                                                                                                                                                 of monitoring              toring path 1 8
                                                                                                                                                                  path 1 8     90% of moni-
                                                                                                                                                                                                     path 1 8                  (meters)
                                                                                                                                                                 (meters)      toring path 1 8
                                                                                                                                                                                                    (meters)
                                                                                                                                                                                  (meters)

                                                                                                              <= 300 m for Middle ........................          2.0–15                                       See Table E–5 of this appendix for
                                                                                                                                                                                                                   middle and neighborhood scales.
                                                                                                              <= 1.0 km for Neighborhood.
                                                 O33 4 5 ..............................................       <= 300 m for Middle.
                                                                                                              <= 1.0 km for Neighborhood, Urban,                    2.0–15                ≥1.0             ≥10   See Table E–4.
                                                                                                                and Regional.
                                                 NO23 4 5      ...........................................    Between 50 m–300 m for Micro                          2.0–7.0                                      ≤50 for near-road micro-scale.
                                                                                                                (Near-Road).
                                                                                                              <= 300 m for Middle ........................                               ≥1.0              ≥10
                                                                                                              <= 1.0 km for Neighborhood, Urban,                    2.0–15                                       See Table E–4.
                                                                                                                and Regional.
                                                 PAMS3 4 5 Ozone precursors                     ..........    <= 1.0 km for Neighborhood and                        2.0–15                ≥1.0             ≥10   See Table E–4.
                                                                                                                Urban.
                                                   N/A—Not applicable.
                                                   1 Monitoring path for open path analyzers is applicable only to middle or neighborhood scale CO monitoring, middle, neighborhood, urban, and regional scale NO
                                                                                                                                                                                                                           2
                                                 monitoring, and all applicable scales for monitoring SO2, O3, and O3 precursors.
                                                   2 When the monitoring path is located on a rooftop, this separation distance is in reference to walls, parapets, or penthouses located on roof.
                                                   3 At least 90 percent of the monitoring path should be greater than 20 meters from the dripline of tree(s) and must be 10-meters from the dripline.
                                                   4 Distance from 90 percent of monitoring path to obstacle, such as a building, must be at least twice the height the obstacle protrudes above the monitoring path.
                                                 Sites not meeting this criterion may be classified as microscale or middle scale (see text).
                                                   5 Must have unrestricted airflow 270 degrees around at least 90 percent of the monitoring path; 180 degrees if the monitoring path is adjacent to the side of a build-
                                                 ing or a wall for street canyon monitoring.
                                                   6 The monitoring path should be away from minor sources, such as furnace or incineration flues. The separation distance is dependent on the height of the minor
                                                 source’s emission point (such as a flue), the type of fuel or waste burned, and the quality of the fuel (sulfur, ash, or lead content). This criterion is designed to avoid
                                                 undue influences from minor sources.
                                                   7 For microscale CO monitoring sites, the monitoring path must be ≥10. meters from a street intersection and preferably at a midblock location.
                                                   8 All distances listed are expressed as having 2 significant figures. When rounding is performed to assess compliance with these siting requirements, the distance
                                                 measurements will be rounded such as to retain at least two significant figures.
                                                   9 See section 1.2 of appendix D for definitions of monitoring scales.
                                                   10 See section 3.7 of this appendix.




                                                 4. Waiver Provisions                                                              be submitted to the Regional Administrator.                   Chicago, Department of Environmental
                                                    Most sampling probes or monitors can be                                        Granted waivers must be renewed minimally                     Control, Chicago, IL. (Presented at 66th
                                                 located so that they meet the requirements of                                     every 5 years and ideally as part of the                      Annual Meeting of Air Pollution Control
                                                 this appendix. New sites, with rare                                               network assessment as defined in § 58.10(d).                  Association, Chicago, IL. June 24–28, 1973.
                                                 exceptions, can be located within the limits                                      The approval date of the waiver must be                       APCA 73–161.)
                                                 of this appendix. However, some existing                                          documented in the annual monitoring                             6. Study of Suspended Particulate
                                                 sites may not meet these requirements and                                         network plan to support the requirements of                   Measurements at Varying Heights Above
                                                 may still produce useful data for some                                            § 58.10(a)(1) and 58.10(b)(10).                               Ground. Texas State Department of Health,
                                                 purposes. The EPA will consider a written                                         5. References                                                 Air Control Section, Austin, TX. 1970. p.7.
                                                 request from the State, or where applicable                                                                                                       7. Rodes, C.E. and G.F. Evans. Summary of
                                                                                                                                      1. Bryan, R.J., R.J. Gordon, and H. Menck.                 LACS Integrated Pollutant Data. In: Los
                                                 local, agency to waive one or more siting                                         Comparison of High Volume Air Filter
                                                 criteria for some monitoring sites providing                                                                                                    Angeles Catalyst Study Symposium. U.S.
                                                                                                                                   Samples at Varying Distances from Los                         Environmental Protection Agency, Research
                                                 that the State or their designee can                                              Angeles Freeway. University of Southern
                                                 adequately demonstrate the need (purpose)                                                                                                       Triangle Park, NC. EPA Publication No. EPA–
                                                                                                                                   California, School of Medicine, Los Angeles,
                                                 for monitoring or establishing a monitoring                                                                                                     600/4–77–034. June 1977.
                                                                                                                                   CA. (Presented at 66th Annual Meeting of Air
                                                 site at that location.                                                                                                                            8. Lynn, D.A. et al. National Assessment of
                                                                                                                                   Pollution Control Association. Chicago, IL.
                                                    4.1 For a proposed new site, a waiver                                                                                                        the Urban Particulate Problem: Volume 1,
                                                                                                                                   June 24–28, 1973. APCA 73–158.)
                                                 may be granted only if both the following                                            2. Teer, E.H. Atmospheric Lead                             National Assessment. GCA Technology
                                                 criteria are met:                                                                 Concentration Above an Urban Street. Master                   Division, Bedford, MA. U.S. Environmental
                                                    4.1.1 The proposed new site can be                                             of Science Thesis, Washington University, St.                 Protection Agency, Research Triangle Park,
                                                 demonstrated to be as representative of the                                       Louis, MO. January 1971.                                      NC. EPA Publication No. EPA–450/3–75–
                                                 monitoring area as it would be if the siting                                         3. Bradway, R.M., F.A. Record, and W.E.                    024. June 1976.
                                                 criteria were being met.                                                          Belanger. Monitoring and Modeling of                            9. Pace, T.G. Impact of Vehicle-Related
                                                    4.1.2 The monitor or probe cannot                                              Resuspended Roadway Dust Near Urban                           Particulates on TSP Concentrations and
                                                 reasonably be located so as to meet the siting                                    Arterials. GCA Technology Division,                           Rationale for Siting Hi-Vols in the Vicinity of
                                                 criteria because of physical constraints (e.g.,                                   Bedford, MA. (Presented at 1978 Annual                        Roadways. OAQPS, U.S. Environmental
                                                 inability to locate the required type of site the                                 Meeting of Transportation Research Board,                     Protection Agency, Research Triangle Park,
                                                 necessary distance from roadways or                                               Washington, DC. January 1978.)                                NC. April 1978.
                                                 obstructions).                                                                       4. Pace, T.G., W.P. Freas, and E.M. Afify.                   10. Ludwig, F.L., J.H. Kealoha, and E.
                                                    4.2 For an existing site, a waiver may be                                      Quantification of Relationship Between                        Shelar. Selecting Sites for Monitoring Total
                                                 granted if either the criterion in section 4.1.1                                  Monitor Height and Measured Particulate                       Suspended Particulates. Stanford Research
ddrumheller on DSK120RN23PROD with RULES3




                                                 or the criterion in 4.1.2 of this appendix is                                     Levels in Seven U.S. Urban Areas. U.S.                        Institute, Menlo Park, CA. Prepared for U.S.
                                                 met.                                                                              Environmental Protection Agency, Research                     Environmental Protection Agency, Research
                                                    4.3 Cost benefits, historical trends, and                                      Triangle Park, NC. (Presented at 70th Annual                  Triangle Park, NC. EPA Publication No. EPA–
                                                 other factors may be used to add support to                                       Meeting of Air Pollution Control Association,                 450/3–77–018. June 1977, revised December
                                                 the criteria in sections 4.1.1 and 4.1.2 of this                                  Toronto, Canada. June 20–24, 1977. APCA                       1977.
                                                 appendix; however, by themselves, they will                                       77–13.4.)                                                       11. Ball, R.J. and G.E. Anderson. Optimum
                                                 not be acceptable reasons for the EPA to grant                                       5. Harrison, P.R. Considerations for Siting                Site Exposure Criteria for SO2 Monitoring.
                                                 a waiver. Written requests for waivers must                                       Air Quality Monitors in Urban Areas. City of                  The Center for the Environment and Man,



                                            VerDate Sep<11>2014            19:03 Mar 05, 2024                Jkt 262001    PO 00000      Frm 00202      Fmt 4701   Sfmt 4700   E:\FR\FM\06MRR3.SGM       06MRR3
                                                      USCA Case #24-1051                                      Document #2043704                                               Filed: 03/06/2024              Page 214 of 217
                                                                      Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                                                     16403

                                                 Inc., Hartford, CT. Prepared for U.S.                                    23. Hughes, E.E. Development of Standard                        Triangle Park, NC 27711. EPA/600/R–22/212.
                                                 Environmental Protection Agency, Research                              Reference Material for Air Quality                                August 2022.
                                                 Triangle Park, NC. EPA Publication No. EPA–                            Measurement. ISA Transactions, 14:281–291,                          35. Hannah Halliday, Cortina Johnson, Tad
                                                 450/3–77–013. April 1977.                                              1975.                                                             Kleindienst, Russell Long, Robert
                                                   12. Ludwig, F.L. and J.H.S. Kealoha.                                   24. Altshuller, A.D. and A.G. Wartburg.                         Vanderpool, and Andrew Whitehill.
                                                 Selecting Sites for Carbon Monoxide                                    The Interaction of Ozone with Plastic and                         Recommendations for Nationwide Approval
                                                 Monitoring. Stanford Research Institute,                               Metallic Materials in a Dynamic Flow                              of NafionTM Dryers Upstream of UV-
                                                 Menlo Park, CA. Prepared for U.S.                                      System. Intern. Jour. Air and Water Poll.,                        Absorption Ozone Analyzers. U.S.
                                                 Environmental Protection Agency, Research                              4:70–78, 1961.                                                    Environmental Protection Agency, Research
                                                 Triangle Park, NC. EPA Publication No. EPA–                              25. Code of Federal Regulations. 40 CFR                         Triangle Park, NC 27711. EPA/600/R–20/390.
                                                 450/3–75–077. September 1975.                                          53.22, July 1976.                                                 November 2020.
                                                   13. Ludwig, F.L. and E. Shelar. Site                                   26. Butcher, S.S. and R.E. Ruff. Effect of
                                                 Selection for the Monitoring of                                        Inlet Residence Time on Analysis of                               ■ 31. Revise appendix G to part 58 to
                                                 Photochemical Air Pollutants. Stanford                                 Atmospheric Nitrogen Oxides and Ozone,                            read as follows:
                                                 Research Institute, Menlo Park, CA. Prepared                           Anal. Chem., 43:1890, 1971.
                                                 for U.S. Environmental Protection Agency,                                27. Slowik, A.A. and E.B. Sansone.                              Appendix G to Part 58—Uniform Air
                                                 Research Triangle Park, NC. EPA Publication                            Diffusion Losses of Sulfur Dioxide in                             Quality Index (AQI) and Daily
                                                 No. EPA–450/3–78–013. April 1978.                                      Sampling Manifolds. J. Air. Poll. Con. Assoc.,                    Reporting
                                                   14. Lead Analysis for Kansas City and                                24:245, 1974.
                                                 Cincinnati, PEDCo Environmental, Inc.,                                   28. Yamada, V.M. and R.J. Charlson. Proper                      1. General Information
                                                 Cincinnati, OH. Prepared for U.S.                                                                                                        2. Reporting Requirements
                                                                                                                        Sizing of the Sampling Inlet Line for a
                                                 Environmental Protection Agency, Research                                                                                                3. Data Handling
                                                                                                                        Continuous Air Monitoring Station. Environ.
                                                 Triangle Park, NC. EPA Contract No. 66–02–
                                                                                                                        Sci. and Technol., 3:483, 1969.                                   1. General Information
                                                 2515, June 1977.
                                                                                                                          29. Koch, R.C. and H.E. Rector. Optimum
                                                   15. Barltrap, D. and C.D. Strelow. Westway                                                                                               1.1 AQI Overview. The AQI is a tool that
                                                 Nursery Testing Project. Report to the Greater                         Network Design and Site Exposure Criteria
                                                                                                                        for Particulate Matter, GEOMET                                    simplifies reporting air quality to the public
                                                 London Council. August 1976.                                                                                                             in a nationally uniform and easy to
                                                   16. Daines, R. H., H. Moto, and D. M.                                Technologies, Inc., Rockville, MD. Prepared
                                                                                                                        for U.S. Environmental Protection Agency,                         understand manner. The AQI converts
                                                 Chilko. Atmospheric Lead: Its Relationship to                                                                                            concentrations of pollutants, for which the
                                                 Traffic Volume and Proximity to Highways.                              Research Triangle Park, NC. EPA Contract
                                                                                                                        No. 68–02–3584. EPA 450/4–87–009. May                             EPA has established a national ambient air
                                                 Environ. Sci. and Technol., 4:318, 1970.                                                                                                 quality standard (NAAQS), into a uniform
                                                   17. Johnson, D. E., et al. Epidemiologic                             1987.
                                                                                                                          30. Burton, R.M. and J.C. Suggs.                                scale from 0–500. These pollutants are ozone
                                                 Study of the Effects of Automobile Traffic on
                                                                                                                        Philadelphia Roadway Study. Environmental                         (O3), particulate matter (PM2.5, PM10), carbon
                                                 Blood Lead Levels, Southwest Research
                                                                                                                        Monitoring Systems Laboratory, U.S.                               monoxide (CO), sulfur dioxide (SO2), and
                                                 Institute, Houston, TX. Prepared for U.S.
                                                                                                                        Environmental Protection Agency, Research                         nitrogen dioxide (NO2). The scale of the
                                                 Environmental Protection Agency, Research
                                                 Triangle Park, NC. EPA–600/1–78–055,                                   Triangle Park, N.C. EPA–600/4–84–070                              index is divided into general categories that
                                                 August 1978.                                                           September 1984.                                                   are associated with health messages.
                                                   18. Air Quality Criteria for Lead. Office of                           31. Technical Assistance Document for                           2. Reporting Requirements
                                                 Research and Development, U.S.                                         Sampling and Analysis of Ozone Precursors.
                                                                                                                        Atmospheric Research and Exposure                                   2.1 Applicability. The AQI must be
                                                 Environmental Protection Agency,
                                                 Washington, DC EPA–600/8–83–028 aF–dF,                                 Assessment Laboratory, U.S. Environmental                         reported daily for a metropolitan statistical
                                                 1986, and supplements EPA–600/8–89/049F,                               Protection Agency, Research Triangle Park,                        area (MSA) with a population over 350,000.
                                                 August 1990. (NTIS document numbers                                    NC 27711. EPA 600/8–91–215. October 1991.                         When it is useful and possible, it is
                                                 PB87–142378 and PB91–138420.)                                            32. Quality Assurance Handbook for Air                          recommended, but not required for an area to
                                                   19. Lyman, D. R. The Atmospheric                                     Pollution Measurement Systems: Volume IV.                         report a sub-daily AQI as well.
                                                 Diffusion of Carbon Monoxide and Lead from                             Meteorological Measurements. Atmospheric                            2.2 Contents of AQI Report.
                                                 an Expressway, Ph.D. Dissertation,                                     Research and Exposure Assessment                                    2.2.1 Content of AQI Report
                                                 University of Cincinnati, Cincinnati, OH.                              Laboratory, U.S. Environmental Protection                         Requirements. An AQI report must contain
                                                 1972.                                                                  Agency, Research Triangle Park, NC 27711.                         the following:
                                                   20. Wechter, S.G. Preparation of Stable                              EPA 600/4–90–0003. August 1989.                                     a. The reporting area(s) (the MSA or
                                                 Pollutant Gas Standards Using Treated                                    33. On-Site Meteorological Program                              subdivision of the MSA).
                                                 Aluminum Cylinders. ASTM STP. 598:40–                                  Guidance for Regulatory Modeling                                    b. The reporting period (the day for which
                                                 54, 1976.                                                              Applications. Office of Air Quality Planning                      the AQI is reported).
                                                   21. Wohlers, H.C., H. Newstein and D.                                and Standards, U.S. Environmental                                   c. The main pollutant (the pollutant with
                                                 Daunis. Carbon Monoxide and Sulfur                                     Protection Agency, Research Triangle Park,                        the highest index value).
                                                 Dioxide Adsorption On and Description                                  NC 27711. EPA 450/4–87–013. June 1987F.                             d. The AQI (the highest index value).
                                                 From Glass, Plastic and Metal Tubings. J. Air                            34. Johnson, C., A. Whitehill, R. Long, and                       e. The category descriptor and index value
                                                 Poll. Con. Assoc. 17:753, 1976.                                        R. Vanderpool. Investigation of Gaseous                           associated with the AQI and, if choosing to
                                                   22. Elfers, L.A. Field Operating Guide for                           Criteria Pollutant Transport Efficiency as a                      report in a color format, the associated color.
                                                 Automated Air Monitoring Equipment. U.S.                               Function of Tubing Material. U.S.                                 Use only the following descriptors and colors
                                                 NTIS. p. 202, 249, 1971.                                               Environmental Protection Agency, Research                         for the six AQI categories:

                                                                                                      TABLE 1 TO SECTION 2 OF APPENDIX G—AQI CATEGORIES
                                                    For this AQI                                            Use this descriptor                                                                    And this color 1

                                                 0 to 50 ................   ‘‘Good’’ .....................................................................................   Green.
ddrumheller on DSK120RN23PROD with RULES3




                                                 51 to 100 ............     ‘‘Moderate’’ ...............................................................................     Yellow.
                                                 101 to 150 ..........      ‘‘Unhealthy for Sensitive Groups’’ ............................................                  Orange.
                                                 151 to 200 ..........      ‘‘Unhealthy’’ ..............................................................................     Red.
                                                 201 to 300 ..........      ‘‘Very Unhealthy’’ .....................................................................         Purple.
                                                 301 and above ...          ‘‘Hazardous’’ .............................................................................      Maroon1.
                                                  1Specific color definitions can be found in the most recent reporting guidance (Technical Assistance Document for the Reporting of Daily Air
                                                 Quality), which can be found at https://www.airnow.gov/publications/air-quality-index/technical-assistance-document-for-reporting-the-daily-aqi/.



                                            VerDate Sep<11>2014      19:03 Mar 05, 2024        Jkt 262001       PO 00000       Frm 00203       Fmt 4701       Sfmt 4700      E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                                        Document #2043704                                   Filed: 03/06/2024               Page 215 of 217
                                                 16404                Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                   f. The pollutant specific sensitive groups                         widely available through its website and                  reported AQI) is called the ‘‘main’’ pollutant
                                                 for any reported index value greater than 100.                       other communication tools.                                for that day.
                                                 The sensitive groups for each pollutant are                             d. Forecasting the daily AQI provides                     3.2 Monitors Used for AQI Reporting.
                                                 identified as part of the periodic review of                         timely air quality information to the public              Concentration data from State/Local Air
                                                 the air quality criteria and the NAAQS. For                          and is recommended but not required. Sub-                 Monitoring Station (SLAMS) or parts of the
                                                 convenience, the EPA lists the relevant                              daily forecasts are also recommended,                     SLAMS required by 40 CFR 58.10 must be
                                                 groups for each pollutant in the most recent                         especially when air quality is expected to                used for each pollutant except PM. For PM,
                                                 reporting guidance (Technical Assistance                             vary substantially throughout the day, like               calculate and report the AQI on days for
                                                 Document for the Reporting of Daily Air                              during wildfires. Long-term (multi-day)                   which air quality data has been measured
                                                 Quality), which can be found at https://www.                         forecasts can also be made available when                 (e.g., from continuous PM2.5 monitors
                                                 airnow.gov/publications/air-quality-index/                           useful.                                                   required in appendix D to this part). PM
                                                 technical-assistance-document-for-reporting-                            2.4. Exceptions to Reporting                           measurements may be used from monitors
                                                 the-daily-aqi/.                                                      Requirements.                                             that are not reference or equivalent methods
                                                   2.2.2 Contents of AQI Report When                                     a. If the index value for a particular                 (for example, continuous PM10 or PM2.5
                                                 Applicable. When appropriate, the AQI                                pollutant remains below 50 for a season or                monitors). Detailed guidance for relating non-
                                                 report may also contain the following, but                           year, then it may be excluded from the                    approved measurements to approved
                                                 such information is not required:                                    calculation of the AQI in section 3 of this               methods by statistical linear regression is
                                                   a. Appropriate health and cautionary                               appendix.                                                 referenced here:
                                                 statements.                                                             b. If all index values remain below 50 for                Reference for relating non-approved PM
                                                   b. The name and index value for other                              a year, then the AQI may be reported at the               measurements to approved methods (Eberly,
                                                                                                                      discretion of the reporting agency. In                    S., T. Fitz-Simons, T. Hanley, L. Weinstock.,
                                                 pollutants, particularly those with an index
                                                                                                                      subsequent years, if pollutant levels rise to             T. Tamanini, G. Denniston, B. Lambeth, E.
                                                 value greater than 100.
                                                                                                                      where the AQI would be above 50, then the                 Michel, S. Bortnick. Data Quality Objectives
                                                   c. The index values for sub-areas of your
                                                                                                                      AQI must be reported as required in section               (DQOs) For Relating Federal Reference
                                                 MSA.
                                                                                                                      2 of this appendix.                                       Method (FRM) and Continuous PM2.5
                                                   d. Causes for unusually high AQI values.
                                                                                                                         c. As previously mentioned in section 2.3              Measurements to Report an Air Quality Index
                                                   e. Pollutant concentrations.                                       of this appendix, submitting hourly data in
                                                   f. Generally, the AQI report applies to an                                                                                   (AQI). U.S. Environmental Protection
                                                                                                                      real-time from appropriate monitors                       Agency, Research Triangle Park, NC. EPA–
                                                 area’s MSA only. However, if a significant air                       (referenced in section 3.2 of this appendix)
                                                 quality problem exists (AQI greater than 100)                                                                                  454/B–02–002, November 2002).
                                                                                                                      to the EPA’s AirNow (or future analogous)
                                                 in areas significantly impacted by the MSA                                                                                        3.3 AQI Forecast. The AQI can be
                                                                                                                      system satisfies the daily AQI reporting
                                                 but not in it (for example, O3 concentrations                                                                                  forecasted at least 24-hours in advance using
                                                                                                                      requirement.
                                                 are often highest downwind and outside an                                                                                      the most accurate and reasonable procedures
                                                 urban area), the report should identify these                        3. Data Handling.                                         considering meteorology, topography,
                                                 areas and report the AQI for these areas as                             3.1 Relationship of AQI and pollutant                  availability of data, and forecasting expertise.
                                                 well.                                                                concentrations. For each pollutant, the AQI               The guidance document, ‘‘Guidelines for
                                                   2.3. Communication, Timing, and                                    transforms ambient concentrations to a scale              Developing an Air Quality (Ozone and PM2.5)
                                                 Frequency of AQI Report. The daily AQI                               from 0 to 500. As appropriate, the AQI is                 Forecasting Program,’’ can be found at
                                                 must be reported 7 days per week and made                            associated with the NAAQS for each                        https://www.airnow.gov/publications/
                                                 available via website or other means of                              pollutant. In most cases, the index value of              weathercasters/guidelines-developing-air-
                                                 public access. The daily AQI report                                  100 is associated with the numerical level of             quality-forecasting-program/.
                                                 represents the air quality for the previous                          the short-term standard (i.e., averaging time                3.4 Calculation and Equations.
                                                 day. Exceptions to this requirement are in                           of 24-hours or less) for each pollutant. The                 a. The AQI is the highest value calculated
                                                 section 2.4 of this appendix.                                        index value of 50 is associated with the                  for each pollutant as follows:
                                                   a. Reporting the AQI sub-daily is                                  numerical level of the annual standard for a                 i. Identify the highest concentration among
                                                 recommended, but not required, to provide                            pollutant, if there is one, at one-half the level         all of the monitors within each reporting area
                                                 more timely air quality information to the                           of the short-term standard for the pollutant              and truncate as follows:
                                                 public for making health-protective                                  or at the level at which it is appropriate to             (A) Ozone—truncate to 3 decimal places
                                                 decisions.                                                           begin to provide guidance on cautionary                   PM2.5—truncate to 1 decimal place
                                                   b. Submitting hourly data in real-time to                          language. Higher categories of the index are              PM10—truncate to integer
                                                 the EPA’s AirNow (or future analogous)                               based on the potential for increasingly                   CO—truncate to 1 decimal place
                                                 system is recommended, but not required,                             serious health effects to occur following                 SO2—truncate to integer
                                                 and assists the EPA in providing timely air                          exposure and increasing proportions of the                NO2—truncate to integer
                                                 quality information to the public for making                         population that are likely to be affected. The               (B) [Reserved]
                                                 health-protective decisions.                                         reported AQI corresponds to the pollutant                    ii. Using table 2 to this appendix, find the
                                                   c. Submitting hourly data for appropriate                          with the highest calculated AQI. For the                  two breakpoints that contain the
                                                 monitors (referenced in section 3.2 of this                          purposes of reporting the AQI, the sub-                   concentration.
                                                 appendix) satisfies the daily AQI reporting                          indexes for PM10 and PM2.5 are to be                         iii. Using equation 1 to this appendix,
                                                 requirement because the AirNow system                                considered separately. The pollutant                      calculate the index.
                                                 makes daily and sub-daily AQI reports                                responsible for the highest index value (the                 iv. Round the index to the nearest integer.

                                                                                                 TABLE 2 TO SECTION 3.4 OF APPENDIX G—BREAKPOINTS FOR THE AQI
                                                                                                                  These breakpoints                                                                 Equal these AQI’s

                                                                                                                                                                SO2             NO2
                                                                        O3 (ppm) 1-               PM2.5 (μg/m3)     PM10 (μg/m3)            CO
                                                 O3 (ppm) 8-hour                                                                                               (ppb)           (ppb)          AQI               Category
                                                                           hour1                    24-hour           24-hour           (ppm) 8-hour          1-hour          1-hour
ddrumheller on DSK120RN23PROD with RULES3




                                                 0.000–0.054 .....    ........................          0.0–9.0               0–54           0.0–4.4                 0–35         0–53           0–50   Good.
                                                 0.055–0.070 .....    ........................         9.1–35.4             55–154           4.5–9.4                36–75       54–100         51–100   Moderate.
                                                 0.071–0.085 .....        0.125–0.164                 35.5–55.4            155–254          9.5–12.4               76–185      101–360        101–150   Unhealthy for Sensitive
                                                                                                                                                                                                          Groups.
                                                 0.086–0.105 .....        0.165–0.204                55.5–125.4            255–354         12.5–15.4          3 186–304        361–649        151–200   Unhealthy.
                                                 0.106–0.200 .....        0.205–0.404              125.5—225.4             355–424         15.5–30.4          3 305–604       650–1249        201–300   Very Unhealthy.




                                            VerDate Sep<11>2014      19:03 Mar 05, 2024            Jkt 262001   PO 00000    Frm 00204    Fmt 4701      Sfmt 4700   E:\FR\FM\06MRR3.SGM   06MRR3
                                                      USCA Case #24-1051                                 Document #2043704                                 Filed: 03/06/2024                 Page 216 of 217
                                                                       Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations                                                       16405

                                                                             TABLE 2 TO SECTION 3.4 OF APPENDIX G—BREAKPOINTS FOR THE AQI—Continued
                                                                                                           These breakpoints                                                                  Equal these AQI’s
                                                                                                                                                        SO2             NO2
                                                                        O3 (ppm) 1-        PM2.5 (μg/m3)     PM10 (μg/m3)           CO
                                                 O3 (ppm) 8-hour                                                                                       (ppb)           (ppb)           AQI                 Category
                                                                           hour1             24-hour           24-hour          (ppm) 8-hour          1-hour          1-hour

                                                 0.201¥(2) ........            0.405+             225.5+              425+             30.5+               3 605+         1250+              301+   4 Hazardous.

                                                   1 Areas are generally required to report the AQI based on 8-hour ozone values. However, there are a small number of areas where an AQI based on 1-hour ozone
                                                 values would be more precautionary. In these cases, in addition to calculating the 8-hour ozone index value, the 1-hour ozone index value may be calculated, and the
                                                 maximum of the two values reported.
                                                   2 8-hour O concentrations do not define higher AQI values (≤301). AQI values > 301 are calculated with 1-hour O concentrations.
                                                              3                                                                                                      3
                                                   3 1-hr SO concentrations do not define higher AQI values (≥200). AQI values of 200 or greater are calculated with 24-hour SO concentration.
                                                            2                                                                                                                    2
                                                   4 AQI values between breakpoints are calculated using equation 1 to this appendix. For AQI values in the hazardous category, AQI values greater than 500 should
                                                 be calculated using equation 1 and the concentration specified for the AQI value of 500. The AQI value of 500 are as follows: O3 1-hour—0.604 ppm; PM2.5 24-
                                                 hour—325.4 μg/m3; PM10 24-hour—604 μg/m3; CO ppm—50.4 ppm; SO2 1-hour—1004 ppb; and NO2 1-hour—2049 ppb.


                                                   b. If the concentration is equal to a                       be equal. If the concentration is between two            using 8-hour values (see footnote 1 to table
                                                 breakpoint, then the index is equal to the                    breakpoints, then calculate the index of that            2). In these cases, the 1-hour values as well
                                                 corresponding index value in table 2 to this                  pollutant with equation 1. It should also be             as 8-hour values may be used to calculate
                                                 appendix. However, equation 1 to this                         noted that in some areas, the AQI based on               index values and then use the maximum
                                                 appendix can still be used. The results will                  1-hour O3 will be more precautionary than                index value as the AQI for O3.


                                                                                                            Equation 1 to Appendix G to Part 58




                                                 Where:                                                        then the last two breakpoints in table 2 may               i. Find the breakpoints for PM10 at 210 mg/
                                                 Ip = the index value for pollutantp.                          be used when equation 1 to this appendix is              m3 as 155 mg/m3 and 254 mg/m3,
                                                 Cp = the truncated concentration of                           applied.                                                 corresponding to index values 101 and 150;
                                                       pollutantp.                                             Example:                                                   ii. Find the breakpoints for 1-hour O3 at
                                                 BPHi = the breakpoint that is greater than or                   d. Using table 2 and equation 1 to this                0.156 ppm as 0.125 ppm and 0.164 ppm,
                                                       equal to Cp.                                            appendix, calculate the index value for each             corresponding to index values 101 and 150;
                                                 BPLo = the breakpoint that is less than or                    of the pollutants measured and select the one              iii. Find the breakpoints for 8-hour O3 at
                                                       equal to Cp.                                            that produces the highest index value for the            0.130 ppm as 0.116 ppm and 0.374 ppm,
                                                 IHi = the AQI value corresponding to BPHi.                    AQI. For example, if a PM10 value of 210 mg/
                                                 Ilo = the AQI value corresponding to BPLo.                                                                             corresponding to index values 201 and 300;
                                                                                                               m3 is observed, a 1-hour O3 value of 0.156
                                                                                                                                                                          iv. Apply equation 21 to this appendix for
                                                    c. If the concentration is larger than the                 ppm, and an 8-hour O3 value of 0.130 ppm,
                                                 highest breakpoint in table 2 to this appendix                then do this:                                            210 mg/m3, PM10:


                                                                                                             Equation 2 to Appendix G to Part 58

                                                                                                            150 - 101
                                                                                                            254 _ 155 (210 - 155) + 101 = 128

                                                   v. Apply equation 3 to this appendix for
                                                 0.156 ppm, 1-hour O3:


                                                                                                             Equation 3 to Appendix G to Part 58
                                                                                                                                                                                                                           ER06MR24.051</GPH>



                                                                                                       150 - 101
                                                                                                     0.164 _ 0.125 (0.156 - 0.125) + 101 = 140
                                                                                                                                                                                                                           ER06MR24.050</GPH>




                                                   vi. Apply equation 4 to this appendix for
                                                 0.130 ppm, 8-hour O3:
ddrumheller on DSK120RN23PROD with RULES3




                                                                                                                                                                                                                           ER06MR24.049</GPH>




                                                                                                             Equation 4 to Appendix G to Part 58

                                                                                                       300 - 201
                                                                                                     0.374 _ 0.116 (0.130 - 0.116) + 201 = 206
                                                                                                                                                                                                                           ER06MR24.048</GPH>




                                            VerDate Sep<11>2014       19:03 Mar 05, 2024    Jkt 262001   PO 00000   Frm 00205    Fmt 4701      Sfmt 4725   E:\FR\FM\06MRR3.SGM    06MRR3
                                                      USCA Case #24-1051                            Document #2043704                             Filed: 03/06/2024              Page 217 of 217
                                                 16406             Federal Register / Vol. 89, No. 45 / Wednesday, March 6, 2024 / Rules and Regulations

                                                    vii. Find the maximum, 206. This is the              is Very Unhealthy, due to ozone.’’ It would           then reference the associated sensitive
                                                 AQI. A minimal AQI report could read:                                                                         groups.
                                                 ‘‘Today, the AQI for my city is 206, which
                                                                                                                                                               [FR Doc. 2024–02637 Filed 3–5–24; 8:45 am]
                                                                                                                                                               BILLING CODE 6560–50–P
ddrumheller on DSK120RN23PROD with RULES3




                                            VerDate Sep<11>2014   19:03 Mar 05, 2024   Jkt 262001   PO 00000   Frm 00206   Fmt 4701   Sfmt 9990   E:\FR\FM\06MRR3.SGM   06MRR3
